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Each year, a program at Harvard University hosts a forum in which student fellowship recipients share their
stories in short speeches. In the 2023-24 academic year, one of these recipients, a Jewish Harvard student,
planned to describe how their experiences as a grandchild of Holocaust survivors inspired their career goals.
In prepared remarks shared with the forum’s student organizers, the student speaker described how their
grandfather survived the Holocaust by migrating to the then-British Mandate of Palestine, and ultimately
helped tens of thousands of others find refuge in territory that is now part of the modern State of Israel.
The student recounted what happened next:

The [student] directors of the conference pulled me aside and said that I cannot mention my
grandfather's rescue missions in my speech, because his rescue missions involve Israel. Nowhere does
my speech mention the current war or Zionism. It is strictly about the Holocaust. [The two student
organizers] told me that my family’s Holocaust narrative is not “tasteful” and ... I asked “what is

not tasteful?” [One of the students] laughed in my face and said, “oh my God.” This response was
incredibly hurtful and inappropriate. They told me that my family history is inherently one-sided
because it does not acknowledge the displacements of Palestinian populations, and I believe this
accusation is an antisemitic double standard.

According to the student speaker, while the forum organizers eventually allowed the speaker to mention
their grandfather's rescue mission, they insisted that the speaker omit reference to the British Mandate of
Palestine as their grandfather's destination.

In many ways, this story epitomizes what we heard about the experiences of numerous Jewish and Israeli
students at Harvard in the period after the October 7, 2023 attacks on Israel. Some Jewish students were
informed by peers, teaching fellows, and in some cases, faculty, that they were associated with something
offensive, and, in some cases, that their very presence was an offense. Perhaps the best way to describe

the existence of many Jewish and Israeli students at Harvard in the 2023-24 academic year is that their
presence had become triggering, or the subject of political controversy, and the students found themselves,
as with the student above, on the wrong side of a political binary that provided no room for the complexity
of history or current politics. Many Jewish Harvard affiliates were routinely asked to clarify that they were
“one of the good ones” by denouncing the State of Israel and renouncing any attachment to it.

This is the Final Report of the Presidential Task Force on Combating Antisemitism and Anti-Israeli Bias.
When established in January of 2024,' then-Interim President Alan Garber charged the Task Force to:

Examine the recent history of antisemitism and its current manifestations on the Harvard campus. It
will identify causes of and contributing factors to anti-Jewish behaviors on campus; evaluate evidence
regarding the characteristics and frequency of these behaviors; and recommend approaches to combat
antisemitism and its impact on campus.

1 The Task Force first convened under the name “Presidential Task Force on Combating Antisemitism,” with “Anti-Israeli Bias” added
in June 2024 to better reflect the Task Force's charge.

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Our work was preceded by a letter from 33 Harvard student groups that held Israel “entirely responsible”
for the October 7th Hamas attacks on Israel. The letter, which was made public as the Hamas invasion of
Israel was still underway, caught Harvard’s Jewish community in a moment of intense vulnerability and
grief and created a horrifying split screen, as community members juxtaposed horrific videos of violence
and assault on Israeli civilians, all while encountering media reports in which fellow Harvard community
members appeared to be blaming the victims, whose blood was not yet dry, for their own deaths.

This event marked the beginning of what history may remember as the “American campus front” in
the hostilities between Israel and Hamas beginning in October 2023 and, as of the date of writing,
still ongoing. These hostilities have expanded to include conflicts in several neighboring countries
in the Middle East. As students on all sides of the issue have organized demonstrations and sought
support from outside groups, Harvard, like other elite universities, has faced a profound crisis.

Since Fall 2023, different factions at Harvard have fought to force various University leaders to make
statements, invest, divest, hire, fire, doxx, un-doxx, discipline students and undiscipline them. Without a
doubt, the 2023-24 academic year was one of the most challenging years in recent history in American higher
education. Campuses found themselves struggling to understand how to handle wide differences of opinion
across and within educational communities. By January 2024, the situation at Harvard was particularly
difficult, as the institution contended with the sudden departure of its recently installed president and faced
legal challenges alleging systematic antisemitism and anti-Arab bias within the University.

This current crisis would have been unimaginable just a few years ago. To illustrate the stark departure
from past practices, we heard from a firsthand observer that, as recently as 2017, a co-president of the
Harvard Undergraduate Palestine Solidarity Committee occasionally attended dinners at Harvard
Hillel. While disagreements undoubtedly arose, this student and their Zionist peers engaged with
each other as fellow members of a shared academic community — and as friends — recognizing the
value of dialogue and understanding across differences. This period reflects a different era in intergroup
relations at Harvard — one in which students appeared to take more seriously their good fortune in
being at Harvard and the opportunities this afforded them to bridge divides and engage constructively
with diverse viewpoints, even across well-known and deeply felt disagreements.

‘This report summarizes the findings of the Task Force’s study of conditions at Harvard University. We
gathered oral and written documentation between March and September 2024, and we devoted the
rest of 2024 and beginning of 2025 to writing the report. Our work involved meeting with hundreds of
students, faculty, and staff in listening sessions for specific segments of the campus community as well
as private conversations with individuals. We also met with members of the wider Harvard community,
including alumni. In our outreach, we spoke with non-Jews, American Jews, and Jewish and Arab
citizens of the State of Israel within the Harvard community. Additionally, we reviewed a substantial
volume of materials provided by Harvard affiliates and received valuable feedback from members of
Jewish organizations both on campus and in the alumni community. The work of former President
Claudine Gay’s Antisemitism Advisory Group also proved beneficial.”

Our Task Force, comprised of faculty and students, views this report as a starting point rather than a
definitive conclusion, laying the groundwork for wide-ranging recommendations essential in our view
for the future of our campus community. We each come to this work with our own experiences here
at Harvard, and while those may inform our individual perspectives, our work over the past year relies

? Harvard’s Antisemitism Advisory Group was formed in October 2023 by then-President Claudine Gay in response to rising
concerns about antisemitism on campus, particularly after the Hamas attack on Israel. Its stated purpose was to “work closely with [the
president], guided by [the provost] and with the help of the School deans, to develop a robust strategy for confronting antisemitism on
campus.” The group's work concluded at the end of President Gay’s tenure. While the Task Force that produced this report benefited
from receiving the Advisory Group's report, the two groups are otherwise unrelated. The Task Force is a separate entity, established by a
different president, with a distinct mandate and almost entirely different membership (only one member in common).

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principally on the experiences of others. We are not dispassionate in these efforts. We have found many

of the narratives we heard upsetting, at times deplorable, often heartbreaking, but we have sought in this
report to share what we were told generally without overlay or gloss, leaving to the readers of this report
their own conclusions about what has transpired over the past year at a university we cherish.

In keeping with our charge, we did not conduct our work as if we were a court or a jury. While our
doors (and inboxes) were open to all, and we made extensive efforts to reach out and listen broadly, we
do not assert that we heard from every person or perspective at Harvard on these issues. We listened
carefully to the accounts and personal narratives shared with us and have presented them here as they
were conveyed, recognizing the possibility of selection bias, among other limitations, inherent in our
approach. While in some instances we received corroborating evidence for the narratives shared, we
did not require such evidence. We do not claim that these experiences expressed in these narratives
are universal or uniformly felt within the University. However, as detailed below, throughout countless
interactions with community members during the course of our work, we encountered certain themes
and patterns repeatedly. What we describe in this report reflects the experiences related to us by many
members of the Harvard community through listening sessions, discussions with student groups,
individual reports, and feedback from the open responses offered through an online survey.

As the Task Force went about its work, it was aware of historic continuities between the current moment
and past crises that have affected the Jewish people. The lives of Jews in one part of the world have
always been liable to affect Jews living elsewhere. When Jews at Harvard and elsewhere in 2023 placed
posters and held rallies to raise awareness of Israelis held hostage, they were following the same religious
and cultural prerogative to redeem hostages as the global Jewish community in the 17th century that
banded together to rescue refugees from Ukrainian pogroms who had been taken captive and put up for
sale in the slave markets of Istanbul.’ Our Jewish community’s concern for Israel was a continuation of

a tradition of American Jewish philanthropic solidarity for persecuted Jews throughout the world and,

in the 20th century, for the establishment and nurturing of a Jewish state. In 2023, Hamas’ invasion

of Israel led to a moment of intense vulnerability for Jews in America, thousands of miles away. Many
Jews at Harvard felt this vulnerability with a particular intensity. Due to constant media coverage,
Harvard became a focal point among many college and university campuses in the greatest wave of
global antisemitism and anti-Jewish political mobilization since the 1930s. These challenges were deeply
traumatic for many Jews both on and off campus. The events and experiences of this period on campus
confounded the expectations of Harvard’s Jewish alumni community, which had assumed that the largely
robust and barrier-free Jewish life that they had known as students was a norm that would continue
indefinitely. Many Jewish and Israeli students (Jewish and non-Jewish Israelis alike) recounted a year in
which events in Israel and reactions to those events here constituted obstacles to their ability to engage
fully in academic and co-curricular life at Harvard.

We learned through our work that the crisis of 2023 did not arrive in a vacuum. At the turn of the
millennium, changes in American demographics and Harvard’s admissions policies meant that by
2023 the Jewish student community was much smaller than it had been in the early 2010s. The
discussion of Israel-Palestine on campus had also become much more extreme. In the 1980s and
1990s, pro-Israel organizers and pro-Palestinian organizers had disagreed strongly yet often worked
together to build bridges and to imagine jointly a better future for the region. Those efforts started to
fade in the 2000s amidst the Second Intifada and through the Israel-Hamas wars of the 2010s, and by
the time Hamas crashed through the Israeli border fence in 2023 the conditions at Harvard (as in the
Middle East itself) were very different.

3 Teller, A., and Project Muse. Rescue the Surviving Souls: The Great Jewish Refugee Crisis of the Seventeenth Century. Princeton
University Press (2020).

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A new politics of some pro-Palestinian organizing appears to view bridge-building activities as a
form of betrayal, and a new generation of student activists seems to have begun to perceive Israel

as a symbol and vehicle of the evils of the United States and the rest of the Western world. As one
Harvard student wrote to their classmates shortly after October 7th in an email we reviewed, the
student could not reverse the partition of India that had traumatized their grandparents, but they
could organize other students to help free Palestine. A central feature of this politics is arguably the
notion that despite its military strength, Israel is nonetheless vulnerable and dependent, that it can
be affected by marches on American campuses and divestment and boycott campaigns in a way that
could not apply to, say, China, Russia, or America itself. It is precisely this sense of vulnerability that
many Israclis and American Jews at Harvard felt so intensely in the aftermath of the October 7th
attacks, and which often created a wide gap between how Jewish and Israeli students experienced
campus protests and what some of the protestors told us they thought they were protesting for.

‘The protests of academic year 2023-24 appeared to have had diverse motives. For many students,
including Jewish ones, sympathy with the Palestinians was a natural response to Israel’s massive
military response to the October 7th attacks and a rapidly mounting toll of death and destruction.
This sympathy did not mean that each and every participating student was calling for Israel’s violent
downfall or hatred of Jews worldwide. Yet for some protestors, at times the anti-Zionism enunciated
in the student protests crossed a line from a call for freedom and security for Palestinians and Jews
alike to a stereotyped notion: that Israel is not a state, but rather a “settler colony” of white Europeans
who have no real connection with the land they had stolen, that epitomized aggression, and was bereft
of virtues. This view had support among segments of Harvard’s faculty, staff, and students, including
a small but vocal segment of Jewish students. It can also be found in some Harvard curricula and
study abroad programs.‘ As we describe in greater detail in Chapter 4, some curricula, study abroad
programs, and parts of degree programs have offered a disturbingly one-sided education on Israel-
Palestine.> However, these programs are not the only places where problems have emerged. They may
have received the bulk of the attention during the 2023-24 academic year, but at the end of the day
they provide a window into a set of wider problems at the University and in academia writ large.

As we document concretely throughout this report, many Jewish students, staff, and faculty, as well as
non-Jewish Israelis, often find this intensely politicized environment difficult to navigate. Many non-
Israeli Jews told us they just prefer to avoid the topic of Israel, which is generally not a choice that
Israeli students can make. A Harvard faculty member who works closely with students reported to us
that some Jewish students choose to hide their identities on campus, which was something the faculty
member could not have imagined would ever be the case at Harvard. Many of the most engaged Jews

“While this may seem surprising to the reader — it was to us before we began this work — the organizers of the programs

that we discuss at greater length in Chapter 4 have published articles explaining their views and pedagogical goals, see e.g.: 1.
“Touring Absences, Erasures, and Futures in the Unholy Land: A Religiously Literate Diasporic Reading of Palestine/Israel,”
Palestine/Israel Rev. Oct. 1, 2024; 1 (2): 313-342, htips://scholarlypublishingcollective.org/psup/pir/article/1/2/313/390095/
‘Touring-Absences~Exasures~and-Futures-in-the (an article from organizers of an Isracl/Palestine-focused program at the
Harvard Divinity School explaining their goal of training pro-Palestine activists); 2. “Social medicine education towards
structural transformation in Palestine,” Soc. Sci. & Med. vol. 361, 2024, https:/Avwwisciencedirect.com/science/article/pii/
5027795362400786X/pdiitemd 5 =6cleb9b462216d207 ced 47 42d 886 2icdcpid=1 -s2.0-$0277953624007864-main.pdf (an article
from organizers of programming at the FXB Center and the Harvard T.-H. Chan School of Public Health); 3. hetps://link.
springer.com/article/10.1186/s13031-024-00634-0 (an article from organizers of the FXB Center Palestine Program in Health
and Human Rights (with co-authors) dismissing calls for “political neutrality” for humanitarian health centers at universities

as “curtailing thought” in light of “genocide, colonialism and imperialism’ and urging “unwavering demands for justice and
disruptive action.”); 4. https://pme.ncbi.nlm.nih.gov/articles/PMC9790940/pdi/hbr-24-02-229, pdf (an editorial from
organizers of the FXB Center Palestine Program in Health and Human Rights).

5'We wish to acknowledge that both Harvard Divinity School and Harvard TH. Chan School of Public Health had decanal transitions
during the 2023-24 academic year. The incoming deans inherited many of the challenges outlined in this report. Notably, at HDS, the
program we consider most problematic, has since undergone a leadership change, suggesting a potential for considerable improvement.

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on campus, who often have deep knowledge of the history of the region and, in many cases, a heartfelt
commitment to Palestinian rights, also told us that they found dialogue on campus to be exhausting
because their own histories and narratives were dismissed as either offensive or false.

Returning to the opening story about the student at the Harvard forum, the student organizers

who reportedly refused to allow the sharing of a peer’s family story allegedly did so in the name of
inclusivity. In telling their fellow student that their family history was unspeakable at Harvard in
2023, these students were expressing an inability to deal with historical complexities, precisely the
opposite of what a Harvard education should make possible. The message in our view seemed to be
that the student’s story of their family finding refuge in what is now the modern State of Israel cannot
be spoken because to consider Jews as victims of persecution and to bring attention to the fact that the
ancestors of many Israelis arrived as refugees would be to justify oppression. And, as such, a student’s
true story about their ancestor's heroic rescue of thousands of people becomes at best unspeakable,

at worst a lie, and in either case the attempt to portray Jews and Israelis as anything other than
malefactors is somehow a threat to others.

‘The hostility about which we heard has had significant consequences that are degrading to the
University. Some Jewish students told us they turned down offers of admission at Harvard Schools.
Some Jewish students completing PhDs said they decided to leave for private industry because of the
perception and experience of academia being unfriendly to Jews. Some non-Jewish faculty told us
that Jewish candidates turned down post-doctoral fellowships at Harvard. We also heard from Jewish
medical school students that they shied away from residencies at Harvard’s hospitals because of the
deep politicization of the climate. We have heard from many dozens of non-Jewish students, faculty,
and staff who were profoundly troubled at what they described as an intolerance that has crept into
higher education and that is also on display at Harvard.

We heard a common question from a wide range of interlocutors: If Harvard cannot preserve a welcoming,
pluralistic community of excellence for teaching and research, then who can? And what does the current
state of higher education, particularly in the wake of the 2023-24 academic year, say about its future?

A question we have often been asked to consider is whether anti-Zionism is a form of antisemitism.
Anti-Zionist students vow that they oppose Israel, not Jews. Zionist students usually grant that certain
criticisms of Israel are not antisemitic but claim that opposing Israel as a Jewish state is antisemitic. Both
statements require clarification.

Harvard students, like everyone in this country, have rights to freedom of conscience. Those rights
include a right to think critically of Israel and to express that criticism, even in ways that people who
identify as Israeli or Zionist may find discomfiting. The State of Israel, like other nations, engages in
behaviors that members of our community may find objectionable, even deplorable, and students and
others have the right to say as much, subject to the University’s policies and rules. However, “criticism”
does not justify intimidation, exclusion, bullying, or harassment of members of our community, nor
does it justify disruption of the University’s functioning. It is disingenuous to use a mild word like
“criticism” to describe raucous, aggressive, and inflammatory protest activity on our campus. Nor is it
mere “criticism” when Harvard faculty take Jewish students on study abroad trips to bear witness to
alleged crimes the students are told they share in; as the organizers of a study abroad program offered
at one School described it:

[Jewish American students on the trip] became overwhelmed with their sorrow at how the Jewish
tradition has become indistinct from a settler colonial nation-state project. They aspire to extricate
themselves from such a conflation, which implicates them in atrocities.°

§ See https://scholarlypublishingcollective.org/psup/pir/article/1/2/313/390095/Touring-A bsences-Erasures-and-Furtures-in-the
(describing a Harvard study abroad sponsored by the Religion and Public Life program at the Divinity School).

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‘This is describing a form of hereditary and collective guilt, where American Jews are guilty of alleged
crimes committed in some cases generations ago by other people. In this formulation, American Jews are
guilty of “atrocities” unless they distance themselves from the State of Israel. This is not simply “criticism of
Israel” — except insomuch as “Israel” is the ancient sobriquet of the Jewish people.

Moreover, even if hostility towards Israel is not necessarily antisemitic, it is unacceptable when its
expression violates our community’s fundamental values. The exclusion of Israeli or Zionist students from
social spaces and extracurricular activities; the posting of threatening messages regarding Israel on social
media; the attempts to persuade Jewish students not to enroll or to continue their education at Harvard;
and the failure of some of our instructors to teach about Israel/Palestine with academic breadth and rigor
are shameful acts. The fact that their ostensible target is Israel and not Jews as a collective is irrelevant.
Last but certainly not least, the slippage between “Israel” and “Jews” is widespread, as demonstrated by the
increase since October 2023 in classic antisemitic beliefs among the American public and attacks against
Jewish individuals and institutions throughout the world.

‘The ease with which “anti-Zionism’” slips into what is effectively antisemitism can be illustrated by two
events on Harvard’s campus.

‘The first was an antisemitic cartoon circulated in February 2024 by groups of pro-Palestinian Harvard
students, staff, and faculty on social media. The cartoon, depicting a white hand with a Jewish star holding
a noose around the heads of a Black man (Muhammad Ali) and an Arab man (Gamal Abdel Nasser),
came from 1960s Black student activism, and it was widely condemned as antisemitic by Black leaders at
that time. In a joint statement in 1967, prominent civil rights activists Whitney M. Young Jr., A. Philip
Randolph, and Bayard Rustin condemned the image as “filled with antisemitic venom.”’

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So why would antisemitic content from the 1960s re-appear on the social media feed of Harvard
students and faculty in 2024? One answer may be that many campus activists do not know much about
antisemitism, which makes it harder for them to “walk the line” between antisemitism and anti-Zionism.
Another answer may be that antisemitism is still present and has in recent years continued to be used as

7“SNCC Attack Draws Attacks: Group Repeats Attack on Jews.” New York Amsterdam News, August 19, 1967.

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a political organizing tool in societies as different as the United Kingdom and Pakistan, and the parties
involved are engaged in an ideological project to re-inject antisemitism into American politics in the hopes
that doing so will weaken American support for Israel. We are not in a position to know which of these
two causal forces or other factors is at work. Either way the consequences are unacceptable.

A second example came at Harvard’s 2024 Commencement. The University invited a prominent
humanitarian, Maria Ressa, to be the keynote speaker. After her invitation was announced, she was
attacked on social media by a group of right-wing commentators, including some who were Jewish. We
understand why she viewed the attacks as unfair. And we know she was aware of giving her speech on

a campus that was, at the time of Commencement, in turmoil, as some pro-Palestinian protestors had
been subjected to discipline that kept them from graduating with their class. Large numbers of students
and faculty objected to those disciplinary measures. At Commencement, many graduates wore visible
symbols of their pro-Palestinian politics. (Jeannie Suk Gersen, the John H. Watson, Jr. Professor of
Law at Harvard Law School, memorably described the experience of Harvard’s graduation this past
year as being like looking at “representatives of rival armies,” clad in stoles and other clothing signaling
identity and tribal affiliation.)* As we explain in greater detail in Chapter 2, Ressa chose not to deliver
prepared remarks that were meant to urge pro-Israel and pro-Palestine students to reconcile. Instead,
she substituted new remarks praising the student protestors and delivered off-the-cuff comments that
appeared to echo traditional conspiracy theories about Jews, money, and power. Why did a renowned
humanitarian ad-lib seemingly antisemitic remarks against her Jewish critics at a highly scripted Harvard
graduation ceremony? We do not know. To speculate, one answer may be that standing astride visible
political opposition to Israelis may make it easier for a speaker to slip into political opposition to Jews
and say hostile things about the Jewish people who had attacked her. In the Harvard audience she
addressed, it may have seemed there was no cost to offending Jews. Elsewhere on Harvard’s campus that
week, a different graduation speaker claimed that Israel was committing genocide against people in the
Democratic Republic of the Congo, underscoring the concerning climate surrounding discussions of
Israel and Jewish identity at Harvard.

‘The more time we spent on this problem, the more we learned about how demonization of Israel has
impacted a much wider swath of campus life than we would have imagined. Friend groups broke down

in the wake of October 7th as students traded recriminations or, in some cases, just stopped speaking to
one another on the assumption that they did not agree on important things. The bullying and attempts

to intimidate Jewish students were in some places successful. We were informed that a Jewish student
took a leave of absence after the chants from the protests shattered their sense of safety, and others with

a wide range of opinions on Israel reported they largely withdrew from campus life. We met an Israeli
graduate student who related being the subject of relentless bullying by pro-Palestinian activists who knew
nothing of the student or their past or politics but were pressuring their friends to stop talking to this
student. To our understanding, the activists did not have any kind of political conversation with the Israeli
student that might have occasioned this shunning; they simply saw an Israeli as an enemy and treated this
fellow student accordingly. One of the Israeli student’s non-Jewish friends also told us of being personally
impacted by the relentless harassment of the Israeli student, as the bullies proclaimed that they would

not be friends with any student who was friends with a Zionist. As a result of this ordeal, both the Israeli
student and the non-Jewish friend, who had no connection to or knowledge of Middle Eastern politics,
said they struggled to participate in many aspects of their Harvard degree program.

In another revealing account, we were told that a few years ago — long before October 7th — an Israeli
student in a Harvard degree program had been paired for group work with another student. The other
student informed the faculty member that they had pro-Palestinian politics that required them to avoid
normal relations, such as collaborating on a school group project, with an Israeli. This student asked the

8 hitps://www.newyorker.com/news/daily-comment/speech-under-the-shadow-of-punishment.

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faculty member for a new partner, noting that they had no objection to the Israeli student’s personality and
no critique of their academic work but that as a matter of political principle they would not work with the
Israeli. The instructor granted the request.

‘This course had nothing to do with the Middle East. The instructor, we were told, decided to grant the request
for a different work-partner because in their view a student who supported the cause of an oppressed group
should not be forced to work with a student identified as a member of an “oppressor group.” We believe that
this example illustrates a yawning gap between the University’s goal of an inclusive, pluralistic, and interactive
community of learning and academic excellence and how it is being interpreted on the ground.

While Harvard publicly champions inclusion and pluralism, these values are not consistently upheld by all of
Harvard's teachers, and, consequently, are not consistently encouraged among Harvard’s students. This lack of
common values is challenging for the University, which, as an entity committed to free inquiry, is not designed
for policing and disciplining its employees or its students. Discriminatory incidents like these are hard to
monitor, as the students who are victims of discrimination often prefer to avoid any kind of administrative
process that they may fear is designed to protect the instructor, not the complainant.

For the record, we are not claiming here that Harvard’s processes are unfair; however, they are often seen as
obscure and very slow, and we understand why students say they sometimes are afraid, in seeking enforcement
of policies and discipline, of what seems like a huge distraction that may be unlikely to yield a good result.

One faculty member expressed concern to the Task Force that:

‘The general shift of power from regular faculty and to para-academic administrators has played an
outsized role in the politicization and radicalization of academia and its intellectual and reputational
decline. In the case at hand, it is hard to believe that years of one-sided programming by such appointees
has not played a role in “hatred of the Jewish state” [becoming] the default position across campus.

While this perspective reflects the view of one faculty member, the Task Force acknowledges the potential
influence of such a power shift on campus climate. In this regard, we heard from students expressing
concerns about prejudiced behavior among some teaching fellows and junior personnel. Additionally, the
Task Force has received reports alleging that some senior faculty members espouse anti-Israeli biases and
express suspicion toward the Jewish community, suggesting their potential influence in shaping campus
climate should not be disregarded.

In this report, we will outline severe problems that will be hard to solve. We provide a detailed description
of the history of Jews at Harvard that may help illuminate some of the features that make this new era,
which started in the 2010s, a break from the past. We depict the profound difficulties that many Jewish
students report having encountered since October 2023.

We do not want to overstate the challenges, as Harvard also has much to be proud of and has a thriving, albeit
diminished and stressed, Jewish community. But it is also clear that significant trends within the University
seem at odds with the University’s stated values (which were summarized in 2018 by the Presidential Task
Force on Inclusion and Belonging), where pluralistic excellence is at the heart of what Harvard aims for:

Harvard University aspires to provide education and scholarship of the highest quality — to advance
the frontiers of knowledge; to equip students, staff, and faculty and academic personnel for fulfilling
experiences of life, work, and inclusive leadership in a complex world; and to provide all members of
our diverse community with opportunities for growth.

‘The 2018 statement goes on to maintain that achieving these goals requires affirming five values on campus:
“respect for the rights, differences, and dignity of others”; “honesty and integrity in all dealings”; “conscientious

pursuit of excellence in our work”; “accountability for actions and conduct in the community”; and

“responsibility for the bonds and bridges that enable all to grow with and learn from one another.”

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This is what Harvard wants. Our final chapter on recommendations describes how Harvard can pursue its
stated goals more fully and successfully. (In Appendix 1, we outline some improvements that the University
and the Schools reported they have made in recent months.) We must undo an environment at Harvard
where, as an Israeli Arab student told us:

Instead of diversity moderating people, people become more extreme. One Palestinian student showed
up [at Harvard], talking with Israelis. By the end [of their time at Harvard, the student] cut off ties with

Israelis and posted [on social media] in favor of Hamas.

We heard similar statements from many other people, including faculty and staff who work closely with
students. They saw Harvard as a place where, over time, many students’ politics become more radical and
where students become less tolerant of people who disagree with them. Faculty who work closely with
students told us that in this generation, students too often feel they are carrying the weight of their identities,
since they say that is how they sold themselves to Harvard in the application process. This positioning
contributes to a kind of affective polarization that, we believe, Harvard has neither anticipated nor developed
a set of tools to counteract. Reversing this polarization will require hard decisions and strong leadership. The
Israeli Arab student we spoke with provided a suggestion that we think is crucial for moving forward:

Harvard should change [its] admissions policy to reflect what campus should look like: people listening
to each other.

We agree, and we think Harvard has sufficient influence within the world of higher education to lead the
field into a better place. To be sure, we believe that the way forward will be very challenging. But the work
is important and the vision of higher education that Harvard encapsulates at its very best is worth fighting
for. During the course of the Task Force’s work, we did see that better version of Harvard on display
throughout the University as well. The University has summarized some of the actions they have taken
since our Task Force released our Preliminary Recommendations in June 2024.’ Here are a few examples:

° In our work, we found courses and programming at the Harvard Kennedy School of Government where
students had meaningful and significant conversations about the Middle East, with guests representing
a wide range of experiences and perspectives — for example, in the public conversations facilitated by
Professor Tarek Masoud and in similarly wide-ranging, high-quality, and respectful conversations sponsored.
by the Weatherhead Center for International Affairs under the directorship of Professor Melani Cammett.

* We discovered classes at Harvard Law School that students praised for offering thoughtful discussion of
contentious issues, such as a law of war class taught by Professor of Practice Naz K. Modirzadeh where
veterans of the Israeli and American militaries and those who had lived through Middle Eastern conflicts
as civilians had difficult and thoughtful exchanges on supremely challenging issues.

* Harvard College has, for its most recent admissions cycle, added a question for all applicants asking
them to describe a time when they strongly disagreed with someone, about an idea or issue, how they
communicated or engaged with this person, and what they learned from this experience.

* A Jewish Harvard College student organized an Israel-Palestine hotline, staffed by Muslim, Christian, and

Jewish volunteers, that offers informative and nonpartisan answers to questions posed by the general public.

* The Edmond and Lily Safra Center for Ethics has been running the Intercollegiate Civil Disagreement
Fellowship Program since 2020, which provides students with training in moderating conversations with
peers on difficult subjects, and which also sponsors public dialogue events on controversial topics with
speakers who represent multiple viewpoints.

* https://werw. harvard.edu/task-force-on-antisemitism/#imp ionup

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* The annual student-conceived and student-run Harvard College Israel Trek, founded in 2014, which has
included Arab as well as Jewish Israeli student leaders from its inception, takes Harvard undergraduates
to both Israel and Palestine, introduces them to Israeli and Palestinian political, cultural, and intellectual
leaders, and encourages participants to think broadly and critically about their experience. There are
many recorded testimonials from non-Jewish participants describing the trip as their “best experience at
Harvard” and as what they imagined Harvard community and a Harvard education would be like.

¢ At Harvard Business School, the Jewish Students Association and the Middle East and North Africa
Club co-sponsored a faculty panel on “Geopolitical Implications of the Israel/Gaza Conflict,” with
a student from each organization moderating. For their leadership and community contributions
throughout the year, the co-presidents of both student organizations were recognized at the 2024
Commencement with the prestigious Dean's Award.

* Perhaps most encouraging of all, some students do continue to reach out substantively to one another
across the differences that so often divide many others. Students at Harvard College launched a group
that hosts conversations between Jewish, Israeli, Arab, Muslim and Palestinian students. This group,
which formally started in 2022 prior to October 7th, worked with Harvard professors such as Arthur
Segel and Michael Sandel to host notable Palestinian and Israeli guests. Additionally, some members
of this group jointly visited Israel and Palestine. This student group continued meeting after October
7th and, despite political differences, established deep trust and got to know each other’s backgrounds
and perspectives.

* The President’s Building Bridges Fund, created in response to interim recommendations of this Task
Force and its sibling Task Force, was launched in Fall 2024. It made its first awards in Spring 2025,
supporting student-initiated programming designed to encourage constructive dialogue across groups
with fundamental areas of disagreement. These efforts will complement programming offered across the
College and the graduate and professional Schools with similar objectives.

A more extensive list of illustrative examples from School and University initiatives appears in Appendix 1.

Examples like the ones above show Harvard at its best. Given the nature of our task, the remainder of
our report mostly discusses what may be Harvard at its worst. But these examples show that there is
another Harvard besides the one we describe, and that something different is possible. To be clear, we
believe that Harvard’s positives, including for Jewish students, far outweigh the negatives. But Harvard,
by its nature, is never comfortable with anything but the superlative, and we approached our task with
that yardstick in mind.

We also feel the need to re-emphasize that Harvard is home to a dazzlingly talented and thriving Jewish
community that perseveres even in the face of challenges. Jewish Harvard affiliates often expressed to

us their frustration that the public discussion of Harvard focused only on the negatives. We recognize
that this report and the public discussion that we hope it sparks will be frustrating for some of them, but
we believe this will begin a discussion that will lead to a better Harvard, and hopefully a better higher
education, for all students.

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Our report is the product of a process that began when our Task Force started meeting in February 2024.
After Spring Recess, the Presidential Task Force on Combating Antisemitism and anti-Israeli Bias convened
some 50 listening sessions that reached approximately 500 students, faculty, and staff. The listening sessions
took place over a period of two months. After the completion of the sessions, the Task Force worked in
subcommittees on the history of the Jewish experience at Harvard; current Jewish student life; University
policies and procedures on complaints, protest, and discipline; and the particular challenges at the locationally
distinct Longwood Medical Area. Our Task Force also featured two subcommittees formed jointly with our
colleagues on the Presidential Task Force on Combating Anti-Muslim, Anti-Arab, and Anti-Palestinian
Bias. One joint subcommittee designed and implemented a University-wide survey of student, faculty, and
staff opinion about their sense of belonging and comfort expressing their identities and political views. The
other joint subcommittee drew up proposals to foster a more pluralistic environment conducive to respectful
engagement and disagreement —- something that both Task Forces believe to be imperative.

‘The subcommittees worked over Summer and early Fall 2024 before submitting their reports to the Task
Force co-chairs, who drew on them along with other materials when writing this final report.

Background

To understand the events at Harvard in Fall 2023 and thereafter, it is helpful to appreciate them against the
backdrop of changes within pro-Palestinian organizing strategies and the University and its students. These
changes were already present long before October 7th, but the Hamas attack and its aftermath appear to
have accelerated and intensified pre-existing trends.

1. Changes in Pro-Palestine Organizing

In the history section in Chapter 1, we cover the history of pro-Palestinian organizing at Harvard
University along with the history of the University’s Jewish community, as the two are highly intertwined.
As we show, pro-Palestinian organizing at Harvard used to look quite different than it does today. When
Dina Abu-Ghaida ‘91 co-founded the Palestine Solidarity Committee on campus in 1990, she created a

group that aimed for engagement with sympathetic Jewish organizations on campus and a two-state
solution. During the 1980s and 1990s, it was not unusual for pro-Israeli and pro-Palestinian students on

campus, as well as their supporters, to hold joint events that very much reflected and supported the Oslo
peace process of the time. This is not to say all was well — we document several incidents of intense
disagreement between students over the Israeli-Palestinian conflict — but the issue was characterized by
engagement and joint work towards justice, freedom, and security for both Israelis and Palestinians.

This hopeful environment began to sour in the 2000s, as the Second Intifada and the Israeli military
response to it shattered the Oslo peace process and moderates in both Israel and Palestine lost power. In
2005, pro-Palestinian activists worldwide founded the Boycott, Divestment, Sanctions (BDS) movement,
which condemned the kind of joint programming that had characterized earlier periods at Harvard as

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“normalization.” The BDS movement quickly migrated into American higher education, where pro-
Palestinian organizers (including at Harvard) urged their universities to divest endowment assets from
Israel and companies seen as supporting either the Israeli settlement enterprise in the Occupied Territories
or, in some cases, Israel as such.

Further changes in the campus atmosphere regarding Israel came in the 2010s, partly in response to

what was a disastrous decade for the Palestinian cause and for the lives of many Palestinians. The period
was punctuated by periodic violence between Israel and Palestinian militant groups, especially in Gaza,
resulting in the deaths of thousands of Palestinians. The political process that Oslo had set in motion,

and that optimists hoped would lead to Palestinian statehood, collapsed. In its place, Israel began making
one-off peace deals with regional Arab powers under the U.S.-sponsored Abraham Accords, putting

the Palestinians in peril of disappearing into a region that appeared to be losing interest in their plight
and a world that appeared to view the Palestinians as “inconvenient.” If in the 1990s, many Palestinians
dreamed of an independent state with a capital in East Jerusalem, the acceleration of the Israeli settlement
movement over the 2010s appeared to leave the Palestinians closer to losing the land they continued to
hold than regaining any territory lost in the Israeli-Arab wars of the 20th century. In our work, the spillover
from the Abraham Accords onto the Harvard campus was notable for not only bitterness on the part of
pro-Palestinian students, but also the optimism of Arab students from the Gulf states that had recently
normalized relations with Israel. Some of these students were excited about the possibilities of peace
between Israel and the Arab world and expressed deep sympathy in discussions with the Task Force for
what they saw as the unfair treatment of Jewish students at Harvard.

In partial response to the collapse of the path of peace in the late 2010s, pro-Palestinian organizing on
campus took on a more aggressive tenor. Gone were the unity events with Israeli and Jewish students that
were common 20 years before, and what replaced them were protests, arguably far more aggressive, that
aimed to build awareness for the Palestinian cause in many corners, including at Harvard. As universities
are always being re-invented by new students, the current generation participating in pro-Palestinian
advocacy may or may not have an understanding of how the political movement was changing, but these
changes are observable over time in the history section we present in Chapter 1.

‘This new era of pro-Palestine organizing has brought new tactics to the table. One tactic focuses on
identifying and leveraging organizations and structures that were susceptible to pro-Palestinian messaging
and could be mobilized against Israel. Initially, scholarly associations were a common target of this

tactic. For example, around 2010 a group of anti-Israel academics worked to take control of the board of
the American Studies Association with the apparent goal of (among other things) issuing a statement
supporting the boycott of Israeli universities.!° At Harvard, such tactics were echoed by activists in the
local graduate student labor union who, after October 7th, issued their own statement condemning Israel,
prompting the resignation of many Jewish members and their allies. Similarly, as we will describe in
Chapter 4, some Harvard instructors appear in recent years to have used courses and academic programs at
certain Harvard Schools as focal points for a particular type of pro-Palestine politics and activism.

A second tactic that some pro-Palestinian organizers have adopted is trying to inject discussion of the
Palestinian cause wherever possible and to use disruptive tactics to raise awareness of the cause. At Harvard,
student lifecycle events that are meant to build a common civic identity as Harvard students (such as

10'We know much about what transpired at the American Studies Association because one of us closely followed and wrote
about the case brought by several ASA members against the ASA and its directors for alleged violations of corporate law in the
adoption of a BDS resolution. See e.g. https://www.wsj.com/articles/anti-israel-activists-subvert-a-scholarly-group-15 12337924,
Emails and other documents turned over in discovery indicated that an anti-Israel activist joined the nominating committee

in 2010 and then worked over the course of several years to add pro-Palestine activists to the leadership of the ASA. Emails
indicate that the activists seeking election to the board wrote to each other about the importance of hiding from members

their plans to support a boycott of Israeli universities, and other documents and testimony suggest that member voting was

manipulated to increase the likelihood that the BDS resolution would (appear to) pass.

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First-Year Convocation at Harvard College, and residency “Match Day” at Harvard Medical School) have
become sites of pro-Palestinian protests as protestors seek to inject “the question of Palestine” into areas

of student life. At a student-led conference in 2024, pro-Palestinian students at one School ensured that
Palestine was a major topic, and the pro-Palestinian “virtual tote bag” given to participants contained an
“action toolkit.” (This School’s leadership responded admirably to this event, acting promptly and decisively
to remove the irrelevant material and re-focusing the event on its intended purpose.) Some faculty at
Harvard and elsewhere have sought to support and inspire students to engage in these types of protests

by excusing them from class, by signaling support with symbolic clothing, or by saying so directly or
indirectly. As we discuss in Chapter 4, we found evidence that certain faculty were injecting highly partisan
discussions of the Isracli-Palestinian conflict and of American Jewish groups in courses that had no direct
connection with these subjects, apparently even before October 7th.

‘These tactics seem to reflect a type of politics of protest, and an echo of the dire state of the Palestinian
cause in the Middle East. Because of the principle of academic freedom, faculty also have unusual power
over their classrooms and over students, and thus there may be a relatively low cost to using part of their
authority in the service of pro-Palestinian organizing, whereas a mid-level manager at a major company
could risk summary termination if they engaged in political organizing at work.

At their most extreme these tactics tend to reflect a conceptual framework that can be summarized as follows:
Israel is not a sovereign state so much as a “settler colony” created and sustained by Western colonial powers
and that, for all its military strength, can be broken and dismembered. As Harvard Out of Occupied Palestine
(HOOP), a pro-Palestinian student group at Harvard that is not recognized by the University, said on
October 8, 2024, a year after the Hamas invasion of Israel, “[Israel] is a genocidal regime [that] has exposed
itself as an illegitimate state with no concern for life, its very foundation being the dehumanization and
subjugation of Palestinians, aided and abetted by our own government's and University’s callous disregard for
Palestinian life ... Make no mistake: The Zionist entity is crumbling and grasping for regional war as its only
path towards survival.”

Pro-Palestinian activists often target what they see as key planks in Western support for Israel:
1. the belief that Israeli Jews have a historic connection to the territory of the modern State of Israel;
2. a view of Israel as a Western liberal democracy; and

3. the post-Holocaust social prohibition on antisemitism, whether expressed as outright Jew-hatred or
the denial of the State of Israel’s legitimacy.

The apparent hope is that, over time, by attacking the connections between Israel and Israelis and the
United States, they believe — echoing the words of HOOP — the “Zionist entity [will] crumbl[e].”

‘This political project is often advanced through activism in universities, including Harvard. In our work, we
found this activism negatively affecting the academic mission of Harvard in three ways:

1. Some across academia, including at Harvard, have been engaged in a broad effort to show (as an
article recently assigned to students in an elective course at one School said) that the relationship
between modern Jews and any origin story in the territory of the British Mandate of Palestine is
ahistorical." A cluster of academics elsewhere promote this theory, disputing any link between the
Jewish population in the ancient Middle East, Jews in the modern Western world, and the Land of
Israel (as it is known in the Jewish tradition). This polemical literature is contradicted by scholarship
demonstrating longstanding connections between ancient Middle Eastern and modern Jewish
populations as well as the religious concepts, charitable networks, and migration flows that have long

"4 See pages 158-159. We note that the article was assigned in one semester of the class in 2022. The instructor removed it
from the assigned reading in future versions of the course after a student complaint prompted an internal review of the course
by the School's education committee.

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connected Jews to the Land of Israel, distinct though those bonds may be from modern Zionism.
However, some have succeeded in turning this subject into an academic debate, and faculty assigning
these materials may do so without also assigning readings that offer differing perspectives.

. Some across academia, including at Harvard, are engaged in an effort to convince Americans (both
Jewish and non-Jewish) that Israelis are only “Western” in the sense of being colonial masters and
rapacious oppressors. At one School, there seems to have been a sizable volume of programs over the
past few years accusing Israelis of engaging in willful mass killing, with limited context about how
relations between Israel and Hamas-run Gaza deteriorated to the point that such violence is possible
and what actions Hamas fighters may have taken to prompt Israel’s military conduct in Gaza. The
deaths and carnage that the School’s events discuss are very real, and the horrific civilian death toll in
Gaza since late 2023 dwarfs the already disastrous casualty figures from prior Israel-Hamas conflicts
in the 2000s and 2010s. This sort of totalizing rhetoric, however, according to which Israelis exist
only as abstract figures intent on genocide, risks stymieing in-depth understanding of Israeli politics,
policy, and society, as well as an understanding of Hamas and Palestinian politics.

‘This rhetoric can be, moreover, particularly harmful when applied to Israeli students at Harvard,
whose own views about the political situation in Israel/Palestine, we should note, vary widely.

A deeply troubling application of this strategy we have heard about across Harvard is an attempt by
student activists to drive Israeli students (and Jewish students who feel connected to Israel) out of
student life. This often takes the form of “shunning.” Israeli Jewish students complained to our Task
Force of great difficulties participating in student organizational and club life, for example, and told us
alarming stories of people walking away from them mid-conversation as soon as it came up that they
were from, for instance, Tel Aviv. As American Jews at Harvard often have Israeli immigrant heritage
or other connections to Israel, this type of organizing often undermines the ability of Jewish students to
participate in Harvard’s learning environment. We also learned of Israeli Muslim and Israeli Christian
students and staff who experienced social discrimination because of their Israeli national identity.

An Israeli Arab student told us:

You get used to social discrimination from [the] first day at Harvard by people of Arab descent.
People refusing to speak to you. Not even pretending to be nice. Some people pretend to be nice
and end conversation in [a] polite manner when they find out [I am] Israeli and then don't talk
to [me] again.

Faculty in some parts of Harvard also expressed fear that their colleagues would not vote to appoint
a Zionist or an Israeli to a faculty position in their departments.

We came to understand that this effort by some students to block Israelis at Harvard from building
bridges and friendships could be seen as an attempt to practice what pro-Palestine activists have
termed “anti-normalization.” Across Harvard, non-Jewish students unconnected to Israel told

our Task Force that they had come under social pressure to end friendships with Israeli students.
American Jewish students told us similar stories, where they felt pressure to condemn Israel to prove
they were “one of the good ones” (meaning, an “anti-Zionist Jew”), and faced social consequences
when they refused. This is best understood as an attempt to deny the humanity of Israelis, by treating
them as pariahs unworthy of respect as fellow humans rather than fellow Harvard affiliates.

. There is an ideological effort underway to weaken the post-World War IT social consensus that
antisemitism is a form of bias, like anti-Black racism or xenophobia, that society should stigmatize
and guard against. In the US, this effort has taken the form of pushing mainstream Jewish
organizations out of progressive coalitions as “unworthy interlocutors” on civil rights issues.

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Harvard’s campus may be particularly susceptible to this trend. While the University has expressed
a growing institutional commitment to combating bias, antisemitism has historically been absent
from the forms of prejudice addressed in student orientation programs and other platforms where
Harvard comraunicates its values; we understand that efforts to rectify this deficiency are underway.
This omission may stem from a misperception that Jewish success at Harvard negates the existence
of antisemitism. But other factors may also contribute to this gap.

Jewish students told us stories of Harvard-run “privilege trainings” where they were told that they

were deemed to be privileged not only by dint of being identified as White but also because of their
Jewishness, which allegedly endowed them with an even higher level of privilege. This discourse creates
absurd situations in which Jewish students from working class backgrounds are told by authority figures
that they are oppressing classmates from much wealthier backgrounds and with stronger preparation
for academic and social life at Harvard. These sorts of exercises are deeply poisonous and risk creating
barriers between students who often naturally seek to connect through common interests.

We also encountered an effort by some to redefine antisemitism in a way that drains the term of
meaning. For example, while we were writing this report a prominent Jewish leader on campus
made public statements about what this person saw as antisemitism in a University program. We
then received complaints from Jewish and non-Jewish Harvard affiliates that essentially inverted
the accusation, claiming that the prominent Jewish leader was antisemitic and that the program
the individual had criticized was the only unit on campus in their view fighting antisemitism.
This position changes antisemitism from a serious bias worth combating into an accusation that
is strategically deployed in order to obfuscate legitimate concerns. Similarly, 500 Harvard affiliates
wrote a letter in Fall 2024 condemning an outside Jewish organization's scheduled antisemitism
training session at Harvard. Such a pre-emptive response towards anti-bias education would be hard
to imagine if the topic were bias against any other group.

In practice, we found that Jewish Harvard affiliates do not think in terms of clear, formal definitions
of antisemitism: they were likely to complain about antisemitism when they felt that people were
treating them differently because they were Jewish. For example, when other students (Jewish or
not) told them that what they were experiencing was not antisemitism, Jewish students often felt
this negation of their actual experiences and perceptions as a form of bias that was inconsistent with
the prevailing anti-bias framework that prioritizes “lived experiences” and “discriminatory impact.”
Some Jewish students experienced this dissonance, frequently and acutely, as a widespread and
sometimes institutionalized double standard.

Many Jewish Harvard affiliates expressed that implementing any or all three of the above-mentioned
strategies — denying spiritual and historical connections between Jews and historic Palestine, presenting
Israel entirely within a framework of rapacious settler-colonialism, and refusing to consider Jews to be
members of a historically vulnerable minority group — constituted antisemitism, which we define in this
report as an identity-based bias that has kept Jewish Harvard affiliates from fully participating in Harvard's
educational, co-curricular, and social life. Many perceived attempts by others to revise their history or to
introduce unfounded “debates” about established facts — not legitimate subjects of academic discourse —
as forms of antisemitism. Even many non-Israeli Jews (and at this point in Harvard’s history it is likelier
that a higher percentage of Harvard’s Jewish students have some Israeli connection than ever before) often
view attempts to demonize Israelis as one-sided and antisemitic. Notably, we spoke with both Zionist and
anti-Zionist Jewish students who expressed discomfort with, and identified elements of antisemitism in,
the pro-Palestine protest movement on Harvard’s campus.

During the 2023-24 academic year, some Jewish staff, faculty, and students felt that injecting the Israeli-
Palestinian conflict into unrelated contexts and events at Harvard was effectively an attempt to make them
feel uncomfortable or exclude them from educational, co-curricular, or social programs. As previously

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mentioned, many Jewish students described being pressured by classmates to condemn Israel, with some
also feeling pushed to wear clothing that signified solidarity with pro-Palestinian and anti-Israeli efforts.
Some Jewish staff described feeling pressured by pro-Palestinian coworkers to take political positions they
found uncomfortable yet also feeling uneasy refusing when confronted by groups of coworkers. And many
Jewish Harvard affiliates expressed profound dislike for being told they cannot label something antisemitic
when they experience it as such.

Similarly, both Israeli Jews and Arabs experience anti-Israeli bias, defined in this report as an identity-
based bias that has kept Harvard affiliates with Israeli nationality or background from fully participating in

Harvard’s educational, co-curricular, or social life. It is a form of national origin discrimination.

During our work, we were aware of three formal definitions of antisemitism developed or endorsed by
NGOs over the past two decades. The first, developed by the European Monitoring Center on Racism and
Xenophobia, was crafted, in the words of the American Jewish Committee, as a “working definition to help
government and civil society monitors as well as law enforcement in their work.”’? Made public in 2005, it
was endorsed 11 years later by the International Holocaust Remembrance Alliance and is now commonly
known as the IHRA definition. Two others were published in 2021 in Nexus White Paper: Understanding
Antisemitism at its Nexus with Israel and Zionism and the Jerusalem Declaration on Antisemitism. As we
carefully reviewed the situation at Harvard, speaking with hundreds of individuals and poring over the
historic record of the position of Jewish and Israeli students at Harvard, and recognizing that no one
definition can be applied to all contexts, the Task Force opted to prioritize faculty, staff, and students’ actual
experiences over definitions developed by outside parties. When members of the Harvard community
experience hateful conduct and exclusion, the problem is the conduct and the exclusion — not whether it
maps onto a lengthy definition of antisemitism or any other form of bias.

As we were completing this report, Harvard University settled two lawsuits. The settlement conditions
included Harvard’s recognition for certain purposes of the IHRA definition, aligning with IHRA’s

2019 acceptance by the US Department of Education's Office for Civil Rights for the purpose of Title

VI enforcement.’? While this Task Force was not involved in the settlement negotiations, we hope this
development encourages greater investment at Harvard in building a more robust pluralistic atmosphere, and
enhancing opportunities for substantive study of antisemitism, the history of Israel, and the Middle East.

Jewish and Israeli affiliates also told us that they felt their experience on campus was unique, and that no
other group was constantly told that their history was a sham, that they or their co-religionists or co-
ethnics were supremacists and oppressors, and that they had no right to the protections offered by antibias
norms. Many Jewish students told us they feel that they are objects of suspicion. Some Jewish students
with historical literacy complained that the world was full of “ethnostates” created in the first half of the
20th century through partition and population transfers, but only one was the focus of intense activist
attention (usually without reference to examples that would place the Israel/Palestine conflict in any kind
of context). We are not aware of any other group on campus that is subject to social exclusion as part of an
intentional campaign by political organizers. One Jewish graduate student who had been at Harvard as an
undergraduate years before told us that “Jews are now being treated like Republicans were when I was in
college,” which of course points to another problem with which elite universities have been struggling.

We observed that some Jewish students in programs at the Harvard Schools ostensibly most committed to
social justice seemed to struggle to navigate environments they perceived as systemically antisemitic. This
struggle appeared particularly acute when they encountered what they believed to be one-sided programming
that portrayed Israelis as uniquely villainous. Indeed, a Jewish student at one School, recently interviewed by

? American Jewish Committee, “The Working Definition of Antisemitism: What Does it Mean, Why is it Important, and
What Should We Do With It?” https:/Awww.ajc.org/the-working-definition-of-antisemitism
13 https://www.insidehighered.com/news/quick-takes/2024/05/02/house-passes-new-bill-codify-antisemitism-definition

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The New York Times, expressed surprise upon rereading some of her work from the 2023-24 academic year for
her professors at HDS. She was dismayed by how insensitive her writing had been to the Israeli perspective.
According to the article, she said that “anti-Zionist views seem built into some classes.” “

‘The three strategies described above, which many members of our community consider to be antisemitic,
present significant challenges for universities that aim to empower faculty and student creativity. While the
Task Force shares the view that courses at Harvard should strive for both creativity and academic integrity,
efforts to assure quality control may encounter resistance from faculty and staff justly concerned about
censorship and threats to academic freedom. However, an academic venue such as a publication or class is
no guarantee of integrity. The proliferation of scholarly journals creates opportunities for motivated actors
to publish polemics without adhering to objective standards of evidence. While this outlet for creativity
represents a core strength of academia, it can also undermine academic integrity. Moreover, if a faculty
member teaching a course unrelated to Israel/Palestine incorporates derogatory references to “Israelis” and
“Zionists,” as we were told happened at multiple Harvard Schools over the course of the 2023-24 academic
year, the University is likely to respond with some frustration, even exasperation, but may, nonetheless, strive to
defend the academic freedom of its instructors.

‘These strategies also may place the universities in a highly vulnerable position, because “Israel” is not an
abstract idea — it is a real country that exists, whose citizens are students, faculty, and staff on American
campuses, including at Harvard. Universities relate to those Israeli community members not through

the prism of political questions about the biblical narrative or settler colonialism but instead through the
laws that require universities to ensure an educational environment free of national origin discrimination.
Politically driven research and one-sided programming present brand and reputation risks that American
universities need to take seriously. Whenever student governments in various Harvard Schools have voted
to call for a boycott of Israel or to end student exchange programs, numerous Israeli and Jewish students
have written to the Task Force about what they feel is an act by some students to protest the existence of
other students in their own community.

2. Changes in the University and its Students

Key features of Harvard, as it was on the eve of October 7, 2023, help us better understand what happened
to Harvard after October 7th and why. In Fall 2023, Harvard was in many ways in a state of flux,
undergoing multiple changes that altered life on campus:

* Harvard’s student body globalized over the course of the early 21st century. As the University expanded
both internationally and across a wider range of high schools and regions within the United States,
incoming Harvard students probably had less familiarity with Jews than they did in, say, 1990. There are

few Jews outside of Israel and major American, European, and Latin American cities.

* The students at the University often had their education and personal development significantly
disrupted by the COVID-19 pandemic.

* In its conversations with staff, the Task Force learned that the COVID-19 pandemic, particularly the
safety measures in place at its peak — such as suspending in-person classes and shifting to online learning
— probably disrupted continuity and institutional memory across Harvard’s student organizations. This
period appears to have greatly impacted extracurricular life, leaving a void of experience with established
norms and expectations that continued to affect student organizations into the 2023-24 academic year.

* Over the past few years, Harvard College students have, we were told, become more likely to segregate,
socially and residentially, into narrowly defined identity groups and to engage in in-group policing than

4 See https://Awww.nytimes.com/2024/12/14/us/college-campuses-gaza-conversations. html.

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in the past, which some faculty and staff who interact intensively with College students believe is a
source of polarization.

° In 2017, Harvard College reportedly rescinded admissions offers to several prospective students due
to their alleged involvement in sharing racist, antisemitic, and sexually offensive messages on social
media. This action, we were told, led some students to believe that the College and other parts of the
University would continue to monitor and take action against similar expressions of prejudice on social
media within the student body.

* While social media is not a new phenomenon at this point, its pervasive presence means that, compared
to previous generations of students, a far greater portion of students’ exchanges of thoughts and opinions
now occur outside of Harvard’s classrooms and other traditional campus spaces.

* In our work, we observed that many students expected the various equity, diversity, inclusion, and
belonging (EDIB) offices created in the Central Administration and the Schools in the last decade
to resolve instances of identity-based bias, which then led to frequent appeals for intervention and
classification regarding a wide range of student grievances. We found that some students may have had
an inflated view about the EDIB office’s authority and capacity to address such matters.

* The University’s 2021 creation of an Anti-Bullying Working Group'® — tasked with recommending
University-wide policies and procedures to address potentially abusive and intimidating misconduct,
recommendations that later informed the 2023 Non-Discrimination and Anti-Bullying (NDAB) Policies
—— may have inadvertently led some students to misunderstand the University’s capacity to address a wide
range of student concerns that, while important, fall outside the scope of these policies.

* Beginning in the mid-2010s, University leaders increasingly commented on matters of public controversy
— including geopolitical developments and U.S. social and political issues — even when those matters
were not directly related to the University’s core functions of research, teaching, and learning. These
statements, which took various forms, may have fostered an expectation among some members of the
Harvard community that the University would always take their side on political and social matters of
concern to them.?”

* In the Task Force’s view, University leaders made significant concessions in response to various protest
campaigns throughout the 2010s, including, for example, those advocating for fossil fuel divestment. The
relative success of these earlier protest movements — compared to the pro-Palestinian protest movement
in Fall 2023 — may have fueled both a degree of hope and then frustration among pro-Palestinian
protestors, who may have perceived these past successes as a potential roadmap for their own efforts.

In addition to these broader University trends and developments, several others specific to Jewish life at
Harvard emerged during our conversations:

* Though the University does not collect statistics on the religious affiliation of students, the Task Force,
based on a variety of factors, surmises that the Jewish population at Harvard in Fall 2023 was probably
considerably smaller than in previous decades.

5 Rebecca Heilweil, “Harvard Rescinds Admissions To 10 Students For Offensive Facebook Memes,” Forbes, June 5, 2017,
*6 https://communitymisconductpolicies. harvard.edu/.

In April 2024, the Institutional Voice Working Group, co-chaired by Professors Noah Feldman and Alison Simmons, was
formed by then-interim President Alan Garber and then-interim Provost John Manning to address when and how Harvard
should speak on public matters. This group’s core recommendation, accepted by University leadership, was that Harvard
should exercise restraint in issuing official statements on matters outside its core functions of research, teaching, and learning.
As a result, this behavior will presumably now be different.

18 See e.g. hetps:/Avww.thecrimson.com/article/2024/8/30/rakesh-khurana~photo-essay, about then-College Dean Rakesh
Khurana trying to quiet a crowd to create space for a moment of silence in honor of victims of police violence.

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* Given broader demographic changes within the American Jewish community, as well as the University’s
increasing globalization, the Task Force infers that among Jewish students at Harvard, a larger proportion
than in previous decades may have Israeli nationality, be Israeli- Americans, have family in Israel, or have
studied in Israel as part of high school or gap-year programs.

* As pro-Palestinian student organizers and their sympathetic peers have assumed a more visible role on
Harvard’s campus in recent decades, their activism has become increasingly disruptive, including more
frequent interruptions of University events, such as the College’s First-Year Convocation. This development
has contributed to some Jewish students feeling alienated from central aspects of student life.

* Two academic programs at Harvard Schools, detailed in Chapter 4, stand out as focal points for concerns
about one-sided approaches to Israel/Palestine topics within their coursework, experiential learning
offerings, and, in one case, a degree program.

* In the three years preceding October 7, 2023, the Task Force found, there was a scarcity of instruction
on the history and politics of Israel/Palestine at the University, aside from the two academic programs
mentioned in the previous bullet, which students who spoke with us criticized for presenting one-sided or
distorted perspectives.

* During the latter half of the 2010s, in the view of some in the Harvard community, anti-Israel bias had
become normalized, especially within politically progressive spaces. This normalization, we were told,
put pressure on Jewish students to disavow Israel and are especially difficult for Jewish students with
progressive politics who wanted to inhabit those spaces. Norms about non-discrimination and equal
treatment among Harvard students appear to have faded, or at the very least, we were told there is an
“Israel exception” to those rules (or an equally pernicious notion that anti-discrimination norms apply
unevenly to Harvard affiliates based on supposed relative privilege).

While we cannot make a causal claim about any of the changes at Harvard, it is notable that October 7th
arrived on a campus with growing animosity against Israel and suspicion, if not downright hostility, towards
Israelis, Jews, and others sympathetic to Israel.

This Executive Summary continues below with brief overviews of Chapters 1-5, offering a concise
introduction to the report’s key findings and recommendations. However, for a full and comprehensive
treatment of the topics, readers should refer to the chapters themselves.

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Chapter Overviews

OVERVIEW

CHAPTER I
Historical Context: the Jewish Experience

at Harvard up to October 7, 2023

‘The origins of the crisis that Harvard currently faces precede October 7, 2023. During the 1960s,
longstanding barriers to the admission of Jews to Harvard fell away, and for a half century Harvard had
by all accounts a large and flourishing Jewish student body. This is the Harvard that many of our Jewish
alumni attended and remember with great affection. Heated campus debates about Israel/Palestine go
back to the 1980s, but until a few years ago, students with differing political perspectives on the issue
were in conversation and did not on the whole demean each other. Because of that ongoing dialogue and
fundamental sense of community, most Jewish students at Harvard continued to feel at home on campus.

In the mid-2010s, Harvard’s atmosphere began to change. The Israel/Palestine issue became more divisive
and polarizing within the campus community. In the early 2020s, there were signs of decline in constructive
conversation, respectful disagreement, and mutual respect between students regarding many issues,
including Israel/Palestine. And after October 7th, our Harvard community fell apart.

Chapter 1 of this report draws upon substantial research to trace the rise and fall at Harvard of respectful
engagement regarding Israel/Palestine, how these processes have affected our Jewish students, and how
we can learn from them in order to repair what our colleague Professor Ali Asani, one of the co-chairs of

the Task Force on Combating Anti-Muslim, Anti-Arab, and Anti-Palestinian Bias, has called “Harvard’s

broken community.”

In this chapter, we also demonstrate how, after several decades of relatively healthy interactions between students
with differing views regarding Israel/Palestine, certain negative trends developed in the 2010s and 2020s:

* Growing polarization, “anti-normalization” with regard to Israel, and diminished willingness to seek
compromise positions.

* Targeting of pro-Israel events, learning opportunities, and campus guests.

* Intensified debate about defining antisemitism and determining the line between discomforting and
hateful speech.

* Growing acceptance of stances once seen as outside mainstream debate.

* Social exclusion of some Jewish students and a resulting reluctance on their part to fully express Jewish
or Israeli identities or pro-Israel views.

° Complaints of alienation and marginalization on the part of some Jewish students with pro-
Palestinian sympathies.

* Growing reliance on the University to manage and protect against offensive behavior.

Underneath all of these developments was a notion of a “Palestine Exception” to free speech on campus. This
term, which was popularized by a Palestinian NGO in 2015, alleged widespread censorship, self-censorship,
and chilling of critical discourse about Israel. Some Harvard students and faculty claimed that the Palestine
Exception operated on campus, when in fact, as this report shows in detail, at Harvard over the past decade
pro-Palestinian perspectives have been frequently offered in University programs and centers, courses, and
events. These perspectives rarely made room for nuanced and in-depth understanding of Israel.

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‘The academic climate at Harvard during the 2010s and 2020s reflected social and political changes on

a national level. We believe, however, that Harvard must not be passive in the face of such changes. The
University, in our view, has the ability — and indeed the responsibility — to restore and re-imagine the best
aspects of earlier forms of student interaction regarding difficult political issues.

OVERVIEW

CHAPTER 2
Historical Context: Harvard Since October 7, 2023

A Harvard Kennedy School of Government study showed that, during the 2023-24 academic year, Harvard
had the second-highest number of days with protest activity among major U.S. universities. While most of
Harvard's peer institutions experienced approximately 40 days of protest, Harvard saw roughly 70 — though
still less than one-third of Stanford’s total. Chapter 2 narrates the events of that tumultuous year at Harvard
with concluding remarks about the situation in Fall 2024. The chapter’s major points are as follows:

* Over the course of the Fall 2023 term, the Central Administration faced widespread criticism from many
Harvard affiliates and alumni for what they saw as its lack of a firm or effective response to the Hamas
massacre and the ensuing pro-Palestine protests on campus, which were frequent and raucous. Many
Jewish and Israeli students reported experiencing social shunning, verbal abuse, intimidation, and bullying.
In November 2023 there were reports of pro-Palestine activists disrupting classes in Harvard Yard. 'The
defacing of hostage posters around campus with antisemitic slogans in January 2024, and the posting in
February of a classic antisemitic cartoon on social media by the Harvard Undergraduate Palestine Solidarity
Committee and the African and African American Resistance Organization — along with the resharing of
it by Harvard Faculty and Staff for Justice in Palestine — kept many Jewish students on edge.

* After the resignation of President Claudine Gay in early January 2024, the University, under the
leadership of then-Interim President Alan Garber, began to take measures to strengthen policies
regarding protest. Turmoil continued, however, culminating in a three-week encampment in April
and May. It resulted in no violence or arrests and was one of the shortest-lived in the country. Yet the
penumbra of the year of disturbances was apparent at Commencement, where hundreds of graduates
staged a mass walkout. They were protesting the imposition of disciplinary measures on 13 seniors —
barred from graduating with their class for their alleged participation in the encampment. Moreover,
there were two controversial Commencement Week addresses (one at Commencement itself) whose
remarks appeared to engage with antisemitic themes. Controversies about student discipline continued
into the summer. In July, administrative boards at the College and various Schools eliminated or reduced
penalties that they had imposed on undergraduate and graduate students in connection with various
protests and related events of the previous year, and in the same month the Harvard Corporation
conferred degrees on 11 of the 13 seniors whose degrees had been withheld.

* During Summer 2024, the University administration issued revised policies’? regarding the use of
campus grounds and buildings. Additionally, it announced that the University Committee on Rights and
Responsibilities would engage in standardized fact-finding procedures for disciplinary cases involving
more than one unit. These measures signaled the administration's awareness of the need to institute major
reforms in Harvard’s policies regarding protest and its disciplinary procedures.

1 heeps://evp harvard.edu/campus-use-rules?utm_source=SilverpopMailingSautm_medium=erailécutm_campaign=EVP%20
Carmmpus%20Use%20A nnouncement%208.1.24%20(1).

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Fall 2024 lacked the large-scale protests that had marked the previous year. Pro-Palestinian activism
mainly took the form of silent demonstrations in the University’s libraries,”” though there were scattered
instances of vandalism on campus”! and the posting of swastika stickers near Harvard Hillel’s Rosovsky
Hall.” Notably, the College’s First-Year Convocation, which pro-Palestinian demonstrators had
interrupted for several consecutive years, proceeded smoothly in September 2024. This relative quiet

on campus, however, concealed ongoing tensions within our community that manifested themselves

throughout the Fall 2024 term and in the first weeks of the Spring 2025 term.

OVERVIEW

CHAPTER 3
Findings

In Chapter 3, we summarize what the Task Force learned about the alienating and hostile atmosphere that many
Jewish and Israeli students at Harvard described experiencing, particularly in the 2023-24 academic year.

The Task Forces on Combating Antisemitism and Anti-Israeli Bias and Combating Anti-Muslim, Anti-
Arab, and Anti-Palestinian Bias collaborated on an online survey, conducted between May and August
2024. This survey attracted some 2,295 responses from students, faculty, and staff, with likely high levels
of participation among Jewish, Israeli, Muslim, and Arab affiliates relative to their numbers within the
Harvard community.” The survey revealed extensive levels of discomfort, alienation, and fear among
students who identify with one or more of these categories.

In virtually every category, Jewish students reported more negative experiences than their Christian or
atheist/agnostic peers, though Muslim students reported even greater negative experiences than Jewish
students. It is not the goal of this Task Force, nor of the parallel'Task Force on Combating Anti-Muslim,
Anti-Arab, and Anti-Palestinian Bias, to engage in a contest to prove which group has suffered more.
Rather, like our sibling Task Force, we aim to understand how the students within our Task Force’s purview
have perceived events over the past year, identify the sources of their pain, and use that knowledge to
formulate strategies for fostering a sense of community and mutual respect at Harvard.

Among Jewish students, substantial numbers reported having the following feelings to at least some extent:
¢ Not at home at Harvard (39%).

* Physically unsafe (26%).

* Mentally unsafe (44%).

* Unsupported in their well-being at Harvard (49%).

20 Max J. Krupnick, “Silent Study-Ins: Harvard Library Protests Challenge University Regulations,” Harvard Magazine,
November 14, 2024.

71 Michelle N. Amponsah and Joyce E. Kim, “Windows Smashed, John Harvard Statue Vandalized in Act of ‘Palestinian
Resistance,” The Harvard Crimson, October 9, 2024.

#2 “Stickers of Swastikas on Israeli Flag Posted Around Harvard Square, Police Say,” Boston Globe, October 15, 2024.

5 'The survey was distributed to faculty, staff, and students using various channels that ranged from emails with an embedded
survey link to sharing with relevant affinity groups and mentions in The Harvard Gazette and The Harvard Crimson. The intent
was to complement the listening sessions and provide a convenient and anonymous survey that could be taken by Harvard
campus community members who were impacted by and/or had views on the issues related to the two Task Forces’ mandate.
Since this population is not readily identifiable a priori, and also because the survey was not administered or marketed as a
University-wide survey (such as the 2019 Pulse survey), it is not as feasible to provide accurate response rates. While we do
provide relative demographic coverage comparisons to the 2019 Pulse survey, the Task Force joint survey is best viewed as a
way to incorporate more opinions from those community members who wanted to weigh in on their experiences on campus

and observations during the Fall 2023 to Summer 2024 period.

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* Uncomfortable expressing their beliefs or opinions to people “whose political views may be in conflict
with mine and/or go against my sense of identity/nationality” (46%).

By comparison, students who identify as neither Jewish nor Muslim reported significantly lower
percentages when asked the same questions as above — 21%, 12%, 24%, 33%, and 32%, respectively. In
other words, Jewish students were twice as likely as their non-Jewish, non-Muslim peers to feel unwelcome
and unsafe at Harvard.

Responding to a slightly differently worded question, even larger percentages of Jewish students (67%)
expressed discomfort sharing their opinions in general, with that number rising to 73% when it came to
expressing political opinions. Students who are neither Muslim nor Jewish were 20 percentage points less
likely to express such discomfort.

Almost 60% of Jewish students reported experiencing “discrimination, stereotyping, or negative bias on
campus due to [their] views on current events,” and only 25% believed that there was no “academic or
professional penalty” at Harvard for expressing their views.

‘The survey’s quantitative findings were further corroborated by qualitative data collected during a series of
listening sessions held between March 21 and May 20, 2024. Members of our Task Force held approximately
50 sessions, engaging with more than 500 members of the Harvard community. While most participants were
students, there were also some staff- and faculty-focused sessions as well as a session with Resident Deans.

These listening sessions were tailored to different segments of the Harvard community. Sessions were held
for undergraduate students in the College as well as for students in Harvard’s 12 graduate and professional
Schools. Additional sessions were organized within undergraduate students’ residential Houses and with
various Jewish student groups, such as Hillel and Chabad.

In these sessions, the participants’ views were documented via typed notes in which all identifying features of
the speaker were anonymized except for the nature of their affiliation (e.g., undergraduate, graduate student,
faculty, staff, School). Participation in the sessions was lively, with many, most, or all participants sharing their
views. Our documentation of the sessions therefore reflects the contributions of hundreds of individuals.

Several major themes emerged from the listening sessions:

* Substantial numbers of Jewish students feel that since October 7th they have lived in an increasingly
hostile atmosphere in their residences, classes, organizations, and clubs, as well as in the public spaces of
Harvard Yard and the Science Center Plaza.

* Many Israeli students have felt particularly victimized, often in the form of social shunning.
* Fear of encountering hostility has led some Jewish students to conceal their Jewish identity from classmates.

* Certain Harvard Schools, departments, institutes, centers, and instructors were described as promoting or
tolerating anti-Israeli critiques that blend into animosity towards Jews.

* Many students described administrative responses to student complaints as unclear and unconscionably slow.

* There were widespread perceptions that anti-Israeli and anti-Jewish expression are tolerated in a way that
hostile rhetoric towards other groups would not be; that some of Harvard’s offices for Equity, Diversity,
Inclusion, and Belonging have not taken antisemitism seriously; and that discipline against students who
engaged in bullying, harassment, and intimidation has been lax.

* Social media has worsened the well-being of many Jewish students by enabling the rapid and repeated
production of cruel and hateful messages, often anonymously.

* Some Jewish students who identify as anti-Zionist report the same sort of bullying and shunning that
other Jewish students describe encountering from pro-Palestinian students.

° Harvard lacks relevant courses and programming to address the campus climate and discuss events in
Israel/Palestine in a constructive, informed, and non-threatening way.

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OVERVIEW

CHAPTER 4
Case Studies from Harvard’s Schools

Chapter 4 examines instances where administrators and faculty at certain Harvard Schools seemingly fell short
in their responsibility to uphold principles of open inquiry, civility, and respectful disagreement within specific
courses, programs, and events. The chapter focuses on four Schools, and presents accounts and illustrative case
studies based on feedback from students, faculty, and staff who reported experiences of antisemitism and anti-
Israeli bias, particularly during the 2023-24 academic year. These experiences manifested as:

* Ostracism of many Zionist and Israeli students that adversely affected their participation in both
classroom and co-curricular settings.

* Politicization of instruction or academic settings that effectively made a specific view on the Israel-
Hamas conflict a litmus test for full classroom participation and ended up disparately impacting many
Jewish and Israeli students.

* Politicized instruction that mainstreamed and normalized what many Jewish and Israeli students
experience as antisemitism and anti-Israeli bias.

‘The chapter identifies a lack of rigorous academic oversight in program design and instruction, particularly
for courses taught by non-ladder faculty, as a contributing factor. The Task Force expresses concern that the
prestige associated with teaching at Harvard might be leveraged to advance partisan agendas, potentially
compromising academic integrity, and contributing to a climate of hostility and exclusion.

The chapter concludes by calling for:

° Increased leadership and supervision from ladder faculty for courses and programming offered by centers,
including faculty participation in related events.

* Realignment of center missions to prioritize advancing the frontiers of knowledge, with governance
structures refocused on academic integrity.

° Cultivation of respect for viewpoint diversity and a norm of respectful engagement, relation, and
cooperation, even with those with whom we vehemently disagree.

* An expectation that programming engaging controversial subjects will feature viewpoint diversity.

* Increased depth of high-caliber scholarly expertise on campus concerning the modern Middle East,
including Israel/Palestine.

Chapter 4 underscores the urgent need for Harvard to uphold its core values and ensure a learning
environment free from bias and discrimination, where all members of the community feel safe, respected, and
empowered to thrive. The chapter provides specific examples from our work that illustrate these points.

OVERVIEW
CHAPTER 5
Conclusions and Recommendations

In Chapter 5 of the report, we call for comprehensive, integrated, and sustained changes in how the
University operates.

First, we call for changes in admissions and student life that align with the report of the Joint Task Force
Subcommittee on Pluralism. This subcommittee emphasizes:

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‘The promotion of a culture of pluralism, defined as recognizing the diversity of identities and ideologies
on campus; respecting, relating, and cooperating with one another; and connecting personal and campus
civic values to advance our educational and research mission. These campus civic values are anchored

in the University’s Values Statement advancing respect for the rights, differences, and dignity of others;
honesty and integrity in all dealings; conscientious pursuit of excellence in our work; accountability for
actions and conduct in the community; and responsibility for the bonds and bridges that enable all to
grow with and learn from one another.

To achieve these goals, we specifically call for changes in:

* Admissions We believe classes at Harvard should consist of students who are eager to contribute to a
learning community grounded in open inquiry and mutual respect.

* Early student experiences Early student experiences, especially for undergraduates, should focus on
establishing norms that reflect Harvard’s aspirations for its learning community.

* Academics Students deserve a classroom experience that embodies the desired learning community —
one free from antisemitism, anti-Israeli bias, and all other forms of discrimination — and supported by
enhanced course opportunities offered by Harvard’s Schools and faculty.

* Academic offerings Academic offerings should provide significantly more plentiful and diverse
opportunities for the study of Jewish civilization, antisemitism and the Holocaust, Israel, and the Israeli-
Palestinian conflict.

* Co-curricular activities and residential life Student organizations need support and guidance to ensure
their activities do not have antisemitic or anti-Israeli impacts, so they can effectively contribute to the
kind of learning community Harvard aspires to beyond the classroom.

° Building a pluralistic community To foster a campus culture of pluralism at Harvard, a central hub
should be established.

* Religious life We believe that faith can be an important source of support for Harvard’s students and an
integral part of the learning community, and that steps can be taken to strengthen this aspect of campus life.

* Administrative infrastructure A robust administrative infrastructure is needed to support, coordinate,
and sustain the efforts outlined above. This infrastructure should include substantive, equitable
disciplinary procedures to the greatest extent possible, across Harvard’s Schools.

* Complaint mechanisms Complaint mechanisms should be aligned across Harvard’s Schools to the
greatest extent possible, and should be easily accessed, user-friendly, efficient, and capable of generating
publicly reportable aggregate data.

We also call for changes that touch on governance issues to strengthen ladder faculty oversight of
educational programs and instructor training across Harvard’s Schools.

As noted above, Harvard has recently entered into legal settlements and resolutions. While these are still
very new, we note that they may address — and potentially even obviate the need for — some of the
recommendations set forth in this report. Additionally, the University has publicly summarized some of the
actions it has taken since our Task Force released its Preliminary Recommendations in June 2024.”

Finally, we urge the University and its Schools to take on the mantle of moral leadership in the fight against
antisemitism and anti-Israeli bias. We are deeply concerned that these forms of bigotry are becoming
increasingly normalized in academia, particularly within what seem to be highly politicized disciplines such
as public health, medicine, and education. Harvard has a responsibility to actively counter this trend and
serve as a model for higher education institutions nationwide.

* https://www.harvard.edu/task-force-on-antisemitism/#imp ionup

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CHAPTER 1

Historical Context: the Jewish Experience
at Harvard up to October 7, 2023

Introduction

Questions regarding what constitutes antisemitism and the overall situation for Jewish students at Harvard
came to the forefront after the Hamas attack on Israel on October 7, 2023. The attack had an immediate
and profound effect on our campus. On October 8, a statement from the Harvard Undergraduate
Palestine Solidarity Committee, along with more than 30 other student organizations, held “Israel
responsible for all unfolding violence ....'The apartheid regime is the only one to blame.”25

The statement triggered harsh backlash, which took the form of online denunciations, doxxing, and public
criticism from alumni and the national media. The administration’s responses to ensure student safety
amid threats and harassment were widely seen as insufficient. The campus atmosphere grew tense,
featuring polarizing events, accusations of both antisemitism and Islamophobia, and considerable distress
among many Jewish students. Voices on one side demanded more decisive actions by Harvard to address
antisemitism, while those on the other side argued that claims of antisemitism were being used to suppress
critiques of Israel.

Events at Harvard after October 7th did not emerge from a vacuum. Rather, we saw an acceleration of
trends within our community dating back to the early 2000s. These trends stand in sharp contrast with
how the Israeli-Palestinian conflict had previously been represented at Harvard and how previous
generations of Harvard’s Jewish students had experienced campus life.

This chapter traces the history of the Jewish community at Harvard from the early 20th century up to the
end of 2023. It focuses on the years since the 1980s, when the Israeli-Palestinian conflict began to visibly
influence campus life. The chapter examines Jewish social and organizational life at Harvard, interactions
between Jewish and non-Jewish students, and the effects of social and cultural changes on the national
level on campus dynamics and Harvard’s Jewish community. One primary focus is to understand how
Jewish student life at Harvard has been influenced by the Israeli-Palestinian conflict. We have relied upon
primary sources like Te Harvard Crimson and materials from the Harvard University archives, along with
interviews with alumni and secondary sources on admissions and student life.

5 “Joint Statement by Harvard Palestine Solidarity Groups on the Situation in Palestine,” The Harvard Crimson, October 10,
2023. https://www.thecrimson.com/widget/2023/10/10/pse-statement/

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Summary and Overview

After auspicious beginnings in the late 1800s, Harvard’s Jewish community experienced significant
challenges in the 1920s with the imposition of admissions quotas. Although the number of Jews at
Harvard increased after World War II, only in the 1960s did Harvard fully overcome its exclusionist past
and admit Jews on a prejudice-free basis. The full opening of Harvard to Jews, the incorporation of
Radcliffe into Harvard, and the growth in admission of Black students were coterminous, suggesting that
the position of Jews at Harvard was directly related to that of other historically marginalized groups, e.g.,
women and Black Americans.

The period from the 1960s until the 2010s was a golden age for Jews at Harvard. They constituted a
substantial percentage of the undergraduate student body (between 20 - 25%), and based on what we
heard, encountered little prejudice and were well-integrated into everyday campus life. Harvard Hillel
provided a welcoming and warm environment for Jewish students. Major events in the Middle East like
the 1967 and 1973 Arab-Israeli wars were discussed on campus, but they did not evoke intense activism.

In the 1980s the First Lebanon War and First Intifada catalyzed an escalation in student activism at
Harvard. Comparisons between Israel and apartheid South Africa became more common. Critiques of
Israeli policies, however, rarely employed antisemitic rhetoric. Both sides in these debates invited
controversial speakers to campus, but there were also sincere attempts to engage in reasoned dialogue and
to propose limits of valid criticisms of Israel.

Activism on both sides increased in the 1990s, mirroring both the growing violence in the Middle
East and — conversely — the peace efforts that occurred in this decade. There were robust debates on
campus about balancing free speech and harassment, informed by University-wide attempts to manage
such tensions by publishing guidelines for free speech on campus. Pro-Palestinian activism grew with
the establishment of the Palestine Solidarity Committee (PSC) and increased activity by the Society of
Arab Students (SAS). Despite these tensions, there were efforts to foster dialogue and reconciliation,
including joint events between Hillel and the SAS and broader campus initiatives. Tensions between
Black and Jewish students also surfaced, notably in controversies involving speakers like Anthony
Martin and Leonard Jeffries, yet conciliatory efforts persisted through organized discussions and
mutual activities.

Discourse on the Israeli-Palestinian conflict heightened further in the 2000s, shaped significantly by
escalating violence in the region and controversial international events. Student activism intensified with
groups like Hillel, SAS, and Harvard Students for Israel (HSI) organizing vigils, rallies, and discussions.
When accusations of antisemitism surfaced, they were articulated publicly by faculty such as Lawrence
Summers, Ruth Wisse, and Alan Dershowitz, rather than the student groups themselves. Students
typically aimed to clarify that their critiques focused on policies rather than Israel’s legitimacy. Efforts at
dialogue continued despite divisions, with separate and joint events highlighting attempts at
understanding. Prominent debates included a controversial divestment campaign and its subsequent
rebuttals, raising questions about the fine line between criticism of Israel and antisemitism. Despite these
tensions, there were also moments of constructive engagement through student-led dialogues and
initiatives aimed at finding common ground.

A gradual though significant change in the experience of Jewish students at Harvard began around 2010.
Discussions about Israel and Palestine became increasingly confrontational. While some efforts to foster
dialogue persisted, student activism became more assertive, directly challenging Israel-related activities on

campus. Organizations like the PSC and Harvard Out of Occupied Palestine (HOOP) led protests
against Israeli products like SodaStream and Sabra hummus, and disrupted events hosted by pro-Israel

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groups.?6.27 Campaigns for divestment and the boycotting of trips to Israel, such as Birthright and Harvard
College Israel Trek, also intensified. Consequently, conversations about antisemitism grew more
contentious, with frequent debates over when criticism of Israeli policies crossed into antisemitism. While
early voices warned that confrontational tactics were polarizing debates, these assertive approaches became
more normative over time, diminishing opportunities for balanced discussions. Controversial events like
Israeli Apartheid Week further highlighted the divided campus climate. A pro-Palestinian discourse
equating Zionism with racism and likening Israel to Nazi Germany was deeply disturbing to many Jewish
students. Efforts to find common ground and appreciate differing perspectives waned, reflecting broader
social and political dynamics that influenced campus activism during this period.

Over this same time, the number of Jewish students at Harvard declined, most likely due to changes in
admissions practices that sought greater racial and ethnic diversity. The decline in Jewish enrollments
exacerbated feelings of vulnerability among Jewish students, especially those who identified with
progressive politics and felt unwelcome in progressive-oriented campus clubs and activities unless they
disavowed attachments to Israel.

Harvard’s campus met the October 7th attack in an already divided state. Following the attack, pro-
Palestinian activism surged. The Harvard PSC and more than 30 other student groups attributed blame
for the violence solely to Israel, provoking significant backlash including online denunciations and doxxing.
The administration faced criticism for perceived inadequate responses to threats and harassment against
students. In mid-October, a PSC panel condemned Israel without presenting counterarguments, further
inflaming campus debate. Social media posts expressing violent hostility to Israel and threats to Jews
contributed to Jewish students’ distress.2829 In early November, Harvard President Claudine Gay’s
condemnation of the “from the river to the sea” chant as antisemitic received mixed reactions.3° Protests
and criticism persisted throughout November, culminating in increased unrest and safety concerns. In late
2023 and early 2024, the climate intensified with ongoing protests, contentious events, and disciplinary
actions. President Gay faced scrutiny over allegedly insufficient responses to antisemitism, and in January
2024 Harvard was sued for failing to act appropriately against antisemitism on campus, and Title VI
complaints about anti-Arab, anti-Muslim, and anti-Palestinian bias were filed to the US Department of
Education.31.32 Pro-Palestinian activism continued, with significant protests and controversial imagery
exacerbating feelings of marginalization among many Jewish students.33

6 “FIUDS Suspends Purchases from Israeli Soda Company,” The Harvard Crimson, December 17, 2014.
https://www.thecrimson.com/article/2014/12/17/huds-soda-stream-suspend-purchase/
27 “Flarvard Out of Occupied Palestine Protests Sabra Hummus in Harvard Yard,” The Harvard Crimson, February 9, 2022.
hteps://www.thecrimson.com/article/2022/2/9/students~protest-sabra-hummius/
28 “Harvard Asks Sidechat to Enforce Content Moderation as Jewish Students Decry ‘Vicious’ Antisemitism,” The Harvard
Crimson, January 22, 2024. https://www.thecrimson.com/article/2024/1/22/sidechat-antisemitism-enforce~moderation/
9 https://www.adl.org/resources/article/hamas-attack-draws-cheers-extremists-spurs-antisemitism-and-conspiracies-online
3° “More than 100 Harvard Faculty Sign Letter Criticizing President Gay’s Censure of Pro-Palestine Slogan,” Te Harvard
Crimson, November 15, 2023. hetps://www.thecrimson.com/article/2023/11/15/faculty-condemn- president-gay-statement/

31 “Harvard Students Allege Anti-Palestinian Discrimination in Complaint to U.S. Ed Department,” The Harvard Crimson,
January 30, 2024. https://www.thecrimson.com/article/2024/1/30/antipalestinian-discri ion-education-complaint/

2 “Jewish Students Sue Harvard University, Allege ‘Severe’ Antisemitism on Campus,” The Harvard Crimson, January 12,

2024. lttps://www.thecrimson.com/article/2024/1/12/harvard-lawsuit-campus-antisemitism/
33 “As Harvard Warns of Disciplinary Action, Groups Apologize for Antisemitic Image,” The Harvard Crimson, February 20,
2024. https://Awww.thecrimson.com/article/2024/2/20/harvard-antisemitic-image-apology/

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Over the past 10 to 15 years, several common themes affecting the experience of Jewish members of the
Harvard community have emerged:

Growing polarization and diminished willingness to seek dialogue, compromise, and understanding of
opposed positions As activism adopted more assertive stances rejecting compromise, and opposing
“normalization” of Israel, over the past decade, moderate positions received less support. It became significantly
more difficult for Jewish students with nuanced views to feel their perspectives were respected or welcomed.

Targeting of pro-Israel events and guests Regular disruptions, protests, and calls to boycott pro-Israel
activities like Birthright and Israel Trek presented challenges for students wanting to engage with those
opportunities or express support for Israel’s right to exist.

Intensified debate about defining antisemitism and determining the line between discomforting and
hateful speech As discussions about when criticism crosses that line became more contentious, Jewish
students came to feel that their concerns were not taken seriously by peers, faculty, and administrators.

Growing acceptance of stances once seen as outside mainstream debate Assertive tactics and rhetoric
rejecting compromise between opposing viewpoints became more widely accepted and normalized.

Social exclusion of Jewish students and their reluctance to fully express Jewish/pro-Israel identities As
compromise became more difficult and dissent risked social consequences, some Jewish students reported
growing pressure to censor themselves. Concurrently, Orthodox Jewish students felt that their personal
safety was jeopardized by visible signifiers of their identity like a kippa (yarmulke).

Complaints of alienation and marginalization on the part of Jewish students with pro-Palestinian
sympathies These students felt rejected by Hillel, Chabad, and other Jewish spaces. These students
struggled to find a community that fully embraced their views and identities.

Growing reliance on the University to manage offensive behavior and provide protection Over the years,
as campus debates became more heated and instances of targeted behavior became more commonplace,
students increasingly looked to the University administration to intervene and ensure a safer environment.
Students expected the University to address hate speech, provide clear guidelines on acceptable discourse,
and enforce measures to prevent harassment and discrimination. The need for administrative support grew
as students sought institutional backing to shield them from offensive actions and rhetoric.

Events in the Middle East likely have influenced the tone of campus activism around the Israeli-Palestinian
conflict and debates about antisemitism at Harvard, but it is a mistake to imply a direct correlation between
what has happened “there” and “here.” Certainly, Harvard has seen periods of relative congruence between
increased intensity of conflict in the region and campus activism. During the period of the Oslo Accords in
the 1990s, Harvard students and faculty often engaged in constructive and peaceful dialogue, reflecting a
broad hope for regional peace. Similarly, during the Second Intifada in the early 2000s, heightened violence
in Israel and the Palestinian territories was mirrored by increased polarization and activism on campus.
However, there were also instances of incongruence: during the 2000s, despite significant violence and
turmoil in the Middle East, political discourse at Harvard sometimes remained respectful and focused on
inclusive debate. Additionally, even in times of faltering peace efforts or rampant violence, student initiatives
sought to foster understanding and dialogue (e.g., after the assassination of Israeli Prime Minister Yitzhak
Rabin in 1995). While students certainly responded to events occurring in the Middle East, the tone and
forms of engagement should not be assumed to be wholly analogous to dynamics in the region.

The National Context

Changes in Jewish student experiences at Harvard reflect national trends. Several broad social movements
emerging in the early 2000s affected dynamics on campus. The Boycott, Divestment, Sanctions (BDS)
movement, which was founded in 2005, ushered in a confrontational style that differed from previous

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forms of pro-Palestinian activism on campuses. In 2011, the Occupy movement inspired students with its
emphasis on direct action and public confrontations, further shaping the tenor of campus engagement.
Over the 2010s, postcolonial approaches in the humanities and interpretive social sciences were routinely
applied to the Israeli-Palestinian conflict as an example of a settler-colonial movement subjugating or
expelling an indigenous people. This way of thinking discouraged engagement with people who had
attachments to Israel.

Another contextual factor is the generational shift in students’ sensitivities. Jonathan Haidt and Greg
Lukianoff have pointed to the rise of fragility, emotional (rather than intellectual) reasoning, and a
polarized “us vs. them” mentality among college students, all of which began to significantly shape campus
dynamics around 2013-2014.34 These changes have been mirrored in the increasingly divisive environment
at Harvard, where discussions about Israel and the Palestinians have become more contentious and
uncompromising. Haidt and Lukianoff also pointed to a culture of safetyism precipitating the decline of
open debate on campus. This cultural shift helps explain why assertive activism has gained traction and
Jewish students, regardless of their positions on Israel, have felt more insecure. While some have criticized
Haidt and Lukianoff for focusing on group psychology and neglecting the sociopolitical dimensions of
problems on college campuses,35 the processes they describe align well with the decline in constructive
interaction and rising divide between students at campuses nationwide.

A related phenomenon is the rise over the past three decades of affective polarization — that is, the
intensification of hostility and intolerance as political emotions, influenced by social media and the
COVID-19 pandemic. This phenomenon has affected young people more than their elders and has risen
more rapidly in the United States than in most other Western countries.36 Affective polarization has
influenced many aspects of student interaction, including activism on a wide variety of issues beyond
Israel/Palestine.

Sociologists Amy J. Binder and Jeffrey L. Kidder have discovered growing differences between the ways
student groups on the left and on the right develop their strategies and tactics. Binder and Kidder show
that conservative students are finding less purchase on campus due to largely unsympathetic administrators
and faculty, and ultimately rely on external organizations for support, where they can also translate their
campus activism to a post-graduation career. While most pro-Israel students at Harvard do not identify as
conservative, many of them have become frustrated by a perceived lack of sympathy on campus and are
relying instead on outside funding and networks to bolster their activism.

Conversely, progressive students often have better access to campus resources and can gain on-campus
success more easily (e.g., renaming buildings, establishing cultural centers) but have less external
support. Thus, over the past several decades, progressive activism has tended to remain confined to
campuses, while conservative activism has tended to provide more career pathways after graduation.37
These strategic differences in approach, depending on support structures and institutional contexts,

34 Greg Lukianoff and Jonathan Haidt, The Coddling of the American Mind: How Good Intentions and Bad Ideas are Setting up a
Generation for Failure (New York: Penguin Press, 2018).

55 E.g., Howard A. Doughty, “The Coddling of the American Mind: How Good Intentions and Bad Ideas Are Setting Up a
Generation for Failure,” (Ottawa: The Innovation Journal, 2018); Jonathan Marks, “Bad Therapy: The Coddling of the American
Mind: How Good Intentions and Bad Ideas Are Setting Up a Generation for Failure,” Commentary 146, no. 2 (2018).

36 Noam Gidron, James Adams, and Will Horne, American Affective Polarization in Comparative Perspective (New York: Cambridge
University Press, 2020); Elizabeth C. Connors, “Social Desirability and Affective Polarization,” Public Opinion Quarterly 87, no. 4
(2023), 911-34; Christian Staal Bruun Overgaard, “Perceiving Affective Polarization in the United States: How Social Media
Shape Meta-Perceptions and Affective Polarization,” Social Media + Society 10, no. 1 (2024).
hetps://journals.sagepub.com/doi/full/10.1177/2056305 1241232662

37 Amy J. Binder and Jeffrey L. Kidder, The channels of student activism: how the left and right are winning (and losing) in campus
politics today, ed. Jeffrey L. Kidder (Chicago and London: The University of Chicago Press, 2022).

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mirror some aspects of the interplay of support and opposition that characterizes activism around the
Israeli-Palestinian conflict at Harvard. Indeed, in a controversial June 2024 op-ed, Dean of Social
Science Lawrence D. Bobo observed:

Modern student protest appears less and less likely to target major non-University events, businesses,
or government bodies. Rather, they're comfortably situated in the confines of college campuses,
directing demands for change at university administrators and boards of directors.38

The changing composition of student bodies may also partially explain the growing polarization on
campus around the Israeli-Palestinian conflict. Over the past thirty years, colleges throughout the
United States have diversified their student bodies, partly to reflect demographic changes in the country,
and in part to redress past discrimination against underrepresented minorities. Students of Middle
Eastern, South Asian, and African heritage have been in the forefront of support for the Palestinian
cause nationwide.

Striving for Belonging: Jewish Life and Challenges at Harvard,
1900-1979

The early to mid-20th century saw significant growth and institutionalization of the Jewish presence at
Harvard. Despite the imposition of quotas intended to limit Jewish admissions, Jewish students
established a strong sense of community by creating and expanding organizations dedicated to their
support. Groups such as the Harvard Menorah Society and Harvard-Radcliffe Hillel became central to

Jewish identity and communal life.

Although the formal quotas disappeared after World War II, Jewish students continued to experience some
antisemitic discrimination. Jewish students responded in contrary ways; some felt a need to assimilate, while
others aimed to strengthen their Jewish identity. During the 1960s and 1970s, antisemitism diminished
markedly, and Jewish students became fully integrated into the University community.

Israel and the Arab-Israeli conflict entered Harvard’s discourse in the late 1940s, sparking diverse reactions
ranging from fervent support to pointed criticism of Israel. Debates about the wars of 1948, 1967, and
1973 typically centered on Cold War dynamics and other geopolitical concerns. They rarely linked
conflicts in the Middle East or critiques of Israel with negative judgments of Jewish students, who in turn
had little concern about attachment to Israel serving as a source of antisemitism.

From the Era of Quotas to a “Golden Age” for Jews at Harvard

In the early 20th century, an influx of Jewish immigrants highly valuing education led to growing numbers
of Jewish students at top universities like Harvard. By 1925, Jews made up more than a quarter of
Harvard’s student body. While some Christian administrators, faculty, and students appreciated Jewish
academic dedication, others held negative stereotypes. Antisemitism had risen nationwide since the start of
World War I. National anxieties surrounding immigration led Ivy League institutions to adopt restrictive
admissions practices in order to maintain social homogeneity amidst demographic changes.39

By the 1920s, most Jewish applicants to Harvard were American born, but they were also seen as stamped
by an East European immigrant background and undesirable social traits. In response, President A.
Lawrence Lowell pursued policies to limit Jewish admissions through selective admission processes that

38 Lawrence D. Bobo, “Faculty Speech Must Have Limits,” The Harvard Crimson, June 15, 2024.
hitps://www.thecrimson.com/article/2024/6/15/bobo-faculty-speech-limits/

3° Strauss, Valerie. “Analysis | a Brief History of Antisemitism in U.S. Higher Education,” Washington Post, November 14,
2023. https://www.washingtonpost.com/education/2023/11/13/how-restricting-jews-created-modern-college-admissions/

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emphasized criteria that could disadvantage them, such as character assessments and interviews, which
were more subjective than academic qualifications alone.4° These practices brought the percentage of Jews
at Harvard down to a range of between 10 - 15%. Moreover, Jews admitted to Harvard were expected to
conform to standards of gentility set by elite Protestant society. Radcliffe was different, as it was about
one-fifth Jewish during the 1930s. Radcliffe also had a substantial Catholic population, and most of its
Jewish and Catholic students were commuters. They were not part of the male, Protestant, and affluent
elite that comprised Harvard’s core constituency.

The implementation of quotas for Jewish students at Harvard in the early 20th century sparked
significant debate both within and outside the University. Alumni expressed disappointment and
support. Within the student body, quotas stimulated intense discussion. Jewish students who felt
targeted advocated for admissions based on merit alone rather than attributes like religion or ethnicity.
The faculty and administration were also divided on this issue. Some supported the president’s stance,
viewing the quotas as a pragmatic response to worrying social and demographic changes in American
society. Others, however, strongly opposed the quotas, arguing that they compromised academic
integrity and fairness.4!

Despite quotas and other challenges, the Jewish organizational presence at Harvard experienced significant
growth and diversification over the first half of the 20th century. Before World War I, Harvard’s Menorah
Society provided students with a place to celebrate their cultural identity and history, to educate members
about Judaism, and to provide a supportive community.42 The Menorah Society spawned the
intercollegiate Menorah Association, which by 1917 had chapters throughout North America and
published a periodical devoted to Jewish history and thought, The Menorah Journal.3 The Menorah
Society demonstrated the vibrancy and commitment of Harvard’s Jewish community despite the
challenges it confronted in the interwar era.

In 1941, the Harvard Hillel Foundation was established to provide more structured programming for Jewish
students. Over time, as Hillel expanded its campus involvement, it hired full-time leadership and acquired
additional space in Harvard Square. As the postwar years saw growing numbers of Jewish students, Hillel
became an important place for fostering a sense of connection and belonging on campus. Its expanded
facilities and dedicated staff helped many new students find friendship, guidance, and spiritual enrichment
during their time at the University. Hillel organized cultural and religious programming like Shabbat dinners
and holiday celebrations to connect Jewish students with their heritage and each other.“4

In its founding documents, combating antisemitism was not mentioned as a key aim of the new
organization.45 Nevertheless, Hillel sent delegates to a Seminar on Anti-Semitism for Student Leaders at
Andover Newton Theological School in 1945. The seminar offered suggestions for addressing issues

facing Jews on campus, e.g.:

Make a survey of your campus to find out the people holding offices in campus organizations, the
extent to which offices are open to all groups on campus.

“© “Retrospection: President Lowell’s Quotas,” The Harvard Crimson, March 26, 2015.
https://www.thecrimson.com/article/2015/3/26/retrospection-president-lowells-quotas/

“l Nitza Rosovsky, The Jewish Experience at Harvard and Radcliffe (Cambridge, MA, 1986).

“ “Menorah Society Will Meet: Intercollegiate Quinquennial Convention to be Held in New York,” The Harvard Crimson,
December 19, 1917. “MENORAH SOCIETY TO GIVE FIRST SHOWING OF ADAM,” The Harvard Crimson,
February 18, 1930.

“3 Pearl K. Bell, “Ihe Harvard Menorah Society,” in Rosovsky.

“4 Henry Rosovsky, “From Periphery to Center,”; Maurice L. Zigmond, “The Early Days of Hillel,” ibid.

“5 Society Harvard-Radcliffe Hillel, “Records of the Harvard-Radcliffe Hillel Society, 1943-1994,” manuscript.

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Discover the reactions and feelings of key students to “social distances”. Enlist the help of your
sociology or psychology faculty for this. You'll need it! ...

Promote interest groups on your campus built up on lines other than religion or race.46

These goals reflected a desire for the integration into campus, the promotion of access for Jewish students,
and the breaking down of social barriers. Reminiscences of alumni who were at Harvard during the
interwar years also speak of a patrician and exclusionary atmosphere. No Jew, even the most aristocratic
and wealthy, was admitted to a final club. (Sherman Starr ‘46 was accidentally invited to a final club
interview because no one could tell that he was Jewish from his name.). “No Christian ever came to my
room — nor did I go to any Christian’s room,” recalled the future judge Charles Wyzanski, Jr. ‘27, JD
‘30.47 Albert Cohen ‘38 had grown up in a neighborhood where “antisemitism was very unsubtle” and
“tended to be loud, verbal and physical.”48 At Harvard, there was a chasm between him and the “Gold
Coast” students from wealthy families. Robert Riesman ‘40 took it for granted that Jews had no access to
prestigious activities like writing for the Crimson or the Harvard Lampoon. He found camaraderie with
Gentiles in the dramatics society and in boxing. At Radcliffe, Jewish women like Pearl Andelman Brown
‘34, Hadassah Waldman Blocker ‘35, and Lucille Gray ‘39 had generally good relationships with their
Catholic counterparts, who were commuters like themselves, but they had their share of encounters with
antisemitic administrators.*9 At this time Harvard’s Jewish students did not expect, let alone demand,
equal treatment and opportunity. Leonard Wolsky “44, MD ‘46 went into Harvard knowing he would
have to work harder than Gentile students.

After World War II, Harvard began to overcome its aversion to admitting Jewish students. Henry
Rosovsky, who received a doctorate in economics from Harvard in 1959 and in 1973 became Harvard’s
first Jewish Dean of the Faculty of Arts and Sciences, claimed that the common fight by all Americans
against Hitler caused Harvard to “welcome ... us with open arms, as students and teachers in all its varied
faculties.”>° Nonetheless, shortly after the end of the war Provost Paul Buck was worried about the influx
into Harvard of “sensitive, neurotic boys” from heavily Jewish public high schools in New York City and
New Jersey. The 15% quota from the Lowell era was relaxed, but the Harvard admissions office feared that
wealthy Gentile youth would choose to attend Yale or Princeton if Harvard was seen as admitting too
many Jews. This ongoing prejudice flew in the face of postwar expansion throughout America of
legislation mandating fair employment and fair education practices as well as the 1947 United States
presidential commission denouncing quotas on Jewish and Black Americans. By 1952, Harvard’s freshman
class was one-quarter Jewish, but the Dean of Admissions, Wilburt Bender, was not at ease with these
numbers, warning that if admissions were based on intelligence alone, there would be too many Jews at
Harvard.*! In 1960, about three-fourths of applicants from the heavily Jewish secondary schools Bronx
Science and Stuyvesant were rejected, while only 30% applying from elite boarding schools like Andover
and Exeter were turned away.

Ongoing discomfort experienced by Jews at Harvard after 1945 is described by the future journalist Anthony
Lewis ‘48, who recalled Boston and Cambridge as antisemitic environments and Harvard as a place with few
Jewish professors. In general, he wrote, Jews were still not “wholly at ease.” Joan Bolker ‘60 (MAT ‘62, Ed.

“6 “FINDINGS: SEMINAR ON ANTI-SEMITISM held at Andover Newton Theological School, Newton Center, Mass.
February 9-11, 1945,” in Harvard-Radcliffe Hillel, “Records of the Harvard-Radcliffe Hillel Society, 1943-1994.”

47 Rosovsky, 86.

8 Thid, 91.

” Tbid, 89-91, 93.

50 Thid, 56.

51 Jerome Karabel, The Chasen: The Hidden History of Admission and Exclusion at Harvard, Yale, and Princeton (New York:
Houghton Mifflin, 2005), 253.

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D.) wrote in the Chronicle of Higher Education (Nov. 13, 1979): “When I first came here, my being a Jew
made me feel outrageously, uncomfortably different ... There was much in the college ... that made me feel
that way.” Nonetheless she wrote of the possibility to “come through Harvard, to live in comfort in one’s
own skin, as one of one’s own people.”

In a senior thesis from 1961, Elliott Gershon interviewed 27 self-identified Jewish students and asked
them about their sense of what being Jewish meant, their ideological beliefs, and their interactions related
to their Jewish identity. Many of Gershon’s respondents expressed a desire for assimilation and appreciated
that Harvard did not emphasize their Jewish identity, which made their campus experience feel
undifferentiated from that of other students. However, a smaller group of respondents articulated an
awareness of antisemitism as a salient threat and a general sense of being different from other students
because they were Jewish. The students’ perception of antisemitism seemed to encapsulate both direct
discrimination and subtler forms of social exclusion or stereotyping. Fourteen students reported
experiencing direct discrimination because they were Jewish, and 19 anticipated encountering antisemitism
in the future, although they generally viewed such instances as isolated rather than pervasive. Despite these
concerns, most students found the Harvard environment largely congenial, with minimal emphasis on
their Jewish identity compared to other campuses perceived as more hostile, such as Princeton.”

During the postwar years, one source of concern about antisemitism was the invitation of controversial
speakers to campus. In early 1948, the right-wing extremist Merwin K. Hart ‘04 was brought to campus
by the Free Enterprise Society. During his speech, Hart made several remarks that undeniably showcased
his antisemitic views, including assertions that “an international Jewish organization” wielded significant
influence over the Truman administration, the Marshall Plan, and the United Nations. His controversial
opinions sparked outrage. A Crimson article criticized Hart’s “untenable, enigmatic nature” and his defense
of Franco Spain.>> The Harvard Liberal Union (H.L.U.), led by Frederic D. Houghteling ‘50, expressed
disappointment in a letter criticizing the Free Enterprise Society for its poor judgment and lack of due
diligence. Houghteling rejected the Society’s claim that Hart’s economic views could be seen in isolation
from his fascistic and antisemitic ideologies, emphasizing that “bringing him here despite their knowledge
of his record, they were adding to his prestige and thus aiding him in his undercover warfare against the
principles of democracy.”54 A decade later, the White supremacist and segregationist speaker David Wang
was invited by the Liberal Union and the Young Republican Club to speak at Harvard. Wang’s rhetoric,
often conveyed through poetry, included virulently racist and antisemitic views. For instance, he claimed

that “Rooshun filth [is] worse than talmudic filth.”*

The use of religious spaces on campus was another issue that affected Jews’ sense of inclusion on campus.
In Spring 1958, controversy erupted at Harvard over the prohibition against using Memorial Church for
non-Protestant ceremonies. The issue became public when it was revealed that a Jewish couple had been
prevented from marrying in Memorial Church a few years earlier. Psychology Professor Jerome S. Bruner
criticized the Church’s policy, arguing that it contradicted the inclusive spirit of the University.** In an
April 15, 1958 letter to the Crimson, Bruner wrote, “I cannot avoid the feeling that matters of sectarian
religious doctrine have been put ahead of concern for the Harvard community.” He argued that Memorial
Church had become a “symbol of disunity,” undermining Harvard's solidarity.*”

52 Elliot §. Gershon, “The Experience of Being Jewish in Harvard Students” (Senior Thesis, Harvard University, 1961).

53 “Hart in the Right Place?” The Harvard Crimson, February 5, 1948.

54 “Answers to Free Enterprise Society.” The Harvard Crimson, February 7, 1948.

55 “Wang Speaks In Cambridge February 14: Avid Racist Heckled After Penn Speech,” The Harvard Crimson, February 22, 1958.
56 Charles J. Wells, “Opening the Doors to a Pluralistic Church,” The Harvard Crimson, June 1 2008.
hittps://www.thecrimson.com/article/2008/6/1/opening-the-doors-to-a~pluralistic/

57 Jerome S. Bruner, “THE SECULAR TRADITION,” The Harvard Crimson, April 15, 1958.
hettps:/Awww.thecrimson.com/article/1958/4/15/the~secular-tradition-pto-the-editors/

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Opponents of opening the Church to non-Protestant services, such as philosophy professors Raphael Demos
and Donald C. Williams, defended the Church’s traditional usage. In an April 21 letter to the Crimson, they
wrote, “A church is not a cafeteria in which all religions may be served to all comers,” highlighting concerns
about maintaining religious sanctity.** However, the Harvard Corporation decided to open Memorial
Church to private services for all non-Protestant religions, stating that “the Harvard community is today a
mixed society.”*? This decision generated further debate, with supporters like Bruner advocating for a
“secular university” and opponents like Williams arguing that such a move diluted religious traditions. The
decision marked a significant shift towards religious inclusivity and pluralism on Harvard’s campus.°°

Harvard put antisemitism aside only in the 1960s and early 1970s as part of the transformative movements
that integrated women into Harvard and saw substantial increases in the admission of Black Americans to
Harvard College. In 1963, Radcliffe women began to receive Harvard degrees, and the two institutions
formally amalgamated in 1975. In 1960, less than 1% of Harvard’s freshman class was Black; a decade later,
it was 8%. As Jerome Karabel has written, by the mid-1970s there was no more formal discrimination
against women or Jews at Harvard.“ The connection between the improvement of the positions of Black and
Jewish students at Harvard was embodied by Henry Rosovsky. According to Larry Summers, under
Rosovsky’s deanship of the Faculty of Arts and Sciences (FAS) (1973-84), Harvard finally completed “the
transition from being a WASP redoubt to being a truly open gatherer of extraordinarily talented future
leaders.” In 1969, Rosovsky had concurred with Black student activists about the need for a degree-
granting program in Afro-American Studies. Six years later, when Rosovsky was Dean, the W. E. B. Du
Bois Institute for Afro-American Research (later incorporated within the newer and larger Hutchins Center)
was founded. And in 1978 Rosovsky oversaw the establishment of the Center for Jewish Studies (CJS) at
Harvard University under the directorship of Professor Isadore Twersky.

CJS coordinated a wide range of courses related to Judaism offered across various departments, including
History, Near Eastern Languages and Cultures, Philosophy, Literature, and Government. Prior to the
20th century, the study of Hebrew and Judaism at Harvard had been limited and was taught from a

Christian perspective. The appointment in 1925 of Harry Austryn Wolfson ‘11 (MA ‘12, PhD ‘15) as the
inaugural Lucius Littauer Professor of Hebrew Literature and Philosophy marked the founding of Jewish
Studies at Harvard (and indeed in the United States, as he was the first scholar to hold a chaired position

in Jewish Studies). The establishment of CJS marked a major expansion of Jewish Studies at Harvard. As
an academic unit catering to the entire student body, CJS was of benefit to more than the Harvard Jewish
community, but its courses, lectures, and other activities strengthened Jewish students’ knowledge of their
tradition and comfort with their Jewish identity.©

58 Raphael Demos and Donald C. Williams, “On the church issue,” The Harvard Crimson, April 21, 1958.

59 “Religion: God 8 Man at Harvard,” TIME, May 5, 1958. https://time.com/archive/6800797/religion-god-man-at-harvard-2/

6° Wells, “Opening the Doors to a Pluralistic Church.” Beyond Harvard’s community, figures from the surrounding
community occasionally caused controversy and compromised Jewish Harvardians’ sense of security and belonging. Father
Leonard J. Feeney was once a prominent Catholic poet and a popular figure among Harvard and Radcliffe students. He
founded St. Benedict’s Center in 1943. Originally established as an information center for Catholic students, it became the
home of “the Slaves of the Immaculate Heart of Mary,” a group known for its virulently antisemitic stance. In his publication,
The Point, Feeney claimed that Harvard was corrupted by “an enemy far more dangerous than McCarthy—the Jews in
attendance there.” He also suggested that President Pusey was brought in to “pry the Jews loose gently.” In addition, Feeney
denigrated Harvard as “a place filled with sissies and psychotics, a breeding ground of depravity, disloyalty, and despair.”
Feeney’s stance reached a breaking point in 1953 when the Vatican excommunicated him and his followers for heresy. In
1958, Feeney and his group, numbering approximately 50 individuals, departed from Cambridge. Bernard M. Gwertzman,
“Father Feeney Attacks College, Buildings, Jews, Time Magazine,” The Harvard Crimson, March 29, 1954. John E. Mcnees,
“Father Feeny Quits Cambridge; St. Benedict’s Center Up for Sale,” ibid., January 17, 1958.

61 Karabel, 483.

62 The New York Times, November 16, 2022. https://www.nytimes.com/2022/11/16/education/henry-rosovsky-dead. html

63 Nitza Rosovsky, “The Center for Jewish Studies,” in The Jewish Experience at Harvard and Radcliffe (Cambridge, MA:
Harvard University Press, 1986).

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That feeling of comfort was expressed by David Guberman ‘71 JD/MBA ‘74 (75) who related that although
most of his friends were Jewish, being Jewish was “unremarkable” and “not an issue” at Harvard at the time.
Marc Granetz ‘78, JD ‘86 “reveled in the sheer number of Jews at Harvard” in both the College and at
Harvard Law School. On occasion he encountered swastikas in men’s bathrooms and heard antisemitic
comments, “but for the most part Harvard [was] a place where Jews [felt] much less like a minority.”
Students were largely united by opposition to the Vietnam War; anti-war solidarity coalesced with a strong
American economy and excitement about the achievements and promise of the civil rights movement. Jewish
students engaged with Hillel and the Havurah movement (small, intimate prayer and social communities
influenced by 1960s counterculture). They also became involved in the Student Struggle for Soviet Jewry,
which had been founded in 1964, and in journalistic ventures like the newspaper Genesis 2.

The Arab-Israeli Conflict and the Harvard Community Up to 1979

Anthony Lewis’ testimony about his time at Harvard mentioned the founding of Israel in 1948 as marking
a divide in Jewish self-awareness and self-confidence on campus. David Guberman’s testimony described
the relief and joy that Jewish students felt across the University after Israel’s victory in the 1967 Six-Day
War: “Just as Israel was a natural, albeit special, fact of our existence, so was being Jewish.” Nor did Israel
present a problem for Jewish students who wanted to feel fully accepted at Harvard. Discussions of Israel
and the Arab-Israeli conflict in the 1960s and 1970s were engaged and multifaceted, but they were
relatively subdued compared to the fervent debates of later years. The intensity of discourse did not
remotely match that surrounding civil rights or the Vietnam War.

Debates on Harvard’s campus went back to the early 1950s, when, at a Law School Forum in October
1952, columnist Dorothy Thompson and Boston attorney Faris Malouf criticized Israel for being
financially supported by American dollars and condemned the Balfour Declaration as “the most double-
faced document ever issued by anyone.”® In response, the prominent attorney Bartley Crum and Rev. Karl
Baehr defended Israel’s existence and actions. Crum argued that Israel could potentially be “the greatest
friend the Arabs ever had” and urged them to accept a cooperative and beneficial relationship. In 1964,
Elmer Berger, an anti-Zionist leader and executive vice-president of the anti-Zionist American Council
for Judaism, accused Israel of seeking to be recognized as a normal nation while leveraging Zionism to
gain international sympathy. Berger believed this approach fostered suspicion and hostility among Arab
nations and called for Israel to clarify its position on the global stage, arguing that the United States
needed to judge Israel “either as a Middle Eastern state or as a humanitarian venture, but not as both.”67

Harvard students responded to the June 1967 war between Israel and its neighbors with a mixture of
support for Israel, criticism of Arab leaders, and little examination of the war’s potential ramifications.
Several articles in the Crimson highlighted the resolve of Harvard and Radcliffe students who joined the
Israel Summer Work Program to support Israeli agriculture and industry during the war. Susan A. Kotlier
‘70, noted, “It is not a romantic cause...but a matter of conscience” to aid Israel during its time of need.
A year after the war, however, Yehudi Lindeman offered a more critical assessment of the war, noting

* Rosovsky, 105.

5 “Dorothy Thompson Debates Israel’s past at Law Forum,” The Harvard Crimson, October 11, 1952.

66 Thid.

67 “Anti-Zionist Leader Accuses Israel Of Creating Tension in Middle East,” The Harvard Crimson, January 10, 1964.

6§ Anne De Saint Phalle, “Area Students to Aid Israeli Harvest, Volunteers Will Ease Manpower Crisis,” The Harvard
Crimson, June 5, 1967. https://www.thecrimson.com/article/1967/6/5/area~students~to-aid-isracli-harvest/. See also David
Blumenthal, “Israel: Three Voices of Ayeleth: Second of two parts,” The Harvard Crimson, October 19, 1967.
https://www.thecrimson.com/article/1967/10/19/israel-three-voices~-of-ayeleth~pthere/

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Palestinian disillusionment and anger over living under an oppressive occupation. Lindeman painted a
somber picture of coexistence marked more by tension than by attempts at mutual understanding.”

The relative absence of Palestine from Harvard student discourse in the mid to late 1960s may seem
surprising given the emergence at the time of a new left movement that was notably more outspoken and
radical than preceding leftist groups. This new wave was emblematic of a generation of students galvanized
by the election of President John F. Kennedy and the gradual loosening of McCarthy-era constraints on
radical politics. The Students for a Democratic Society (SDS) at Harvard and nationwide epitomized this
New Left. The movement resonated deeply within the student body, eventually attracting large crowds to
anti- Vietnam War protests.”

SDS at Harvard aimed to change American society through participatory democracy and “direct action” on a
variety of pressing issues such as labor rights and civil rights.” Unlike previous movements that relied on
structured leadership, SDS fostered an egalitarian atmosphere with democratic decision-making processes.
Despite their radical stance, the group refrained from endorsing violence.”? When “Proud Eagle Tribe,” a
revolutionary women’s organization, bombed the Center for International Affairs (CFIA), SDS strongly
criticized the act despite their criticism of CFIA.” Nevertheless, the SDS’ activism often brought them into
direct conflict with University authorities. One of the most intense confrontations occurred on April 10,
1969, when more than 400 police officers forcibly removed several hundred students occupying University
Hall. The raid resulted in the arrest of between 250 and 300 students, with nearly 75 sustaining injuries.”

Despite the high level of anti-war and civil rights activism on campus, there was minimal public outcry
regarding the Israeli occupation of the West Bank and Gaza following the Six-Day War in 1967. While
SDS and other groups were vocal about Vietnam and domestic socio-political issues, the plight of
Palestinians did not appear prominently on their agenda. This silence could be attributed to a variety of
factors, including low numbers of students from the Global South and a primary focus on Vietnam.”

Not unlike the Six-Day War, public responses at Harvard to the 1973 Yom Kippur War — while
involving debate on the ramifications of the war and some pro-Israel activism — were muted in
comparison with responses to the Israeli-Palestinian conflict in following decades. Several Harvard faculty
members, including Nathan Glazer, Seymour Martin Lipset, and Martin Peretz, signed statements
advocating for increased support for Israel, expressing concerns about Israel’s security, and calling for a
comprehensive peace involving all parties in the conflict.” However, there were also calls for
understanding and addressing Palestinian grievances. A student journalist named Renate Lehmann wrote

°° Yehudy Lindeman, “Bogeymen in the Mid-East,” The Harvard Crimson, April 9, 1968.

” Daniel J. Singal, “SDS — Harvard’s New Left — Feels ‘Underprivileged’ In Generation Which Prizes Making Own
Decisions,” The Harvard Crimson, June 3, 1966. https://www.thecrimson.com/article/1966/6/3/sds-harvards-new-left-feels-
underprivileged-in/

7 Tbid.

” For example, in 1969, a splinter group called the “Revolutionary Youth Movement (RYM)” apparently “broke into the
Center for the Study of International Affairs (CIA) [sic] painted the walls with slogans signed SDS, put up a banner
identified with SDS, beat up someone, and threw rocks through the windows of the secretaries’ offices.” SDS denied
responsibility for this attack. Beth Harvey, “SDS Not Involved,” The Harvard Crimson, September 27, 1969.
hitps://www.thecrimson.com/article/1969/9/27/sds-not-involved~pto-the-editors/

73 “CFIA Bombed,” The Harvard Crimson, June 17, 1971. hetps:/Avww.thecrimson.com/article/1971/6/17/cfia-bombed-pat-
1238-am-on/. See also “Explosion goes off on Harvard campus,” The New York Times, October 14, 1970.

“Police Raid Sit-In at Dawn; 250 Arrested, Dozens Injured. Pusey Says Decision Reached at 10 p.m.,” The Harvard
Crimson, April 10, 1969. https://www.thecrimson.com/article/1969/4/10/police-raid-sit-in-at-dawn-250/

” Richard Blumenthal, “SDS Shifting From Protest to Organizing,” The Harvard Crimson, June 15, 1967.
hetps://www.thecrimson.com/article/1967/6/15/sds-shifting-from~-protest-to-organizing/

7 “Several Faculty Members Ask Increased Support for Israel,” The Harvard Crimson, October 20, 1973.
https://www.thecrimson.com/article/1973/10/20/several-faculty-members-ask-increased-support/

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movingly about the Palestinians’ plight, and this view resonated among parts of the Harvard community,
although it was framed as an acknowledgment of the suffering of both sides rather than a unilateral
condemnation of Israel.”” During the war, student activism was overwhelmingly supportive of Israel,
taking the form of student volunteering and fundraising.”

Conclusion

Throughout the early to mid-20th century, the Jewish presence at Harvard grew and became
institutionalized despite the imposition of quotas and ongoing antisemitism. Organizations like the
Harvard Menorah Society, Harvard-Radcliffe Hillel, and the Center for Jewish Studies played pivotal
roles in fostering a sense of community and belonging for Jewish students. By the 1970s, although
antisemitism did not disappear altogether, Jewish student life flourished. Discussions around Israel and the
Arab-Israeli conflict were present but did not yet bring that conflict to the campus itself, nor did Jewish
students feel that they were victims of antisemitism in the form of anti-Israeli critique.

Israel/Palestine at Harvard During the 1980s: Regional Escalation

and On-Campus Tension

The 1980s saw violence increase between Israel and its neighbors, in particular in the Occupied Palestinian
Territories and in Lebanon. The escalation in the Middle East also impacted campus debates over Israel,
Palestine, and antisemitism. Among the key developments in this period were:

e The 1982 Israel-Lebanon War, which began as Israel — responding to repeated cross-border attacks by
militant groups — invaded Lebanon with the stated aim of expelling the Palestinian Liberation
Organization (PLO) from the country. The Israeli siege of West Beirut in Summer 1982 and the Sabra
and Shatila Massacre of Palestinians in September of that year — executed by Christian Phalangists and
backed by Israeli forces — garnered severe censure both internationally and within Israel.

e The first Palestinian uprising — the First Intifada — erupted at the end of 1987 with widespread
strikes, demonstrations, and civil disobedience across the West Bank and Gaza. Palestinians also
attacked Israeli military targets and Jewish civilians. The Israel Defense Forces (IDF) responded
harshly with mass arrests, teargas, and live ammunition.

e ‘Terrorist attacks by Palestinian militant groups spanned the decade and the globe.

Debates at Harvard grew more polarized over this period compared to preceding decades. Student and
faculty on both sides organized protests and panels. Despite the increased politicization of the campus,
however, discussions of Israel/Palestine tended to focus on specific policies and events rather than
champion or condemn an ideological stance. Students and faculty alike distinguished between criticism of
Israel’s actions and targeting Israel as a whole. Efforts at understanding different perspectives through
respectful — if heated — dialogue were prominent and appeared in the form of exchanges in the Crimson.

7 Renate Lehmann, “The Dispossessed in Palestine: The Disinherited: Journal of a Palestinian Exile by Fawaz Turki, New
York: Monthly Review Press, 1972,” The Harvard Crimson, August 7, 1973.
https://www.thecrimeson.com/article/1973/8/7/the-dispossessed-in-palestine-pbbbefore-the/. Peter Shapiro, “The Middle-
East: Do The Arabs Really Want Peace?,” The Harvard Crimson, February 7, 1974.
hetps://www.thecrimson.com/article/1974/2/7/do-the-arabs-realiy-want-peace/

78 Nicholas Lemann, “Answering Israel's Call,” The Harvard Crimson, October 19, 1973.
hetps://www.thecrimson.com/article/1973/10/19/answering-israels~call-pbradley-bloom-~75/, “Harvard Begins Israeli Fund
Drive In the Wake of New Mideast Conflict,” The Harvard Crimson, October 10, 1973.
https://www.thecrimson.com/article/1973/10/10/harvard-begins-israeli-fund-drive-in/

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While antisemitic incidents did occur at Harvard and in Cambridge, Jewish students did not speak of a
general pattern of antisemitism, intimidation, or exclusion. Activism targeted particular speakers or
initiatives, not the legitimacy of engaging with opposing views. Students whose sympathies lay primarily
with Israel or the Palestinians both attempted to acknowledge complexity and find common ground amid
disagreement. Allegations of antisemitism were at times associated with debates over the Israeli-Palestinian
conflict but came as well within a different context, that of relations between Black and Jewish students.

The Early 1980s: Responses to the Lebanon War and the Sabra and
Shatila Massacre

The Lebanon War, and in particular the Sabra and Shatila Massacre, deeply affected students and
communities around Harvard’s campus. In the aftermath of the events in the refugee camps in Beirut,
several protests and rallies were held.

On September 22, 1982, around 300 people gathered at Holyoke Center for a candlelight vigil organized
by the Boston-based Lebanon-Palestine Crisis Coalition. The vigil condemned the “butchery” of
Palestinians in Lebanon by Israeli forces and called for an end to US aid to Israel.”” Meanwhile, about 15
members of the Spartacus Youth League held a smaller protest outside of the Freshman Union, also
decrying Israel’s involvement in the killings in Lebanon. A counter-protest of about 75 ensued.®

Palestinian students at Harvard in particular saw the events in personal terms: Bishara Bahbah, a graduate
student from East Jerusalem, referred to the situation in Lebanon as “Holocaust I]” and noted that his
sister in Beirut had gone missing when Israeli forces surrounded the city.*t George Bisharat, the president
of the Arab Students Society, said there was “deep outrage” among Harvard’s Arab community against the
Phalange (a Lebanese Christian political party and paramilitary organization), Israel, and the US.®? Two
days later, the Harvard-Radcliffe Zionist Alliance and the Boston-based Lebanon-Palestine Crisis
Coalition held rival demonstrations outside the Holyoke Center. Protesters from the Zionist Alliance told
the Crimson that they themselves were distraught about the events in Lebanon, but they objected to the
use of these events to challenge Israel's right to exist and the constant comparison of Israel with the Nazis
through references to “genocide”. The Crimson noted the outrage among Israelis in response to the
massacre, and called for an Israeli withdrawal from Lebanon, whereas a dissenting opinion accused the
IDF of complicity with the massacre.

In campus debate, some students tried to distinguish between Prime Minister Begin’s administration and
Israel itself. Organizers of a rally at the Harvard John F. Kennedy School of Government (HKS) protesting
an address by the Israeli Ambassador to the US, Moshe Arens, wrote to the Crimson:

Concurrently [to Arens’ speech] there will be a vigil outside of Harvard students, faculty and
employees who support an equitable and just peace in the Middle East. We wish to make very clear

” Adam §. Cohen, “Anti-Israeli Protest Draws 300'To Candlelight Vigil at Holyoke,” The Harvard Crimson, September 22, 1982.
* Thid.

81 Bahbah eventually became national chairman of “Arab Americans for Trump.” Bishara A. Bahbah, “Arab and Muslim
Americans could hand Trump a victory,” The Times of Israel, June 30, 2024. https://blogs. timesofisrael.com/arab-and-muslim-
americans-could-hand-trump-a-victory/

®2 Adam S. Cohen and John D. Solomon, “Conflicting Rallies Highlight Lebanon,” The Harvard Crimson 1982.
hetps://www.thecrimson.com/article/1982/9/24/conflicting-rallies-highlight-lebanon-pwith-two/. Bisharat eventually
became a UC Law San Francisco professor and a prominent supporter of the BDS movement. E.g., George E. Bisharat,
“Israel Is Committing War Crimes,” Wall Street Journal, January 10, 2009.
https:/Awww.wsj.com/articles/5B1231548269523699 1 9?mod=googlenews_ws}

83 Cohen and Solomon, “Conflicting Rallies Highlight Lebanon.”

4 “Time to Question,” The Harvard Crimson, September 29, 1982.

8 Michael S. Terris, “Beyond Questions,” The Harvard Crimson, September 29, 1982.

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from the outset that this is not an anti-Israeli rally — on the contrary, it is because of our strong
commitment to the secure existence of the state of Israel that we must join the over 400,000 Israelis
— both Jews and Arabs — who joined the Israeli Peace Now movement (a movement led by Israeli
army reserve officers) in expressing their revulsion, as loyal Israelis, to their government’s role in the
brutal Phalangist massacre of Palestinian civilians at the Shatila and Sabra refugee camps in Beirut.

Some signers of a faculty petition asking for US aid to Israel to be cut back expressed similar sentiments.
Approximately 50 Harvard professors joined more than 450 academics signing this nationwide
petition.®” Harvard historian John Womack Jr. said that they “don’t want a cut off all aid... [but rather]
to stop aid that Congress itself decides is promoting the aggressive policies” in Lebanon, and Harvard
Divinity School (HDS) professor Harvey G. Cox said that his signature “is definitely not an anti-Israel
statement” but is “supporting the anti-Begin people in Israel”.**

The Sabra and Shatila Massacre continued to preoccupy the Harvard community, especially once the
Israeli Commission of Inquiry for the events, the Kahan Commission, published its conclusions in
February of 1983. George Bisharat ‘86, the president of the Harvard Arab Student Society, strongly
criticized Israel’s actions in Lebanon, citing the findings of the Kahan Commission report on the Sabra
and Shatila massacres.*? Conversely, William Marks ‘83 counter-argued that Bisharat committed “many
factual errors through omission and distortion.” Eric Stecket ‘84 then wrote a letter defending Israel and
claiming that Bisharat suffered from “muddled thinking.”®! Antony Blinken ‘84 noted that critiques of
Israel do sometimes verge on being “venomous” and “hateful, “such as comparisons of Israelis to Nazis.
However, he recognized that some criticism comes from Jews who support Israel.”

Comparisons Between Israel and South Africa

During the 1980s tensions arose between Black and Jewish student organizations over how to address the
ongoing conflict. The early 1980s saw growing debates about the military and economic ties between Israel
and an increasingly isolated South Africa. In 1983, Jesse M. Fried ‘86 critiqued a planned U.N. conference
examining alleged ties between Israel and South Africa.** He argued that at the U.N. “anything associated
with Israel’s existence — from her founding ideology of Zionism to the manner in which she carries out
public works projects — tends to prove an acceptable target.” Fried claimed that Israel’s economic ties to
South Africa were relatively small, and that many other countries had stronger economic links yet faced
less scrutiny. Later that year, a two-part article by Errol T’. Louis ‘84 presented a different image of close
military and economic ties, including extensive arms sales, between Israel and South Africa.?* Louis
suggested that these ties played a role in propping up South Africa’s apartheid system. He wrote, “should

86 Joseph M. Schwartz and Thomas Canel, “Oppose Begin, Not Israel,” The Harvard Crimson, October 19, 1982. For more
about Ahrens’s visit see Robert Levey, “Israeli rules out annexing of W. Bank,” The Boston Globe, October 20, 1982.

87 Muriel Cohen, “Professors ask halt in US aid to Israel,” The Boston Globe, November 16, 1982.

88 Martin F. Cohen, “Professors’ Petition Asks U.S. To Cut Back Aid to Israel,” The Harvard Crimson, November 18, 1982.
Eight faculty members also took out a full-page advertisement in The New York Times protesting actions by the Israeli
government that they said suppressed the academic freedom of Palestinian universities. Their representatives said this action
was meant to raise awareness, and they had no further plans at this time. “Petition,” The Harvard Crimson, April 5, 1983.

*° George E. Bisharat, “Questioning Israel’s Morality,” The Harvard Crimson, March 5, 1983.

%° William Marks, “Israel’s Morality,” The Harvard Crimson, March 8, 1983.

91 Eric Stecket, “Defending Israel,” The Harvard Crimson, March 19, 1983.

2 Antony J. Blinken, “Israel’s Saving Grace,” The Harvard Crimson, September 23, 1982.

3 UN Centre against Apartheid, “International Conference on the Alliance between South Africa and Israel, Vienna, 11 to
13 July 1983,” (New York: UN, October 1983).

4 Jesse M. Fried, “The Same Old Song,” The Harvard Crimson, May 27, 1983.

95 Errol T. Louis, “Close Ties,” The Harvard Crimson, December 1, 1983.

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Israel not successfully separate herself from the apartheid state, it may in the long run risk sharing the fate
of South Africa.”

Louis’s article received some support, with Robert A. Watts ‘84 praising Louis for “making it clear to all
who oppose the apartheid regime in South Africa that they must also begin to oppose the foreign and
military policies of Israel, the strongest ally of the white supremacist government.”*” However, the article
also prompted rebuttals.”* Jordan B. Millstein ‘85 questioned the evidentiary basis for Louis’s claims and
conclusions. He wrote, “Louis ... puts together a list of alleged economic and military connections
between Israel for its ties with the racist state [and] attempts to justify singling out Israel over other
countries for having these relations. This justification fails miserably as his evidence disappears in a cloud
of unproven assertions.” The controversy continued in the Crimson throughout the 1980s.1

Tensions increased in 1989 around plans for a conference on “Apartheid’s Arc and the Palestinian
Uprising,” to be held at the Harvard Divinity School.!*! Associate Dean Timothy Cross denied access to
the space, citing logistical reasons related to renovations requiring power shutdowns on the proposed date.
This decision rekindled the debate in the Crimson. Some students and faculty argued the conference
should have been allowed in the interest of open discussion and free speech. Others felt comparisons
between Israel and apartheid South Africa were misleading and intended to delegitimize Israel rather than
enable an honest debate.1°? While one student argued that equations of Israel and South Africa amounted
to a form of “Jewish McCarthyism,” others maintained the need for open-ended debate allowing speech
from various viewpoints.!%

Debates Over Antisemitism and Criticism of Israel

These conversations raised questions about whether criticisms of Israel’s policies, as well as more general
anti-Zionist stances, amount to antisemitism. Alan Dershowitz argued that the 1980s had seen “the most
pervasive and dangerous proliferation of anti-Semitism in history.” While acknowledging that a recent
bombing of a Paris synagogue had been attributed to neo-fascists, Dershowitz identified “leftist anti-
Semitism” as posing the greater threat. Speaking at Hillel, he claimed the “old poison” of antisemitism had
been “rebottled” and relabeled as “anti-Zionism” by leftist groups. Dershowitz singled out the Soviet Union
as a major source of this “new propaganda.” He said various leftist groups, including some Black, pro-
Palestinian, and pro-Iranian organizations, were promoting their causes by attacking Israel. Dershowitz also
condemned the UN General Assembly for “sanctioning anti-Zionism under international law” and
suggested resolutions critical of Israel would pass the Assembly regardless of their factual veracity.1™

% Errol T. Louis, “Too Close for Comfort,” The Harvard Crimson, December 2, 1983.

7 Robert A. Watts, “Israel & South Africa: ‘Remarkable’,” The Harvard Crimson, December 10, 1983.

% E.g., Jonathan David, “Questionable’,” The Harvard Crimson, December 10, 1983.

°° Jordan B Millstein, “Half-Truths’ About Israel,” The Harvard Crimson, December 14, 1983.

100 Charles T. Kurzman, “No More Excuses,” The Harvard Crimson, February 10, 1984.

101 |. Humphrey Walz, “Harvard Divinity School Backs Away from Examination of Israel-South Africa Ties,” Washington
Report on Middle East Affairs, no. January (1990). https://www.wrmea.org/1990-january/harvard-divinity-school-backs-away-
from- ination-of-israel-south-africa-ties. html

Joshua M. Sharfstein, “Talking Israel and South Africa,” The Harvard Crimson, November 1, 1989; Edmund R. Hanauer,
“Defending Chomsky’s Views on Israeli Policies,” The Harvard Crimson, November 29, 1989.

102 Lori E. Fein, “Don’t Legitimate Propaganda,” The Harvard Crimson, November 2, 1989; Ivan Dominguez and Louis
Green, “Israel-S. Africa,” The Harvard Crimson, November 4, 1989; Glen I. A. Schwaber, “Delink Israel and South Africa,” The
Harvard Crimson, November 16, 1989.

163 Daniel B. Baer, “Israel’s Next Plan of Attack,” The Harvard Crimson, November 7, 1989.

104 “A nti-Semitism Threat,” The Harvard Crimson, October 4, 1980.

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This sentiment was shared by at least some students. Allen S. Weiner ‘82, for example, published an article
discussing how the Israel-Lebanon conflict in 1982 had increased tensions and anti-Israel/antisemitic
sentiments. He argued that at least some criticism of Israel stemmed from underlying antisemitic views:

Many might balk at the claim that political condemnation of Israel signals the presence of anti-
Semitism. Of course, the relationship is by no means categorical — many Jews and Judeophiles
themselves, for example, have vehemently attacked Tel Aviv’s foreign policy in recent months. And
the idea that anti-Semitism could warp people’s views on political issues seem distant to most. It’s
easy to forget that only 40 years ago, one of the most civilized nations on the globe carried out the
systematic slaughter of six million people out of pure anti-Semitism. The frequent and sometimes
offhand mention of the Holocaust obscures how real, timely, and savage hatred for Jews can be.
Hitler’s genocide has become just another landmark event, and when someone mentions it, instead
of gasping “The Horror!” we chronicle it with the Norman Conquest, the Reformation, and other
distant historical happenings.!™

Scott A. Rosenberg ‘81 wrote in response that Weiner conflated different identities and groups, such as Jews
and Zionists, Israelis and their government. For Rosenberg, equating criticism of Israel and antisemitism
injects “extremist rhetoric” into the debate over Israel, Palestinians, and Lebanon. According to Rosenberg,
much criticism of Israel is based on legitimate concerns about the policies of then-Prime Minister Menachem
Begin’s government. Rosenberg also chided Weiner for using “self-pity” in his article, saying that while it may
be difficult being Jewish, it has been much harder recently for Palestinians and Lebanese impacted by the
conflict.1%

The Poster Wars

Debates over the Israeli-Palestinian conflict played out through “poster wars” on Harvard’s campus in the
1980s. Tensions over text and imagery on material distributed by opposing student groups spurred heated
debate over the accuracy and appropriateness of speech.

In April 1981, opponents and supporters of American aid to Israel distributed competing leaflets around
Harvard’s campus. Members of the Harvard-Radcliffe Zionist League (HRZL) responded to leaflets
criticizing unconditional US aid to Israel that had been distributed by a group calling itself the Committee of
Concerned Americans (CCA). The CCA leaflets stated that American aid had “subsidized Israeli policies that
are stumbling blocks to peace.” In response, HRZL members including Rona G. Shapiro ‘83 and Peter A.
Bronstein ‘82 held an “emergency meeting” where they drafted pro-Israel pamphlets entitled “Israel
Represents Our Best Interests in the Middle East.” The pamphlets aimed to “inform people how important
Israel is to American foreign policy,” according to Bronstein. When asked, CCA representatives refused to
provide information about the nature and views of their organization.1°”

In March 1988, the Harvard-Israel Public Affairs Committee (HIPAC) began posting pro-Israeli fact sheets
around campus to provide context for news coverage of the Palestinian uprising against Israeli occupation of
the West Bank. However, Adam Sabra ‘90, president of the Society of Arab Students

(SAS), called the posters “almost racist” and criticized their assertions that the conflict in Lebanon showed
“Arab intolerance toward non-Islamic religious groups” and the “impossibility of a [Palestinian Liberation

Organization] democratic, secular state.”°* Dina Abu-Ghaida — future co-founder of the Palestine Solidarity

105 «

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106 Scott A. Rosenberg, “A Matter of De nition,” _e Harvard Crimson, November 18, 1982.

107 Jacob M. Schlesinger, “Leaflet Conflict Outside Yard Centers on U.S. Aid to Israel,” The Harvard Crimson, April 4, 1981.

108 Spencer S. Hsu, “Pro-Israeli Posters Stir Debate,” _¢ Harvard Crimson, March 10, 1988.

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Committee at Harvard — asked “What has to happen for them to understand us [Palestinians]? ... Yet
again, the Jews and the Arabs seem not able to talk to one another.”

HIPAC apologized “for the poor wording of the remark” about Arab governance, and highlighted that
“the purpose of these pamphlets is not to promote controversy or stifle debate, but to encourage
meaningful intellectual discussion on the subject.”!° The SAS then posted fact sheets of their own,
including one listing Palestinian grievances and one depicting an Israeli soldier slapping an unarmed
Palestinian woman." When challenged by pro-Israel students, the SAS clarified they opposed only the
Israeli occupation, not Israel’s existence, and depicted scenes solely from occupied lands. The SAS insisted
that they sought open discussion rather than condemnation and accused pro-Israeli students of employing
“hackneyed arguments” and “accusations prey[ing] on base assumptions.”!”

The Late 1980s: Debates Expand to Local Politics

When the first Intifada flared, debate about Israel intensified both at Harvard and in Cambridge. In Fall
1988, a debate emerged over “Question 5” on the Cambridge ballot for forthcoming elections. Question 5
called for US Representatives to vote “in favor of a resolution calling upon Congress to stop all expenditure
of US funds for Israel’s occupation of the West Bank and Gaza.” The resolution also demanded that Israel
end its violations of Palestinian human rights and advocated the establishment of an independent
Palestinian state “with peace for all states in the region, including Israel.”4%

The issue sharply divided opinion. Michael “Trig” Tarazi ‘89, president of the SAS, supported Question 5,
saying “The United States does determine what is going on when they give $45 billion to one side in a
conflict and not the other.”"14 However, others like Ellen L. Chubin from Americans for Peace in the
Middle East opposed it, arguing the referendum “simplifies a very complex situation.” She said, “I think
the phrase ‘peace in the Middle East’ was distorted in the question”, adding that most voters likely agreed
with the question’s peaceful-sounding intentions, but also “didn’t go so far as to analyze the specific
program that was proposed.”!45 A debate was held between James J. Zogby of the Arab-American Institute
and Alan Dershowitz, with both sides accusing the other of bias. The debate, held in the Science Center,
was closed to the public and limited to members of the Harvard Community and invited guests. It
included hisses and shouts from audience members, along with insults between Zogby and Dershowitz."
Question 5 was endorsed by faculty like biologists Ruth Hubbard, Richard Lewontin, and George Wald
and historian Everett Mendelsohn, who wrote that “having campaigned against racism in our country,
apartheid in South Africa, the iron fist of Pinochet, the atrocities of the Khomeni regime and against
funding of Contra terror and death squads in Central America, [they] cannot turn a blind eye to the
oppression visited upon the Palestinian people as they try to end Israeli occupation.””

109 Hsu, “Pro-Israeli Posters Stir Debate.”

10 Glen I. A. Schwaber, Joseph Enis, and Laura E. Fein, “HIPAC,” The Harvard Crimson, March 14, 1988.

111 Matthew M. Hoffman, “Posters Spur New Debate Over Israel,” The Harvard Crimson, April 6, 1988.

12 Trig Tarazi et al., “No Anti-Israel Campaign,” The Harvard Crimson, April 13, 1988.

113 Madhavi Sunder, “Aid to Israel Debated; Forum Closed to Public,” The Harvard Crimson, November 4, 1988. ’The
referendum came under attack from Jewish groups who claimed Israel is being singled out compared to its neighboring
countries. Phillip van Niekerk, “Middle East issues come to ballot box,” The Boston Globe, September 20, 1988.

114 Sean P. Mclaughlin, “Congress Members Lead Opposition to Question 5,” The Harvard Crimson, November 1, 1988.
Tarazi ultimately became a legal adviser to the PLO. Michael Tarazi, “Iwo Peoples, One State,” The New York Times, October
4, 2004. https://www.nytimes.com/2004/10/04/opinion/two-peoples-one-state. html ?search ResultPosition=7

15 Kelly A. Matthews, “Cambridge Votes Yes on 5,” The Harvard Crimson, November 9, 1988.

116 Sunder, “Aid to Israel Debated; Forum Closed to Public.”

17 Ruth Hubbard et al., “Condemning Oppression,” The Harvard Crimson, November 5, 1988.

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On November 8, Cambridge residents voted on Question 5. It narrowly passed by a margin of 19,173 to
17,441.18 Supporters like Tarazi saw this as the “first time anything questioning Israel’s politics has passed
on the grass-roots level.”#? Others like Jonathan Savett ‘90 lamented the tenor of the debate on campus
and expressed the wish that the community continue “discussion — exchanges of opinions through letters,
yes, but better yet through personal contact, and even better yet everyone should take a break from
opinion-ramming and just concentrate closely on what actually happens during the coming weeks.”!”°

Antisemitic Incidents on Campus and Beyond

Over this decade, antisemitic incidents like threatening graffiti and vandalism against Jewish structures
appeared sporadically on Harvard’s campus and in the surrounding area. For example, in 1980, Hillel posters
in Pennypacker Hall dormitory at Harvard were defaced with swastikas and antisemitic graffiti, according to
Rabbi Ben Zion Gold, who noted that “prejudices are part of the human situation” and such incidents “hurt
many segments of this country.”!21 In 1982 and 1983 swastikas occasionally appeared on the Jewish Law
Students Association’s (JLSA) bulletin boards and announcements. JLSA member David M. Mirchin
speculated that “a lot of the inhibitions about being insensitive to Jews that existed for a long time after
World War II no longer exist,” and that “In a certain way, anti-Semitism is okay.”!” In 1984, Ellen Resnick
discovered that her mezuzah had been removed from her door at Currier House. She was disturbed by the
possibility that a member of the Harvard community deliberately removed it due to antisemitic sentiment.
She found it particularly troubling that this could have happened during the Christmas season, which
historically has been a time of increased ill will towards Jews in Europe. Resnick said Harvard deserves its
reputation for tolerance, but this “subtle gesture” showed an “appalling and unacceptable private prejudice”
that she had not previously observed. She worried that if such sentiments remain private and hidden,
manifesting only in isolated acts, it would be difficult to rationally challenge them.”

This increase in antisemitic incidents was part of a regional trend. In 1982, a sukkah built by Yale students in
New Haven was destroyed by vandals, though Judah Shechter ‘85 dismissed the idea of active antisemitism,
suggesting it was “probably just drunken vandalism.”!” In the same year, a sukkah at Brown University was
vandalized in what administrative assistant Sharon E. Cohen considered “a deliberate and partially anti-
Semitic act.”25 Boston University experienced several other instances of anti-Jewish graffiti and vandalism.’

As disturbing as these events were, the reaction from students known for being highly critical of Israel was
supportive of their Jewish classmates. In 1983, 16 student organizations (including the Arab Student
Society, the Black Law Students Association, and the Third World Coalition) issued a statement
condemning an antisemitic incident at Harvard Law School (HLS):

A couple of weeks ago, swastikas, the symbol of Hitler’s Third Reich, were scrawled across three
posters advertising Jewish activities at Harvard Law School. Last fall, someone etched a swastika into
the Jewish Law Student Association Bulletin Board. As members of the Harvard Law School

118 Matthews, “Cambridge Votes Yes on 5.”

119 Thid.

%9 Jonathan Savett, “Question 5,” The Harvard Crimson, November 19, 1988.

11 Stacey L. Mandelbaum, “Pennypacker Meets ’To Discuss Recent Anti-Semitic Graffiti,” The Harvard Crimson, November
13, 1980.

122 “Swastikas,” The Harvard Crimson, March 3, 1983.

23 Ellen Resnick, “Bigotry,” The Harvard Crimson, January 23, 1984.

124 “Sukkah Destroyed,” The Harvard Crimson, October 16, 1982.

125 “Jewish Structures Vandalized At Three Ivy League Schools,” The Harvard Crimson, October 23, 1982.

126 “Anti-Semitism,” The Harvard Crimson, December 8, 1987.

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Community, we are outraged by these abhorrent expressions of anti Semitism. We join together in
condemning the intolerance and hatred that motivated these acts of vandalism.”

Controversial Visitors on Campus

Some of the more fervent debates of the 1980s emerged around controversial speakers, both on the
Palestinian and the Israeli side. A 1983 visit by Hassan Abdul Rahman of the PLO at HLS sparked
significant tensions. While initial reporting suggested that pro-Israel students attempted to prevent the
talk from taking place, William Marks ‘83 argued that around 200 students demonstrated “to oppose the
PLO’s tactics and ideology, not to prevent Rahman from speaking.”!?* Organizers of the event critiqued
the news coverage of the event as an endorsement of PLO tactics, arguing that Abdul-Rahman’s invitation
“represents no statement of approval or disapproval of the aims and methods of the PLO, about which the
respective organizations have differing views. But it does represent our firm affirmation of the right of
representatives of the PLO to engage in direct dialogue with the American public, and to represent its
aspirations and policies in its own terms.”!?°

Rona Shapiro ‘84 of the Harvard-Radcliffe Zionist Alliance expressed dissatisfaction with how the talk by
PLO official Hassan Abdul-Rahman was carried out. She argued Jewish students were not given adequate
notice and questions from the floor were not allowed, “stacking the cards” against alternative viewpoints.
About the atmosphere at the talk, she wrote:

I arrived with my appropriate placard and screamed my position while inside. Rahman and his
supporters screamed theirs. Our individual identities were subsumed in our flags and titles, leaving
no room for a common ground or the search for one. What we witnessed instead was a debate of
hatred. I would argue that we learn very little from such screaming, that we merely reinforce
established prejudices.1°°

Shapiro proposed that a series of co-sponsored speakers from different perspectives could have fostered
mutual understanding.

However, members of the Hillel Steering Committee claimed that the heckling “was not a planned part of
the protest but stemmed from the emotional pride of the anti-PLO students” and admitted that “the
audience should have ideally exercised more self-control.”"5? Furthermore, the Committee pointed out that
their objection was to Rachman and the PLO specifically, but not to Palestinian rights:

During the protest outside the marchers held signs that said “Palestinians — Yes, PLO — No” and
the only full round of applause that Rachmun received followed his remarks that the rights of all

people in the region should be respected. We protested the PLO’s maximalism and rejectionism, not
the human rights of Palestinians. The two should not be confused. The Middle East problem is

horribly complex and no simple solutions will solve it, and there is no room for an organization
predicated on the destruction of Israel.

227 American Indian Law Students Association et al., “Anti-Semitism,” The Harvard Crimson, March 4, 1983.
128 William Marks, “Anti-Jewish’,” The Harvard Crimson, April 29, 1983.

1 George E. Bisharat, “Rahmun’s Speech,” The Harvard Crimson, May 4, 1983.

hetps:/ www. thecrimson.com/article/1983/5/4/rahmuns-speech-pbto-the-editors-of/

130 Rona Shapiro, “Stacked Cards,” The Harvard Crimson, April 29, 1983.
https://www.thecrimson.com/article/1983/4/29/stacked-cards~pbto-the-editors-ol/

131 Thid.

132 Jeffrey R. Mendelsohn et al., “Another View,” The Harvard Crimson, May 4, 1983.
hteps:/Awww.thecrimson.com/article/1983/5/4/another-view-pbto-the-editors-of/.

133 Thid.

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The Committee expressed the wish for better dialogue and understanding between the sides on campus:
“We must not allow an artificial division to develop between the groups who protested and those that
sponsored the speech ... Misunderstandings grow all too easily in an environment of mutual ignorance. To
avoid this, we must be willing to talk and listen to each other as students and as peers.”!*

In 1984, the Harvard Black American Law Students Association (BALSA) also hosted a panel discussion
featuring a representative from the Palestinian Liberation Organization (PLO). When Jewish students
from the Jewish Law Students Association (JLSA) attended, outnumbering BALSA members, the
BALSA moderator Muhammad Kenyatta refused to recognize any questions from White or Jewish
students.1%5 This led professors Martin Kilson and Orlando Patterson to argue that BALSA had violated
norms of free speech and fairness. They wrote:

The ugliness of Mr. Kenyatta’s behavior, cowardly acquiesced in by Afro-American students
associated with BALSA, is especially shocking, in light of Black Americans long and bitter
experience with racist victimization and brutalization. It is hard to believe that Mr. Kenyatta’s and
BALSA’s knowledge of this experience is so shallow and unsophisticated that they could transform
the occasion of the PLO’s UN representative’s talk into one of the vilest assaults on the norms of
fairness and free speech to occur at Harvard in many years.1°¢

Along with Alan Dershowitz, Kilson and Patterson asked President Derek Bok and HLS to condemn and
censure Muhammad Kenyatta and BALSA.” BALSA defended the event as private, in order to
minimize counterprotests, though they acknowledged inviting JLSA to observe. They rejected the notion
that inviting a PLO representative was tantamount to supporting terrorist acts.°* Kilson continued
arguing that discussion of Palestinian issues at Harvard must respect norms of fairness and free speech.1°?

Tensions rose further in 1985 when a letter criticized the Harvard Radcliffe Black Students Association
(HRBSA) for having invited a Libyan official to a conference on campus, describing it as an “outrage”
given Libya’s oppression.'”° The letter accused Black students of supporting Muslim oppression of Jews by
sympathizing with Palestinians. Accusations of “Black racist intellectual anti-Semitism” were levied
against HRBSA. Joachim Cario Santos Martillo-Ajami ‘78 argued Jewish groups should deny assistance to
all Black groups until HRBSA “cleans up its act.”!41

Jewish and Israeli speakers were also a source of controversy. In 1985, Meir Kahane threatened to sue
Harvard Hillel if he was not allowed to speak on campus. Kahane, who advocated expelling Israel’s Arab
citizens, was told he was not welcome at Hillel due to the organization’s refusal to engage with the racist
and violent views of Kahane’s Jewish Defense League. However, Hillel later changed its decision, allowing
Kahane to enter the building and speak.”

Four years later, pro-Palestinian demonstrators protested the presence of Israeli Major General Amram
Mitzna as a fellow at Harvard’s Center for International Affairs (CFIA). Mitzna had overseen Israeli
military operations in the West Bank from 1987-1989. The protesters, organized by the Cambridge

134 Thid.

135 “Minority Priority,” The Harvard Crimson, April 26, 1984.

136 Martin Kilson and Orlando Patterson, “Condemnation,” The Harvard Crimson, April 25, 1984.

187 Thid.

138 Black Law Students Association, “HJLSA: Wrong,” The Harvard Crimson, April 28, 1984.

1399 Martin Kilson, “BLSA,” The Harvard Crimson, May 1, 1984.

1 Mohammed Abdul-Assiz, third secretary to the Libyan mission, had been invited to the Third World Conference on Human
Rights, which took place in February 17, 1979. Sarah M. Mcgillis, “Third World Conference Criticizes U.S.,” The Harvard Crimson,
February 17, 1979. https://www.theceimson.com/article/1979/2/17/thind-world-conference-criticizes-us-pspeakers/

14 Joachim Cario Santos Martillo-Ajami, “Anti-Semitism,” The Harvard Crimson, April 2, 1985.

1® Gil Citro, “Hillel to Allow Talk By Uninvited Rabbi,” The Harvard Crimson, November 7, 1986.

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Coalition for Palestinian Rights, accused Mitzna of human rights abuses and considered him a “war
criminal.”443 HIPAC argued that criticism of Mitzna, seen as a moderate in Israel, was unfounded and that
denying him the fellowship would amount to censorship.'#4 The anti-Mitzna protesters said their goal was
to get Mitzna to leave Harvard, end US aid for alleged “Israeli oppression,” and pressure Israel to stop
“atrocities” in the occupied territories. Counter-protesters said the Coalition aimed to impose censorship
and discourage dialogue.1#5

Being Jewish and Zionist at Harvard

During the late 1980s, debates around Jewish identity and support for Israel were at times fierce. In a

November 1989 op-ed in the Crimson, John Larew ‘91 criticized what he termed “Zealots,” whom he

defined as American Jews who supported Israel unconditionally and rationalized alleged human rights
violations. Bemoaning the “poster wars” on campus, he described “Zealot” behavior thus:

Once during my first year, a Palestinian student posted a sign on the entryway bulletin board that
showed an Israeli soldier beating an unarmed Palestinian woman with the butt of his rifle. Within
hours, a Jewish student in the entryway had torn the poster down. When the Palestinian confronted
her about the incident, the Jewish student responded, “Tm sorry, but I just couldn’t bear to see it
there.” During my sophomore year, I saw a similar reaction in Winthrop House. Another bulletin
board, another poster, the same photo. Someone had written across the photograph in huge letters:
“BULLSHIT” The gesture was more pathetic than vexing. Some poor student wore ideological
blinders so thick that he or she dismissed an indisputable photographic record of Israeli brutality as
“bullshit.” Those who took Psychology 1 may recognize this phenomenon as the mental defense
mechanism known as “denial.” The facts conflict with their beliefs, therefore the facts do not exist.1“6

In response, Donald Seeman ‘89 argued that Israeli policymakers often faced a difficult choice between
“evils” and felt a military occupation, though “evil,” was preferable to threats against Israel’s existence from
groups like the PLO.’ Glen I.A. Schwaber ‘91 rebutted Larew in a letter affirming his support of Israel

and accusing Larew of twisting the words of others to suit his arguments.1*°

More general questions about Jewish identity and integration into campus also emerged in the late 1980s.
In 1989, Jonathan S. Cohn criticized the newly formed Jewish fraternity Sigma Alpha Mu at Harvard. In
an article called “Life Isn’t a Kosher Deli”, Cohn argued the fraternity went against Harvard’s goal of
diversity, saying it promoted the idea that “Jews should only socialize with other Jews.”!”? In response a
student of South Asian background wrote that Cohn’s criticism was unfairly harsh and “hinted at
antisemitism.” It presented student-driven social organization as a wellspring of diversity, not an obstacle
to it. In this view, minority students have a natural need to engage with others from their own
backgrounds as part of their integration into broader social networks.

Amidst the flare-ups of tension regarding the Israeli-Palestinian conflict came attempts to facilitate
respectful exchanges of perspectives on the topic. In 1984, Harvard hosted an Israeli-Palestinian
symposium organized by Professor Herbert C. Kelman, who had been working on Israeli-Palestinian

18 “News Briefs,” The Harvard Crimson, September 28, 1989.

™ “Israeli General Sparks Protest: Demonstrators Divided on Mitzna’s Fellowship at CFIA,” The Harvard Crimson, October
7, 1989.

4 Thid.

4 John L. Larew, “Israel’s Worst Best Friends,” The Harvard Crimson, November 29, 1989.

M47 Donald Seeman, “Israel Chooses the Lesser of Two Evils,” The Harvard Crimson, November 30, 1989.

M48 Glen I. A. Schwaber, “The Defense of Israel Is No Vice,” The Harvard Crimson, December 2, 1989.

49 Jonathan S. Cohn, “Life Isn't a Kosher Deli,” The Harvard Crimson, October 11, 1989.

150 Madhavi Sunder, “Need to Go National?,” The Harvard Crimson, October 17, 1989.

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issues for over a decade. The symposium brought together a high-level delegation from Israel, including
Knesset member Yossi Sarid, the leader of the delegation and a prominent dove in Israel’s Labor party. On
the Palestinian side, the delegation included Professor Walid Khalidi, a renowned scholar and founder of
the Institute of Palestinian Studies in Beirut, as well as scholars from the West Bank and Gaza.

Israeli journalist Dalia Shehori, who attended the symposium, saw it as “one of the most encouraging
gatherings ever” in the history of Israeli-Palestinian conferences. Shehori noted Professor Khalidi’s relief
upon accepting the political framework presented by Sarid. Shehori saw the symposium as “a reminder
that there are still in Israel people who hold the right direction” toward peace.

In November 1989, Palestinian academic and activist Taysir Aruri spoke at Harvard’s Jefferson Hall. Aruri,
who had been deported from the West Bank by Israeli authorities earlier that year, told the 80 attendees that
residents in Israel, the occupied territories, and the broader Middle East increasingly supported a resolution
involving two independent states. Aruri, who was touring the US sponsored by Amnesty International,
noted that the Intifada had shifted attitudes toward a separate Palestinian state and changed the dynamics of
the Israeli occupation. He believed that under a peace agreement, the independent Palestinian state and
Israel could develop economic and diplomatic ties that would benefit both peoples. The Progressive Jewish
Alliance and Harvard’s Society of Arab Students organized the event.

In December 1989, Arab and Jewish students at Harvard sought to find common ground and ease
tensions through open discussion. Students from, among other groups, the New Jewish Agenda and the
American-Arab Anti-Discrimination Committee came together for a conference in Boylston Hall, After
splitting into small groups, participants reconvened for a larger discussion. They agreed the best path
forward was through education — creating a joint task force to increase understanding between their
communities. Ideas proposed included hosting lectures at local high schools and pairing Jewish and Arab-
American community members. The students also discussed jointly lobbying the US government to
redefine its aid to Israel. “I think it’s something very helpful, the fact that 40 Jews showed up to talk about
this issue,” said Majed Tomeh of the American-Arab Anti-Discrimination Committee.

Conclusion

Debates around the Israeli-Palestinian conflict at Harvard in the 1980s reflected the rising tensions and
polarization occurring regionally during the period. The discourse on campus featured debates over specific
Israeli policies and attempted to distinguish appropriate criticism from a blanket delegitimization of Israel
and criticism of the PLO from discussion of Palestinian rights. While tensions occasionally flared between
Jewish and Arab student groups, efforts also emerged to develop understanding through dialogue.

While concerns about antisemitism did arise during the 1980s, they did not dominate the public
discourse surrounding Middle East discussions. Instead, many speakers critical of Israel strove to
distinguish their critiques of specific policies from broader condemnations of Israel as a whole.
Individuals and groups were often careful to clarify their points if there was a risk of misinterpretation.
The decade saw a concerted push toward informed debates that sought to draw clear lines between
policy critique and antisemitic rhetoric.

151 Dalia Shehori, “Mid-East at Harvard,” The Harvard Crimson, February 27, 1984.
152 Francesca E. Bignami, “Middle East Peace Possible,” The Harvard Crimson, November 21, 1989.
153 “Arab and Jewish Groups Talk of Common Ground,” The Harvard Crimson, December 4, 1989.

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Jews at Harvard in the 1990s: Tension and Dialogue with
Pro-Palestinian and Black Student Groups

TO THE EDITORS
February 26, 1994

We were shocked and appalled to hear of the horrific tragedy that occurred yesterday when an Israeli
settler brutally massacred more than 40 people in a mosque in Hebron. The killings occurred during
the holy month of Ramadan and were directed against innocent people in prayer. It is hard to
conceive that one human being is capable of such unthinkable evil. We extend our deepest
condolences to the families of those murdered and to the entire Arab and Islamic community. We
pray for a world free from such violence.

— Elie G. Kaunfer ‘95 Chair, Coordinating Council Harvard-Radcliffe HilleP**

TO THE EDITORS
March 6, 1996
The Harvard/Radcliffe Society of Arab Students would like to express its deep regret for the loss of

innocent civilian lives during the latest attacks in Jerusalem and Tel-Aviv. We sincerely hope that the
Palestinians and Israelis will continue their quest for a just and lasting peace.

— Ramy M. Tadros ‘97, President Harvard/Radcliffe Society of Arab Students'>

These two letters, written by Jewish and Arab students respectively in response to murderous violence in
the West Bank and Israel, demonstrate the capacity of Harvard students during the 1990s for mutual
sympathy and understanding despite political differences. For Jewish students, the decade was marked less
by concern about antisemitism from pro-Palestinian students than by broader debates over free speech —
what kinds of statements might be deemed offensive to the Jewish community, and who had the right to
make that determination. To be sure, events in the Middle East directly impacted the Harvard campus,
e.g., the 1991 Madrid Peace Conference and the 1993/1995 Oslo Accords, the assassination of Prime
Minister Yitzhak Rabin, numerous terrorist attacks in Israel; the 1996 opening of the Temple Mount
Tunnel and the ensuing riots and severe Israeli response; and the negotiations of the Wye River
Memorandum in 1998. These occurrences reverberated on Harvard’s campus, stimulating debates and
student activism. But relations between Jewish and Black students were especially fraught and more likely
to elicit accusations of antisemitism.

Balancing Free Speech with Protection from Harassment

Harvard took part in the national controversy of the late 1980s and early 1990s about ensuring free speech
on campus while protecting students from harassment.1°* In September 1988, HLS adopted new free
speech guidelines in response to previous disruptions of talks by controversial speakers.” HLS described
the guidelines as an attempt to balance future opportunities for speakers to present their worldviews and

154 Elie G. Kaunfer, “Appalled at the Hebron Killings,” The Harvard Crimson, February 26, 1994. (The actual number of
Muslims murdered by the perpetrator, Baruch Goldstein, was 29.)

155 Ramy M. Tadros, “Arabs Regret Loss,” The Harvard Crimson, March 6, 1996.

156 At Yale, for example, Yale President Benno C. Schmidt asserted that defacing a Jewish student’s door with swastikas was
“unlawful harassment,” whereas Yale College Dean Donald Kagan initially said that the defacers were protected by freedom of
expression. John L. Johnson, “Anti-Semitism, Free Speech Controversy Erupts at Yale,” The Harvard Crimson, November 5, 1991.
157 Crystal Nix, “Contra Chief’s Harvard Appearance Disrupted,” The New York Times, October 4, 1987, 1.

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allow protesters the right of dissent.15* In 1990, FAS followed suit and approved comprehensive Free
Speech Guidelines aimed at safeguarding the principles of free expression within the academic
community. The guidelines emphasized that the long-term benefits of a robust marketplace of ideas
outweighed the short-term discomfort of potentially offensive views. They outlined procedures for
managing disruptions, including issuing warnings and removing individuals who persist in disruptive
behavior, and acknowledged the need for security measures to protect these freedoms. In order to
maximize freedom of expression, the guidelines made clear that sanctions for violations would be based on
the nature of the infraction rather than the content of speech.»?

As the Faculty considered how to implement the guidelines, some argued that speech amounting to the
harassment of minorities needed to be curtailed for the benefit of the academic environment. Daniel E.
Mufson, for example, asked the University to assert “the importance of academic freedom as well as the need
for an educational environment in which that freedom can be enjoyed.”!© The president of the Crimson
pointed out that “harassment of minorities is a detriment rather than an addition to the ‘marketplace of
ideas.””*! Conversely, critics of these restrictions described them as overreaches that stifled free expression.

The debate over free speech versus protection from harassment was evident in campus discussions on
antisemitism and controversies over activism connected to the Israel/Palestine activism. Tensions surfaced
over the freedom to invite controversial speakers to campus and the publication of materials critiquing
Israel, which some perceived as bordering on antisemitism.

The Pro-Israeli and Pro-Palestinian Communities at Harvard

In the 1990s, Harvard’s Jewish community was thriving in every respect. On the organizational side, Hillel
functioned as not only a religious space but also a cultural and social hub for Jewish life on campus. Rabbi
Sally Finestone, acting chair of Harvard-Radcliffe Hillel, noted that Jewish students felt integrated into
campus life, stating, “I don’t think Jews feel like guests at Harvard anymore.”!®

In 1997, a Chabad House was established at Harvard. It sought to provide an informal, welcoming
environment for Jewish students to explore their heritage through classes, discussions, and Shabbat
experiences. Chabad reached out to Jewish students who were not already involved in campus Jewish
life.1°* Leaders Rabbi Hirschy Zarchi and Elkie Zarchi reported that students appreciated the opportunity
to take a break from the competitive campus environment and engage with Judaism in a meaningful way.
Within six years, Rabbi Zarchi attained official Jewish chaplain status on campus.1%

158 Seth A. Gitell, “Harvard Law School adopts new ‘free speech’ guidelines,” The Boston Globe, September 25, 1988.

159 Harvard University Faculty of Arts and Sciences, Free Speech Guidelines, as adopted by the Faculty of Arts and Sciences on
February 13 and May 15, I 990 (1990). https://hwpi.harvard.edu/files/facultyresources/files/fs_guidelines_1990.pdf

16 Daniel E. Mufson, “Free Speech Stops at Harrassment,” The Harvard Crimson, February 7, 1990.

161 Julian E. Barnes, “PRESIDENT’S NOTE: An Open Letter,” The Harvard Crimson, May 4, 1992.

hetps:/ Awww. thecrimson.com/article/1992/5/4/an-open-letter-pearly-this-morning/

12 Lori E. Smith, “Frank Defends Free Speech: Comments Draw Fire at Law School Seminar on Bigotry,” The Harvard
Crimson, February 12, 1990; “Nye Free Speech Report: Censure, Don’t Censor,” The Harvard Crimson, February 13, 1990.
16 Anna D. Wilde, “Harvard Is A ‘Home’ For Jewish Students: Students Say Past Prejudice Is No Longer a Barrier,” The
Harvard Crimson, November 16, 1992.

164 “Tntroducing the Leaders of the Future to their Past: A new Chabad House opens its doors to the Harvard community,”
Chabad.Org News, March 5, 1999. https:/Awww.chabad.org/news/article_cdo/aid/407/jewish/Introducing-the-Leaders-of-
the-Puture-to-their-Past.htm

165 Sue Fishkoff, The Rebbe’s Army: Inside the World of Chabad-Lubavitch (New York: Knopf Doubleday Publishing Group,
2009), 101-05; Samuel C. Heilman, The Rebbe: The life and afterlife of Menachem Mendel Schneerson (Princeton, NJ: Princeton
University Press, 2010), 7.

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Throughout the 1990s Harvard featured a lively pro-Israel community that put on events and advocated
on issues related to the Israeli-Palestinian conflict. The events ranged from rallies and demonstrations to
cultural celebrations and visits by high-profile politicians. In response to SCUD missile attacks on Israel in
January 1991, some 200 people gathered in front of Widener Library to show solidarity with Israel. In
October 1994, Harvard Hillel held a vigil on the steps of Widener Library to mourn the victims of a
terrorist bombing in Tel Aviv. Israeli foreign minister Shimon Peres spoke to an audience of some one
thousand at Memorial Hall in February 1994.1 In October 1996, Harvard Students for Israel held a
demonstration advocating for negotiations amidst Israeli-Palestinian violence sparked by the opening of
the Temple Mount Tunnel in Jerusalem.1*” A 1999 conference on “Boston, Israel, and YOU!,” co-
sponsored by the American-Israel Public Affairs Committee (AIPAC) and Harvard Students for Israel
(HSD), provided advice from lobbyists, analysis, and politicians on how Harvard’s Jewish students could
become future leaders.

These acts of celebration and advocacy did not go unanswered. When Einat Wilf, the HSI chair, wrote a
piece for the Crimson defending Israel and its efforts to attain peace with its neighbors, she received
criticism as well as support from fellow affiliates.1°* The criticism reflected mounting frustration with
Israel’s occupation of the West Bank and Gaza, frustration that led three undergraduate students to
establish the Palestine Solidarity Committee. According to one of the organizers, Dina N. Abu-Ghaida
‘91, this new group aimed to be “very visible on campus” and actively supported a two-state solution,
differing from the Society of Arab Students (SAS), which Abu-Ghaida noted was “primarily a cultural
group.”!6? Abu-Ghaida, a Palestinian born in Damascus and who had lived in Beirut, Amman, and Vienna
before coming to Harvard, said that the outbreak of the intifada and the Gulf War left her with “no choice
but to respond.” She referred to both hostility from Jewish students and positive experiences with the
Progressive Jewish Alliance, with whom she worked to build bridges between concerned Arabs and
Jews.’ Other pro-Palestinian activists, including Imraan Coovadia ‘92, reported facing hostility on
campus, and Rhoda A. Kanaaneh ‘92 noted frequent removal of PSC posters. Lucas P. Barr ‘91 described
a hostile atmosphere where actions like spitting at pro-Palestinian demonstrators reflected an “anti-Arab
sentiment” among the community.!74

Like pro-Israel students, supporters of the Palestinian cause organized rallies, issued public statements, and
held conferences. In October 1991, some 35 people gathered in front of Widener Library to protest the
killing of 19 Palestinians by Israeli police. ‘The event was led by members of SAS and the Subterranean
Review, a leftist campus publication. Imraan Coovadia ‘92, a protest organizer, described the incident as
“an inexcusable massacre.” Protestors carried signs saying, “Economic sanctions on Israel now,” “Stop
Israeli genocide against Palestinians” and “End the Israeli occupation now.”!” In October 1996, more than
80 people participated in a vigil in front of Holyoke Center to protest Israeli violence against Palestinians.
Participants chanted slogans like “Self-determination, end the occupation!” Ramy M. Adeeb ‘00, a
member of the Harvard-Radcliffe Society of Arab Students said: “As a human being, I am here to say I

166 Sarah J. Schaffer, “Israel’s Peres to Visit Harvard Next Week,” The Harvard Crimson, January 24, 1994; Sarah J. Schaffer,
“Peres Stresses Peace, Security,” The Harvard Crimson, February 19, 1994.

167 “Pro-Israel Students Rally for Peace,” The Harvard Crimson, October 4, 1996. For background, see Serge Schmemann, “10
MORE DIE IN MIDEAST RIOTS AS VIOLENCE ENTERS 3D DAY; MOSQUE IS SCENE OF A CLASH,” The
New York Times, September 28, 1996, 1.

168 Hinat Wilf, “Israel’s Independence Day,” The Harvard Crimson, May 5, 1995.

16 "Tracy Kramer, “Pro-Palestinian Group Planned: Campus Organization Will Focus on Political Agenda,” The Harvard Crimson,
October 25, 1990. hittps://www.thecrimson.com/article/1990/10/25/pro~ inian-group- ~pirustrated-by-the/

™ Seth A. Gitell, “Searching for an Identity and a Homeland: Dina N. Abu-Ghaida ‘91,” The Harvard Crimson, June 6, 1991.
17 Kramer, “Pro-Palestinian Group Planned: Campus Organization Will Focus on Political Agenda.”

1? Jonathan Samuels, “Students Protest Israeli Killings,” The Harvard Crimson, October 11, 1990.

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don’t agree with this destruction of the peace process.”!”3 Complaints about anti-Palestinian media bias
were published in the Crimson.

Not only speech but also imagery was a source of contention between students in rival political camps.
After an early 1990 incident where posters supporting Palestinian university students in the West Bank
were removed or defaced on campus, economist David S. Landes argued that while the posters were
provocative to some, their removal violated principles of free speech. While acknowledging both the
concerns of pro-Israel students and the right to express support for Palestinians, he questioned how
universities should handle such contentious displays.1”

Another controversy erupted around a poster campaign by the Harvard-Radcliffe Committee on Palestine
(COP) in December 1990, commemorating the third anniversary of the outbreak of the intifada. On
December 10, COP placed posters around Harvard Yard and student Houses with messages like “As a
center of protest this university has been closed. — Israeli Military Command” and “You have 48 hours to
evacuate before this house is demolished. — Israeli Military Command.” Within hours, most of these
posters were removed. COP members Dina Abu-Ghaida ‘91 and Rhoda Kanaaneh ‘92 wrote to the
Crimson, claiming this was a “stark violation of [their] freedom of speech on campus” and an attempt to
“stifle any Palestinian self-expression or form of protest.”!”6 Adam Taxin ‘93 responded, arguing that the
posters were “vicious propaganda” designed to “defame the Jewish state and its supporters.” He suggested
that COP intended for the posters to be removed quickly so they could “gain martyr status” and draw

parallels between Harvard and Palestinian universities.1””

In April 1992, SAS reported that posters advertising their event about the psychological effects on
Palestinian children under Israeli occupation in the West Bank and Gaza Strip were repeatedly removed
shortly after being put up. This incident, along with similar occurrences over the past two years, prompted
SAS to place an advertisement in the Crimson to announce their event. Laila Sahyoun ‘94 and Leith Masri
‘94, representing SAS, expressed concern about this “disturbing violation of its freedom of expression” and
called on those responsible to “reconsider their actions.” The letter writers viewed these incidents as
deliberate attempts to suppress their voice on campus.!”8

Cartoons in the Crimson also set off controversies. On October 16, 1990, the paper published a cartoon by
Oliver Chin titled “Wailing Wall Indeed ...”, depicting an Israeli soldier with an M-16 rifle standing
unmoved next to a dying Palestinian at the Western Wall. In a letter dated October 18, Glen Schwaber
‘91 argued that the cartoon perpetuates harmful stereotypes about Jews and trivializes both the sanctity of
the religious site and the loss of life in the conflict. Schwaber contended that the cartoon oversimplifies a
complex situation and unfairly places blame on one side. To illustrate his point, he asked readers to
imagine a hypothetical cartoon showing Palestinians attacking Jewish worshippers, suggesting that such an
image would be considered offensive if directed at Muslims or Islam.”

Conversely, a cartoon by Paul Tarr, published on February 13, 1991, depicted the Palestine Liberation

Organization (PLO), Palestinians, and Arabs in a manner that some readers found offensive. Samia Mora
‘92, Dina N. Abu-Ghaida ‘91, and Shaden M. Tageldin ‘92 criticized the cartoon for portraying
Palestinians as “either raving, maniacal monsters or weak, flailing dim-wits, or both,” depicting the PLO

173 “At Vigil, 80 Protesters Decry Israel’s Actions,” The Harvard Crimson, October 3, 1996.

17 Rhoda Kanaaneh, “Pro-Israel Bias,” The Harvard Crimson, October 11, 1990; Leila Suwwan de Felipe and Wagaas
Fahmawi, “U.S. Media Misrepresent Palestinians,” The Harvard Crimson, October 22, 1996.

17 David S. Landes, “Palestinian Posters,” The Harvard Crimson, January 4, 1990.

176 Dina Abu-Ghaida and Rhoda Kanaaneh, “Palestinian Group's Rights Violated,” The Harvard Crimson, December 17, 1990.
177 Adam Taxin, “Posters Were Vicious Propaganda,” The Harvard Crimson, December 17, 1990.

178 Laila Sahyoun and Leith Masri, “SAS Posters Were Removed,” The Harvard Crimson, April 10, 1992.

17 Glen Schwaber, “Cartoon Offends,” The Harvard Crimson, October 18, 1990.

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as “a modern Nazi equivalent” that wishes to “gas the Israelis,” misrepresenting the goals of the PLO and
the nature of the Palestinian intifada, and portraying Palestinians as “two-faced hypocrites.” They argued
that Tarr’s cartoon promoted “Orientalist attitudes” and hindered a deeper understanding of the region’s
issues.!® Tarr later reflected on the challenges cartoonists face when addressing sensitive topics, noting
that “even the most delicate cartoon on racial issues has the potential to offend someone.” He

acknowledged the historical context of racist stereotyping in media while defending his right to critique
political positions, including those of the PLO.1*

Given the divisions between pro-Israel and pro-Palestinian student organizations and individuals on
campus, it is not surprising that there were confrontations between them. However, confrontations were
often accompanied by gestures of correction, apology, and sympathy towards the opposing side. Three
episodes — the debate over the revocation of UNGA Resolution 3379 in 1991, the Cave of the Patriarchs
massacre in 1994, and the assassination of Israeli Prime Minister Yitzhak Rabin in 1995 — illustrate how,
despite deep-seated differences, both groups also made steps to understand and address each other’s
perspectives in moments of conflict and tragedy.

In December 1991, there were heated debates over the question whether Zionism constitutes racism,
mirroring the contentious global discussion ignited by the move to repeal the 1975 U.N. Resolution 3379
that had equated Zionism with racism.'* The SAS distributed flyers describing Zionism as racism, to
which several Jewish students responded. Richard A. Primus ‘92 wrote, “Being a Zionist, I was upset that
someone else had decided to define my political ideology for me. Being an anti-racist, I was upset that
someone had attributed an odious mindset like racism to me ... Zionism is a part of my identity. To call it
racism is to call my identity racist.”!®° He argued against non-Jews making proclamations about Jews’
beliefs, as well as SAS members’ apparent refusal to dialogue with campus Jews. The Harvard-Radcliffe
Hillel Coordinating Council echoed Primus’s sentiments. Daniel J. Libenson ‘92 and Shai A. Held ‘94
voiced the Jewish community’s concerns, with Held emphasizing that equating Zionism with racism
wrongfully labels an entire cultural and religious identity. They found it particularly troubling that, amid a
broader push for dialogue and understanding between identity groups on campus, other groups would
circulate materials that they perceived as equating their identity with racism. “This is not to say that all
Jews feel equally passionate about Israel or nationalism in general”, the wrote. “As in any free society, we
all have different feelings about the extent to which the national part of our ethnicity is important in our
lives. Still, a yearning for Zion (a Biblical name for the land we now call Israel) permeates every level of
Jewish worship and community.”!* Members of the Harvard Radcliffe Zionist Alliance, the Harvard
Israel Political Affairs Committee, and the Progressive Jewish Alliance jointly issued a condemnation as
well. They wrote that “it is insulting to have to defend one’s nationalism, especially to people who cannot
find a harsh word to say about Arab countries which torture and kill their own people, and do not let Jews
into (Saudi Arabia) or out of (Syria) their countries. But because the SAS has decided to undermine the

180 Samia Mora, Dina Abu-Ghaida, and Shaden M. Tageldin, “Tarr’s Message Was Offensive,” The Harvard Crimson,
February 16, 1991.

181 Paul ‘Tarr, “Race, Rats and political Cartoons,” The Harvard Crimson, May 6, 1991.
https://Awww.thecrimson.com/article/1991/5/6/race-rats-and-political-cartoons-pbab/

182 Paul Lewis, “U.N. Repeals Its ‘75 Resolution Equating Zionism With Racism,” The New York Times, December 17, 1991.

183 Richard A. Primus, “Zionism isn’t racism,” The Harvard Crimson, December 17, 1991.

18 Daniel J. Libenson and Shai A. Held, “SAS’s Attack on Judaism,” The Harvard Crimson, December 19, 1991. Additionally,
the Harvard Gulf Arab Alliance similarly criticized SAS for endorsing the belief that Zionism is a form of racism, calling it a
“fossilized belief.” They criticized the society more generally for having extreme political positions and suggested that its
homogeneously Palestinian makeup has diverted it from its original purpose of promoting Arab culture and serving the Arab
community at Harvard. Bader A. El-Jeaan, “A Society of Pan-Arabists,” The Harvard Crimson, December 19, 1991.

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peace process and further the dreams of destroying Israel at a time when our thoughts should be of peace
and mutual understanding, we are forced to respond.”1®

SAS members responded in two separate letters. Three members wrote a letter claiming they had been
misunderstood: “The aim of this fact sheet was to present to the Harvard community the adverse
consequences of the policies stemming from the Zionist ideology. These policies have undeniably resulted
in discrimination against the Palestinian people.”!** They reiterated that their intent was not to attack
Judaism or Jewish people and expressed disappointment that their own attempts at fostering dialogue and
mutual understanding had been overlooked.!®” These SAS members further explained that Zionism, in
their view, has led to two diverging outcomes: the establishment of a Jewish homeland, which they
support, and the simultaneous displacement of Palestinians, which they oppose. “We do not believe that a
people’s rights should be sacrificed in order to grant a different people the same rights,” they stated.1®*
They expressed their ongoing commitment to Palestinian rights, emphasizing that their opposition to
Zionism does not equate to opposing Jewish people.

A second group of SAS members wrote a more confrontational letter describing Zionism as a political
ideology distinctly separate from Judaism and as inherently discriminatory. They argued that opposing
Zionism does not equate to antisemitism, likening it to opposing Nazis without being anti-German. This
second group maintained that their distribution of fliers was undertaken to defend principles of truth,
morality, and justice. They cited an example involving Ethiopian Jews being evacuated to Israel during the
civil war, contrasting with non-Jewish Ethiopians left behind, to argue that Zionism discriminates based
on religion.1®?

The 1994 Hebron massacre, where an Israeli settler killed 29 Muslim worshippers and injured many more
at the Cave of the Patriarchs,! deeply shocked Harvard students across campus. The incident, occurring
during Ramadan, drew immediate condemnations from both Jewish and Arab student organizations. Elie
G. Kaunfer “95, chair of Harvard-Radcliffe Hillel, expressed the collective distress, stating, “We were
shocked and appalled to hear of the horrific tragedy ... it is hard to conceive that one human being is
capable of such unthinkable evil.”!9! Similarly, Martin Lebwohl ‘96 and Mayer Bick ‘95, co-chairs of
Harvard Students for Israel, emphasized their condemnation of the violence and reaffirmed Israel’s
dedication to peace.’

Students on campus engaged in exchanges to understand and address the implications of the massacre.
“Everyone in the room was incredibly upset, very angry, and just shocked at the actions of this crazy man
in Hebron,” noted Kaunfer, highlighting the atmosphere at a Hillel gathering.’ Meanwhile, Hashen E.
Montasser ‘97, an Egyptian Muslim, remarked, “Obviously your sentiments are shocked when this
happens, whether the [victims] are Muslim, Jewish, or Christian.”!

Following the massacre, Harvard students participated in various initiatives to foster solidarity and
communication. At the Cultural Rhythms festival, dancers from Hillel wore black armbands to signal

185 Sharon Fenick et al., “SAS Flier Offends Jews,” The Harvard Crimson, December 17,1991.

18 Hazem Ben-Gacem, Naseem Tuffaha, and Joana Samhoun, “Our Letter Was Misinterpreted,” The Harvard Crimson,
December 19, 1991.

187 Thid.

188 Thid.

189 Mohammed Yassin, Leith M. Masri, and Radi Annab, “Zionism Is Racism,” The Harvard Crimson, December 19, 1991.
190 Clyde Haberman, “AT LEAST 40 SLAIN IN WEST BANK AS ISRAELI FIRES INTO MOSQUE,” The New York
Times, February 26, 1994.

191 Kaunfer, “Appalled at the Hebron Killings.”

192 Martin Lebwohl and Mayer Bick, “Act Was Meant to Derail Peace,” The Harvard Crimson, February 26, 1994.

193 Geoffrey C. Hsu, “Hebron Attack Stuns Students: Violence Dismays Undergrads,” The Harvard Crimson, February 28, 1994.
19 Hu, “Hebron Attack Stuns Students: Violence Dismays Undergrads.”

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solidarity. Additionally, intergroup events and discussions were arranged to bridge the divide. Kaunfer
mentioned that Hillel reached out to offer support to any memorial services planned by the Islamic
Society, emphasizing, “No one at Hillel feels the way this man felt.”!*°

Despite divergent perspectives, students largely focused on the need for continued dialogue and mutual
understanding. Radi M. Annab ‘95, president of the SAS, pointed out systemic issues, stating, “It’s one
thing to have peace between leaders, but it’s different having peace in the actual territories.”!°° Others
highlighted the shared hope for a better future, with Zainab Khan ‘96 noting her personal fear that such
violence could happen anywhere, underscoring the need for empathy and solidarity.”

Alongside articles criticizing the media for portraying Arabs as terrorists when clearly fundamentalists of
other religion engage in violence,’* criticizing Israel for allowing settler violence to permeate,’ and
criticizing public speakers for demonizing Israel due to one person’s actions,” a Crimson editorial called
for the sides to continue dialogue toward peace. “The peace process has been put in danger by the action of
one fanatic. Salvaging it must be the work of many, reasonable people from all sides.”

In January 1997, when an Israeli soldier fired his assault rifle at a crowd of Palestinians in Hebron, injuring
seven people, students expressed a shared condemnation of violence and reinforced a commitment to the
peace process, while also expressing a desire to address and understand the underlying issues while
fostering dialogue and cooperation between the communities. David Andorsky ‘97, Adam Kleinbaum ‘98,
and Yuval Segal “97 of Harvard-Radcliffe Hillel and HSI condemned the act, expressing outrage and
emphasizing that such violence opposed the principles of Jewish tradition. They also praised Israeli and
Palestinian efforts to manage the situation and underscored the importance of cooperation for peace.”

In the aftermath of Israeli Prime Minister Yitzhak Rabin’s assassination, the Harvard community
displayed a boundary-crossing grief. Many expressed hopes for peace, transcending the polarized
environment surrounding discussions on Israel and Palestine. The immediate response featured reactions
from different student groups who expressed condolences and a desire to continue Rabin’s peace
initiatives. For example, the SAS, led by Muna Sukhnan, expressed “deep regret for the loss of Israeli
Prime Minister Yitzhak Rabin,” and hoped his legacy would be one of peace.”°° Harvard-Radcliffe Hillel
echoed the sentiment, condemning the violence that led to Rabin’s death but maintaining hope that his
dream of peace would not be in vain.?™

1% Thid.

1% Thid.

197 Thid.

198 Rami A. Thabet, “Palestinian Anxiety Is Warranted: Even before the Hebron massacre, Palestinians had reason to distrust
the Israeli government,” The Harvard Crimson, March 4, 1994.

19 Jonathan F. Dresner, “Israel Should Disarm Settlers,” The Harvard Crimson, March 5, 1994; Hassen A. Sayeed, “Israel Not
Without Responsibility,” The Harvard Crimson, March 7, 1994.

20 David J. Andorsky, “Knowing Where to Place Blame: One Man Committed a Heinous Act; Why is All Israel Paying the
Price?,” The Harvard Crimson, March 10, 1994. See also “Salvage the Mideast Peace Process,” The Harvard Crimson, March 1,
1994; Robert Ditzion, “Massacre Must Not Stop Peace,” March 11, 1994; Roy Astrachan, “A Patriotic Peace: For Israelis,
Avoiding Peace Would Be Treasonous,” The Harvard Crimson, March 16, 1994; Mayer Bick, “Speed Up the Peace Process,”
The Harvard Crimson, April 13, 1994.

201 "The Crimson Staff, “Salvage the Mideast Peace Process,” The Harvard Crimson, March 1, 1994. Similar sentiments were
expressed in some letters to the Crimson. E.g., Robert Ditzion, “Massacre Must Not Stop Peace,” March 11, 1994; Roy
Astrachan, “A Patriotic Peace: For Israelis, Avoiding Peace Would Be Treasonous,” The Harvard Crimson, March 16, 1994;
Mayer Bick, “Speed Up the Peace Process,” The Harvard Crimson, April 13, 1994.

2 David J. Andorsky, Adam Kleinbaum, and Yuval Segal, “Jewish World Outraged by Recent Hebron Shootings,” The
Harvard Crimson, January 6, 1997.

203 Muna Sukhnan, “Arab Students Express Regret,” The Harvard Crimson, November 6, 1995.

20¢ Harvard-Radcliffe Hillel Coordinating Council, “Hillel Mourns Loss of Rabin,” The Harvard Crimson, November 6, 1995.

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Events were held to commemorate Rabin and process the tragedy collectively. Hillel organized a memorial
service where more than 500 Harvard community members, including Hillel Director Bernard Steinberg,
gathered on the Widener steps and shared their grief. Steinberg described the community’s sadness and
called for unity.?%

The assassination also prompted reflective discussions about Israeli society and the implications for peace.
Some op-eds pointed to Rabin’s death as a turning point, stressing the need to confront violent rhetoric
and political extremism within Israel. Samuel J. Rascoff, in his Crimson columns, discussed the deeper
societal fragmentation that the assassination highlighted and the urgent need for internal peace in Israel.
He urged that Israel’s path towards peace must also address internal divisions to prevent future tragedies.”
However, this view was met with criticism from Einat Wilf ‘96, who argued that Rascoff’s perspective
questioned the very legitimacy of the Israeli state. Wilf called for a strong reassertion of democratic values
rather than reviving external threats like antisemitism to strengthen Israeli society. She emphasized that
“Israeli civic society must rest on shared common values such as the agreement to disagree within
acceptable boundaries,” advocating for unity and responsibility in public discourse.”

Commemorative events continued a year after Rabin’s death, with students gathering again to reflect on
his contributions. Poems and songs by students such as Marnie A. Friedman ‘99 and Julie B. Geller ‘97
encapsulated the emotional weight and continued hope for peace that Rabin’s life symbolized.”°* Dalia
Rabin Pelosoff and Camelia Sadat, the daughters of Rabin and Egyptian President Anwar Sadat,
respectively, paid tribute to their fathers’ legacies in a poignant forum at HKS, reinforcing the vision for
peace that both leaders pursued.” Rabin’s death thus not only elicited sorrow but also bridged divides,

encouraging a collective reaffirmation of peace efforts in his memory.

In these episodes and others, clashes between the communities were also opportunities for dialogue and
mutual understanding. Acts of condemnation, regret, and collaboration reflected a shared commitment to
peace and reconciliation amid deeply contentious issues. In the Crimson on October 18, 1990, Hazem
Ben-Gacem ‘92 of SAS called for peaceful coexistence and mutual understanding. He emphasized the
importance of breaking “the psychological barrier between Jews and Arabs on campus” and working
collaboratively to advance peace in the Middle East.?!° Efforts towards cooperation were also evident in
cultural and artistic endeavors. For instance, in November 1994, Israeli and Palestinian artists collaborated
on an art exhibit titled “Prelude to Peace, Israeli and Palestinian Artists Build Bridges” at Dudley House.
The initiative was fostered by Ivonne A-Baki, who highlighted the unifying power of art, stating, “I have
always tried to unite politics and art for the purpose of furthering peace.” Despite the existing tensions,
such gatherings were presented by organizers as a testament to the possibility of finding common ground,
as organizer Hoda Abou-Jamra pointed out, “We can’t let differences in the past ruin the opportunities for
the future.”244

Moreover, there were multiple structured dialogues between groups like the Harvard-Radcliffe Hillel and
the SAS. For example, a brunch discussion was held on May 6, 1996, to address the conflict in southern
Lebanon. Despite the emotionally charged nature of the topic, Shahm M. Alwir ‘98 characterized the

205 Alexander 'T. Nguyen, “Slain Israeli Leader Eulogized,” The Harvard Crimson, November 7, 1995.

206 Samuel J. Rascoff, “Reflecting on a Hero's Death: Rabin’s Assassination Raises Questions About Israel, Peace,” The
Harvard Crimson, November 6, 1995.

207 Einat Wilf, “Rascoff Proposes Odd Solutions,” The Harvard Crimson, November 13, 1995.

208 “Speakers Pay Tribute to Rabin,” The Harvard Crimson, December 4, 1996.

209 Thid.

210 Hazem Ben-Gacem, “A Call for Cooperation,” The Harvard Crimson, October 18, 1990.

411 Wilson J. Liao, “Israelis, Palestinians Collaborate On New Dudley House Art Exhibit,” The Harvard Crimson, November 9,
1994.

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meeting as constructive and civil, noting that “all in all, people tried to be very scientific about it.”24? Such
dialogues continued throughout the decade, with leaders like Ramy M. Tadros ‘97 and Yuval Segal ‘97
expressing a commitment to these discussions despite rising tensions in the Middle East.?° Students took
direct leadership of these meetings. Tadros said in preparation for a meeting, “Last year, [Assistant
Professor of Government Eva] Bellin was the mediator, but this year, we decided to have a member from
each group chair the meeting.””44 After a 1999 dialogue event, a co-organizer said such meeting will “form
the foundation for a positive relationship between Hillel and SAS.”245

Beyond student groups, the broader Harvard community also engaged in numerous initiatives aimed at
fostering dialogue and promoting cooperation in the Middle East. Faculty members played a significant role
in these efforts. For over 20 years, Cabot Professor of Social Ethics Herbert C. Kelman led workshops, many
of them held at Harvard’s Center for International Affairs, aimed at facilitating understanding between Arab
and Israeli leaders. Kelman described these sessions as a way to cultivate “the sense of possibility, the idea
that problems can be bridged.” William A. Graham Jr., a professor of the history of religion and Islamic
studies, recognized Kelman’s influential role in the peace process, noting, “No one who knows him could be
surprised that he would have a hand, direct or indirect, in any eventual solution.””°

Black and Jewish Relations Throughout the 1990s

There was significant tension between the Black and Jewish communities at Harvard, often centered
around issues of free speech and offensive rhetoric in the context of high-profile controversies involving
figures such as Leonard Jeffries and Noam Chomsky. These tensions mirrored national issues, including
antisemitic statements from the Nation of Islam and conflicts like the Crown Heights riots of 1991.
However, both communities made efforts to engage in dialogue and bridge the gaps between them.

In 1992, Jeffries, a professor at the City University of New York, was invited to speak at Harvard by the
Black Students Association (BSA), the Black Law Students Association, and the Dubois Graduate
Society.”"” Jeffries was well known for making statements perceived as antisemitic and promulgating
theories about Jews’ world domination.”* His invitation drew criticism, particularly within Harvard’s
Jewish community.?” J. Eliot Morgan “92, a Black Jew,” said “it’s really important to note just how
serious bigotry and anti-Semitism are on Harvard’s campus.” Morgan attributed the motivation of the
BSA to extend the invitation to “the Black student-intellectuals’ fascination with racial mythology and
their insensitivity toward other oppressed peoples.” Morgan, a Crimson editor, claimed that during an
interview Jeffries “ordered his bodyguards to take Morgan’s tapes, when [he] found out that many Crimson

212 “Fiillel, SAS Hold Brunch Discussion on Conflict in Lebanon,” The Harvard Crimson, May 6, 1996.

213 Nicole W. Green, “Jewish and Arab Groups Continue Discussions,” The Harvard Crimson, September 30, 1996.

214 “Student Leaders Will Discuss Violence in Israel: Meeting Will Be Held Between HSI and SAS to Express Views on
Netanyahu’s Decision,” The Harvard Crimson, October 8, 1996.

15 Kyle D. Hawkins, “Hillel, SAS Discuss Middle East Conflict,” The Harvard Crimson, May 5, 1999.

216 Ryan A. Hackney, “Prof. Assists Mideast Peace: For 20 Years, Kelman Has Quietly Promoted Negotiation,” The Harvard
Crimson, October 2, 1993.

417 Stephen E. Frank, “CUNY Professor Leonard Jeffries 'To Give Lecture,” The Harvard Crimson, February 1, 1992.

218 Among other conspiracy theories regarding Jews, Jeffries maintained that Jewish businessmen ran the Slave Trade. Richard
M. Benjamin, “The Bizarre Classroom of Dr. Leonard Jeffries,” The Journal of Blacks in Higher Education, no. 2 (1993).
http://www.|stor.org/stable/2962577

#19 Anna D. Wilde, “FBT Discusses Jeffries: Table Hosts Black-Jewish Dialogue,” The Harvard Crimson, February 10, 1992.
220 J. Eliot Morgan, “Now is the Time to Protest,” The Harvard Crimson, February 5, 1992.

221 Frank, “CUNY Professor Leonard Jeffries To Give Lecture.”

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executives have Jewish surnames.” Then, according to Morgan, Jeffries “threatened to kill Morgan if the
interview were published.” Jeffries later denied this incident occurred.”

Conversely, Hillel Chair Shai A. Held ‘93 believed that the invitation was not extended with an intention
to harm or offend others. He acknowledged that the event “will obviously still be offensive to a great many
people” and hoped that it would not affect “the developing dialogue and cooperation” between Hillel and
BSA.“ BSA President Art A. Hall 93 pushed back against criticism, arguing that “by inviting any Black
speaker there is the potential of offending somebody because of the fact that these are Black individuals
who are making statements that not everybody within the Black community agrees with.” Hall said that
“even the fact that a Black individual is succeeding, that in itself has been seen in the past as offensive to
some people.” Hall maintained that BSA does not endorse Jeffries’ positions, but rather endorses “his

Blackness as a Black individual and a Black intellectual.”?

During the speech, Jeffries made several controversial remarks, which were met with applause from some
Black students — in particular BSA members.” Crimson editors Allan S. Galper ‘93 and Kenneth A. Katz
‘93 wondered why “no Black Harvard student ... denounced Jeffries’ views in public, and only a handful of
Black students were among the 450 demonstrators [against Jeffries’ talk] at the protest Wednesday night.
If Harvard’s Black community is really as diverse as BSA claims, then where are those opposed to Jeffries’
views?””” A Black student responded by drawing a parallel to the lack of criticism surrounding celebrations
of historical figures who were slave owners.”

Several days after the speech, the Freshman Black Table (FBT) hosted a discussion on Black-Jewish
relations at Harvard.”? White students emphasized the severity of Jeffries’ rhetoric. One said that “there
are lots of code words that have been used to insult Jews that are part of [his] consciousness” and that
perhaps not everyone would see these “code words” as biased. Another student said he thinks “ you have to
take the Jewish community’s word for it that Jeffries is extremely, extremely offensive.”°°

Only two months later, in April 1992, another significant controversy unfolded involving S. Allen
Counter, the Director of the Harvard Foundation for Intercultural and Race Relations. The controversy
was sparked by a letter he co-authored with Harvard Foundation Student Committee Co-chair Natosha
Reid ‘93 and published in the Crimson. The letter criticized the newspaper’s coverage on race relations,
accusing it of being biased and unfair and not representing the broader student consensus. It specifically
pointed out that “Crimson writers active in Hillel have written extensively” on Black-Jewish relations and
argued that the Crimson frequently cited Harvard-Radcliffe Hillel as being dissatisfied with the
Foundation’s work. “Recently, students from Hillel have protested Harvard Foundation support of guest
speakers such as MIT professor Noam Chomsky who was called “too political “ for the Foundation’s
mandate (Professor Chomsky was invited to the University by the Society of Arab Students) and popular
Black ‘rap’ recording star, ‘Chuck D.””3!

The letter further claimed that the “most intractable racial conflict has been between Jewish and Black
students.” It mentioned complaints from Black students who felt that Jewish students attempted to

222 “BSA Hypocrisy: THE JEFFRIES LECTURE,” The Harvard Crimson, February 3, 1992.

223 Kenneth A. Katz, “Revenge of the Ice People,” The Harvard Crimson, February 7, 2024, 1992.

24 Frank, “CUNY Professor Leonard Jeffries To Give Lecture.”

225 Thid.

226 Wilde, “FBT Discusses Jeffries: Table Hosts Black-Jewish Dialogue.”

227 Katz, “Revenge of the Ice People.”

228 Wilde, “FBT Discusses Jeffries: Table Hosts Black-Jewish Dialogue.”

229 Anna D. Wilde, “Campus Notebook,” The Harvard Crimson, March 6, 1992, 1992.

230 Wilde, “FBT Discusses Jeffries: Table Hosts Black-Jewish Dialogue.”

231 §, Allen Counter and Natosha O. Reid, “The Crimson Misrepresented the Harvard Foundation,” The Harvard Crimson.

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“abridge their freedom of choice in speakers” and “manipulate them.””? This assertion was contentious
and led to a strong backlash from Hillel members and other Jewish students. Shai A. Held characterized
the letter as “filled with misrepresentations, distortions, and outright lies.” He contended that it made
“insinuations and accusations which certainly smack of standard anti-Semitic fare,” implying a false
conspiracy between Hillel and the Crimson.

The reaction to the letter led to demands for Counter’s resignation, arguing that his role should require
greater sensitivity and impartiality in handling intercultural and race relations.”> Conversely, Matthew C.
Weiner defended Counter and criticized those who had, in his view, overstated discrimination against
Jews, as such comparisons trivialized the significant discrimination faced by Black students.” In response
to the backlash, Counter apologized for any misunderstanding caused by his letter,?> but despite the
apologies, a formal complaint was filed, leading to an investigation into Counter’s conduct by the
University administration.”*

In December 1994, additional controversy arose at Harvard when BSA invited Anthony Martin, a Wellesley
College Africana Studies professor, to speak on “The Bell Curve and Other Issues of Racism.”?5” Martin,
author of The Jewish Onslaught, a book alleging Jewish organization attacks on Black leaders and scholars,
denying the notion of a Black-Jewish alliance, and claiming Jews played a key role in the slave trade, was a
particularly divisive figure.?** His invitation sparked strong reactions from Harvard-Radcliffe Hillel, whose
leaders distributed a letter at Martin’s speech denouncing his book as “viciously anti-Semitic.”

BSA President Kristen M. Clarke ‘97 defended the choice, calling Martin “an intelligent, well-versed
Black intellectual who bases his information on indisputable fact.”“° BSA ‘Treasurer Joshua D.
Bloodworth ‘97 added that “in inviting him we [BA] were not trying to push the campus to one view, but
to open it up to a variety of views.”**! This endorsement intensified the backlash from Jewish students,
who felt that Martin’s views were not only offensive but also academically unsound. Hillel Coordinating
Council Chair Elie G. Kaunfer “95 emphasized that Martin’s claims, especially those targeting Jewish texts

such as the Talmud, were baseless and promoted antisemitic stereotypes.”

The relationship between the BSA and Hillel became strained as a result of the controversy. Many Hillel
members were dismayed by the choice of Martin, arguing that there were better-qualified scholars to
critique The Bell Curve. They viewed the invitation of Martin, who had a history of promoting divisive
rhetoric, as an unnecessary provocation.” Despite this, both BSA and Hillel leaders expressed a
commitment to dialogue.

252 Counter and Reid, “Ihe Crimson Misrepresented the Harvard Foundation.”

33 Gordon Lederman, “Dissent: Counter Is an Anti-Semite,” The Harvard Crimson, April 27, 1992.

234 Matthew C. Weiner, “Counter Is Correct,” The Harvard Crimson, April 20, 1992.

235 Wilde, “Counter Apologizes for Offending Hillel: Foundation Director Says He Is Sorry for Misunderstanding Caused by Letter.”
236 Joanna M. Weiss, “University to Investigate Charges Against Counter,” The Harvard Crimson, May 1, 1992.

37 Jeff Beals, “Martin Speaks At BSA Event: Hillel Distributes Letter of Protest,” The Harvard Crimson, December 1, 1994.

238 Wellesley College publicly repudiated Martin's book and refused to offer history credit for his courses in which this book
was assigned. Stephanie P. Wexler, “Anti-Semitic Courses Won't Count,” The Harvard Crimson, March 18, 1994. See also
Alice Dembner, “At Wellesley, a war of words,” The Boston Globe, January 29, 1994.

239 Beals, “Martin Speaks At BSA Event: Hillel Distributes Letter of Protest.”

240 Jeff Beals, “Martin Speech Tests Hillel-BSA Relationship: Wellesley Prof. Viewed as Anti-Semitic,” The Harvard Crimson,
December 2, 1994.

| Thid.

2 Beals, “Martin Speaks At BSA Event: Hillel Distributes Letter of Protest.” See also Elie G. Kaunfer, “The Real Reason
Martin Is a Bigot,” The Harvard Crimson, December 5, 1994.

243 Beals, “Martin Speech Tests Hillel-BSA Relationship: Wellesley Prof. Viewed as Anti-Semitic.”

4 Thid.

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To address the fallout, members of BSA and Hillel organized a meeting to ameliorate tensions and
improve communication. During the session, participants were divided into smaller groups led by
representatives from both organizations to ensure a balanced dialogue. “I thought I got a better
understanding of where the problems arose,” said BSA Vice President Alison L. Moore ‘97. “I think we
found several ways the communication could be improved.”“° Co-organizer Michael H. Price ‘95, former
interethnic chair of Hillel, described the discussions as “open and helpful,” noting, that in his group “there
was definitely interaction. It was not rhetoric, but frank and open conversation.” Both Moore and Price
emphasized that the event fostered a deeper mutual understanding, with Moore remarking, “I think each
side got a better sense of where the other side was coming from.” Price also highlighted the commitment
of both the BSA and Hillel to continue such dialogues, saying, “I think it’s significant that events like this
have been occurring quite often in the last two semesters. That is very much due to commitment on the

parts of both the BSA and Hillel.”

This meeting was only one of several efforts to improve relations between Black and Jewish students. In
February 1993 there was a public screening and discussion of the movie “Liberators,” which tells the
story of Black American soldiers who helped liberate Nazi concentration camps. Dean of Students
Archie C. Epps III praised the event, saying, “I think we achieved a level of discussion I could not have
imagined. The impact on people was extremely great.” He hoped it would help the two communities
“retrieve the nature of these interactions” and cooperate as they had during World War II. Hillel Chair
Jeremy A. Dauber ‘95 viewed the event positively, stating, “I’m hoping that we don’t define race
relations in terms of conflict anymore. We should define it in terms of cooperation.”“” However, some
students, like former Hillel chair Shai A. Held ‘94, cautioned against overemphasizing Black-Jewish
relations as a stand-in for all interracial dialogue, saying it “may burden the start of the open discussion
between the two communities.”

In February 1998, BSA and Hillel co-sponsored an “inter-ethnic discussion” attended by over 100
students. Noah Oppenheim “98, who attended the event, reported that during small group discussions,
significant progress was made. He recounted one exchange: “Why don’t Jews do more to help other
struggling minorities? You of all peoples should understand what struggle is like,” a student asked. A
Jewish student countered, “Why doesn’t your community take more responsibility for its own plight?”
Oppenheim described a moment of shared understanding: “The eyes of the black students lit up as they
explained that they felt the same uneasiness about their future in this country. As we bonded over our
shared sense of exile, one black student did point out a crucial difference: if blacks are ever kicked out, or
even just socially marginalized into oblivion, they have no homeland to which to turn.”

Thus, despite the significant tensions, the 1990s at Harvard also saw concerted efforts towards
reconciliation and dialogue between Black and Jewish students through organized discussions and mutual
initiatives like co-sponsored events.

Other Sources of Controversy and Their Effect on Jewish Students

Beyond the specific incidents highlighted earlier, Harvard’s campus in the 1990s grappled with broader
questions related to antisemitism, free speech, and diversity. Various controversies, such as the

Confederate flag and swastika debates, challenges to Hillel’s stance on LGBTQ rights, vandalism of

45 The Crimson Staff, “BSA, Hillel Discuss Groups’ Relationship: Organizations Scrutinize Race Issues,” The Harvard
Crimson, December 15, 1994.

246 "The Crimson Staff, “BSA, Hillel Discuss Groups’ Relationship: Organizations Scrutinize Race Issues.”

247 Melissa Lee, “How real are Black-Jewish tensions?,” The Harvard Crimson, February 8, 1993.

248 Melissa Lee, “Reflect on the Future Of Black-Jewish Relations,” The Harvard Crimson, February 12, 1993.

49 Noah Oppenheim, “Between Blacks and Jews,” The Harvard Crimson, February 27, 1998.

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religious structures, and allegations of editorial discrimination at the Crimson, underscored the
environment of contention and dialogue.

In February 1990, sophomore Jon P. Jiles hung a Confederate flag in the window of his room in Leverett
House tower. This act sparked a debate on free speech, tolerance, and racial sensitivity. Initially, the
Crimson’s editorial team argued that the flag’s display was a legitimate, if insensitive, exercise of free
speech. The editors advocated for community dialogue to encourage the flag’s voluntary removal, stating
that “voluntary removal of the flag, not administrative coercion, is the optimal resolution.”*° In contrast, a
dissenting opinion by Paul Leonard contended that the Confederate flag represents racial harassment
similar to a Nazi swastika. Leonard insisted that the College should compel its removal to maintain an
environment free from harassment. Despite a long history of disagreements with Black students at
Harvard, in this case Hillel and the BSA were on the same side.

Bowing to pressure, Jiles decided to take down the flag. He acknowledged that the flag, which symbolized
Southern friendliness and hospitality to him, had been widely misinterpreted. “Removing the flag seemed
like a better way” to represent his values, he stated.”>? Ultimately, Jiles rehung the flag inside his room, out
of public view. He lamented that “there’s room for a lot more tolerance instead of just talk about tolerance
at Harvard.” Jiles also emphasized that his intention was never to offend but to showcase the positive
aspects of his Southern culture.”

Shortly after Jiles, Brigid L. Thomas ‘92, a transfer student from the University of Virginia, displayed a
Confederate flag in her Kirkland House bedroom.254 She said she was disappointed by Jiles’ change of
heart, labeling the flag’s removal a defeat for free speech and a triumph of “small-minded liberalism.”
Nigel W. Jones “91, a Black student, contested, “I wasn’t going to walk into the Kirkland quad and walk by
the Confederate flag every day.” Thomas defended her actions as an expression of Southern heritage and
free speech, but the controversy intensified as other Confederate flags appeared across campus.256

Taking a provocative counter-stance, Jacinda T. Townsend ‘92, a Black student from Kentucky, crafted a
swastika flag with the words “Racism, no” to underscore what she perceived as the flawed free speech
argument defending the Confederate flags. Townsend explained her rationale: “If that’s not racism, if
that’s just ‘free speech,’ then I guess I can hang a swastika.”257 Her display garnered mixed reactions; some
viewed it as a powerful statement while others, including members of the Jewish community, found it
offensive. Townsend eventually removed the swastika but expressed frustration with Harvard Hillel and
the wider Jewish community in a Crimson letter: “Harvard Hillel and other members of the Jewish
community have chosen not to see the more important goal ... they have chosen not to unite with other
communities to eliminate the displays of such racist and odious symbols.”258

In response, Hillel defended its efforts, emphasizing their alignment with the BSA. Daniel J. Libenson
‘92, Chair of Harvard/Radcliffe Hillel, clarified, “Hillel has been the most active group on this campus,
aside from the BSA, in the protest against the Confederate flags ... As our namesake, the great sage Hillel,

250 The Crimson Staff, “STARS AND BARS AT LEVERETT: When Free Speech Hurts,” The Harvard Crimson, February
20, 1990.

51 Paul Leonard, “The Flag is Harassment,” The Harvard Crimson, February 20, 1990.

252 Peter R. Silver, “Student Removes Rebel Flag: Leverett House Free Speech Controversy Comes to a Close,” The Harvard
Crimson, February 22, 1990.

253 Jon P. Jiles, “Why I Moved the Flag,” The Harvard Crimson, February 22, 1990.

254 Gayla and Yared, “Our Own Little War.”

255 Silver, “Student Removes Rebel Flag: Leverett House Free Speech Controversy Comes to a Close.”

256 Gayla and Yared, “Our Own Little War.”

57 Thid.

258 Jacinda T. Townsend, “Silencing Speech,” The Harvard Crimson, April 24, 1991.

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said, ‘If I am for myself alone, what am I?’ We continue to work with the BSA and other minority groups
to address issues of sensitivity on this campus.”

Most of the issues confronting Jewish students at Harvard during the 1990s involved Israel/Palestine or
Black-Jewish relations. But a third problem emerged in 1991, when a conservative Harvard student group
called the Association Against Learning in the Absence of Religion and Morality (AALARM) took a
hostile stand towards diversity in sexual orientation and, through a chain of circumstances, Harvard Hillel.
Responding to AALARM’s postering campaign denouncing homosexuality, the Coordinating Council of
Harvard-Radcliffe Hillel condemned AALARM’s “implied contempt for homosexuals and all attacks on
homosexual members of the undergraduate community.”259 In response, AALARM publicly condemned
Harvard-Radcliffe Hillel for supporting LGBTQ sights, arguing that such support contradicts Jewish
religious teachings. In their words, since “Hillel claims to represent one segment of the Judeo-Christian
moral and ethical tradition upon which our society and many others are based,” its support of LGBTQ_
rights is hypocritical. AALARM’s co-presidents, E. Adam Webb ‘93 and Kenneth DeGiorgio ‘93,
asserted in a letter to the Crimson that their organization better represented Jewish values than Hillel did,
referencing the Bible and the Talmud to support their claim: “The very idea of homosexuality is anathema
to the Jewish faith,” they wrote. “If AALARM is to be condemned for its belief in the immorality of
homosexuality and sodomy, then we merely request that Hillel ascend from shallow hypocrisy and
admonish all groups and institutions espousing similar beliefs”, they concluded.260 Richard A. Primus ‘92,
a member of Hillel’s Coordinating Council, responded by pointing out the diversity of Jewish beliefs
regarding homosexuality and highlighting the historical and cultural context within which Jewish values
evolve. He contended that AALARM’s approach was fundamentally un-Jewish, reminiscent of “certain
Protestant sects” rather than Jewish tradition, which values exegesis and adaptation. He affirmed that
Hillel, not AALARM, appropriately represented the Jewish community at Harvard. Primus also critiqued
AALARM’s claim that Hillel had been “subverted by a radical faction,” noting that Hillel’s decision to

oppose attacks on gay and lesbian students enjoyed overwhelming internal support.

More blatant forms of antisemitism included the vandalism in October 1991 of the Hillel Sukkah. The
vandals spent at least an hour removing over 50 bolts, making the structure unstable yet outwardly intact.
According to Lori Fein, “Jews who used the sukkah without noticing the damage, such as the children
who were the first to enter the sukkah Saturday morning, could have been gravely injured or killed.” She
concluded that the malicious nature of the act, aimed at causing harm without visible hate symbols, made
it “far more hateful and pernicious.”262 Also, in September 1997, an antisemitic poster was found on a
kiosk behind Sever Hall at Harvard University, just days after White supremacist flyers had appeared in
Harvard Yard. The poster, titled “Harvard Notice,” claimed that 40% of Harvard graduate students were
Jewish, compared to 2.5% of the US population, and labeled this a “Community Concern.”263

A final incident worth noting foreshadowed future Jewish student concerns about reverse discrimination
on account of perceived Whiteness. In 1998, a controversy erupted regarding the editorial practices and
diversity policies at the Crimson. The catalyst was an article titled “Counting Noses at The Harvard
Crimson,” written by Justin C. Danilewitz ‘99 and published in Commentary magazine.264 Danilewitz
alleged that he was denied positions on the editorial board and as a columnist due to discriminatory

259 Richard A. Primus, “Whose Religion Is It, Anyway?,” The Harvard Crimson, April 17, 1991.

260 FE, Adam Webb and Kenneth DiGiorgio, “AALARM: Hillel Is Hypocritical,” The Harvard Crimson, April 16,1991.
261 Primus, “Whose Religion Is It, Anyway?”

262 Lori E. Fein, “An Act of Racism,” The Harvard Crimson, October 3, 1991.

263 Ethan M. Katz, “Anti-Semitic Poster Found Behind Sever,” The Harvard Crimson, September 23, 1997.

264 Justin C. Danilewitz, “Counting noses at the ‘Harvard Crimson’,” Commentary, 1998, Gale.
https://link.gale.com/apps/doc/AXXXXXXXX/LitRCtu=mlin_oweb&sid=sitemap&xid=68b70e78

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practices targeting Jewish students. He described an interview with Valerie MacMillan, a former managing
editor of the Crimson, where she allegedly remarked that the high percentage of Jewish columnists
represented a “problem.” Danilewitz cited the position papers of soon-to-be editorial chairs Daniel M.
Suleiman “99 and Geoffrey C. Upton “99, who both addressed the need to diversify the staff. Suleiman
highlighted that “seven out of ten are white Jews from the tri-state area” while Upton emphasized that
“eight of ten columnists are Jewish and just one is not white.” Both sought to introduce greater ethnic and
ideological diversity.26

In response to these allegations, former and current leaders of the Crimson defended their editorial
decisions. Joshua J. Schanker “98, a former Crimson president, responded sharply to Danilewitz’s claims: “I
feel sorry for [Danilewitz] that he has to make up fictitious quota systems to justify his not getting a
position.”266 MacMillan, while acknowledging that the predominance of Jewish columnists had been
discussed, asserted that the Crimson’s diversity efforts were inclusively aimed at broadening the range of
voices, stating, “Che Crimson’s efforts to diversify are at rock bottom inclusive in nature.”267

Suleiman and Upton, who took over the editorial board, further defended their actions by pointing out
that the number of Jewish columnists actually increased that semester, rising from eight to ten due to the
expansion in the total number of columnists. Suleiman also commented on their commitment to varied
perspectives: “We need to work harder on ideological diversity, but we’re trying hard.”268 The controversy
didn’t remain confined to campus discussions; it quickly caught the attention of major media outlets, being
reported on by the Associated Press, Fox News Channel, and The Washington Post.?69 The editorial
chairs, Suleiman and Upton, later issued a printed response in the Crimson to counteract Danilewitz’s
claims, asserting that no antisemitic policies existed and that their focus was on inclusivity and engaging
the campus with diverse perspectives.270

Conclusion

The 1990s at Harvard witnessed two competing trends. The campus featured both considerable tension
between Jewish and pro-Palestinian students, but those students also endeavored to moderate those tensions.

Jewish students continued to feel integrated into the Harvard community. Joey Shabot ‘01 recalled in an
interview a sense that the historical presence of Jews at Harvard was better known and recognized than
was the case for students of Muslim or Arab origin:

I felt like sort of Jewish identity and sort of pro-Israel was the norm in terms of, like, you know, the
political norms of the time ... I just felt very accepted ... Whereas I don’t know that my friends in the
Arab or Muslim community felt the same way. It seemed to me that they were relatively more
marginalized and less well-understood.?7!

Shabot also acknowledged occasional antisemitic incidents but denied the presence of a consistent pattern
of antisemitic behaviors or sentiments:

And if we saw something like that, or heard that something like that [happened]... I think our

reaction would have been like, “what a bunch of wackos,” you know? [Our response] wouldn’t be a

265 Thid.

266 James Y. Stern, “Crimson Criticized In Magazine Article,” The Harvard Crimson, April 2, 1998.

267 Thid.

268 Thid.

269 Harvard Crimson Editorial Chairs, “To Our Readers: Setting the Record Straight,” The Harvard Crimson, May 13, 1998.
2” Thid.

271 Interview with Shai Dromi, 8/13/2024.

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defensive one or one where we felt we had to start to educate the campus that this was just, you
know, bad and false and anti-Semitic.?”

Many potential clashes between the sides were moderated by the level of restraint student activists
exhibited. For example, during a 1990 pro-Palestinian demonstration protesting the killing of 19
Palestinians during the Intifada, HIPAC stood by to offer passers-by information about the Israeli side
but chose not to counter-demonstrate. HIPAC co-chair Yvette C. Alt ‘92 explained this decision:

[HIPAC] felt it was inappropriate to counter-protest ... We don’t fundamentally disagree with the
view that Arabs shouldn’t be killed. But through our flyers, we just want to make sure people realize
that the Arabs’ attack on the Jews at the Wall was premeditated, and that’s why we are upset.”

One significant concern among the Jewish community was whether outsiders had the authority to
determine what constitutes offensive behavior. This issue came to the forefront in various controversies
throughout the decade, such as AALARM’s condemnation of Hillel’s support for LGBTQ rights and the
controversy over Leonard Jeffries’ speech. But despite these tensions, the 1990s at Harvard also saw
concerted efforts toward reconciliation and dialogue. Student groups and administrators organized
initiatives like the 1998 inter-ethnic discussion co-sponsored by the BSA and Hillel, which aimed to
bridge gaps and foster better understanding among diverse campus communities.

While the next decade saw ongoing efforts toward peacebuilding and bridging differences, these
tendencies competed with growing polarization and a declining interest in fostering dialogue among
growing factions on campus.

‘The 2000s: The Second Intifada’s Effects on Harvard

The Israeli-Palestinian conflict took a sharp turn for the worse in the early 2000s. Violence within and
around Israel and changes in global perceptions about these events energized student activism on US
college campuses. Notable episodes include the 2000-2005 Al-Aqsa Intifada/Second Palestinian Uprising;

the 2006 Hamas takeover of Gaza; the 2006 Lebanon War; and the Israeli 2008-2009 “Cast Lead”
military operation in Gaza.

Two international events also had a great impact on representations of Israel on American campuses. First,
the 2001 UN World Conference Against Racism in Durban, South Africa focused intensively on
Israel/Palestine. The conference’s likening of Israel to apartheid South Africa and Nazi Germany
infuriated Israelis and supporters of Israel, and the US and Israel withdrew from the conference in
response.2”4 For pro-Palestinian actors, however, the conference conveyed legitimate criticisms of Israel’s
treatment of Palestinians.275 Second, the Boycott, Divestment, Sanctions (BDS) movement, established in
2005, hoped to pressure Israel to end the occupation of territories captured in 1967, recognize Palestinian
national rights, and allow Palestinian refugees and their descendants to return to lands that are now part of
Israel.276 The BDS movement issued guidelines on “anti-normalization,” which conditioned joint projects
between Israelis and Palestinians on a focus on Palestinian national aspirations and resistance, rather than
presenting the situation as a discourse between equal partners. Therefore, projects presenting both

2” Thid.

273 Samuels, “Students Protest Israeli Killings.”

27 Kenneth S. Stern, The Conflict over the Conflict: The Israel/Palestine Campus Debate, ed. Nadine Strossen (Toronto: University
of Toronto Press, 2020), 77-80.

275 Yasmeen Abu-Laban and Abigail B. Bakan, Israel, Palestine and the politics of race: exploring identity and power in a global
context, ed. Abigail B. Bakan, First edition. ed. (London and New York: 1.B. Tauris, 2019), 2-4.

276 For a more recent statement of the BDS movement’s goals and tactics, see, “Palestinian Civil Society Call for BDS,” BDS
Movement, July 9, 2005. hitps://bdsmovement.net/call

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Palestinians and Israelis as sharing grief or loss were deemed unacceptable since rather than further the
goal of Palestinian liberation, they were perceived as normalizing the current situation.277

This global environment affected Harvard as it did other college campuses. Nonetheless, although there
were antisemitic incidents at Harvard to which Jewish students responded with concern, antisemitism was
not central to how Jewish students framed debates about Israel. Often, accusations of antisemitism were
publicly expressed by faculty members such as Lawrence Summers, Ruth Wisse, and Alan Dershowitz
rather than the student groups themselves. Pro-Palestinian student organizations often insisted that their
critiques targeted Israel’s policies and not Israel’s existence, distanced themselves from controversial
rhetoric or actions, and emphasized the substantive matters fueling tensions in the conflict. Although
student groups became more divided regarding Israel/Palestine, attempts at constructive dialogue and
understanding differing perspectives also continued.

Protesting Separately, Mourning Together?

As violence escalated in the Middle East during the early 2000s, student activism and debate around the
Israeli-Palestinian conflict intensified. Groups like Hillel, the Society of Arab Students (SAS), and
Harvard Students for Israel (HSI) held vigils, rallies, and discussions to express their views and mourn
casualties on both sides. However, tensions frequently flared as these events took opposite stances. While
disagreements were often articulated publicly, concerns about antisemitism were rarely expressed overtly in
these contexts. In fact, student groups exhibited caution at various junctures — for example, clarifying that
their critiques were aimed at Israeli policies but not at Israel’s existence, distancing themselves from
activists deemed to be extreme, and seeking understanding and humanization of opposing groups.

Initial student group responses to the Al Aqsa Intifada are a case in point. Over 200 people gathered on
the steps of Widener Library on October 9, 2000 — the afternoon of Yom Kippur — for a vigil
organized by Hillel’s main Jewish denominations. Bernard Steinberg, executive director of Hillel, began
by reading a statement co-signed by the rabbis and student leaders mourning the loss of both Israeli and
Palestinian lives while supporting Israel’s right to self-defense. Rabbi Shai A. Held ‘94 and Tova A.
Serkin ‘02 recited Psalms, followed by a moment of silent meditation. Rabbi Robert D. Klapper
emphasized that vigil organizers took “every precaution not to make this political.”278 Michael
Rosenberg ‘01 noted that “people who gathered here represent a wide spectrum of religious political
views. We all share a desire to see prisoners of war returned and to mourn the loss of lives.”279 The vigil
concluded with a prayer for the State of Israel, aiming to express Jewish solidarity in the face of violence
through communal mourning and calls for peace.?8°

The next day, the Society of Arab Students (SAS) at Harvard University organized a vigil on the steps of
Memorial Church to mourn victims of ongoing violence between Palestinians and Israelis in the Middle
East. Around 150 people gathered on the steps holding candles to listen to speakers describe the
experiences of those affected by the conflict. According to SAS President Rayd K. Abu-Ayyash ‘01, this
event was not intended to be political. A human rights lawyer gave a speech describing a “chain of
suffering and violence”, and Jane L. Risen ‘01 read messages from friends of a youth killed in the violence
who was quoted as saying “What has the world come to — there are no answers.”28! SAS students also
read letters from witnesses including a Palestinian girl in Jerusalem who said she saw a child shot and

277 BDS Movement, “Anti-Normalization,” BDS Movement. https://bdsmovement.net/ar/tags/anti-normalization

278 Melissa R. Brewster, “Yom Kippur Vigil Calls for Peace in Middle East,” The Harvard Crimson, October 10, 2000.
29 Thid.

280 Thid.

781 Margaretta E. Homsey, “Vigil Mourns Mideast Victims,” The Harvard Crimson, October 11 2000.

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expressed hope for “one generation of Palestinian children [to] have a normal childhood.”282 Organizers
felt the vigil “brought the Harvard community together” and participant Andrew F. Khouri ‘03 said that
“the most important responsibility is to be 100% objective” and that “both sides must admit that each side
has made mistakes.”283 The Crimson reported, however, that “Israel supporters” were “distributing
inflammatory fliers” in the vicinity of this vigil.284

Responding to questions about why the two groups mourned separately, rather than together, Abu-Ayyash
said: “It is not because we do not stand together, but simply that different people need a different outlet to
mourn.” The key stumbling block, he claimed, was Hillel wishing to mourn all killed, including Israeli
soldiers. Abu-Ayyash said: “I cannot mourn for an Israeli defense soldier in the same vigil in which I
mourn for a 12-year old child ... or a friend of mine who got killed ...”285 Rita Hamad ‘03, also of SAS,
said that “both groups deserve to be mourned, but not at the same time” and that “that might not be
appropriate, but we are all praying for peace.” She hoped the crisis would not damage Arab-Jewish
relations at Harvard, since if students there could not resolve their differences, it would be unrealistic to
expect Arabs and Jews experiencing the crisis itself to do so.?86

Several people were critical of the decision for Hillel and the SAS to hold separate events rather than a
joint one. Specifically, the Crimson reported that members of Hillel’s Interethnic Committee had sought to
hold a joint vigil but that discussions broke down over the delimitation of who, as per Abu-Ayyash’s
comment above, would be mourned. Nathan Perl-Rosenthal ‘04, who later became co-chair of Hillel’s
Interethnic Committee, thought the separate vigils were a “hideous picture” and “unnecessarily and
incredibly divisive.”287 Joey Shabot, the former co-chair of Hillel’s Interethnic Committee, said he felt
“really disappointed” that the groups could not agree on a joint vigil, calling it “a waste of an
opportunity.”288 In its editorial, the Crimson lamented the decision as unproductive toward the desirable
goal of achieving peace in the Middle East.289 Both Hillel and SAS maintained that the separate vigils did

not indicate antagonism between the groups.29°

Tensions rose further on October 24, when two simultaneous events were held in Tercentenary Theater.
HSI held a “Rally in Solidarity with the State of Israel” on the steps of Memorial Church to show support
for Israel’s handling of the renewed violence and “overtures for peace” that they felt had been “utterly
rejected.”29! HSI Vice President Myles Brody ‘01 said “In general, we felt disappointment that Israel had
made overtures for peace, and they had been utterly rejected. So, we felt it was very important to have a
really powerful and thoughtful rally to show our support for Israel in a public manner.”29? At the same
time, members of the SAS, dressed in black, silently stood on the steps of Widener Library holding signs
bearing the names of victims of the recent violence. SAS rally organizer Darryl Li ‘01 rejected the idea that
Israel had made fair overtures for peace, arguing in an editorial that “everyone wants peace, but an unjust
peace is both unfair and impractical.”293 Some SAS members took offense to the “overtly political” nature
of the HSI event, which featured speeches that SAS took to place blame on the Palestinian population for

282 Thid.

283 Thid.

284 The Crimson Staff, “Let Us Unite for Peace,” The Harvard Crimson, October 13, 2000.

285 Sarah A. Dolgonos and Mildred M. Yuan, “Harvard Reacts to Killings in Middle East,” The Harvard Crimson, October 13, 2000.
28° Brewster, “Yom Kippur Vigil Calls for Peace in Middle East.”

287 Tmtiyaz H. Delawala, “Middle East Tensions Flare Up on Campus,” The Harvard Crimson, June 7, 2001.
288 Dolgonos and Yuan, “Harvard Reacts to Killings in Middle East.”

289 The Crimson Staff, “Let Us Unite for Peace.”

299 Dolgonos and Yuan, “Harvard Reacts to Killings in Middle East.”

291 Delawala, “Middle East Tensions Flare Up on Campus.”

22 Thid.

293 Thid.

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deaths, including a quote from US Representative Barney Frank “61 saying “It is wholly irresponsible to
tell young people to destroy a nation — Israel — and then be surprised when their lives are taken.”294 The
political and ideological divisions between the different groups were also expressed in a flurry of opinion
articles published in the Crimson.

Harvard Hillel's Coordinating Committee also issued a statement on October 18, 2000, calling for an end
to the violence, expressing solidarity with Israel, and supporting Israel’s right to defend itself. Zayed M.
Yasin ‘01, president of the Harvard Islamic Society, responded while they “agree on several core things”
and specifically “that peace is essential”, they also maintained that “peace will not be possible without a just
peace and without an understanding of the inequities and injustices that have dominated recent Middle
East history.”295

Members of Harvard’s Hillel Interethnic Committee continued working to bring the separate Jewish and
Arab student groups together for discussion. While HSI members argued that they were always willing to
co-sponsor discussion events, SAS refused to hold events directly with HSI due to their ideological
differences on the conflict.296 In an attempt to foster dialogue, the committee organized a private
roundtable discussion between about 30 members of Hillel, the Harvard Islamic Society (HIS), HSI and
SAS at Adams House to discuss the events of the previous month and how they had played out on
campus. However, Rita Hamad ‘03, then-president of SAS, acknowledged that “It’s hard to say your
opinion honestly because there are so many people who are going to interpret it as a political agenda.
Anything anyone does in this situation can be interpreted as political.” “Many people had basically gone
into the room knowing what they know and believing what they believe, and nothing really changed,” said
Zayed M. Yasin ‘02, president of HIS. Echoing the disappointed tones, Perl-Rosenthal said: “There
wasn't some blindingly clear light where we said, ‘Oh, God, we've all been so wrong.” But Myles Brody
‘01 of HSI said the discussion helped make the “competing claims more than just a distant, ideological
battle” by putting “a face and heart behind the opinions with which you disagree.” However, Perl-
Rosenthal acknowledged that “a lot of it is mistrust” between the groups, and that trust must first be
formed for any positive relationship to begin.297

Student groups at Harvard attempted to foster constructive exchanges between Jewish and Arab students,
but they encountered major obstacles. At dialogue sessions held in Lowell House and Mather House in late
2003, strong disagreements and heated rhetoric often flared up between participants. Rami Sarafa ‘07 of the
Palestine Solidarity Committee felt figures like pro-Palestinian Joachim Martillo, a former Harvard student,
and Eric Trager ‘05, then president of Harvard Students for Israel, expressed directly opposed views that
made constructive dialogue challenging. Conversely, others — in particular, graduate students — felt unable
to speak freely, believing that sharing pro-Israel views could hurt their careers.298 The cancellation of a
planned visit by former Israeli Air Force commander Dan Halutz to campus further risked escalating
tensions. Sarafa noted that “Imagine if PSC and SAS and HIP] [the Harvard Initiative on Peace and Justice]
wanted to bring a Hezbollah military commander ... Do you think Harvard would allow that?”29 As Nayla

2 Thid.

2% Benjamin D. Grizzle, “Hillel Issues Its Stance on Mideast,” The Harvard Crimson, October 18, 2000.

296 Delawala, “Middle East Tensions Flare Up on Campus.”

297 Tid.

298 Daniel J. Hemel, “You Say You Want a Resolution?,” The Harvard Crimson, December 4, 2003.
https://www.thecrimson.com/article/2003/12/4/you-say~you-want-a-resolution/

2? Another controversial incident centered around Major General Doron Almog, a senior fellow at Harvard’s Belfer Center. A
private British lawyer, Daniel Machover, initiated legal proceedings in the UK on behalf of a Palestinian human rights group
secking the arrest of Almog for alleged war crimes committed during his command in Gaza. Machover applied to a British
judge, who approved an arrest warrant for Almog. Although the warrant was not executed before Almog left the UK, Machover
later gave a talk at HKS criticizing the University for providing a haven for suspected war criminals like Almog. Machover

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Hamdi ‘05 of the student dialogue efforts observed, “there was definitely a lot of tension” at events, though
most participants remained willing to continue civil discussions even outside of sessions.

Others had a more optimistic view of the potential presented by these dialogues. Jessica Marglin ‘06
maintained that “the more dialogue, the merrier.”300 HSI President Joshua Suskewicz ‘05 said that the
student-led dialogues provided “a means of communication to ensure that we [pro-Israel and pro-
Palestinian activists] are not being offensive to one another.” As examples of mutually offensive actions,
pro-Palestinian students mentioned a beer mug distributed by HSI that said “Party like it’s 1948” which
they saw as celebrating the suffering of Palestinians in that year. Pro-Israeli students, in turn, referred to a
link shared on a HIP] blog comparing the Israeli Defense Forces to the Nazi military, or Suvrat Raju, a
HIPJ member, enthusiastically chanting slogans like “long live the intifada” at a protest. While citing these
instances, numerous students emphasized that they sought to understand what was offensive to the other
group and to maintain respectful dialogue. David Weinfeld ‘05 and Nayla Hamdi ‘05, the student
moderators of the dialogue sessions, said their goal was the “humanization” of the conflict through
relationship-building between participants.

Nevertheless, attempts to commemorate casualties jointly continued to falter. In December 2006, during the
Second Israel-Lebanon War, HSI held a “solidarity gathering” of about 50 people in the Yard to show
support for civilian victims of violence in Israel and voice opinions about the conflict. This came in response
to weekly vigils organized by the Palestinian Solidarity Committee (PSC) mourning Palestinian deaths in
recent violence in the Middle East. Jewish and pro-Israel groups said they had approached the PSC to
organize joint vigils mourning both Palestinian and Israeli civilian casualties, but according to HSI President
Rebecca M. Rohr ‘08, the PSC refused and insisted on proceeding with another “politically charged” vigil. In
turn, HSI organized the gathering, where demonstrators waved Israeli flags and held signs demanding peace
and the release of imprisoned Israeli soldier Gilad Shalit. The Progressive Jewish Alliance had proposed a
joint statement of commitment to a “just peace” between HSI and PSC, but the PSC said this was
“inappropriate” as the term was not clearly defined and their vigils were not meant to be confrontational.
Several PSC members said the politics could not be avoided in mourning Palestinian deaths.3°!

Conversations between Jewish, Arab, and Muslim students continued, but in an informal way. As an
active student member of Hillel in this period, recalled:

Most of the exchange between Jews and non-Jews happened in relatively informal groups. So, the
main group was this dialogue group that existed, a Jewish Muslim dialogue group. It felt [there] like
you could just do your thing. And if you were interested in kind of building bridges, you would join
this group and then you would have these kinds of dialogues, which, you know, were in the form of
inter-religious dialogue, Jewish-Muslim dialogue, a little bit tense sometimes ... but mostly, I think
they were pretty calm. But that was partly because the people who joined these groups were the ones
who were the furthest to the left on Israel [at] Hillel.3o2

Despite the increasingly challenging atmosphere, other events promoting dialogue took place over this
decade. Examples include:

e Students debated potential solutions for dividing control of Jerusalem’s Old City as part of a national
“Day of Action” organized by the Union of Progressive Zionists to support the 2007 Annapolis
Conference between Middle Eastern leaders. As Harvard College Progressive Jewish Alliance Chair

indicated his intent to make the warrant international. Alexander B. Cohn, “Lawyer Defends Israeli Major’s Arrest at KSG,” The
Harvard Crimson, October 20, 2006. https://www.thecrimson.com/article/2006/10/20/lawyer-detends-~israeli-majors-arrest-at/
30 Hemel, “You Say You Want a Resolution?.”

301 Alexander B. Cohn and Siodhbhra M. Parkin, “Mideast Groups Clash Over Vigils,” The Harvard Crimson, December 7, 2006.
3® Interview with Shai Dromi, 7/16/2024.

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Jaclyn B. Granick ‘08 noted, the discussion “gave us a taste of what diplomats are going through” in
trying to resolve the difficult issues surrounding Jerusalem. Earlier in the day, a game of “Final Status
Taboo” held outside the Science Center also aimed to challenge Jewish groups on campus to discuss
the hard issues involved in achieving a final peace agreement.3%

e InJanuary 2009, during operation Cast Lead (2008-2009), around 70 members of the Harvard
community gathered for a candlelight vigil mourning the loss of life in Gaza and Israel. The vigil
aimed to promote peace and understanding between groups with differing opinions on the conflict.
Speakers like Shifra B. Mincer ‘09 and Sadia Ahsanuddin ‘09 called for listening to different
perspectives and recognizing the humanity on both sides. Mincer stated “Ihe more we ignore others’
stories, the more the violence. We have to listen.” Ahsanuddin said “It means a lot to see so many
groups with so many different opinions and ideas come together. Human life is sacred, and we must
remind ourselves that the other side is just as human and as vulnerable as we are.” Attendees like Yonit
D. Lavin ‘09 and Alexandra A. Rahman ‘12 felt the vigil demonstrated support for peace, with Lavin
saying “It doesn’t mean people don’t have very different opinions, but our ultimate goals for peace are
the same” and Rahman stating “There is very little a Harvard student can do to help the situation over
there politically, but attending the vigil is one of the things we can do.”304

Few incidents over this decade involved comparisons to Nazism or vandalism of Jewish or pro-Israel
signage. In July 2002, Len Meyers of the Boston Spartacist League, a communist organization, gave a
speech to fewer than 20 people in a Science Center classroom comparing Israeli leaders to “Nazis” and
“terrorists” and calling for socialist revolutions in the Middle East to resolve regional conflicts.3° In
December of the same year, posters in the Science Center put up by HSI promoting pro-Israel views were

defaced with slogans like “Palastine [sic] 300 Years.”306 HIP] and PSC repeatedly distanced themselves

from such rhetoric and action.

The Divestment Campaign at Harvard and Larry Summers’ Speech

The debate around divestment from Israel at Harvard in the early 2000s exacerbated divisions over the
Israeli-Palestinian conflict and raised questions about what constitutes legitimate criticism of Israel and
when it crosses the line into antisemitism.

In Spring 2002, a petition was circulated at Harvard calling on the University to divest from companies
with holdings in Israel. The petition demanded that Israel evacuate military forces from the occupied
territories, end torture, cease building and begin dismantling settlements in the West Bank and Gaza, and
allow return or compensation for Palestinian refugees. It called for pressure on Israel through making US
military aid conditional on these demands and divesting from US companies that sell arms to Israel and
from Israel directly.307 Eventually, 65 Harvard faculty members signed the petition.30

The petition drew strong criticism from some in the Harvard community. Avram Heilman ‘03, then
president of Harvard Students for Israel, described the petition as making “people who support Israel
deeply uncomfortable.” Heilman called the divestment campaign “unbalanced in such an extreme way that
it sickens anyone who is intellectually honest.”309 Hillel student president Benjamin Solomon-Schwartz
‘03, also of HSI, said that by signing the petition, the house masters had created an uncomfortable

303 Tucas A. Paul, “Students Debate Israel-Palestine Plan,” The Harvard Crimson, November 29, 2007.

3 Shan Wang, “Candlelight Vigil Held For Victims of Gaza Violence,” The Harvard Crimson, January 9, 2009.

505 Stephanie M. Skier, “News Brief: Marxists Decry Israeli Policy,” The Harvard Crimson, July 26, 2002.

3° Tauren A. E. Schuker, “Israel Posters Vandalized in Science Centers,” The Harvard Crimson, December 9, 2002.
3°” George Bradt, “Hundreds Support Call For Divestment,” May 8, 2002.

3° David H. Gellis, “Anti-Divestment Drive Gains Steam,” The Harvard Crimson, May 15, 2002.

3 Bradt, “Hundreds Support Call For Divestment.”

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atmosphere for residents in their houses who supported Israel.3!° Students criticized Master Hanson’s
handling of the situation within Winthrop House, due to the power imbalance inherent in any
conversation between him and students.*44

On September 19, 2002, President Lawrence Summers gave a speech at the first Morning Prayers of the
term. Summers warned that antisemitism appeared to be on the rise globally in recent years. He expressed
concern that Harvard’s campus had not been immune to this trend. Summers cited two specific examples
from the previous year. First, he noted the Spring 2002 divestment call. While acknowledging criticism of
some of Israel’s foreign policies, Summers argued the divestment campaign unfairly singled out Israel. He
argued that efforts associated with the petition were “anti-Semitic in their effect if not in their intent.”3!2
Second, Summers referred to a November 2000 fundraising event held by the Harvard Islamic Society
(HIS) to support charities in Palestine. The event had initially planned to donate proceeds to the Holy
Land Foundation, but ultimately gave to the International Red Crescent instead due to the US
government's claims about Holy Land Foundation’s ties to Hamas.3!3

Summers’ remarks divided the campus. David B. Adelman ‘04, president of HSI, praised the speech,
saying “Larry Summers has a lot of credibility — a lot of people will listen to him.” Robert Leikind of the

Anti-Defamation League also welcomed Summers addressing campus antisemitism.

However, Professor Richard G. Heck, a supporter of divestment, criticized Summers, saying that “to lump
people who are working for peace in Israel [in] with racists is really unfair.” Winthrop House Master Paul
D. Hanson, another divestment backer, agreed with Summers on antisemitism but argued the divestment
campaign targeted Israeli government policies, not Israel itself. “This is in no way a protest against the
State of Israel, but against the Sharon government, the Bush government and their policies,” Hanson
said.3!4315 Two psychology professors wrote that the petition’s goal was to pressure Israel into complying
with international conventions on human rights and ending the occupation of Palestinian territories,

which they believed would lead to peace.

Supporters argued the petition addressed policy issues rather than making a broader condemnation of
Israel, with the petition aiming “to create a secure Israel beside a secure Palestine.”3!6 “I think we feel that
it’s self-evident that peace will come with the end of occupation,” said Najeeb N. Khoury, a law student
who helped organize the petition.3!7 Rejecting the accusation of antisemitism, graduate student Taha
Abdul-Basser said she “was saddened to see that evidently support of the divestment campaign was being

310 Gellis, “Anti-Divestment Drive Gains Steam.”

311 "Tova A. Serkin, May 22, 2002.

32 While Summers saw singling out or delegitimizing Israel in a way that increases isolation as a form of antisemitism, his
concerns were more broadly physical attacks on Jews, Holocaust denial, and propaganda that promotes prejudice, which anti-
Israel activism enhances and legitimates (even if unintentionally). Lawrence H. Summers, “Address at morning prayers,”
Harvard Memorial Church, September 17, 2002. https:/Awvww.harvard.edu/president/news-speeches~summers/2002/address-
at-morming~prayers/

313 David H. Gellis, “Summers Says Anti-Semitism Lurks Locally,” The Harvard Crimson, September 19, 2002; see also Judith
Miller, “U.S. Contends Muslim Charity Is Tied to Hamas,” The New York Times, August 25, 2000.

314 Thid.

315 Thid. Additionally, some argued that the petition was relatively obscure, and that Summers inadvertently propelled it to the
pages of The New York Times by mentioning it in his address. Emma 8. MacKinnon, “Playing the Divestment Card,” The
Harvard Crimson, February 17, 2006. Heck, who signed the petition, and said he was “very disappointed” that the University
president would make such accusations.

316 Ken Nakayama and Elizabeth S. Spelke, “For Human Rights,” The Harvard Crimson, September 23, 2022.

317 Gellis, “Anti-Divestment Drive Gains Steam.”

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equated with something as ugly as anti-Semitism. Some of the professors who supported the campaign
said they saw a difference between the two,” and Abdul-Basser said she certainly did, too.318

Summers formally dismissed demands for divestment from Israel. In May 2003 he stated, “Members of our
community are free as individuals to express their diverse views on the Israeli-Palestinian conflict. The
University protects that freedom, and affirms its proper role, by resisting calls to issue institutional judgments
on that conflict through the act of divestment.”3!9 Nonetheless, advocates of the 2002 divestment petition
claimed victory in raising awareness of Israel's occupation of the West Bank and Gaza.320

The Israel-divestment debates persisted into 2005-2006. At Harvard, the issue was discussed in a heated
2006 faculty meeting at which Professor Professor Ruth R. Wisse asserted that antisemitism and anti-
Zionism were inseparable phenomena.32! Professors like J. Lorand Matory criticized this stance, arguing
that criticism of Israel should be permitted and that “all racism and anti-Semitism — whether against
Semitic Jews, Semitic Christians, Semitic Druzes or Semitic Muslims — is equally impermissible.”322

Summers’ successor, Drew Faust, maintained a strong stance against sanctioning Israel. In response to the
British University and College Union’s call to boycott Israeli universities, President Faust strongly
condemned the proposed boycott in September 2007. Though 286 other university presidents publicly
signed a statement in The New York Times denouncing the boycott, Faust wrote her own private letter to
the UCU expressing her “strong opposition” on her second day as president. She argued that a boycott
would undermine important academic values of open exchange and collaboration. Faust did not sign the
public statement due to Harvard’s tradition of presidents not signing petitions. However, she made clear
that she agreed with the opposition to the boycott and said she joined others in the international academic
community in “unequivocally” denouncing an action that would serve no useful purpose.323

Over the course of debates around divestment, supporters took care to distance themselves from initiatives
that challenged Israel’s right to exist or called for its destruction. While the issue remained divisive, with
accusations of antisemitism on one side and censorship of debate on the other, most participants focused
their arguments on Israel’s policies rather than making broader condemnations of it as a state.

Free Speech, Antisemitism and Criticism of Israel on Campus

The Harvard community experienced and engaged with antisemitic incidents throughout the decade.
For example:

e InJanuary 2000, antisemitic graffiti reading “Jews own the media” and a swastika were found on street
signs near the Freshman Dean’s Office and Lamont Library at Harvard.324

e In April 2002, a Harvard Law School student sent an anonymous email defending the use of the n-
word in response to a complaint about a racial slur used online.325 This email was then reprinted in an
antisemitic flier distributed to law students.326

318 Karen W. Arenson, “Harvard President Sees Rise In Anti-Semitism on Campus,” The New York Times, September 21 2002.
https://www.nytimes.com/2002/09/21/us/harvard-president-sees-rise-in-anti-semitism-on-campus.html

319 David H. Gellis, “Summers Rules Out Divestment,” The Harvard Crimson, May 17, 2002.

320 Thid.

321 J, Lorand Matory, “Israel and Censorship at Harvard,” The Harvard Crimson, September 14, 2007.

322 Thid.

323 Paras D. Bhayani and Claire M. Guehenno, “Faust Condemns Boycott of Israeli Universities,” The Harvard Crimson,
August 14, 2007.

34 Tmtiyaz H. Delawala, “Anti-Semitic Graffiti Surfaces Near FDO,” The Harvard Crimson, January 12, 2000.

325 Jenifer L. Steinhardt, “Incidents Draw Law School Response,” The Harvard Crimson, April 10, 2002.

326 Stephanie M. Skier, “Letter Bearing Swastika Shocks HLS First-Years,” The Harvard Crimson, April 3, 2002.

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e Leaflets appeared outside some Harvard dorms in 2006, reproducing an essay by Mark Weber arguing
that “the crucial factor in President Bush’s decision to attack [Iraq] was to help Israel.” Weber, a
Holocaust denier, confirmed he wrote the essay but said he had no role in distributing the leaflets.
However, he was “glad to see them distributed” alongside another leaflet promoting a White
nationalist group.327

e In May 2005, several hundred Harvard students and other protesters confronted members of the
White supremacist group White Revolution outside Faneuil Hall in Boston.328

e The Crimson faced backlash after running a controversial Holocaust-denying advertisement in their
September 8, 2009, issue. The ad, submitted by Bradley Smith of the Committee for Open Debate on
the Holocaust,329 questioned the veracity of the Holocaust by asking readers to provide proof of one
person killed in a gas chamber at Auschwitz.330 The ad sparked outrage across campus, with over 20
emails and a joint letter signed by more than 30 undergraduate students expressing their shock and
anger over the implication that Holocaust victims’ stories were lies. Crimson President Maxwell L.
Child ‘10 acknowledged the mistake, but some students wanted him to offer a more robust apology.33!

These were isolated incidents without lasting effect. Pro-Israel students at Harvard tended to characterize
the campus environment as generally supportive of Zionist viewpoints. As Daniel Shoag ‘06, senior editor
of the Harvard Israel Review, stated, “We have strong faculty support.” He pointed to professors like Alan
Dershowitz and Ruth Wisse as examples. Joshua Suskewiczv ‘05, president of Harvard Students for Israel,
credited Summers’ 2002 speech with helping make debate more moderate on campus. As Suskewicz said,
“T think that activists on both sides at Harvard have worked to keep [debate] civil and fair-minded.”332 On
the other hand, students said they faced intimidation for voicing pro-Palestinian political views. Students
pointed out that, while over 300 college presidents signed a letter calling for “intimidation-free campuses,”
more than 1,700 others opted not to sign due to concerns the letter only mentioned Jewish students and
Israel’s supporters as facing threats. Conversely, they argued, students of Arab descent also faced hate
crimes and censorship — in particular in the aftermath of 9/11333 (including near Harvard’s campus?34).

Debate over the distinction between free speech and hate speech flared up in response to a planned visit by
Tom Paulin, an acclaimed Irish poet and lecturer at Oxford. In early November 2002, the Harvard English
department announced that Paulin had been invited to deliver the annual Morris Gray Lecture at Harvard
that month. The invitation was extended because of Paulin’s accomplishments and standing as a poet and, at
the time, the department said they were unaware of Paulin’s political views.335 However, Paulin had made
controversial statements in the past regarding the Israeli-Palestinian conflict. In an interview with the
Egyptian newspaper A/-Ahram Weekly in April, he had called Israel “a historical obscenity.” He also said that

#7 John R. Macartney, “Author of Leaflet Comes Forward,” The Harvard Crimson, April 11 2006.

38 Kristin E. Blagg, “Students Join Protest of Neo-Nazi Rally,” The Harvard Crimson, May 9, 2005.

39 As the Southern Poverty Law Center described it, “Founded in 1987 by Bradley Smith, the Committee for Open Debate on
the Holocaust (CODORH) has promoted and published antisemitic and revisionist conspiracy theories under the guise of
intellectual authenticity and free speech.” Southern Poverty Law Center, “Committee for Open Debate on the Holocaust,”
Southern Poverty Law Center. hivps://www.splcenter.orgy/ fighting-hate/extremist-files/group/committee-open-debate-holocaust
339 June Q. Wu, “Holocaust Ad Printed in The Crimson Elicits Outrage,” The Harvard Crimson, September 9, 2009.

331 Thid.

33 Daniel J. Hemel, “Campus Zionists Face ‘Threats, Israeli Warns,” The Harvard Crimson, November 12, 2003.

333 Rita Hamad, Shadi Hamid, and Yousef Munayyer, “Free Speech or Intimidation?,” The Harvard Crimson, November 4, 2002.
334 e.g. Juliet J. Chung, “Grad Student Assaulted in Alleged Hate Crime,” The Harvard Crimson, October 1 2001.

335 Alexandra N. Atiya, “Controversial Poet Will Not Give Lecture,” The Harvard Crimson, November 13, 2002.

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Brooklyn-born Jews who move to Israeli settlements in disputed territories “should be shot.”336 Paulin’s
poem “Killed in the Crossfire” describes “Zionist SS” shooting “another little Palestinian boy.”337

When news of Paulin’s invitation and these statements spread around campus in early November, over 100
students, alumni and faculty protested. Rita Goldberg, a literature lecturer, began gathering protesters and
by email encouraged students not to attend, saying “An audience is oxygen to a poet, and the most
effective way of showing your feelings is to deprive him of air.”338 The controversy garnered considerable
attention beyond Harvard as well and articles appeared in The New York Times and The Boston Globe.339

Under pressure, the English department initially decided on November 12 that Paulin’s lecture would go
ahead but there would be a post-lecture forum to challenge him. However, Professor Helen Vendler
claims that she and Paulin mutually agreed that his reading would not take place due to concerns that his
poetry would not get a fair hearing.340 This mutual withdrawal was then interpreted as a unilateral
departmental cancellation.341 (The department then announced on November 13 that they had asked him
not to come at all, citing concerns about “undue consternation and divisiveness.”342) President Summers
was reported to have privately expressed disapproval of the invitation, while endorsing the Department’s
freedom to decide who to invite.343

Numerous letters to the Crimson protested the decision to cancel the forum as a violation of free speech.
Particular vitriol was aimed at Summers, who was perceived as pressuring the English department to
cancel the event (including a letter by psychology professor Patrick Cavanagh calling him ‘Ayatollah’
Summers).344 Then, on November 20, the full English department faculty met and voted unanimously,
with two abstentions, to re-invite Paulin, citing concerns that canceling him could undermine free
speech.345 Summers then released a written statement supporting the exchange of ideas at Harvard.346
Paulin reportedly told the department he was receptive to the renewed invitation, but his visit ultimately
did not materialize.

Other controversial events garnered negative attention. In March 2008, Harvard Hillel hosted a “Breaking
the Silence” exhibit, which showed photos and testimonies from IDF soldiers about their experiences in
the occupied Palestinian territories.347 Hillel also hosted a panel discussion with four Harvard students
who had served in the IDF, along with Oded Na’aman, a former IDF soldier representing “Breaking the
Silence.” Some of the students were critical of the exhibit. Shira Kaplan ‘08, who had served in Israeli
intelligence, said the exhibit added to anti-Israeli rhetoric and “it just misses the point and creates a

336 Alexander J. Blenkinsopp, “Poet Flap Drew Summers’ Input,” The Harvard Crimson, November 14, 2002.

337 Alexander J. Blenkinsopp, “Paulin Likely To Speak in Spring,” The Harvard Crimson, November 21 2002; Atiya,
“Controversial Poet Will Not Give Lecture.”

338 Atiya, “Controversial Poet Will Not Give Lecture.”

339 Edward Rothstein, “CONNECTIONS; Hateful Name-Calling Vs. Calling for Hateful Action,” The New York Times,
November 23, 2002, B; Patrick Healy, “Unwelcome at Harvard,” The Boston Globe, November 17, 2002.

3#@ Helen Vendler, “To the Editor,” The New York Times, November 28, 2002.

341 e.g., Atiya, “Controversial Poet Will Not Give Lecture.”

3@ Blenkinsopp, “Poet Flap Drew Summers’ Input.”

343 "The Crimson reported that Summers was privately “horrified” by the invitation. Alexander J. Blenkinsopp, “In About-Face,
English Dept. Re-Invites Anti-Israeli Poet,” The Harvard Crimson, November 20, 1002. Conversely, The New Yorker wrote that
when Buell sought Summers’ guidance on the issue, Summers responded that the English Department should do what it sees
fit to do, while personally he also thought that “it would look bad to withdraw the invitation,” and that if the lecture
proceeded, “the department should find a way to dissociate itself from Paulin’s views about Israel.” Jeffrey Toobin,
“Speechless,” The New Yorker 78, no. 44 (January 27, 2003).

3 Patrick Cavanagh, “Ayatollah’ Summers’ Remarks Show Bigotry,” The Harvard Crimson, November 14, 2002.

345 Blenkinsopp, “In About-Face, English Dept. Re-Invites Anti-Israeli Poet.”

346 Blenkinsopp, “Paulin Likely’'To Speak in Spring.”

347 Bita M. Assad, “Hillel Exhibit Draws National Criticism,” The Harvard Crimson, March 10, 2008.

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negative image.”348 Asher A. Fredman ‘08 said the exhibit’s website focused on “killing” and “murder”
without proper context. 349 However, Mishy Harman ‘08 defended the exhibit, saying “To me, there’s no
greater expression of Zionism today than saying that Israel should be held to the highest moral standards
possible.” He said that the exhibit did not criticize Israel’s existence, but rather its policies and conduct. 35°

Debates about the limits of acceptable criticism of Israel fueled a broader conversation about the
relationship between antisemitism and anti-Zionism (a term that, according to a search in Google Ngram
Viewer, became popular after 2000 and especially so after 2010). In 2007, Matory argued that accusations
of antisemitism were intended to stifle anti-Zionist speech.351 Several students strongly opposed Matory’s
arguments and characterizations. For example, Douglas Lieb ‘07 wrote:

The truly dangerous false equation is Matory’s conflation of “criticism of Israeli policy” with anti-
Zionism. By encouraging a state to improve its behavior rather than go away, real policy criticism
assumes a state’s legitimate existence. But anti-Zionism, by definition, negates the Jewish — and
only the Jewish — national right to self-determination. The former is part of a healthy debate in a
free society. The latter is usually a coded expression of anti-Semitism, since it denies Jews what it
rightly grants to all other nations. 352

Other prominent Harvard faculty took clear-cut positions on Israel/Palestine and engaged in high-profile
events, with Alan Dershowitz passionately defending Israel and Stephen Walt and John Mearsheimer
criticizing it, or, more accurately, what they saw as an unhealthy level of American diplomatic and military
support for the country.353 Guest speakers on campus also attracted considerable attention for their views
about the conflict. For example, a minister in the Palestinian Authority, speaking at an Institute of Politics
Forum event in November 2001, dismissed accusations of antisemitism by arguing Palestinians cannot be
antisemitic as they themselves are also Semites. Jonathan M. Gribetz ‘02 objected, noting that antisemitism
refers specifically to prejudice against Jews. Moreover, Gribetz critiqued antisemitic text and imagery in
Palestinian textbooks and urged the Palestinian leadership to acknowledge and address antisemitism in
Palestinian society rather than deny it, as this propaganda was an obstacle impeding peace with Israel.>*

To summarize, while student groups and faculty sought to promote open debate, the highly polarized
climate both on campus and in the broader conflict often made constructive dialogue difficult. However,
through student-led efforts at discussion and understanding different perspectives, as well as events that
brought groups together in support of finding common ground, it was still possible to have respectful
exchanges that moved discussions forward in a positive direction. The 2000s saw only a few instances of
public outrage over a speaker or disinvitation. While initial reactions to controversial works were
sometimes harsh, later discussions tended to focus more constructively on their substantive arguments.

Conclusion

The 2000s witnessed increased tensions between pro-Israeli and pro-Palestinian activists on campus.
These came alongside considerable efforts by student groups to find common grounds and to come to a
respectful dialogue. While the topic of antisemitism did arise, it was not employed as a lens through which

348 Vidya B. Viswanathan, “Israeli Soldiers Discuss Exhibit,” The Harvard Crimson, March 18, 2008.

34 Thid.

350 Thid.

351 Matory, “Israel and Censorship at Harvard.”

352 Douglas E. Lieb, “Anti-Zionism and Anti-Semitism,” The Harvard Crimson, September 21 2007.

553 Cormac A. Early, “Dershowitz Discusses Middle East,” The Harvard Crimson, November 1 2005.; Evan H, Jacobs,
“Prominent Profs Spar Over Israel,” The Harvard Crimson, November 30, 2005; Paras D. Byayani and Rebecca R. Friedman,
“Dean Attacks ‘Israel Lobby,’ The Harvard Crimson, March 21, 2006.

354 Jonathan M. Gribetz, “Anti-Semitism Among Semites,” The Harvard Crimson, November 19, 2001.

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students described pro-Palestinian activism. An active student member of Hillel in the early 2000s
commented on the atmosphere at the time:

I don’t remember people complaining of antisemitism ... If people had, we would have treated it as
completely beyond the pale. The debate that I saw happening was about politics, really about the
politics of the state, which was always debatable ... there were very heated feelings about it, but
antisemitism is just no ... there’s nothing to discuss. You can’t do that. So, I don’t recall there being
[incidents of antisemitism] ... I think it would have been weird for someone to post ... ‘I had an
antisemitic incident on this [Hillel] listserv.’ I think they would have gone straight to Bernie
[Steinberg, Former Harvard Hillel Director]. Bernie was very good at ... containing trouble ... and
then trying to project a sense of calm around [it].

Additionally, contention between students over Israel/Palestine appeared to be compartmentalized to
specific contexts and did not spill over into personal relationships. Shai D. Bronshtein ‘09, a former
member of the Crimson’s editorial board, recalled:

One of the women on the editorial board ... was Egyptian, and ... she and I had several
disagreements, but it was never ... personal, and it was never, you know, it never went beyond those
meetings ... I [completed] a concurrent AM in Middle Eastern studies while I was there, and ...
almost the entire [class] was ... Arab Americans or Arab international students. So that was, you
know, a place where certainly those sorts of [issues] came up ... We had one professor who was very
anti-Israel come in ... and we had an Iranian in the class. It was a mix, but ... it was not hostile. It
was not angry. It was not personal. Even [my classmate of Iranian descent] with whom ... I’m
diametrically opposed in terms of my views on the Israel issues ... we still were able, even on
Facebook, to have reasonable conversations, even though we very much disagreed. [Differences of
opinion] didn’t feel personal, and I didn’t feel attacked, even when there was heated disagreement.

Three themes emerged over this decade that bore relevance for discussions that continued into subsequent
years: the challenge of achieving peace between Israelis and Palestinians, the relevance of examining the
conflict through a racial lens, and questions surrounding the positioning of liberal Jewish voices in relation
to the political left. Regarding the first theme, Harvard students continued to make good-faith efforts to
cross political lines and engage each other in discussion about how to attain a just peace between Israel and
the Palestinians. The other two themes, however, were more ominous and boded ill for student relations

during the following decade.

Race began to enter conversation as a lens through which to view the Israel-Palestine conflict. At first, the
conflation of the Israeli-Palestinian conflict with racial thinking and racism in America was raised only to
be rejected, as when Charles Cheever ‘03 wrote that viewing the conflict as one between races misses the
fact that Israelis and Palestinians are racially diverse, and that countries in the Middle East each have
distinct cultures and histories.357 Shira Fischer ‘01 also noted that describing the conflict as one of racial
oppression was wrong.358 Towards the end of the decade, however, Nimer Sultany argued that prominent
Israeli politicians, including foreign minister Avigdor Lieberman, expressed views that were discriminatory
against Palestinians in a way reminiscent of American Jim Crow laws. Their views, Sultany wrote,
indicated the presence of a bigoted undercurrent in Israeli society that chose Jewish supremacy over equal
rights for all citizens.359

355 Interview with Shai Dromi, 7/16/2024.

356 Thid.

357 Charles D. Cheever, “Native Americans and Native Palestinians,” The Harvard Crimson, October 15, 2001.
358 Shira H. Fischer, “Middle East Crisis Does Not Constitute Race War,” The Harvard Crimson, April 15, 2002.
359 Nimer Sultany, “U.S. Lessons for Israel’s Jim Crow,” The Harvard Crimson, May 3, 2009.

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Moreover, in the early 2000s Jewish students with liberal social and political values began to feel isolated
from left-oriented communities on campus. For example, Tova Serkin ‘02 expressed disillusionment with
some elements of the liberal left at Harvard, saying they have “ceased to mean standing for equality,
upholding human rights for all, or fighting against all forms of racism.” As a proud Democrat who
previously considered some Republicans “crazy right-wingers,” Serkin said she had been “dismayed by
some of the ‘liberal’ rhetoric on campus.” In particular, she criticized the hypocrisy they see regarding views
on the Israeli-Palestinian conflict, saying “I have always been quick to criticize Israel for its treatment of
Israeli Arabs and the Palestinian people, but over the last few years, I have realized that those critiques
could not be made in isolation.” Serkin took issue with calls on campus for Israel to withdraw from
territories “in exchange for nothing, not even the security necessary for its people to live normal lives,”
arguing only by “ignoring the facts and the history of the region could one blame the entire conflict on
Israel, and yet that is precisely what many students and professors on the left have done.” Most strongly,
she expressed feeling “isolated and alienated from supposedly ‘liberal’ parts of the University” due to the
latest campaign calling on Harvard and MIT to divest from Israel, saying “Israel is not perfect and has
certainly made mistakes, but if anything, now it needs our support as it fights for security.”360

Both of these issues — the rise of an intersectional taxonomy that linked the plight of the Palestinians
with racial injustice in America, and the growing intolerance of the campus’ progressive left towards Jews
who do not abjure Israel, became increasingly prominent over the 2010s and set the stage for the campus
reaction to October 7th and its aftermath.

Widening Fissures and Diminished Dialogue, 2010-2023

Between 2010 and 2023, discussions about Israel and Palestine at Harvard focused more and more on
confrontation rather than compromise. While efforts to promote dialogue and understanding between
opposing viewpoints did not disappear, student activists were less willing to search for middle ground. As
chances for peace between Israel and the Palestinians faded, so did the cooperative and constructive aspects
of exchange between students with differing viewpoints. As the campus climate became more divided,
students on both sides of the issue felt ignored or silenced.3®! Jewish students became more concerned
about antisemitism on campus, and they began to claim that whether speech is antisemitic should be
determined more by impact than intent.

Early in this period, there were voices within the Harvard community that cautioned against moving away
from dialogue and toward more confrontational tactics in discussions of Israel and Palestine. Over time,
more assertive approaches gained acceptance, and by the end of the period positions once seen as outside
the campus mainstream became more common. At Harvard, as at other universities, the BDS movement
promoted anti-normalization guidelines that advised against joint projects or activities between
Palestinians and Israelis unless they entailed a priori public recognition of Palestinian rights and a
commitment to Palestinian liberation.362 Anti-normalization posed strict conditions for engagement
between opposing viewpoints and rejected interactions that did not frame the conflict in terms of

3 Tova A. Serkin, “Leaving the Left Behind,” The Harvard Crimson, June 3, 2002.

361 The Boston Globe claimed, based on interviews with students, that “people on either side feel their voices are being quieted:
Palestinians and those who sympathize with their plight speak of an institutional force arrayed against them; supporters of
Israel contend critical peers dismiss their perspectives before they can voice them’. Hilary Burns, “On campuses, a tension
over the Mideast,” The Boston Globe, January 31 2023.

36 BDS Movement Anti-Normalization.

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resistance to these inequalities. Anti-normalization made open dialogue and exchange of differing
perspectives between Palestinians and Israelis ever more difficult.363

Pro-Palestinian activism was galvanized by the Arab Spring and the Occupy Movement, beginning in
2010 and 2011, respectively. These movements led students to draw parallels between oppressive
conditions faced by Palestinians and popular movements resisting inequality and lack of political
freedom.3 Just a few years later, a sharp rise in antisemitic incidents nationwide — the Anti-Defamation
League reported a 57% increase in antisemitic incidents between 2016 and 2017, and an 89% surge on
college campuses — caused off-campus actors like the Anti-Defamation League, StandWithUs, Israel on
Campus Coalition, and Students Supporting Israel to become more vocal about and involved in campus
life.365 Such organizations supported pro-Israel groups on campuses and provided resources, training,
funding, and strategic counsel to student leaders.

In addition to these nationwide trends, Harvard itself underwent major demographic, political, and social
changes in the early twenty first century. These changes directly affected the experience of Jewish students
at Harvard in numerous ways:

Growing Demographic Diversity Within the Student Body In 1980, the student body at Harvard and
other top Ivy League universities was about 80% White. In 2019, 47% of Harvard’s entering first-year class
identified as White, and by 2024, the figure had declined to 33%.366 During the final four decades of the
20th century, Jews made up 20-25% of the University’s enrollment, but in the 21st century the numbers went
down, and as of 2023, the figure was just below 10%.367 It is difficult to account precisely for the declining
number of Jewish students, as there is anecdotal evidence that Jews were choosing to attend a wider range of
universities than in the past. But the correlation between the increased number of non-White students and
the shrinking number of Jews in the student body was striking. Although Jews belong to all racial groups,
most are demographically classified as White, be they of eastern European (Ashkenazi), Iberian/Balkan
(Sephardi), or Middle Eastern (Mizrachi) origin. If students who identify or who are designated as White
compete for fewer admissions slots, it follows that Jewish students would be affected.

Widening Political Diversity Among Jewish students In 2010, the journalist Peter Beinart published a
widely read article (expanded two years later into a book) on a generational change in American Jewish
attitudes towards Israel, with younger Jews, particularly those enrolled in elite universities, becoming more
critical of or indifferent to the country. Survey research confirmed the generational shift, and although on a
national level the changes were not as stark as Beinart depicted, it was indeed prominent at Harvard and its
peer institutions.368 Well before October 7, 2023, Harvard’s Jewish students were manifesting a wide

38 E.g., “A Strategy of Rejection: The Anti-Normalization Campaign,” Anti-Defamation League, May 25,2012.
https://Awww.adLorg/resources/news/strategy-rejection-anti-normalization-

campaign#:~:text=Anti%2 normalization 20policies%20are%20also, legitimacy%20and%20should%20be%20suppressed

364 Eg. Indiana T. Seresin, “Palestinian Activists Evoke Occupy,” The Harvard Crimson, November 15, 2011.

365 “Think. Plan. Act. Tools for Dealing with Antisemitic and Anti-Israel Incidents on Campus,” accessed July 22, 2024.
https://www.adL.org/think-plan-act. “About,” accessed July 22, 2024. https://israelcc.org/about-us/. “Mission and History,”
accessed July 22, 2024. https://www.ssimovement.org/mission-and-history. html. “About Us,” accessed July 22, 2024.
https://www.standwithus.com/about

36° Derek Thompson, “How America’s Top Colleges Reflect (and Massively Distort) the Country’s Racial Evolution.”
hetps://www.theatlantic.com/national/archive/2013/01/how- icas~top-colleges-reflect-and-massively-distort-the-
countrys-racial-evolution/267415/, “Meet the Class of 2023,” The Harvard Crimson, n.d.
hetps://features.thecrimson.com/2019/freshman-survey/makeup-narrative/ - :~:text- Among participants who answered a,0.8
percent as Pacific Islander. “A Brief Profile of the Class of 2028,” https://college.harvard.edu/admissions/admissions-statistics
367 Sarah Weismann, “Jewish Student Enrollment Is Down at Many Ivies,”
hitps://www.insidehighered.com/news/admissions/2023/05/08/jewish-student-enrollment-down-many~ivies

36 Peter Beinart, The Crisis of Zionism (2012); https://www.pewresearch.org/religion/2021/05/11/1-s-jews-connections-with-
and~-attitudes-toward-israel/

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spectrum of feelings about Israel, from passionate identification to a no less ardent rejection of Zionism and
embrace of a reconfigured Jewish identity in which support for Palestine became a supreme Jewish value.

Changing Roles and Views of Arab and Muslim Students Prior to the 2010s, Black students featured
among the most critical voices regarding Israel, while Arab and Muslim students were more likely to
champion Palestinian freedom, liberty, and dignity without denying Israel’s right to exist. Over the course
of the 2010s a growing number of students identifying as BIPOC regarded the partition of Mandatory
Palestine in 1947 as a gross injustice, demanded the dismantling of Israel as a precondition for Palestinian
liberation, and distanced themselves from Jewish interlocutors on campus unless the latter shared their
political views.

A “Palestine exception” and an “Israel exception” In 2015, the NGO Palestine Legal issued a report titled
“The Palestine Exception to Free Speech.” The report depicted wide-ranging efforts throughout American
society to “stifle criticism” of Israel and “censor or punish advocacy in support of Palestinian rights.” These
efforts were particularly noticeable in universities because of “their increasingly central role ... in the
movement for Palestinian rights”:

Activists and their protected speech are routinely maligned as uncivil, divisive, antisemitic, or supportive
of terrorism. Institutional actors — primarily in response to pressure from Israel advocacy groups — erect
bureaucratic barriers that thwart efforts to discuss abuses of Palestinian rights and occasionally even cancel
events or programs altogether. Sometimes the consequences are more severe: universities suspend student
groups, deny tenure to faculty, or fire them outright in response to their criticism of Israel.5

In the early 2020s, discussion of the “Palestine exception” became ubiquitous at Harvard. It was invoked to
condemn restrictions on protests, disciplinary measures against students, and decisions to cancel or
withdraw sponsorship from events focused on Palestine.

No less exceptional, however, was the frequency and intensity of treatment of Israel as an oppressor state
and the Palestinians as an oppressed people in courses and public events throughout the campus. From
2019 and 2022 respectively, the Francois-Xavier Bagnoud Center for Health and Human Rights at the
Harvard T.H. Chan School of Public Health and the Program on Religion and Public Life at Harvard
Divinity School focused heavily on Palestinians in their course offerings and guest lectures, which also
rarely presented Israeli points of view except those of the state’s harshest critics. Seminars organized by the
Center for Middle Eastern Studies frequently addressed Palestinian history and politics from a strongly
sympathetic perspective and rarely reflecting other points of view.

In contrast, there was no program devoted to the study of Israel. ‘The Center for Jewish Studies hosted
events about Israeli politics and society within its broader mission to promote knowledge about the
entirety of Jewish civilization from antiquity to the present. Similarly, in 2016 the Julis-Rabinowitz
Program on Jewish and Israeli Law at Harvard Law School was founded to promote the scholarly study of
Jewish law, including that of the State of Israel. From 2017, courses on Israel/Palestine with a non-
partisan approach were taught by Derek Penslar in the Department of History, and in 2022 a visiting
professor taught courses on Israel in the Department of Government. But these offerings paled in
comparison with the number of courses, programs, and events that concentrated on Palestine, sympathized
wholeheartedly with the Palestinian cause, and, as demonstrated later in this report, created classroom
atmospheres that were distressing to Jewish students who had attachments to Israel.

The prominence of Palestine in student political life, co-curricular activities, and social interactions was
striking. Never before in Harvard’s history did a conflict in a distant land, in which no American troops

38 “The Palestine Exception to Free Speech: A Movement Under Attack in the US.”
https://staticl squarespace.com/static/548748b1e4b083fc03ebf70e/t/560c2e02e4b083d9c363801d/1 4436387941 72/Palestine
+Exception+Report+Final. pdf

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were serving, attract such attention. Within the Harvard community, the concentration on Israel as a
distinctly egregious malefactor and on the Palestinians as a distinctly victimized people preceded the
October 7, 2023, Hamas massacre, Israel’s massive response, and the spread of hostilities to a regional
level. This “Israel exception” led to condemnation of Israel among a growing swath of the student body, an
intersectional conflation of the Israeli-Palestinian conflict with racial injustice in the United States, and
social exclusion of Israeli and Jewish students who did not identify as anti-Zionist. In contrast, there were
few complaints of such shunning behavior from students of Russian or Chinese origin whose homelands’
governments practiced widespread violations of human rights.

A Decline of Community and Retreat into Ideological Enclaves Political polarization, as well as
heightened awareness of racial identities and the ongoing legacies of racism, degraded the sense of
community identity that is a hallmark of a residential college experience. A further dilution of local, face-
to-face community in favor of virtual and global occurred at the hands of social media, which became
hegemonic following the founding of Facebook in 2004 and Instagram in 2010. Social media made it
easier for students to not only dwell in virtual communities of the like-minded but also to shame and
exclude peers without having to confront them in person. Social media had a poisonous effect on many
dimensions of campus life, including the well-being of Jewish and especially Israeli students, who were
exposed to abusive and threatening messages on platforms like Sidechat and Instagram or excluded from

WhatsApp groups within classes or co-curricular groups.

Targeting Israel on Campus

Over this period, groups like the Palestine Solidarity Committee (PSC) and Harvard Out of Occupied
Palestine (HOOP) organized campaigns pressing the administration to remove certain products from
dining halls like SodaStream and Sabra hummus and advocating for students to decline opportunities to
travel to Israel such as Birthright and Israel Trek. They also disrupted pro-Israel events hosted by Hillel
and featuring former Israeli officials. In addition, PSC staged annual Israeli Apartheid Weeks that
included tactics like distributing mock eviction notices and erecting an “apartheid wall” display, generating
controversy each year. The 2012 One State Conference at HKS also sparked debate around its discussions
of alternatives to the two-state solution and analogies to apartheid.

These actions generated intense debate within the Harvard community. Jewish students who found them
offensive received little sympathy from pro-Palestinian activists, who believed in the justice of their actions
and accused their critics of weaponizing antisemitism for political gain.

ACTION AGAINST ISRAELI ACTIVITIES, GUESTS, AND PRODUCTS
The PSC and HOOP — a student group calling for divestment, established in 2020379 — organized

numerous campaigns and protests targeting specific Israeli activities, guests, and products.

SodaStream In Spring 2014, Palestinian students and members of the Palestine Solidarity Committee
protested that some dining halls had carbonated water machines manufactured by SodaStream, an Israeli
company with a plant in a large Jewish settlement in the West Bank.5”! Rachel J. Sandalow-Ash ‘15, a
member of Harvard College’s Progressive Jewish Alliance agreed that “these machines can be seen as a
microaggression to Palestinian students and their families and like the University doesn’t care about

3” Juliet E. Isselbacher and Amanda Y. Su, “Harvard Out of Occupied Palestine Holds Inaugural Event, Invites BDS
Founder,” The Harvard Crimson, February 21 2020. https://www.thecrimson.com/article/2020/2/21 /hoop-inaugural-event~
bds~founder/

371 SodaStream announced a relocation to Southern Israel in October 2014. Ian Black, “SodaStream to move factory out of
West Bank Israeli settlement,” The Guardian, October 29, 2014.
https://www.theguardian.com/business/2014/oct/29/sodastream-move-factory-west-bank-israel-slash-forecast

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Palestinian human rights.” Following discussions, in Fall 2014, HUDS agreed to remove SodaStream
labels from existing machines and purchase appliances from other companies going forward. PSC member
Tez M. Clark ‘17 said he hoped that “Harvard’s effort to hear the concerns of Palestinian students and
make a meaningful change in response to these concerns will inspire further support for and discussion on
Palestinian rights, both on this campus and around the world.”>”

However, in December 2014, President Drew Faust requested an investigation of the decision.373
HUDS spokesperson Crista Martin wrote that HUDS has “mistakenly factored political concerns” into
its decision.374 Provost Alan M. Garber ‘76 wrote that “Harvard University’s procurement decisions
should not and will not be driven by individuals’ views of highly contested matters of political
controversy.”375 Leaders of Jewish and pro-Israel groups like Harvard Hillel President Samuel M. Fisher
‘15 supported the investigation.376

Sabra Hummus In early 2022, the PSC posted stickers on containers of Sabra hummus in Harvard
dining halls. According to Nadine S. Bahour ‘22, a representative from the PSC, the stickers urged
students not to eat Sabra hummus and as its parent company, the Strauss Group, “invests money in the
[Israel Defense Force’s] Golani Brigade,” which she claimed was responsible for “the oppression of
Palestinians.”377 The hummus stickers action, she said, aimed to encourage students to make conscious
choices about which companies they support with their food purchases. Conversely, Rebecca S. Araten ‘23,
a leader of the Harvard Israel Initiative, said the stickers’ claims misrepresented “what is actually
happening on the ground.” She maintained that the PSC action was one of many attempts “to prevent
people from going” on activities like Israel Trek based on “extreme things that aren’t based at all in fact.”378

Birthright and Israel Trek Pro-Palestinian activists advocated for students to decline opportunities to
travel to Israel on Birthright Israel and Israel Trek, the former being an all-expenses-paid trip to Israel for
Jewish young adults and the latter being an Israeli-student-led trip to Israel offered to non-Jews.379
Activists described Israel Trek as complicit in “apartheid and settler colonialism.”38°

Trek leader Ty L. Geri ‘23 defended the program, saying it aimed to expose participants to diverse
viewpoints through meetings with Israeli and Palestinian leaders.38! “Reducing people to conflict and to
hate is dehumanizing, and I think that when you're thousands of miles away, it’s easy to dehumanize
people. But when you're there, it’s much harder,” Geri said. “We'll always get some criticism, but we'll

3” Kamara A. Swaby, “HUDS Suspends Purchases from Israeli Soda Company,” The Harvard Crimson, December 17, 2014.
33 "Theodore R. Delwiche and Mariel A. Klein, “University To Investigate Dining Services Decision’ To Suspend Purchases
from Israeli Company,” The Harvard Crimson, December 18, 2014. https://www.thecrimson.com/article/2014/12/18/huds-
sodastream-garber-response/

374 Meg P. Bernhard, “Dining Services “Mistakenly’ Factored Politics into SodaStream Decision, Spokesperson Says,” The
Harvard Crimson, December 18, 2014.

375 Delwiche and Klein, “University To Investigate Dining Services Decision To Suspend Purchases from Israeli Company.”
376 Thid.

377 Sophia C. Scott, “For Some Palestinian Organizers, the Israel’Trek is a Microcosm of a Broader ‘Power Imbalance,” The
Harvard Crimson, April 21 2022.

378 Thid.

39 Nadine S. Bahour, “Visit Israel, Just Not on Birthright,” The Harvard Crimson, October 18, 2019; Sandra Y. L. Korn, “The
Illuminations of Birthright,” The Harvard Crimson, July 6, 2012; see response: Daniel Frim, “Some Other “Illuminations of
Birthright”,” The Harvard Crimson, July 18, 2012.

38 Vivi E. Lu and Leah J. Teichholtz, “Harvard Out of Occupied Palestine Urges Undergrads to Boycott Israel Trek,” The
Harvard Crimson, February 25, 2022.

381 Shera S. Avi-Yonah and Delano R. Franklin, “Palestine Solidarity Committee Circulates Pledge Urging Undergrads to
Boycott Israel Trek,” The Harvard Crimson, November 7, 2019.

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always continue engaging in open dialogue.”382 Other Jewish and pro-Israel students strongly opposed the
boycott campaign. Rebecca S. Araten ‘23, a leader of the Harvard Israel Initiative, felt the PSC
mischaracterized what happened on Trek. As she explained, the PSC’s rhetoric was “not based at all in
fact” and “the reality is that if people actually go on this trip, they'll realize that those words — those terms
— are not at all representative of what is actually happening in Israeli society.”383 The student president of
Harvard Hillel at the time, Natalie L. Kahn ‘23, said the PSC disregarded “any possibility of dialogue.”
According to Kahn, if people examined Trek’s “itinerary and agenda,” they would see it “really does try to
balance both sides.”384 The Trek’s organizers reported receiving severe social backlash and hate mail.385

However, the PSC maintained their concerns about Trek were valid. Organizer Joshua D. Willcox ‘23-’24
maintained that Palestinians experienced “an apartheid regime” and that the Trek did not adequately
represent Palestinians’ perspective.386 Nadine S. Bahour ‘22 felt Trek presented an experience that was not
reflective of the “reality on the ground” for Palestinians.

Rabbi Jonah C. Steinberg, Hillel Executive Director and Harvard Chaplain addressed the worryingly
polarized atmosphere on campus in a sermon at Harvard Memorial Church:

We live in that world even here at Harvard — I don’t know if you have been following the war of
words on campus — the anti-Israel stickers appearing on Sabra hummus in the dining halls, the
tearing down of Harvard Hillel posters all over campus, about which the Dean of Students Office
had to issue a statement just this past week, and the black-colored posters everywhere against the
Harvard College Israel Trek ... But maybe you saw the posters on the way here this morning: “How
about Spring Break without Breaking International Law?” “Your Trip Is Free; Palestine Isn’t” and
“Would you go on a trip funded by South-African Apartheid?” So far as I know, not one of those
posters has been torn down — and let me take a moment here to say that reflects some admirable
restraint on the part of Harvard Hillel students, when posters with a QR code offering a chance to
learn why many in our community care about Israel have been torn up all over campus and the torn
pieces tacked back to the walls.387

After the 2023 Trek, the PSC held “Office Hours” for participants to share their experiences. Around 20
students attended the event in Claverly Hall to discuss issues like whether Trek exposed students to diverse
viewpoints. One Trek participant, Ibrahim Mammadov ‘23, felt the trip provided a valuable perspective.
“These IDF soldiers are just people like us, they’re not anything special. And that’s an important piece of
perspective that you don’t get on campus.” Mammadov said that the labeling of oppressor and victim
prevents more nuanced and fair perspectives.388 Nevertheless, Bahour urged trekkers to consider Harvard’s
“complicity in the struggles Palestinians face.” When Geri extended an invitation to PSC leaders to discuss
their concerns directly, Bahour declined, citing safety concerns and arguing that dialogue was not possible
until Trek leaders acknowledged “ethnic cleansing” and “apartheid” in Palestine.389

38 Vivi E. Lu, “Harvard College Palestine Solidarity Committee Calls for Boycott of Israel Trek, Drawing Backlash from
Pro-Israel Students,” The Harvard Crimson, October 24, 2022.

383 Thid.

384 Thid.

385 Sabrina Paris Goldfischer, “The Death of Discourse: Antisemitism at Harvard College” (Harvard University, 2023), 57.
386 Lu, “Harvard College Palestine Solidarity Committee Calls for Boycott of Israel Trek, Drawing Backlash from Pro-Israel
Students.”

387 Jonah C. Steinberg, “The Face Behind the Veil,” Harvard Memorial Church, March 2, 2022.

388 Adam Pearl, “The Trek Back From Israel: Tensions on campus spark an uncomfortable silence,” The Harvard Independent,
April 27, 2023. https://harvardindependent.com/the-trek-back-from-israel/

389 Thid.

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Disruptions and Walkouts Disruptions of Israel-related events became a common occurrence over this
period. PSC Harvard staged a “die-in” outside of Harvard Hillel in October 2015 in response to an event
hosted by Hillel featuring Gedalia Gillis, a former Israeli military commander. The PSC protest involved
signs displaying the names of Palestinians killed during the previous summer’s conflict in Gaza. According
to Fatima Bishtawi ‘17, a co-president of the PSC at the time, the protest aimed to express that hosting
Gillis was “very estranging and creates a hostile environment for these students on campus.”390 Explaining

why PSC chose not to come to the event and express their criticisms directly to Gillis and Hillel
leadership, Halah Ahmad ‘17 explained:

Palestinians and friends on campus cannot be expected to partake in that conversation while
knowing that the person they are speaking to is actively engaged in a military operation that occupies
their land and oppresses and kills their people. We should not be asked to face a soldier who,
regardless of engagement in dialogue and affiliation with a member of the Harvard community,
would nonetheless administer violent action against us as Palestinians.39!

Additionally, HOOP staged numerous protests. In 2022, the group disrupted a talk by Israel’s ambassador
at HKS.392 HOOP also regularly protested events featuring retired Israeli military officials, describing
them as perpetuating oppression.393

Campaigns to Boycott and Divest from Israel

Academic Boycott Campaign In April 2011, Omar Barghouti, a founder of the Palestinian Campaign
for the Academic and Cultural Boycott of Israel, spoke at an event sponsored by the PSC and the
Institute of Politics. Barghouti argued that Israel was functioning under a system of apartheid and
challenged the idea that it should be considered a respected democracy on the international stage. He
advocated for the global Boycott, Divestment, and Sanctions movement, of which boycotting Israeli
universities was a core element.3™

A November 2011 panel event was held at HKS titled “Boycott from Within: American and Israeli
Voices Against Apartheid.”395 The discussion featured two speakers, Jeff Pickert, an American activist
living in the West Bank, and Dalit Baum, an Israeli activist and divestment proponent.3% Pickert
framed the Palestinian protest movement in the context of related movements like the Arab Spring and
global Occupy movement.397 Audience reaction varied. Leah C. Vincent, a master’s student, said Baum
was “articulate and composed.” However, Yoav B.G. Schaefer ‘15 noted the discussion did not
sufficiently acknowledge the complexity of the issues. “Everything that tries to make (the conflict) black
and white is a disservice to peace.”398

In December 2013, the American Studies Association voted to endorse an academic boycott of Israeli
universities, citing concerns about limitations on Palestinian education and academic freedom. President
Faust condemned the boycott, saying “Academic boycotts subvert the academic freedoms and values

39 Andrew M. Duehren, “Students Host ‘Die-In’ Outside of Hillel, Protesting Speaker,” The Harvard Crimson, October 16, 2015.
391 Halah Ahmad, “A Die-in for More Human Discourse at Harvard,” The Harvard Crimson, October 23, 2015.

3% Miles J. Herszenhorn, “Protesters Stage Walkout of Event with Israeli Ambassador at Harvard Kennedy School,” The
Harvard Crimson, April 12, 2022.

393 Miles J. Herszenhorn, “Palestinian Advocacy Group Protests Former Israeli Military Official at Harvard Kennedy School,”
The Harvard Crimson, February 2, 2022.

3% Monica M. Dodge, “Barghouti Urges Israel Boycott,” The Harvard Crimson, April 14, 2011.

5% Seresin, “Palestinian Activists Evoke Occupy.”

3% “Dalit Baum,” accessed July 10, 2024. https://afsc.org/author/dalit-baum

397 Seresin, “Palestinian Activists Evoke Occupy.”

38 Thid.

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necessary to the free flow of ideas.”399 Sara Greenberg HBS’15 and HKS’15 and Yoav Schaefer ‘15 urged
Harvard to withdraw from the ASA in response.40° However, Asmaa Rimawi ‘14, chair of the Harvard
PSC, supported the ASA decision, as did Alexander Abbasi, a Harvard Divinity School student, who
argued that the boycott aims to “redress the injustices that face Palestinians.”401

Divestment Campaign Calls for divestment from Israel and Israel-affiliated businesses also continued over
the decade. Calling the situation “apartheid” and concluding that divestment was “probably the least radical
cause in the world,” Matthew B. McDole ‘18 wrote: “T used to find that word radical, but after visiting the
West Bank and seeing the reality with my own eyes, it seems like a more than fair description for a half-
century of occupation under these conditions.”402 A significant turning point was the establishment of
HOOP in 2020, with the stated goal of pressuring Harvard to disclose and divest investments in companies
connected to Israel’s presence in the Palestinian territories.403 At one of their protests at Harvard Yard,
which drew over 200 people, Malaika K. Tapper ‘23 and Nadine S. Bahour ‘22 read from a letter criticizing
Harvard for being “complicit” in supporting Israel.44

Some countered that divestment tactics were counterproductive. Gregory A. Briker ‘17 argued that the BDS
movement “impedes meaningful dialogue” and is “an abhorrent tactic.” For Briker, BDS “simultaneously
groups all supporters of Israel together and rejects the fundamental legitimacy of their convictions.” It also
“places the onus of solving the Israeli-Palestinian conflict entirely on Israel’s shoulders,” without any attribution
of responsibility to Palestinians. BDS’ goal, Briker stated, is to “destroy Israel as a Jewish state.”405

The One-State Conference Many of the ideas raised in the debates about soda water, hummus, trips to
Israel, and BDS received in-depth attention at the One-State Conference, held at HKS in March 2012.
The conference was organized by several Harvard student groups, including Justice for Palestine, the PSC,
the Palestine Caucus, the Arab Caucus, and the Progressive Caucus. Ahmed Moor, an HKS student and
organizer, said the aim was to “consider alternatives ... that would achieve peace based on justice and
equality for all.” A more militant stand was taken by undergraduate students Eliza M. Nguyen ‘14, Lena
K. Awwad ‘13, and A.M. candidate Alex R. Shams, who placed the conference’s purview directly in the
shadow of South Africa under apartheid:

In the 1990s, White South Africans realized that they could not continue to control the indigenous
people and dispossess them of their land against their will. Instead, they dismantled the system of
apartheid and agreed to live as a minority with equal rights in a land that both they and South
Africa’s other minorities considered their homeland. Numerous veterans of the anti-apartheid
movement in South Africa, including Bishop Desmond M. Tutu, have visited Palestine and made it
clear that Israel's system is in fact “worse than apartheid” as it existed in South Africa.406

The conference created a storm of controversy before it was even held. A petition signed by over 2,000
people stated that the conference manifested “new antisemitism” and asked Harvard to withdraw financial
support. The petition called on the University to prevent the conference from using University facilities

3° Matthew Q. Clarida and Amna H. Hasmi, “Faust Condemns Academic Group’s Boycott of Israeli Institutions,” The
Harvard Crimson, December 24, 2013.

40 Sara K. Greenberg and Yoav Schaefer, “Boycott the ASA, Not Israel,” The Harvard Crimson, February 3, 2014.

401 Alexander Abbasi, Giacomo Bagarella, and Asmaa Rimawi, “A Just Boycott for Palestinian Rights,” The Harvard Crimson,
January 21 2014.

402 Matthew B. McDole, “The Least Radical Cause in the World,” Tée Harvard Crimson, June 15, 2017.

403 Tsselbacher and Su, “Harvard Out of Occupied Palestine Holds Inaugural Event, Invites BDS Founder.”

“* Thid.

“> Gregory A. Briker, “Dialogue Over Divestment,” The Harvard Crimson, April 10, 2014.

406 A corrigendum clarifies that Tutu “cannot be found on record stating this” and corrects other factual errors stated in this
op-ed. Lena K. Awwad, Eliza M. Nguyen, and Alex R. Shams, “Fighting Apartheid with Equality,” The Harvard Crimson,
February 27, 2012.

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and remove Harvard logos from its website. Gabriel M. Scheinmann ‘08, one of the petition creators, said
“People have a right to free expression. However, they do not have the right to do so using others’ financial
resources.”407 In response to the petition, the Carr Center for Human Rights Policy and Weatherhead
Center for International Affairs removed their logos from the website. A disclaimer was also added stating
the conference views did not represent Harvard’s.408 Joshua B. Lipson ‘14, co-president of Harvard
Students for Israel, agreed with objections in principle but did not sign the petition. He said “Ideally this
discussion would not be held at Harvard. However, Harvard supports free expression for all student
groups, even those with views some find objectionable or misinformed.” Lipson felt calling to revoke the
University’s provision of space was an extreme measure.409

Outside commentators also opined. US Senator Scott Brown called on Harvard to cancel the
conference,*!° and Dan Diker, Secretary General of the World Jewish Congress, condemned it, arguing
that any one-state scenario effectively meant the destruction of Israel as a Jewish state.4!! However, in an
editorial called “Deeply Wrong, But Not Anti-Semitic”, the Crimson argued that charges of antisemitism
went too far and defended the event's right to be held at Harvard. Opting for a more restrictive definition
of antisemitism, the editorial board wrote:

To call this conference, as the petition does, a forum for “one of the most ancient forms of racial
hatred,” is unwarranted and counterproductive. Allegations like these simply serve to stymie serious
public discourse on the Israeli-Palestinian conflict. There is no evidence that the discussion at this
conference expresses antipathy towards Jews as a people, which is the definition of anti-Semitism.
There is definitely a line to be drawn regarding such sentiments, and we do not believe that this
conference crosses it.*!

The Crimson also objected to the rhetoric in Awwad, Nguyen, and Shams’s earlier op-ed, comparing Israel to
Apartheid South Africa: “Aside from its dishonesty, this kind of sophistry is deeply unproductive and fosters
neither normalization nor dialogue between the two sides; indeed, it promotes mistrust and retrenchment.”4!3

Representatives of the Progressive Jewish Alliance, Sandra Y. L. Korn ‘14414 and Emily S. Unger ‘13,
while supportive of the conference as a platform to raise the issue of equality and justice in Israel/Palestine,
expressed concern about “some of the extreme rhetoric that it has triggered”:

While we would love to see a peaceful and egalitarian one-state solution to the Israeli-Palestinian
conflict, we think it only practical to continue working toward a two-state solution. It is unfair to ask
the Israelis and Palestinians who dream of having their own ethnic nation-states to give up these
aspirations without demanding the same of every country in the world. While we theoretically

“7 Aisling H. Crane and Melanie Guzman, “Students and Alumni Protest HKS Conference on Israeli-Palestinian Conflict,”
The Harvard Crimson, February 28, 2012.

#8 Crane and Guzman, “Students and Alumni Protest HKS Conference on Israeli-Palestinian Conflict.”

4 ibid.

410 Noah Bierman, “Scott Brown calls on Harvard to cancel ‘one state’ conference,” The Boston Globe, March 2, 2012.
https://www.bostonglobe.com/news/politics/2012/03/02/F e6zeyveyr2vn Ve7sit6sM/story.html?p1=BGSearch_Advanced_Results
“1 Dan Diker, “Laundering anti-Semitism at Harvard,” The Jerusalem Post, February 29, 2012.
hetps://vww.jpost.com/opinion/op-ed-contributors/laundering-anti-semitism-at-harvard

422 The Crimson Staff, “Deeply Wrong, But Not Anti-Semitic,” The Harvard Crimson, March 2, 2012.

“33 Thid.

“4 Korn would ultimately become a supporter of the BDS movement, and would advocate, as member of Jewish Voice for
Peace’s delegation to the Presbyterian Church’s General Assembly, for divestment of the church from American companies
with ties to Israel. Sandra Korn, “Why I Support Presbyterian Divestment as a Jew,” Tablet, June 19, 2014.
https://www.tabletmag.com/sections/news/articles/why-i-support-presbyterian-divestment~as~a-jew

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admire the ideals of a one-state solution, in practice, a single state seems an ineffective and dangerous
policy solution — and so we cannot endorse or advocate for it in today’s world.”44

As for campus discussions on the topic, they wrote:

No solution to the conflict will be possible unless people engage each other in meaningful dialogue
instead of exchanging insults of “anti-Semitism” and “racism.” Any statement that seeks mainly to
demonize the other side and blame the entire conflict on one group is a step away from peace.*1®

Others lamented the lack of incentive for compromise and moderation in platforms such as this
conference, and the push to take sides rather than find commonialities.4!7

While some viewed the conference as a platform to explore alternative perspectives on achieving justice
and equality, others argued it aimed to deny Jewish self-determination and was thus antisemitic in effect, if
not intent. Significantly, non-Jews on the editorial board of the Crimson took a middle path, challenging
the most extremely pro-Palestinian rhetoric while asking Jews to reconsider their own concepts of what
constitutes offensive speech.

Israeli Apartheid Week

Israeli Apartheid Week (IAW) became a major point of contention regarding what types of speech and
tactics were considered acceptable on campus. Over the years, [AW featured increasingly polarizing
rhetoric and tactics that many Jewish students argued crossed a line. By the late 2010s, the week had
become a difficult time for many Jewish students.

BACKGROUND

From 2013 the PSC hosted Israeli Apartheid Week, aiming to raise awareness about Palestine. [AW
typically included panels, discussions, films, and art installations.418 [AW programming expanded over the
years. In 2019, the week featured a panel on Black-Palestinian solidarity with a talk by Cornel West as well
as displays of art and film.419 IAW went virtual during the COVID-19 pandemic, but in 2023, in-person
events returned, highlighted by speeches by Noam Chomsky and Norman Finkelstein. As usual, an art
installation called the “Wall of Resistance” was displayed, though some Jewish students said they found
phrases used on it to be offensive. Hillel and other groups held counter-programming in response.42° In
2023, the week highlighted interlinks between the Palestinian struggle and other global struggles, and
featured panels on student activism, LGBTQ+ Palestinians, and solidarity with South Africa and Kurdish

groups.42!

THE EVICTION NOTICES

Some of the specific tactics used as part of [AW drew particular controversy. Using fake eviction notices
was one such tactic. Advertising the first Harvard Israeli Apartheid Week, PSC members distributed over

“15 Sandra Y. L. Korn, “Working Toward a Solution,” The Harvard Crimson, March 5, 2012.

416 Korn, “Working Toward a Solution.”

“7 Eric T. Justin, “Iwo Sides, One Waste of Time,” The Harvard Crimson, March 9, 2012.

“18 Grace Lin and Paul D. Tamburro, “Palestine Solidarity Committee Holds ‘Israeli Apartheid Week’,” The Harvard Crimson,
April 16, 2018, 2018. hteps://www.thecrimson.com/article/2018/4/16/Palestine-solidarity-committee-event/

“19 Elizabeth X. Guo and Amanda Y. Su, “Harvard Palestine Solidarity Committee Hosts Israeli Apartheid Week,” The Harvard
Crimson, April 8, 2019. hitps:/Awww.thecrimson.com/article/2019/4/8/palestinian-solidarity-committee-isracli-apartheid~week/
“0 Audrey M. Apollon and Christine Mui, “Palestine Solidarity Committee Hosts Annual Israeli Apartheid Week, Drawing
Backlash from Harvard Hillel,” Tae Harvard Crimson, April 22, 2022. https://www.thecrimson.com/article/2022/4/22/israel-
apartheid-week-2022/

“21 J. Sellers Hill and Nia L. Orakwue, “Harvard College Palestine Solidarity Committee Hosts Annual Israeli Apartheid Week,”
The Harvard Crimson, March 31 2023. https:/Awww.thecrimson.comy/article/2023/3/31 /isracl-apartheid-week-2023/

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1,000 mock eviction notices on dormitory doors across campus in March 2013. The notices, which were
posted to publicize Israeli Apartheid Week, informed residents that their rooms were “scheduled for
demolition in the next three days.” This referenced the demolitions of Palestinian homes that occur in the
West Bank and Gaza Strip.42?

EVICTION NOTICE

Pee aL [Ape

Figure 1. Mock eviction flyer posted by PSC on students’ doors in March 2013.
The Harvard Crimson, March 5, 2013.

The mock eviction notices prompted mixed responses from students. Some felt the notices did not
promote constructive debate. Steven J. Tricanowicz ‘13 said in an interview that he believed the PSC “did
a very bad job” of promoting constructive debate and that the event went “against what Harvard stands for
as a place for open academic dialogue, open thoughts, and open intellectual activity.” He described Israeli
Apartheid Week as an event “that promotes polarization and closed-mindedness.”423 Ariel Rubin ‘13 and
Ariella Rotenberg ‘13 wrote:

As two seniors writing theses on aspects of the Arab-Israeli conflict, we have actively sought out
views that oppose our own and continue to work in an effort to understand contradicting narratives
... We realize the importance of employing a framework that engages with multiple perspectives.
There are limits to this framework, however, when words are based in hatred rather than facts. The
Palestinian Solidarity Committee has reached this limit in its portrayals of the conflict as one-sided,
revealing either a lack of understanding of history or rejection of an honest, albeit challenging,
conversation about the complicated reality. The PSC’s use of the word “apartheid” is ahistorical,
polarizing, and preventative of informed, fact-based dialogue. The implication of the comparison to
“apartheid” is that the Israelis are racist totalitarians ruling over blameless Palestinians, with no
consideration for the nuances and details of the conflict.”

“2 Anneli L.'Tostar, “Mock Eviction Flyers Incite Debate,” The Harvard Crimson, March 5, 2013.

“3 Thid.

“4 Ariella Rotenberg and Ariel Rubin, “The Wrong Type of Engagement,” The Harvard Crimson, March 9, 2013.
https://www.thecrimson.com/article/2013/3/9/israel-apartheid-week/

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However, other students voiced support for the PSC’s right to raise awareness about their events. When
some notices were torn down, PSC organizer Yacoub H. Kureh ‘13 expressed dismay in an email to the
Quincy House list.425 PSC member Alexander R. Shams said organizers “weren't too worried [about
offending people] because the kind of events we're hosting are the reality in Palestine.”426

As in the case of the One-State Conference, actors outside of the University stepped in. The Anti-
Defamation League said that the notices “crossed the line by causing supporters to feel isolated and
intimidated.” There was also a strong intramural response. The Crimson criticized Israeli Apartheid Week
for using tactics that discouraged civil discourse and were unlikely to promote dialogue or peace. It noted
the mock eviction notices taped to dorm doors and the separation wall display on campus may provoke
thought for some, but were also likely to cause a “knee-jerk, negative reaction” from pro-Israel groups. The
editorial also took issue with the analogy of comparing Israel to apartheid South Africa, saying it “ignores
crucial complexities in Israel-Palestine.”427 It concluded that Israeli Apartheid Week does not further

“open, respectful discourse” or constructive dialogue toward peace.428

THE APARTHEID WALL

Starting in 2019, during Israeli Apartheid Week, the Harvard College Palestine Solidarity Committee
(PSC) erected a multi-panel art installation called the Wall of Resistance in Harvard Yard. Installations
featured phrases like “Free Palestine” and references to the BDS movement, as well as a quote from Audre
Lorde that read “I am not free while any woman is unfree, even when her shackles are very different from
my own.” Dalal Hassane ‘26 explained the installation as representing “the apartheid wall that currently
stands in Palestine” and inviting observers to “ask themselves, ‘How does this wall affect Palestinians?
How does this wall affect the people that it was built to oppress?”429 One panel of the installation stated
that “Zionism is Racism Settler Colonialism White Supremacy Apartheid.” Explaining the appeal of this
display, Nadine Bahour drew directly on the concept of intersectionality, linking Palestinian plight with
racial injustice in the United States:

The panels are all very powerful and they really show a lot of solidarity, because they’re not all about
Palestine ... Each one covers a different topic and is trying to show that the Palestinian cause doesn’t
exist in a bubble, but it’s rather very interconnected with our everyday life here in the US.430

Thus, the PSC connected Israel’s separation barrier in the West Bank with the long history of racial
segregation in the United States.

Many Jewish students found the barrier to be a source of both outrage and fear. Hillel’s President at the
time stated the wall was “offensive,” “libelous,” and “beneath the intelligence expected at Harvard.”431
Sarah Bolnick ‘23, co-president of Harvard Israel Initiative, described the installation as “a form of hate

5 Tostar, “Mock Eviction Flyers Incite Debate.”

6 Thid.

“7'The Crimson Staff, “Keeping Us Apart,” The Harvard Crimson, March 8, 2013.
hetps://www.thecrimson.convarticle/2013/3/8/isracl-apaxtheid-notices/. There were additional objections to using the term
“Apartheid. “For example, Marcus B. Montague-Mfuni ‘23, who is from South Africa, wrote an op-ed arguing that the term had a
very different meaning for non-white South Africans due to their experience under apartheid rule. While he acknowledged the
oppressive conditions Palestinians face rise to international legal definitions of apartheid, he argued for preserving the unique
meaning of South African “apartheid,” which represented a specific form of dehumanization and trauma inflicted on generations of
South Africans. At the same time, the author noted that anti-apartheid activism in South Africa inspired the BDS movement in
Palestine. Marcus B. Montague-Mfuri, “Don't Call What Israel is Doing Apartheid,” The Harvard Crimson, June 27, 2021.

“8 Thid.

“29 Hill and Orakwue, “Harvard College Palestine Solidarity Committee Hosts Annual Israeli Apartheid Week.”

459 Apollon and Mui, “Palestine Solidarity Committee Hosts Annual Israeli Apartheid Week, Drawing Backlash from
Harvard Hillel.”

“31 Thid.

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speech.”432 On Hillel’s website students wrote about their reactions to the wall, complaining not only
about the display’s contents but also about a perceived indifference to its impact on them:

PSC’s wall contained blatantly antisemitic rhetoric and imagery. It was not taken down by the
administration and people walked by it for days with little outcry. Hatred towards any group of
people should never tolerated, but when it’s against Jews there is silence. —Jonah ‘24

Every minority group is allowed to define what they consider to be discrimination, but when Jews
deem something antisemitic, people don’t take that seriously. It’s saddening to see all these people
who claim to be antiracist and anti-discrimination dictating to us when we are and aren’t justified in

feeling victimized. —Michael ‘23

Slogans like “Zionism is White Supremacy” serve to erase the identities and experiences of the
millions of Mizrahi Jews, myself included, whose ancestors never set foot in Europe, and for whom

Israel provided a refuge after they were ethnically cleansed from their homes. —Michael ‘23*°

The PSC rejected claims that criticism of Israel amounted to antisemitism. IAW organizer Michael A.
Miccioli said, “They’re trying to conflate criticism of the State of Israel with antisemitism. We have Jewish
members in our organization. We had Jewish speakers come speak at our events, so I don’t think that their
response has been very convincing.”434 The presence of Jews in pro-Palestinian circles at Harvard would in
time become an increasingly important defense against charges of antisemitism by pro-Israel activists at

Harvard and beyond.
The Crimson’s Endorsement of BDS

After 2020, the Crimson’s stance on issues relating to the Israel and Palestine changed dramatically. Its
previous measured criticism of Israeli policies and support for wide-ranging debate transformed into an
unambiguous endorsement of BDS and Palestinian liberation.

In early 2020, the Crimson wrote in support of providing space for discussions of BDS on campus. The
editors saw BDS as an imperfect tool but were sympathetic with the struggle for Palestinian rights. The
Crimson editors wrote that circumstances in Israel and the Occupied Territories had changed since their
predecessors came out against divestment strategies in 2002.435 In the same editorial, the board
condemned antisemitism while asserting that “blanket accusations of anti-Semitism towards BDS
supporters are inappropriate and counterproductive.” They acknowledged that comments at a HOOP
event from BDS founder Omar Barghouti “could understandably make Jewish students uncomfortable.”
The board endorsed a boycott of products from West Bank settlements but said that portraying either side
as wholly “evil” was unproductive.436

On April 29, 2022, the day after Israel’s Holocaust Remembrance Day, the Crimson went a step further
and announced unambiguous support for Palestinian liberation and endorsement of the BDS movement
against Israel. It stated that “support for Palestinian liberation is not antisemitic” and that the Board
opposed antisemitism “in every form.” However, the editorial endorsed BDS’s calls for ending the
occupation of territories captured in 1967, upholding Palestinian refugees’ right of return, and ending what

432 Thid.

483 “What The Wall Means To Me: Reflections on the Palestine Solidarity Committee’s ‘Wall of Resistance’,” Harvard Hillel.
hetps://hillel harvard.edu/what-wall-means-me

“5 Apollon and Mui, “Palestine Solidarity Committee Hosts Annual Israeli Apartheid Week, Drawing Backlash from
Harvard Hillel.”

435 The Crimson Editorial Board, “A Place for Discussing BDS on Campus,” The Harvard Crimson, February 28, 2020.

436 Thid.

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some BDS supporters called Israel’s “regime of Jewish supremacy.”437 The board maintained that calls for
divestment were not attempts to politicize institutions but rather to rectify past decisions to invest in

companies complicit in human rights abuses towards Palestinians. It concluded that as a board, it was
“«
proud to

finally lend our support to both Palestinian liberation and BDS.”438

The Crimson editorial prompted widespread criticism from members of the Harvard community. At a
meeting of the Faculty of Arts and Sciences (FAS), government department professor Eric M. Nelson ‘99
directly questioned President Lawrence S$. Bacow about “the eruption of antisemitism on campus.”
Professor Nelson cited the Crimson editorial alongside the Israeli Apartheid Week mural, and a swastika
symbol that had appeared in Currier House.439 President Bacow declined to comment directly on the
editorial itself in response and affirmed the Crimson’s editorial independence. Nonetheless, he said that
“any suggestion of targeting or boycotting a particular group because of disagreements over the policies

pursued by their governments is antithetical to what we stand for as a university." Other faculty were
much more outspoken. Psychology professor Steven A. Pinker and Lawrence H. Summers were among a

grou of high-profile academics who signed a faculty petition denouncing the editorial.441 Alan
ershowitz argued that the editorial applied a “double standard” by singling out Israel while ignoring “the
many Israeli children, women who have been murdered by Palestinian terrorists.” He argued that

publishing it risked normalizing growing antisemitism on college campuses.“42

The editorial also received significant criticism from Harvard alumni. Ira E. Stoll 94, a former Crimson
president, wrote that the editorial’s call for a boycott of Israel singled it out from all other countries in a
way that was “profoundly disappointing.” He wrote that the editorial contradicted “every important

Harvard, journalistic and human value.”443 Another letter signed by six alumni including former Crimson
president Michael J. Abramowitz ‘85 criticized the editorial for endorsing a movement that was “not a
solution to the Israeli-Palestinian conflict.” They argued BDS aims to eliminate Israel entirely rather than
achieve a two-state solution. The letter stated the editorial betrayed “its basic journalistic responsibility to

ground arguments in facts.”444

Hillel President and Crimson affiliate Natalie L. Kahn ‘23 also authored an op-ed saying she “stood with
Israel.” She argued that the editorial unfairly singled out Israel by not mentioning terrorist threats it faced,

or peace offers rejected by Palestinian leadership. With regards to the BDS movement's intentions, she

te:
"BDS founders aim to eliminate Israel entirely. If you doubt me, ask its founders: “Definitely, most
definitely, we oppose a Jewish state in any part of Palestine,” said co-founder Omar Barghouti, who
also declared that Palestinians have a right to “resistance by any means, including armed resistance.”"“*

437 "The Crimson Editorial Board, “In Support of Boycott, Divest, Sanctions and a Free Palestine,” The Harvard Crimson, April
29, 2022.

438 Thid.

439 Vivi E. Lu and Leah J. Teichholtz, “The Crimson Faces Backlash Over Editorial Endorsing BDS Movement,” The Harvard
Crimson, May 9, 2022.

© Thid.

“41 Thid.

“® Alan M. Dershowitz, “Letter to the Editor: Editorial Normalizes Growing Campus Anti-Semitism,” The Harvard
Crimson, May 6, 2022.

“8 Tra E. Stoll, “To the Editor: In Response to ‘In Support of Boycott, Divest, Sanctions and a Free Palestine’,” The Harvard
Crimson, May 4, 2022.

444 Michael J. Abramowitz et al., “To the Editor: From Six Crimson Alumni In Regard to BDS,” The Harvard Crimson, May 9,
2022.

“5 Natalie L. Kahn, “I Am a Crimson Editor and I Stand with Israel,” The Harvard Crimson, May 4, 2022.

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Following the publication of the editorial, some members of the newspaper’s editorial board faced a
significant amount of online doxxing, harassment, and threats.446 As a result, the Crimson’s leadership
“erase[ed] the names of Editorial editors who simply did not want to continue their affiliation at such high
risk of harassment.”447 The University felt it was necessary to increase the Harvard Police’s security
presence to protect the newspaper's staff — “a sickening, jarring development.”448

The editorial also received support. Daniel A. Swanson ‘74, a former president of the Crimson, applauded
the editorial, saying it took “tremendous courage” and that he supported BDS.“49 Nadine S. Bahour ‘22
wrote that she was “proud to be at Harvard during this time” and felt that for the first time, Palestinians’
voices were being heard on campus and that the Crimson board had offered “a defiant recognition of
Israel’s crimes against humanity.”450

Over the course of the decade, discussions around Israel and Palestine at Harvard grew ever more
polarized, confrontational, and divisive. Disagreements intensified around how to define antisemitism,
determine what speech or tactics crossed lines, and weigh minority groups’ perspectives on offense. As
activism targeting Israel gained acceptance and the Crimson endorsed BDS, pro-Israel students felt further
alienated and claims of antisemitism proliferated. By the late 2010s, campus debates had descended into
personal attacks, with little consensus on basic facts or terms, demonstrating the challenges of navigating
these complex issues in a way that is respectful to all communities.

The Progressive Jewish Alliance and Open Hillel

This decade also saw clashes within the Jewish community over the limits of debate at Harvard Hillel.
Hillel had a history of internecine conflict. A Jewish student active at Hillel in this time period reported in
an interview:

Where the Israel stuff really felt intense, was actually inside Hillel. There was an extremely intense
debate inside Hillel about Israel and about Israel politics ... Hillel had an open listserv, you know,
discussion listserv. And there would be these just endless ... debates, the tone of which was just
appalling, which were about American politics, but also about Israel politics, and ... that’s where I
felt a tension about Israel politics was actually within the Hillel community, not between Jews and
the outside ... It was a bitter and unpleasant debate. I mean, people were like, angry at each other.**!

Tensions rose in the 2010s around the Progressive Jewish Alliance (PJA) and the Open Hillel campaign,
which wanted Hillel to allow for a greater range of critical voices on Israel.45* The PJA had been active at
Hillel over a range of issues including LGBTQ+ inclusion, environmental justice, and labor rights. The
group joined Hillel for Israel-related activities, such as the annual Israel Fest. PJA also spoke out alongside
Hillel members when antisemitic events occurred on campus, as when a swastika appeared in 2013 ona
Harvard building.**°

Despite these areas of accord, in 2012 Hillel and PJA parted ways when PJA planned an event called
“Jewish Voices Against the Occupation” to be co-sponsored with the Harvard College PSC. Due to

“© The Crimson Editorial Board, “The Cost of Free Speech: On Wellesley, Palestine, and Student Journalist Solidarity,” The
Harvard Crimson, November 2, 2022. https://www.thecrimson.com/article/2022/11/2/editorial-wellesley-bds/

“7 Thid.

“48 Thid.

“” Dan Swanson, “To the Editor: In Support of the BDS Editorial,” The Harvard Crimson, May 6, 2022.

450 Nadine S. Bahour, “I Am Palestinian and I Stand With The Crimson,” The Harvard Crimson, May 11 2022.

451 Interview with Shai Dromi, 7/16/2024.

452 Yoav B.G. Schaefer, “Changing the Paradigm,” The Harvard Crimson, March 12, 2013.

453 Hana N. Rouse, “Swastika Graffiti Prompts Condemnation from Faith Leaders,” The Harvard Crimson 2011.
https://www.thecrimson.com/article/2011/12/20/eraffiti-swastika-building-hateful/

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pressure from Hillel International over the PSC’s support for BDS, the event was not held at Hillel.454
Hillel International’s “Guidelines for Campus Israel Activities,” created in 2010, stated that Hillel may not
“partner with, house, or host organizations that ... support boycott of, divestment from, or sanctions ...
against the State of Israel.” As a result, during a visit to Harvard by Avraham Burg, former speaker of the
Israeli Parliament, in 2013, students met him over dinner at Hillel but then walked over to Quincy House
for Mr. Burg’s speech, since the event was co-sponsored by the PSC, which endorsed BDS.455

In response to these incidents, the PJA and students from other colleges and universities launched the
Open Hillel movement in 2013,45° petitioning Hillel International to “abolish its Standards of Partnership
and embrace political pluralism and open dialogue.”457 Open Hillel supporters saw the standards as
limiting meaningful engagement and debate regarding Israel-Palestine. Swarthmore Hillel became the
first “Open Hillel’ in 2013, officially welcoming speakers who oppose Israel, going against Hillel
International’s rules.458

Debates around these issues continued at Harvard. In 2014, Ann H. Finkel ‘15, Nancy Ko ‘17 and Justin
Z. Szasz ‘17 wrote an op-ed announcing an Open Hillel conference at Harvard to bring together 300
students from across the country “to create the open American Jewish community that we want to see.”
They felt Hillel’s standards precluded “any meaningful engagement between Jewish and Palestinian
student groups.”459 Conversely, Aaron J. Miller ‘18 argued in another 2014 op-ed that “Hillel is already
open” and facilitates diverse programming and viewpoints. Miller felt that groups like PSC advocating
BDS “pose existential threats to the state” and that Hillel has a “responsibility to maintain its integrity as a
center for Jewish life.”46°

The 2020 formation of the Harvard Jewish Coalition for Peace continued the ongoing discussions around
Israel and Palestine within Harvard Hillel. According to its statement, the coalition aimed to “build on a
long history of Jewish anti-Zionism which teaches us that Jewish safety or liberation will never come at the
expense of other people’s lives and land.”46! The coalition said it hoped to offer “a space for those who agree
with its mission and have felt ‘alienated’ by Harvard Hillel.” Hillel President Rebecca S. Araten ‘22

emphasized Hillel’s commitment to “inclusive, multi-vocal conversation about Israel” and representing “a
diversity of voices and political opinions.” Some Jewish students, like Caleb J. Esrig ‘20, criticized the timing

454 Sasha Johnson-Freyd, Rachel J. Sandalow-Ash, and Emily S. Unger, “An Open Hillel,” The Harvard Crimson, November 16,
2012; Giacomo Bagarella and Alex R. Shams, “Rising Palestinian Resistance,” The Harvard Crimson, November 26, 2012.

“55 Laurie Goodstein, “Members of Jewish Student Group Test Permissible Discussion on Israel,” The New York Times,
December 28, 2013. https://www.nytimes.com/2013/12/29/us/members-of-jewish-student-group-test-permissible-
discussion-on~israel. html. This came alongside more general calls to expand discussions on Israel within the Jewish
community. For example, a 2013 op-ed by Yoav B.G. Schaefer ‘15 called for a “new paradigm” in supporting Israel among
American Jews. Schaefer wrote that some progressive Jews were becoming more critical due to Israel’s rightward shift and
policies like settlement growth, which they saw as undermining peace efforts. The author argued the Jewish community
should engage with such viewpoints rather than push them away. Schaefer, “Changing the Paradigm.”

456 “Press Release: PJA Launches Open Hillel Campaign,” Harvard College Progressive Jewish Alliance, January 31, 2013.
http://harvardpja.blogspot.com/2013/01/press-release-pja~ ~open-bi

457 Ann H. Finkel and Justin Z. Szasz, “The Time is Now: Open Hillel,” The Harvard Crimson, October 10, 2014.

458 Goodstein, “Members of Jewish Student Group Test Permissible Discussion on Israel.” Swarthmore Hillel changed its
name in 2015 to avoid a Hillel International lawsuit over its change of policy. Elizabeth Redden, “Not In Our Name,” Inside
Higher Ed, March 17, 2015. https://www.insidebighered.com/news/2015/03/18/swarthmore-hillel-breake-parent-
organization-over-isracl~issues

4°? Finkel and Szasz, “The Time is Now: Open Hillel.”

469 Aaron J. Miller, “Hillel’s Already Open,” The Harvard Crimson, October 15, 2014.

461 Juliet E. Isselbacher and Amanda Y. Su, “Amid Criticism, Jewish Harvard Students Create Pro-Palestinian Rights Group,” The
Harvard Crimson, February 11 2020. https:/Awww.thecrimson.com/article/2020/2/11/jewish-coalition-for-peace/

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of the coalition’s announcement over Hillel’s open listserv on Shabbat and disagreed with their support for
BDS, saying “BDS is not about human rights or social justice ... It is about ending the Jewish state.”462

Ever since the 1940s, Hillel has played an important community role for many Jewish students, but during
the 2000s it struggled to accommodate the full diversity of political views around Israel among Harvard’s
Jewish students. A thesis based on interviews carried out in late 2022 and early 2023 found that
approximately one-third of interviewees described feelings of discomfort at Hillel due to their beliefs
related to Israel. Progressive Jewish students felt pressure in two directions — not to express pro-Israel
views in progressive spaces on campus, but also to hold back from sharply criticizing Israel within Hillel.
While Hillel claimed it represented a range of voices, some felt it had a disproportionately strong pro-
Israel bent that left certain students feeling alienated from fully engaging in the community. Ongoing
discussions within Hillel around events, partnerships with other groups, and responses to campus incidents
revealed differences of opinion among students about the best approaches for building an inclusive space.

Heightened Challenges to Meaningful Dialogue

Discussions of Israel-Palestine at Harvard faced growing obstacles over the 2010s. Nonetheless, some
initiatives and groups continued to seek opportunities for engagement, both over Israel-Palestine and,
more generally, interfaith issues. Examples include:

e Sukkat Salaam: The intent of the organizers of Sukkat Salaam was to “foster interfaith understanding
while celebrating the end of Ramadan ... and the start of Sukkot.” The event featured a kosher meal
shared by students from Hillel and the Harvard Islamic Society in the sukkah structure and included
“cultural performances, readings from religious texts, and discussion.463 Over the years, the event
evolved to incorporate more substantive dialogue based on passages from the Koran and Psalms and
questions for discussion between students.464

«

here, without”: Ethan Pierce ‘15 organized this year-long collaborative art project to explore narratives
and tensions related to the region through workshops and exhibitions involving Harvard students and
artists from the region. The goal was to foster discussion of contentious issues “in an ‘alternative
discursive space” at Harvard. The final exhibition for the project was held at the Carpenter Center for
the Visual Arts on May 4, 2015. It showcased works produced by the 35 participating “artist-residents”
exploring life in the Middle East through varied creative media. English concentrator Josh Ascherman
‘17 contributed a mixed-media collage, and dancer Rossi Lamont Walter, Jr. ‘14 shared a poetic essay.
Pierce saw the project as fostering “personal exploration and personal growth” for participants in
addition to creating “an alternative discursive space at Harvard.”465

e The Coalition at Harvard for Israel and Palestine (CHIP): This group was founded by Jacob Fortinsky
‘21 and others with the goal of promoting “a two-state solution, justice for Israelis and Palestinians,
and a more nuanced discussion that acknowledges both sides’ narratives on campus.” CHIP is aligned
with J Street U, the student organizing arm of J Street, a left-wing Israel advocacy organization.46©
Joshua B. Lipson ‘14 had previously advocated for J Street on campus after feeling pushed into being

46 Tsselbacher and Su, “Amid Criticism, Jewish Harvard Students Create Pro-Palestinian Rights Group.”

463 Jane Seo, “Students Celebrate Sukkat Salaam at Hillel,” The Harvard Crimson, September 28, 2010.

464 Katie R. Zavadski, “Muslims, Jews Eat in ‘Shelter of Peace’,” The Harvard Crimson, October 18, 2011.

465 Elizabeth Keto, “here, without’ Explores Israel-Palestine Relations Through Art.” The Harvard Crimson, April 28, 2015.
https://www.thecrimson.com/article/2015/4/28/here-without/

“66 J Street U aims to provide “a home for students to hold nuanced views without compromising their pro-Israel values” by
“educating, training, and mobilizing students” “J Street U,” J Street. https://jsteeet.org/j-street-u/. Hillel had previously held J
Street events, but did not have aJ Street U chapter. See Molly E. Kelly, “Hillel Event Bridges Israeli-Palestinian Gap,” The
Harvard Crimson, April 13, 2010.

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labeled an “Israel advocate” or “hasbarist [propagandist]-in-training” in his previous involvement with
HSI. For Lipson, such labels did not fully capture a more nuanced and pragmatic views in support of a
two-state solution, which drew him to J Street as a home for students who want to support Israel but
also recognize Palestinian rights and interests.467 Caleb Esrig ‘20 and Fortinsky published an op-ed in
the Crimson expressing their belief that “the cause of peace requires this mutual understanding,” while
criticizing PSC-organized events like Israeli Apartheid Week that they felt failed to recognize the
legitimacy of the other group’s narrative. They wrote, “the cause of peace requires recognizing the
Jewish narrative. It demands understanding that Israel is not an abstract idea but a real refuge.”468

These initiatives encountered stiff headwinds. Over the 2010s, multiple outbursts of violence between
Israel and the Hamas ruling regime in Gaza strengthened student support for the Palestinian cause. In the
wake of violence in Gaza and Israel in Spring 2021, over 900 individuals and 92 student groups co-
sponsored a statement calling on Harvard to divest from companies complicit in Israeli violence and
settlements.469 In a 2021 op-ed titled “Progressive, Except for Palestine,” Asmer A. Safi ‘24 argued that
the violence faced by Palestinians, including the killing of over 250 people in Gaza that spring, was the
work of an “apartheid regime” practicing “systemic violence and dispossession” against Palestinians by
Israel. Safi insisted that as students at Harvard with a duty to foster justice, “it is unjust of us to turn a
blind eye towards incessant violence that has targeted innocents across generations.”47° In September 2023,
as in previous years, the Convocation ceremony for first-year undergraduate students was disrupted by
PSC members calling for Harvard to divest from and otherwise boycott Israel.

In this climate, attempts at conversation between the opposing sides on campus became increasingly
challenging, as demonstrated by PSC’s campaign against Israel Trek, which was discussed above. Trek
leaders argued that they were supportive of dialogue with PSC and other pro-Palestinian groups on
campus, but the PSC rejected the invitation.47! Nadine Bahour of the PSC explained: “Israel Trek leaders
refuse to admit that the reality on the ground is ethnic cleansing, is apartheid, and is directly killing people
... These are some very basic understandings that need to be agreed on before any sort of conversation
happens.”472 Conversations, in her view, were impossible when there was an unequal power dynamic at
work: “J think when you have someone who served in the [IDF] military that was the oppressor when I
was back home and I was standing on the checkpoint, that means that when they come here, we are not
just two students.”473

By 2023, some Jewish students had come to the conviction that conversations about Israel on campus led
to a dead end and quickly descended into slogans. As a result, some Jewish students began to avoid
engaging in discussions about Israel/Palestine in an attempt to prevent heated and divisive arguments.474

In the early 2020s, Israel/Palestine was inserted into controversies that ostensibly had nothing to do with
it. In 2021, HDS and AAAS Professor of the Practice Cornel West claimed that the University denied his
request for a tenured position due to his vocal criticism of Israel’s treatment of Palestinians. He stated, “I
do think the support of this critique of Israeli occupation is a plausible hypothesis, given what I know

467 Joshua B. Lipson, “Why J Street?,” The Harvard Crimson, April 8, 2013.

468 Caleb J. Esrig and Jacob A. Fortinsky, “Silent No Longer,” The Harvard Crimson, April 5, 2019.
hetps://www.thecrimson.com/article/2019/4/5/esrig-fortinsky-silent-no-longer/

469 “Statement by Palestine Student Groups at Harvard University on Violence Against Palestinians,” updated May 12, 2021.
hetps://docs.google.com/document/d/INtNoEeGoHUFPhU] xhw0 EX) TpCon9f bXex3YbVYU/edit

4 Asmer A. Safi, “Progressive, Except for Palestine,” The Harvard Crimson, June 24, 2021.

4” Thid

4” Thid

43 Thid

4” Thid, 73-77.

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about earlier candidates who have been denied.”475 (West had already been embroiled in accusations of
antisemitism after calling President Summers a bully and “the Ariel Sharon of American higher education”
in 2002).476 Hillel Executive Director Jonah Steinberg criticized West as well as a student petition
supporting West.477 West defended his belief, saying that he “will not allow charges of anti-Semitism to
somehow trump a serious discussion about the Israeli-Palestinian situation.”478 Jeremy Stepansky ‘21 —a
member of the coalition that drafted the petition — defended the document and referred to what the
coalition of West supporters understood to be the underlying issue at play: Harvard’s treatment of Black
scholars and academics who are critical of Israel’s treatment of Palestinians.”479

The Cornel West affair, like the SodaStream and Sabra hummus controversies before it, demonstrate how
the Israeli-Palestinian conflict began to penetrate into the nooks and crannies of everyday life at Harvard,
from the food and beverages consumed in the dining halls to the basic operational matters of hiring,
tenure, and promotion. In this atmosphere, Jewish students felt growing unease, not only because of their
religious or personal connections with Israel, but also because of the potential for critique of Israel to jump
its banks and manifest itself as outright antisemitism.

Continuing Experiences of Antisemitism

Over the 2010s, Jewish students at Harvard experienced and reflected on antisemitism as they had not in
previous decades. In 2012, three Jewish students wrote an opinion piece for the Crimson discussing the
“history of persecution faced by Jews globally” and arguing that Israel provides “a haven for the most
persecuted population in human history.”48° After the 2018 Tree of Life synagogue shooting in
Pittsburgh, some at Harvard called for “more recognition of antisemitism on campus.” David J. Benger
argued in the Crimson that Harvard should formally adopt the definition of antisemitism endorsed by
International Holocaust Remembrance Alliance (IHRA).*8! In response to student concerns, Hillel
hosted an event where Professor Jay Harris explored how antisemitism targeted Jews “from both political
extremes.” Undergraduate president Corey A. Gold ‘19 said it aimed to help understand antisemitism’s
rising prevalence.482

Additionally, the Harvard community experienced a wide range of antisemitic incidents ostensibly
unrelated to Israel-Palestine:

e In 2010, the Westboro Baptist Church, known for anti-gay protests, planned to picket outside
Harvard Hillel on December 3, to protest Jews as the killers of Jesus. In response, student groups
organized a “Surprise Absurdity Protest”; around 200-300 counter-protesters gathered at Hillel with
“whimsical” signs saying things like “God hates figs.” ‘The Westboro protesters ultimately stayed for
only a short time. Lilli R. Margolin ‘11, Hillel’s vice-president for community relations, said that the
counter-protest “really outshone them.”483

4 Alex Koller and Taylor C. Peterman, “Harvard Hillel Executive Director Accuses Cornel West, Supporters of Furthering
‘Anti-Jewish Conspiracy Theory’ in Tenure Controversy,” The Harvard Crimson, March 11 2021.

476 Anemona Hartocollis, “Cornel West Is in a Fight With Harvard, Again,” The New York Times, March 2, 2021.
hetps://www.nytimes.com/2021/03/02/us/cormel-west~harvard-tenure.homl

477 Koller and Peterman, “Harvard Hillel Executive Director Accuses Cornel West, Supporters of Furthering ‘Anti-Jewish
Conspiracy Theory’ in Tenure Controversy.”

478 Thid.

“? Thid.

480 Anna V. Gommerstadt, Yair Rosenberg, and Rachel E. Zax, “To Save The Jews,” The Harvard Crimson, March 2, 2012.
“8! David J. Benger, “Recognize, Define, and Condemn Anti-Semitism,” The Harvard Crimson, October 31 2018.

48 Tsabel L. Isselbacher, “In Wake of Pittsburgh Shooting, Jay Harris Speaks on Anti-Semitism in the U.S.,” The Harvard
Crimson, November 7, 2018.

“83 Kelly K. W. Lam, “Harvard Students Counter WBC with ‘Absurdity’,” The Harvard Crimson, December 6, 2010.

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e In late November 2012, flyers were distributed under doors at Harvard River Houses promoting a fake
final club called “The Pigeon.” The flyers contained the language “Jews need not apply” and “Coloreds
OK.” They also included a reference to the date-rape drug Rohypnol.484

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Figure 2. Flyer circulated to nine River Houses. The Harvard Crimson, November 30, 2012.

e In November 2013, the Harvard Ichthus, a Christian student journal, published a blog post implying
Jews were responsible for Jesus’ death. The post stated, “We, the Jews, collectively rejected God and
hung Him up on a cross to die, and thus we deserved the punishments that were heaped on our heads
over the last 2000 years.” This blog post faced backlash from the Jewish community.485

e In November 2018, “deeply disturbing and offensive images” were found drawn on a public
whiteboard in McKinlock Hall at Leverett House. A photo sent to the Crimson depicted faces labeled
with racist terms alongside antisemitic comments referring to George Soros and using terms like
“globalists” and “[migrant] caravan.”486

e In the following month, a man toppled over a large menorah erected by Harvard Chabad on
Cambridge Common.487 In response to the incident, dozens of Harvard affiliates and local residents

484 Rebecca D. Robbins, “Campus Reacts To Inflammatory Flyers,” The Harvard Crimson, November 30, 2012.

485 Anneli L. Tostar, “Harvard Christian Publication Apologizes for Blog Post Saying Jews ‘Deserved’ Punishments,” The
Harvard Crimson, November 24, 2013.

486 Shera S. Avi-Yonah and Ruth A. Hailu, “Harvard Administrators Investigating Racist Drawings Found in Leverett
House,” The Harvard Crimson, November 20, 2018.

487 Amanda Y. Su, “Harvard Hillel and Chabad to Increase Security Following Anti-Semitic Attacks,” The Harvard Crimson,
January 7, 2020.

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gathered at the site to light candles on the menorah. Cambridge Mayor Marc C. McGovern spoke
about the incident as “a time in which the fundamental principles of this country have been
challenged.” McGovern honored Pulitzer Prize-winning journalist Ron S. Suskind and others who
had worked to restore the menorah after it was initially knocked over.488

e In May 2019, the Harvard Lampoon published a digitally manipulated image depicting Holocaust
victim Anne Frank, leading students and the Harvard Hillel to condemn the image. The Lampoon
leaders apologized.489

e HUPD investigated a July 2019 email containing racist and antisemitic content that was sent to
Harvard students and President Bacow.490

e In 2021, two incidents of vandalism at Harvard Hillel were reported and investigated by HUPD.#9!

e In November 2022, members of the neo-Nazi group Nationalist Social Club 131 intimidated and
threatened passers-by at Harvard Square.492

Traditional antisemitism based in bigotry, religious hatred, and economic resentment was a marginal, yet
persistent and visible, issue at Harvard. Although probably unrelated to anger over the Israeli-Palestinian
conflict, there was considerable risk for a blending of the two.

Conclusion

An interview-based senior thesis, using 2022-2023 data, found that a significant number of Jewish
students experienced significant levels of discomfort, alienation, and in some cases discrimination in
expressing their Jewish and pro-Israel identities at Harvard University. Specifically:

e 69% of the author’s Harvard student interviewees claimed that at some point their Judaism or
connections to Israel made them censor themselves in academic or social settings.

e 63% said that they or peers they knew had experienced antisemitism at Harvard. Incidents of
antisemitism ranged from microaggressions and stereotyping to outright and intentional
discrimination. This atmosphere led some student reticence to discuss or display their Jewish identity.

e 83% said they experienced anti-Zionism on campus. This rubric included employing the term
“Zionist” as a slur rather than a neutral descriptor. Students felt that a double standard was being
applied, as other countries such as China or Russia could be critiqued without suggesting that they
should not exist as independent states. Pro-Israel students also expressed frustration at organizations

such as the IOP and the Crimson, where they felt singled out and attacked.

e One-third felt uncomfortable expressing their views about Israel. This feeling was shared by students
who spoke critically of Israel at Hillel as well as pro-Israel students elsewhere, as both groups feared
negative social consequences for speaking their mind. Progressive students felt especially pressured not
to express pro-Israel views.

488 Shera S. Avi-Yonah, “After Menorah Knocked Down, Cambridge Residents Gather to Light Hanukkah Candles,” The
Harvard Crimson, December 7, 2018.

48? Shera S. Avi-Yonah and Delano R. Franklin, “Students Criticize Harvard Lampoon for Anti-Semitic Image of Anne
Frank,” The Harvard Crimson, May 15, 2019.

“0 Molly C. McCafferty, “Harvard Police Investigating Racist, Anti-Semitic Email Sent to Students, Bacow,” The Harvard
Crimson, July 19, 2019.

“9! Alex Koller and Taylor C. Peterman, “HUPD Investigating Two Vandalism Incidents at Harvard Hillel Amid Nationwide
Rise in Anti-Semitism,” The Harvard Crimson, June 8, 2021.

4 Sarah Girma and Brandon L. Kingdollar, “Neo-Nazi Group Threatens Residents in Harvard Square,” The Harvard
Crimson, November 16, 2022.

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e Israeli students perceived significant discrimination, social alienation, and personal attacks due to
their nationality.493

These findings align with several developments that this section has highlighted:

e By October 2023, discussions of Israel and Palestine at Harvard had become increasingly divisive. While
some student initiatives continued seeking understanding through dialogue, assertive activism targeting
Israeli activities on campus became more normative. With the growth of stronger pro-Palestinian
position rejecting compromise, pro-Israel students reported feeling further alienated and silenced.

e Akey development was the diminished ability to find common ground or acknowledge opposing
perspectives. As anti-normalization stances discouraged engagement without preconditions, there was
less opportunity and interest in discovering what speech or actions others found offensive and why that
was the case.

e Jewish students described an increased willingness by classmates to discount their own testimony about
offensive speech and to attribute claims of antisemitism to pro-Israel political motivations. Debates
around antisemitism intensified, with multiple parties jewish and non-Jewish) feeling empowered to
make claims about what is, is not, or should not be offensive to Jews. Dismissal of the salience of the
impact of speech as opposed to its intent weakened the legitimacy of Jewish students’ reports about
their own experience. As Eric I. Kalimi ‘26 and Isaac Mansell ‘26 wrote at the end of 2023: “Even
though we feel largely physically safe, we have noticed a disturbing, reductionist narrative at Harvard
and beyond, which unilaterally invalidates the Jewish experience. We have witnessed the denial of
genuine instances of antisemitism, paired with the subsequent invalidation of Jewish reactions and

even emotions. This silencing is something that no group, least of all a historically marginalized group,
should have to face.”494

Progressive Jewish students faced particular challenges in finding a home for their views on campus. While
some felt Hillel did not fully represent the diversity of political opinions around Israel among its members,
progressive forums increasingly adopted stances rejecting compromise that left these students unable to
fully express support for Israel’s existence. As a result, progressive Jews reported pressure not to express
pro-Israel views in progressive spaces, yet also faced obstacles bringing their critical position towards Israeli
policies into Hillel. The lack of outlets accommodating Jews with views straddling the divide served to
further isolate and alienate these students.

During the 15 years prior to October 7, 2023, the political atmosphere at Harvard became gradually but
visibly more polarized. Over the same period, and particularly from the end of the 2010s, Israel/Palestine
became a central issue of concern on campus — at least as great as America’s political dysfunction and the
global climate crisis, and certainly the greatest source of contention and controversy. The “Palestine
exception” that received much attention within the Harvard community was predicated upon an “Israel
exception” that of all states this one’s actions, and perhaps its very existence, represented a distinctly grave
injustice that must be reversed. All of these factors were in play before the Hamas massacre of October 7th
and Israel’s massive military response.

“3 Based on a qualitative methodology of 60 semi-structured interviews with 47 Harvard students. Goldfischer, “The Death
of Discourse: Antisemitism at Harvard College.”

4% Eric I. Kalimi and Isaac Mansell, “The Disturbing Denial of Jewish Grief,” The Harvard Crimson 2023.
https://www.thecrimson.com/article/2023/12/29/kalimi-mansell-jewish-grief/

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Conclusion

The history detailed in this report demonstrates that the current state of Jewish life at Harvard has roots
reaching back to the 1980s. These enduring issues include the challenge of balancing rights of free
expression with protection against hate speech and debates whether Jewish students’ complaints of
antisemitism should be accepted at face value or subject to critical scrutiny. One significant transformation
over time has been a shift in Jewish students’ concerns about their place in the Harvard community. In the
early to mid-20th century, these concerns primarily centered on forms of unvarnished antisemitism such as
discrimination and stereotyping. From the 1960s and 70s, older forms of antisemitism faded, the numbers
of Jewish students at Harvard increased markedly, and Jews began to feel at home within the University.
In the 1980s and 1990s, however, there were signs of new sources of tension — in part having to do with
Israel, and in part linked with Black-Jewish relations, in the United States in general and at Harvard in
particular. These tensions were mild and transient.

After 2000, Israel/Palestine became a central and contentious issue on campus. But in the early 2000s, as
in previous decades, criticism of Israel centered around specific policies, pro-Palestinian students often
called for a two-state solution that recognized Israel’s right to exist, and students with varying viewpoints
on the conflict sought out opportunities to learn about each other via respectful dialogue. Despite some
rough patches, in general the experience of Jewish students at Harvard remained positive for a decade or
more after the turn of the millennium.

The position of Jewish students became more difficult in the 2010s and 20s as encounters between
students with differing perspectives regarding Israel/Palestinian have given way to statements and
manifestos that reject compromise, favor boycotts of Israeli universities, and oppose “normalization” —
that is, interacting publicly, or even privately, with Israelis or those who actively support the Jewish state.
Debates about Israel have questioned Israel’s legitimacy and identity. Challenging Israel’s very existence or
right to self-determination as a Jewish state has made many Jewish students feel that their own identities
are under attack. Even before October 7th, Jewish students who identified both with Israel and with
progressive political and social causes were made to feel uncomfortable or unwelcome in progressive spaces
on campus if they did not embrace anti-Zionism. Also over the last several years, Harvard’s Jewish
community itself has become more divided, with a small but vocal minority defining itself in terms of
support for Palestinian rights.

The Hamas massacre was a massively significant geopolitical event. At Harvard, it accelerated and
intensified longstanding issues on campus, with Jewish students under ever greater challenges to navigate a
landscape where their concerns about discrimination, hate speech, and communal harm are viewed with
decreasing sympathy by many of their peers.

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CHAPTER 2
Historical Context: Harvard Since October 7, 2023

This section narrates the events of the tumultuous period at Harvard from October 7, 2023, to the end of
the Fall 2024 academic term. With the advantage of hindsight, we can better understand now which
events of this period seem to have been the most damaging to our community and hypothesize why that
was the case. That said, this narrative only partially captures the range of student experiences and
perceptions of that period. Chapter 3 tells the story from the point of view shared with us by some of
Harvard’s Jewish students. Chapters 2 and 3 should therefore be read in tandem.

The National Context

Harvard does not dwell in a vacuum. Since October 7, 2023, its turmoil has resembled that experienced by
dozens of other American colleges and universities. Disruptions on campuses, in turn, are reflections of
broader tensions in American society. These tensions are evident in the prevalence of negative views about
Jews. According to the Anti-Defamation League, almost a quarter of Americans subscribe to multiple
negative views about Jews, and young people are even more likely than their elders to hold such views. It is
not surprising then, though deeply regrettable, that antisemitism exists at Harvard and at other colleges
and universities nationwide.495

In September 2024, a report prepared by Eitan Hersh and Dahlia Lyss for the Jim Joseph Foundation
presented data from a series of surveys of American college students conducted between 2022 and 2024.49
The data showed that in 2024, Jewish students reported experiencing targeted antisemitic language on
social media (16%), in campus settings (11%), and in the classroom (8%). When asked if they deliberately
avoid Jews, 4% of White students and almost twice as many Black, Hispanic, and Asian students answered
in the affirmative. When classified by religion, 15% of Muslim students and 5% of Christian students
reported avoiding Jews.

The surveys primarily examined non-Jewish and Jewish students’ attitudes about Israel, particularly
regarding support for its existence as a Jewish state. In late 2023, Jewish students were twice as likely as in
Spring 2022 to say, in the words of Hersh and Lyss, “that they hide their Jewish identity to fit in on
campus, that people judge them negatively for participating in Jewish activities, and that Jewish students
broadly pay a social cost for supporting the existence of Israel as a Jewish state.”497 These perceptions
registered in 2022 and 2023 appear to be corroborated by the 2024 survey, which found that 20% of non-
Jewish students said they would not “want to be friends with someone who supports the existence of Israel
as a Jewish state.” Notably, the figure climbed to 40% among students who identify as “very liberal.”498

According to the surveys, unwillingness to befriend Jewish students who identify with Israel varies
meaningfully by not only political views but also race, ethnicity, sexual orientation, and gender identity.
For instance, while 12% of White students indicated they would not wish to be friends with those who
support Israel, almost twice as many Black students expressed this view. Similar percentages and disparities
characterize the views of straight versus LGBTQ+ students. These figures are largely in keeping with
broader trends in American public opinion. Research by Eitan Hersh and Laura Royden, for example, has

Antisemitic Attitudes in America 2024 (https://www.adl.org/resources/report/antisemitic-attitudes-america-2024).

“6 Eitan Hersh and Dahlia Lyss,A Year of Campus Conflict and Growth: An Over-Time Study of the Impact of the Israel-Hamas
War on U.S. College Students. A Report to the Jim Joseph Foundation (September 2024).

“97 Thid, 4. For Jewish students with “low” Jewish background the percentage climbed from 30 to 55.

“8 Thid, 55-56.

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shown that Black and Hispanic Americans are more likely than White Americans to hold antisemitic
views. This trend does not, however, hold true for White Americans on the far right of the political
spectrum, who hold even higher levels of antisemitism.499

The surveys reveal that most college students are not antisemitic, and to the extent they are, they reflect
American public opinion in general. These findings, however, do not give any college or university a right
to be complacent. Far from it. Colleges, particularly residential ones, are uniquely positioned to combat
antisemitism because of their close-knit communities and intense contact between students and faculty
who have a responsibility to teach and model values embracing pluralism and mutual respect. To the
extent that Harvard has not taken strong and decisive action to combat antisemitism on campus, this
report provides guidance as to what needs to be done. But no treatment plan can proceed without a full
understanding of the gravity and extent of the illness.

There are two other national trends worth mentioning before proceeding to recent events at Harvard. The
first is that while holding views hostile to Israel and holding antisemitic views can overlap, survey data
suggests this to be relatively uncommon. A survey released in August 2024 by the Maurice and Marilyn
Cohen Center at Brandeis University showed that about 15% of American university students held views
hostile to Israel but do not hold negative views about Jews, whereas a similar percentage of students are
antisemitic but do not oppose Israel’s existence. Some 2% of students are both severely antisemitic and
anti-Zionist.5°° These findings suggest that while antisemitism and anti-Zionism overlap, they are not
identical. At Harvard, as elsewhere, some proponents of the Palestinian cause invoke this distinction to
defend their freedom to engage in protest, including engaging in disruptions of campus life. Pro-
Palestinian expression and action do not, however, need to be deemed antisemitic in order to be
considered in violation of Harvard’s stated values, policies, and norms (e.g., regarding the appropriate time,
place, and manner of protest, and prohibiting discrimination against and bullying of individuals based on
their national origin, religious faith, or political beliefs).

The second trend is the diversity of opinion within the Jewish community itself regarding Israel,
suggesting that the conflation of Jewishness with support for Israel should not be taken for granted. The
Hersh and Lyss surveys mentioned above show that between 10 and 18% of Jewish students nationwide
feel that Israel should not be a Jewish state. Understanding the past year at Harvard involves considering
not only the clash of views between students who identify as pro-Palestinian or pro-Israel, but also
divisions within Harvard’s Jewish community itself. Intolerance and exclusion can flourish in intra-
communal as well as inter-communal spaces.

From October 7th to President Gay’s Resignation

Early in the morning on Saturday, October 7, 2023, the Jewish holiday of Simchat Torah, Hamas
guerrillas invaded Israel. They attacked agricultural settlements, army bases, and a music festival close to
the Gaza-Israel border. Hamas guerrillas and other Palestinian militants killed almost 1,200 people and
took around 250 hostages. The attack was designed to exploit social media, with Hamas fighters
livestreaming gruesome and heart-wrenching videos as part of their military strategy. Differing reactions
on the Harvard campus in the first days after the massacre set into motion patterns of behavior —
particularly regarding discourse and activism — that continued for months thereafter.

“ Eitan Hersh and Laura Royden, “Antisemitic Attitudes among Young Black and Hispanic Americans,” The Journal of Race,
Ethnicity, and Politics. 2023;8(1):105-123.

500 Graham Wright, Shahar Hecht, Sasha Volodarsky, and Leonard Saxe, Antisemitism on Campus. Understanding Hostility to
Jews and Israel (August 2024).

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As the horrific news hit, Harvard’s campus witnessed outbursts of grief, horror, fear, anger, and
frustration. More than 100 Jewish and Israeli Harvard students and faculty gathered at Harvard Hillel
(and a few joined virtually through Zoom) on Saturday afternoon to mourn the victims of the attack and
extend support to those directly affected. Harvard Hillel released a statement expressing the pain its
members felt as they learned of the devastating attack and affirming Hillel’s support for the people of
Israel.50! On Sunday, October 8, then-President Claudine Gay and then-Provost Alan Garber went to
Harvard Hillel for dinner, and that same evening more than 200 Harvard affiliates, including President
Gay, Provost Garber, Dean of the Faculty of Arts and Sciences Hopi Hoekstra, and Dean of Harvard
College Rakesh Khurana, joined together for a candlelit vigil.5°

At Cabot House, one of Harvard College’s undergraduate residences, a group of Jewish students organized
an impromptu gathering. There, a moment of connection and mutual sympathy was shared with a
Palestinian student. A quite different reaction, no doubt reflecting anger and indignation, came from the
Harvard Undergraduate Palestine Solidarity Committee (PSC), which on October 7, 2023 released a
statement that held “the Israeli regime entirely responsible for all unfolding violence ... The apartheid
regime is the only one to blame ... We call on the Harvard community to take action to stop the ongoing
annihilation of Palestinians.”5°3 The PSC’s statement was originally co-signed by 33 other Harvard
student organizations, but the number of students represented by those organizations, and who consented
to this message being released on their behalf, is unknown. Many student members of these organizations
would later say they had not been consulted on the statement.

The PSC’s statement — and the student organizations that endorsed it — drew intense criticism from
within Harvard and beyond, including politicians. It caught the Jewish community, both at Harvard and
elsewhere, at a moment of intense emotional vulnerability, as gruesome stories of violence filled their social
media feeds in a way that appeared to intentionally echo the great tragedies of Jewish history, from
pogroms in fin de siécle Russia to the Holocaust. Over 4,000 Harvard affiliates, including over 500 faculty
members, signed on to a statement that condemned the attacks, denounced the PSC’s statement, and
demanded that the organizations that signed onto the statement revoke their signatures.5°4 The Joint
Statement was first circulated on Monday, October 9 and officially released on Tuesday, October 10.
Amid national backlash, the PSC’s original statement was updated on Tuesday afternoon to remove the
names of the signatory organizations.5°5 Before this, at least five of the original 34 student organizations
had withdrawn their endorsements of the statement and released public apologies via Instagram.

Despite the removal of the signatories of the PSC’s statement, individuals and websites continued to
publish the names of affiliated students, sharing some students’ personal information and social media
profiles online, leading to targeting and doxxing of students.5°6 Bill Ackman ‘88, for example, reposted Ian
Bremmer’s X post with a list of student organizations that signed onto the PSC’s October 7, 2023

50. Harvard Hillel (@harvardhillel), “The following statement was drafted and signed by many before University President
Claudine Gay released a statement condemning Hamas’s terror attacks ...”, October 10, 2023.
https://Awww.instagram.corm/p/CyO8daRugRL/Patm_source=ig_web_copy_linké&igsh= MzRIODBINWFIZA percent3D
502 Joyce E. Kim, “Harvard Affiliates Mourn Israeli Victims of Hamas Attacks at Candlelit Vigil,” The Harvard Crimson,
October 10, 2023. https:/Awww.thecrimson.com/article/2023/10/10/hillel-vigil-israel/

503 J. Sellers Hill and Nia L. Orakwue, “Harvard Student Groups Face Intense Backlash for Statement Calling Israel ‘Entirely
Responsible’ for Hamas Attack,” The Harvard Crimson, October 10, 2023.
https://www.thecrimson.com/article/2023/10/10/pse-stat t~backla

50* Google Docs, “Joint Statement on War in Israel,” Accessed March 6, 2025.

hetps://docs.google.com/document/d/1Fg1 FCmé6nulrzUSM00bUx8D6 TUFYY TV woGxWOXLC24/edit?pli=1
percent22+ percentS C&rab=t.0&cusp=embed facebook

565 Thid.

506 “Harvard Students Doxxed, Groups Withdraw Signatures Amid Continued Backlash to Israel Statement,” The Harvard
Crimson, October 11, 2023. https://www.thecrimson.com/article/2023/10/11/student-groups-withdraw-israel-statement/

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statement, expressing hope that employers would take note of these organizations and ensure that they do
not hire any of the students involved with these organizations in the future.5°7 By the evening of Tuesday,
October 10, at least four websites had published the list of organizations that signed onto the PSC’s
statement as well as personal information of affiliated students.5°8 A billboard truck sponsored by Accuracy
in Media (AIM) drove around Harvard Square, close to campus, on Wednesday, October 11 and
Thursday, October 12.509 The truck displayed names and photos of students alleged to be connected to the
PSC’s statement under the title “Harvard’s Leading Antisemites.” Harvard University Executive Vice
President Meredith Weenick ‘90 condemned the doxxing, and out of concern for student safety,
University officials closed overnight public access to Harvard Yard between Thursday, October 12 and
Monday, October 16.

The PSC, together with another organization, Harvard Graduate Students 4 Palestine (GS4P), responded
to the backlash it received from its October 7, 2023 statement and the subsequent doxxing of its members
via an Instagram statement on October 11 that “the PSC staunchly opposes all violence against all
innocent life and laments all human suffering.” Nonetheless, the PSC denounced what it called a
“hierarchy of suffering,” which it alleged privileged the deaths of Israelis over those of Palestinians and
condemned Israeli air strikes that had already killed 1,000 Palestinians over just a few days.

The week following the attacks, University leadership tried to manage the campus turmoil by issuing a
series of statements.5!° According to a published report of the Committee on Education and the
Workforce in the US House of Representatives, there was considerable disarray, confusion, and
disagreement regarding how the first statement should be worded.5!! The version ultimately released did
not specifically condemn Hamas or the PSC’s original statement, and it came a full two days after the
massacre, thereby angering many Harvard affiliates and alumni, as well as some politicians. President Gay
released a second, more strongly worded, statement on the morning of Tuesday, October 10, but the
following day, the Harvard Club of Israel addressed a letter to President Gay, condemning the Harvard
administration’s lackluster response to the October 7th attacks and ensuing events on campus.5!2
“Anything less than full support for Israel’s right to defend itself and its citizens and unequivocal
denunciation of this terrorism is unacceptable.” ‘The letter went on to compare the University’s slow
response to October 7th to its strong and immediate reaction to other geopolitical events, such as Russia’s
invasion of Ukraine, and a range of significant events in the US, such as the killing of George Floyd. In
response to these and other criticisms, President Gay released yet another message — this time in video

507 Ackman, Bill (@BillAckman), “I have been asked by a number of CEOs if @harvard would release a list of the members of
each of the Harvard organizations that have issued the letter assigning sole responsibility for Hamas’ heinous acts to Israel, so
as to insure that none of us inadvertently hire any of their members...,” X, October 10, 2023, 1:00PM.
hetps://x.com/BillAckman/status/1711788747086233661 Pref_src=twsre percentS Eetw percent? Cowcamp

percent5 Etweetembed percent7Ctwterm percentS E1711788747086233661 percent7Cowgr

percentS E2511 29 1c5 98ed9bdidO4cal OOeBe2c2ci3e7 percent7Crwcon percent Esi_&cref

508 “As Students Face Retaliation for Israel Statement, a ‘Doxxing Truck’ Displaying Students’ Faces Comes to Harvard’s
Campus,” The Harvard Crimson, October 12, 2023. https://www.thecrimson.comi/article/2023/10/12/doxxing-truck-students-
israel-statement/

509 Thid.

510 President, Harvard University. “War in the Middle East,” Harvard University President, October 9, 2023.
https://www.harvard.edu/president/news-gay/2023/war-in-the-middle-east/

511 https://edworkforce. house.gov/uploadedfiles/10.30.24_committee_on_education_and_the_workforce_republican
_Staff_report_-_antisernitismon_college_campuses_exposed.pdf

522 “Tsraeli Harvard Alumni Slam University Over Response to Hamas Attack,” The Harvard Crimson, October 20, 2023.
https://www.thecrimson.com/article/2023/10/20/israel-harvard~alumni-backlash/

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form — on Thursday, October 12.513514 She affirmed the University’s rejection of terrorism, hate, and
harassment as well as its commitment to free speech, even when many may consider the contents of such
speech morally problematic.

To some extent, it could be argued, Harvard inadvertently created a trap for itself. Throughout the
2010s, the University and its senior leaders had commented on certain matters of national and global
importance, fostering an expectation among some segments of the Harvard community that the
University would champion their specific concerns on such matters, whatever they might be. Now, the
University was thrust into the spotlight as a result of the PSC’s October 7, 2023 statement, and it would
be impossible to satisfy all stakeholders.

On Friday, October 13, a group of Republican lawmakers, all Harvard alumni, sent a letter to President
Gay, criticizing the University’s response to the PSC’s statement and writing that Gay’s administration
“intentionally foster[s] an environment that allows rampant and dangerous antisemitism.”5!5 Ten days
later, former Maryland Governor Larry Hogan announced in an open letter to President Gay that he
would withdraw from two Harvard fellowships — one at the Harvard Kennedy School (HKS) and the
other at the Harvard T.H. Chan School for Public Health — largely due to the rise of “dangerous
antisemitism on campus.”5!6 And on the following Monday, the Wexner Foundation announced in a letter
to Harvard’s Board of Overseers its intention to end its 34-year relationship with Harvard and HKS due to
the University’s “dismal failure” in responding to and condemning the PSC’s statement.5!7

Reactions from Harvard’s Schools ranged from the perfunctory to the pointed. The latter characterizes a
statement issued on October 11 by five administrators and one visiting professor all associated with

Harvard Divinity School’s (HDS) Religion and Public Life program (RPL). In RPL’s newsletter, these
individuals encouraged readers to “challenge single story narratives that justify vengeance and
retaliation”>!8 They went on to say, “Start with the rockets fired into Israel by Hamas on October 7, 2023,
and not with the illegal occupation of Palestinian land by Israel and the blockade of Gaza since 2007, and
you have an entirely different story.” The HDS dean at the time seemed to distance himself from this
statement, clarifying that the six individuals “do not speak for their program, for HDS, or for its wider
community.”

Meanwhile, pro-Palestinian activism picked up quickly in the days following the massacre. On October
14, the PSC and GS4P jointly organized a protest against Israel’s anticipated ground invasion of Gaza.5!9
More than 1,000 demonstrators were reported to have attended the protest, which was held on the steps of

513 “Flarvard President Claudine Gay Fiercely Condemns Hamas, Rejects Calls to Punish Students for Israel Statement,” The
Harvard Crimson, October 13, 2023. https://www.thecrimson.convarticle/2023/10/13/gay-video-address/

514 President, Harvard University, “Our Choices,” Harvard University President, October 12, 2023.

https://Awww. harvard.edu/president/news-gay/2023/our-choices/

515 “GOP Harvard Alums Condemn Response to PSC Statement as “Too Little, Too Late’ in Letter to President Gay,” The
Harvard Crimson, October 18, 2023.

516 “T_arry Hogan Withdraws From Two Harvard Fellowships, Citing ‘Dangerous Anti-Semitism on Campus,” The Harvard
Crimson, October 24, 2023. https://www.thecrimson.com/article/2023/10/24/hogan-withdraws-fellowships/

517 “Wexner Foundation Cuts Ties With Harvard After ‘Dismal Failure”To Condemn Hamas,” The Harvard Crimson,
October 17, 2023.

https://www.thecrimson.com/article/2023/10/17/wexner-cuts-ties-harvard/

518 “Dean Distances Harvard Divinity School From Israel Statement Issued by Religion and Public Life Program Leaders,”
The Harvard Crimson, October 13, 2023. https://www.thecrimson.com/article/2023/10/13/hds-dis ~rpl-s ~
israel~palestine/

519 “More Than 1,000 Rally on Harvard’s Campus to ‘Free Palestine’ Ahead of Expected Ground Invasion of Gaza,” The
Harvard Crimson, October 15, 2023. https:/Awww.thecrimson.com/article/2023/10/15/gaza-protest-harvard/

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Widener Library.52° In isolated cases, we heard, instructors excused students from class to join protests like
this one that became a frequent occurrence:

US Ae ns “re

Deer all,

AS mary of you might know, the Palestinian
Solidarity Committes anc Gracuete Students (or
Palestine ore ordaniging a class walk-out and
oeneral cirike at Messachuselie Ha Mocday
bebyeen I-Som, caling-on ibe administration io
break its silence. As our section runs

between 130 and 2:30pm, | have decided to
cancel section today in solidarity.

As your class isnot taxing pace today this will
net be counted as an absence on your part nor
will bavect your orade in any wey. aso do not
expect you To - make up the class or write-a
response paper

Voany- of vou pave any concerns reqarcing tne
course material we would have covered today,
pease feel free to-emal me or io setup an
appointnernt wih-me.

Best,

Text message from an instructor to students.
(Image submitted anonymously and redacted to protect privacy.)

At the protest on October 14 a student analogized the Black Freedom Movement to the fight for Palestinian
liberation, while another student representing the African and African American Resistance Organization
(AFRO) claimed, according to the Crimson, that the group is “in full support of Palestine resistance against
the settler colonial apartheid regime that is Israel.”52! (The PSC later distanced itself from that latter
student’s comments and clarified that “that specific member ... does not speak for the PSC.”)

Four days later, the PSC and GS4P jointly organized a protest and die-in, marching through Harvard
Square to the Harvard Business School (HBS) campus in response to a blast at the al-Ahli Baptist
Hospital in Gaza that was widely, yet incorrectly, attributed to Israel.522 This protest became notorious
when an Israeli Jewish student attempted to film the attendees. Protesters tried to remove the man, yelling
“shame” as he left the scene. Videos of this incident, which appear to show the student being pushed, were
widely circulated on social media and cited as evidence of antisemitism on Harvard’s campus.5?3

520 Thid.

51 Thid.

522 “Fiundreds of Harvard Protesters Stage ‘Die-In’ to Demand End to Violence Following Gaza Hospital Blast,” The Harvard
Crimson, October 19, 2023. https://www.thecrimson.com/article/2023/10/19/harvard-die-in-palestine/

523 NBC Boston, “VIDEO: Minor Clash at pro-Gaza Harvard Die-In,” Accessed March 7, 2025.
https://www.abeboston.com/news/local/video-minor-clash-at-pro-gaza~harvard-die-in/3163853/

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Two graduate student attendees were charged with assault in connection with the incident: a second-year
HDS student who was also a proctor at Harvard College — a resident graduate student or administrator
charged with “create[ing] an academic and social community” in first-year dorms — and a second-year
student at HLS.524 Many Harvard affiliates demanded that the University remove the former student from
his position as a proctor due to his involvement in the incident, and the University relieved him from
proctorial duties on November 8.525526 The Harvard Faculty and Staff for Justice in Palestine (HFSJP)
responded with an open letter expressing its dismay that the University had strayed from its stated
commitment to valuing “the dignity of each person.”527

The Israeli military response to the October 7th attacks, which would later devastate Gaza with tens of
thousands killed and more than a million people displaced, further inflamed passions on campus, and pro-
Palestinian protests on campus swiftly became more frequent and vocal.

On Thursday, October 19, an estimated 500 Harvard affiliates and individuals not affiliated with Harvard
participated in a walkout, march, and protest, which made its way through the Science Center, through
HLS’s campus, and then through Harvard Square to HKS’s campus.°28 According to reports, some
protesters used noisemakers, disrupting classes in session, and briefly halted traffic in Harvard Square.529
The protest, jointly organized by the PSC and GS4P, targeted Harvard’s financial ties to Israel.

A week later, on Friday, October 27, the PSC and GS4P organized another die-in, this time outside of
Memorial Hall, presumably hoping to catch visiting parents on campus for Family Weekend.°30 The
protest included a march from HLS through Science Center Plaza and a demonstration demanding,
according to the Crimson, that University administration do more to support Palestinians on campus. On
Thursday, November 2, the PSC and GS4P held a sit-in to mourn Palestinian lives lost in the Israel-
Hamas war and to protest the bombing of the Jabalia Refugee Camp the previous week. The PSC and
GS4P then organized a “week of visibility” during the week of November 13 to mourn those killed in the
Israel-Hamas war. Hundreds of Harvard affiliates attended that week’s events.>3!

Perhaps the most notable event of the week was the occupation of University Hall — situated in the heart
of Harvard Yard and housing the offices of the Deans of the Faculty of Arts and Sciences, including the
Dean of Harvard College — by nine students affiliated with Jews for Palestine, an student organization
that is not recognized by Harvard College’s Dean of Students Office and receives neither funding nor
access to University space.>32 According to the Crimson, the students demanded that Harvard’s

524 “Proctors | Harvard College Dean of Students Office,” Accessed March 7, 2025.
https://dso.college.harvard.edu/office/proctors#:~:text=Proctors percent20are per Opra per Ostudents
percent20and,with percent2O0your per Oadjus per Oto percent20 Harvard

525 “Flarvard Chabad President Rabbi Zarchi Calls on University to De-Recognize Palestine Solidarity Committee,” The
Harvard Crimson, November 9, 2023. https://www.theceimson.com/article/2023/11/9/rabbi-zarchi-psc-statement/

546 “Harvard Proctor Indefinitely Relieved of Duties Following Confrontation at Protest,” The Harvard Crimson, November
11, 2023. https:/Avww.thecrimson.com/article/2023/11/11/thayer-proctor-reliel-ol-duties/

57 Palestine, Harvard Faculty and Staff for Justice in “Statement in Support of Harvard Student Elom Tettey-Tamaklo,”
Medium (blog), December 5, 2023. https://medium.com/@harvardfsjp/statement-in-support-of-harvard-student-elom-
tettey-tamaklo~cdb164760b83

528 “Hiundreds Disrupt Classes, March Through Harvard Law School, Kennedy School in Support of Palestine,” The Harvard
Crimson, October 20, 2023. hetps://www.thecrimson.com/article/2023/10/20/psc-protest-his-hks/

529 Thid.

580 “Harvard Students Stage Die-In During Family Weekend, Alleging Lack of Support for Palestinian Students,” The
Harvard Crimson, October 31, 2023. https:/Awww.thecrimson.com/article/2023/10/31/palestine-protest-die-in/

531 “Harvard Student Groups Hold Visibility Week for Thousands of Deaths in Gaza,” The Harvard Crimson, November 13,
2023. littps://www.thecrimson.com/article/2023/11/13/palestine-visibility-week/

582 “University Hall Occupied By Harvard Jews For Palestine, Group Demanding Ceasefire in Israel-Hamas War,” The
Harvard Crimson, November 17, 2023. https://www.thecrimson.com/article/2023/11/17/university-hall-occupation-jfp/

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administration publicly call for a ceasefire in Gaza, issue a statement that anti-Zionism and antisemitism
are not the same, and create a committee to investigate Islamophobia, anti-Palestinian racism, and
suppression of pro-Palestinian speech on campus. One of the students said in a speech: “What did we
come here for? We came here to get fucking arrested or Ad-Boarded if our demands weren't met.” The
students remained in the building overnight, and the Faculty Dean of Adams House — faculty deans in

Harvard College are leaders of the residential Houses — brought them burritos for dinner.533

Another “week of action” organized by activists in late November included rallies, a class walkout and ,we
heard, disrupted classes.534 During this week, the student co-founder of the African and African American
Resistance Organization (AFRO), was reported to have led chants of “Long live Palestine; long live the
intifada; intifada, intifada; globalize the intifada.”535

Many Jewish students felt doubly traumatized — first by the massacre of Israelis on October 7th and
subsequently by the rapid transformation of the Harvard campus, especially after Israel’s military response
to the massacre, into what appeared to be a space for the unfettered expression of pro-Palestinian solidarity
and rage at Israel — a rage that many Jewish and especially Israeli students felt was directed against them
as well. In response to the October 7th attacks, Harvard Hillel and Harvard Chabad jointly organized a
vigil on Sunday, October 15, attended by more than 1000 people, to mourn the victims of the attacks and
stand in solidarity with Israel.536 One speaker responded to the PSC and GS4P protest held the prior day,
asking “Are they [the pro-Palestinian organizations] calling for the eradication of the State of Israel? ...
Are they calling for the killing of my family?” Harvard Hillel and Harvard Chabad again joined efforts to
assemble a Shabbat table in Harvard Yard, with 240 seats, each one a tribute to the 240 people kidnapped
by Hamas on October 7th.537

The distance between Israel and Harvard, already truncated by the scope and barbarity of the killings on
October 7th, was made even smaller by the insecurity that many Jewish students began to feel within the
confines of the campus. A major source of concern was the messaging app Sidechat, an online platform
primarily used by college students where users can anonymously post and engage in discussions within
their specific School forum. Cruel and hateful posts regarding Israel, Jews, and the Holocaust appeared on
the Harvard Sidechat forum in the days and weeks following October 7th and again after President Gay’s
resignation in January — discussed in more detail below — when Sidechat posts from some student
supporters of President Gay blamed the Jewish community for her departure.

This sense of insecurity was further heightened by the slogans chanted by pro-Palestinian demonstrators
on Harvard’s campus. Some pro-Palestinian students insisted that one of the most popular chants, “From
the river to the sea, Palestine will be free,” referred to a land in which both peoples, Israeli and Palestinian,
would be free and equal. Many Jewish and Israeli students were skeptical, however, and we heard that even
more explicit variations of the slogan were employed that substituted the word “Arab” for “free.” These
variations, along with the popular chant “Globalize the intifada,” were widely perceived as antisemitic.

Tensions between Jewish Harvard affiliates with attachments to Israel and Harvard affiliates who were
supporters of the Palestinian cause quickly escalated. At the October 15 vigil mentioned above, the
Harvard Chabad Rabbi Hirschy Zarchi condemned what he termed “animalistic” behavior though, as the

533 Thid.

534 “Flarvard Pro-Palestine Groups Organize “Week of Action,’ Drawing Criticism for ‘Intifada Chants,” The Harvard
Crimson, December 4, 2023. https:/Avww.thecrimson.com/article/2023/12/4/pro-palestine-week-of-action/

535 Thid.

536 “At Sunday Vigil, More ‘Than 1,000 Mourn Victims of Hamas Attacks, Stand in Solidarity with Israel,” The Harvard
Crimson, October 16, 2023. https://www.thecrimson.com/article/2023/10/16/hillel~israel-vigil/

587 “Harvard Hillel, Chabad Students Install 200-Foot Shabbat Table to Represent Hundreds Held Hostage by Hamas,” The
Harvard Crimson, November 7, 2023. https://www.thecrimson.com/article/2023/11/7/shabbat-tribute-hillel-chabad/

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Crimson noted, it was unclear whether he was referring to the October 7th attacks or the individuals he
viewed as justifying them. The PSC interpreted his remarks as targeting them and characterized the
rabbi’s speech as “anti-Palestinian racism,” demanding that the University hold him accountable.°38 In
response, the rabbi emailed Chabad affiliates, calling for the University to remove the PSC from the list of

officially recognized student organizations.°39

In mid-November, the labor union for Harvard graduate students voted to endorse the Boycott,
Divestment, Sanctions (BDS) movement against Israel and call for a ceasefire in Gaza.540 This decision
ignited outrage among many Jewish and Israeli union members, leading 33 graduate students to resign in
protest.541 The University found itself caught in the crossfire, facing pressure from opposing student
factions, outside advocacy groups, elected politicians, and prominent public figures like former Harvard
president Larry Summers and alumnus Bill Ackman ‘88.

In apparent response to these multiple pressures, President Gay announced the formation of an advisory
group on October 27.542 This group, officially called the Antisemitism Advisory Group (not to be
confused with our Task Force, which was formed later by President Gay’s successor) was initially
composed of eight members. Their mandate was to work closely with President Gay to develop “a robust
strategy for confronting antisemitism on campus.” Less than two weeks later, President Gay announced
that, following the advisory group’s recommendation, the University would implement antisemitism
education and training for Harvard affiliates.

President Gay’s statement also condemned phrases frequently employed by pro-Palestinian demonstrators,
including “from the river to the sea.” This condemnation drew swift and sharp backlash from a segment of
the Harvard community, with critics — including some Jewish students and faculty — arguing that it was
an unwarranted attack on free speech and a distraction from the humanitarian crisis in Gaza.

President Gay’s already difficult position worsened dramatically on Tuesday, December 5, when she and
the presidents of the Massachusetts Institute of Technology and the University of Pennsylvania testified
on Capitol Hill before the House Committee on Education and the Workforce. Congresswoman Elise
Stefanik ‘06, among others, aggressively questioned President Gay, pushing her to state definitively
whether a call to commit genocide against Jews violated Harvard’s code of conduct. What seemed to many
like President Gay’s strained efforts to avoid providing a clear yes or no answer ignited a firestorm of
criticism nationwide. Within days, the US House of Representatives launched an investigation into
antisemitism at Harvard, and the US House of Representatives passed a bipartisan resolution calling for
Gay’s resignation.543 Although many on the Harvard faculty continued to express confidence in her
leadership, the crisis continued to escalate and evolve. President Gay resigned in early January, less than a
month after her congressional testimony.

538 “Harvard Chabad President Rabbi Zarchi Calls on University to De-Recognize Palestine Solidarity Committee,” The
Harvard Crimson, November 9, 2023. bttps://www.thecrimson.com/article/2023/11/9/rabbi-zarchi-pse-statement/

539 Thid.

5 “Harvard Grad Union Endorses BDS and Calls for Ceasefire, Drawing Member,” The Harvard Crimson, November 13,
2023. https://www.thecrimson.com/article/2023/11/13/hesu-bds-statement/

541 “Tyozens Resign from Harvard Grad Union Over Response to Hamas Attacks and Jewish, Israeli Student Concerns,” The
Harvard Crimson, November 21, 2023. https://www.thecrimson.com/article/2023/11/21/hgsu-members-resign-bds/

*# “Flarvard President Gay Forms Advisory Group to Combat Antisemitism on Campus,” The Harvard Crimson, October 30,
2023. hittps://www.thecrimson.com/article/2023/10/30/gay-hillel-speech/

543 “Flouse Passes Bipartisan Resolution Calling for Harvard President Claudine Gay’s Resignation,” The Harvard Crimson,
December 14, 2023. https://www.thecrimson.com/article/2023/12/14/house-gay-resolution-passes/

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Winter 2024: Reduced But Still Simmering Tensions

In the chaotic months after October 7th, the Harvard administration faced an unprecedented crisis fueled
by a confluence of student activism, intensive media attention, scrutiny from Washington, and complaints
from alumni and major donors. For example, both Len Blavatnik and Ken Griffin ‘89, who had previously
donated $200 million and $300 million respectively, placed future donations on hold out of concerns about
antisemitism at their alma mater. President Gay’s resignation did little to quell the storm.544

In January 2024, a Harvard graduate student and an organization called Students Against Antisemitism
filed a lawsuit alleging that the University had failed to protect Jewish students from antisemitic
intimidation, threats, and bullying.545 This development coincided with a shift in pro-Palestinian activism
on campus. Although large-scale outdoor demonstrations subsided somewhat during the winter months,
protests regularly continued, with a change in focus. Instead of primarily calling for a ceasefire in Gaza,
activists began demanding that Harvard divest from Israeli companies linked with the Occupied
Territories and sever institutional connections with Israeli universities.

Some pro-Palestinian groups, as we understand it, began holding protests on the steps of Widener Library
without formal permission. These demonstrations, sometimes organized in collaboration with both
officially recognized and unrecognized student organizations, seemingly violated Harvard policies. We
were told these protests disturbed many Jewish students. However, the University administration and
police seemed reluctant to intervene once a demonstration was underway, apparently fearing escalation
into physical violence.

Over the winter, the University implemented a variety of efforts to manage the crisis. In January 2024, it
strengthened and clarified its policies on protest and dissent through a new statement.546 Also in January,
the Harvard administration engaged with Sidechat, which agreed to restrict platform access to Harvard
undergraduate students, as it had been inadvertently opened to anyone with a harvard.edu email address.547

During this period, various centers and programs at Harvard hosted events related to the Israeli-
Palestinian conflict. While units like the Belfer Center at the Harvard Kennedy School of Government
and the Weatherhead Center for International Affairs within the Faculty of Arts and Sciences made
efforts to present a range of perspectives through high-quality speakers and balanced panels, others
garnered significant criticism.

Specifically, the Religion and Public Life (RPL) program at Harvard Divinity School (HDS) and the
Palestine Program for Health and Human Rights at the Harvard T.H. Chan School of Public Health
faced accusations of presenting one-sided narratives. For instance, critics pointed to the RPL program
events at HDS featuring a pro-Palestinian activist paired with a Jewish activist who identified as anti-
Zionist and pro-Palestinian. Similarly, they noted that the Palestine Program at the Harvard Chan School
organized events featuring pro-Palestinian activists, with limited inclusion of perspectives from Jewish
individuals, regardless of their stance on Zionism. As detailed in Chapter 4, some felt that the Palestine
Program’s events also often characterized Israeli actions as intentionally targeting Gaza’s healthcare
system, while neglecting to adequately address the broader context of the conflict.

54 “Billionaire Megadonor Ken Griffin Says He Will Stop Donations to Harvard,” The Harvard Crimson, January 31, 2024.
hetps://www.thecrimson.com/article/2024/1/31/ken-griffin-pausing-harvard~donations/

545 “Jewish Students Sue Harvard University, Allege ‘Severe’ Antisemitism on Campus,” The Harvard Crimson, January 12,
2024. https://www.thecrimson.com/article/2024/1/12/harvard-lawsuit-campus-antisemitism/

54 “Senior Harvard Officials Clarify Protest Guidelines as Students Return to Campus,” The Harvard Crimson, January 20,
2024. https://www.thecrimson.com/article/2024/1/20/protest-guidelines-university-statement/

547 “Harvard Asks Sidechat to Enforce Content Moderation as Jewish Students Decry ‘Vicious’ Antisemitism,” The Harvard
Crimson, January 22, 2024. https://www.thecrimson.com/article/2024/1/22/sidechat-antisemitism-enforce-moderation/

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The events hosted by the RPL program and the Palestine Program sparked strong reactions among some
members of the Harvard community. Many Jewish and non-Jewish affiliates told us they found much of
the event content hateful and lodged numerous complaints with various Harvard officials. Several Jewish
students at the home Schools of these programs related to us that their experience with these programs
contributed to their feeling that the Schools harbored a systematic bias against them.

Many pro-Palestinian students at Harvard, including some Jewish students, maintained that their opposition
to Israel was distinct from antisemitism. However, incidents on campus raised concerns about the potential
for anti-Israel sentiment to spill over into hostility towards Jews. Following winter break, posters displayed in
Harvard Yard depicting Israeli hostages were defaced — we do not know by whom, or what, if any,
connection they had with Harvard — with offensive imagery and statements such as “Israel did 9/11.”548

Later, on Monday, February 19, the PSC and AFRO posted a classic antisemitic cartoon on their Instagram
pages. Seeking to link the causes of Black and Palestinian liberation, they used a cartoon from a 1967 flyer
originally published by the Student Nonviolent Coordinating Committee, a major force in Black American
activism at the time. The flyer included a drawing that, in the words of the Los Angeles Times “shows a white
hand, marked with a dollar sign inside a Star of David, tightening nooses around the necks of a Black man
[Muhammad Ali] and an Arab man [Gamal Abdel Nasser].”549 Adding to the controversy, the image was

subsequently reposted on Instagram by Harvard Faculty and Staff for Justice in Palestine.

Michael Fischbach, an expert on the Black Power movement's relationship with the Palestinian cause, told
the Los Angeles Times that “by using symbols like dollar signs and Stars of David, one can well imagine that
they were going to get a hostile reaction ... It doesn’t take a lot of thought to see that, whatever you
meant, this is really going to rankle people.” The image indeed sparked outrage among numerous Jewish
student groups and others in the Harvard community, prompting then-Interim President Alan Garber to
issue a clear statement of condemnation. The Harvard groups responsible subsequently deleted the image
from their social media accounts, issuing an apology for the offense caused. However, their decision to
replace it with a picture of Stokely Carmichael (later, Kwame Ture), a prominent figure in the Black
Power movement known for his sharp opposition to Israel, including his statement that “the only good
Zionist is a dead Zionist,” fueled further controversy.

Even amidst the heightened tensions of February, Harvard students made tentative attempts to restore a
sense of campus community reminiscent of earlier years. One such effort involved a student-organized
“Unity Dinner” at one of the residential Houses, featuring kosher and halal food alongside speeches from
both a Muslim chaplain and a Hillel rabbi. While the dinner proceeded smoothly, it nonetheless attracted
a demonstration by pro-Palestinian students who distributed pamphlets and, we understand, appeared
intent on disrupting the gathering.

Over the following two months, a climate of low-intensity protest and disruption persisted on campus. At
the First-Year Faculty Dinner — a semesterly event in Annenberg Hall designed to foster connections
between first-year students and faculty members — on February 28, 2024, protesters affiliated with the
PSC unfurled banners. According to the organization’s Instagram, the banners listed the names of
Palestinians who had died in Gaza, and the protesters urged faculty to address what they described as “the

548 “Anonymous Posters, Vandalism Spur Tensions on Harvard’s Campus,” The Harvard Crimson, February 14, 2024.
https:/Awww.thecrimson.com/article/2024/2/14/anonymous-posters-campus-~tensions/

54 Jarvie, J. “The Antisemitic Cartoon Roiling Harvard? It’s Not the First Time It Caused a Firestorm,” Los Angeles Times,
February 23, 2024. https://www.latimes.com/world-nation/story/2024-02-23/the-antisemitic-cartoon-roiling-harvard-~its-
not-the-first-time-it-caused-a~firestorm-for-student-groups

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ongoing genocide of the Palestinian people.”55° Two weeks later, on the same day as Match Day at
Harvard Medical School — an annual event at which students learn which residency program they will be
attending — pro-Palestinian affiliates from Harvard Schools and affiliated hospitals in the Longwood
Medical Area protested the presence on campus of American Medical Association (AMA) President Jesse
Ehrenfeld, who was there to deliver the Class of 1958 Commemorative Lecture. According to the
Crimson, the protesters cited “the AMA’s insufficient response to the war in Gaza.”55!

Calls for Harvard to divest from Israeli companies intensified in early April. The HLS student government
called on the Harvard Management Company to “divest completely from weapons manufacturers, firms,
academic programs, corporations, and all other institutions that aid the ongoing illegal occupation of
Palestine and the genocide of Palestinians.”552 Concurrently, a committee within the Harvard Graduate
Students Union called on the University to divest from “companies and institutions involved in the ongoing
attacks in Gaza.”553 While undergraduate students attempted to initiate a referendum on Israel divestment,
their efforts were blocked by two officers of the Harvard Undergraduate Association.

This period marked a time of heightened anxiety for many Jewish students, while many Muslim students
and students of color voiced concerns about the University’s response to ongoing doxxing attacks targeting
members of their communities. As data from the Joint Task Force Survey conducted in Spring and Summer
2024 indicates (See Appendix 5), the events of the 2023-24 academic year significantly impacted the campus
climate. Students who identified as being of Jewish, Israeli, Muslim, or Arab origin reported feeling
uncomfortable, unsafe, and unwelcome on campus at markedly higher rates than other Harvard students.

The Encampment

Pro-Palestinian protests escalated significantly at Harvard in late April 2024, following a wave of
demonstrations across university campuses sparked by the arrest of student activists who had established an
encampment at Columbia University. On Monday, April 22, Harvard College suspended the PSC. Two
days later, in the largest demonstration at Harvard in months, the Crimson estimated 500 people protested
the suspension, with some students erecting an encampment in front of University Hall in the heart of
Harvard Yard. Access to the Yard was restricted to Harvard students, faculty, and staff to prevent
participation of protesters from outside the University. Despite the tense atmosphere, the Harvard
University Police Chief defended the students’ right to protest, stating, “You can see in the Yard right now
— we are keeping our students safe and they are protesting peacefully and it’s their right and we are going
to support that.”

While generally maintained in a clean and orderly fashion, the encampment generated complaints from
some students regarding disruptive behaviors. These included chanting slogans, playing loud music, and,
on one occasion, raising Palestinian flags over the John Harvard statue while placing a keffiyeh around its
neck. Some Jewish students reported feeling uncomfortable walking near the encampment, describing
incidents of being followed and verbally harassed. Several Jewish first-year students residing near the
encampment expressed distress over its proximity, noise level, and the nature of the chants. Additionally, a

550 Harvard Undergrad PSC (@harvardundergradpsc), “We are proud to see first years raise awareness at this year’s faculty
dinner. They dropped banners that listed 4,000 of the 10,000+ lives lost in Gaza and implored...,” November 9, 2023.
hetps://www.instagram.corm/harvardundergradpse/reel/CachU3ij Lx/

551 “Flarvard Medical School Affiliates Protest American Medical Association President on Match Day,” The Harvard
Crimson, March 18, 2024.

552 “2 Members of HLS Student Government Resign After Resolution to Divest From ‘Illegal Israeli Settlements’,” The
Harvard Crimson, March 30, 2024.

553 “Harvard Graduate Union's BDS Caucus Circulates Letter Calling for Divestment From Israel,” The Harvard Crimson,
April 11, 2024. https://www.thecrimson.com/article/2024/4/1 1/harvard-union-divest-israel-letter/

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Jewish faculty member recounted walking through the encampment and receiving alarming calls from
alumni warning them about being discussed in student demonstrator WhatsApp groups, causing this

faculty member to fear for their physical safety.

The appearance of a map within the encampment of Israel and the Palestinian territories without marking
any Jewish communities implied that the pro-Palestinian students’ goal was the physical elimination of
Israel. On Sunday, May 12, a crudely drawn image of President Garber depicted as a devil with horns and
a tail appeared within the encampment, shocking many Jewish students, faculty, and staff for whom the
image recalled medieval antisemitic tropes of Jews as Satan’s minions. This incident prompted a member
of the Task Force on Combating Antisemitism and Anti-Israeli Bias to write in the Crimson: “Make no
mistake, while I stand by my characterization of many protesting students as good-intentioned, there is
certainly antisemitism and hate among that movement.”

As the encampment continued into May, concerns arose about the potential for police intervention and
student backlash as had happened on many other campuses in the country. Encampment leaders
demanded that Harvard’s leaders engage in negotiations regarding divestment from Israel, a call echoed by
more than 300 Harvard faculty members who signed a statement urging the administration to negotiate.
On Friday, May 10, following a series of unheeded warnings regarding the continuation of the
encampment, the administration began placing students allegedly involved on involuntary leaves of
absence. The following day, protesters from outside Harvard attempted to breach the closed-off Harvard
Yard after they cut the locks at Johnston Gate but were prevented from entering by Harvard police officers
and security personnel.

Despite these escalations, the encampment concluded without violence or arrests, marking it as one of the
shortest-lived such protests in the country. Students began leaving the encampment as the examination
period ended and summer approached, with a formal announcement of its voluntary closure by Harvard
Out of Occupied Palestine (HOOP) — the coalition that led the encampment — on Tuesday, May 14.554

This decision followed a commitment from President Garber to arrange meetings for its representatives.

A late May 2024 study from Harvard Kennedy School compared Harvard University’s experience with
pro-Palestinian protests to those of dozens of other colleges and universities since the previous fall.555 The
study found that Harvard’s encampment, lasting just a few weeks, ranked 22 out of 30 in terms of
duration. Despite its relatively short lifespan and no police interventions required or administered, the
encampment garnered significant national attention. This amplified perception was arguably fueled by
HOOP’s consistent use of aggressive rhetoric on social media, which effectively magnified the protest’s
popularity and influence beyond the reality on the ground.

Commencement

While the conclusion of the encampment allowed for Harvard University’s 2024 Commencement
exercises, scheduled for Thursday, May 23, to proceed as planned in Tercentenary Theater — the large
open portion of Harvard Yard traditionally used for graduation ceremonies — the year’s contentious events
cast a shadow over the ceremony in two significant ways: a walkout during the official proceedings by
hundreds of students, and two controversial Commencement Week addresses.

554 “Flarvard Out of Occupied Palestine Ends Harvard Yard Encampment,” The Harvard Crimson, May 14, 2024.
https://www.thecrimson.com/article/2024/5/14/harvard-encampment-ends/

555 J. Ulfelder, “Crowd Counting Consortium: An Empirical Overview of Recent Pro-Palestine Protests at U.S. Schools,” Ash
Center, May 30, 2024. https://ash. harvard edu/articles/crowd-counting-blog-an-empirical-overview-of-recent-pro-palestine-
protests~at-u-s-schools/

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On Thursday, May 18, the Harvard College Administrative Board — the committee that oversees academic
regulations and social conduct standards for Harvard’s undergraduate students — announced disciplinary
actions against roughly two dozen students for their involvement in the pro-Palestinian encampment in
Harvard Yard. 556557 Five students received suspensions, while the rest were placed on probation. Notably, 13
seniors among those disciplined were effectively barred from graduating with their class the following week,
as the actions rendered them not in “good standing” with the College. In an unprecedented series of events,
the Faculty of Arts and Sciences voted to amend the list of degrees recommended for conferral in May,
seeking to reinstate the 13 seniors. However, the Harvard Corporation, which is the University’s highest
governing body and holds final authority over degree conferral, ultimately overruled the faculty's decision.558
During the May 23 Commencement exercises, hundreds of students staged a walkout, chanting “Let them
walk!” — a reference to the 13 seniors — and waving Palestinian flags. The students then proceeded out of
Harvard Yard to the nearby Harvard-Epworth Church (not affiliated with the University) where they held

an alternative “People’s Commencement” ceremony.

The principal speaker at the 2024 Commencement exercises on Thursday, May 23, was Maria Ressa, a
Filipino-American journalist and recipient of the Nobel Peace Prize in 2021. When her selection was
announced earlier in that spring, Ressa, and the choice itself; drew backlash from some American media
outlets and Congresswoman Elise Stefanik ‘06 for comments critical of the Israeli occupation and the

bombardment of Gaza.
During her address, Ressa deviated from her prepared remarks, stating:

Because I accepted your invitation to be here today, I was attacked online and called antisemitic by
power and money, because they want power and money. While the other side was already attacking
me because I had been on stage with Hillary Clinton [who had refused to condemn the war in
Gaza]. Hard to win, right? But I'd already survived Information Operations from my own
government: free speech, used to pound you to silence.

These comments were absent from her original text, which read:

According to social media, exploited and used by power and money for power and money, I was: A
criminal. A communist. A CIA agent. Antisemitic. Anti Palestine. A Princeton grad. I am a Tiger.
The rest are lies. And the truth is simple. I’m a journalist.°°°

Ressa’s ad-libbed remarks extended to praising student speakers who had addressed the topic of Palestine.
She omitted a section from her prepared speech that gently challenged the pro-Palestinian protesters
among the assembled students:

For the protestors: when you hid your face in a keffiyeh, did you place yourself in the shoes of
another student wearing a yarmulke just wanting to walk to class? Or the faculty administrator, who’s
never faced this before and whose task is to protect every student or donor? ... Were there more
nuanced and creative ways to handle these protests on all sides?

556 “Administrative Board — Office of Academic Integrity and Student Conduct,” Accessed March 11, 2025.
https://oaiscfas.harvard.edu/administrative-board/

557 “5 Harvard Students Suspended, More Than 20 Face Probation for Encampment Participation,” The Harvard Crimson,
May 18, 2024. hitps://www.thecrimson.com/article/2024/5/18/harvard-encarnpment-protesters-suspended/

558’ The Harvard Corporation eventually conferred diplomas to 11 of the 13 seniors:
https:/Awww.thecrimson.com/article/2024/7/23/harvard-corporation-diplomas-encampment/

559 hetps://web.archive.org/web/2024052320235 1/https.//www. harvardmagazine.com/2024/05/harvard-commencement-
2024-maria-ressa-address

560 Thid.

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Ressa deleted other conciliatory language from her speech as well ultimately delivering a message about
confronting political opposition that was far more assertive and defiant than her prepared remarks suggested.

Shortly after Ressa finished speaking, toward the end of the Commencement ceremonies, Rabbi Hirschy
Zarchi of Harvard Chabad approached Ressa on stage and quietly requested clarification on the portion of
her speech he found antisemitic.° According to one media account, “Zarchi said he could not properly
hear Ressa’s response due to the ongoing address but said that when he felt it was clear she would not
oblige, he left early.” Zarchi went on to criticize Ressa in a statement for supporting pro-Palestinian
students, “arguing that she had ignored how the students had ‘hijacked’ the Commencement ceremony to
support protesters who had violated Harvard policies.”>* Two days later, Ressa issued an apology on X,
stating her words were “misinterpreted or taken out of context,” and clarifying that the “they” of her
controversial remarks referred to Big Tech. She added, “if my words caused offense, I apologize” and
reiterated her message about “defending democratic norms and principles.” Despite this, Ressa’s remarks
attracted significant negative media attention and became intertwined with the year’s pro-Palestinian
activism at Harvard.

On Tuesday, May 21, preceding the main Commencement events, Sunn M’Cheaux, a Gullah instructor
in Harvard’s African Language Program, delivered the “faculty keynote” at the Affinity Celebration
Honoring Black Graduates.563 Affinity celebrations, held on campus in recent years for various affinity
groups at Harvard throughout Commencement week, are “student-led, staff-supported events that
recognize and celebrate the accomplishments of graduates from historically marginalized
communities.”5°4 They are described as “in addition to” the University’s main Commencement and
School-based graduation ceremonies.5®

In his address, M’Cheaux expressed explicit support of the Palestinian cause, criticizing Israel as an
“apartheid state” backed by US dollars and weapons.*® Prefiguring sentiments Maria Ressa would make
later in the week, M’Cheaux criticized tech and social media companies for stifling online activism and
free speech. M’Cheaux further accused Israel and the United States of backing “atrocities and genocide”
against the Congolese people and condemned the Harvard Corporation’s decision to withhold degrees
from sanctioned student protestors. Reflecting on the personal costs of activism, he questioned, “Do we
get to struggle with despondency, depression, childhood trauma, self-doubt, self-harm, bereavement, social
anxieties, eating disorders and so forth when Zionist overlords starve Falastini infants to death?” He then
affirmed, “Yes. Yes, we do.”5°” Despite employing the phrase “Zionist overlords,” M’Cheaux’s speech
attracted virtually no media attention or apparent concern from the audiences.

Refusal to Discipline and Reversal of Sanctions

Harvard’s response to the spring encampment protests fueled perceptions of inconsistency and a lack of
transparency in its disciplinary processes, with some Schools declining to impose sanctions while others
faced internal disagreements and reversals. Some students who received sanctions for their participation in
the encampment appealed their punishment to the Faculty of Arts and Sciences’ (FAS) Faculty Council,
an elected body of professors that effectively serves as an executive committee for the FAS, which includes

561 Shah, Neil. “Rabbi Zarchi Confronted Maria Ressa, Walked Off Stage Over Her Harvard Commencement Speech,” The
Harvard Crimson, May 24, 2024.
58 Thid.
563 “A ffinity Events Celebrating Graduate.” Accessed March 11, 2025. https://edib.harvard.edu/affinity-grads-programs
564 “A fiinity Celebrations for Graduates,” Harvard College Calendar.” February 5, 2025.
https://web.archive.org/web/20250205 155645/https:/calendar.college.harvard.edu/event/affinity_celebrations_for_gr
56 Tid.
or Sun M’Cheaux, “Educators should embody the values they convey to students,” The Emancipator, May 29, 2024.
Ibid.

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Harvard College, and advises the Dean of the FAS. On July 9, the Faculty Council, according to media
reports, concluded that the disciplinary sanctions were too severe, and remanded the cases to the Harvard
College Administrative Board, which downgraded the sanctions on five undergraduate students. These
sanctions, reports noted, were replaced with short probation periods (one term or less), and existing
probationary terms were also reduced. This contrasted with the Harvard Kenneth C. Griffin Graduate
School of Arts and Sciences’ earlier decision on Tuesday, June 25, to place 10 students on probation —
seven for six months, and three for an entire academic year — for their roles in the same protest.568

Reflecting the significant autonomy of each Harvard School in managing disciplinary matters, the varying
outcomes of these cases contributed to a sense of unevenness when viewed across the University. This
unevenness, coupled with the failure of some Schools to impose discipline and the overall opacity of the
process, reportedly frustrated Harvard’s Central Administration, which includes the Office of the
President and Provost. The Crimson described the Central Administration’s view of the Schools’
administrative boards, responsible for handling disciplinary matters, as “ineffective, too autonomous, and
overly deferential to student protesters.”59°

On Thursday, July 18, University leaders, among them the president, provost, and School deans,
announced that the University Committee on Rights and Responsibilities would engage in standardized
fact-finding procedures for disciplinary cases involving more than one Harvard School.57° This modest
measure may have indicated both the Central Administration’s awareness of the need to institute major
reforms in Harvard’s disciplinary procedures and the difficulties it faces doing so. The University
summarized some of the actions.57!

Conclusion: Looking Back and Ahead

The 2023-24 academic year at Harvard was tumultuous and tense. The same Harvard Kennedy School
study cited earlier regarding the duration of the encampment showed that, out of all major universities in
the United States, Harvard had the second-highest number of days with protest activity during that
academic year (approximately 70, compared with roughly 40 for most of Harvard’s peer institutions,
though less than one-third that of Stanford). Fall 2024, when much of this report was written, did not
witness the large-scale protests that the University experienced the prior year, which may be partly due to
the University issuing revised policies over the summer regarding the use of campus grounds and buildings
in an effort to minimize future disruption.572

In Fall 2024, protest activity of a pro-Palestinian character, in and around the University and not all
definitively involving Harvard affiliates, primarily took two forms. On the one hand, there were silent
protests in libraries (including Widener, Harvard’s flagship library, and the libraries at several Schools,

568 “Flarvard Places 10 Graduate Students on Probation for Encampment Participation,” The Harvard Crimson, June 26, 2024.
hetps:/Awww.thecrimson.com/article/2024/6/26/gsas-places-10-students~on-probation/; “Harvard Reverses Decision to Suspend
5 Pro-Palestine Protesters Following Faculty Council Appeal,” The Harvard Crimson, July 10, 2024.
hettps:/Awww.thecrimson.cony article/2024/7/10/harvard-reverses~encampment-suspensions/

5 Quoted in The Harvard Crimson, 11 November 2024, summarizing material submitted to the House Committee on
Education and the Workforce and published in its November 2024 report.

https://www.thecrimson.com/article/2024/11/11/ pment-disci -administration-criticisms/

5 John S. Rosenberg, “Harvard Overhauls Disciplinary Procedures.” Harvard Magazine, July 18, 2024.
hetps://www.harvardmagazine.com/2024/07/usrr-statement-harvard

571 hetps://www.harvard.edu/task-force-on-antisemitism/#implementationupdates

572 “Campus Use Rules,” Office of the Executive Vice President. Accessed March 11, 2025. https://evp. harvard.edu/campus-
use-rules

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including HLS, HDS, and GSD), where groups of students or faculty had been gathering in a study space
and display their support for the Palestinian cause through signage affixed to their computers.573

On the other hand, there were scattered but distressing acts of vandalism and apparent hate crimes on and
around Harvard’s campus. For example, on the night of Tuesday, October 8, an unknown perpetrator or
perpetrators — it is not known whether they had any connection to Harvard — broke windows in
University Hall and poured red paint (presumably symbolizing blood) on the nearby statue of John
Harvard. A video seemingly made by the perpetrator(s) during the vandalism and posted on social media
called it “an act of solidarity with the Palestinian resistance.”574 A week later, stickers bearing a swastika
against the blue and white background of the Israeli flag and emblazoned with the words “Stop Funding
Israeli Terrorism,” were found posted — again, the perpetrator(s) are unknown, as is whether they have
any connection to Harvard — just outside Harvard’s campus in Harvard Square, close to Harvard Hillel’s
Rosovsky Hall. Similar incidents, including swastika stickers, were reported near the University of
Michigan and Georgetown University, as well as along a major street in Brookline, Massachusetts, a
heavily Jewish Boston suburb.575

At the start of the 2024-25 academic year, the First-Year Convocation, a ceremony to welcome new
undergraduate students to the Harvard College community, proceeded without incident. This marked a
departure from previous years when the event had been interrupted by pro-Palestinian demonstrators.
However, the relative quiet on campus did not heal the ongoing fracture within the Harvard community
At the time we are writing these lines — the first weeks of the Spring term of 2025 — occasional
disturbing and offensive incidents continue to occur. Harvard encompasses numerous communities,
defined by race, ethnicity, religion, political orientation, and other factors. Some of these communities
view a connection with the Palestinian cause as paramount, while others view certain kinds of pro-
Palestinian activism as a threat to psychological well-being and even personal safety. The challenge, which
we address in the remainder of this report, is how expression, including protest, can be carried out in a
manner commensurate with the values of a university — to educate rather than indoctrinate, to challenge
rather than threaten, and to disagree without turning away from, or, even worse, against each other.

573 “More Than 70 Harvard Students Stage Study-In at Widener Library,” The Harvard Crimson, October 30, 2024.
hitps://www.thecrimson.com/article/2024/10/30/third-widener-palestine-study-in/

574 “Windows Smashed, John Harvard Statue Vandalized in Act of ‘Palestinian Resistance’,” The Harvard Crimson, October 8,
2024. https://www.thecrimson.com/article/2024/10/9/john-harvard-statue-vandalism/

575 “Police Investigating Antisemitic Stickers Discovered Near Harvard Hillel,” The Harvard Crimson, October 15, 2024.
https://www.thecrimson.com/article/2024/10/15/antisemitic-stickers-outside-

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CHAPTER 3
Findings

The Task Forces on Combating Antisemitism and Anti-Israeli Bias and Combating Anti-Muslim, Anti-
Arab, and Anti-Palestinian Bias engaged in separate but similarly comprehensive approaches to
understand the experiences of Harvard students, faculty, and staff. These approaches included each Task
Force holding a series of listening sessions, primarily in March and April 2024, followed by a joint online
survey conducted by both Task Forces from May to August 2024 across Harvard’s Schools.

During the listening sessions, members of our Task Force met with groups of students, faculty, and staff,
gaining valuable qualitative insights. These sessions, along with private conversations and other
communications involving the Task Force co-chairs, provided a foundation for understanding the
community's experiences.

The subsequent survey of students, faculty, and staff across Harvard’s Schools, corroborated and
contextualized much of what we heard in the listening sessions, suggesting widespread feelings of
discomfort, alienation, and fear among students identifying as Jewish, Israeli, Muslim, or Arab.

This chapter examines the striking congruence between the quantitative results from the survey and the
qualitative data gathered from the listening sessions. It focuses primarily on the negative experiences of
Jewish and Israeli Harvard affiliates — “affiliates” being a Harvard term encompassing students, faculty,
and staff — with an emphasis on students, especially in the wake of the events of October 7, 2023.
Below, we begin by reviewing the findings of the online survey to establish a quantitative foundation
before turning to a thematic summary of what the Task Force heard in the listening sessions,
supplemented by insights the co-chairs gained through private conversations and other communications
with community members.

Harvard-Wide Joint Survey

The survey attracted some 2,300 responses from students, faculty, and staff, with high levels of
participation among Jewish, Israeli, Muslim, and Arab affiliates relative to their likely numbers within the
Harvard community.5” Of the participants in the survey, 477 identified as Jewish. Among this group,
substantial numbers of Jewish students indicated experiencing discomfort and alienation at Harvard: 39%
did not feel at home at the University, at least to some extent, while 26% felt physically unsafe and 44%
felt mentally unsafe. Nearly half (49%) felt their well-being was not supported at Harvard, and 46% felt
uncomfortable expressing their beliefs or opinions to people “whose political views may be in conflict with
mine and/or go against my sense of identity/nationality.”

Responding to a somewhat differently worded question, 67% of Jewish students reported feeling
discomfort expressing their opinions generally, with a significant 73% uncomfortable expressing their

576 As mentioned in the Executive Summary, the survey was distributed to faculty, staff, and students using various channels that
ranged from emails with an embedded survey link to sharing with relevant affinity groups and mentions in the The Harvard Gazette
and The Harvard Crimson. The intent was to complement the listening sessions and provide a convenient and anonymous survey
that could be taken by Harvard campus community members who were impacted by and/or had views on the issues related to the
Task Forces’ mandate. Since this population is not readily identifiable a priori and also because the survey was not administered or
marketed as a University-wide survey (such as the 2019 Pulse survey), it is not as feasible to provide accurate response rates. While
we do provide relative demographic coverage comparisons to the 2019 Pulse survey, the Task Force joint survey is best viewed as a
way to incorporate more opinions from those community members who wanted to weigh in on their experiences on campus and
observations during the Fall 2023 to Summer 2024 period.

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political opinions specifically. Almost 60% of Jewish students indicated they had experienced some form of
“discrimination, stereotyping, or negative bias on campus due to [their] views on current events,” and only
a quarter believed there was no “academic or professional penalty” at Harvard for expressing their views.

Expanding to include Jewish faculty and staff within the surveyed group, the data showed somewhat lower
levels of alienation and discomfort. This difference may be attributable to faculty and staff — given their
different life circumstances — being less likely than students to experience backlash, retaliation, bullying,
and social isolation.

Across nearly every category, Jewish students reported greater levels of discomfort and alienation than their
Christian or atheist/agnostic peers, but lower levels than Muslim students. The experiences of Muslim

students are examined in depth in the companion report of the Task Force on Combating Anti-Muslim,
Anti-Arab, and Anti-Palestinian Bias.

It is important to emphasize here that neither Task Force aims to minimize or dismiss the experiences of
any group by engaging in comparisons of suffering. Rather, our shared aim is to understand the
perceptions and experiences of students within our respective purviews over the 2023-24 academic year,
identify the sources of their pain and distress, and develop strategies to foster a greater sense of community
and mutual respect at Harvard.

Listening Sessions

Between March and May 2024, members of our ‘Task Force conducted approximately 50 listening
sessions, engaging with more than 500 participants across the University’s Schools and key administrative
units. While most of these sessions were intended for students — both undergraduates (in first-year dorms
and upper-level residential Houses) and those enrolled in the graduate and professional Schools —
sessions following the same format were also held for staff and faculty, including one specifically for the
faculty deans who oversee Harvard College’s residential Houses. Additionally, sessions were organized for
students involved with various Jewish student groups, among them Harvard Hillel and Harvard Chabad.
Attendees reflected a diverse range of religious observance levels, Jewish backgrounds and identifications,
and attitudes towards Israel.

Each session was facilitated by at least two Task Force members, with an administrative staff member
present to take notes. All sessions followed a similar format. After establishing ground rules and
emphasizing the Chatham House Rule to ensure confidentiality, facilitators posed open-ended questions
and primarily listened, encouraging participants to share their experiences and perspectives. (More
information about the format of listening sessions can be found in Appendix 4.)

In these sessions the participants’ views were documented via typed notes in which all identifying
features of the speaker were anonymized except for the nature of their affiliation (e.g., undergraduate,
graduate student, faculty, staff, school). Participation in the sessions was lively, with many, most, or all
participants sharing their views. Our documentation of the sessions therefore reflects the contributions

of hundreds of individuals.
Several major themes emerged from the listening sessions:
1. October 7th and the Deterioration of Campus Climate

e A substantial number of Jewish students reported experiencing a more hostile campus atmosphere in
the aftermath of October 7th. This shift in climate was felt particularly in residences, classrooms,
student organizations, and communal spaces like Harvard Yard and the Science Center Plaza.

e Israeli students reported feeling particularly targeted and ostracized, frequently experiencing
social shunning.

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e Fear of encountering hostility led some Jewish students, according to their own accounts, to
conceal their Jewish identity from classmates.

2. Perceptions of Bias in Specific Schools, Units, and Instructors

e Some participants identified certain Harvard Schools, departments, centers, and instructors as
promoting or tolerating anti-Israeli critique that they felt was problematic and, in some cases,
blurred into animosity towards Jews.

3. Concerns with Student Discipline and Complaint Processes

e Participants widely perceived the administrative response to student complaints as opaque and
unacceptably slow.

e Many participants considered disciplinary actions against students who allegedly engaged in
bullying, harassment, or intimidation related to these issues to be lax and inadequate.

4. Perceptions of Disparate Treatment and Indifference

e A widespread sentiment emerged that anti-Israeli and anti-Jewish expression was tolerated to a
greater degree than similar hostility toward other minority groups, such as Black or LGBTQ+
students. Numerous participants did not perceive Harvard’s offices for Equity, Diversity, Inclusion,
and Belonging (EDIB) as adequately addressing antisemitism or considering it a serious form of
bias within their purview.

5. Distinctive Experiences of Israeli Students

e Many Israeli students reported experiencing heightened social isolation, ostracism, and hostility
following the events of October 7th, with several feeling unfairly labeled as “soldiers” due to
Israel’s mandatory conscription policy. These students described a pervasive sense of being held
personally accountable for Israeli government actions, facing social exclusion and uncomfortable
encounters, and some even feeling compelled to conceal their Israeli identity for fear of negative
reactions from peers.

6. Effects of Social Media

e Participants identified social media as exacerbating challenges by enabling the rapid and sometimes
anonymous creation and dissemination of cruel and hateful messages online, negatively impacting
the reported well-being of many Jewish students.

7. Experiences of Anti-Zionist Jewish Students

e Some Jewish students who identify as anti-Zionist reported experiencing bullying and shunning,
similar to that reported by numerous Jewish students who identify as Zionist, from some pro-
Palestinian students.

8. Need for Enhanced Course Offerings and Academic Programming

e Participants expressed a need for more robust academic programming and course offerings to help
address the campus climate and facilitate constructive, informed, and respectful dialogue on events
in Israel and the Palestinian territories.

The following sections, organized thematically, offer a glimpse into the range and intensity of negative
experiences described by many Jewish and Israeli students after October 7th. Our emphasis in these
sections is on presenting illustrative examples of these experiences as students themselves described them,
often using students’ own words. These accounts were shared with us in listening sessions, private
meetings, and written correspondence. We did not independently verify each account. When selecting
examples for these sections, we focused on patterns of experiences reported by multiple students and
excluded any account we had reason to doubt.

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Theme 1 — October 7th and the Deterioration of Campus Climate
Many Jewish students spoke of October 7th as profoundly affecting their life at Harvard:

I’m American. I always felt comfortable here. As an undergrad, I felt like I fit in. The change in the social
dynamics [after October 7th] was instantaneous and alarming. [Graduate student]

My experience has been different before and after October 7th. Before October 7th, being Jewish was largely
irrelevant. It was not a barrier. I was proud to be Jewish. When it came up, it was positive. After October
7th, I experienced the following in this order: first there was pressure, then there was chaos, then hostility,
and in certain spaces, the normalization of subtle discrimination like, “We'll welcome you in this space if

you align in a certain way. If not, you can’t come here.” This has to do with the enforcement of rules.
[Graduate student]

Some students noted that the Israeli-Palestinian conflict felt as if it seeped into all areas of campus life,
much to their consternation:

I'm an older student. Many of my interactions on campus are more professional. I'm less impacted than
other students. I was a union member, and a little uncomfortable with antisemitic overtones as I perceived
them. However, I held that grad students needed help bargaining and thought it was essential to have a
union to engage in collective bargaining due to the harsh realities for grad students. But then things
exploded. The union started releasing public statements that made me acutely uncomfortable. I didn't resign
initially. I tried to talk to people about it and asked to let us say that not all members subscribe to these
views. My objection was that they were releasing statements saying they spoke for everyone. So then, I
resigned. The whole thing made me acutely uncomfortable. [Graduate student]

Many Jewish students perceived the word “Zionist” as being widely employed as a pejorative and a means

of pillorying Jews:

There's a tendency to replace the word Jewish with Zionist. “All Zionists should burn in hell” — it’s very
frightening, there's an incongruency between how different sides would define the term Zionist. People are
proudly referring to themselves as anti-Zionist but there's a strong overlap and it feels like this is an excuse
to use a different term to make the point that they are anti-Jewish. [Undergraduate student]

An undergrad tells a story about choosing an event to attend: one option was in the Quad, one at Hillel.
A blockmate said, “I don’t want to go to Hillel, I fucking hate Zionists.” ‘The undergrad sees this as an
example of something that falls squarely into the antisemitic category, but doesn’t think the blockmate
realized it, and thinks there are other examples of antisemitism that are even harder to categorize.
[Undergraduate student]

The Harvard administration’s responses during this period were described as tardy and clumsy:

I've had positive interactions with the administration. They just don’t know what to do. They didn’t expect
this level of anti-Zionism. The [name of student's Harvard School] didn’t expect having to draw a line
between free speech and harassment. Anti-Zionism is considered an intellectual exercise and not as
discrimination by some in the administration. [Graduate student]

Many students described a social atmosphere that had rapidly deteriorated and become dominated by
pervasive feelings of rejection and fear:

If I was killed by a terrorist in America, as an American, my classmates would at least superficially mourn.
If I was killed by a terrorist in Israel, as a Jew, my classmates would say I had it coming. And when other

people are killed in ethnic, religious, or political conflicts, my classmates frankly don't care for longer than a
few days at a time. [Graduate student]

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The social exclusion and shunning of Israeli students lies at the core of the Harvard experience for many. From
my first days on campus, I noticed students in pre-orientation avoiding conversation with me, simply out of
fear of being associated with an Israeli. My friend has been told that others would not attend social gatherings
if I was present, as they couldn't risk the social consequences of being seen with an Israeli. Students have also

chosen not to join an organization I led simply because I served in the IDF. Like other Israeli students
currently at Harvard, I was excluded from the invitation list to comp for a final club, with members openly
stating that IDF soldiers do not align with the club’s values. Israeli students at Harvard are not merely
subjected to implicit bias but instead face explicit, deliberate discrimination. [Undergraduate student]

People can have political views of their choice, but the social fabric has degraded. There has been an increase
in antisemitism on campus, which is a fact. I have many friends who have experienced this. An incident
occurred on October 7th, which happened over the weekend. A group of five guys lived in a suite. The door
was usually unlocked, but they had to lock it due to feelings of tension and a lack of safety in their own
home. This is a sign that something has gone wrong. People don’t trust each other. Otherwise, why would
we need to lock our doors? [Graduate student]

Accounts of social shunning emerged as one of the most alarming indicators of the breakdown of
Harvard’s on-campus community:

The strategy used by BDS groups involves encouraging students and faculty to avoid normalizing relations
with Jewish students. This involves social shaming, which is a particularly harmful tactic in academia and
the impact can vary depending on your field. [Undergraduate student]

The notion that acceptance in a politically liberal or progressive on-campus space is contingent upon
disavowing Israel was a recurring theme:

A Jew who doesn’t renounce Zionism and who is gay can’t feel comfortable in a gay students’ association

[Undergraduate student]

I did feel shunning, especially in progressive spaces which I have long been part of. On the [name of a
progressive student organization], there’s a good-Jew bad-Jew dynamic. I'm a Zionist. The experience of
being a Jewish student at Harvard in progressive spaces requires incredible emotional labor. People like to
pretend they're unaware of antisemitism. I try to go to every event where Israel is discussed [to explain
things] so people can’t claim ignorance. I've had to bare my soul in progressive spaces to show I can be
accepted as Jewish and progressive. 've sat shiva three times recently. Israel and the Jewish religion are
connected. I need to tell people this. I'm used to being the first exposure people have to Judaism. It’s
exhausting and embarrassing for Harvard. [Graduate student]

Numerous Jewish students, many of whom expressed a deep connection to Israel, spoke of feeling lumped
together and collectively blamed for the situation of the Palestinians. They noted that students with
analogous ties to other countries engaged in wars and conflicts are not typically prejudged in this way:

Jewish students had to bear the burden of defending themselves in the face of global politics. The same
feeling was not mirrored for a Russian friend when the war broke out. The Jewish community is not a
monolith. How we teach the greater community not to fall into those stereotypes is important.

[Undergraduate student]

As a result of their negative experiences on campus after October 7th, some Jewish students said that they
were concealing their Jewish identity:

At intramural practice, there is extra conscious[ness] about not self-identifying. You have to think about it
all the time. [Undergraduate student]

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Not outright antisemitism towards me, but the antisemitic culture on campus has increased since Oct 7th.
Friends who are more outwardly Jewish and Israelis, the things they are experiencing are horrible. I feel
lucky I don’t look Jewish. I know if I do the “wrong thing” I might get the antisemitism. So, put your
headphones in, make sure you're not outwardly Jewish, and just walk to class. [Undergraduate student]

Some Jewish students with critical views about Israel, including members of anti-Zionist student groups,
reported that they were concerned with both insensitivity from some pro-Palestinian peers to the horror of
October 7th and what they saw as Harvard’s one-sided institutional response:

There are some people who have glorified what happened on Oct 7th. That was triggering and harmful for
me. [Undergraduate involved in anti- Zionist campus organizing]

Harvard seems more afraid of Elise Stefanik than about helping students ... Harvard's responses have been
encouraging antisemitic behavior. The way Harvard has cracked down on organizers, I would probably
want to say horrible things too about Zionists. Given that Harvard is acting effectively as a Zionist
organization, it’s understandable that people don’t want to have anything to do with Zionists. [Student
involved in anti-Zionist campus organizing]

Some faculty and staff also reported that they noticed a fraught and uncomfortable atmosphere on campus
that was not apparent to them until the aftermath of October 7th:

Lam at [Harvard unit] but I don’t have much interaction with students. For several months since Oct 7th,
I drove in, went straight to my office ... and left. I didn’t feel unsafe physically, but I felt unsafe
emotionally. I did not want to see anything happening in [my office building] that I couldn’t unsee. There
have been several incidents there. My office and colleagues were a safe space, but I couldn't emotionally
handle what was going on elsewhere in my workplace. [Staff]

Only since Oct 7th have I become aware that antisemitism is a problem at Harvard. I've been here 24
years, so I’m embarrassed. I was in a conversation with a Jewish colleague about incidents happening with
our students, and she said, “Well I know how that is, from being here. It’s been going on for years.” I was so
shocked; I had tears in my eyes and felt sad that I was so completely unaware of something that someone I
am close with was going through. It told me I had a lot to learn, which is why I am here. [Faculty]

Theme 2 — Perceptions of Bias in Specific Schools, Units, and Instructors

Many of the concerns expressed above came from undergraduate students in the College and from
graduate students throughout the University, with most coming from four of Harvard’s graduate Schools.

Harvard T.H. Chan School of Public Health

To give some context, [the School is] a microculture. Students lean left more than Harvard in general, with
a big focus on social justice and equity as stated missions of the School. This has affected my experience.
Social justice and advocacy are part of the mission and ethos of the School. In the aftermath of October 7th,
among students and in part the faculty, the zeitgeist is very pro-human rights and manifested as pro-
Palestine in many ways. This is not the same as antisemitism, but the relationship is complex.
Antisemitism is built into how some people are advocating for Palestine. [Graduate student]

I was told by [a School administrator] that I violated the student code of conduct by deleting social media
posts from a student group account. There was pretty vile stuff posted in October. I asked someone in the
group to remove a post that was disturbing and people requested it be taken down. It was like “Elders of
Zion” kind of stuff: I asked the person to remove it. The person said no. So I, as an administrator of the
group, removed the post. The poster and the president of the student government reported the incident to the
Office of Student Affairs. That office claimed it was a Harvard program social media group. So the office

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stepped in. The poster asked their friends to report me to the Office of Student Affairs. Students started
saying I was infringing on free speech. That office told me I was in a whole world of trouble, but they
couldn't explain why. They said I was infringing on student speech. [Graduate student]

Harvard Law School

We brought the families of hostages to campus and the administration moved us for our safety. This is
disgusting and these students need to be punished. They walk around like they own the place. It’s ridiculous.
[Graduate student]

What can HLS do about the dirty looks and unwelcome feeling? If you have an event in Belinda Hall,
everyone must be welcome. But there are about 10-20 people who consistently break the rules. They are at
the tops of their [student] organizations. They dictate norms. Everyone goes along. The administration
needs to make sure organizations follow the rules. [Graduate student]

Students have reported antisemitic activity, they've done a great job with programmatic efforts, holding
space for each other. The difficulties arise with the protests and where they're taking place. Because of their
Jewish identity they've been singled out when activities are taking place and people assume things don’t
align with their beliefs. This is where the reported accounts from Jewish students being singled out [come
from]. Everyone wants to feel seen, heard, and respected. Where the protests are taking place, it feels like
certain individuals are being centered. [Staff]

Harvard Divinity School

HDS should be a leader in situations like this. It's a flop. There’s a diversity of views. We're supposed to

find the divine in ourselves and others. Opposing views should be discussed together ... There was an
interruption at a community dinner. I have a photo. “Harvard out of occupied Palestine.” Part of the
dinner's purpose was for prospective students, what's the message for them? They commandeered the
lifeblood of HDS for their own purposes. I lodged a complaint. The response was vapid. There were no
consequences. They're entitled to their views, but they're also entitled to follow the rules. At a Hanukkah
event, the host expressed dismay that it was canceled. A pro-Israel student was booted off a WhatsApp page
because they made a snarky comment. But that wouldn't have happened to the other side. My reaction
reflects an earlier view of anti-Israel rhetoric. “Zionism is racism” is a canard. They're entitled to that
view, but not to intimidate. [Graduate student]

Harvard Medical School

A more recent thing was during Admitted Students Week, there was a Med School music video. It was a
big deal. Students from a pro-Palestine organization asked other students if they wanted to make the
Admitted Student video a protest against the Israeli occupation. Because Admitted Students Week is a big
thing, the administration said this is not okay, we fund this. But it took the administration a long time. It
took students complaining to get action. The overall message is — if you are a Jewish student with Israeli
connections, you don’t have a place here. During Admitted Students Week, a lot of the current students
made it clear they wanted to send a message to visiting students to discourage Zionist students from coming
here. There are very few Jewish students in my class and few Jewish students feel comfortable at the Med
School. I wish the administration thought more about the admitted student experience and how they feel
with this kind of thing happening. [Graduate student]

Specific Instructors

Students also raised concerns about specific faculty and teaching fellows, citing examples such as faculty
who “gave time at the end of class for students to promote various solidarity groups, including the

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Palestine Solidarity Committee (PSC)” or “ended class early on the day of a protest, which seemed like an
encouragement to join the protest.” Some students complained of “one-sided syllabi” concerning the
Israeli-Palestinian conflict and expressed apprehension about taking courses from instructors who had
signed pro-Palestinian statements.

The antisemitic cartoon described in Chapter 2 was a particular source of anxiety for some students due to
its reposting by the organization Harvard Faculty and Staff for Justice in Palestine. One student recalled,
“When the antisemitic cartoon was posted, I was baffled. How could this be posted by Harvard faculty
[along with] student groups? Then it became clear to me that there are no consequences.” Another student
told us some Israeli students felt apprehensive in Arabic language classes, and “stopped going ... because

they didn’t feel safe.”

While there were relatively few comments about Teaching Fellows (TFs), some experiences were shared.
One student described an instance where “a student said in class [they] didn’t believe IDF soldiers should
attend Harvard. The teaching fellow supported [the student who said this].”

Another student recounted a situation with a TF who “openly expressed solidarity with the Palestine
Solidarity Committee and allied movements.” This student expressed frustration with the administrative
response, noting that after they brought this to administrators’ attention eight times, “their response was
that slogans and chants can mean different things to different people. I wonder if they would ever say the
same to a member of another minority group.”

Theme 3 — Concerns with Student Discipline and Complaint Processes

Concerns about opaque processes for reporting complaints and seemingly inconsistent disciplinary
responses were among the most common issues raised during the listening sessions:

The officials I spoke with were confused about the policies and they were not sure who's in charge. That's a
common theme — policies are unclear, people don’t know if a policy is a University or School policy. All
this to say, there’s a lack of accountability about what rules should be and how they should be followed.
This is a pattern throughout the University, there are policies but people are refusing to enforce them.
[Graduate student]

I understand the importance of freedom of speech, but this institution needs to establish some
boundaries. [Student]

Many students criticized what they perceived as a lack of discipline for disruptive actions, such as
interrupting classes or holding unauthorized protests. Although we were told that students who disrupted
classes did face consequences, many Jewish students still felt that on the whole Harvard’s Schools were not
consistently applying their own policies or holding students accountable for violations:

On the policy side, rules are violated and there are no consequences — for example, the rules around protests.
Earlier this year, there were class disruptions. The School knows who the people were. The handbook
describes what the punishment should be but still nothing happened to them. [Graduate student]

There seems to be a total lack of fear of consequences among the [members of certain student groups]. There
are no repercussions for those who interrupt classes.°”” There appears to be a lack of consequences, but there

should be some form of accountability for [student group] organizers. [Undergraduate student]

577 As noted, this quote is the account of one undergraduate student and therefore their impression. We note that students at
Harvard College who interrupt classes can face serious repercussions.

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Harvard’s decentralized structure, in which each of the Schools is responsible for its own disciplinary
matters, was a source of much frustration:

If there’s a disaster, you don’t care how FEMA is structured or organized. Harvard needs to solve this. I
don’t care how. There's impunity here, people who make antisemitic comments on this campus enjoy it.
Nobody else on campus enjoys that impunity ... We have a student handbook with rules, they need to be
enforced promptly and publicly so people can see justice done. I understand there are limits, but absent that
we all understand it’s open season. There’s impunity for antisemitism. We don’t just need to talk about
education, we need to enforce existing rules quickly and rigorously. [Graduate student]

Many students were unsure how the complaint system worked and spoke of tardy, curt, or
nonexistent responses:

Sometimes you send off this very painful report and then it just gets lost in the shuffle. The fact that there
isn't a response to students also makes them feel like their very pressing worry has not been dealt with.
[Undergraduate student]

Lam tired of fighting. It’s the same group of students, whose sole objective seems to be to harass and
intimidate Jewish students. Despite reaching out to every office, everyone says it’s not their problem.
[Graduate student]

There are some things Harvard could do much more humanely. Following up with people to ask how they
are. Right now people feel like nobody cares. There are limits to what can be done. But it’s possible to tell
students, “Hey, we got your thing, we don’t have any update, but we just want to check in on you.”
[Undergraduate student]

Theme 4 — Perceptions of Disparate Treatment and Indifference

Our listening sessions revealed significant concerns about perceived indifference towards Jewish students
by Harvard's offices for Equity, Diversity, Inclusion, and Belonging, which exist at both the University and
the School level. These concerns were often accompanied by claims that animosity against other groups at
Harvard have been, and would be, taken with more seriousness than those against Jewish students:

The issues related to free speech are being misdiagnosed. This was pointed out in an article by [Professor]
Danielle Allen. She makes a good point — people can argue about what “Intifada” means, but she said as a
person of color, she wouldn't feel comfortable in a place displaying “White Power” signs, even if it’s free
speech. The question of whether it’s legal to yell “Globalize the Intifada” is not the most relevant issue here.
Yes, you can say that, but community standards and norms need to be part of the conversation, too, not just

the laws surrounding free speech. [Undergraduate student]

Hearing the “river-to-the-sea” chants on campus is troubling. I approached an administrator about this, and
their response was that these words could have multiple meanings. If I were part of the LGBTQ community
and complained about offensive language, no one would tell me I was wrong to be upset because the language
could be interpreted in multiple ways. The same would be true if I were Black and someone used offensive
language around me. Why am I being told what is and isn’t antisemitism by an administrator? Why am I
being told that my fear is unjustified when offensive language is used around me? It’s inappropriate and
insensitive for administrators to respond in this manner. [Undergraduate student]

Jews are the only minority [against whom] people speak [but] enjoy maximalist First Amendment
protections. Every other minority group is defended by the administration against hate speech. There's
absolute freedom for antisemitic speech. I agree with the Supreme Court case about the neo-Nazi march in
Skokie. It’s right for the country but not for Harvard. [Graduate student]

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Harvard’s process for receiving and handling complaints of discrimination — governed by the University’s
Non-Discrimination and Anti-Bullying (NDAB) Policies, which went into effect on September 1, 2023
— often described by students as cumbersome and slow, was a recurring theme, often fueling their
perception of disparate treatment:

Don’t explain the lack of response by saying the University is a big, decentralized place. If there's a racist
remark, communications go out quickly. So, the University knows when it wants to act quickly. If the issue
involved someone who's Asian, Black, or gay, it would be different. You can’t blame it on the University
being slow because it clearly isn’t slow all the time. [Undergraduate student]

Some students distinguished between discrimination against Jews and discrimination against those who
identify as or are considered Zionists. They argued that because Zionism is a political belief, it should be
protected under Harvard’s existing non-discrimination policies:

Harvard's non-discrimination policy prohibits discrimination on the basis of political belief: If you describe
Zionism as such, it does fall under policy. [Undergraduate student]

Some Harvard affiliates we met with noted a persistent lack of awareness and sensitivity regarding the
Jewish calendar among some faculty and administrators, particularly concerning the autumn High
Holidays, which often coincide with start of term activities:

There was a welcome picnic on Yom Kippur, a mandatory doctoral meeting on Rosh Hashanah. A tenured
professor asked one of my Jewish friends if it was true that Yom Kippur was really a reason why students
couldn't come to class. I explained ... that it was countercultural as a Jewish American of my generation to
speak up about inclusion because I was taught these institutions were not built for us. Maybe it’s not the
same extent as for Black people, but we were not welcome here so we can’t have expectations that the
institution is built for us. We as a community have worked very hard to make sure that as the doors have
opened for us, we have not slammed them shut behind us. That ideal has not been honored here. [Faculty]

Theme 5 — Distinctive Experiences of Israeli Students

Many Israeli students at Harvard had a particularly hard time in the wake of October 7, 2023, and even in
the period preceding it. We heard numerous accounts of them being subjected to social shunning and
other negative behaviors based on their national identity. Additionally, because the State of Israel has
mandatory conscription, and most Israeli young people serve in the Israel Defense Forces, many reported
finding themselves labeled as “Israeli soldiers” even though they are no longer in the military and are no
more “soldiers” than their peers from any other country in the world with conscription. These concerns all
came up in the listening sessions:

Some people, upon learning that I'm Israeli, tell me they won't talk with someone from a ‘genocidal
country.” [Undergraduate student]

Before October 7th, we were in class discussing the random rooming policy. A student said she didn’t think
the policy was appropriate because she could get roomed with an IDF soldier. [Undergraduate student]

It has become accepted to not be nice to someone because they are Israeli. But you can not like what someone's
country is doing without ostracizing them. [Undergraduate student]

From his first day at Harvard, he has had encounters with people who refused to speak to him because he
is Israeli. At an orientation program, he was speaking and getting to know people, met a guy from [a
country in the Middle East], speaking in Arabic. When the guy from [the Middle Eastern country] found
out he was from Israel, in mid-sentence, he turned around and walked away. [Tsraeli Arab
undergraduate student]

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In my research group, we had an Iranian national. I had a nice interaction with her. The idea that I'd hold
her personally responsible for the policies of the Iranian government is absurd. And I never brought up
contentious political issues with her at work. Once she brought up Iranian history and politics at a staff
retreat and we spoke. I engaged with her on her terms. That's the way to treat people with respect from
different countries even when the countries are at odds. That's not the way Israelis are treated. We're
treated unlike people from any other country. If people are consistent about their opposition to ethnostates,
I'm okay with that. But they don’t treat others like they do Israelis. There’s selective outrage against Israel
and Israeli students are treated with ostracism and disrespect. [Graduate student]

Three people in my cohort think they understand better than me what's going on in Israel ... I know. They
didn't bother asking me or talking to me. They just tell me they don’t support Israel killing children. Are
they implying I do? It’s so wild. They tell me Israel is an apartheid and colonial state. Why do they think
they're right and I’m wrong? They've never been there? I have two Russian girls in my department.
Nobody treats them differently because of what Russians are doing. And Chinese students never get blamed
for the Chinese government's actions. Jewish people are blamed for Israeli policies. This is antisemitic.
[Graduate student]

The anti-normalization idea is that Jews on campus with ties to Israel must be anti- Zionist to be
welcomed. I've lost friends who abandoned me. They knew I was Jewish, and my mom was Israeli, and I
was not ashamed of those connections. I was involved with international law. I’m part of some progressive
groups, and the moment October 7th happened, I was traumatized because I didn’t align with the binary
view. The anti-normalization idea is to normalize ostracization. That is a foundational source of tension.
The constant dirty looks are disgusting to me. This has become the dominant thinking — [graduate] school
should be about disagreeing and having difficult conversations. It’s hard because ... we want to convince
ourselves it’s antisemitism. But the way it’s manifested is tied to social dynamics. We can’t fix social
dynamics by banning protests. It’s a systemic cultural problem. I'm censoring myself in class and with
friends. I can’t visit friends because their roommates are anti-Zionist. This shouldn't be happening ...
[Graduate student]

[There was] one experience of an Israeli grad student in the department who has effectively been bullied out
of the graduate lounge where all graduate students assemble on the basis of a series of difficult
conversations/confrontations including one which was an atrocity-denial about October 7th, doubts being
thrown on the incident, and the effects on this student have been noticeable. [Faculty]

Theme 6 — Effects of Social Media
As documented in Chapter 2, the aftermath of the October 7th attacks saw Sidechat and other social

media platforms flooded with cruel, offensive, and hateful comments regarding Jews and Israel. One
graduate student described a veritable avalanche of hostile social media posts that began on Saturday,
October 7 and continued unabated through Sunday, with some students apparently feeling increasingly
emboldened to express hateful statements. By the time classes resumed on Monday, October 9, the
combined impact of the PSC’s October 7, 2023 statement blaming Israel for the attack and the persistent
frenzy of violent social media posts had a profound effect on many Jewish students.

In a letter to the editor in the October 24, 2024 issue of the Crimson, the student president of Harvard
Hillel’s undergraduate student Jewish community wrote: “Being Jewish at Harvard today is vastly more

difficult than it was [for college students] in the ‘90s.”578

578 https://api.thecrimson.com/article/2024/10/24/gershengorn-harvard-hillel-attacks-jewish-life/

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We were surprised to learn just how correct this seems to be. Many Jewish students at Harvard today say
they contend with antisemitism from their fellow students and in some University programs. Some Jewish
students told us that they avoid certain degree programs, classes, and panel discussions sponsored by

various departments and centers at Harvard because of antisemitism. Unfortunately, we fear that they may
have good reason to do so.

We illustrate this point first with evidence from social media postings and group chats that were shared
with us, which demonstrate the extent to which Jewish and Israeli students have encountered bigotry from
their peers. We received many dozens of examples of social media posts that caused concern. Here, we

provide here just a small sample to convey a sense of the climate of discourse to which Harvard students
were being subjected.

Harvard: 3m wee
GE (r0-doxing, pro-genocide sophomore
really thinks she is the shit for going on

GE couple days ago. She looks just as
dumb as her nose is crooked

O VS fe 7, 441

3 Harvard» iS

Seriously US just can‘t support
Palestine bc we got too many damn

jews i in state fe supporting our economy

Posts from the Harvard community page of Sidechat, an independent platform
not affiliated with Harvard. (Image redacted to protect privacy.)

The Task Force also received complaints from students about other students who peppered their speech
with derogatory references to Israelis and Jews:

[I] count ... among my peers many students who regularly posted social media images like “Decolonisation
is not a metaphor” (with Jewish blood dripping from the text) and who seemed generally unable to convene

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for any sort of social function (drinks, dinners, etc) without bringing up Palestine and “Israeli scum,”
“Zionist dirtbags” etc. [Graduate student]

We reviewed many other similar complaints and messages; some of them are provided in Chapter 4. This
exercise illustrates the far greater levels of casual bias many Jewish and Israeli students experience today
compared to a few decades ago:

I was on Sidechat for a while, enjoyed it, but had to delete it after October 7th. The comments were so
awful, along lines of “Israel deserved what they were getting,” many people in support of Hamas. There
was no room for conversation because of the anonymity. It could be the person you just sat with at section
and you just didn’t know. It made campus feel different in a way it never felt before. I never wore a Star of
David, but if I did, I would have taken it off, knowing that people hide behind the guise of anonymity.
People in support of Jewish identities got downvoted. Anything in support of Hamas would be upvoted. It
was a binary thinking. [Undergraduate student]

It's surprising to see people who are educated posting horrible things and seeing people in the street the next
day knowing what they just posted. [Undergraduate student]

In another incident in early November, after October 7th, I faced backlash on social media for posting pro-
Israel content. As part of a social organization, I noticed a bunch of highly antisemitic posts [online] .... One

post, directed at me, accused me of humiliating an Arab student, which is something I would never do. My
best friend here is Arab. [Undergraduate student]

I understand not everyone’s your friend and belongs to your club. A major theme at Harvard is wanting to
have your cake and eat it too. People want to make anonymous statements with no accountability, and yet
want the prestige to speak on behalf of Harvard students. In the absence of the University speaking, we
need a much more careful discussion about public vs private speech. You shouldn't expect to make bold public
announcements anonymously without putting your name under it. Doxxing is a distraction from the need
for accountability around speech. [Graduate student]

The most blatant things are happening online. Sidechat, no one can see it other than what
undergrads share. There is anonymity so can’t be regulated by Harvard. Exists on other campuses.
Students are very active on it. Some antisemitic posts and students are perceiving things that outside

cannot know of. [Faculty]

Theme 7 — Experiences of Anti-Zionist Jewish Students

While most of the Jewish students at our listening sessions focused on experiences of hostility against them
from non-Jews, a smaller but active and organized segment of Jewish students who identify as anti-Zionist
felt that one of the primary sources of their discomfort was the main Jewish chaplaincy organizations that
serve members of the Harvard community (Harvard Hillel and Harvard Chabad) as well as various Jewish
student organizations in the Schools. For these students, Israel was the key point of division: they felt
unwelcome in Jewish campus organizations where support for Israel seemed assumed or even demanded:

Ive never felt comfortable at Hillel or Chabad because of how staunchly pro-Israel they are. I have problems
with Israel and how those speaking out against Israel have been targeted by those groups and our
University. Much harder to be open about being Jewish and Israeli because of how these groups and the
University have created a playing field in which Jews are addressed in a whole different realm. In reality,
Islamophobia, racism, antisemitism, problems in Israel/Palestine are not separate from each other.

[Undergraduate student]

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Some Jewish students, including members of various anti-Zionist organizations active in the College and
some of the graduate and professional Schools, expressed sadness and frustration at feeling shunned by
fellow Jews and Jewish organizations on campus who do not share their views on Israel and the Israeli-
Palestinian conflict:

All of the advocacy I do — protests, risks I take — it is because I am Jewish. Deeply rooted in these values.
They've influenced every aspect of my life. It’s never been as disrespected as it is here by other Jewish
students in the [Harvard School name]. [Graduate student]

We've done our best to put out statements condemning doxxing [of pro-Palestinian students]. Through
that, we have been accused of antisemitism throughout year ... I have spent my entire life in predominantly
Jewish spaces. Super important part of my identity. I quickly left [a Jewish student organization], made to
feel wasn't Jewish enough because I grew up Reform. Programming was conservative-focused ... Dropped
out of doing Jewish related things at [my School]. My roommate was doxxed, our apartment was doxxed
.. the most frustrating thing is that students have been weaponizing antisemitism to accuse people of

acting out Judaism in a way they don’t like. ’'m not antisemitic because I’m doing Judaism differently, and
that’s how it’s been seen. [Graduate student]

The largest form of antisemitism I have experienced has been from other Jewish students who are interested
in policing the bounds of Jewish identity one way or the other. They've called me a kapo or a useful idiot to
Hamas or a non-Jew. [Student]

Some students expressed concern that the University’s leaders, in the way they engaged on issues related to
Jewish matters, conflated Harvard’s Jewish community with prominent organizations like Harvard Hillel,
Harvard Chabad, and others they perceive as pro-Zionist:

The first thing that comes to mind is the President's Office, administration, Hillel, and Chabad excluding
anti-Zionist and Zionist-questioning people, making them feel excluded from Jewish spaces. It feels like
they're defining antisemitism without considering what many Jewish people feel is actually antisemitic. Using
the label antisemitism to take down movements or student organizers is a real misuse of antisemitism. As a
result, it’s challenging to combat real forms of antisemitism that exist all over the world. [Student]

The non- or anti-Zionist Jewish students we met with called for more openness to their perspectives
within the broader Harvard Jewish community, as well as greater institutional support for their spiritual
needs and the social events they wish to organize:

In my experience, the hardest part has been feeling constant need to invoke my Judaism because people
around me are being called antisemitic. My grandfather is from Israel. I have family whose houses were
burned down on Oct. 7th. That's not something I wanted to share, but everyone around me was being
called antisemitic for an article and I felt like I had to share this deeply personal family information because
people around me were being called antisemitic for voicing their opinions. This institution is the reason that
talking about Israel is hard. I have family members I profoundly disagree with, but we can still talk.
[Graduate student]

I would like to envision a more diasporic Jewish life on campus. Practical limitations to what Hillel
International could do. But to have a group to coexist alongside Hillel, I think that would be amazing.
Share members. I also go to Hillel. But there are practical limitations to what it can do. My roommate and
I have been hosting Passover and it’s been getting bigger and bigger. We're struggling to fund it. Having
grants would help. Supporting different approaches to Jewish life on campus. [Undergraduate student]

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Theme 8 — Need for Enhanced Course Offerings and Academic Programming

As described in Chapter 2, the October 7th Hamas massacre immediately and sharply deepened pre-
existing divides between students with clashing perspectives on Israel/Palestine. In our listening sessions,
many students spoke of a lack of opportunities for what they considered informed, wide-ranging, and
unbiased education about Israel/Palestine at Harvard. Some attendees, however, expressed doubt that
students would avail themselves of such opportunities if they existed and willingly challenge their

preconceptions and engage in open dialogue, as opposed to seeking confirmation of their existing views:

If Harvard sponsored conversation about Israel and Palestine, some of my peers would laugh at that,
and say how could Harvard, supporter of a colonizer state, possibly host this conversation? There is
animosity towards even the idea of Israel right now, and that’s where a lot of the antisemitism lies.

[Undergraduate student]

Despite this skepticism, the Task Force felt this subject was far too important to be left solely to students
alone to navigate, especially given some of the accounts we heard:

One of my suitemates knew nothing about the Israel/Palestine conflict and the student tried to talk about it
without going too deep, because they didn’t feel comfortable talking about it with non-Jews. There's a fear
of having conversations about anything related to Israel/Palestine because people don’t know enough to
participate and don’t want to say the wrong thing. But they can listen. [Undergraduate student]

People want to talk about Jews, but not know anything about Jews. This creates the atmosphere ... in
which I have a continuous sense that my classmates do not respect my ethnicity at all. They don’t want to
learn about Jews, they only want to tell some of us that we deserve to die. [Graduate student]

While there was little if any University-wide academic programming on Israeli-Palestinian issues, various
Harvard Schools, centers, and affiliated organizations (such as Harvard Hillel) attempted to address the
need for such programming with events ranging from impromptu teach-ins to panel discussions held at
venues like HKS’s Belfer Center and FAS’s Weatherhead Center. Many students expressed a strong desire
for substantive engagement on these issues:

I attended a conversation at Hillel moderated by Michael Sandel, and I've never felt prouder to be Jewish.
In a moment of so much loss, people were able to take a step back and have an intellectual discussion, which
is similar to how they were raised. I wish more people saw that side of Zionist students, and Jewish
students, and they don’t see that. [Undergraduate student]

These events, however, seemed aimed at particular campus communities, which could be seen as problematic:

Something I've noticed and want to flag and create a conversation thread around is separation. I have a
desire for there to be more bridging conversations instead of separation conversations. On [one particular]
quad, there was an event for Israeli and Jewish students, and one for Arab and Muslim students, as if to
say there's no overlap or nothing to be gained by mixing. I'm frustrated by this narrative of separation. I
think it was a departmental decision. I asked if we could have a shared, joint event. There were
discussions that followed. I would love Harvard to focus on bringing people together across boundaries.
[Graduate student]

Some students emphasized the need for courses that contribute to greater religious literacy, both for its
intrinsic value and to promote pluralism in general:

I have managed to get through HDS without taking courses on Hinduism or Buddhism, both of which are
hugely important and demographically much larger than Judaism. I think that is a failing on my part, but
also on the part of HDS. How can we be pluralists if we are ignorant? [Graduate student]

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Numerous students we spoke with expressed concern that courses addressing the Israeli-Palestinian
conflict presented a biased perspective, unfairly critical of Israel:

It’s unfair to have a very biased curriculum on a subject this tense [the Israel-Palestinian conflict] without
addressing the counterargument. We should hold our professors to that standard. If you have a class that has
one leaning, you had better include the other argument. If you personally cannot, invite a guest lecturer.
[Undergraduate student]

Another student suggested that sensitivity and professionalism on the instructor's part could mitigate this
concern, allowing discussion of events like the Gaza crisis without imposing personal political viewpoints.
The same student emphasized the need for courses on Israel to showcase the country’s multifaceted nature

beyond conflict:

Israel is more than war — it’s a vibrant and diverse country ... A lot of students don’t know what Israel is
really like. [Undergraduate student]

During listening sessions, faculty members grappled with a range of challenging questions arising from
the campus climate, particularly regarding how to foster constructive dialogue in the classroom on
difficult topics like the Israeli-Palestinian conflict, and how to engage diverse and sometimes conflicting
viewpoints with both directness and mutual respect. In this connection, one faculty member spoke
positively of the work being done at the Edmond and Lily Safra Center for Ethics, a University-wide
initiative, and at HKS in sponsoring conversations on a wide range of contentious subjects. This faculty
member emphasized that such conversations “need to step away from patronizing and protecting”
participants, and instead demonstrate a firm commitment to presenting diverse, and at times
discomforting, views.

However, some expressed concerns that such engagement could potentially expose instructors to personal
risk. One faculty member, for example, shared that while considering developing a course on antisemitism,
a concern on their mind was the possibility of doxxing and harassment targeting the course’s would-be

teaching fellows:

Part of the difficulty here is how the discussion about antisemitism in particular has been dominated
by certain very loud voices. Some students come to me and whisper, which is so sad. They feel that
someone else doesn’t think they have the right to talk about threats as a Jew because they have the
wrong view on Israel. We have multiple layers of untangling to do. As a Jewish faculty member, I
feel a lack of support for professors because of social media attacks, which makes me not want to speak
out. [Faculty]

Ultimately, fostering productive discourse among Harvard students on complex issues like Israel/Palestine
requires Harvard faculty to effectively explain and exemplify how to engage constructively with diverse
perspectives, even when personal political commitments differ. This demands modeling how to
momentarily transcend entrenched positions and find common ground:

[Universities like Harvard should hold] public events about how/why we [the faculty] are able to work
together so well even though all have different political viewpoints. We have avoided this ... It’s difficult to
do. Let's turn it into intellectual discourse. We're not talking about how to disagree agreeably, we're talking
about how to do it in an intellectual way, which is what universities should do to produce not just

knowledge but understanding. [Faculty]

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Communications with the Task Force Co-Chairs

The summaries and quotations provided above represent only some of the voices the Task Force heard
during listening sessions. Yet, they illustrate the profound sense of crisis experienced by many Jewish and
Israeli students at Harvard during the 2023-24 academic year. They reveal not only the depth of pain
endured, but also the students’ fervent desire for the University administration to implement swift and
comprehensive measures addressing their concerns.

The gravity of the situation was further underscored through private conversations and direct
communication with the Task Force co-chairs. Below, we present a selection of these accounts, focusing
on three themes of special concern: perceived threats and safety concerns, challenging academic
experiences, and social derision and shunning. These accounts provide additional context to the challenges
reported to us by many Jewish and Israeli students.

Perceived Threats and Safety Concerns

In a complaint submitted to Harvard officials shortly after October 7, 2023, and later shared with the Task
Force co-chairs, an Israeli American graduate student expressed that given the ensuing turmoil they had “not
felt comfortable or safe walking on campus without a Harvard police escort.” The student also described an
incident in early December 2023 where, while posting flyers in in support of Israel in Harvard Yard, they
were observed, photographed, and approached by a man who questioned their actions. While the man did
not attempt to harm the student, we were told they nonetheless felt badly shaken by the encounter.

A faculty member provided another first-hand account that touched on the theme of physical safety:

I want to document my experience around the encampment in case it is useful to shed light on how these
“peaceful” protests may have impact in ways they don't realize or intend. I don’t feel safe going into the yard
at this time, not because I fear physical violence, but because I'm not comfortable being surveilled and
targeted as a “Zionist” by protestors using the label to be denigrating and derogatory, which is what
happened when I walked over last Friday night in a spirit of learning.

While I quietly stood watching the open mic in the encampment (I attended alone and not in “counter
protest”), a Harvard alum and former student called me on the phone, and then texted several times, which
is not normal. When we were able to speak after I left the yard that night, he informed me that he had seen
my name come up on an internal chat (apparently a large group communication for “marshals of the
encampment”) and that there was concern with my presence there. I was described so that others could
recognize me and identified as a “Zionist.” It was unclear if he was alerting me to warn me to be careful or
to ask me to leave, but during our brief conversation he wrongly associated me with counter protest and
communicated that he was hoping I'd act in an especially nonthreatening way because my presence was a
concern. It was chilling.

What I'm taking from this, and perhaps I've internalized it in the wrong way, is that I was surveilled,
identified by name, and profiled as a “Zionist” threat in a chat that reached far enough that an alum not at
the protest, who I had no idea was even involved, knew exactly where I was and reached out with concern.
I have not shared any of my views (complex and ever-changing) with students or in any public setting save
for asking a question at a “teach in.” I have no idea what I did to end up on a blacklist, but whatever the
reason I was profiled, beliefs about me that are inextricable from my Jewishness seem to have made me a
potential target.

This experience is personally significant in diminishing my sense of freedom from religious discrimination

on campus. [Faculty]

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A graduate student informed the co-chairs that, in May 2024, the student submitted complaints regarding
the pro-Palestinian encampment in Harvard Yard and the behavior of some individuals within it, which
the student characterized as harassment. The student, the co-chairs were told, contacted multiple
administrators, and submitted several Title VI complaints, which the student said were deemed not to rise
to the level of discrimination:

Throughout the past weeks, the encampment engaged in disruptive activities that significantly interfered
with my ability to carry out my academic and professional responsibilities. Loud demonstrations, amplified
chants, and the occupation of a large section of the Yard occurred daily, often late into the evenings. The noise
and disruption made it very difficult for me to focus on my work, research, and duties ... [Graduate student]

The student felt threatened by many of the slogans and much of the signage in the encampment:

Hearing such rhetoric being promoted in my place of residence and work ... created feelings of fear and
distress ... The pervasive use of this violent language throughout the encampment created a hostile and
intimidating environment for ... many ... Jewish first-years who live in the Yard. [Graduate student]

Challenging Academic Experiences

An undergraduate student reported to the co-chairs enrolling in a class on the Israeli-Palestinian conflict
in academic year 2023-24 but ultimately dropping it. According to the student the course had what they
perceived as a one-sidedly pro-Palestinian tone, which they said led them to feel defensive and
uncomfortable in the classroom setting.

An Israeli graduate student shared an account of their experience three years prior, when they said they had
taken a course on Israel and the Palestinians. The student described the course as explicitly one-sided from
their perspective. They reported that throughout the term, they felt consistently singled out and asked to
justify their decision not to emigrate from Israel, as well as to account for their actions during their military
service. The student told the co-chairs they had been engaged in peacebuilding activities since high school,
but felt this background was disregarded in the class. The student felt they were, as they put it, not allowed
to be a human being in the eyes of fellow students.

Social Derision and Shunning

An Arab-Israeli undergraduate student shared that from their first days at Harvard, they encountered what
felt like social discrimination by some people of Arab descent. The student reported that some people
refused to speak with them altogether or broke off conversations upon learning they were Israeli. ‘They said
they lost many friendships with fellow Arab students, and described feeling attacked by strangers for their
involvement in the annual Israel Trek — a peer-led trip to Israel for Harvard students during spring break.
According to the student, the PSC urged students to boycott the trip and refused to meet with them or
other Israel Trek leaders. The student also mentioned knowing of a Palestinian student who, they said,
initially talked openly with Israelis upon arriving at Harvard, but over time cut off ties with Israelis after
associating with what the Arab-Israeli student described as more radical students.

An Israeli undergraduate student reported to the co-chairs that they were called a murderer to their face,
felt compelled to drop their course in Arabic due to what they described as a hostile atmosphere, and
believed that they were the target of malicious comments by classmates. They also told us that a Muslim
woman who had befriended them was called a “Zionist” by others.

The co-chairs received an account from an eyewitness to encounters between an Israeli graduate student
and a classmate. According to this account, the classmate allegedly said “you worked in the government, so
you are a Zionist. I don’t respect Zionists.” (We understand that the Israeli student worked for a civilian
ministry.) The eyewitness, who identified as neither Israeli nor Jewish, claimed the classmate pressured

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other students to shun the Israeli, suggesting they might be seen as supporters of genocide and the killing
of children if they did not. The eyewitness provided the following statement:

Judging someone based on their country, religion, or the actions of others is UNACCEPTABLE ... It’s
troubling that someone I share the identity of being a Harvard student who holds such narrow views and
acts in such a way toward a fellow student. It’s even more concerning that [the classmate] used a global
conflict to create a hostile environment and stain the name of a fellow student in a space meant for
learning. I don’t mind if [the classmate] dislikes me or chooses not to be friends. This is something which
doesn’t even matter to me but I strongly object to [the classmate’s] connecting me with ‘killing children” or
“genocide” when it has nothing to do with my interactions or opinions except for knowing [the Israeli
student in question].

Conclusion

The Task Force found that Jewish and Israeli student reactions to the events of the 2023-24 academic
year, especially in the aftermath of the October 7th attacks, were diverse and intense. Many of the students
we spoke with described experiences of being bullied or shunned by fellow students, singled out for
negative attention by instructors, and feeling ignored by administrators. Other students reported few or no
hostile encounters, but a segment still admitted to a degree of self-censorship and self-concealment about
their Jewish identity and views on Israel to avoid what they perceived as potentially unpleasant situations
with their classmates.

Notably, many Jewish students who identified as anti-Zionist reported to us that they felt the main source
of hostile behavior against them was other Jewish students.

Overall, a substantial majority of the students we met expressed some level of discomfort with their
position within the Harvard community, with reported experiences ranging from mild to severe. This
qualitative assessment appears to be corroborated by the quantitative survey data presented at the
beginning of this chapter.

It is important to note that while these accounts provide valuable insights into student experiences, they
represent individual perspectives and perceptions. The Task Force’s role has been to listen to and report
these experiences as they were shared with us. These narratives, combined with the quantitative data, form
a crucial piece in understanding the full picture of Jewish and Israeli students’ experiences at Harvard.
They can help us better comprehend the concerns of these students and work towards envisioning and
creating a more inclusive and supportive campus environment for all members of the Harvard community.

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CHAPTER 4
Case Studies from Harvard’s Schools

The Task Force received a significant volume of complaints about specific programs, classes, and protests
at Harvard that some students, faculty, staff, and alumni experienced as antisemitic or involving bias
against Israelis. Some of these concerns came to the Task Force through listening sessions, while others
came through emails and personal meetings with members of the Task Force. Chapter 3 presented a
sampling of these concerns. The accounts received made it clear that, particularly during academic year
2023-24, many Harvard affiliates had negative experiences and found that the University’s channels for
addressing complaints about experiences of bias, discrimination, and bullying were not functioning
effectively. In Chapter 5, we offer policy recommendations aimed at improving the University’s ability to
receive and address such complaints.

This chapter examines the perceived failure by some administrators and faculty to manage courses,
academic programming, and School-related events while upholding the principles of open-minded
inquiry, civility, and respectful disagreement. While troubled by the incidents described, the Task Force
acknowledges that it could not and should not serve as a substitute for a functional system for handling
complaints and discipline actions at Harvard.

Moreover, we want to underscore an important point we made in the Introduction. The Task Force did
not view its charge as serving as an investigative body. We have listened to and are reporting on what we
were told. We did not seek counterarguments or counterevidence. It is also important to note that the
University and individual Schools may have taken or may be in the process of taking actions to address the
concerns outlined here. The University summarized some of the actions it has taken since our Task Force
released our Preliminary Recommendations in June 2024.5”

Therefore, the information presented in this chapter should be considered the starting point of a broader
evaluation of these potentially problematic programs, not the end point. A complete assessment requires
that the Schools housing these programs conduct a full and fair investigation of these concerns (an activity
beyond the scope of the Task Force), seeking out possible counterevidence and counterarguments and
gathering more in-depth information from the individuals involved.

In this report, we define antisemitism as an identity-based bias that has kept Jewish Harvard affiliates
from fully participating in Harvard’s educational, co-curricular, and social life. Similarly, we define anti-
Israeli bias as an identity-based bias that has kept Harvard affiliates with Israeli nationality or
background from fully participating in Harvard’s educational, co-curricular, or social life. Based on what
the Task Force heard, we believe both antisemitism and anti-Israeli bias under these definitions exists at
various places at the University but seems to be particularly pronounced in certain programs at a few
Schools, as is discussed below.

Some on Harvard’s campus described experiencing direct expressions of antisemitism and anti-Israeli bias,
which manifested in the following ways, listed in descending order of reported frequency:

1. ostracism of Zionist and Israeli students that adversely affects their participation in both classroom and
co-curricular settings;
2. politicization of instruction or academic settings that effectively makes a specific view on the Israel-

Hamas conflict a litmus test for full classroom participation and ends up disparately impacting many
Jewish and Israeli students; and

57 hetps://www.harvard.edu/task-force-on-antisemitism/#implementationupdates

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3. politicized instruction that mainstreams and normalizes what many Jewish and Israeli students
experience as antisemitism and anti-Israeli bias.

While reported less frequently, the third category — politicized instruction that mainstreams and
normalizes antisemitism and anti-Israeli bias — was especially concerning as it often occurs in the context
of instruction about Israel/Palestine, a subject of considerable student interest, but one with a shortage, in
our view, of high-quality offerings meeting Harvard’s standard for intellectual excellence. Also, such
instruction can negatively influence the broader campus climate, creating a knowledge vacuum that allows
problematic offerings to unduly shape campus discourse and culture.

The following sections examine each category in turn, providing examples of the kind of behavior we
heard occurred on campus in academic year 2023-24, and offering one in-depth, illustrative case study.
The chapter concludes with an analysis of potential causes and possible remedies.

Ostracism of Zionist and Israeli Students and Their Exclusion from
Full Participation in Both Classroom and Co-Curricular Settings

Many Jewish students shared accounts with us of experiencing shunning from their peers for their support
or presumed support of Israel. In this student politics, Jews are objects of suspicion, who some students
and instructors view as presumptively holding “bad views,” and the response of some students is to choose
not to engage with them as fellow humans or Harvard community members. These experiences appear to
be widespread, with reports emerging from students in Harvard College, Harvard Law School, Harvard
Graduate School of Education, Harvard Divinity School, Harvard T.H. Chan School of Public Health,
Harvard Kenneth C. Griffin Graduate School of Arts and Sciences, and Harvard Medical School. Israeli
students, both Jewish and non-Jewish, encountered a more severe version of the same problem since their
Israeli identity is often very obvious to their fellow Harvard community members:

On paper, I went to the best ... school in the world, but Jewish students weren't really part of the vision they
had for their diverse community. I largely felt that there was a problem but nobody wanted to do anything
about it. It just seemed to be the case that antisemitism was just okay. And as an Israel it was just okay to
alienate me and not include me. Friends of mine were bullied for being friends with me — one was told that
it would “hurt his career to associate with a Zionist and to be publicly associated with a Zionist.” He posted a
picture of us studying together on Instagram and people attacked him for being with me. I never even did pro-
Israel things — I just existed [as an Israeli and a Jew]. This ruined my experience. I was cheated out of what
I should get to experience as a student at Harvard. Going to Harvard meant everything to me — to spend
[my time at Harvard] being bullied and ostracized was horrible. I was not invited to participate in the social
Life of my [cohort] because of this and I missed out on opportunities. [Graduate student]

The experiences students related, such as overhearing friends urging classmates to drop a student solely
because of that student’s Jewish and Israeli identity, are deeply concerning. One faculty member told the
Task Force that students had expressed interest in their course but ultimately decided not to enroll because
the faculty member was “a Zionist.” Similarly, a student reported to us overhearing a non-Jewish classmate
ask another student about a Jewish peer: “Is she a fanatical racist Zionist or just a Jew?”:

I had friends over ... to my apartment. Of the people who attended, 13 of them were my closest friends that I
had made at [Harvard] up to that point. At one point, a small group of them brought up that they did not feel
safe around an Israeli student on campus because of his nationality. I passionately defended him as a person
and his right to be a student here. The topic of the Israeli/Palestinian conflict itself did not arise during the
conversation. After the discussion ended, we went back to doing other things (1 talking, playing games, etc. ).
Only three of my friends were part of the argument, the others were in another room or doing something else.

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Soon after the party, I noticed an uncomfortable distance between myself and all 13 of my friends.
Invitations to hang out stopped, texts were not replied to, and one person had blocked me on Instagram. I
reached out to a few of the people, asking to chat or meet to discuss what had happened, but the texts were
either ignored or I was told they were busy.

[Later], I reached out to a few of the friends who I thought would be most receptive to meeting with me.
They agreed, and I met with four of them. All of them expressed that they had no issue with me personally,
and that they were sorry for the exclusion I had experienced. However, they viewed the incident as a
disagreement amongst friends that they were not willing to mediate or intervene in. As such, when that
group spends time together, I will not be invited anymore because some of the people do not want to
associate with me.

It was in these discussions that I learned that one of the people in the friend group had labeled me a Zionist.
They had called me a Zionist to others and made clear that they were not willing to meet with me or speak
with me at all for that reason. As such, I have not been able to sit down with them to have a conversation,
clear the air, and reach a mutual understanding. I can only assume that my subsequent social isolation (and
ZLionist labelin 1g) was for expressing my view that the Israeli student had a place on campus, and that
students should not feel unsafe on campus because he is Israeli. [Graduate student]

Examples like this illustrate how anti-Israeli bias can easily spill over and affect American Jews.

Even before October 7th, prejudice and shunning based on perceived connections to Israel were already
experienced on Harvard’s campus. For instance, as noted in the introduction, the Task Force heard an
account from a few years ago of an Israeli student in a Harvard degree program was assigned to a group
project with another student. That student informed the faculty member who made the assignment that
their pro-Palestinian politics prevented them from participating in the group project with an Israeli. While
stating there was nothing academically wrong with collaborating with their assigned partner, the student
requested a different group assignment, citing their political views as justification. The instructor
reportedly granted the request.

Another example involves the Palestine Program for Health and Human Rights at the Francois-Xavier
Bagnoud (FXB) Center for Health and Human Rights, based at the Harvard Chan School. Until very
recently, the Palestine Program operated a study abroad program in partnership with Birzeit
University.*® Birzeit, a Palestinian institution, maintains an official policy of academic boycott, refusing
academic contact with Israeli universities. This collaboration for several years raised concerns that a
Harvard program effectively tolerated a boycott of Israeli academia, and was, potentially, serving as a
model for such practices for its students. The Task Force suggests that a more constructive approach
would have been for Harvard to condition its collaboration with Birzeit on the inclusion of an Israeli
university partner.

589 Tn late March 2025, the Harvard 'T-H. Chan School of Public Health informed us that the Memorandum of
Understanding (MOU) with Birzeit University’s Institute of Community and Public Health, which initially established the
FXB Center’s initiative on Palestinian health, has expired. The formal collaboration with Birzeit has ended, though individual
faculty collaborations remain possible. The FXB Center has removed Birzeit’s logo from its website, which now reflects a
broader range of international partnerships.

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Politicization of Instruction and Other Academic Activities

The second category of concern observed in numerous Schools across campus, involved the introduction of
what effectively amounts to a political litmus test regarding the conflict between Israelis and Palestinians,
even in courses seemingly unrelated to the subject.

One example relates to multiple concerns expressed to the Task Force about the actions of some faculty at
the Harvard Chan School in relation to protests during the 2023-24 academic year. Several students
reported feeling that some faculty appeared to endorse pro-Palestinian protests on campus. For instance,
one student expressed concern that a faculty member canceled and rescheduled class, seemingly to allow
students to participate in the “Palestine Solidarity Global Strike” on Friday, October 20, 2023. This
student reported feeling “disheartened, isolated, and scared” as a result. The Task Force believes that when
faculty take actions that could be perceived as signaling to students that their grades will not be affected if
they miss class to join a specific protest — especially if that protest aligns with the instructor’s political
commitments — such actions have the potential to undermine the Harvard Chan School's stated aim of
producing an inclusive and welcoming environment. (We understand that the School’s leadership has
subsequently communicated to its faculty that canceling classes so students can attend protests is, going
forward, unacceptable.)

Similarly, the Task Force received a report that a Teaching Fellow at Harvard Law School sent an email to
students in their class on October 10, 2023, which included the following:

I have tried to normalize the practice of bringing your whole identities and ideologies to the law
school and classroom. I am sure you have been apprised of the ongoing violence in Gaza. To say the
least, the news may seem overwhelming and confusing. I remain a resource for you all as a peer and
TF to help process what we are seeing. I’ve found that spaces like the event below, a vigil at 7pm
tonight at the Harvard Science Center, are very grounding. I invite you to take time to process your
emotions, develop your commitments, and be in the community.

The student described in a letter to the Task Force how this made them feel:

[The Teaching Fellow] made no mention of the horrific terrorist attacks on civilians in Israel and made it
seem that this was a one-sided issue, echoing the abhorrent statement written by the Harvard Palestinian
Society Committee that was released days earlier and signed by 34 student organizations ... [The Teaching
Fellow] also stated in [their] email, “I remain a resource for you all as a peer and TF to help process what

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we are seeing.” By explicitly calling out that [they are] a TF, [they] called on [their] authority and role as
an employee of the University to further [their] agenda. Finally, [they] encouraged students to attend a
Palestinian Vigil, making no inclusion for any of the Israel Vigils we were also being conducted to help
students. [The Teaching Fellow] encouraged students to only mourn the lives lost in Gaza ...

The professor in the course, upon learning of this email, immediately intervened to prevent its recurrence
and made clear to all students in the class that the email had not been authorized by him. No further
emails of this sort were circulated.

The Task Force received a similar concern about a Teaching Fellow’s decision to cancel a class at

Harvard College:

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Ee
Dearal,

AS many of you might know, ine Palestinian
Soldanty Committee and Graduate Siudents tor
Polestine are organizing @ class walk-out end
general siuke ot Massachusetts (a) today
between l«dorm celing-on (he edminisiration (to
break its clence. As our section runs

between 130 end 2.20pm, | nave decided to
cancel section today solidarity.

AS your class lonot taking pace loday This wil
nol be counted as an absence on your pert nor
wil-ahlec your crade inary way. aiso-<ie-not
expect you to makeup the class orwriea
response paper,

Panny of you have any concerns regarding the
course maternal we woull have covered today,
pieese (eel jree to-erns)) me or io sel up-an
appointment witht me.

Best,

Text message from an instructor to students.

(Image submitted anonymously and redacted to protect privacy.)

In a course focused on reimagining education through diverse learning methods — including storytelling,
art, drama, games, and community action — the instructor, a visiting fellow who was at Harvard for a
short, one-week visit, posted a course welcome video that began, “We have inherited a world where a
genocide is happening in Gaza.” The application of the term “genocide” to the humanitarian crisis in Gaza
is hotly contested. Beginning a course unrelated to the Middle East with this assertion effectively
establishes a political viewpoint as a prerequisite for full participation in the course.

This framing significantly affected some students:

It was clear that genocide is not the professor's area of expertise, and yet [they] felt the need to frame this
controversial argument as a fact, as part of [their] “welcome” to the students in the course. No context to the
war was given, no mention of the suffering of people in Israel or the hostages, or of the countless devastating

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conflicts in the world. Needless to say, there is no connection between the comment and the course. As an
Israeli student, when I hear these as the first words of a course, I know that I am no longer welcome in this
course ... this environment puts me in a situation where I need to think twice before enrolling into a class,
before saying where I am from when professors or students ask, give examples from my experience, or even if
I should speak in class and draw more attention to myself. And more importantly, the atmosphere results in
me as [a small number of Israelis] at HGSE being singled out. My Jewish peers and I continue to be
marginalized from some classes and opportunities other students have access to. HGSE’s curriculum clearly
values equity and inclusion, but I am left feeling that this is a hollow promise when it comes to me and my

Jewish peers. [Undergraduate student]

While instructors have the right to express their political viewpoints in civic and political contexts, their
role as educators, especially when teaching unrelated subject matter, requires them to exercise restraint in
expressing personal political views. This restraint helps ensure that all students feel able to participate in
the class on an even footing. In the case of the visiting fellow, who was on campus for a very short period
of time, the Task Force is concerned that basic professional norms regarding the role of an instructor were
not communicated. We note that as soon as the administration was notified of the problem, they acted to
remove the offending video from the course website.

Similar to the issue of shunning, the Task Force heard accounts of what some described as political litmus
tests being present at Harvard prior to 2023. One notable example involved the “Settler Colonial
Determinants of Health” course, taught annually at the Harvard T.H. Chan School of Public Health. A
2021 email from the EDIB Standing Committee of the Department of Global Health and Population that
was distributed to the full department described the course as part of a broader initiative that ultimately
resulted in the creation of two courses:

Our students, faculty, researchers, and staff come from every region of the globe, bringing together
diverse backgrounds, identities, and perspectives. As scholars and as colleagues, we work towards
building an inclusive and welcoming environment, where everyone can feel valued and accorded
dignity and respect.

Since the designation of the standing committee, we have been working through the materials
gathered in our retreat, the priority plans from the school, and the previous recommendations from
the EDIB committee to chart the optimal next steps. Although we are still sorting through the
optimal strategy, we have already seen some progress so far. The Department has developed a course
on Decolonizing Global Health ... and a course offered this Winter session, The Settler Colonial
Determinants of Health ...; the Brown Bag Seminar has diversified its speakers. The doctoral and
SM2 student communities have some mentorship programs that have developed organically. We will
update you as we progress in our learning and actions.

The first instructor of the first class mentioned in this email, “Decolonizing Global Health,” described
their vision for the topic on social media in a post that students shared with us:

Ch loshucter #1 fepacied

@ SE ~

~"Decolonizing global heaith"~ means standing against actual material
(settler) colonialism, not talking about DEI in academia. it means standing
up for a free Palestine.

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This social media post appeared to suggest that success in the course might be contingent upon political
support for a specific side in a heated political contest. It also arguably conveyed a message that students
who disagreed with this viewpoint might not be welcome. Indeed, several students with different political
views who were initially interested in the course told the Task Force they chose not to enroll due to fear of
discrimination. It should go without saying that academic performance should never depend on a student's
political opinions or commitments. If this course adopted a specific political agenda, as the social media
post suggests, such an approach would undermine Harvard’s academic mission and integrity.

This situation also raises concerns about whether instructional quality met Harvard’s standards of
excellence. In any event, the decision-making process surrounding this course does not serve as a model for
how Harvard departments should implement significant new curricular initiatives.

The Task Force heard similar concerns about actions related to the Israel-Hamas conflict in other areas of
the University that some perceived as imposing a viewpoint litmus test. For example, protests at Harvard
Medical School in Spring 2024 sparked concerns that the atmosphere at recruiting events for newly
admitted Harvard students could discourage open and constructive discourse on the Israeli-Palestinian
conflict. Some worried that these protests might create pressure to conform to a particular viewpoint,
potentially discouraging prospective students who hold dissenting views from enrolling.

To provide context for the concerns, we will share some background information, relayed by HMS faculty,
students, staff, and alumni, about the events that took place in the 2023-24 academic year at the Admitted
Students Preview Days at HMS.

Many HMS affiliates described a deeply politicized environment, where outward expressions of social and
political commitments were commonplace. For example, it was reported that HMS affiliates commonly
wear pins and other visible symbols to signal their support for various causes. Numerous Jewish physicians
and physicians-in-training told us that they supported such outward expressions as a way to affirm
inclusivity and shared humanity. The Task Force recognizes the value of this aim.

However, many affiliates also reported an intellectual environment that provided little room for other types
of diversity. Some HMS faculty, staff, and students characterized the dominant political atmosphere at
HMS as a monoculture. Unfortunately, we were told, Jews do not do well in this narrative, where “Jews
are the oppressors and [part of being good and supporting health means] stopping colonialism and Israel.”
In recent years, HMS has embraced an expansive view of the role of health professionals in promoting
public health, for example by training its new students how to become advocates and activists on issues
related to public health and encouraging them to leverage their roles as physicians to effect social change
along multiple dimensions.**! Importantly, while this political framework suggests a worthy concern about
certain forms of discrimination, many community members expressed concern that this focus seems
limited to groups “underrepresented in medicine” *? or those experiencing “adverse health outcomes.”
These categories, they noted, do not include Jews or Israelis.

Indeed, several community members — a term we intentionally employ to protect the anonymity of
individuals who requested that even their roles at HMS not be disclosed — told the Task Force that they
felt hostility when seeking assistance from HMS’s Office for Diversity Inclusion and Community
Partnership (DICP). ‘They said they were told that this office primarily addressed the concerns of groups
currently underrepresented in medicine. HMS administrators disagreed with this framing of DICP, and in

5 In sharing early drafts of this work, many readers expressed disbelief that this was true. However, it is. In the Introduction to the
Profession mandatory course for first year medical students, there is indeed a class on “Physicians as Advocates and Activists.” The
course teaches students “principles of advocacy and activism” after which the class “explore[s] a pathway to meaningful activism
and advocacy through the lens of a most consequential public health threat — climate change.” The course teaches students that
as physicians, they will be “among the most trusted voices in our society” who should use that trust to advocate for social causes.

58 See e.g., https://www.aamc.org/career-development/alfinity-groups/gfa/unique-populations#

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emails with the Task Force pointed to recent programming related to antisemitism concerns.** That said,
these community members described an environment where commitments to anti-racism and diversity,
equity, and inclusion did not appear to encompass a parallel commitment to combating, or even adequately
acknowledging, antisemitism. HMS affiliates who advocated for the School to address antisemitism more
directly told the Task Force that they often felt their efforts were met with resistance.

It is within this context — one in which some community members see HMS as an environment where
many people are committed to combating certain kinds of discrimination and encouraging activism — that
October 7th arrived. The Hamas massacre and global response brought into sharp focus how HMS’s
commitments to social justice intersected with the Israeli-Palestinian conflict. This question was not
entirely new, as tensions surrounding the issue had been increasing in salience since the 2010s. Nor was
the division within the broader HMS community, with some viewing Zionism a form of social justice,
while others saw pro-Palestinian activism as the paramount social justice issue of the day.

What the Task Force learned about HMS underscored for us the critical need to create and nurture a
School culture that provides room for dissent and values genuine diversity, including diversity of thought.
In the aftermath of October 7th, any Jewish, Israeli, and Zionist community members appeared to have
expected the HMS administration to share their grief, while other students appeared to have expected the
administration to share their grief, which they described as not only fear for what would happen in Gaza
but also their mourning for all of the violence and displacement that has been a part of the Israeli-
Palestinian conflict for decades. As one Jewish student poignantly described, they felt “torn between being
Jewish and being a health care provider who cares about the lives of all endangered people.”

This pre-existing climate of polarization intensified in the aftermath of the Hamas attacks. We heard that
public political expression at HMS surged, taking the form of protests, open letters, external threats, legal
actions, and demands for divestment or boycotts. Both sides of the political dispute closely scrutinized the
administration’s various responses, meticulously analyzing written communications for any hint of bias and
dissecting the statements of various deans. Several staff and students reported paying close attention to
which administrators attended specific protests or social events, and what they said while present. Some
HMS affiliates felt that HMS’s handling of demonstrations — specifically, what they perceived as a failure
to enforce rules regarding permitted demonstrations and an implicit endorsement of pro-Palestinian
protests — demonstrated an uneven application of policy. Others viewed any attempt to discipline the
protestors as an attempt to delegitimize their cause.

One of the most troubling stories that we heard in the course of our overall work had to do with Admitted
Students Preview Days (ASPD) at HMS. HMS, like many medical schools, hosts an event on campus for
its admitted students to come and “experience HMS” with the goal of persuading them to enroll. This is
an example of a “yield event” where universities welcome their admitted students to campus to see the
community they have been invited to join.

According to reports received by the Task Force, some HMS students planned to use ASPD as a platform
for a pro-Palestinian protest. This plan was not a secret — it was initially shared with the student body via
an email survey gauging support for incorporating pro-Palestinian messaging into the HMS student
“music video,” a signature element of ASPD. However, the HMS administration reportedly blocked this
attempt, deeming it “inappropriate” and stating that “it would likely be perceived as representing a political
viewpoint and could alienate some members of the student body.” The Crimson reported that some HMS

583 When HMS administrators reviewed a draft of this report, they pointed to several programs that this Office had produced
that were not mentioned to us by the HMS affiliates who spoke to the Task Force, such as seminars and programming on
Holocaust education and sessions co-sponsored with the Harvard University Office for Equity, Diversity, Inclusion and
Belonging on antisemitism and Islamophobia. We acknowledge and appreciate the work that HMS has been doing to
improve the climate on their campus.

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students viewed the administration’s decision as censorship, particularly since pro-abortion messages had
been featured in the prior year’s video, which reflects back on the deeply politicized environment.5* In a
statement to the Crimson, HMS’ spokesperson wrote that:

There is a place and space for protest and expression of political advocacy, but it is not in a
celebratory student music video, which is meant to be a non-political, festive piece and designed to
create a supportive, inclusive environment for all students and to welcome newly admitted ones.

This strikes us as exactly right, and we commend the HMS administration for responding as they did.

Despite the administration’s significant and admirable efforts to prevent the politicization of the student
music video, several accounts described the ASPD event as intensely partisan and off-putting. While we
were not in a position to conduct an exhaustive investigation, the common themes that surfaced suggest
important issues and concerns meriting close attention:

A lot of the current students made it clear they wanted to send a message to visiting students to discourage
Zionist students from coming here. [HMS student]

[At admit day], many students were wearing keffiyahs, including officers of student groups. [There were]
many signs like “Stop the Genocide” and “Free Palestine.” There was a talent show where many student
organizations put on Palestinian-themed presentations. Current medical students [stood] on an elevated
walkway yelling “Free Palestine.” Many students wore red masks to show that they had been muzzled by
Harvard (apparently in connection with a student-produced video that was to have more Palestine
content). I was told by one of the students that “Zionists are not welcome at HMS.” [Recently admitted
HMS student]

HMS students and admitted students described the rhetoric and protests at the event as threatening. For
example, during the talent show, an HMS student performed an Arabic song that was written by
Lebanese artists after the Israeli victory in the Israeli-Arab War of 1967 that reflects sadness over the
outcome of that war and a longing for the conquest of Jerusalem. In Arabic, the song is called “Ya Zahrat
al madayn.” ‘The HMS student performed the first verse of a three-verse song, where the first verse reflects
a longing for Jerusalem and a praise for its holiness, the second verse reflects a lament for the loss of
Jerusalem to Israel in the war of 1967 and the third verse expresses faith that fury will come and restore
Jerusalem to Arab rule. The verse performed during HMS Admitted Students Preview Days, translated

into English, is as follows:**

It is for you O city of the prayer that I pray

It is for you O splendid home, O flower of the cities

O Jerusalem O Jerusalem O Jerusalem O city of the prayer
Our eyes are set out to you everyday

They walk through the porticos of the temples

Embrace of the old churches

And take the sadness away from the mosques

O night of Al Asra O path of those who left for the sky
Our eyes are set out to you everyday and I pray

HMS administrators informed us that they had authorized this student to perform a different Palestinian
folk song, “Ya Taali’een ‘ala el-Jabal,” and that the student substituted this other song about Jerusalem for
that one after going up to perform with no warning. They also emphasize that the student did not perform
the final verse of the song, where the longing for the conquest of Jerusalem is most explicit (e.g., the lyrics

58 https://www.thecrimson.com/article/2024/4/22/medical-dental-students-allege-music-video-censorship/
585 A translation of the full song into English can be found here: https://lyricstranslate.com/en/node/77817

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“T will knock the gates and I will liberate them / My face will be cleaned by the holy water of the Jordan
river / And the effects of the barbarism of the past will be erased O Jordan River / The glaring anger is
arriving riding ... This is our home and Jerusalem belongs to us / And in our hands we will celebrate the
splendor of Jerusalem / by our hands the peace will return to Jerusalem” were not performed). However,
students and prospective students in the audience who did not speak Arabic were aware of what song was
performed and the lyrics that they looked up online, not the fact that the second two verses were omitted.
HMS administrators also tell us that they admonished this student subsequent to the performance of the
song for failing to follow the approved script and reminded this student of the time, place, and manner

restrictions on protest. HMS administrators also inform us that they will separate the talent show from
ASPD going forward.

One student described their admission to HMS as “one of the biggest honors” of their life. It was “not
even a dream” because they “never imagined it would happen.” There was “true elation.” This applicant
identified as a progressive Jew who said they were “not afraid of keffiyehs.” However, the ASPD event
revealed to this applicant that HMS was “not an environment that was welcoming to different
viewpoint/stances” and not a place where they “could find community. [The ASPD event] burst the
bubble of elation.” This applicant, while deeply critical of Israel’s actions in Gaza, shared the following:

What stuck with [me] throughout the [event] weekend. [is] Zionists not welcome here. You [the applicant]
are not and will not be. Students were trying to make other students not welcome.

The admitted student felt that HMS did not offer the sort of “respectful and inclusive” environment that
they envisioned for their preparation as a health care professional and instead was a toxic place where the
student did not want to spend four years. As a result, this admitted student turned down HMS and
pursued their medical education elsewhere.

Another admitted student shared with the Task Force a strikingly similar experience. They reported
feeling shocked by what they perceived as endorsements of the anti-Israel protests by HMS administrators
at the ASPD event. They mentioned noticing the absence of any Israeli or Jewish representation (for
example, in flag displays), while seeing HMS tour guides wearing clothing that signaled support of anti-
Israel protestors and what they described as “pro-Hamas posters” during the dorm tour. These
observations left the prospective student feeling that HMS staff and students would be actively hostile
toward them if they enrolled.

This prospective student further reported visiting HMS’s Office for Diversity Inclusion and Community
Partnership after the ASPD event to inquire about accommodations for Jewish holidays and express
feeling unsafe during the ASPD activities. According to the student, they were told that they were not
unsafe but rather uncomfortable, and that they should know the difference. The student was reportedly
told that their safety was assured by the presence of security personnel at the event. However, the student
replied at the time, the fact that HMS had to bring security to the event for admitted students meant that
there was a safety issue. They told us that they left the meeting in tears.

This admitted student also declined HMS’ offer of admission.

A vocal component of the HMS community appears to view itself as engaged in an ongoing battle to
establish a certain narrative of the Israeli-Palestinian conflict as an institutional orthodoxy. In line with
this, one senior HMS administrator noted the strong focus of many HMS students on social justice,
adding “[they] think Harvard is on the wrong side of history when it comes to Palestine”:
[Life at HMS] left me ready to quit medicine —I had to remind myself that Harvard isn’t medicine and
that not everywhere is like this. [HMS graduate]

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Politicized Instruction that Mainstreams Antisemitism and
Anti-Israeli Bias

The Task Force received examples of instructional materials from multiple Schools that raised concerns
about the potential introduction of antisemitism and anti-Israeli bias into the classroom.

Harvard Graduate School of Education

One concern involved a course at HGSE about ethnic studies that assigned an article titled “Palestine is
Ethnic Studies: The Struggle for Arab American Studies in K-12 Ethnic Studies Curriculum.”5*

The article, which focuses on the conflict over the Ethnic Studies curriculum in the State of California’s
K-12 education system, describes how Jewish groups raised concerns about what they perceived as one-
sided depictions of the Israeli-Palestinian conflict and the erasure of California’s Jewish community.
However, the article characterizes these Jewish groups as one of two main opponents of ethnic studies in
California, alongside White supremacists. On page 222, the article states:

In addition to the white supremacist targeting of this movement, Islamophobic and Zionist
organizations such as the Anti-Defamation League, the Jewish Community Relations Center, and
the Simon Wiesenthal Center organized an aggressive campaign to remove any mention of Palestine
and Palestinian Americans in the curriculum.

The article then asserts that dismantling anti-Arab racism requires “ending the war on terror including the
US-backed colonization of Palestine.”°*” Notably, the article itself offers limited insight into the
perspectives and motivations of the California Jewish community regarding the draft curriculum beyond
cursory references to “anti-Palestinian racism.” It then posits that a new, liberated ethnic studies
curriculum emerged in response to the perceived political influence of the California Jewish community (or
“Zionists,” as the article refers to them).

There is no reason why an article about Arab American studies in the broader conversation around ethnic
studies could not be featured as part of a course that covered the content, which this one at HGSE did.
However, the article, as written, taps into antisemitic tropes. The article does not include any counterpoint
explaining why Jewish groups had problems with the model California ethnic studies curriculum. Jewish
groups are reduced to a faceless, shapeless, and malevolent force. A class discussing the perspective of both
pro-Palestinian groups and Jewish organizations with attachments to Israel could nicely illuminate
contested spaces within ethnic studies curricula. Instead, the provided course materials communicated a
dehumanizing frame to Jewish students in the course.

Instructors should strive to identify and avoid potentially antisemitic materials, just as they would materials
containing potentially racist or otherwise biased content. In addition to the concerns raised about this
article, the Task Force also learned about a session in four sections (out of 28) of a required course for all
HGSE students that included the following graphic about White supremacy:

58° Lara Kiswani et al.,”Palestine is Ethnic Studies: The Struggle for Arab American Studies in K-12 Ethnic Studies
Curriculum,” Journal of Asian American Studies, vol. 26 no. 2, 2023, p. 221-231. Project MUSE.
https://dx.dol.org/10.1353/jaas.2023.4901070

587 Thid, 223.

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An Example:
Deconstructing
White Supremacy
“This image illustrates the historical

foundations of day-to-day racist norms
that work together to produce

“extreme” or spectacular acts of white on
supremacy. [t snows that individualized i = ia
white supremacy stems from centuries i arpa no oa co

of structural racism in the US."

ee ee i

from: httos://wwwvigiontlove.org/servicesnotaurveliance

Setting aside concerns about potential antisemitism and anti-Israeli bias, this graphic is on its face
conceptually incoherent. For example, it pairs slavery with free trade, neo-liberalism with McCarthyism,
and outsourcing with the War on Terror. Such dubious comparisons appear throughout the chart.

A closer examination reveals additional concerns. The graphic labels opposition to the Boycott,
Divestment, Sanctions (BDS) movement as considered “coded genocide,” placing it alongside the Anti-
Defamation League (ADL). Both are positioned merely one step removed from “overt genocide,” which
includes examples like lynching and the KKK. The ADL, while not without controversies, is a
longstanding American Jewish organization founded in 1913 with a well-documented history of
advocating for civil rights.

Some Jewish students enrolled in this course who spoke with the Task Force expressed that this graphic
felt demonizing towards individuals who support Israel’s right to exist. They reported that the instructor
displayed the graphic on screen for an extended period without addressing its problematic characterization
of Jewish organizations and perspectives. Furthermore, when a Jewish student raised concerns about the
gtaphic’s antisemitic elements to the teaching assistant, who then relayed these concerns to the instructor,
the graphic was neither removed from the screen nor from the copy of the slides posted online. Instead,
the student told us the instructor made a comment at the end of class that felt targeted and dismissive of
their concerns. According to the student, the instructor referenced the “land acknowledgement” made
earlier in the class, in which the instructor acknowledged that Harvard University sits on land rightfully
belonging to Native Americans, and then stated, “I am so grateful that we could acknowledge the land we
are on right now is not rightfully ours and this [rule] must apply to other places.”

We understand that the instructor has since agreed not to include this graphic in their course materials in

the future.

The complex dynamics of problematic social media, public commentary, and experiences of shunning and
identity-based targeting that the Task Force has noted coalesced in certain significant community events.
One such incident was a teach-in at HGSE.

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In the aftermath of the October 7th attacks and the ensuing war and campus unrest, HGSE, like other
Harvard units, sought to organize a panel discussion featuring diverse perspectives on Israel and the
Palestinians. Given that HGSE lacks resident faculty with expertise in the area, they (sensibly) looked
elsewhere in the University for help. Consequently, HGSE leadership asked the Center for Middle
Eastern Studies, whose faculty possess considerable expertise in the region, to assemble the desired panel.

Several attendees perceived the resulting panel to be heavily skewed toward a single perspective, with some
even expressing concern that the speakers appeared to justify Hamas’ actions. Furthermore, the Task Force
received reports alleging that an antisemitic comment was made by one of the panelists, directed toward a

HGESE affiliate.

An examination of this incident underscores the danger of convening one-sided panels to address deeply
contested issues. It highlights the importance of responsible and knowledgeable faculty leadership in
moments of crisis and in assembling suitable speakers for such moments, and what happens when that
does not happen.

Evolving War in
Israel/Palestine
Teach-in 2

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Harvard Graduate Schoclof Education

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This event was co-organized by Harvard’s Center for Middle Eastern Studies (CMES), which possesses
considerable resources and expertise on the region. A HGSE administrator opened the event with the
following remarks:

As you know, this is the second in a series of teach-ins on the evolving war in Israel/Palestine that
are being organized by our colleagues in Harvard’s Center for Middle Eastern Studies. This one co-

sponsored and hosted by [HGSE] ...

We decided to start these events with a teach-in for at least two reasons. First, we heard from many
students over the past two weeks about their perceived lack of knowledge about the Israeli-
Palestinian conflict and their desire to learn more about the historical, political and legal context for
the current conflict. Second, as a School of Education, one with the motto “Learn to change the
world,” we view learning as an essential prerequisite for work on the most challenging issues we face
as a society.

The scholars we will learn from today vary in their identities, their experiences and their expertise.

They differ on how they assess the current situation. What matters most about it? Where things are
headed. And what should be done ...

What they and other scholars affiliated with the Center for Middle Eastern Studies share is a
commitment to the principle that there is no justification for the targeting of civilians and that any
loss of civilian life should be grieved.

Unfortunately, the speakers largely did not differ in how they perceived the then-current situation. The
speakers included a professor of Palestinian Studies from another university and three Harvard affiliates
with recognizably pro-Palestinian viewpoints. Some Jewish HGSE affiliates told us they chose not to
attend this event when they saw that there was likely no one on the panel who would offer a pro-Israel or
even neutral voice. Their concerns proved to be justified.

At the outset of the event, speakers described the October 7th attacks as attacks on “Israeli Jewish
settlements surrounding the Gaza strip.” This terminology raised concerns among some attendees, who
perceived it as an arguably deliberate attempt to de-humanize the Israeli victims of the attack and to
justify their murder since they were “settlers,” a term typically used in English to describe Jewish
residents in the West Bank, as opposed to those who live in pre-1967 Israel. (The places in southern
Israel that were attacked by Hamas were the latter, e.g., collective agricultural communities founded in
the 1940s and 1950s.) Some Jewish and non-Jewish HGSE community members reported feeling that
the thematic thrust of the teach-in leaned more toward justifying the violence against Israeli civilians
than criticizing it.

This perceived sentiment about Israeli settlers was not limited to this particular event at HGSE but
appeared to be present elsewhere at the University as well. Students shared social media posts with the
Task Force — allegedly made by fellow students — that exemplified this perspective.

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The lack of any kind of sympathetic perspective towards Israel meant that the assembled HGSE
participants were left without answers to important questions: Why was Israel alarmed by Hamas’ victory
in the 2006 Palestine Authority elections? Why did Hamas and the mainstream Palestinian faction, Fatah,
fight a civil war after that election? Why did Israel choose after Hamas’ victory in that war to impose strict
separation between it and Gaza? Why are Jews living in Israel in the first place? On all of these questions,
the panel offered no information.

This event was recorded, so we were able to review the full transcript in addition to hearing complaints
and concerns from attendees. In the recording, panelists claimed that pro-Israel community members at
Harvard were in denial, suggesting that efforts should focus on helping them “unlearn what they've already
learned.” This framing implied that individuals holding views divergent from those of the panelists had
been misled or indoctrinated into falsehoods. The panelists were perceived by audience members to adopt
a stance of “breaking a taboo” and of “speaking out against power” while actually offering partial truths and
misinformation. The panelists talked about the importance of humanizing Palestinians, but at the same
time they seemed to de-humanize Israelis.

The discussion seemed to lack historical and political context essential for a comprehensive understanding of
the conflict. For example, the panel did not address Israel’s history of releasing large numbers of Palestinian
prisoners in hostage deals, a factor that reportedly played an important role in the planning of the October
7th attacks, so even the Palestinian perspective was not well-represented at the event. Instead, the panelists
focused on advocating a particular pro-Palestinian framing that left the motivations of both Israelis and

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Palestinians a mystery. For example, in a transcript of the event “settler colonial” appeared three times,
“apartheid” appeared four times, and “genocide” appeared 13 times, while “hostage” did not appear once.

In an extraordinary moment, a Jewish American HGSE affiliate posed the following question after the
panelists concluded their discussion:

You know, to say I feel gaslit in the face of massive atrocities in Gaza and in Israel would be an
understatement. This does not feel like a teach-in. This feels like indoctrination. I will end with a
question, though. My heart goes out to each of you on a human level. Deeply human level. I’'d love
to hear how, given all the context, the justification, but not the justification, you would explain the
violence on kibbutzim founded in 1946, not settlements. Thank you very much. Kibbutz is peaceful.
Kibbutz is with peace workers. How would you explain the targeting and murder of children and
families in their bedrooms? And I would end that by not making some political statement. Right
now, what we see in Gaza is absolutely heart-wrenching, that we know thousands of people have
died and will continue to die in Gaza. Israelis and Palestinians will continue to die in this conflict.
And it is astounding to me that we have just sat through 90 minutes where one person made a very
brief mention and then each of you went to great lengths to give us context for the murder of
families in their bedrooms.

In response to the HGSE affiliate’s question, one of the panelists reacted by asking the individual to repeat
their name, which was a common name for a Jewish American. The panelist, who had grown up in

Israel/Palestine, then proceeded to tell the HGSE affiliate that they had no right to ask the question:

Now, honestly, what’s your name? [Repeating a recognizably Jewish first name] ... Excuse me. I am
extending first of all, don’t interrogate me. I’m not [at] an interrogation. We’re not at home.

Audience members who spoke with the Task Force perceived this response as implying that the Jewish
HGESE affiliate, by virtue of their Jewish identity and pointed question, posed a threat akin to
interrogation or even torture by the Israeli military.

Following the event, the Jewish HGSE affiliate who had asked the question and received this answer,
subsequently communicated with senior HGSE administrators, who apologized for the harm caused by
the teach-in and the “extremely one-sided” panel. They also recognized the panelist’s behavior as
“antisemitic” and that this response to a legitimate question was “unacceptable and bigoted.” Other HGSE
community members expressed a similar sympathy and shock at the event. We were told that members of
the HGSE community were deeply traumatized by this panel and this incident, and it contributed to what
we were told was a very tough year at HGSE.

We believe this example illustrates the dangers of one-sided academic events on controversial topics. These
dangers are enhanced when these events are produced by a School itself or center, as opposed to a student-
initiated event, which does not carry the University’s implicit endorsement. Events like the HGSE “teach-
in,” which consist of 90 minutes of people agreeing with one another, transforms the ostensible purpose of
the event into something more like a rally for partisans who passionately share the same viewpoint.
Moreover, such a structure incurs a risk of emboldening and bringing out extreme aspects of the
hegemonic point of view on display.

That is what happened here. We wonder whether the panelists would have been so quick to dismiss points
of view from the audience that differed from their own if those perspectives had been represented by the
panelists themselves. And we also wonder whether the antisemitic attack by one of the panelists on a
member of the HGSE community would have taken place in an atmosphere open to the exchange of
dissenting views. The event was attended by students from other Harvard units, so its influence was felt

beyond HGSE as well.

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Disturbingly, the Task Force received additional accounts from Harvard affiliates at HGSE describing
instances where American Jews, Israelis, and even Palestinians with moderate political views were
subjected to bullying and intimidation by pro-Palestinian activists who viewed any perspective on Israel
that did not align with their own as a betrayal. This bullying reportedly took various forms, including
shunning, threats, and verbal harassment — all of which are antithetical to the values and norms of a
pluralistic and inclusive community. The public nature of the abusive behavior at the HGSE Teach-In,
coupled with the lack of immediate public condemnation, raises concerns about whether this incident may
have contributed to a broader culture of intolerance. By appearing to legitimize a narrow and exclusionary
perspective on the Israeli-Palestinian conflict, the event may have had a chilling effect on the free
expression and sense of belonging of those — among them many Jewish and Israeli individuals — holding
dissenting views within the HGSE community.

This case points to the need for centers of excellence with topic matter expertise, like CMES, to act as
trusted partners to the rest of the University during times of crisis. CMES failed to rise to the occasion at
this event. The moderator (a faculty member from elsewhere in the University) was also not sufficiently
prepared to handle an active instance of antisemitic name-calling in the moment.

Preventing similar occurrences in the future requires support for improved academic capacity at the
University to address the thorny questions in the Middle East at the highest level of academic caliber,
more professional development for administrators in how to develop, structure, and implement public
events on controversial topics, and more clarity from School leadership on how to establish non-
discrimination and anti-bullying as norms anchoring a pluralistic School culture. Additionally, the Center
for Middle Eastern Studies should in the future offer more diverse perspectives when providing experts to
serve in public events throughout the University.

Harvard T.H. Chan School of Public Health

In Fall 2024, the Palestine Program for Health and Human Rights at the Francois-Xavier Bagnoud
(FXB) Center for Health and Human Rights (the “Palestine Program”) at the Harvard T.H. Chan
School of Public Health offered many high-profile webinars about the humanitarian crisis in Gaza.
Several students raised concerns with the Task Force about these webinars, alleging that some of the
featured speakers presented a demonizing view of Israel and Israelis. One student told us that the FXB
programming created the impression that “Israel exists solely to oppress Palestinians, and nothing else.”

Students reported that when they voiced concerns about what they saw as bias in the Center’s programming,
they were asked: “Who is more marginalized, Jews or Palestinians?” These students interpreted this response
as an attempt to invalidate their concerns by suggesting that the complaints of Jews were illegitimate because
of an unseen hierarchy of civil rights claims and victimhood. Students noted that there were no programs on
the “public health consequences of rockets being fired or suicide bombings.”

One student shared, “I came to the school as a [scientist], only to encounter this big over-arching
framework of social justice that is a higher priority here than science.” Another student echoed the
sentiment, stating, “[We] have decided that every issue is a public health issue, which means we bring our
public health lens to every problem we encounter, despite a poverty of actual knowledge on whatever the
details of that problem are.”

We note that since at least late April 2024, FXB webinars, like other Harvard Chan School programming,
have carried a disclaimer indicating that FXB webinar speakers do not speak for Harvard.

One Harvard alum offered this observation about an FXB webinar held in November 2024, citing it as a
representative example:

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During the webinar another [speaker] said that all the hospitals in Gaza have been “attacked,
besieged or ordered to evacuate” without ever once mentioning why that was the case ... [The
speaker] then went on to assert ’the IDF’s charter is to target healthcare workers.”°*

We received complaints about another FXB webinar from April 2024, “Gaza: A perspective on children in
war zones,” which was also characterized by bias and misinformation. To give a handful of examples, the
speaker initially presented the casualty numbers in Gaza as if all deaths were civilian deaths. The speaker
asserted that Israel had sealed all exits from Gaza dating back to the mid-2000s, which is not true: prior to
(and during part of) the Gaza war that started in 2023, the southern border was controlled by Egypt. The
speaker asserted that the number of casualties was comparable to the Darfur genocide, which was also
untrue. The accumulation of dis- and misinformation of this kind about Israel is a form of demonization,
and we were told it was experienced as such by Israeli and Jewish members of our campus community.

It is important to note that an association between a Harvard program and this type of content gives the
content seeming credibility that can have an impact far beyond a particular School at Harvard. For example,
in the main Harvard Graduate School of Education group chat last year, students implored each other to
attend these FXB webinars:

Some Jewish students shared with the Task Force that they felt these types of one-sided events carried
the implicit endorsement of Harvard’s name and reputation. They expressed concern about the

588 This paraphrase from the report to the Task Force appears to correspond to the following statement from the webinar: “This is
intentional targeting of healthcare workers. So being a healthcare worker in Palestine, especially in Gaza, that’s per the Israeli
military, this is basically their charge — because you're being a healthcare worker, you're doing your job, you're going to be targeted.”

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proliferation of such events — citing numerous instances at both FXB and the Religion and Public
Life (RPL) program at Harvard Divinity School (which we discuss below) — as indicative of
institutional bias and hostility. This sentiment stemmed, in part, from the perceived absence of any
perspectives within these programs that offered alternative explanations for Israel’s actions or
presented different interpretations of the data:

Chan has a truth; this is just how we think; Chan has never had a single event that is pro-Israel or even
neutral, it is all very one sided. [Harvard Chan School student]

Weekly [at the Chan School] there were [events hosted by the Palestine Program of FXB]— there were a

ton of flyers around the school around it, a seeming constant presence to students that “the most important
thing in public health is Palestine” and there is only one acceptable view. [Harvard Chan School student]

Notably, every Jewish and non-Jewish student who raised concerns about the Palestine Program with the
Task Force also expressed either personal ambivalence or even opposition to the ongoing Israeli military
operations in Gaza, as well as deep concern about the health and well-being of Palestinians. But at the
same time these students felt there was no place for them in such programs at the Harvard Chan School
unless they adopted a pervasive yet at best incomplete framing of facts and history that had become, in
their view, almost universal in the School.

The Task Force also received numerous complaints about the Harvard Chan School’s course on the
“Settler Colonial Determinants of Health,” specifically concerning the Spring 2022 version of the syllabus
and some of its assigned readings. It is worth noting that this course was taught by one of the leaders of
the Palestine Program.

Before delving further into the specific concerns about the course, it is essential to understand the
broader context of the settler colonial framework that the course uses, through which it considers
Israel as one of several settler-colonial countries worldwide, the most prominent of them being the
United States.

Like Americans in general, Harvard students have long considered Israel through the lens of their own
American identities, although what was once a positive association between America and Israel has in
recent years turned into a negative one. In effect, the “settler colonial” frame that this course (and the RPL
program) adopts tracks a shift in how members of different generations of Harvard students — and, by
extension, many Americans — view the United States and its allies.

As an example of this historical shift, a Harvard student wrote in the Crimson in 1968:

HEBREW University in Jerusalem is just like Harvard except that there are slightly fewer
Americans, it rains less, the students work harder ... ISRAEL began as, and in many ways still is a
country of pioneers, and as a country of immigrants driven by the pioneering spirit it parallels
America in its youth.**

This student’s perspective reveals a clear identification with Israel as a kindred nation. When this student
looked at one of Israel’s premier universities, they saw Harvard, and when they looked at the country of
Israel, they saw America in its youth, and they connected the pride they felt in the America that was a

“pioneer[ing]” “country of immigrants” to Israel.

Today, many at Harvard also look at Israel and see the United States and its allies, but their judgment is
different. For example, one of the slides in the Settler Colonial class on the first day in Spring 2024
depicted the following image:

58 hetps://www.thecrimson.com/article/1968/12/17/israel-after-the-war-a-sociologist/

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Relatedly, in a published article describing the trip organized by Harvard Divinity School’s Religion and
Public Life program to Israel and the West Bank profiled below, the Harvard staff running the trip describe:

Increasingly, our students who are sensitized on the issue of Harvard’s crimes against Indigenous
peoples and who also reckon with the legacies of slavery and ongoing anti-blackness as well as other
forms of bigotry cannot bracket their sensibilities concerning how one case relates to another. They
become attuned to their situatedness and implication in various historical and ongoing injustices.
They also see the links between the depopulation of Palestine and the legacies of settler colonialism
in North America and understand that while the stories are distinct, they share common origins in
European Christian modernity.”

Returning to the Settler Colonial Determinants on Health course at the Harvard Chan School, one of the
assigned readings in Spring 2022 (which was made an optional reading in Spring 2023 and then removed
from the syllabus in Spring 2024, in response to administrative intervention and an internal review process
following complaints) was an article that aims to offer a comprehensive background on the Israeli-
Palestinian conflict, entitled “A Century of Settler Colonialism in Palestine,” by Tariq Dana, a professor at
the Doha Institute for Graduate Studies and a former faculty member at Birzeit University, and Ali
Jarbawi, a professor at Birzeit University.5%!

The paper begins:
Throughout the past century, the Zionist movement constructed the most sophisticated settler-
colonial project of our age: the State of Israel. The violent birth of Israel in 1948 and the subsequent
colonization of the entirety of the land of Palestine after the 1967 war are indeed reflections of

Zionism’s successes in fulfilling its settler-colonial ambitions in Palestine. Yet, while this settler-
colonial project continues unabated, it is an entangled one, unable to reach the ultimate point of

5% “Touring Absences, Erasures, and Futures in the Unholy Land: A Religiously Literate Diasporic Reading of
Palestine/Israel,” Palestine/Israel Review 1, no. 2 (2024), 313-42.

59 Tariq Dana and Ali Jarbawi, “A Century of Settler Colonialism in Palestine: Zionism’s Entangled Project,” Brown Journal
of World Affairs 24, no. 1 (Fall/Winter 2017), 197-220.

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Jewish exclusivity in the land. Zionist settler colonialism, as its historical precedents suggest, is
fundamentally based on the operative logic of “eliminating the native” and failing to utterly
marginalize and “minoritize” him. The vibrant Palestinian presence in the land, the everyday
resistance to the colonial order, and the robust Palestinian adherence to their rights all stand as
structural obstacles to the ultimate realization of the “Zionist dream.” Despite Israel’s relentless
colonial power and domination, Palestinian steadfastness means that this project will remain
impeded and incomplete, a matter that may lead to its future demise.

The remainder of the article draws on highly polemical scholarship to contend that:

Zionism manipulated Judaism as a religion to reinterpret history and redefine Jewishness in terms of

ethnic belonging.

The article posits that Jews are fundamentally a “religious group,” not an “ethnic group,” and therefore lack
inherent territorial claims. It further contends that even if Jews were an ethnic group, the popular account
of Jewish history is ahistorical.° The article suggests that the true descendants of the ancient inhabitants
of the land are not those who identify as Jews today — who, as the article emphasizes, are a religious
group, not an ethnic one — but rather, the Palestinians.

These perspectives are found in courses in Middle Eastern history and politics, and in many other courses in
a wide variety of fields, throughout the world. This generalization misconstrued must not, however, be seen
as a justification for the current state of teaching on the Israeli-Palestinian conflict in the Harvard Chan
School. Courses on such contentious subjects should offer multiple perspectives. Harvard should be a leader
in this regard, yet students reported to us that the 2022 version of the syllabus for “The Settler Colonial
Determinants of Health” implicitly communicated that any debate over Israel is settled and not welcome in
the class. This perception stemmed from the stated learning objective to “analyze and interrogate the
relationships between settler colonialism, Zionism, antisemitism, and other forms of racism.”

ee
Upon successful completion of this session, you Required Readings: (46 pages + | minute audio TBD
should be able to: clip)
* Understand and discuss the history of settler * Tariq Dana, & Ali Jarbawi. (2017). A
colonialism in Palestine/srael and its ongoing Century of Settler Colonialism in
structure and manifestations Palestine: Zionism's Entangled Project.
« Analyze and interrogate the relationships The Brawn Journal of World Affairs,
between settler colonialism, Zionism, 24 1197-219,
antisemitisra, and other forms of racism * Andy Claro. (2017). Introduction: Racial

Capitaliom and Settler Colonialism. In:
Neoliberal Apartheid : Palestine/Israel and
South Africa after 1994, University of
Chicago Press. Pp. 1-8.

*« Leila Farsakh. (2016) Palestinian
Economic Development: Paradigm Shifts

We are told that this language was removed from later versions of the syllabus for subsequent iterations of
the class after administrative intervention in response to student complaints after the class was taught.

The course’s seemingly one-sided framing unfortunately overlooked alternative perspectives offered by
Harvard’s tenured faculty on these very issues. The broader literature on the question of the Jews’ relationship
with the ancient Near East as summarized in the appendix to a recent paper,>® published in Ce//, among
whose authors are David Reich, Professor of Genetics at Harvard Medical School and Professor of
Evolutionary Biology at Harvard University. According to Reich and his co-authors, there is considerable

5 Dana and Jarbawi, “Century of Settler Colonialism,” 199.
593 See Shamam Waldman et al, “Genome-wide data from medieval German Jews show that the Ashkenazi founder event

pre-dated the 14 century,” 185 Cell (2022), 4703.

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historical, archaeological, linguistic, and genetic evidence of a Middle Eastern origin of those Jews in today’s
Israel who have more recent European roots — let alone the Jews in Israel whose ancestors are from the
Middle East and North Africa. Other research has found that Jews, Palestinian Arabs, Bedouin, and Druze
are closely related.5” Instead of engaging with the breadth of scholarly evidence on this subject, the Settler
Colonial course seems to present a single, highly politicized approach to the question of Jewish origins.

Jonathan Gribetz ‘02, a Professor of Near Eastern Studies at Princeton University, has described this type
of one-sided rhetoric as an example of a kind of “mutual hatred and delegitimization” that has come to
dominate the rhetoric between Israelis and Palestinians and their supporters:

Many versions of such discourse circulate: there is no such thing as a “Palestinian”; contemporary
Jews are merely Europeans with no connection to the Holy Land; there were hardly any Arabs in
Palestine before the Zionists came; Zionism is racism; Palestinian nationalism is nothing more than
antisemitism; and so on.595

Gribetz’s observation highlights the dangers of reducing complex historical narratives to simplistic and
oppositional binaries.

The Settler Colonial Determinants of Health course ends with an assigned reading entitled
“Decolonization is Not a Metaphor.” This phrase, “decolonization is not a metaphor,” resonated with
numerous accounts the Task Force received from students who reported hearing it used by classmates to

justify the violence of October 7th:

In the immediate aftermath of October 7th, close friends and classmates callously dismissed the
atrocities that took place in Israel. In response to a friend who knew two people who were killed at the
music festival, one close friend said, “I mean, I guess that sucks, but what did they expect?” When I
expressed anguish at the loss of life, another responded, “do you believe in de-colonization in theory or
in practice?” Then they asked me why I support Netanyahu. I have known some of them for almost ten
years — nothing about my liberal values would indicate that I support Netanyahu. But somehow my
Jewishness did ... A few weeks later, one friend stopped responding to my texts and stopped
acknowledging my presence in the hallways. And then another friend stopped talking to me. And then
another. I have spent months wondering what I did wrong, but I am only left with the nagging
suspicion that they do not want to associate with a “Zionist.” They or their friends like and repost
tweets that call Zionists “the most evil people to walk the planet” and call for the “slaughter” of
Zionists. As P've walked to class, I've heard people mutter under their breath, “fucking Zionist.” I don’t
even know if I'm a Zionist. But I'm a Jew and I’ve learned that that is enough to make me no longer

worthy of their friendship or even basic kindness at school ... [Student]

The article assigned in the Settler Colonial course sheds light on this type of treatment by potentially
suggesting a framework for understanding and even justifying hostile interactions like the ones described
by the student:

The absorption of decolonization by settler social justice frameworks is one way the settler, disturbed
by her own settler status, tries to escape or contain the unbearable searchlight of complicity, of
having harmed others just by being one’s self.>

5% hetps://www.jns.org/genetics-can-bring-jews-and-arabs-
together/#:~:text-OPo20particular20interest¥O20is%20that, waves 20since™20the20 Muslim %20 conquest;

hetps://pm i ih.gov/arti MC3032072/

59 See Gribetz, Defining Neighbors at 2.

59 See
https://clas.osu.edu/sites/clas.osu.edu/files/Tuck%20and%20 Yang%202012%20 Decolonization%20is%20n0t%20a%20metap
hor.pdf at 7.

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In the view of this reading, when an Israeli or Jewish student at the Harvard Chan School complains that
they are being attacked on the basis of their identity for the sins of others, they are “tr[ying] to escape or
contain the unbearable searchlight of complicity, of having harmed others just by being one’s self.” In fact,
the reading explains why any attempt by Israeli or Jewish students to disclaim this type of blood guilt are
“settler moves to innocence.” The article continues:

Though the details are not fixed or agreed upon, in our view, decolonization in the settler colonial
context must involve the repatriation of land simultaneous to the recognition of how land and relations
to land have always already been differently understood and enacted; that is, all of the land, and not just
symbolically**’... [decolonization] means relinquishing settler futurity, abandoning the hope that
settlers may one day be commensurable to Native peoples. It means removing the asterisks, periods,
commas, apostrophes, the whereas’s, buts, and conditional clauses that punctuate decolonization and
underwrite settler innocence. The Native futures, the lives to be lived once the settler nation is gone —
these are the unwritten possibilities made possible by an ethic of incommensurability.°”*

The kind of identity-based bias evident in this excerpt resonates with the classroom experiences shared
with us by some Jewish and Israeli students at the Harvard Chan School. These ideas also appear to have
an impact on the broader culture at the School. Materials such as these can be particularly hurtful to Jewish
and Israeli students but they also undermine the educational experience of any student who takes the
course by presenting politicized analytical paradigms as absolute truth.

Underlying our concern with the Palestine Program’s content is its lack of administrative oversight by
ladder faculty. Established in 2022, during a period of increased pro-Palestinian activism among Harvard
staff, faculty, and students, the program appears to be run by a “leadership collective” of five individuals.
Notably, none of the individuals hold a tenure-track faculty appointment at Harvard, and only one
maintains a full-time appointment at Harvard.

This lack of ladder faculty oversight and accountability resonated with the concerns expressed by a
frustrated Harvard Chan School student:

You can't allow a program at the Chan School like this that doesn’t have a faculty director who's accountable
for the content being put out.

We agree. The use of the Harvard brand for a research or teaching project creates expectations among
Harvard faculty, staff, students, and the broader public. Programs operating without the guidance and
oversight of Harvard’s regular faculty with expertise risk falling short of these expectations. This concern is
further compounded by the fact that research disseminated by such programs is often reported in the
media as “Harvard studies,” even though, at least in the case of the Palestine Program, many of the
published works reviewed by the Task Force appeared to be primarily authored by individuals based at
other universities. We believe these accounts of experiences with the Palestine Program point to potential
weaknesses in Harvard’s approach to governance when it comes to academic matters that extend beyond
the scope of the Task Force’s mandate, but we leave that work for others to come after us.>”

We should note there are physicians at the Longwood Campus and elsewhere at Harvard who take a very
different approach to promoting Palestinian health. For example, a group of Israeli, Jewish, and

Palestinian physicians working together as part of the Middle East Initiative at the Harvard Kennedy
School recently wrote in the New England Journal of Medicine of the work they had done to treat both

597 Thid.
598 Thid at 36.

°” We were pleased to learn from the Harvard Chan School that the Dean recently launched a faculty committee, led by the
Dean for Academic Affairs, to review criteria and processes for instructor appointments and renewals, aiming to ensure the

highest standards of academic and pedagogical excellence.

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Israelis and Palestinians in the aftermath of the Hamas attack on Israel and the Israeli counterattack. In
their article, they provided a nonpartisan and accurate description of the health crisis for both Israelis and
Palestinians and spoke of their desire to promote health care and peacebuilding at the same time:

Furthermore, as a profession founded on trust and open communication, medicine has the potential
to build and strengthen trust between communities in conflict, and it should be leveraged toward
that end. Indeed, health care has long been one of the few spheres in which Palestinians and Israelis
work together and interact on a daily basis, treating each other with respect and dignity. Palestinian
patients commonly put their fates and lives in the hands of Israeli physicians, a leap they could not
take without trust. The same can be said of Jewish Israelis who are treated by Palestinian physicians,
many of whom train and work in hospitals in Israel.

As this example shows, a profound and meaningful concern for Palestinian health does not require
propagating a one-sided view of the conflict between Israelis and Palestinians. The Task Force did not
have to look farther than Cambridge to see that another approach was possible.

Harvard Divinity School™

The Religion and Public Life program at Harvard Divinity School illustrates how a limited selection of high-
caliber courses on Judaism and Israel/Palestine, coupled with the influential presence of a program offering
politicized, one-sided treatments of controversial issues and the embrace of a pedagogy of “de-zionization,”
harms the learning environment for all students, and especially for many Jewish and Israeli students.

HDS has the mission of “educat[ing] students of religion for intellectual leadership, professional service,
and ministry.” Although founded in the early 19th century as a “non-sectarian” (though in effect
Unitarian) seminary, the School has in recent decades made considerable effort to become a non-
denominational, multireligious theological school with students from a wide range of religious
backgrounds. In this generation, HDS offers a set of degree programs that we understand Jewish
prospective students find quite appealing, as it allows them to study Judaism while also learning more
about other faiths and traditions. Important mainstream American Jewish leaders have degrees from the
Harvard Divinity School. The courses also seem to appeal to Jewish students who cross-register from other
Harvard Schools. Some HDS faculty and offerings draw praise from a wide range of Jewish students.
However, the Religion and Public Life program raised significant concerns.

The Religion and Public Life (RPL) program at Harvard Divinity School became a focal point for
concerns about one-sidedness and the promotion of a specific political ideology under the guise of
academic inquiry. While the program was publicly launched with what seemed like a broad mandate to
explore the intersection of religion and various aspects of public life, in practice, it focused heavily on the
Israeli-Palestinian conflict, presenting a perspective widely perceived as consistently anti-Israeli and
aligned very narrowly with a strand of pro-Palestinian politics. This narrow focus on this exceptionally
polarizing topic appears to have stemmed from the decision, made soon after RPL’s founding, to center its
programming around a multi-year case study on the Israeli-Palestinian conflict. This disconnect between
the apparent mission and the actual implementation is a central concern addressed below.

The RPL program was founded in October 2020. The program incorporates, among other things, a
speaker series, a one-year degree program, classes and a major paper or project at the end of the program.

60° As mentioned in Chapter 1, Harvard Divinity School experienced a decanal transition during the 2023-24 academic year.
The incoming dean inherited many of the challenges specific to HDS outlined in this report. We believe it is important to
consider this context, particularly as the dean has since overseen a leadership change at what in our view has been the most
concerning HDS program. This development gives us hope for considerable improvement, aligning with the
recommendations outlined in this report.

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The program has a director and several staff members. The first version of the program’s website described
its Master of Religion and Public Life degree (MRPL) as:

A one-year graduate degree program designed for experienced professionals who wish to develop in-
depth knowledge of the complex ways religion influences public life related to their career areas. The
MRPL degree provides an opportunity for mid-career journalists, government officials,
humanitarian aid workers, educators, artists, health care professionals, lawyers, and other
practitioners to become leaders in their fields who can help foster a better public understanding of
religion and address the religious dimensions of some of the most difficult issues of our time.

An article in the Crimson announcing the new program featured its leaders describing the MRPL as a
degree for people seeking a deeper understanding of the interaction between religion and “civic life.”
Notably absent from this article was any mention of Israel or Palestinians. The HDS Dean’s
announcement of the program put its emergence in the context of the social upheaval of Summer 2020
and said that the program would “educat[e] leaders to understand the civic consequences of religion, in
service of building a just world at peace.”

Here as well there was no mention of Israel or Palestinians. Furthermore, in a brief interview on the RPL
program’s launch website, the inaugural director of the program (who did not hold a tenured or tenure-
track faculty position) highlighted how a better understanding of religion could illuminate a range of
contemporary issues. These included: the fall of the Berlin Wall and the apparent end of the Cold War;
the 9/11 and 7/7 attacks in the United States and the United Kingdom and the ensuing War on Terror;
the US invasion of Iraq; the challenges faced by public health officials amid the Ebola academic in West
Africa; and the role of white evangelical Christians in American politics.

The RPL Director also provided several examples of professionals who might benefit from the program,
further highlighting its intended scope:

e A political reporter who wishes to pursue a project around understanding the influences of white
evangelical Christianity in the Trump era.

e A regional director in Africa for a secular humanitarian aid organization that focuses on local
humanitarian leadership and wishes to understand the differing religious influences that shape
women’s access to reproductive health services.

e A human rights lawyer in Myanmar who wishes to study the rise of religious forms of nationalism.

e A master secondary school educator who wishes to revamp the school’s “Introduction to World
Religions” courses to align with current religious studies scholarship.

e An instructor at the National War College who wishes to create a course that explores peace-building
strategies that include religion, but that critique and go beyond the widespread focus on countering
violent extremism.

e Aclimate change activist who wishes to mobilize religious communities to address the climate crisis.
e A playwright who wants to explore how differing interpretations of sexuality and gender norms can
exist within a single family.

e A public policy official interested in the roles that religions play in shaping immigration policy here
in the US.

$1 See https://www.thecrimson.com/article/2020/10/26/religion-public-life-div-school/

602 https://cpl_hds. harvard.edu/news/hds-launches-religion-and-public-life-new-degree-program

603 With the new director of the program (the “RPL Director”) https://rpl_-hds. harvard.edu/news/understanding-religion-
and-public-life

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The RPL program encompasses two main initiatives: the Religious Literacy and the Professions Initiative
(RLPD), which reflects the program’s stated broad mandate, and the pre-existing Religion, Conflict, and Peace
Initiative (RCPI), which was incorporated into RPL. An announcement said the RCPI aimed to further
insight into “religious conflicts,” mentioning a “January term course in the Middle East,” among other
initiatives.“ Notably, even in early statements about the RCPI from HDS, there was no explicit mention of
Israel or Palestine, despite their falling clearly within the framework of peacebuilding in the Middle East.

In practice, the RPL program that was implemented was deeply focused on Israel/Palestine.> Some HDS
faculty told us that they did not understand the program would be as focused on Israel/Palestine as it
turned out to be, while others told us that they thought the RCPI initiative meant a significant focus on
the Middle East. It is important to note that the degree program, while housed within RPL, did not
require students to have the same focus on Israel/Palestine that the program’s activities might indicate.

100 Percentage of RPL Everts Per Year Focused on Israel-Palestine

Percentage (%)

In a listening session with RPL’s then-leadership, we were informed that, as of April 1, 2024, the RPL

program was four years into a six-year case study of Israel/Palestine.
In this genesis story, we see inherent problems that we received complaints about:

1. a lack of involvement or supervision from HDS$’s ladder faculty or from ladder faculty who are experts
on the topic elsewhere at Harvard University; and

2. a governance and oversight structure that is not properly aligned with RPL’s activities.

As we will explain, many students, staff, faculty, and alumni expressed concerns to the Task Force, alleging
a lack of balance and a pattern of demonization towards Jews and Israelis within RPL’s activities. We
received significant complaints about:

1. events about Israel/Palestine hosted by RPL, which some students felt were biased and contributed to
an atmosphere perceived as hostile; and

2. communications about Israel/Palestine from RPL personnel, especially a statement made by RPL’s
leadership after the events of October 7th.

64 https://www.hds. harvard.edu/news/2018/01/31/hds-hks-rep
65 The numbers below are our summaries of the content of the RPL webinars posted on their website.

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To illustrate the nature of these concerns, we present the following excerpt from a controversial statement

released by RPL’s leaders after October 7th, which was the subject of many complaints to the Task Force:

When these “decades of oppression” are left out of the story about Hamas’ horrendous attack on Israeli
civilians, a narrative about an “innocent” state of Israel’s right to “defend” itself against “unprovoked”
aggression is legitimized. The reality is much more complex, and that complexity must be confronted if
there is any chance to avoid endless cycles of dehumanization, destruction, and death.

Unfortunately, as a student pointed out to us, the “call for context and recognition” that RPL thought was
needed in the aftermath of the October 7th attack is not something that was reflected in the program.
Instead, program offerings and materials disproportionately presented Israelis and Jews as guilty of
monstrous historical crimes, which require both repentance and redress.

It is certainly understandable why a program in religion and public life would include the Israeli-
Palestinian conflict in its purview. Both Israeli and Palestinian societies are infused by religion, and it is
difficult to understand either society without appreciating the role of faith in shaping individual and
collective identities. Furthermore, given the explicitly religious character of many states in the region, an
educational program focused on deepening the understanding of the religiosity of people in the region
could meaningfully contribute to RPL’s stated goal of fostering a “just world at peace.”

However, RPL appears to have focused on non-mainstream Jewish religious perspectives that lack widespread
support within the Jewish diaspora or in Israel. These perspectives arguably offer a particular political theology
that attributes to Jews two great sins: first, in the Levant, the establishment of the State of Israel and the
Palestinian Nakba; and second, in the United States, participation in White supremacy. According to these
perspectives, it seems, Jews can and should repent by dedicating themselves to pro-Palestinian activism.

These perspectives, which RPL staff appeared to embrace openly, permeate much of the programming the
Task Force reviewed. For example, in RPL’s inaugural webinar held on September 17, 2020, one speaker
commended Jewish pro-Palestinian activists for grappling with “a specific Jewish sinfulness against the
Palestinians and an embrace of the charge to [use a Jewish framework to arrive at] social protests and actions
of civil disobedience.” Similarly, a second speaker offered what amounts to a personal conversion narrative,
explaining how he became disillusioned with the Zionism of his childhood, citing Israeli violence against
Palestinians, and now sees opposition to the existence the State of Israel as a moral imperative.

Another webinar featured a speaker whose work was described as “extricating Judaism from state
violence and from the idolatry of Israel.”¢ The speaker, who also participated in the inaugural webinar,
expressed his interest in composing an alternative prayer to the traditional Jewish prayer of thanks
recited by many religious Jews on Israel’s Independence Day. His proposed prayer is centered on a
meditation on the sins committed by Jews and Israelis through the actions of the Israeli state. In
response, a second speaker at the same webinar expressed support: “I am deeply in sympathy with your
political and ethical positions ... I suppose you knew that, which may be part of the reason I was invited
here.” The moderator further emphasized this perspective by suggesting that the first speaker, a rabbi in
Chicago, had a responsibility to atone for being “complicit in power and abuse and displacement [of
Palestinians].” Notably, RPL had previously featured this speaker at an earlier webinar that also elicited
complaints to the Task Force.”

The Task Force received considerable feedback expressing concerns about a perceived anti-Israel bias

within RPL:

66 See “Yom Ha’atzmaut and the Colonization of American Judaism,” RPL Webinar, April 19, 2022.
67 See “Reimagining and Rewriting Jewish Liturgy”, RPL Webinar, April 28, 2021.

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I [am a member of the community] at Harvard Divinity School. It may not meet the definition of
Antisemitism, but the anti-Israel bias at the school is intense. [Jewish students do not] feel comfortable
studying there. [HDS affiliate]

The Religion, Conflict, and Peace Initiative, which is part of RPL, focuses on advocacy for Palestinians.
They offer a huge number of events, book talks, newsletter articles, academic appointments, and academic
offerings, all focused on condemning the Israeli occupation. No other conflicts are ever discussed, and there is
no discussion of the Israeli perspective (at least not in the event announcements). HDS is not the only
Harvard school to offer events like this, but because HDS is so small, the dominance of this issue is really
striking. HDS seems to be saying that the Israeli/Palestinian conflict is the only conflict that matters, the
only one that good people should care about. And, furthermore, that only one group of people involved in
that conflict is worthy of concern. [HDS affiliate]

From what I've seen, the people running the RPL program are ... vehemently anti-Israel. Every week, the
RPL program features one anti-Israel speaker or documentary, with no counterpoint. Some [RPL
employees] are ideologically fervent and lack any sense of balance. [HDS student]

It is important to note that the perspectives on Jews and Judaism described above were present in academia well
before October 7, 2023. One could easily infer from much of RPL’s teaching and programming that Jews are
profoundly flawed, and that the study of Jewish civilization should be an exposé of error, particularly with
reference to Zionism and Israel. The Task Force was particularly struck by how this echoes the scholarly anti-
Judaism identified by Harvard Divinity School Professor George Foot Moore’s critique of a century ago, when
Judaism was often studied in order to highlight its failings, limits, and supersession. In a glowing review°8 of
one of G.F. Moore’s major books, Judaism in the First Centuries of the Christian Era: The Age of the Tannaim,
Rabbi Samuel Schulman noted in 1928 the historical depths and polemical underpinnings of this approach:

[The scholarly study of Judaism] has lent itself very easily to the injection of theological dogmatism.
It has been the favorite pastime of many Christian scholars to use it as an opportunity for contrasting
the inferiority of Judaism with the superiority of the great religion, Christianity, that sprang from its
loins ... One would not be using too strong language in saying that Judaism was presented as a foil
by means of which the glories of the daughter faith could be made all the more resplendent.

We do not believe that the RPL staff meant to construct a vision of Judaism and Jewishness that
intentionally echoes the way it would have been taught at American divinity schools 100 years ago, but the
parallels are undeniable. This resemblance has not been lost on some students, who have perceived these
problematic echoes in RPL programming. Even if unintentional, the consequences of such an approach
could be considerable, potentially hindering all students’ understanding of Judaism and Israel, and for many
Jewish and Israeli students in particular, undermining their access to a supportive learning environment:

In short, there is a sort of moral and intellectual laziness vis & vis many things at HDS, but especially
around Jews and Judaism. This is slightly improved this year, but most classes related to Judaism at HDS
are comparative, about the Bible, or about Israel. In some way, this seems to partake in the old Christian
stereotype that Jews are not a vital, living and evolving people with rich culture, history, and tradition,
but rather a problematic remnant of a violent and vengeful people. This is not about Middle Eastern
politics; this is about Jews here and now. [HDS student]

To the extent that RPL’s programming serves as an introduction to Judaism for some HDS students, one
could be left with the view that Jews are a people without virtues, other than the capacity to confess and
attempt to remedy their historic misdeeds. Programming that consistently taps into historical stereotypes

608 Samuel Schulman, “Professor Moore’s Judaism’,” The Jewish Quarterly Review, vol. 18, no. 4, 1928, pp. 339-55. JSTOR.
https://doi.org/10.2307/1451546. Accessed 24 Nov. 2024.

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in this way is intellectually problematic and bad for the learning and development of HDS and other
Harvard students who avail themselves of RPL’s offerings.

The problems we have noted with RPL are particularly acute in the annual student trip it had organized to
Israel and the West Bank. In an article published by RPL staff, the goal of the trip is described as being
to teach students the “decolonial approach” to the “Jewish settler colonial project in Palestine” — a goal
which, the description says, “is not ‘metaphorical.” The RPL staff wrote that the objective of the trip is to:

Dismantle the oppression of Palestinians, institute mechanisms for restorative justice, and draw ethical
political maps. It is also hermeneutical, denoting the urgent need to dezionize Jewish consciousness.

The RPL staff then also described the Jewish students in the program as: “becom[ing] overwhelmed with

their sorrow at how the Jewish tradition has become indistinct from a settler colonial nation-state project.”

RPL personnel touted this program, and its effect on Jewish students, in its marketing materials, which
included the following quote from a Jewish HDS student about what they learned from their HDS-

sponsored trip to Israel and the Palestinian territories:

Our [trip to Israel and Palestine] was a formative, painful, and powerful experience that shaped my
on-the-ground understanding of political realities in Israel/Palestine. Our conversations with leaders
at Palestinian arts and culture organizations helped me realize the way that Israeli apartheid intends
to destroy everything — from after-school art programs to independent film festivals — despite
claims by liberal Zionists to the contrary.*!°

The passages above arguably make clear that the decolonial pedagogic approach advocated in this article by
RPL leaders is an overt political project aligned with one strand of pro-Palestinian politics. The alleged
settler-colonial nature of Israel is taken to demand a blurring, if not a collapse, of the distinction between
scholarship and advocacy or activism. In other words, the seemingly one-sided, ideologically partisan, and
biased nature of RPL instruction and programing about which we heard many complaints is not perceived
as an oversight or accident in the reports we heard, but as a deliberate programmatic objective with an
explicit methodological articulation and justification from RPL staff. And students are learning these
lessons, with the organizers approvingly citing students on the RPL study abroad program who promise to
become pro-Palestinian activists when they return to the United States.°"

Setting out in an instructional program to “dezionize” the “consciousness” of Jewish students is to craft
instruction to target students based on their religious identity. To suggest that the Jewish tradition is
properly understood as reducing to “a settler colonial nation-state project” is also to denigrate both a
religion and an identity. This is not to say that to be Jewish is to be Zionist. To the contrary, some
students who identify as Jewish on campus also identify as anti-Zionist. However, for many Jewish and
Israeli students, Zionism is a core part of their identity. And while debates about the status of Zionism in
relation to Jewish identity are important within the context of Judaism, shifting ethnic and religious
identity in this way should not be the objective of a course in a secular institution. And one-sided
instruction is not consistent with Harvard’s expectations for a Harvard program.

In an RPL publication featuring student comments from the trip that RPL organized to Israel and the
West Bank, an RPL student thanked the program for helping them understand that “Zionism” was taking
the natural resources of Palestinians. But Zionism is a set of beliefs, not a human actor. Ascribing
inequities in access to land and water to “Zionism” implies that the problem is not Israel’s policies and

60° PDF available at https://scholarlypublishingcollective.org/psup/pir/article/1/2/313/390095/Touring-Absences-Erasures-
and~Futures-in-the

610 https://epL hds. harvard.edu/news/2023/07/10/rcpi-student-highlight

611 See Touring Absences (footnote 609) at 11.

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actions (the merits of which can be debated, and which can be altered) but rather the very existence of
Zionism itself, and with it, Zionism’s realization in the State of Israel.

The Fight jor Water Sovereignty at AIDA Refugee Comp
bye Div 24, CRPL & RCPI

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This line of analysis is consistent with RPL’s goal of “dezioniz[ing]” Jewish students.” While negative
perspectives on Zionism and Israel exist globally and exploring them critically is entirely appropriate in an
educational setting, doing so in isolation — framing them as norms rather than contestable beliefs —
represents a pedagogical failure.

We conclude this chapter with an extensive and revealing reflection on HDS 3335, an RPL course whose
title varied from year to year but, to the best of our knowledge, consistently focused on aspects of
Israel/Palestine. Nisan Plitman, an Israeli doctoral student enrolled in the course in Fall 2021, wrote a

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compelling account of her experience for the prestigious Israeli newspaper Ha’aretz, which is excerpted
here in translation from the original Hebrew:5”

Two years before October 7th, I enrolled in a course at the Harvard Divinity School. Its title was
“Religion and Peace in Israel/Palestine,” and its introduction read: “In this course, we will explore
the Israeli/Palestinian conflict, with particular focus on identifying and analyzing the varied and
complex roles of religions in promoting both violence and peace. This will be examined through
engagement with Israeli and Palestinian literature.”

“How interesting,” I thought to myself, but on its first day, the course turned out to be even more
intriguing than I had anticipated. The lecturer began the class with what she called a moment of candor:
“The discourse is saturated with the Israeli narrative,” she explained to the students, most of whom were
Christians from American communities encountering academic material on the conflict for the first time.
“Therefore, I decided, with a heavy heart, to remove Israeli sources from the syllabus. We will focus solely

on Palestinian literature because power disparities, methodology, and conscience demand it.”

The measured manner in which this was delivered made me suspect it was a planned drama, but it
took time to grasp its significance. The implications included, for instance, reading writings by
Khaled Hroub from Northwestern University in Qatar, who asserts that “functionally, the Zionist
movement has made extensive use of religious claims to forge a strong Jewish national connection to
Palestine. In contrast, the Palestinian appeal to religious ideological sources is secondary. For
Palestinians, millennia of uninterrupted residence and ownership of Palestine have created a natural
and indisputable collective connection to the land, obviating the need for meta-religious claims.”

As we progressed in the lessons, my classmates’ antipathy toward me, the sole Israeli in the course,
intensified. And who could blame them? Based on the course material, it was hard not to conclude
that Zionism is a project of fictive and mobilized religiosity, while Palestinian identity is authentic
and rooted. My attempts to highlight Zionism’s story as a movement of liberal pragmatism — which
sought to break free from what was perceived as the oppressive shackles of Jewish law and religion in
the diaspora — were of little help. Nor did recounting the story of the Jewish community in the pre-
Zionist Land of Israel, the aliyah of the disciples of the Vilna Gaon, or the history of Safed.

In one of the lessons, a tearful Presbyterian seminary student proclaimed, “Israel was built on cruel
religious manipulation. If only we had been able to channel this understanding into American
activism, we would have reaped the benefits.”

The day after October 7th, more than 30 student organizations published a letter declaring Israel
solely and entirely responsible for Hamas violence against it. Recently, during a joint lecture hosted
by the law and divinity schools, a proposal was even raised that the United States should arm Gaza
against Israel. Many members of those organizations had sat with me in that theology course.

Other HDS students interested in Israel/Palestine also expressed concerns to the Task Force about
unbalanced presentations in HDS 3335, finding them a hindrance to their learning. One student, who had
previously visited both Israel and the West Bank and who had a deep desire to learn more about the course
material, dropped the class after a handful of sessions because of its “tremendous anti- Zionist bias.”
Another student told The New York Times that in reflecting on her time at HDS, “I reread different papers
that I wrote last fall, in classes taught by very far-left professors, Jewish professors, and I wrote things with
language that I am not ashamed of, but I was just being so insensitive to the Israeli perspective.”

6? Original Hebrew version: https://www.haaretz.co.il/opinions/2024-07-10/ty-article-opinion/.premium/00000190-9bef-
dic5-ald6-bbefeOf70000.

613 hettps://www.nytimes.com/2024/12/14/is/college-campuses-gaza-conversations. html

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HDS has outstanding tenured faculty who work on ancient Judaism and whose work engages with the history
of antisemitism. A visiting faculty member with expertise in modern Jewish thought has further strengthened
HDS's offerings on Judaism and Jewish civilization. But RPL places the expanse of Jewish civilization into a
highly politicized program. In a listening session, RPL staff told us they focused on moving “beyond binaries.”
We appreciate that intention and goal. But some others with whom we spoke felt the staff had constructed a
polarized and one-sided approach to this issue. In the end, we did not see evidence that RPL was successfully
moving beyond binaries but rather evidence that the RPL program was reinforcing them.

This treatment of Judaism and Jews in RPL course offerings and instruction deserves comprehensive
review by the HDS leadership. The School should seek to strengthen its sound and comprehensive
anchorage in ancient Judaism with a complement of courses in Jewish modernity taught by ladder faculty
or a Professor in Residence (a non-ladder position that requires rigorous vetting prior to hire and thorough
periodic reviews for reappointment). We expect that such a review by the HDS leadership would also
determine that “dezioniz[ing]” students is not an appropriate or reasonable pedagogic objective and that

programs like RPL should be led by HDS’ tenured faculty.

Conclusion

Harvard’s academic standards are, and should always be, exceptionally high. Everything we do should
reflect our aspirations and our values. In considering what a high-quality Harvard course, research center,
or program might look like, it is helpful to reflect on the University’s stated values, which were
summarized in the 2018 “Values Statement” by the Presidential Task Force on Inclusion and Belonging:

Harvard University aspires to provide education and scholarship of the highest quality — to advance
the frontiers of knowledge; to equip students, staff, and faculty and academic personnel for fulfilling
experiences of life, work, and inclusive leadership in a complex world; and to provide all members of
our diverse community with opportunities for growth.

The Values Statement maintains that achieving these goals requires affirming five values on campus: “respect
for the rights, differences, and dignity of others”; “honesty and integrity in all dealings”; “conscientious
pursuit of excellence in our work”; “accountability for actions and conduct in the community”; and
“responsibility for the bonds and bridges that enable all to grow with and learn from one another.”

Along with adhering to these five values, Harvard’s Schools, centers, and programs are expected to refrain
from activities that purport to present an official University viewpoint. As the 2024 Harvard University
Institutional Voice Working Group noted:

If the University adopts an official position on an issue beyond its core function, it will be understood
to side with one perspective or another on that issue. Given the diversity of viewpoints within the
University, choosing a side, or appearing to do so can undermine the inclusivity of the University
community. It may make it more difficult for some members of the community to express their
views when they differ from the University’s official position.

These two sets of guidelines — the call to promote broadly-cast values and refrain from taking specific
political positions — provide a framework for understanding the experiences of antisemitism and anti-
Israeli bias we have described above, and the conditions that appear to contribute to such experiences.

Based on the Task Force’s analysis of the examples shared above, six key concerns emerge:
1. alack of accountability in program design that fell short of Harvard’s usual standards of excellence;

2. partisan and one-sided pedagogy that also fell short of Harvard’s usual standards of excellence by
failing to represent multiple viewpoints;

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3. insufficient rules and enforcement around disruptive protest that have effectively created political
litmus tests for full participation in the educational program of the University in some places;

4. failing to take antisemitism and anti-Israeli bias sufficiently seriously as a bias that matters at Harvard,
perhaps most troublingly, apparent attempts to mainstream antisemitism and anti-Israeli bias; and

6. an alienating and hostile atmosphere experienced across different units of the University, to which the
preceding problems contributed.

The problematic course content and instructional strategies we observed seemed disproportionately
concentrated among courses taught by non-ladder instructors. Notably, these instructors are not subject to
the rigorous vetting standards Harvard applies to tenure-track or permanent lecturers and senior lecturers,
which are designed to ensure the “conscientious pursuit of excellence.” Furthermore, non-ladder faculty
whose course materials raised concerns often seemed linked to political advocacy roles outside Harvard.
This raises questions about whether the opportunity to access a non-ladder role at Harvard represents a

form of social capital that can be used to boost the credibility of their advocacy efforts.

For instance, organizers of both the Religion and Public Life program at HDS and the Palestine Program
for Health and Human Rights at the Harvard Chan School have recent separate publications describing
the programs they developed at Harvard. These publications suggest a desire to present their work as a
“Harvard model” for others to emulate. This raises concerns that lax approval and oversight processes for
instructors in some Harvard Schools may have inadvertently contributed to a decline in academic rigor, the
propagation of antisemitism and anti-Israeli bias, and the politicization of Harvard’s reputation.

A pre-existing culture of politicized curricula and instruction at various points across the University made
it too easy for curricular and co-curricular offerings to create what amounted to political litmus tests during
academic year 2023-24. Those litmus tests in courses and at student recruitment events were subtle
versions of the more overt practices of social shunning that students reported. Importantly, the Task Force
believes that insufficient respect for viewpoint diversity and for norms of taking responsibility for building
bridges across lines of difference enabled some of the more concerning student behaviors reported to us.

Furthermore, we believe that insufficient academic resources for engaging with topics related to
Israel/Palestine also meant that intellectually weak material, as well as materials that arguably promoted
antisemitism and anti-Israeli bias, were allowed to be more influential than they would otherwise have been.

As we mentioned at the outset, this was not an adversarial investigation and our work is the beginning, not
the end, of an inquiry. As such, we urge that the University and the various Schools begin a review of the
problems we identify above. This process might include recommending:

e leadership and supervision from ladder faculty, including faculty participation in events, for courses and
programming offered by centers;

e missions for all centers aligned with the goal of “advancing the frontiers of knowledge” and overseen by
governance structures re-focused on academic integrity;

e cultivation of respect for viewpoint diversity and a norm that we respect, relate, and cooperate even
with those with whom we vehemently disagree;

e an expectation that viewpoint diversity will be featured in programming that engages controversial
subjects; and cultivation of respect for viewpoint diversity; and

e increased depth on campus of scholarly expertise of the highest caliber on subjects of the modern
Middle East including Israel/Palestine.

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CHAPTER 5
Conclusions and Recommendations

Introduction

This report has surveyed the experience of Jewish and Israeli students at Harvard in both the past and the
present time, especially during the 2023-34 academic year. It has shown that the turmoil that erupted after
October 7, 2023 had been brewing for several years. The politicization of certain academic units, a retreat by
students into communities of the like-minded, and a diminished willingness to engage with differing points
of view began to manifest themselves in the latter half of the 2010s. The COVID-19 pandemic of 2020-22,
which largely shut down normal campus life, accentuated pre-existing processes of social seclusion and
political polarization. The Hamas attacks of October 7th accelerated these processes into hyperdrive.

Harvard’s current challenges extend beyond concerns about antisemitism and anti-Israeli bias. As the joint
Task Force survey of student attitudes revealed, and as discussed in Chapter 3, Muslim and Arab students,
as well as Jewish and Israeli students, report high levels of discomfort and alienation at Harvard. The
University must combat antisemitism and anti-Israeli bias, but it can only do so effectively by improving
the campus environment for everyone. Israel/Palestine is a contentious issue, and it is likely to remain that
way for a long time to come. Members of our community have every right to express their views on this
and other matters as well as an obligation to learn from and respect each other, maintain a curious and
open mind, and be willing to learn from those with whom they disagree.

Admittance to Harvard should be an invitation to become part of a community in which differences
abound and debate is intense — a place of varying experiences and outlooks, of diverging views deeply
probed and challenged, of exchanges that require individuals to examine their own views, and of ideas and
ideals that are frequently in intellectual, ideological, academic, and even material conflict with each
another. The key, however, is the invitation to become part of a community.

What has been most at stake in the crisis on campus since October 7th — and in its roots, which go back
long before that date — is a question central to student life at Harvard: can the members of our
community appreciate one another across differences as partners in learning? It is vital to the intellectual
life and the promise and opportunity of this place that all of us here value each other in this way, and such
an attitude toward one another must be fostered and reinforced — and expected.

The “Report on Institutional Voice in the University,” released in May 2024, states that in order to protect
its core function of “seeking truth through open inquiry,” Harvard must foster “an environment in which
its members can research, teach, and learn.” Such an environment is not given; it requires “nurture, support
and defense in order for members of the University to do their work.” This requires that members of our
community resist alienating and excluding one another.

From the roughly 50 listening sessions conducted by our Task Force with approximately 500 members of
the Harvard community, a clear conclusion emerged: Harvard had not sufficiently internalized the values
and safeguarded the practices necessary for its core function — namely, cultivating an environment in
which its members can research, teach, and learn. As a result, many at Harvard have not experienced this
kind of environment and all that it entails.

For Israeli students and many Jewish students at Harvard — particularly those who believe in a right of the
Jewish people to a state in their land of origin — the consequences have been dire, especially since the
attacks of October 7th. Due to aspects of their identity, including their religion and national origin, these
students have faced bias, suspicion, intimidation, alienation, shunning, contempt, and sometimes effective

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exclusion from various curricular and co-curricular parts of the University and its community — clear
examples of antisemitism and anti-Israeli bias. Students who at Harvard would wish to develop mature
and multi-faceted Jewish identities, knowledge of Jewish heritage and community, and their own
relationships of inquiry and engagement with Israel and its challenges have instead faced pressures to
repress aspects of themselves and to veer away from entire areas of curricular and co-curricular exploration.
This has diminished their educational opportunities, their own lives, and Harvard’s aim to be a learning
community for all students.

In light of these damaging consequences, the Presidential Task Force on Combating Antisemitism and
Anti-Israeli Bias submits a number of recommendations, in two sections:

Section 1 on Campus Culture and Student Experience (pages 174-188) outlines a set of recommendations for
repairing student life at Harvard — for Israeli, Jewish, and indeed all students — which will require a
comprehensive, integrated, and sustained program of efforts.

Section 2, on Governance Changes, (pages 188-190), urges changes in University governance as it relates
to faculty and academic oversight. First, we recommend a comprehensive review of the academic activities
of the University to identify gaps in governance. Second, we call for implementing changes in response to
that review, potentially including better incentives for good governance with respect to academic matters
across Harvard’s Schools through a more equitable cost-sharing system.

Finally, we conclude with a charge to the University and its Schools and key administrative units to
become leaders in a renewed fight against antisemitism and anti-Israeli bias.

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RECOMMENDATIONS

A. Campus Culture and Student Experience

A guiding spirit behind this first set of recommendations is the report of the Joint Task Force Subcommittee
on Pluralism (Appendix 3). Its focus is the promotion of a “culture of pluralism,” defined as:

Recognizing the diversity of identities and ideologies on campus, respecting, relating, and cooperating
with one another, and connecting personal and campus civic values to advance our educational and
research mission. These campus civic values are anchored in the University’s Values Statement advancing
respect for the rights, differences, and dignity of others; honesty and integrity in all dealings;
conscientious pursuit of excellence in our work; accountability for actions and conduct in the community;

and responsibility for the bonds and bridges that enable all to grow with and learn from one another.

Fostering a pluralistic campus atmosphere is connected with striving to realize the ideals represented by
the University’s 2018 Values Statement,*!* which calls for:

“Respect for the rights, differences, and dignity of others”; “honesty and integrity in all dealings”;
“conscientious pursuit of excellence in our work”; “accountability for actions and conduct in the
community”; and “responsibility for the bonds and bridges that enable all to grow with and learn

from one another.”

The recommendations presented here suggest means by which these values can be embodied in our
campus community’s interactions in the classroom, student residences, and co-curricular life.

We call for changes in the following eight categories:

e Admissions: We believe classes at Harvard should consist of students who are eager to contribute to a
learning community grounded in open inquiry and mutual respect.

e Early Student Experiences: Early student experiences, especially for undergraduate students, should
focus on establishing norms that reflect Harvard’s aspirations for its learning community.

e Academic Life: Students deserve a classroom experience that embodies the desired learning
community — one free from antisemitism, anti-Israeli bias, and all forms of discrimination — and
supported by enhanced course opportunities offered by Harvard’s Schools and faculty.

e Co-Curricular Activities and Residential Life: Student organizations need support and guidance to
ensure their activities do not have antisemitic or anti-Israeli impacts, so they can effectively contribute
to the kind of learning community Harvard aspires to beyond the classroom.

e Building a Pluralistic Community: To foster a campus culture of pluralism at Harvard, a central hub
for pluralism should be established.

e Religious Life: We believe that faith can be an important source of support for Harvard’s students and
an integral part of the learning community, and that steps can be taken to strengthen this aspect of
campus life.

e Administrative Infrastructure: A robust administrative infrastructure is needed to support, coordinate,
and sustain the efforts outlined above.

e Protest, Complaints, and Discipline: Protests must be authorized and must not disrupt the normal
operations of the University, including conducting classes and providing unrestricted access to libraries
and other campus buildings. Complaint mechanisms should be aligned across Harvard’s Schools to the

614 hettps://inclusi elongi rce.harvard.edu/files/inclusion/files/vii_ appendix_d._revised_values_statement.pdf

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greatest extent possible, and should be easily accessed, user-friendly, and efficient. Disciplinary policies
and enforcement should be substantive and equitable across Harvard’s Schools.

Below, we lay out recommended actions in each of these eight categories.

Admissions

Student life at Harvard is profoundly shaped by which individuals we choose to attract and admit to our
student body. Events of the past two years have caused us to worry that Harvard tends to admit some
individuals who already see themselves as leaders with a mandate to act, rather than as learners who are
curious, open to others, and aware that they need further education. Efforts are already underway in some
Schools to correct this tendency, and we endorse them.

To reinforce and expand these efforts, we recommend that the staff and faculty responsible for admissions
across all of Harvard’s Schools take — or where applicable, continue to take and build upon — the
following actions:

e Articulate to prospective students that Harvard seeks to build a learning environment where each
student is in genuine community with people with whom one may disagree. Communicate clearly, as
part of the admissions criteria, that Harvard expects all students to demonstrate civility, engage
thoughtfully with one another, practice tolerance and empathy, and, above all, to cherish the
opportunity to learn with and from one another.

e Where feasible, incorporate application questions that assess an applicant’s aptitude in navigating
situations involving diverging viewpoints and commitments (as we understand Harvard College has
recently done). Additionally, in interview settings where applicable, prompt applicants to respond to
ideas and opinions that may differ from their own. Admissions personnel should look favorably on
demonstrations of empathetic and reasoned engagement and unfavorably on exhibitions of hostility,
derision, or dismissiveness.

e Inevaluating candidates, prioritize demonstrated qualities such as bridge-building, particularly
through participation in organizations and activities that promote dialogue across difference. Look
favorably upon experience in identity-based commitments and activism that involved constructive
engagement with others who may hold differing viewpoints, as well as a demonstrated commitment to
curiosity and self-education. Conversely, reject candidates who have track records of antisemitism, bias
against Israelis based on their national origin, or other forms of identity-based discrimination,
including anti-Muslim, anti-Arab, or anti-Palestinian bias.

e Be open to collaboration with self-organized faculty volunteers aiming to reach out to admitted
students who may, in view of recent events on campus, fear identity-based bias or hostility toward
their personal commitments. We are aware, for instance, of faculty groups eager to welcome Jewish
and Israeli admitted students and to foster a sense of belonging even before matriculation. We
encourage admissions leaders to work with such groups.

Early Student Experiences

Early experiences on campus have a disproportionate impact on student life. In Harvard College, for
instance, events such as preorientation, orientation, and Convocation shape undergraduate students’
impressions of our community and its norms. In some recent Convocations, protestors have stationed
themselves near first-year students and have chanted pro-Palestinian and anti-Israeli slogans. Silence at
the time from University leaders has conveyed to incoming students that such chanting is a welcome form
of “discourse” in our community and that it is acceptable to alienate or intimidate some community
members. Graduate students experience entrance lifecycle events of their own. For them as well as for

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undergraduate students, first encounters with their fellow students should be designed to shape a learning
community of open inquiry and mutual respect.

To achieve this goal, and in the spirit of the recommendations of the Joint Task Force Subcommittee on
Pluralism, we recommend that organizers of early student experiences at all Harvard Schools implement

the following:

e Deeply examine and revise pre-orientation and orientation programs. Encourage new students to
engage constructively with peers who may hold differing worldviews from their own, ideally within a
structured pluralism framework:

— Ensure that all facilitators of early student activities are trained to cultivate a committed learning
community among new students of different backgrounds and outlooks.

— Create diverse cohorts of students in preorientation programs and consider whether the benefits of
programs that are more monolithic outweigh the cost of creating homogenous social spheres at the
beginning of one’s Harvard journey.

— Inearly student events, showcase returning students who can model civil and reasoned
disagreement and lead constructive dialogues around contentious issues, thereby encouraging
similar discussions among new students.

— Given the current climate surrounding the Israeli-Palestinian conflict, engage Israeli and
Palestinian leaders who are willing and able to model frank and genuine dialogue with one another,
as part of early student programming.

— Enlist respected faculty (e.g., faculty deans in the residential Houses of Harvard College) to
reinforce the message that Harvard expects constructive engagement across differences and support
faculty in developing programs that help facilitate this engagement.

— Starting in the 2025-26 academic year, enlist Jewish and Muslim faculty and students to assist in
the design of anti-bias materials that can be incorporated into orientation programs at Harvard
College and other Harvard Schools in future years. These materials should address campus culture,
antisemitism, and other forms of hate.

— Ininstances where Schools may have ceded responsibility for pre-orientation and orientation
programs to student groups, reclaim oversight to ensure a high-quality, coherent presentation that
aims to integrate all students into a shared community.

e Prepare all administrators who speak in opening programs, including the President and Provost, to
intervene and speak up on the spot when agitation for alienation erupts at official events and activities.
At such moments, it is essential that leaders model the defense of the University’s core function and
protection of its learning environment.

Academic Life

What happens in Harvard’s classrooms has both a direct and an indirect impact on student life. Critically,
the actions of instructors influence whether students experience a culture of open inquiry and mutual
respect within those spaces. These actions also shape the expectations students have about acceptable
behavior and discourse during their time at Harvard outside the classroom.

The Task Force believes that every Harvard student should have full access to Harvard’s educational
opportunities, regardless of their religion, national origin, or political beliefs. Yet, in the course of our
work, we heard from too many Jewish and Israeli students who said they have not fully enjoyed such access
in recent years. They described instances where fellow students and even instructors created classroom
environments that felt inhospitable.

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Toward the goal of full access to educational opportunities, we recommend that all Harvard Schools and
programs do the following:

e Develop aset of rules and expectations for instruction. These should respect the academic freedom,
rights, and responsibilities of both instructors and students. While each School or unit must determine
what is appropriate within its own specific context, we suggest the following as a starting point:

— Instructors should clearly distinguish between their professional academic roles and their personal civic
roles and refrain from political comment unrelated to course subject matter when they are teaching.

— Schools should ensure that instructors are aware they may not refuse to teach students on the
grounds of student identity or political or religious beliefs, nor may they discriminate among
students on such grounds when conducting class or grading.

— Instructors should value diverse identities and outlooks in the learning community. They should be
open to divergent points of view and actively promote such openness among students, colleagues,
and others.

— Schools should ensure that instructors are aware they may not encourage students to adopt
particular political stances or take specific political actions outside of class. For instance, we think it
should be unacceptable for instructors to cancel class to facilitate student attendance at a protest or
hold office hours onsite at a political event (as we understand some instructors did at the 2024 pro-
Palestinian encampment). In our view, these should be basic expectations of all Harvard
instructors, and falling short of these expectations should be seen as a sign that a teacher does not
take their responsibilities as a Harvard teacher seriously, which should result in significant and
lasting consequences.

— Instructors should be adept at eliciting multiple viewpoints within their classrooms and should
promptly address any behavior that undermines a learning environment grounded in open inquiry
and mutual respect.

— An instructor’s ability to engage diverse opinions should be a factor in course evaluations and
considered by the respective School and the University when hiring, promoting, and renewing the
appointments of instructors.

e Communicate and enforce expectations. After developing these norms and expectations, each
School should clearly communicate them to both instructors and students. Additionally, they should
establish clear processes for addressing breaches of the norms and expectations if such processes are

not already in place.

e Create opportunities, support, and incentives for all instructors to learn how to facilitate difficult
conversations across lines of difference in the classroom.

As articulated in the “Report on Institutional Voice in the University,” Harvard should ensure that its
Schools, departments, centers, and programs refrain from supporting, promoting, or lending their names
or Harvard's to activities and ideological campaigns that encourage alienation of segments of Harvard’s
learning community. To the extent this is not clear, we recommend that the University produce guidelines
along these lines. The Provost’s Office should track compliance with the Report and any such guidelines
and then remedy breaches of them.

We understand that the Institutional Voice is a new policy, and we urge the Provost’s Office to consider
whether a Task Force or other reviewing body is needed to examine existing content to ensure that we
meet our goals of including people with diverse opinions and backgrounds across the University’s various
classes, centers, and degree programs. To the extent that changes are necessary, we encourage copious
engagement with difference.

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This report has noted complaints by students about certain professional and graduate Schools where
teaching about Israel/Palestine is, in their view, highly politicized and partisan, and where they feel
unwelcome because of their political views or simply because of their nationality or ethno-religious
identity. In addition to the general recommendations we have laid out thus far, the University’s Central
Administration should enter into a dialogue with the administration of each School, assess the presence of
antisemitism and anti-Israel bias, and formulate School-specific remedies.

In considering curriculum and instruction within Harvard College, our Task Force recognized that
students are not currently offered a sufficiently robust set of courses on Israel, the Israeli-Palestinian
conflict, the wider Middle East, and conflict resolution. As a result, student views and debates on these
topics often do not seem grounded in established facts, rigorous scholarship, and adequately considered
perspectives. To correct this gap, we recommend the following:

e Create opportunities for students to engage in a more comprehensive course of study on Israel and the
Palestinians, Jewish Studies, and Peace and Conflict Studies. Specifically, Harvard College should
ensure that undergraduate students have substantially more opportunities to learn about antisemitism,
Jewish history and culture, the history and politics of Israel, Zionism, and the Israeli-Palestinian
conflict. To fulfill the College’s mission of preparing “citizen leaders,” students should have access to a
series of courses—both large lecture courses (such as General Education courses) and small seminars—
taught by a range of faculty. This will enable them to build deep content knowledge in these areas and
shape their own informed viewpoints on these complex topics. The team implementing this
recommendation should consider the following possibilities:

— Hiring new faculty, potentially through a cluster hire to recruit a diverse range of faculty with
differing views and methodologies.

— Developing interdisciplinary courses, with some potentially counting towards the College’s
newly offered Certificate for Civic Engagement®!5 or fulfilling requirements towards a
secondary concentration.

— Creating relevant research opportunities for students both by working as research assistants for

faculty and through developing original projects.

— Providing funds for practice-based opportunities, such as internships and shadowing opportunities,
during the winter and summer terms and in the year following graduation.

— Developing and funding travel opportunities for diverse groups of faculty and students through
which they can build community, learn about complex situations, and engage in concrete
community improvement projects.

e Create opportunities for students to build skills in peace building and conflict resolution, utilizing the
resources and expertise of University centers of excellence such as the Program on Negotiation at

Harvard Law School.

e Fill the vacant positions at Harvard’s Center for Jewish Studies (CJS). CJS plays a vital role in teaching the

history, religion, and culture of Jews from antiquity to the present. Unfortunately, due to recent and imminent
departures and retirements in the Faculty of Arts and Sciences’ Department of Near Eastern Languages and
Civilizations and in Harvard Divinity School, CJS will lose five out of its seven core, ladder-faculty
instructional staff. It is vital to refill these positions, all funded via endowed chairs, as quickly as possible.

e Inaddition to the College, curricular attention to Judaism is urgently needed in multiple graduate and
professional Schools. Harvard Law School’s Julis-Rabinowitz Program on Jewish and Israeli Law serves

$15 https://oue. fas. harvard.edu/certificate-civic-engagement

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as a successful example of how education on Judaism can advance both the mission of a professional
school and foster a student body that is more informed about issues that may contribute to antisemitism
and manifestations of it. Although aspects of Harvard Divinity School’s academic programs require
significant reform, as outlined in Chapter 4, HDS could become a key player in constructing a healthy
approach to the study of Judaism and Jewish civilization. A Jewish Ministry initiative, modeled after the
successful model of the Buddhist Ministry Initiative,°!° could benefit students seeking to study Judaism
within the larger context of world religion and prepare for leadership in Jewish communities beyond
rabbinic ordination. Such an initiative could help address long-standing curricular deficits.

e We urge Harvard Divinity School to consider whether the addition of a ladder faculty member who
writes and teaches in the mainstream of the modern American Jewish community would provide a voice
that is missing on their campus. Such an addition could contribute to ensuring that the richness and
diversity of the modern American Jewish mainstream are fully represented within the HDS community.

THE STUDY OF ISRAEL/PALESTINE

Both Task Forces agree on the need for more classroom instruction about Israel/Palestine and the Israeli-
Palestinian conflict. The challenge is how to teach these subjects in ways that bridge rather than exacerbate
political and emotional divisions. We must strive to avoid a situation (that has developed at other universities,
including peer schools) where “Palestine Studies” becomes an instrument of faculty and student advocacy.
Similarly, we must resist pressures for teaching about modern Israel as a defense against the country’s critics.
We urge avoiding having dueling courses taught from a Palestinian or Israeli “perspective” in which instructors
hold fast to the identities of their subjects of study, and students are called upon to do the same.

Mindful of the fact that administrators at Harvard and other universities may read this, we wish to
elaborate on this point. One of us has written on it at length, pointing out that scholars of “Israel Studies”
and “Palestine Studies” often rely on different sources, methods, and approaches, which are best situated in
conversation with one another as opposed to apart:®!”

Scholars who work on Israel/Palestine must decide, therefore, if it is their responsibility to engage in
overt political advocacy, to cloak that advocacy under a pretense to Weberian neutrality, or to aspire
to neutrality even if it is impossible to attain. They must decide whether “civility,” that is, rational,
respectful, and courteous conversation, is a relic from a bygone era, a screen for the concealment and
maintenance of hegemony, or if it has continuing value as a means of fostering constructive
communication with an often angry and fearful public. I believe that unlike the realms of political
discourse and public opinion (now expressed via limitless and unchecked access to the internet),
academic conversation about Israel/Palestine can and should refract, rather than reflect, the conflict.
To continue with the optical metaphor, an academic field of Israel/Palestine studies can help not
only scholars and students, but also a broad, global public, see the area in a new light.

We acknowledge that the demands that teaching about Israel/Palestine places upon an instructor —
ideally, a mastery of Arabic and Hebrew and a thorough knowledge of the history and politics of the
Middle Eastern and the Jewish world — are great, and that even the most rigorous of scholars are situated
in a subject-position that may carry with it bias and selectivity (even if unconscious). We therefore
recommend that whenever possible introductory courses on Israel/Palestine be co-taught, as has been
done, with considerable success, at Dartmouth.®"®

$18 https://hds. harvard.edu/academics/ministry-studies/buddhist-ministry-initiative

617 Derek Pensiar, “Coward a Field of Israel/Palestine Studies,” in The Arab and Jewish Questions, ed. Bashir Bashir and Leila
Farsakh, Columbia University Press (2020), 173. https://www.degruyterbrill.com/document/doi/10.7312/bash19920-
009/htmlPsrsltid= AfmBOo003951N4sB 1bCu3OK 6erl-sly TrOOwdbppj¥Lss ¥725CcO3HCsp

618 Bernard Avishai, “Co-Teaching a Class on Israel and Palestine,” The New Yorker, February 2, 2024. Accessed December 9,
2024.

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One of us is teaching a course on the history of Israel/Palestine at Harvard in the Spring 2025 semester
and, in the absence of a co-teacher, brings together sources that might be found in a Palestinian Studies
course along with sources that might be found in its Israel Studies counterpart for each week: for example,
comparing the post-1967 Israeli settlement movement with its effect upon the Palestinians in the West
Bank by juxtaposing texts produced during the 1970s by activists in the Bloc of the Faithful movement
with Sahar Khalifa’s novel Wild Thorns.

THE STUDY OF ANTISEMITISM

The 2023-24 academic year, especially in the aftermath of October 7th, witnessed an unprecedented surge
in reports of antisemitism, both at Harvard and around the globe. Harvard is well equipped to play a
crucial role in combating antisemitism in many ways, with research being one of the most obvious. We
urge Harvard to become a hub for antisemitism research by establishing a dedicated research project,
ideally by appointing a globally renowned expert in the social scientific study of antisemitism to the faculty
at a Harvard School, such as the Harvard Kennedy School of Government. This person could lead a
robust program of research, teaching, mentoring graduate students and post-doctoral fellows, and fostering
and invigorating the social scientific study of antisemitism while promoting scientific excellence in the
field. This individual should be encouraged to cultivate ties with recently established centers for the study
of antisemitism at the University of Michigan and New York University, as well as long-standing centers
for antisemitism research in Israel, the United Kingdom, Germany, and other countries.

Co-Curricular Activities and Residential Life

Much of student life takes place outside of Harvard’s classrooms — in clubs, dormitories, and residential
houses, in various kinds of affinity spaces, and on social media. In academic year 2023-24, such venues were
the sites of some of the most painful reported instances of antisemitism and anti-Israeli bias. We heard
accounts of some Jewish and Israeli students feeling pressured to renounce Israel or risk significant social
penalties, including the loss of friends, rejections from clubs, exclusion from social activities, and more.

While Harvard’s Schools cannot force students to be friends with each other, they can and should establish
rules and norms that aim at discouraging social exclusion based on religion or national origin. Toward this
end, we recommend that each School implement the following:

e Review, revise, if necessary, implement, and enforce responsible policies regarding student
organizations. This should complement the ethos of pluralism that Schools seek to cultivate.
Specifically, we recommend that relevant administrators in each School:

— Review and reinforce compliance with non-discrimination policies that govern all student
organizations that are officially recognized by their respective Schools. Organizations failing to
comply should not be allowed to operate on University property or use Harvard’s name or resources.

— Take appropriate action against unrecognized student organizations that “piggyback” on recognized
groups to take advantage of privileges and resources that would otherwise be unavailable to them.

— Ensure that the activities of recognized student organizations reflect the organizations’ stated
purpose and scope. The Task Force believes Harvard’s student civil society only works if
recognized organizations provide opportunities for connecting across common interests and
affinities, mindful of the fact that it is highly desirable for members of the chess club, for example,
to disagree on questions outside of the value of playing chess with their fellow Harvard students.

e Mandate special training, if it has not been already, for students tasked with promoting diversity,
equity, and inclusion within their respective student organizations. This training should ensure
alignment between efforts to promote inclusion and the University’s Values Statement.

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For the co-curricular life of each of Harvard’s Schools, adopt the measures recommended by the Joint
Task Force Subcommittee on Pluralism. Despite commendable recent efforts to promote dialogue
between Jewish and Muslim students, these initiatives appear underattended. It is our understanding
that the current campus climate can sometimes mean Arab and Muslim students who engage with
Israeli students experience negative social repercussions, including shunning and alienation from their
friends and social groups. For example, we are aware of disturbing accounts of bullying of Palestinians
who merely showed an openness to dialogue. We believe that this kind of behavior should be
combated, just as we believe work needs to be done to bridge differences among Jews with varying
views on Israel. According to student organizers we spoke with who have facilitated small group
discussions between Jewish and Arab students, there are Muslim and Arab students open to such
engagement, but the prevailing campus culture discourages their involvement. We endorse the
following measures recommended by the Joint Subcommittee:

— Foster a series of prominent, public, civil, and reasoned debates on contentious geopolitical
matters. These events should model respectful disagreement and include speakers representing a
wide array of viewpoints, including prominent pro-Israeli leaders.

— Recognize and support student leaders who make the peer-to-peer case for dialogue and inclusion,
speak out against exclusionary practices like shunning, and strive to build bridges across differences.
This could include awards, fellowships, and highlighting these students in appropriate events.
Ensure these student leaders are committed to promoting civil discourse across differences, not
solely within a particular group.

— Establish a dedicated group of faculty members and administrators to support dialogue efforts
between Muslim, Arab, and Palestinian students and their Jewish and Israeli peers. This group
would actively encourage participation and promote a culture that values and supports these
meaningful interactions.

We also recommend:

Formally recognize and celebrate staff and faculty who make substantial contributions to fostering
constructive dialogue across differences within Harvard’s academic community.

Develop an assortment of grants, fellowships, and programs dedicated to studying campus culture and
the Israeli-Palestinian conflict. This might include grants for study and internships in Israel and other
Middle Eastern countries.

At Harvard College, take specific steps to enhance aspects of its residential system, comprising both
dorms in the Yard for first-year students and the Houses for upper-level students, which many
regard as the hearth and home of the College community. The steps outlined in the next set of
bullets are intended to renew a sense of shared community and to counter tendencies towards
demonization and division.

Staff involved in the undergraduate student housing system, including various deans, proctors, tutors,
and others, should operate as a more collaborative and unified team, supported by stronger leadership
from University Hall. In particular, we recommend:

— Improved orientation and regular in-service training should be implemented for all residential
personnel in the Yard and the Houses. The goal should be ensuring they are equipped to foster
engagement across a variety of differences, including national origin, viewpoint, and identity along
multiple dimensions. This is especially crucial for faculty deans, who ultimately bear responsibility
for the climate and culture of their individual Houses and oversee both staff and budgets.

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— Best practices for cultivating a constructive ethos of pluralism within the housing system should be
identified and disseminated, with a particular emphasis on how these practices can support and
reinforce a similar ethos in academic settings.

While we commend Harvard College’s current efforts to promote intellectual vitality, we caution that this
focus on intellectual vitality in general should not overshadow the need for College leaders to address
antisemitism and anti-Israeli bias directly. Educating students about intellectual vitality in orientation
programs, for example, does not eliminate the need to educate them about matters like the Israeli-
Palestinian conflict or the history of antisemitism. Similarly, conducting intellectual vitality training during
orientation does not negate the need for antisemitism training.

Building a Pluralistic Community
In a joint effort between the two Task Forces, the Pluralism Subcommittee examined the resources that

exist at Harvard for interfaith engagements, interdisciplinary collaborations, religious literacy, and
community building, including the arts, as well as examine new resources, structures, and/or practices.

The focus was on promoting a culture of pluralism, defined as recognizing the diversity of identities and
ideologies on campus, respecting, relating, and cooperating with one another, and connecting personal and
campus civic values to advance our educational and research mission. These campus civic values are
anchored in the University’s Values Statement focused on advancing respect for the rights, differences, and
dignity of others; honesty and integrity in all dealings; conscientious pursuit of excellence in our work;
accountability for actions and conduct in the community; and responsibility for the bonds and bridges that
enable all to grow with and learn from one another.

A broad focus on pluralism will ultimately be foundational to ensuring the experience of inclusion and
belonging on our campus for members of Muslim, Arab, and Palestinian communities, and their allies. At
the same time, we wish to underscore that it is crucial not to overlook the specific forms of hate and bias
that the two anti-bias Task Forces are committed to addressing, including anti-Muslim, anti-Arab, anti-
Palestinian sentiments, as well as antisemitism and anti-Israel biases. Directly confronting these particular
issues by advancing a pluralism agenda ensures that our efforts are impactful and resonate with the
experiences of those most affected, fostering a truly inclusive environment.

While the full report of the Joint Subcommittee is included in Appendix 3, here we note one of the main
recommendations, which our full Task Force endorses as well:

e Establish an institutional anchor for practices of pluralism on campus.

There is a need for a central hub for pluralism efforts on campus — to anchor the practices of the
University around a commitment to pluralism, and to engage all members of our campus community
in exploring, embracing, and bringing our University values to life across a variety of contexts — from
orientation and onboarding to interdisciplinary exchanges and language learning, to interfaith
experiences, student life, and the arts on campus.

Though the University will need to determine the appropriate approach to implementation, the Joint
Subcommittee report details two possible options: expanding the Harvard Foundation into the
Harvard Foundation for Pluralism or creating a new University-wide Center for Pluralism that
incorporates the Harvard Foundation, which would continue to be College-facing, as a program.
Many other entities also work in these areas and the specific value-add of a Reimagined Harvard
Foundation/Center for Pluralism would be to connect the academic enterprise of the University, along
with campus expertise on issues of inclusion, belonging, and pluralism, to the administrative enterprise
that fulfills these functions. As the University considers the design of the Reimagined Harvard
Foundation/Center for Pluralism, three key principles are essential for success: faculty leadership,

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collaboration with OEDIB and other diversity offices on campus, and a strong staffing structure to
support cross-functional work.

A Reimagined Harvard Foundation/Center for Pluralism should develop and implement programs
that reinforce pluralism. For example, the Center/Foundation could support:

— a fellowship program for students;
— acampus awards program for students who lead in advancing a culture of pluralism on campus;

— engaging faculty with expertise in pluralism and connected subject areas to develop trainings and
professional development opportunities for the campus;

— mediation resources for conflicts that involve issues of pluralism; and

— the work of OEDIB and School-specific Diversity, Inclusion, and Belonging offices to cultivate a
campus-wide network of expertise on pluralism that all Schools could tap into in a shared way.

This Reimagined Center, in partnership with OEDIB, could also lead the Harvard Culture
Collaborative, fostering faculty-staff partnerships to enhance research and learning in support of
inclusion and belonging grounded in a commitment to pluralism. Several of the Task Force
recommendations laid out above might also be advanced via this vehicle, including the development of
new intellectual exchanges and innovative trainings.

The Task Force discussed the merits and potential challenges of using the Harvard Foundation as the
hub for University-wide pluralism efforts. A detailed examination of these issues is warranted, as
exploring these complexities was beyond the Task Force’s remit. The Harvard Foundation currently
focuses on undergraduate students, and there is a proposal to transform it into a Harvard
Foundation/Center for Pluralism that serves the entire campus community, while preserving and
indeed strengthening the current mandate of the Harvard Foundation. The Joint Subcommittee
suggests structuring this Reimagined Harvard Foundation/Center for Pluralism as a School-based
entity for easier integration with the University’s mission. The Joint Subcommittee recommends
significant investment from the Office of the President and Provost, as well as School deans, to
establish faculty leadership and anchor pluralism practices across the campus.

Religious Life

In the wake of the traumatic of the October 7th attacks and the heightened tensions of the 2023-24
academic year, many Jewish students sought solace and support within Harvard’s Jewish community,
primarily centered around Harvard Hillel and Harvard Chabad. However, the events of academic year
2023-24 also exposed longstanding challenges and unmet needs within Jewish life, and indeed within
religious life more broadly, at Harvard.

The Task Force’s impression is that many faith communities at Harvard tend to be fragmented and
internally divided, and that they engage in limited dialogue with one another.

While Harvard does not gather statistics on the religious affiliation of its students, several factors lead the
Task Force to believe that the number of Jewish students may have decreased in recent decades. This
apparent decline has made it increasingly challenging, across religious denominations of Judaism (e.g.,
Conservative, Orthodox, Reform), and in various areas of Jewish cultural life, to achieve the requisite
quorum of peers required to hold certain religious and cultural Jewish activities, potentially affecting
students’ ability to experience and explore the richness of Jewish heritage and life.

In several listening sessions, non- and anti-Zionist Jewish students told us that they do not feel welcome at

Hillel or Chabad.

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Clearly, Harvard is missing opportunities to make religious life on campus a greater source of support and an
integral part of the learning community we desire. To tap such opportunities, we recommend the following:

Connect the Harvard Chaplains better with the residential system of Harvard College, so that students
experiencing spiritual distress and isolation can more easily find support.

Urge admissions leaders to consider applicants of all faiths who have played faith-based leadership
roles in the past, including those who have shown an ability to build bridges across faiths. Admissions
practices cannot favor certain applicants based on their religion, but they can consider faith-based

leadership experience in the way they consider other kinds of leadership experience.

Ensure that all personnel who teach and advise students are apprised of Harvard policies regarding
reasonable accommodations when religious observances conflict with the academic calendar and the
scheduled assignments and exams of individual courses. Such policies should not only fulfill statutory
requirements but also meet a standard of inclusion. Students should be guided and supported in
making appropriate arrangements with their instructors in such circumstances, and faculty should be
receptive to requests for such accommodation. Calendars of religious observances, with brief
descriptions of the practices and restrictions germane to each observance, should be made easily
available, to consult when religious accommodation is requested.

Create an Office of Religious, Ethical, and Spiritual Life, as described in the Subcommittee
Report on Pluralism.

Administrative Infrastructure

The steps recommended above, while comprehensive, will only effectively take root and improve student
life if the University, both centrally and within its individual Schools, ensures the administrative
infrastructure is in place to support, coordinate, and sustain these efforts over the long term. To that end,
the Task Force recommends that the University’s leadership and the leadership of each School take the
following concrete actions:

Include in the Office of Equity, Diversity, Inclusion, and Belonging (OEDIB), or another
appropriate office in the Central Administration, a dedicated team member specifically tasked with
addressing antisemitism and anti-Israel bias. This individual should possess relevant training and

experience regarding Jewish and Israeli identity and culture. Their responsibilities should include:

— Serving as a readily accessible point of contact for receiving concerns about antisemitism and anti-
Israeli bias and overseeing cases from initial complaint to resolution.

— Providing direct support to students experiencing antisemitism or anti-Israeli bias as they navigate
the complaint process, which can be emotionally challenging.

— Collaborating proactively with other administrators across the University to ensure the inclusion
and belonging of Jewish and Israeli students.

— Engaging with Jewish, Israeli, and pro-Israeli students across Harvard’s Schools, offering guidance
and support to those who may be navigating a range of challenges, including experiences of
shunning, alienation, and discrimination.

— Working proactively to repair the distrust between many members of Harvard’s Israeli and Jewish
community and the OEDIB.

— Staying abreast of antisemitism resources best practices from other institutions and organizations.

— Developing and providing trainings to Schools, departments, administrative units, and campus
groups on recognizing and addressing antisemitism and anti-Israeli bias.

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— Offering consultation and support to staff members across the University responding to concerns
related to antisemitism and anti-Israeli bias.

— Engage with deans, faculty, the Office of the President and Provost, the Office of the General
Counsel, and OEDIB colleagues, to provide relevant insights and perspectives informed by Jewish
culture, history, and community, particularly regarding emerging issues.

The University should explicitly acknowledge and address in an appropriate way that many Israeli and
pro-Israeli students at Harvard have experienced shunning, alienation, social isolation, and
discrimination from some of their peers, professors, and administrators on campus. Harvard must
unequivocally state that such behavior is unacceptable and fails to meet the expectations for the
behavior of Harvard community members. Recognizing the intolerable reality faced by Israeli students
is an essential first step toward fostering meaningful change and creating a truly inclusive environment.

Constitute in each School of the University a student-faculty-administration Working Group on
Campus Culture to monitor and discuss situations that threaten the welfare and core functions of the
learning community, to pursue ways of addressing and ameliorating such situations, and to act to
improve campus community. A responsibility of this group should include transforming campus culture
by translating University norms into student activities and programming. These groups should represent
diverse ethnic, religious, and political communities on campus, including Jewish, Israeli, Arab, and
Muslim students, as well as leading administrators, and they should be funded to foster and support
student initiatives toward a collegial and hospitable learning environment, including relevant high-profile
events and culture-building activities. These groups should convene together periodically to report on
challenges and successes and to learn best practices. They are intended to guide and catalyze the long-
term development of campus culture, not to respond immediately to specific incidents.

Orient those in positions of advising students to the proper practices for reporting incidents. Ensure
that students know who to approach with concerns, and that those designated people know how to
guide students on reporting, and how to follow up to make sure that students are apprised of responses
to their reports, even when it may not be possible for legal reasons to disclose some details.

Launch a University Task Force of faculty, staff, and student leaders to tackle the special challenges of
social media. Social media sites, especially the anonymous Sidechat, have been the venues of
particularly vicious displays of antisemitism and anti-Israel bias, as well as other biases. Conflicts
among students are often full-blown and factionalized online before involved students have had a
chance to interact on the matters at hand “IRL” (in real life).

Hold accountable any administrators, faculty, teaching staff, or advisors who encourage violations of
rules that undermine the learning environment.

Ensure, regarding all the efforts recommended in this document, that there be a clear locus of
responsibility and accountability, metrics, ongoing measurement, and public reporting.

In addition, the two anti-bias Task Forces jointly call for regular, in-depth demographic research and
surveys on the sense of safety and well-being among Harvard community members. These efforts should
prioritize, but not be limited to, groups who have historically faced challenges in expressing themselves and
finding safety and belonging at Harvard, recognizing that these groups may evolve over time. In this
regard, we specifically recommend:

Enhance regular University-wide Pulse surveys to assess the experiences of students, staff, and faculty,
providing them a platform to voice concerns, suggest improvements, and propose additional areas of
exploration. Integrate a mechanism for community feedback on the survey itself, including suggestions
for questions related to relevant concepts such as antisemitism and bias against Israelis, Muslims,
Arabs, and Palestinians, and emerging trends.

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e Tocomplement survey data and address potential limitations like response rates and survey fatigue,
enhance the University’s capacity to analyze existing administrative data, such as course enrollment,
dropout rates, and other routine student touchpoints. This analysis should be conducted with strict
adherence to privacy policies (e.g., FERPA) and could be centralized within the University’s Office of
Institutional Research and potentially involve relevant faculty, researchers, and staff in coordination
with Harvard’s Central Administration and the various Schools.

Protest, Complaints, and Discipline

PROTEST

This report has stressed the need for Harvard to foster an inclusive campus environment where members
of our pluralistic community engage with each other respectfully and appreciate perspectives different from
our own. Those differences might be stark and, in the case of contentious issues like Israel/Palestine,
fraught. At times, members of our community will choose to communicate their views on such issues
through public protest. Public protest is no less legitimate a form of speech than private conversation or in-
class discussion. Protest can effectively communicate to our community the gravity and urgent need for
action that some of our members attribute to a current crisis, either within Harvard or beyond.

Like any other form of speech, protest must operate within certain guidelines. Freedom of speech does not
justify harassment, bullying, or intimidation by one student toward another, nor does it justify
unprofessional conduct by an instructor towards a student due to their political views, national origin, or
religion. Protest must not disrupt the normal operations of the University, including conducting classes
and providing unrestricted access to the libraries and other campus buildings.

The University has already taken steps to revise and strengthen its protest policies. In January 2024,
President Garber and the deans of the University’s Schools issued “Guidance on Protest and Dissent”
clarifying the relevance of the University’s 1970 Statement on Rights and Responsibilities to current
protests. (This new document prohibited, among other things, certain indoor protests.) In August 2024,
the University established additional policies prohibiting unauthorized outdoor camping and excessive
noise on campus property, addressing concerns stemming from the Spring 2024 encampment and other
disruptive demonstrations held during the 2023-24 academic year. These policies now in place, we feel,
provide substance to the concept of time, place, and manner that has long prevailed in determining the
limits of free speech in the United States.

Moving forward, however, the University faces challenges in proactively establishing limits on protest
rather than making ad hoc determinations during protest events. While we do not recommend proactively
prohibiting the use of certain words, phrases, or symbols, we do recommend that the University prohibit
the masking of faces at protests. Such a prohibition will enable the Harvard University Police Department
to maintain order at public gatherings and identify individuals who may be violating University policies.
Similarly, to ensure the maintenance of the University’s normal operations, we urge strict adherence to the
existing prohibition against unauthorized and last-minute protests.

While unauthorized or disruptive protests are perhaps the most visible manifestation of policy violations,
they should not overshadow the accounts in this report describing students’ experiences of bullying,
exclusion, and intimidation based on national origin or political views regarding Zionism and Israel. As
noted in our June 2024 Preliminary Recommendations, students alleging such mistreatment have
expressed concerns about a “lack of transparency, clarity, and clear process for the submission of complaints
of antisemitic or otherwise hostile behavior.”

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COMPLAINTS

In addressing concerns about the complaint process, the Task Force acknowledges that Harvard’s Non-
Discrimination and Anti-Bullying (NDAB) policy was only implemented in September 2023. When the
October 7th attack triggered a variety of events on campus, there had been no opportunity to assess how
the new NDAB policy would interact with the other policies already in place within individual Schools.
This unprecedented pressure test of a nascent system revealed, in our view, some fundamental flaws in its
design, which we highlight here and believe require rectification. Importantly, by introducing significant
confusion into the process, the implementation of NDAB may well have undermined what had been more
stable processes under the previous system of administrative boards, which are responsible for handling
disciplinary matters at the various Schools.

Both anti-bias Task Forces, in their preliminary recommendations, called for clear and transparent policies on
protests, bias, and discrimination that would be consistent across the University and clearly communicated to
all. Based on our Task Force’s subsequent work, we offer the following additional recommendations.

e The University’s Office of Community Conduct (OCC) needs to clarify for the Harvard community
that it is the University’s Title VI office and is responsible for administering the University’s Title VI
compliance. That clarification would need to include:

— Clarifying that NDAB (the policy the OCC administers) is aligned with Title VI; or adjusting
NDAB to improve alignment, if necessary, presumably by adding a venue for complaints with no

clear perpetrator, and for complaints that can be made anonymously; or by adding an additional
and specifically Title VI policy alongside NDAB.

— Ensuring personnel who are employed in central offices and available across the University
understand antisemitism; including ensuring improved training as well as cross-training across
Schools to support development of shared understandings.

— Better communicating the availability of those personnel and the entry points for access to them to
the community.

e As the University’s Title VI office, the Office of Community Conduct should work to improve

complaint processes, including the following improvements:

— Clear user-facing communications are needed to help people understand the different entry points
into an incident reporting process, as well as the differences among different modes of reporting an
incident and the differences between informal and formal processes.

— User-facing communications should give students clear instructions as to where and how to
file complaints.

— Students should be updated as much as possible on the status of complaints.

— Substantial consistency across Schools in both process and available sanctions, with School-specific
alterations being kept to a minimum, including, at a minimum, bringing together administrators
from across Schools to develop shared policy understanding, as well as exploring a transition from
having separate handbooks and codes of conduct in every School to having a University-wide

handbook with School-specific addenda.

e Each School should consider appointing a specific faculty or staff member at each unit who is a
navigator to assist students with making complaints. This individual would be different from the
Local Designated Resource (LDR) and would have no responsibility for judging whether a complaint
should be dismissed, nor for determining whether a complaint falls under non-discrimination or
bullying. The current system puts the LDR in the position of both advisor and judge, and this is a
conflict of roles that needs to be corrected. The navigator would advise students where and how to file

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complaints and provide updating. This would reduce confusion and allow students to feel heard, even
if the substantive outcome is not to their liking. The navigator would support the LDR in the first
phase of NDAB of connecting the complaining student and others involved to mediation or other
informal resolution practices.

e The University should initiate regular review of protest policies and complaint processes:

— Assess effectiveness, analyze enforcement trends, identify issues, and ensure alignment with
evolving community needs.

— Include feedback from frontline staff and the broader Harvard community.

— Institute a process of regular review that is attached to a stable University-wide governance
mechanism and includes faculty.

e The University should aim to set a field standard for comparable reporting on the volume of
complaints and the percentage that is resolved through mediation or other practices and the
percentage that moves on to formal grievance filing or an administrative board proceeding. This
standard could parallel that for the Clery Act, which requires colleges and universities to report
annually on sexual assault cases in aggregate. This reporting should include categories of sanctioned
behavior as part of educating the campus about which actions are judged to be violations of NDAB.

e The NDAB process needs to include a channel for reporting on incidents and patterns to University
leadership even when no formal grievance is filed.

e There is a need for a channel through which complaints can be made anonymously, to protect a
complainant from retaliation, and still reach University-level leaders.

Improving the University’s policies and procedures in the manner laid out above is in the best interests of
the many Jewish, Israeli, Arab, Muslim, Palestinian, and pro-Palestinian community members negatively
affected by these processes. It is also in the best interests of the staff and administrators of this university
who are responsible for these policies. And it will certainly be necessary for the health of the Harvard

community generally over the long term.

DISCIPLINE

While complaint resolution can take many forms, including voluntary mediation and other steps that fall
short of punitive discipline, disciplinary action must remain a viable option. Yet, as discussed in our June
2024 Preliminary Recommendations, significant inconsistencies seem to exist in the policies and

procedures of administrative boards and other disciplinary bodies across the University’s various Schools.

This has resulted in apparent disparities in the handling of disciplinary cases.

Therefore, the Task Force urges the University to establish clearer communication channels and strive for
greater consistency in disciplinary procedures across its constituent Schools. We view the July 2024
announcement that the University Committee on Rights and Responsibilities®!? would use standardized
fact-finding procedures for disciplinary cases involving multiple Schools as a positive step. However, this
should be the beginning of a broader reform process encompassing the individual Schools’ Administrative
Boards and the interactions between them. The process should start with a University-wide committee of
representatives from each School, tasked with comparing the Boards’ remit, composition, operating
procedures, and outcomes. The committee’s objective should be recommending ways to achieve an optimal
level of equalization and standardization across the Administrative Boards. Achieving this will help the
University restore trust with many members of the Harvard community who want assurance that students
who violate Harvard’s policies will be treated fairly and equitably, with disciplinary consequences

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commensurate with the gravity of their infractions. To further restore trust, we recommend that the
University — to the extent legally possible — provide an annual account, in an aggregated and
anonymized form, of disciplinary cases University-wide, including the number and types of cases and their
outcomes. Importantly, faculty should play a significant role on this committee, helping to address the
information gaps that currently seem to hinder their ability to understand and engage with University
policies and effectively mentor students.

When policies are on the books, they must be enforced consistently and impartially across all parts of the
University to avoid even the appearance of institutional bias in their application. Uneven enforcement can
feel arbitrary or selectively repressive to those who face disciplinary action, rather than a simple
consequence of deciding to break a rule. This problem is further compounded by a lack of clarity and
understanding surrounding these policies and their enforcement, a challenge that was particularly evident
to us on the Longwood campus.

B. Governance Changes

In the course of our work, we encountered several surprising issues related to University governance, some

detailed in Chapter 4. These issues included:

e Evident gaps in faculty and administrative governance, significantly degrading the academic programs
in certain areas of the University and creating potential legal liability for the institution.

e Staff leading significant academic programs with insufficient oversight from the ladder faculty.
e Concerning performance of a small, but not insignificant, number of Harvard’s teaching faculty.
To address these issues, we offer the following recommendations:

e The President and Provost, either acting independently or with the counsel of a faculty advisory
group, should establish a set of uniform standards for all Harvard academic programs, such as centers,
institutes, and study abroad programs. These standards should consider factors such as:

— Requiring a faculty director, who is a responsible tenured member of the ladder faculty, to oversee
all activities of such programs.

- Establishing best practices for oversight boards of such programs.
— Establishing best practices for visiting affiliations and appointments.

We were surprised to encounter significant academic programs that lacked any involvement from the
ladder faculty, and we think as a nearly hard rule that the University should avoid creating programs like
these in the future. We understand that this rule will not apply evenly across the University and that there
are places and programs that can be run with the supervision of a dean’s office and with the excellent staff
and regular non-ladder faculty we can recruit. However, we think in general it is best to have oversight
from ladder faculty with relevant expertise, and to the extent an activity is outside the scope of the expertise
that exists at Harvard, it is an opportunity to think about adding skills and expertise to the faculty or,
alternatively, admitting that we are not well-positioned to run a particular program, which is a healthy
response, as we cannot do everything.

To the extent Harvard has expertise, and those experts are unwilling to commit the amount of time
needed for meaningful and real supervision of a program, we may not be able run a proposed program with
the necessary integrity. The right consequence of such a scenario would be to focus on other ventures as
opposed to inviting faculty from other universities to supervise on an ad hoc basis.

We must avoid allowing staff and non-ladder faculty to create partisan projects on our letterhead, which
degrades the brand and reputation of the University and is completely out of scope with our mission.

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Importantly, at any given time, different Harvard Schools are capable of doing different things. Harvard is an
institution that takes expertise very seriously, which is why we were surprised to find programs deeply outside
the scope of a given faculty's expertise. When we found those programs, they often failed to operate at the
same level of excellence as the activities within the core body of knowledge of the Harvard unit. We would
do much better to partner with one another to create interdisciplinary programs than to hire non-ladder
faculty to add expertise to a unit that would not merit a tenured appointment in the discipline.

The Task Force also believes the University should generally avoid partisan programs of instruction that
seem aimed at training students to take sides on contested issues. While our scope did not permit extensive
discussions with faculty across all units regarding the perceived instances of partisanship, those faculty
members we did speak with were often shocked and unaware of the current climate — we particularly
found this to be the case in discussions at Harvard Medical School. Many HMS faculty noted a significant

shift towards a more politicized educational environment compared to their own training experiences.

It was especially strange to observe the following pattern. All Harvard Schools have rules regarding the
time, place, and manner of permitted protest and are charged with administering those rules. But in some
places in the University, we found programs of instruction that teach students to engage in disruptive
protest. In effect, in some quarters — and not the majority, we should add — we found a deep tension at
the heart of how we operate. It is thoroughly understandable that, when Harvard did enforce rules against
some of those students, the students felt betrayed.

We also recommend increased oversight over Harvard-branded content. We find it particularly concerning
that the two programs we found most problematic — the Palestine Program at the Harvard Chan School
and RPL at HDS — also have recent journal publications authored by their organizers, who described
their pedagogical approaches and promote their activities under the Harvard name and brand.

We believe the activities we identified in Chapter 4 present urgent brand and reputation concerns that
imperil the University’s pre-eminence and require immediate action.

Improve the incentives that Harvard’s faculties have to monitor academic programs. We observe that
in some cases, when a Harvard School receives a grant or a donation to fund a program, the program
quickly takes on a life of its own, growing and hiring staff. Ladder faculty insight is either non-existent
or fleeting. Senior administrators appear to either lack the bandwidth to oversee the program or to take
a hands-off approach to avoid antagonizing staff who have relationships with donors or students.

To address problems like this, we urge the University to consider implementing a system of
accountability where costs are assigned to Schools that fail to adequately supervise programs and other
activities under their purview. This system should align with the best practices that are subject of the
prior recommendations in this section on Governance Changes. Currently, incentives for diligent
oversight appear weak and ineffective. By establishing clear lines of responsibility and consequences for
inadequate supervision, the University can mitigate potential risks with certain programs and other
activities across its Schools.

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OUR CHARGE TO THE UNIVERSITY

The task of researching and writing this report has been profoundly challenging, as all involved care deeply
about Harvard University. Our work has required us to examine situations where aspects of the Harvard
community have broken down, resulting in deeply troubling experiences for many students, faculty, and
staff. Too often, we heard these experiences reflect prejudice and intolerance based on individuals’
identities, nationalities, and religious commitments. We have encountered places and instances where
Harvard has fallen far short of the stated values it aspires to uphold.

Yet, throughout this process, we have also witnessed the potential for a better Harvard, the Harvard we
cherish. The University’s renown rests not only on its history, the many contributions of its graduates to
the wider world, or the individual achievements of its faculty and students. Rather, from its vibrant
undergraduate residential system to cutting-edge academic programs across the various Schools, Harvard’s
accomplishments stem from its enduring ability to forge and renew a purposeful community of research,
teaching, and learning, strengthened by the rich tapestry of experiences woven by those who have met,
learned, and grown together here.

Our work has revealed numerous examples of students, staff, and faculty dedicated to renewing and
strengthening the Harvard community. For instance, three Schools highlighted in this report — the
Harvard Chan School, HGSE, and HDS — have new deans committed to improving the climate and
atmosphere at their Schools. In academic year 2024-25, HDS provided a book by a critical but committed
Zionist, Yossi Klein Halevi, to all students, and invited all community members to a conversation with the
author. This book provides a voice and a face for Zionists that seemed absent in the Religion and Public
Life programming we reviewed, and it pushes back against dehumanization of Israelis. Similarly, the Dean
of Harvard Medical School, in his Fall 2024 welcoming remarks to incoming students, powerfully stated,
“We leave our politics at the door when we come to the bedside of a patient.” In doing so, he reinforced a
cornerstone of medical professionalism that we believe needs to be emphasized anew at HMS and in
medical education generally.

These examples, encountered even as we have described instances where Harvard has fallen short,
demonstrate Harvard’s capacity to translate aspirations into action when University leadership and the
broader Harvard community work together with shared resolve.

With this capacity in mind, we issue this charge to the University: it is clear to the Task Force that
antisemitism and anti-Israel bias have been fomented, practiced, and tolerated not only at Harvard but also
within academia more widely. We urge Harvard’s leadership, including the president, provost, deans,
faculties, and offices of equity, diversity, inclusion, and belonging to become champions in the fight
against antisemitism and anti-Israeli bias — first at Harvard, and then as a model for institutions of higher
learning everywhere. We further call on Harvard’s leaders to combat, with equal resolve, all other forms of
prejudice and intolerance, including anti-Muslim, anti-Arab, and anti-Palestinian bias. This charge is
made with particular urgency to those Schools that operate in deeply politicized fields, such as medicine,
public health, and education.

As a final recommendation, we urge the University to convene a subset of the members of this Task Force
to monitor implementation and provide two post-report updates to the public.

We conclude by reflecting on the vital importance of this Task Force’s efforts, alongside those of our sibling
Task Force focused on anti-Muslim, anti-Arab, and anti-Palestinian bias. In moments when over 1,000
civilians are slaughtered in a single day, when tens of thousands of innocents suffer death and injury in the
ensuing conflict, when millions are displaced, and when hostages remain captive — one might question the
impact of actions taken within Harvard’s leafy quadrangles and serene libraries, half a world away.

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We believe such actions matter profoundly because of the model we set for the countless future leaders
who pass through Harvard’s gates. Harvard could model a world where individuals retreat into echo
chambers of the like-minded, where differences are met with shunning and intimidation, and where
divisions are amplified. Our students could be conditioned to seek out only those academic and
extracurricular pursuits that position them as combatants in pre-existing ideological conflicts.

Yet, Harvard can — and must — model a world where the full spectrum of human talent converges,
where engagement across profound differences is the norm, and where those very differences become
wellsprings of creativity and imagination propelling progress on humanity's most pressing challenges.

It is our conviction that Harvard possesses both the capacity and the responsibility to provide this latter
model. It is our hope that the actions recommended in this report, in concert with the recommendations
of our sibling Task Force, will help illuminate the path forward.

Harvard, like the country and world it serves, is in need of profound repair. We must dedicate ourselves to
this essential work, and we must do so as a unified and resolute community. Let us begin.

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Appendix 1: Recent Progress on Addressing Antisemitism and Anti-
Israeli Bias Across Harvard

This Appendix provides an overview of some recent initiatives undertaken by Harvard Schools and key
offices in the Central Administration since the 2023-24 academic year aimed at addressing antisemitism
and anti-Israeli bias. The information presented here is based entirely on self-reports provided by these
Schools and offices in response to a request from the Task Force co-chairs.

While the co-chairs acknowledge these reported efforts as important steps and promising signs of growing
institutional commitment, several important caveats must be emphasized. The initiatives described are
illustrative examples, not an exhaustive list. Furthermore, the Task Force has not independently verified
the implementation or effectiveness of these actions. Crucially, their inclusion here does not imply that the
significant concerns about antisemitism and anti-Israeli bias detailed elsewhere in the Task Force’s report
have been resolved or sufficiently addressed.

All that said, the self-reported actions provide important context for the Task Force’s recommendations
(presented in Chapter 5). Our recommendations seek to build upon this foundation of existing efforts by
promoting the systemic change needed to create a truly inclusive and welcoming environment for all
members of the Harvard community.

Training on Antisemitism and Anti-Israeli Bias

According to information provided to the Task Force, several Schools have implemented specialized training
programs focused specifically on understanding antisemitism, anti-Israeli bias, and related forms of
discrimination. These efforts appear aimed at equipping faculty, staff, and student leaders with the
knowledge and tools to recognize problematic behaviors and create more inclusive environments.

e The University committed to hiring a new Office for Community Conduct (OCC) employee who will
have responsibility for consulting on all complaints of antisemitism and supervising the preparation of
the written report of such complaints that will be included in the annual report published by the OCC
director.

e All OCC staff involved in reviewing complaints raising allegations of antisemitism will participate in
expert training focused on recognizing and combating antisemitism and the IHRA definition of
antisemitism.®20

e Beginning in the 2025-26 academic year, Harvard will push out broadly to the University community
training that is focused on recognizing and combating antisemitism. This will be mandatory for
students, staff, and members of disciplinary boards.

620 "To be clear, the Task Force did not deliberate on, or endorse, any particular definition of antisemitism. As we mentioned in
the Executive Summary, we defined antisemitism through the actual experiences of faculty, staff, and students, not with
specific reference to any of the lengthy definitions of antisemitism.

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e The University’s Office for Equity, Diversity, Inclusion, and Belonging (OEDIB) devoted its annual
Inclusion and Belonging Leadership Summit in academic year 2024-25 to the theme of “Committed
to “ Hate and Bias,” with programming addressing antisemitism, anti-Israeli bias, and other forms of
bias. Separately, OEDIB also held a moderated panel discussion on Title VI of the Civil Rights Act of
1964 that featured the general counsel from Hillel International and reviewed what is covered under
Title VI and the role of universities in addressing incidents of harassment and discrimination.

e OEDIB led development of a series of seven sessions offered across the Harvard campus called
“Honoring Our Shared Humanity: Combatting Islamophobia and Antisemitism.” Developed through
a partnership with Project Shema, the sessions focused on providing practical strategies to combat
Islamophobia, antisemitism, and anti-Arab, and anti-Palestinian, and anti-Israeli biases on campus.

e The Harvard Kenneth C. Griffin Graduate School of Arts and Sciences (GSAS) held events in Fall
2024 with Project Shema, a training organization focused on addressing contemporary antisemitism,
and earlier in the same year GSAS staff attended Brandeis University’s Summer Institute on
Countering Antisemitism in Higher Education.

e The Harvard T.H. Chan School of Public Health (Harvard Chan School) co-hosted “Honoring Our
Shared Humanity: Combatting Islamophobia and Antisemitism” in October 2024 for the
Longwood campus and will be bringing Project Shema to campus for three intensive workshops on
antisemitism in the coming months, tailored to the School’s administrative leadership, department

chairs, students, staff, and faculty.

e Harvard University staff and Harvard College senior leadership and staff participated in multiple
training sessions led by Brandeis University’s Summer Institute on Antisemitism in Higher Education
to deepen their understanding of antisemitism, its historical and contemporary manifestations, and
effective strategies for responding to bias incidents.

e The College also organized Project Shema training sessions for residential staff, tutors, proctors, and
other College staff to help recognize and challenge antisemitic tropes, equipping them with tools to
foster nuanced discussions and a more supportive campus climate.

e The Harvard John A. Paulson School of Engineering and Applied Sciences held two workshops in
February 2025 on combating antisemitism and Islamophobia, respectively.

e The Faculty of Arts and Sciences (FAS) has enhanced faculty training on antisemitism, anti-Israeli
bias, and classroom climate. The Bok Center Director’s remarks at New Faculty Institutes addressed
concerns about antisemitism and anti-Israeli bias in classrooms and emphasized keeping personal
politics out of teaching. Since the University’s Non-Discrimination and Anti-Bullying (NDAB) Policy
went into effect in Fall 2023, the FAS Office for Faculty Affairs has conducted 55 trainings for faculty,
staff, and academic leadership.

e Harvard Law School (HLS) has begun piloting staff training focused on antisemitism.

Curricular Reviews and Academic Program Development

Schools have reported initiating reviews of their curricula and launching new academic initiatives intended
to help ensure programs reflect diverse perspectives and promote inclusive excellence. These efforts include
faculty searches in relevant fields, leadership transitions, program evaluations, and development of new
academic offerings that address issues of religious and cultural understanding.

e The University has committed to hosting and sponsoring events with the goal of addressing
antisemitism and increasing respect for and understanding of Harvard’s Jewish and Israeli community
members, including:

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— hosting, sponsoring, publicizing, and funding an annual academic symposium on the topic of
antisemitism;
— providing space and financial support for the Louis D. Brandeis Center for Human Rights Under

Law to host an annual campus event; and
— facilitating and funding an event at HKS on Israeli Jewish democracy.

Harvard has committed to partnering prior to the 2025-26 academic year with an Israeli university (in
addition to those in place already) and will offer Harvard students the opportunity to earn academic
credit for participating in coursework from this university.

The Harvard Graduate School of Education (HGSE) is undertaking a comprehensive curricular
review entailing a detailed descriptive analysis of the course catalog, on a number of dimensions
including enrollment and instructional cost, and are shifting to a content analysis, mapping and
analyzing the curriculum by topics, competencies, and pedagogy types, in connection with HGSE’s

academic mission and commitment to excellence in learning and teaching.

Harvard Divinity School (HDS) has appointed new leadership for the Religion and Public Life (RPL)
program effective July 1, 2025, with the Academic Dean serving as interim director to help with the
transition. Additionally, the School appointed a committee of four distinguished scholars from outside
Harvard to review the RPL program. The committee will provide an independent evaluation of the
program, focusing on academic quality, effectiveness, and alignment with institutional goals.

HDS is taking steps towards the development of a Jewish Leadership Initiative, akin to the School's
longstanding Buddhist Ministry Initiative, to prepare students for service in their congregations,
broader communities, and beyond.

HDS launched faculty searches in Fall 2024 for two positions that correlate strongly with the issues
identified in this report: a Professor in Residence in Modern Jewish Studies and tenure-track Professor
in Religion, Violence, and Peace.

Through its Middle East Initiative and other frameworks, Harvard Kennedy School (HKS) currently
provides a range of opportunities for students to learn about the Middle East and the Israeli-
Palestinian conflict. HKS plans to expand course offerings that engage topics related to the Middle
East, religion and politics, and issues of discrimination, including antisemitism and anti-Muslim bias,
by searching for qualified adjunct faculty who can create classroom learning environments conducive to
constructive conversation about difficult and contentious topics.

GSAS’s Equity, Diversity, Inclusion, and Belonging (EDIB) team is working closely with Harvard
Hillel to develop a series of events with an academic focus addressing antisemitism.

Fostering Inclusive Community and Dialogue

In their communications with the Task Force, many Schools described efforts to build a more inclusive campus
community, foster dialogue across differences, and cultivate skills for engaging with challenging or contentious
issues. Based on these reports, Schools are developing frameworks for respectful discourse, creating spaces for
meaningful exchange, and establishing community principles that value pluralism and inclusion.

In February 2025, President Garber announced the award of four grants from the President’s
Building Bridges Fund for student-led initiatives focused on building community across faiths,
cultures, and backgrounds.

In October 2024, the Open Inquiry and Constructive Dialogue Working Group released its
recommendations, which were accepted by President Garber, on strategies and best practices to

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advance open and constructive learning environments including a required teaching module on
constructive disagreement.

In May 2024, following the recommendation of a faculty-led working group, the University adopted a
policy on the “Institutional Voice,” whereby University leaders will not issue official statements on
behalf of the institution on matters of social or political significance that do not directly affect the
University’s core functions. (The Task Force is hopeful this will end the unproductive lobbying of
administrators to issue statements that usually ended up satisfying nobody.)

HGSE has dedicated resources to a broad effort to foster an inclusive community, led by a workgroup
of faculty and administrators. This workgroup has drafted a strategic plan aiming to foster a dynamic
campus community that values and promotes authentic dialogue and understanding across differences.
The goal is to both leverage and enhance existing expertise across HGSE to ensure community
members have the tools and disposition to further embed pluralism into their learning, teaching,
research, advising, and field-based work.

The Harvard Chan School initiated Harvard Chan LEADs (Learn & Engage Across Differences) to
strengthen commitment to inclusivity and build capacity for meaningful discourse, including a module at
student orientation and ongoing workshops and events.

The Harvard Chan School is launching a Working Group on Constructive Engagement, with
representatives from students, staff, trainees, and faculty. The working group is charged with developing
practical recommendations for sustaining healthy pluralism at the School by nurturing an inclusive culture,
encouraging open inquiry, and building capacity within all segments of the community to engage
respectfully across differences.

The Harvard Chan School has also created Principles of Citizenship, emphasizing respect and inclusivity,
through a School-wide task force with representatives from student, alumni, staff, and academic
appointees. It also launched a new Harvard Chan Citizenship Award to recognize students, staff
members, and academic appointees who best exemplify the principles.

HMS has implemented multiple initiatives to advance a culture of respectful discourse. The Dean of
the Faculty of Medicine emphasized at White Coat Day that physicians must “leave their politics at
the door” in patient care settings. HMS now requires all entering medical students to reflect on the
School’s Statement of Mutual Respect, supports dialogue series with relevant speakers, and has
adjusted professionalism training to focus on tolerance, pluralism, and civil discourse. All master’s
students attended orientation sessions on civil discourse, while all PhD students developed community
agreements for facilitated discussions in a required course.

HKS has been immersed for several years in a robust “Candid and Constructive Conversations” project
following extensive listening sessions, including signature events modeling constructive disagreement, a
new online module, workshops during orientations, and facilitated discussions with diverse audiences.

HKS held a day-long session for faculty to strengthen their capacities for constructive dialogue,

including simulated classroom situations where students objected to taking on perspectives they felt
were harmful.

HDS developed programming to encourage dialogue across difference, including a “Community
Read” of three books presenting different perspectives on the Israeli-Palestinian conflict.

The FAS Civil Discourse initiative, launched in December 2023 by the Dean of the Faculty of Arts
and Sciences and led by a tenured faculty member from the Government Department represents a
long-term, high-profile commitment to fostering an environment of curiosity, ambition, mutual
understanding, and achievement for the entire FAS community.

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e HLS made restorative practices — facilitated dialogues aimed at repairing harm and rebuilding
relationships — available to student group leaders focused on Israel and Gaza and launched a
Community Connections Grant Program to encourage small-group discussions, build facilitation
skills, and model constructive disagreement.

e Inspring 2024, the Edmond and Lily Safra Center for Ethics began engaging in a Center-wide effort
to expand its longstanding work on civil discourse, including a new Fellowship in Values Engagement.
The Fellowship works with resident tutors to foster intellectual vitality by promoting ethical reflection
and a culture of civil disagreement in undergraduate community life.

e InJanuary 2024, Harvard College and PEN America hosted the Intellectual Vitality and Free
Expression Student Summit aimed at fostering open, productive communication.

Strengthening Support for Jewish Students and Communities

According to information submitted to the Task Force, several Schools have taken steps to directly support
Jewish students and communities through sustained engagement with Jewish organizations, dedicated
programming, and regular communication between leadership and community members. These efforts
appear aimed at ensuring Jewish students feel welcome, supported, and integrated into the broader campus
community while having their specific concerns addressed.

e The University has developed and distributed a resource guide for all students, faculty, and staff to help
them recognize and report online harassment. Harvard University Police Department (HUPD), working

with Harvard’s information security team, has processes in place to receive and act on these reports.

e Harvard has established 24/7 reporting mechanisms to allow community members to report
antisemitic incidents anonymously. To directly address any allegations of antisemitism, Harvard has
provided specialized resources and training on antisemitism and its manifestation on campus to those
who adjudicate complaints under the Non-Discrimination Policy at all Schools.

e The University organized community support sessions led by the counseling team and Harvard’s
chaplains, which comprise more than 30 faith leaders representing Judaism and several other religions.

e Harvard has deployed additional law enforcement resources to protect Jewish students and ensure the
safety of the entire community. Additionally, Harvard has increased coordination between HUPD and
local and federal law enforcement to assess and respond to any potential or actual threats to the
Harvard community.

e When circumstances warrant, Harvard has restricted access to Harvard Yard (the center of its
Cambridge campus) and HMS has restricted access to the Longwood Campus Quadrangle to limit

outside disruptions, better manage campus spaces, and ensure student safety.

e The University clarified that its inclusion and belonging efforts must reach all members of its
community and has ensured that its “Inclusion and Belonging Student Leadership Council” includes
Jewish student representation.

e Harvard leaders attend dinners at Harvard Hillel, Chabad, and other Jewish organizations across our
community (both on campus and with alumni and other off-campus groups) to hear concerns and
suggestions on improving the campus climate.

e Clinicians and staff from Harvard’s Counseling and Mental Health Services (CAMHS) received
cultural competency lectures from the then-Campus Rabbi at Harvard Hillel, who was a Harvard
Chaplain, to provide a deeper understanding of antisemitism and enable better care for students.

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e The University launched a webpage to provide information and guidance for planning events and
programs with inclusion in mind, which include a multifaith calendar, a glossary of religious
observances, and suggestions for inclusive catering.

e Harvard has committed to dedicating additional academic resources and opportunities to the study of
antisemitism and to Hebrew and Judaic studies as a part of the Center for Jewish Studies at Harvard
University and the Julis-Rabinowitz Program on Jewish and Israeli Law at Harvard Law School.

e Harvard has committed to issuing an Annual Report for the next 5 years from each Harvard School
concerning Harvard’s response to discrimination or harassment based on Title VI-protected traits.

e Harvard College held regular weekly meetings with Harvard Hillel to plan events, coordinate vigils,
and address emergent concerns related to antisemitism on campus, ensuring Jewish students’
perspectives, experiences, and needs were integrated into the College’s broader inclusion efforts and
students’ concerns and issues were addressed.

e ‘The Harvard Chan School has held and remains committed to holding regular meetings between the
Dean of the Faculty, the School’s senior leadership team, and members of the Jewish community.
The Dean’s Office has offered guidance to a new community-wide Jewish and Israeli support group
for students, staff, and faculty across the Longwood area, which holds weekly lunches at the Harvard
Chan School.

e HMS has reconfigured its Admitted Students Preview Days to focus on the academic, scientific, and
clinical learning environment at HMS.

e Senior leaders at HDS have held meetings to establish clear lines of communication with Jewish
students, Muslim students, and representatives from Harvard Hillel.

e Harvard School of Dental Medicine (HSDM) administrators and faculty allies have served as bridges
between Jewish students and the administration, helping students understand policies that create a safe
campus climate. Jewish faculty leaders at HSDM offer mentorship through both individual meetings
and group gatherings. HSDM administrators also work closely with a Hillel staff member who is
specifically dedicated to serving graduate and professional students, collaborating to promote activities
and access to additional support resources.

e HKS hosts and funds several Shabbat dinners on campus, open to all members of the HKS
community, and awards competitive student fellowships for a wide range of students, including those
from Israel (previously Wexner Fellows, now Wolk fellows) and “emerging leaders from Israel and

Palestine” (Ofer Fellows).

e The Office of the President provided funding for weekly Jewish community lunches on both the
Cambridge and Longwood campuses. Kosher food is served at both.

e University Dining Services expanded access to Kosher food for students.

Reviewing and Strengthening Policies and Processes

Schools have reported implementing structural and policy changes that they believe will ensure programs
are consistent with core academic values, that guidelines for events and conduct are clear and enforced,
and that appropriate leadership and oversight mechanisms are in place. These administrative changes
appear intended to institutionalize commitments to inclusivity and establish clearer expectations for
community behavior.

e In March 2025, the University posted FAQs, clarifying that both Jewish and Israeli identity are
covered by the Non-Discrimination and Anti-Bullying policy (NDAB), and that the THRA definition

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and examples will be used in applying NDAB. The FAQs further clarify that conduct targeting
Zionism may violate the NDAB.

In November 2024, the University issued Library Protest FAQs explaining how the University-Wide
Statement on Rights and Responsibilities (USRR) applies to protests in Harvard’s libraries.

In September 2024, the University released Guidance explaining that doxxing violates the University-
Wide Statement on Rights and Responsibilities’ (USRR) prohibition against “intense personal
harassment” and is “bullying” under the NDAB Policies.

In August 2024, the University announced Updated Campus Use policies to centralize existing
regulations and provide new guidelines to facilitate productive use of space and enforcement of

policies. Among other things, these policies expressly prohibit camping with or without a tent.

In July 2024, the University adopted new procedures to standardize fact-finding for disciplinary cases
involving students from different Harvard Schools following the encampment in Spring 2024.

In January 2024, the University issued updated Guidance on Protest and Dissent (endorsed by the
Harvard Corporation) under the USRR. The Guidance makes clear that protests and rallies are
prohibited in study and instructional areas, like classrooms and libraries, and in private areas, such as
dorms and dining halls. Moreover, protestors are barred from blocking access to campus buildings,
classrooms, and offices and preventing the free movement of people and vehicles.

Harvard committed to issuing an annual statement for at least the next five years stating that
antisemitism will not be tolerated and that the IHRA definition and examples will be used in
applying NDAB.

Harvard is in the process of instituting an Action Plan and training to ensure that all personnel
charged with reviewing and evaluating complaints of potential shared ancestry discrimination, whether
anonymous or informal, are applying similar standards consistent with the Policies and Procedures.
This Action Plan will be submitted to the Department of Education OCR, with records of trainings.

HGSE is designing a review of student groups and organizations, including affinity groups, to
ensure that all are genuinely accessible and inclusive to all students, and that they are funded and
administered equitably.

HMS is codifying and enforcing policies regarding student group-sponsored events and establishing
guidelines for faculty in the case of classroom disruptions, with policies and guidelines now written,
approved, distributed, and currently in force.

HMS is also advancing open inquiry through a new Task Force on Open Inquiry, convened and
chaired by a former Dean of the Faculty of Medicine. This task force will evaluate culture and climate
issues, assess the recommendations of this Task Force and interventions already in place, and issue
recommendations that reconcile both the Task Force reports and ongoing changes.

HDS launched a strategic planning process in Fall 2024 for the entire School to identify key areas of
academic/scholarly growth, create better structures for oversight and guidance of centers and
programs to ensure academic excellence, develop more consistent guidelines for selecting and
reviewing non-ladder faculty teaching appointments, and enhance the academic quality of the overall
learning experience.

HSDM and HMS launched a new, more robust Student Organizations, Events, and Activities
Manual, requiring open student membership, annual registration, clear guidelines on the use of
Harvard names in communications, and established procedures for addressing policy violations.

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e FAS created a Classroom Social Compact Committee that developed handbook language for students
and instructors outlining expectations for classroom behavior. This language, which will be effective in
academic year 2025-26, aims to advance academic freedom, engagement with a range of viewpoints,
and a vibrant learning environment.

e The Harvard Graduate School of Design (GSD) implemented a new Campus Posting Policy, defining
acceptable content and outlining procedures for non-compliance. The School also introduced a
Statement of Mutual Respect and Public Discourse to foster an environment of open and civil dialogue
and establish expectations for community members during events, meetings, and gatherings, including
peaceful protests.

e HKS hired a full-time “Community and Professional Conduct Specialist” who acts as the HKS “Local
Designated Resource,” conducts training and education, and works closely with the University Office
of Community Conduct.

e HKS also has established clear policies on “debate and dissent” which permit protest or dissent at
events so long as it does not interfere with the speakers’ right to speak or the audience’s right to listen.
The School has established protocols for handling potential disruptions at events and works closely
with hosts and moderators to help them implement these protocols effectively.

e HLS improved guidance and enforcement regarding the use of campus spaces for protest and dissent,
incorporating community input and feedback.

Conclusion

The initiatives described above represent what Schools and key offices in the Central Administration
report as important steps in addressing the complex challenges of antisemitism and anti-Israeli bias at
Harvard. While these self-reported efforts suggest institutional responsiveness to emerging concerns, the
Task Force co-chairs recognize that more coordinated, comprehensive, and sustained efforts are necessary
to create lasting change. We believe that many of them may have strong and positive impacts on the
Harvard community that goes beyond concerns about antisemitism and anti-Israel bias, but many of these
initiatives are still nascent, and their impact remains to be seen.

The recommendations presented in Chapter 5 of this report build upon these promising foundations,
offering a comprehensive framework for addressing antisemitism and anti-Israeli bias across the
University. By acknowledging both reported progress and areas requiring further attention, we aim to
catalyze a more robust institutional commitment to creating a truly inclusive and welcoming environment
where all members of the Harvard community can thrive.

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Appendix 2: Preliminary Recommendations June 2024)

June 24, 2024

Harvard University
Presidential Task Force on Combating Antisemitism
Preliminary Recommendations

I. Introduction

On January 19, 2024, Interim President Alan Garber established a Task Force on Combating
Antisemitism. On February 25, he announced the Task Force’s membership, which consists of two co-
chairs (Professors Jared Ellias and Derek Penslar), seven additional ladder faculty, and two student
representatives. Three officials from the University’s Central Administration and a former executive
director of Harvard Hillel serve as advisors.

The Task Force’s charge is as follows:

It will examine the recent history of antisemitism and its current manifestations on the Harvard
campus. It will identify causes of and contributing factors to anti-Jewish behaviors on campus;
evaluate evidence regarding the characteristics and frequency of these behaviors; and recommend
approaches to combat antisemitism and its impact on campus.®2!

In March, the Task Force began its work with a series of preliminary meetings among its members and
between its co-chairs and the co-chairs of the Task Force on Combating Anti-Muslim and Anti-Arab
Bias. There followed two months of listening sessions that brought Task Force members into contact with
students, faculty, and staff from throughout the University and its chaplaincy organizations — the College,
GSAS, the professional Schools, Hillel and Chabad. In total, there have been more than forty listening
sessions attended by over 500 Harvard affiliates.

As members of the Task Force recently wrote in the Crimson, the listening sessions provided abundant
reports that since last October, and to some extent long before then, many Jewish students (and especially
Israeli students) have been subject to shunning, harassment, and intimidation.®2 These findings reinforce
the necessity of preliminary recommendations for policy changes that should be implemented at the
earliest feasible date.

Our preliminary recommendations focus on short-term actionable items rather than long-term structural
changes. The Task Force will devote the summer to intensive study of Jewish life at Harvard (historical
and current) and existing policies regarding protest, complaints, and discipline. Working jointly with the

Task Force on Combating Anti-Muslim and Anti-Arab Bias, our Task Force will consider the most
effective means for bridging difference and fostering pluralism within our campus community.

The findings of our Task Force’s summer research will be incorporated into a substantive report that will
be submitted in the Fall. Our final report will offer a detailed analysis of how Harvard got into its current
crisis of community and lay out proposals to transform our University culture for the better over the
medium- and long-term.

641 ‘https://www. harvard.edu/president/news/2024/announcement-of-presidential-task-forces/ (accessed May 19, 2024)
62 hetps://www.thecrimson.com/article/2024/5/23/penslar-ellias-antisemitism-task-force/ (accessed May 24, 2024)

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II. Recommendations

CLARIFY HARVARD’S VALUES

A) When these recommendations are released to the public, they should be prefaced by a statement
that antisemitism and anti-Israeli bias -- like Islamophobia, anti-Arab bias, racism, misogyny,
homophobia, or transphobia -- are forms of hatred that have no place within the Harvard community.

The statement should clarify further that:
— differences of religious observance and political affiliation are a matter of personal right.

— conversations about those differences should be grounded in mutual respect and appreciation of
common belonging to the Harvard community.

— disagreement about contentious issues — including Israel/Palestine — do not justify aggression or
malice, nor should it lead to exclusion from a Harvard-recognized organization or activity.

ACT AGAINST DISCRIMINATION, BULLYING, HARASSMENT, AND HATE

B) The situation of Israeli students at Harvard has been dire. They have frequently been subject to
derision and social exclusion. Discrimination, bullying, or harassment based on an individual’s Israeli
nationality is a gross violation of University policy and, beginning immediately, must be both publicly
condemned and subject to substantive disciplinary action. The administration should explore methods
to build support systems for Israeli students and to ensure sufficient ability to prevent, or if needed,
capably and speedily address, such issues in the future.

C) We have heard disturbing reports that faculty members and teaching fellows discriminate against
or harass students because they are Israeli or have pro-Israel views. Harvard should make clear that
such behavior by instructional staff is contrary to University policy and will be subject to disciplinary
action when it occurs. As teaching fellows are often very early on in their teaching career, antisemitism
and anti-Israeli bias need to be included in training for these essential employees in the College.

D) Social media has become an increasingly pernicious source of antisemitic text and images. The

University should:

— encourage its constituent units to incorporate into their codes of conduct and values warnings
about the damage to our community caused by intemperate speech and offensive imagery in social
media postings.

— make clear that harassment, abuse and intimidation in Harvard-related social media postings could
have disciplinary consequences.

E) In our listening sessions and many private meetings with students, we heard from many students who
believe that extracurricular student life is now characterized by political litmus tests that make it
impossible for some students to participate in activities because of political views unrelated to the
activity. Students expressed deep regret that these barriers (along with others) prevented them from
connecting with students whose political views on some topics might differ from their own but who
share other interests and views.

We strongly believe that the University needs to ensure that extracurricular student life remains vibrant
and accessible to all students and supportive of an overall culture of belonging, consistent with
Harvard’s values and principles of non-discrimination, across a diverse campus and student body.

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IMPROVE DISCIPLINARY PROCESSES

F) At present students suffer from a lack of transparency, clarity, and clear process for the submission of
complaints of antisemitic or otherwise hostile behavior. OEDIB staff as well as Academic Advisors
and residential staff must be knowledgeable as to their own proper roles when approached by students
complaining of antisemitic or otherwise hostile behavior. University employees who receive complaints
should be trained to do so without prejudice, to guide students in the process of reporting, and to
follow up, or ensure that there is follow-up, not only in an initial reply or form-message but until the
matter is resolved. Those who have reported incidents need to be apprised as to where the matter
stands (explaining, when necessary, that some details may not be communicated because of
confidentiality concerns).

G) At present, the policies of administrative boards and other disciplinary bodies vary widely across the
University’s separate units, and there are significant disparities across units in the handling of
disciplinary cases. There needs to be communication and a striving for consistency in disciplinary cases
across the University’s constituent units.

H) The lack of follow-up after complaints regarding antisemitic expression or behavior causes many
members of the Harvard community to doubt that the University is committed to imposing
substantive consequences for antisemitic expression or action. To restore the community’s trust in
Harvard’s disciplinary processes, the University should — to the extent legally possible — reveal
information about disciplinary cases (e.g., the number and outcomes of cases) in an aggregated and
anonymized form.

IMPLEMENT EDUCATION AND TRAINING
I) Atits most recent summit in April, the Office of Equity, Diversity, Inclusion, and Belonging

demonstrated its commitment to include antisemitism awareness and training in its purview. In that
spirit, the administration should institute anti-harassment training for all students, including examples
of recent antisemitic incidents on campus and a review of the process to report incidents.

J) Orientation (including all pre-orientation programs) for new students (undergraduate, graduate, and
professional), student organization leaders, peer advising fellows (PAF), residential undergraduate
supervisors (Proctors and Tutors) should center around the construction of a Harvard community that
celebrates diversity but is bound by common core values. To the extent that Orientation discusses
issues of oppression and injustice, antisemitism and anti-Israeli bias should be included. Similarly, the
First-Year International Program should include antisemitism training and condemn discrimination
based on national origin.

FOSTER CONSTROCTIVE DIALOGOE

K) The University should commit to fostering spaces for productive dialogue on difficult subjects in ways
that support and affirm the ability of all students to participate. Possible initiatives include:

— Ahigh-profile series of talks, attended by the President or Provost, between pairs of individuals
who disagree vehemently on controversial issues but do so respectfully and productively.

— Aseries of talks by Harvard faculty on historic and contemporary relations between Christianity,
Islam, and Judaism. The talks would be tailored for a broad audience and held in student

residences to maximize undergraduate student attendance.

— Recognition of student leaders who are promoting constructive dialogue on campus about the
Israeli-Palestinian conflict and other contentious issues.

— An award for student, faculty or staff innovation around combating antisemitism;

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— Provision of incentives and funding for undergraduate collaborative research, dialogue groups, and
events on resolution of the Israeli-Palestinian conflict. FAS’ Intellectual Vitality Initiative should
encourage the joint participation of Israeli, pro-Israeli, Palestinian, and pro-Palestinian students in
such opportunities.

SUPPORTIEWISH LIFE ON CAMPUS

L) The University must ensure a welcoming environment for religiously observant Jewish students,

faculty, and staff. To that end,

— Kosher hot lunches should be made available by the start of next term at Hillel or at least one of the
River Houses and, due to its distance from the Yard, the Radcliffe Quad. Hot kosher dinners,
which are currently available at Hillel, should also be available at the Quad.

— Inall dining facilities, pork products should be clearly marked.

— Instructional staff must provide reasonable accommodation for observant students who miss class
or examinations due to Jewish holidays or the Sabbath. The University should circulate guidance
including a calendar of religious observances (Appendix A), the text and a plain English
description of Massachusetts General Laws, Chapter 151C: § 2B, and a reminder that the law sets
the lower bounds of accommodation for religion that instructors can exceed but not fail to meet.

— The University should explore allowing newly hired staff to “pull forward” yet-unearned vacation
or personal leave days as necessary for religious observance, to assist observant Jewish new hires
who lack the vacation time they need to blend their religious observance with their new role at

Harvard University.

— The University should create a simple web address (e.g., www.harvard.edu/jewishcalendar) that
will provide information on Jewish holidays for members of the community. Appendix A contains
information on Jewish observance as well as dates of Jewish holidays. The list should be updated
annually to allow academic units to simply, easily and reliably determine the days on which they
should try to avoid scheduling events.

M) Students at the Longwood Campus discussed difficulty building relationships and connections across
siloed Schools and the rest of the University. We recommend allowing, at least in some cases, equal

membership rights for students in the Chan School of Public Health to clubs shared between the other
health Schools, such as the Maimonides Society, which is the joint club for Jewish students in the
Medical and Dental Schools.

Appendix included in the Preliminary Recommendations

APPENDIX A: Selected Jewish Religious Holidays and Observances (with dates for 2024-2025)
A note on Jewish holidays: Jewish holidays follow the Jewish (lunar) calendar, so appear on different days

of the Gregorian calendar in every year. Some holidays are observed as one sacred day; others two days.
Some liberal Jews only observe holidays for one day. The Jewish reckoning of a day starts at sundown and
ends at nightfall the following day. This brief guide only includes the Jewish holidays that come with
work restrictions, which would interfere with the ability of observant Jewish students, faculty, and staff to
participate in University events, take exams, or go to class.

Shabbat — The core of Jewish observance is the observance of the Jewish Sabbath, which begins Friday
evening 18 minutes before Sunset and lasts until nightfall on Saturday night. During this time, many
observant Jews will refrain from engaging in work or even actively using electricity.

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Rosh HaShanah — The start of the New Year of the Jewish Calendar. This two-day holiday is observed
as a sabbath (see above). (In 2024, Rosh HaShanah runs from the evening of October 2 until nightfall on
October 4)

Yom Kippur — The “Day of Atonement,” a day of fasting, prayer, reflection, penitence, and forgiveness.
This one-day holiday is observed as a sabbath. (In 2024, Yom Kippur runs from the evening of October 11
until nightfall on October 12)

Sukkot — The “Festival of Booths,” of dwelling in temporary outdoor pavilions built specially each year

for the holiday. The festival extends for seven days, but only the first two days of the holiday are observed
like a sabbath. (In 2024, Sukkot runs from the evening of October 16 until nightfall on October 24, with
the sabbath-like period beginning on the evening of October 16 until nightfall on October 18)

Shemini Atzeret and Simchat Torah — The “Eighth Day Convocation” concluding the biblical autumn
period of pilgrimage, followed by Simchat Torah — The “Rejoicing of the Torah,” concluding and starting

anew the yearly cycle of scriptural readings in the synagogue. This two-day holiday is observed as a sabbath.
(In 2024 Shemini Atzeret runs from the evening of October 24 through nightfall on October 26).

Passover (Pesach) — Passover, celebrating the Israelite exodus from slavery in Egypt and the start of the
homeward journey to the Promised Land. The first two and last two days are holy days and observed as a
sabbath. (In 2025 Pesach runs from the evening of April 12 until nightfall on April 20, with the first two-
day sabbath-like period beginning on the evening of April 12 until nightfall on April 14, and the second
two-day sabbath-like period beginning on the evening of April 18 until nightfall on April 20)

Shavuot — The “Feast of Weeks,” at seven weeks from the Passover festival, marking the time of the

barley harvest in the Land of Israel and associated ritual in the Jerusalem Temple. This two-day holiday is
observed as a sabbath. (In 2025 Shavuot runs from the evening of June 1 until nightfall on June 3)

In general, many religiously observant Jewish students will refrain from using electricity, taking exams, and
attending professional events on all Saturdays, the two days of Rosh Hashanah, the first two days of
Sukkot, Shemini Atzeret, Simchat Torah, and the first two days and last two days of Pesach. These
holidays usually fall within the academic year. Observant Jews will also refrain from work on the two days
of Shavuot, which usually fall over the summer.

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Appendix 3: Report from the Joint Subcommittee on Pluralism

Report from the Joint Subcommittee on Pluralism
To the Presidential Task Forces on Combating Anti-Semitism and Anti-Israeli Bias,
and on Combating Anti-Muslim, Anti-Arab, and Anti-Palestinian Bias

December 2, 2024

Charge to the Committee: In May 2024, Danielle Allen and Ali Asani were charged by both Task Forces
with establishing a joint subcommittee to examine the resources that exist at Harvard for interfaith
engagements, interdisciplinary collaborations, religious literacy, and community building, including
through the arts, and propose new resources, structures, and/or practices.

At the first meeting, the subcommittee agreed to organize its work by means of a framework of pluralism
with the goal of advancing a campus culture of pluralism and the practices necessary to support it. That
modification to the charge was reviewed and approved by the Task Force chairs.

Definition of Pluralism: The committee established the following framework for pluralism to guide its work:
We understand a culture of pluralism to entail a recognition that we are a campus:

e where people are diverse in their identities and divergent in their ideologies, and the concept of
identity ranges broadly across race, ethnicity, gender, sexuality, faith, viewpoint, geographic
background, and the wide variety of experiential characteristics; also there is diversity within groups,
cultures, and religious traditions as well as between and across them;

e where even within a given identity there is much diversity;
e where we respect, relate and cooperate with each other;

e where the specific project of our cooperation is to advance an educational and research mission where
all can learn and grow;

e where therefore we all bear responsibility for the quality of the relationships that support that
cooperative project of learning and growth;

e and where that work requires that we connect our personal values and commitments to the shared civic
values of our campus as expressed in the University Values Statement, thereby linking our personal
identity and our Harvard civic identity.

Our committee also acknowledges that the definition sketched above includes our aspirations. For
instance, we cannot always relate. Sometimes relating is hard when the differences are so real and run as
deeply as they do. Yet we should aspire to relate and, even when relating is difficult, we should value one
another as partners in learning.

Application of the Theme of Pluralism to the Themes of the Two Task Forces

The Presidential Task Forces on Combating Anti-Muslim, Anti-Arab, and Anti-Palestinian Bias and on
Combating Antisemitism and Anti-Israeli Bias have both found a campus context in which students from
a range of religious, cultural, ethnic, geographic, and ideological backgrounds have experienced harms to
their experience of belonging on campus, limits on their abilities to express their views, and forms of bias.

Many of these experiences pre-dated the events of October 7, 2023. They were, however, after that date,
significantly exacerbated by the efforts of members of our campus community to make sense of the Hamas
attack on Israel, the ensuing conflict between Israel and Hamas (and now further parties), and the

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resulting humanitarian crisis for Palestinians, and to find ways of communicating views about these
matters and to advance related civic causes. How members of our community harmed one another brought
to the surface weaknesses in how our existing paradigms for inclusion and belonging work for all members
of our campus. While the original Inclusion and Belonging framework developed for the campus in 2018
prioritized “pluralism,” as defined above, that pluralism framework for advancing inclusive excellence has
often disappeared from view. While some members of our campus community have felt well supported by
diversity, equity and inclusion offices on campus, many others had come to feel that these offices were not
effectively supporting their needs, by virtue of largely prioritizing work around race, disability, and sexual
and gender identity, and not engaging the many other aspects of identity listed above. Race, disability, and
sexual and gender identity are all important aspects of human identity, but they do not suffice to capture
the range of experiences people bring to campus. Supporting members of our campus community to thrive
in a context where our differences can be very profound requires the broader and more multi-faceted
framework of pluralism. A pluralism framework helps us view one another more holistically; encourages us
to focus on how we can activate the assets that we all bring to campus from our different backgrounds; and
asks us to develop a sense of some shared values, even as we also carry forward a variety of differing and
even opposing commitments. A pluralism framework spurs intentionality in how we inhabit our several
roles as students, educators, staff members, members of specific social communities, and citizens and civic
participants, so that we can enjoy the rights and fulfill the responsibilities of all these roles. Ultimately, a
pluralism framework should support efforts of all members of our campus community to connect their
multi-faceted senses of personal identity to their identity as a member of the Harvard community, a role

given definition by the values of the University.
University Values and Pluralism:

The Subcommittee also adopted the University Values Statement as a basic guide to its work, and
especially the fifth value, focused on bonds and bridges. The Values Statement is as follows:

Harvard University aspires to provide education and scholarship of the highest quality — to advance the
frontiers of knowledge; to equip students, staff, and faculty and academic personnel for fulfilling
experiences of life, work, and inclusive leadership in a complex world; and to provide all members of our
diverse community with opportunities for growth. We pursue these goals for our own good and for the
public good through the many ways that advancing and sharing knowledge can improve human
flourishing and through the service and leadership of our community members on campus and beyond.
Achieving these aims depends on the efforts of thousands of students, staff, and faculty and academic
personnel across the University. Some make their contributions by engaging directly in teaching,
learning, and research; others contribute by supporting and enabling those core activities in essential
ways, while also pursuing professional growth.

Whatever each person’s individual role or location within Harvard, we owe it to one another to uphold
certain basic values of the community. These include:

e Respect for the rights, differences, and dignity of others.

e Honesty and integrity in all dealings.

e Conscientious pursuit of excellence in our work.

e Accountability for actions and conduct in the community.

e Responsibility for the bonds and bridges that enable all to grow with and learn from one another.
Motivation for the Committee’s Work:

During the spring of 2024, both committees conducted extensive listening sessions on Task Force themes

throughout the Harvard campus. In addition, a survey was fielded exploring challenges around bias and

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inclusion. Also, another University Task Force on Open Inquiry and Constructive Dialogue explored related
questions. The listening sessions, and the work of the Task Force on Open Inquiry and Constructive
Dialogue, brought out clearly that all constituencies on campus found it difficult to discuss controversial issues,
whether in the classroom or outside of it. In addition, many students found themselves experiencing social
ostracism that undermined their learning experience, on account of their political views or views attributed to
them. Students with religious commitments found it difficult to find places simply to practice their faith
without their faith being politicized. ‘The quantitative data revealed that questions of race and religion were
both important to understanding people’s experiences in addition to other demographic attributes.

Finally, in the listening sessions, when participants were asked to reflect on University values, key
themes emerged: (1) that the values were reasonable but that the participants did not experience the
University as living up to them; (2) that participants understood concretely what was entailed by the first
four values, but not by the value of taking “responsibility for the bonds and bridges that enable all to

grow with and learn from one another.”

In sum, the listening sessions and quantitative data painted a clear picture of a campus that has no
ethnic, religious, or racial “mainstream.” In contrast to the University’s early history as a school for and
of Puritans, and in contrast to the 1970s, when the question was whether Harvard’s white majority
would be open to Black students or whether Christian students would include Jewish students in
University organizations, now the question is how a community composed of a far wider range of people
from a far wider range of backgrounds than nearly all have previously encountered, can activate the
assets that all bring to our community for individual and shared thriving. Harvard University has actively
chosen to organize itself around the value of pluralism, and now we need the culture and practices that
can support that, but we do not yet have them.

Paradoxically, Harvard researchers have a long history of working on the value of pluralism, and the
challenge of activating it for the well-being of a specific community, or society more generally. As Eboo
Patel®5 points out, and as is documented in Louis Menand’s The Metaphysical Club, pluralism, as an
intellectual tradition can be traced back to the work of Harvard Professor William James. James argued
“against Hegel’s theory that the universe was one thing, countered that the universe was many things.
Hegel’s theory was known as monism.* James called his view ‘pluralism.’ ... He proposed an intriguing
metaphor: ‘The pluralistic world is thus more like a federal republic than like an empire or a kingdom.”
Since the time of James, Harvard scholars from numerous disciplines have advanced our understanding of
the nature and potential of pluralism, and pluralistic societies — from the work of John Rawls in
philosophy to Michéle Lamont in sociology, Mina Cikara in psychology, Melani Cammett in government,
and Diana Eck and Ali Asani in the study of religion, among many others. Yet as a campus we have done
an imperfect job of drawing on this rich work to help ourselves advance in a direction that supports
practices of pluralism, and the intellectual vitality, they can sustain.

There have been efforts. The Harvard Foundation was established by President Derek Bok and the Deans
of Harvard University in 1981, as the Harvard Foundation for Intercultural and Race Relations with the
mandate to “improve relations among racial and ethnic groups within the University and to enhance the
quality of our common life.” In pursuit of this mission, the Foundation has sought to involve students of
all racial, ethnic, and cultural backgrounds in the ongoing enterprises of the University. The Foundation
sponsors annual programs and activities that are designed to promote interracial and intercultural
awareness and understanding in the Harvard community, as well as to highlight the cultural contributions

63 https://www.insidehighered.com/opinion/views/2024/10/10/pluralism-better-frame-free-speech-opinion

64 https://books.google.com/books/about/The_Metaphysical_Club.html?id=-

hpH YbwdCCkC#e~:text=The%20 Metaphysical#620Cinb%20is%20the20 winner 2008 20the%202002%20 Pulitzer
5 https://www.britannica.com/topic/pluralism-philosophy#ref236719

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of students from all backgrounds. The Harvard Foundation for Intercultural and Race Relations runs
through the hard work and dedication of many stakeholders such as full-time staff, undergraduate interns,
an undergraduate student advisory board, member student organizations, race relations tutors, a faculty
advisory committee, student volunteers, and various campus partners.

Over time, the Harvard Foundation came to focus its efforts on students in the College, rather than
supporting the whole University, and to focus primarily on race relations, gender, and sexuality, a subset of
a pluralism agenda. For the students whom the Foundation currently serves, it does valuable work.

In 2018, the University-wide Task Force on Inclusion and Belonging sought to establish pluralism as the
basis for campus practices and to ensure that attention to diversity that emerges from religion, viewpoint,
geographic origin, disability, and life experience (for instance, military service) would also receive due
attention in work on campus culture. That Task Force report stressed the need for adequate support
(including prayer spaces) for students of faith as well as the need to support a culture of academic freedom
and civil discourse, as necessary parts of the work of inclusion and belonging, so that all voices may richly
contribute to our campus teaching and learning.

The spring 2024 listening sessions and subsequent surveys made clear the urgent need to elevate that
nascent focus on pluralism, civil discourse, and support for practices that help everyone on campus activate
the assets they bring to campus from their remarkably wide array of backgrounds, for the sake of
intellectual vitality and personal and community flourishing. To achieve that elevation, the campus needs
an organizational focal point for pluralism work.

A few key principles should inform the design of that focal point.

First, the broad conception of pluralism laid out above should be at the center of the work, as well as the
University’s values statement, especially the fifth value.

Second, this focal point should serve faculty, staff, and students, across the whole University. No
community should be left out of this work.

Third, this focal point should have faculty leadership, because a significant portion of the necessary work is
intellectual and should be fully integrated with the academic mission of the University. The campus would
benefit from routine engagement with the intellectual themes involved in the work of inclusion, belonging,
and pluralism in ways that connect to the academic mission of the University and its standards of academic
excellence. There is need to teach and support instruction in practices of pluralism; this work should be
connected to the campus’ teaching mission. There is important translational work to do to draw on the
University’s research enterprise to inform the University’s organizational practices. As a “translational” entity,
this focal point should facilitate the adaptation of rich scholarly material into tools and resources for use in
applied and practical contexts. The importance of faculty leadership in this domain is a point that has now
been made in many generations of reports. We hope this recommendation will not be overlooked again.

Fourth, the campus focal point for cultivating practices of pluralism should have a staffing structure that
enables integration of academic resources, student affairs resources, and translational work. This principal
points in the direction of establishment of this campus focal point inside a School, with a mission to serve
the whole University, rather than as an inter-faculty initiative.

Fifth, the campus focal point for cultivating practices of pluralism should be well-connected to and
working in partnership with the Office of Equity, Diversity, Inclusion, and Belonging, other Diversity,
Inclusion, and Belonging offices on campus, and the Harvard Foundation so that the campus’ inclusive
excellence framework can evolve in partnership with, and not in competition with, efforts to deepen
campus cultures of pluralism. Such connection and partnership should ensure that good work currently
being done for specific campus communities continues even as additional work and a broadened mandate

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are embraced. Such a partnership would also support developing an approach to issues of inclusion,

belonging, and pluralism that can align approaches across staff, student, and faculty cohorts.

Sixth, the campus focal point for cultivating practices of pluralism should be well-connected to and
working in partnership with a new Office of Religious, Spiritual, and Ethical Life, to advance interfaith
opportunities and experiences, and to integrate engagement with religious identity fully within the work
on pluralism. This should be an explicit and clearly communicated part of the mission of the entity.

Our subcommittee believes that such a focal point could be achieved by reimagining the existing Harvard
Foundation as the Harvard Foundation for Pluralism, or by establishing a new University-wide Center for
Pluralism, in which the Harvard Foundation is incorporated as a program. (A model for this kind of
incorporation exists in the incorporation of the DuBois Institute within the Hutchins Center.) We
recommend reimagining the Harvard Foundation or incorporating it in a new Center for Pluralism
because of the importance of bringing different communities on our campus into a shared framework for
pursuing inclusive excellence. The Harvard Foundation has already been through several evolutions in its
operations; evolution is possible. On either path (a reimagined Foundation or a new Center incorporating
the Foundation as a program), special focus must be paid to ensure that the expansion does not detract

from the services currently offered to undergraduate students and community members who are

engaged with the existing institution. At the same time, the importance of ensuring that the
communities currently served by the Foundation are also connected to campus pluralism work brings us
back again and again to the idea that a connection here is necessary.

The Committee’s Work

Listening Sessions and Discussions

Learning Materials Key Takeaways

School staff | Readings and visit from Orientation leaders were receptive to using a pluralism
responsible | Eboo Patel of Interfaith framework; identified opportunities for bringing it to life in their
for America about a pluralism | programs; and communicated a need for further learning and
orientation | framework; University professional development, particularly around how a pluralism
Values Statement framework connects to diversity, equity and inclusion work.
Office of | Documents tracings the The President’s Office is currently working on a redesign of
the history of the structure of | structures to support religious life and recognizes the importance
President _| religious life on campus of interfaith resources; committee discussion included some
dissent focused on the value of secularism.
Center Discussion of draft Dialogue themes were developed for a potential presidentially-
Leaders proposal for dialogue series | sponsored dialogue series, to model civil disagreement on
challenging topics.
Arts Reflection on University | Arts Leaders collated all upcoming arts events relevant to Israel
Leaders values statement and Palestine; and are open to exploring expanded collaborations.
NELC Reflection on challenges =| NELC has added a diversity and civility statement to courses in
Language | that emerge in contexts of | the department; program leaders would appreciate support in
Leaders Arabic and Hebrew identifying helpful professional development resources for
instruction language instructional staff; program leaders also see a need for

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tools to improve their ability to recruit and retain professionalized
language instructional staff.

OEDIB Discussion of the history | The Harvard Foundation currently serves students and

and of the Harvard Foundation | communities in important ways that should be protected, as part
Harvard and pros and cons of of any reimagining or incorporation within a Center for
Foundation | different models for Pluralism; also best practices can be drawn from current work;
Leadership | potentially reimagining the | reimagining might also bring opportunity to tackle strategic
Foundation, or for questions that have arisen.
potentially incorporating

within a new center

Central Reflection on University Identified a need for student life leaders, EDIB personnel, and
student life | values statement Local Designated Resources to have professional development
leaders opportunities around the University values.

Overarching Recommendation:

To establish a campus focal point for pluralism work, we recommend reimagining the Harvard Foundation as
the Harvard Foundation for Pluralism, or establishing a new University-wide Center for Pluralism, in which
the Harvard Foundation is incorporated as a program. (A model for this kind of incorporation exists in the
incorporation of the DuBois Institute within the Hutchins Center.) A proliferation of entities in overlapping
thematic areas is not ideal for both budgetary reasons and the potential to generate competition where there
should be collaboration. For the sake of simplicity, we'll refer to whatever entity emerges based on this
recommendation as the Reimagined Harvard Foundation/Center for Pluralism. ‘The Reimagined Harvard
Foundation/ Center for Pluralism would ground its work in the University values statement.

As design of a Reimagined Harvard Foundation/Center for Pluralism is considered, the three design
principles named above are critical for the success of this endeavor: faculty leadership; partnership with
OEDIB and other DIB offices on campus; and a robust staffing structure to support cross-functional work.

The goal of this recommendation is to anchor the practices of the University around a commitment to
pluralism, and to engage all members of our campus community in exploring, bringing to life, and embracing
our University values across a variety of contexts — from orientation and onboarding to interdisciplinary
exchanges and language learning, to interfaith experiences, student life, and the arts on campus. Many other
entities also work in these areas and the specific value-add of a Reimagined Harvard Foundation/Center for
Pluralism would be to connect the academic enterprise of the University, and campus expertise on issues of
inclusion, belonging, and pluralism, to the administrative enterprise that fulfills these functions.

A Reimagined Harvard Foundation/Center for Pluralism would need to serve the whole campus community.
If the decision is to reimagine the Harvard Foundation, this reimagining might be modeled on recent
reorganizations for Phillips Brooks House and the Office for the Arts, where they have been elevated in their
reporting structures, restructured with regard to their engagement with faculty leadership, and expanded in
their functions, as well as receiving University-level resources for their work. Special focus would need to be
paid to ensure that the expansion does not detract from the services currently offered to community members
who are engaged with the existing institution. Other campus models also exist to provide precedent for
innovation in organizational structure, for instance the Harvard Center for International Development, which
is housed in one School but serves the whole University and leads coordination across a set of allied and
adjacent organizations. We would recommend taking as a model a School-based entity that serves the whole
University campus, rather than an inter-faculty initiative. In general, School-based entities are more quickly

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woven into the capillary structure of the University than IFIs; also IFIs generally support faculty research but
do not as easily articulate with the teaching and co-curricular mission of the campus.

Finally, a Reimagined Harvard Foundation/Center for Pluralism should develop and implement programs
that reinforce pluralism. For example, the Center/Foundation could support a fellowship program for
students; a campus awards program for students who lead in advancing a culture of pluralism on campus;
engaging faculty with expertise in pluralism and connected subject areas to develop trainings and
professional development opportunities for the campus; mediation resources for conflicts that involve
issues of pluralism; and the work of OEDIB and the School-specific DIB offices to cultivate a campus-
wide network of expertise on pluralism that all Schools could tap into in a shared way, so that support is
available for students from the full range of backgrounds, via expertise sharing across campus.

A Reimagined Harvard Foundation/Center for Pluralism offers a valuable opportunity to rethink the
qualitative character of academic bureaucracy, a realm too often characterized by alienation and distance
between faculty and staff. One of the most profound flaws of the traditional DEI framework — and
indeed of much of contemporary university organization — is that it sustains this divide, reinforcing the
sense that staff are functionaries rather than integral partners in the academic mission (See Appendix B for
further thoughts emerging from subcommittee listening sessions on how the character of academic
bureaucracy might be rethought.)

As a partner to OEDIB, a Reimagined Harvard Foundation/Center for Pluralism could spearhead the
Harvard Culture Collaborative, under development by OEDIB, an interdisciplinary, faculty-led network
designed to develop new research, learning initiatives, and pathways to advance the University’s shared
values, particularly focusing on inclusion and belonging. By leveraging faculty expertise, the collaborative
will aim to cultivate an inclusive campus culture and develop related curricular and co-curricular programs
that align with Harvard’s broader strategic diversity agenda. Such a collaborative could:

1. Contribute to the development of orientation programming to integrate pluralism and inclusion.

2. Complement an office of religious life in supporting programming that respects and enhances
diversity that relates to the wide range of faith backgrounds on campus.

3. Convene leaders of interdisciplinary centers to create dialogue series on substantively significant
and challenging issues.

4. Collaborate with arts leaders on projects that resonate with the mission of pluralism and inclusion.

Achieving the Goal of a Reimagined Harvard Foundation/Center for Pluralism would require action steps
as follows:

GOAL 1: Establish an institutional anchor for practices of pluralism on campus.

Responsible Party | Recommended Action Step

OPP Invest in a Reimagined Harvard Foundation/Center for Pluralism on par with
investments in OFA, and as a One Harvard entity to serve the whole University, even if
administered in the College; seek partnering investments in a Reimagined Harvard
Foundation/Center for Pluralism from all Schools to support a re-establishment of its
University-wide mission; establish faculty leadership for the Reimagined Harvard
Foundation/Center for Pluralism, charge the leadership of the Reimagined Harvard
Foundation/Center for Pluralism with developing a next generation strategy for
anchoring practices of pluralism on campus.

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Deans Support faculty leadership for a Reimagined Harvard Foundation/Center for Pluralism;
Deans of all Schools invest in a revamped, One Harvard model for a Reimagined
Harvard Foundation/Center for Pluralism.

Reimagined Under University and/or decanal leadership, and with restored faculty leadership and a

Harvard faculty advisory committee, a Reimagined Harvard Foundation/Center for Pluralism to

Foundation/Cen- | take responsibility for a One Harvard strategy for advancing University values and a

Pluralism | culture of pluralism, including providing professional development across campus in
University values, a culture of pluralism, and constructive dialogue for staff in OEDIB,
CODOS, OFA, HUCA, and the informal cross-campus arts planning group; the
faculty committee in religion and board of religious, ethical, and spiritual life; and
House Dean teams and staff designated as Local Designated Resources, Orientation
Leaders, Student Affairs leaders, or language instructors.

Further Recommendations:

The goal of creating a Reimagined Harvard Foundation/Center for Pluralism would work in tandem with
five other, independent goals but no less important goals:

(1) Advance the University’s Values. The University has established a strong framework of core
values but these are not well-known on campus. They should anchor our efforts to navigate
through challenging moments on campus, as well as the gray areas of campus interaction, that
don’t rise to the level of formal grievance processes.

(2) Cultivate practices of pluralism anchored in the University’s values. It is not enough to name
values to establish a culture of pluralism. Developing practices that bring those values to life is also
important. The fifth University value — “taking responsibility for the bonds and bridges that
enable all to grow with and learn from one another” — requires innovation in campus
understanding of core practices that define our community.

(3) Invest in strengthening interfaith opportunities on campus and support access to multi-
lingualism for all. The campus has over forty chaplains and an impressive array of ways of
engaging with faith, belief, and the lack thereof. The time has come to create a University-wide
Office of Religious, Spiritual, and Ethical Life (see below for further detail). A culture of pluralism
would activate that diversity in support of increased religious literacy, mutual understanding, and
opportunities for interfaith collaboration. Similarly, understanding the value of a pluralistic culture
requires access to the cultures of others. This is especially acquired through language learning. We
should be strengthening language learning on campus in support of multilingualism as a defining

feature of our campus.

(4) Inspire creativity in engagement with the concept of pluralism. People participate best in
pluralism when they are confident that their own identities are seen and supported. The Office for
the Arts may be especially able to uplift and to celebrate the various cultures represented in the
Harvard community, and also to create events that reflect, model, and encourage interchange
among these heritages and living traditions.

(5) Model civil disagreement by annually sponsoring Presidential level dialogues on substantive
questions. This goal addresses the common theme in listening sessions for both Task Forces that
members of our campus community desired more intellectual engagement with the substantive
issues in the crisis at a University-wide level. While recognizing that many Centers in campus have
indeed been leading such engagement, there continues to be a need for such engagement

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sponsored from the Offices of the President and Provost. Such further engagement should,
however, build on the good efforts of many colleagues around campus. The goals of the dialogues
would be: (1) to model constructive, respectful dialogue in conditions of pluralism; and (2) to make
substantive progress toward improved understanding on themes subject to heated debate. See

Appendix A [of this Appendix 2] for sample topics that might by curated for such a series.
These goals could be advanced as follows:
GOAL 2: Advance the University’s values.

Responsible Party | Recommended Action Step

OPP Add existing University Values’ statement to University website and Provost’s Office list
of policies.
Deans Incorporate the University’s Values Statement in School policy documents and core

School messaging; work with faculty leadership at Harvard Foundation to develop
invitation and incentives for departments to engage in case-based workshops related to
the University Values Statement.

Reimagined See above, Goal 1.
Harvard
Foundation/Cen-
ter for Pluralism

GOAL 3: Cultivate practices of pluralism anchored in the University’s values.

Responsible Party | Recommended Action Step

OPP Charge existing standing bodies with carrying out two initiatives- — one about
advancing the University’s values and one about advancing a culture of pluralism,
reporting back at the end of each of the coming three years what they have done and
what difference it is making in their work; bodies to be charged are the Reimagined
Harvard Foundation/Center for Pluralism, OEDIB, CODOS, OFA, HUCA, and the
informal cross-campus arts planning group; the faculty committee in religion and board

of religious, ethical, and spiritual life; and House Deans.

Deans Deans of all Schools should support staff at all levels in participating in professional
development and professional communities of practice around University values,
pluralism, and constructive dialogue.

Reimagined Coordinate pluralism work across OEDIB, CODOS, OFA, HUCA, and the informal
Harvard cross-campus arts planning group; the faculty committee in religion and board of
Foundation/Cen- | religious, ethical, and spiritual life; and House Deans.
ter for Pluralism

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GOAL 4: Inspire creativity in engagement with the concept of pluralism.

Responsible Party

Roccamended Acton Step

OPP Invest in the Office of the Arts to seed a University-wide culture of creative
engagements with the idea of pluralism; seek a partnering investment from every
School; charge OFA with leading a University-wide conversation about space needs for
arts programming.

Deans Deans of all Schools invest in the Office of the Arts to seed a University-wide culture of
creative engagements with the idea of pluralism and have Schools participate in
campus-wide effort to identify improved spaces for the arts.

OFA, HUCA, Connect the campus to the national Presidential Committee on Arts & Humanities,

and informal arts | Artists for Understanding — brings together communities of artists from across lines of

planning group difference; explore creation of new routes to support student arts programming the

relates to pluralism.

GOAL 5: Invest in strengthening multifaith opportunities on campus and support access to
multilingualism for all.

l

Responsible Party

OPP

Recommended Action Step

Create an Office of Religious, Spiritual, and Ethical life to support students in their
faith engagements and proactively advance interfaith programming, with this office
ideally to be led by someone who also carries an academic appointment, whether ladder
or non-ladder, as at our peers (Yale, Stanford, and until recently, Princeton); formalize
the rights and responsibilities of chaplains and require adherence to University policies
such as NDAB; create a feedback process for the director of the Office of Religious Life
and the Chaplains, as well as mechanism for student input into the hire of the above
roles; fund an application-based process for student proposals to advance interfaith
initiatives. This Office should collaborate effectively with the Harvard
Foundation/Center for Pluralism as well as with the Edmond and Lily Safra Center for
Ethics.

Deans

The Dean of FAS and the Dean of Humanities should work with leaders of language
instruction programs to identify tools that will improve the ability of program leaders to
recruit and retain a highly professionalized corps of language instructors, particularly in
language areas where thematic controversies can arise such as Arabic and Hebrew; while
campus events post Oct. 7th, 2024, brought particular attention to these languages, the
challenge of instructing students with differing relations to the societies and cultures
connected to the language of instruction can appear across the curriculum, from
Japanese and Korean to Ukrainian and Russian, and so on. We also recommend
revisiting the reduction of the language requirement to 1 year.

Reimagined
Harvard
Foundation/Cen-
ter for Pluralism

Partner with the Office of Religious Life to support interfaith engagements, and to
ensure that religion, faith, and cultural identity connected to religious communities are
fully taken into account in practices of pluralism.

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GOAL 6: Model civil disagreement by annually sponsoring Presidential level dialogues on substantive
questions, with multiple speakers representing a range of views per event, and a high caliber moderator.

Responsible Party | Recommended Action Step _

OPP Four questions have been proposed for 2024-25; see appendix. Given the passage of
time, they would need to be updated prior to embarking on programming, but they
provide an indication of the kind of direction intended.

Deans Support build-out of audience for these events by seeking to avoid counter-programming.
Reimagined Annually convene directors of University-wide centers to explore potential themes for
Harvard Presidential level dialogue series; annually convene directors of orientation at all Schools
Foundation/Cen- | for intellectual engagement in support of professional development.

ter for Pluralism
Conclusion

The Harvard campus is full of people who appreciate the pluralism of our community and long for that pluralism to
be a source of intellectual vitality, rather than conflict. Our subcommittee believes that an explicit effort to anchor the
culture of the campus around practices of pluralism will improve the teaching, learning, and working environment
for everyone, strengthen the caliber of our debate on campus, and enhance the ability of all members of our

community to make a positive difference on the issues they care about on campus and in the world.

Appendices included in the Report from the Joint Subcommittee on Pluralism

APPENDIX A: THE MAJOR QUESTIONS DIALOGUE SERIES — SAMPLE EVENTS

The reimagined Harvard Foundation for Pluralism would present dialogues over the course of the year.
Each event would be organized around a question and would have four participants and a moderator. The
four participants would represent a wide spread of opinion in relation to the question at hand. They would
be selected for their academic and intellectual excellence.

Each event would be staged in a major campus venue and also livestreamed into other venues on campus.
For instance, an event might be staged in Sanders ‘Theater or the Smith Center, and then livestreamed
into an auditorium in the Medical School, and vice versa. Some should be physically based on the Harvard
Square campus and some in either Longwood or Allston. Events should be scheduled with a view to
maximizing participation.

All interdisciplinary centers and student groups pertinent to the themes of the dialogues would be engaged
by series organizers to secure co-sponsorships and co-marketing, to support campus-wide crowd-building
for the conversations.

A set of sample dialogue themes developed by our subcommittee, in consultation with the leaders of
interdisciplinary centers on campus, is as follows:

1. The Road to 1948: What was the history that led up to the events of 1948 and what key lessons
from that history can help us think about the present? How did European nationalisms,
antisemitism, Islamophobia, the general transition from empires to nation-states in the first half of

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the 20th century, pan-Arab nationalism, newly established Arab countries, and Israelite/Jewish
roots and indigeneity in the Middle East all play a role in that history?

2. ‘The Road to Oct 7 and Beyond: Starting from roughly 2000, what is the history of the conflict
that led up to the events of Oct 7, the Hamas attack on Israel, the ensuing conflict between Israel
and Hamas (and now further parties), and the resulting humanitarian crisis for Palestinians?
How does that history help us understand and contextualize the present? Who are the parties to
the conflict and why? How is religion being used in this conflict? What can we learn from other
cases where religion has been brought into deeply political issues about land and governance,
such as Kashmir and Chechnya?

3. Where do we go from here on campus?: What does pluralism mean in the context of our
University and our education? Can we support one another, across deeply experienced differences
and disagreements, as partners in learning? How can we help people connect their personal
identities to identification with a shared learning community, a Harvard identity? What can
engagement with values offer us as we think about identity and community? What is the value
and what are the opportunities of dialogue in our University community? What are the obstacles?
And why should we even care?

4. Antisemitism and Islamophobia in America — and at Harvard: What are the sources of the
surge in antisemitism and rise in Islamophobic incidents in the US over the past decade? How are
these phenomena impacting Muslim and Jewish communities? How are these increases affecting
college campuses? Can we see any hopeful countertrends or constructive phenomena in this regard?
How does the social shunning of Israeli and Zionist students arise and figure in campus life? How
are experiences of Palestinian invisibility on campus part of the present situation? What demands
of assimilation or self-negation are being made on different communities and individuals, as a price
of belonging? How can we instead forge a culture of pluralism?

APPENDIX B: RETHINKING ACADEMIC BUREAUCRACY AS A COLLABORATIVE
ENTERPRISE

The creation of the Harvard Foundation/Center for Pluralism offers a valuable opportunity to re-think the
qualitative character of academic bureaucracy, a realm too often characterized by alienation and distance
between faculty and staff. One of the most profound flaws of the traditional DEI framework — and
indeed of much of contemporary University organization — is that it sustains this divide, reinforcing the
sense that staff are functionaries rather than integral partners in the academic mission.

1. A New Model of Administration

A Reimagined Harvard Foundation/Center for Pluralism could, for instance, reimagine staff roles. Leading
staff members in the Foundation should hold hybrid positions that bridge the academic and administrative
worlds, involving not only programmatic leadership but also direct engagement with academic instruction.
Such roles would allow staff to participate as co-creators of Harvard's intellectual and institutional culture,
modeling the collaboration necessary to bring pluralism to life. Harvard could set a transformative precedent,
demonstrating that institutional pluralism begins with the very design of its positions and the relationships
they enable. Some examples of the alternative model described here currently exist throughout the FAS, as
when individuals hold positions that combine a Senior Lectureship appointment with an administrative
appointment (for instance, several Directors of Undergraduate Studies).

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2. Faculty and Staff Pluralism Workshops

To address the perennial sense of mission drift among faculty, students, and staff, the Reimagined
Harvard Foundation/ Center for Pluralism should emulate Radcliffe’s exploratory seminar project, offering
a program of workshops designed to align diverse constituencies around the values of pluralism. Faculty
and staff clusters, departments, and programs could apply for tailored workshops convened with outside
experts to learn, strategize, and experiment with embedding pluralism in their work.

Imagine a retreat on pluralism and the social theory canon for Social Studies, or a seminar on teaching
conservatism across cultures for the Government Department. Consider the potential of Gen Ed courses
invigorated by guest speakers, curricular planning support, and the kind of intellectual scaffolding that
inspires faculty to engage deeply with pluralist themes.

These workshops would provide not just a framework for implementing pluralism but an arena for grappling
with its complexities — contextualizing it within the particular missions of various academic and
administrative units. Through these efforts, the Foundation can help build intellectual and strategic bridges
across the University.

3. A Year-Long Thematic Series for Sustained Intellectual Engagement

Pluralism is not something that can be cultivated in sporadic, one-off events. To deepen the intellectual
and cultural engagement of the Harvard community, we recommend not only a year-long thematic series
of signature events, but also a further surround of workshops, readings, lectures, and discussions.

This series would aim to move beyond the shallow rhetoric of inclusion and toward the kind of substantive
engagement that equips students to think critically and empathetically across profound differences. Over
four years, students would ideally participate in one or two such series, attending talks, engaging with
readings, and sharing meals with interlocutors. This would be pluralism as lived, not merely invoked. It
might be a way of earning course credit.

While a year-long series might narrow attendance in some respects, it would deepen our community’s
collective capacity to address pressing questions, foster informed debate, and cultivate habits of sustained
intellectual inquiry. Dynamic feedback mechanisms would ensure that the themes and speakers reflect the
intellectual vitality of the student body itself.

4, Leadership for Crisis Response and Inclusion
The leadership of the Reimagined Harvard Foundation/Center for Pluralism must reflect its dual

mandate: to serve as a beacon of pluralist values and a steady hand during moments of crisis. This is no
small charge. The leadership team must include individuals with the empathy, intellectual dexterity, and
moral clarity to address the fractious issues that inevitably arise in a community as diverse as ours.

This leadership will be crucial in fostering trust across constituencies — among students who feel
alienated, among faculty who feel skeptical, and among staff who too often feel undervalued. To succeed,
the Reimagined Harvard Foundation/Center for Pluralism must see crisis response not as a detour from its
mission but as central to the work of pluralism.

5. Revitalizing House Diversity Tutors and Local Engagement

The Reimagined Harvard Foundation/Center for Pluralism should look to its own history for inspiration.
House diversity tutors once played a vital role in bridging the intellectual and social lives of students,
particularly around issues of race and culture. While the needs of today’s student body are broader and
more complex, the Houses remain an invaluable resource. The Foundation should explore ways to
integrate House-based programming into its broader mission, encouraging Houses to serve as microcosms

of pluralism.

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6. Alain Locke as a Symbol and Intellectual Guide

If the Foundation is to embody Harvard’s commitment to pluralism, it must anchor itself in a lineage that
is both intellectually rigorous and profoundly humane. Alain Locke, a Harvard alumnus, the first Black

Rhodes Scholar, and one of the most incisive theorists of pluralism, offers such a touchstone.

Locke’s vision of cultural pluralism — his insistence that diversity enriches the human experience and that
cultural exchange can deepen our understanding of ourselves and others — resonates deeply with the
mission of this Foundation. His reflections on race, culture, sexuality, and religion remain as urgent today
as they were in his time. To center Locke in the Foundation’s narrative is not merely to honor the past but
to remind ourselves of the intellectual and moral stakes of the work ahead.

The links below provide an entry point into Locke’s vision, which should inform both the narrative and
programming of the Center:

e [Video on Alain Locke’s life and work] (https://www.youtube.com/watch?v=KCaE_jQAPa0)
e [Stanford Encyclopedia of Philosophy: Alain Locke] (https://plato.stanford.edu/entries/alain-locke/)

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Appendix 4: Listening Sessions Guidelines

March 2024

Prior to beginning of session

Self-introductions and introduction of facilitator (if present).

Explain the purpose of the session and your place in it. For instance, you might mention:
e to understand people’s experiences;

e to learn from their suggestions for solutions;

e to understand what values they think should guide this work.

Assure the participants that you are there to attentively listen for the purpose of substantive and
constructive action, including recommendations to the president on a rolling basis.

You might acknowledge that the task force was recently formed, but the issues and events that participants
have been experiencing and dealing with have been going on for months, if not longer. People may be
feeling fatigue about being asked to share their experiences yet again.

Remind everyone that we're adhering to the Chatham House Rule,6?6 under which individuals may refer
to the conversation, but not which speaker made a particular comment. That said, if we hear something
that indicates danger, or a level of seriousness which requires a need to report out, we may have a legal
obligation to share with the appropriate internal office(s).

Ask participants not to record, broadcast, or live tweet the event in the interests of creation of a safe and
open space where people can speak freely. (If it seems necessary, mention that Massachusetts is a two-
party consent state and so recording without permission risks violating Massachusetts law.)

For Zoom sessions, you may want to ask people to refrain from using chat, and not to take screenshots of
any kind.

During the session

First 25 minutes

Question: Since October 7, [2023] have you experienced what you would consider to be antisemitism?
What form(s) did it take? [Ask the audience to take a few minutes to write down their responses before
speaking. |

Follow up: If participants speak of feeling unsafe or unprotected, ask them what they mean by these words.

Next 25 minutes

Appendix: Listening Session Template

Question: What would you like to see done to improve the situation of Jewish members of the Harvard
community? What concrete measures would you like to see Harvard take? [If participants speak of being
safe and protected, please ask what they mean if those terms have not already been clarified. ]

66 https://www.chathamhouse.org/about-us/chatham-house-rule

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Question: How would you balance Harvard’s commitments to academic freedom, freedom of expression,
and the value of encountering views different from your own with your own sense of inclusion and well-
being at Harvard?

Last 10 minutes

Question: Harvard’s 2018 Values Statement” refers to “respect for the rights, differences, and dignity of
others, honesty and integrity in all dealings, conscientious pursuit of excellence in one’s work,

accountability for actions and conduct in the community, and responsibility for the bonds and bridges that
enable all to grow with and learn from one another.” Does this statement correspond with your own sense

of what Harvard should be? Has Harvard failed to realize these values? If so, how?
Question: Is there anything that we didn’t ask that we should have asked?

Thank everyone for attending and participating.

Acknowledge this is not easy, and it is important.

Offer a brief summary of the main points expressed by the participants.

Let people know that they can send additional feedback to the facilitator via email (if this is true) and share
the email address.

After the Session

Staff will prepare a brief written summary of the session’s main takeaways, including representative data.

Facilitation tips (shared with us by the Center for Workplace Development)

Create opportunities for everyone to participate:

e In addition to keeping the group focused on the content of the discussion, keep track of how
participants are communicating with each other, who has spoken and who hasn’t spoken.

e Ifaperson is quiet, ask if they have thoughts or ideas they want to share with the group.

e Ifa person dominates the discussion, ask them to hold their thoughts as others have ideas to share.
Then, come back to them when possible.

e Seta time limit for responses (approximately 2 minutes each) to ensure everyone gets a turn.
e If multiple small conversations occur, ask everyone to focus on one conversation at a time.

e Ifthere’s silence, sit with it a bit. Try counting silently to 5 before you restate or rephrase the question.
People sometimes need time to think before they respond.

If conflict arises:

e Reaffirm purpose and ground rules.

e Focus on the substance of the ideas or opinions — not personal style.

67 https://inclusi elongi rce.harvard.edu/files/inclusion/files/vii_ appendix_d._revised_values_statement.pdf

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e Remind participants that consensus is not the goal — hearing multiple perspectives is the goal.

e Offer the possibility that you move to the next question and come back to this later in the meeting if
time allows.

If someone becomes forceful or disruptive:

e Remain calm, and politely but firmly ask the person to lower their voice so others feel comfortable sharing.
e Refocus the conversation on listening respectfully to different views rather than debating one perspective.

e Suggest taking a mini break of 1 or 2 minutes if emotions are running too high, then reconvene.
If someone cries:

e Acknowledge their emotions with empathy, pause briefly, and continue the conversation.
e Ask if they need a short break or would like to continue speaking.
e Remind others this is an understandably emotional topic and to listen supportively without judgment.

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Appendix 5. Analysis Report from the Joint Subcommittee on the

Harvard-Wide Task Force Survey

January 5, 2025

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I. Introduction

At the end of the 2023-24 academic year, Harvard’s two presidential task forces — one aimed at
combating anti-Muslim, anti-Arab, and anti-Palestinian bias, the other aimed at combating antisemitism
and anti-Israeli bias — jointly organized an opt-in survey of the Harvard community. Between May and
September 2024, the online survey was open to students, faculty, and staff across all of Harvard’s Schools.

The survey asked questions about respondents’ sense of belonging and safety at Harvard and solicited what
factors contributed to that sense of belonging and safety. The survey also asked respondents for their
recommendations. The survey asked about respondents’ identities, such as their religious, racial, and
political identities. In this report, we detail the findings from the survey, including both qualitative and
quantitative results.

The intent of the survey was to complement the listening sessions conducted by the two Task Forces in
the Spring of 2024. It provided a structured way for a wider segment of the Harvard community to express
their opinions in an anonymous format. Compared to participating in listening sessions, taking the survey
required less time and could be done when convenient for the respondents rather than at a scheduled time,
and in a way that allowed for anonymity, which was a serious concern for many respondents given
incidents of being targeted and/or doxxed. We should note that the survey was not designed to be
representative of the entire Harvard community for two reasons. First, we lacked an appropriate sampling
frame for the affected/relevant communities. For instance, we do not know precisely how many Jewish
identifying and Muslim identifying individuals are in the Harvard community. Similarly, there may likely
be relevant populations from other demographic groups that hold views on the issues related to the Task
Forces or may have experienced/observed bias but are not readily verifiable based on their demographics.
Second, given the specific intent of the survey as noted above, it was not administered or marketed as a
University-wide survey like the 2019 Pulse Survey, for instance, but rather distributed in a variety of
channels on behalf of the two Task Forces. This survey exercise is therefore best viewed as a way to
incorporate more opinions from those community-members who wanted to anonymously weigh in than
listening sessions alone would allow and to also do so in a closed-ended format that enabled presenting
quantitative results overall and by various relevant respondent demographic attributes as outlined in the
pre-analysis plan. Importantly, the findings provide a window into the social, educational, and professional
environment at Harvard. They also point to the need for the continuation and expansion of efforts that
gauge the wellbeing of the community and ways to address their concerns.

A core finding is that most respondents do not feel comfortable expressing their political views and believe
doing so would jeopardize their academic and professional careers. Most respondents also reported that
that the 2023-24 year was worse than the previous year in terms of their sense of well-being and safety.

Faculty and staff feel a greater sense of belonging than students. They are more comfortable expressing
their opinions and less likely to have personally experienced stereotyping and discrimination. Students feel
particularly stifled in their ability to express themselves.

Muslim respondents are especially likely to say they do not feel a sense of belonging and safety at Harvard.
Among students, we find that Jewish respondents and Muslim respondents have much more negative
experiences than the two largest religious cohorts in our survey: Christians and Atheists/Agnostic/No
Religious Affiliation. On nearly every measure, Muslim and Jewish identifiers are less comfortable sharing
their views and are more likely to report experience with discrimination than Christians and
Atheists/Agnostic/No Religious Affiliation. Among racial groups, Middle Eastern or North African
(MENA) students offer the most negative experiences of any group.

When asked what factors contributed negatively or positively to their experience, the survey respondents
are mostly in consensus that internal factors were more positive than external ones. Notably, external

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events, external actors, and external media contributed negatively to their experiences, whereas student,
faculty, and staff interaction contributed mostly positively. However, student interactions outside academic
spaces, especially in online interactions, contributed negatively to the experiences of Jewish and Muslim
students. Respondents evaluated University policies and administrative responses less positively.

Il. Survey and Methodology

The survey was fielded starting late May 2024 with most responses coming in the earlier part of the
summer. The data from this analysis spans from May 22 to September 15 and comprises of a total of 2,295
submitted responses. The survey was posted on the two Task Forces’ websites. Responses were solicited by
the task forces sharing the survey link with community members who had joined the listening sessions

hosted by the task forces during the Spring semester. The link was also shared with various affinity groups.

The pre-analysis plan for this study is provided in the appendix along with the survey instrument. For each
of the substantive questions in the survey, we show the overall distribution of responses. We also tabulate
responses by subgroups within key demographics, including affiliation (e.g., faculty, staff, student), School,
age, national identity, race/ethnicity, religious views, gender, sexuality, and political ideology. The sub-
groups that show the most meaningful differences are in the main text while the remaining ones are in
appendices. In places, we further subdivide the sample, for instance, we look at differences by religious
affiliation just among students. We also employ regression analysis to better understand how a variety of
background characteristics correspond to the substantive responses. The multivariate analysis is not
explicitly described in the pre-analysis plan, but it is a helpful extension to the original plan and assists our
understanding of the sample.

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In Table 1 below, we show the distribution of respondents by demographic subgroup.

Table 1: Summary Statistics
Summary Statistica Count Percent Gounrt Percent
2285 100.00 2255 10.00
Afiliation Religion
Undergraduate 209 WAS Agnostic/Athelat(Ne are S815
Religious AMiistion
Craduste/Post- £55 21.87 Christian 592 25.26
Gow Fallow
Faculty 88S 21.04 sowiah aay 15.46
Stet Bo8 29.13 Musiim ao BBS
Other 68 2.36 Other 282 12.29
Prater not te enewer 442 4.88. Prefer not to enawer 258 41.24
Schoal Gender
Collage FASIGSAS 7100 AF aS Fornaic 7084 aP2s
HES B03 13.20 Male HO6 ae os
HMES/HSPH/HSDM 349 75.21 Other 417 6.40
Other Ba) 27 8 Praler not 4 anewer 254 1125
Prefer not to anewer 164 7.46
Race Sexuality
White 1803 66.71 traight 1464 60.79
Asian au 1 Gayl eabian 188 6.75
Black 63 3.82 Other a1 add
Mipgeriie 14 S40 Proler not lo anewer ao 17.04
MERA 425 Sas
Other 139 6.06
Preter not te anewer o14 13.88
Age ideology
Under Zi a3 6,36 Very bere: aS? 15.91
21°25 21¢ S48 liberal fa a4. 72
26-30 280 12.20 Sigotly bers 262 11.64
SQ a5 20.48 Maderate 255 47.91
41-50 ae 16.60 Conservative 124 $49
51-00 az 13.99 Other 470 7a
bie Si; 13.81 Prefer not to onawer 208 1.489
Prefer not te anewer 186 3.70

Table 1 Note: Some categories do not sum to 100% since some respondents provided multiple responses to the same question.
“Other” category for affiliation represents those that selected “Other” as their affiliation in the survey. “Other” category for
religion aggregates: Buddhist, Hindu, Taoist, Shintoist, Sikh, Bahai, Jain, followers of folk religions, those who identified as
spiritual, and those who chose to self-identify. “Other” category for School aggregates: HDS, HKS, GSD, HGSE, SEAS,
HLS, Division of Continuing Education (including the Extension School), Central Administration, and those who simply
selected “Other” as their School in the survey. “Other” category for gender aggregates: Gender Non-Conforming, Genderqueer,
Nonbinary, Questioning, Transgender, and those who chose to self-identify. Other category for race aggregates: American
Indian or Alaska Native, Native Hawaiian or Pacific Islander, and those who chose to self-identify. “Other” category for
sexuality aggregates: Bisexual, Queer, Pansexual, Asexual, and those who chose to self-identify. “Other” category for ideology
aggregates: Apolitical and those who chose to self-identify.

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As we noted above, the survey was intended to provide an avenue for those affected by and/or desiring to
express an opinion on matters related to the mandate of the two Task Forces — examining anti-Arab,
anti-Israeli, anti-Muslim, anti-Palestinian, anti-Pro-Palestinian bias, and antisemitism as experienced by
the Harvard community. Since this population frame is not readily identifiable and the survey was not
administered as a University-wide survey, we cannot provide appropriate response rate numbers or say how
representative our sample is of this population or of the underlying demographic populations such as race,
religion, and political views (regarding the conflict). That said, we can use the 2019 Pulse survey — a
University-wide effort at Harvard — as a benchmark Appendix D [of this Appendix 5] shows
comparisons with the Pulse survey. As the first table shows, our sample here is 66% White, which is
slightly higher than that in the Pulse data (59%). Asian/Asian Americans and Black respondents are
underrepresented in our survey, and MENA respondents are slightly overrepresented, compared to Pulse.
Respondents to this survey are twice as likely to not list a race (13% vs 6%) compared to Pulse.

By religion, Christian identifiers are effectively equally represented in this survey compared to Pulse (25%
vs 26%). Muslim and especially Jewish respondents are somewhat overrepresented relative to the Pulse
survey (3.9% vs 1.8% and 19.5% vs 6.8% respectively), as one may expect given the intent of the survey.
“No religion” is the largest religious category in both surveys, with 38-39% of respondents identifying this
way. Finally, a big difference between Pulse and this survey here is in the degree to which faculty and
students are represented. In Pulse, there are 4 44 times more students than faculty (45.7% vs 10.1%). In the
current survey, faculty and students compose similar shares of the sample (21.3% and 26.5% respectively).

In addition to the survey questions that will be analyzed with quantitative methods, some survey questions
solicited open-ended responses as a follow-up to the quantitative questions. While these were entirely
optional, 81% of respondents provided at least one open-ended response. We analyze the qualitative data
by directly reviewing responses from demographic groups that were outliers in their negative experiences as
revealed in the quantitative analysis as well as by using machine learning techniques to help synthesize the
main themes and salient responses for all respondents. The quotes were selected to reflect the main themes
observed while protecting the respondents’ identity. We present this qualitative analysis alongside the
quantitative findings as it helps provide some more color and context.

IIT. Main Results
A. Safety, Belonging, and Free Expression

The first section of the online survey asked respondents a battery of ten agree/disagree questions. For each,
respondents used a 7-point scale (from strongly disagree to strongly agree). They could also select that they

preferred not to answer.

In Figure 1 below, we show responses to five of these ten agree/disagree items that relate to safety and
belonging.®8 One in ten respondents (11%) reported they do not feel physically safe on campus. Twice as
many reported that they do not feel like they belong or that they do not feel mentally safe on campus. Just
over a quarter of respondents reported they do not believe their well-being is supported. Finally, 28% said
they do not feel comfortable socializing with people on campus whose political views conflict with their
own or go against their sense of identity. Thus, while most respondents reported positive sentiment toward
their sense of safety, well-being, and comfort at Harvard, it is not uncommon for community-members to
express negative sentiment either.

628 We only report non-missing values for each question. Missing responses constitute 0.7-2.2% of all responses.

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Figure 1: Safety and Belonging — All Respondents

Stghily Agree i Strongly Agree:

Agree

| Strongly Disegree Slightly Oeagree

Neither Agree nor Disagree

Heel like | belong at a 6
Harvard 20% 71%
i feel physically safe on & 6
campus 11% 85%
feel mentally safe on 6 4
campus 21% 73%
i feet my well-being is a 8,
supported at Harvard a7% 63%
i feel comfortable
socializing/being frends
with people on campus
whose political views 28% 60%

ray be in conflict
with mine and/or go
against my serise of

identity/nationality

Note:

Percentage labels omilted when less Gan 5 percent.

Percent Agree = Percent ‘Sighily agree, ‘Agree,’ or “Strongly agree”.

Percent Disayree = Parcerd Slightly disagree,’ Disagree,” or ‘Strongly disagree.

As noted previously, respondents could also provide open-text responses to further elaborate on their
quantitative responses. Specifically, we asked them to share recent and/or salient experience(s) — positive
and/or negative — that could shed further light and/or nuance on their quantitative responses. Looking at
this qualitative data helps further our understanding of the quantitative findings.°”

Some respondents spoke directly to the low level of physical and mental safety they felt on campus. One
respondent (#978, student) explained how “names being posted online so that people will search for those
names and choose not to hire those people; faces being put on trucks and the campus doing nothing about
it, students having guns pulled on them and having their rooms raided or their belongings thrown out also
makes it a much less safe environment mentally and physically.” Another respondent (#512, missing
affiliation) wrote, “I am not comfortable and do not feel safe expressing my ethnic, religious or political self
at Harvard, or even in this survey, for fear of retaliation. This has been the case for many years. The recent

events on campus have only solidified this for me.” A third (#135, missing affiliation) succinctly wrote, “I

629 We provide excerpts directly from the quotations from respondents without changing any of their language. The only
exception is that we correct obvious typos and spelling mistakes.

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definitely do not feel safe on campus or in remote Harvard environments to express my political opinions

and personal beliefs.”

A key theme mentioned by respondents was how the response at Harvard to expressing opinions over the
past year made Harvard less safe. Several respondents commented on Harvard’s response directly — one
respondent (#1460, student) wrote, “I have been very harshly punished by Harvard administrators for
expressing my political views. These punishments have included sudden eviction from my source of
housing and food, sudden termination from my job, the threat of not allowing me to complete the
semester, the clear and material threat of calling in police against me, and the withholding of my degree
for an entire year after I completed all my graduation credits with high honors... I have never felt more
unsafe or unsupported in my life than I have at the hands of Harvard administrators this past year.”
Another respondent (#793, staff) echoed this sentiment, saying “I have felt unsafe by the way that Harvard
has conducted themselves. People have been fired for speaking up for their beliefs and displaced from their
homes. It is not right for a university to act this way when people have been peaceful, non-violent, and
have not physically harmed anyone their actions.”

Respondents also spoke to the lack of comfort and well-being they felt socially on campus. One
respondent (#1803, student) noted, “I generally refrain from discussing political/controversial topics with
members of the community who IJ do not know well because I find that conversations often become hostile
and campus reputations are easily harmed.” Another (#2167, student) wrote, “I do not feel mentally safe
on campus. Though I am not Israeli, I have openly expressed sympathy for October 7th survivors and
attended events for Holocaust survivors. I have faced many social consequences for not thinking in ways
my classmates would deem progressive, which I find unreasonable.”

Another frequent theme was a perceived lack of response by the University to outside actors — one
respondent (#1091, student) wrote, “The sight of doxxing trucks and planes flying hateful messages like
‘Harvard Hates Jews’ around Harvard Square deeply disturbed me. Despite their prominent presence, it
seemed like the University wasn’t taking any action, which left me feeling perplexed and unsafe. The loud
and repetitive circling of the planes over the yard heightened my anxiety, especially since I couldn’t discern
their intentions.” Another respondent (#708, staff) described the presence of non-affiliated protestors on
their safety — “I feel safe when it comes to Harvard and the people who are involved with the University.
However, there are outside actors who will show up at the Science Plaza and pick fights with people for
not supporting their cause. These same outside actors (or at least, other outside actors sharing their
viewpoints) have attempted to assassinate the character of much more important people than myself on
campus.” Similarly, a different respondent (#2080, staff) noted that “the administration seems to prioritize
external political interests over the well-being of internal community members, and has not done enough
to earn trust among the community.”

However, a few respondents had somewhat different views regarding safety and felt more comfortable
despite the tumultuousness of the past year. One respondent (#1603, staff) said, “I have never felt unsafe
on campus, but the camp in the yard made a big mess of trying to just get my own things done. I wish it
had made a difference without disrupting everything and making folks angry but ineffective.” Another
respondent (#413, student) wrote, “Much of the discourse that would make someone feel unsafe or unable
to express their opinions happens online. In my experience, people are often less combative in person and
the negative climate is more digital.” A third respondent (#532, staff) even stressed that the safety on
Harvard’s campus should encourage challenging conversations — “I think most of the students, faculty,
and staff are perfectly capable of engaging in difficult dialogue... Harvard’s campus is very likely the safest
place on the planet for Palestinian, Israeli, Jewish, and Muslim students, faculty, and staff to engage in
productive dialogue. Make it so, keep leaning into this. Wasted potential that can genuinely save lives is
hard to witness.”

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The remaining five agree/disagree items in this first battery of survey questions largely reflect on how
comfortable or uncomfortable it is to express one’s views on campus. Is it easy to express oneself? Do
respondents feel they suffer professionally or academically, or face outright discrimination, when they
express their views? Figure 2 shows overall results.5%°

This second graphic shows that discomfort with expressing one’s views is quite common, and much more
common than feeling physically or mentally unsafe. About half of all respondents reported that they are
uncomfortable expressing their opinions and uncomfortable expressing their political opinions. Most
respondents (59%) believe there are academic and professional penalties for expressing one’s political views
at Harvard. Nearly a third (29%) said that they have personally experienced discrimination, stereotyping,
or biases because of their views on current events. When asked about expressing religious beliefs and
disclosing ethnic identifications, a third of all respondents do not agree that they can do so comfortably.

It is worth emphasizing that readers of this report may disagree about the normative interpretation of the
results in these first two graphics. For instance, some may believe that at a university, faculty, staff, and
students should all feel at liberty to express their views on political and other matters. If they do not feel
comfortable doing so, this means the University is failing to create a culture of dialogue and debate. Others
may believe, particularly for staff and faculty, that it is inappropriate to express one’s personal views in the
workplace. Thus, some readers may believe it would be better for more respondents to feel uncomfortable
expressing their views.

As another example of normative disagreement, consider the item about being comfortable socializing
with those on campus who have conflicting viewpoints. Some may believe that everyone should feel
comfortable socializing with those who disagree with them politically; others may believe that community-
members should not need to feel comfortable doing so.

Thus, while on some of these survey items, we think there would be widespread agreement about the
interpretation of results (e.g., students feeling physically unsafe on campus is a problem), on other items,
the interpretation of results would be more contested.

63° We only report non-missing values for each question. Missing responses constitute 0.6-2.6% of all responses.

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Figure 2: Freedom of Expression — All Respondents

i Strongly Disagree Siightly Disagree Slightly Agree _ Strongly Agree

Disagree : Neither Agree nor Disagre:

feel comfortable
expressing my opinions to 45%
others at Harvard

47%

| feel comfortable
expressing my religious o
beliefs and/or ethnic 34%
affilation around campus

53%

| feel confortable
expressing my political o
opinions and/or beliefs 50%
around campus

41%

| have NOT experienced
any discrimination,
stereotyping, or negative 2g
biases on campus due a
to my views regarding
current events

56%

In my experience at
Harvard, | feel there
is no academic and/or 8
professional penalty 59%
for expressing one's
political views

27%

Note:

Percenlage labels omilled when iess than 5 percent,

Percent Agree = Percent ‘Slightly agres,’ ‘Agree,’ or ‘Strongly agree’.

Percent Disagree = Percent Slightly disagree,’ ‘Disagree,’ or ‘Strongly disagree.

Consistent with the quantitative results, respondents in the open-ended questions described a divisive
environment on campus when it comes to political discourse. While respondents praised the diversity of
Harvard, those who had been in classrooms or other settings that brought up political divisions described a
level of discomfort. This sense of discomfort comes in many varieties. For instance, as one respondent
(#932, staff) said, “I would never feel comfortable voicing my opinion on the current war in Gaza.” The
respondent does not share his/her identity with others. Another respondent (#894, staff) feels at home at
Harvard because his/her views align with the majority view, but laments how unwelcome the environment
is to those who are politically conservative. Harvard students, the respondent says, “are militantly
passionate about certain approved views and they will make anyone who disagrees with the party line
regret it.”

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Respondents feel they could be stigmatized or punished for expressing views outside of the mainstream
views on campus. One respondent (#856, student) explained that “the climate at Harvard is such that
unless you profess orthodox woke views, you're ostracized. Admin has contributed to this culture, as have
some faculty. I’ve basically given up on the whole situation and don’t particularly care at this point.”
Another (#346, staff) wrote, “While, in theory, there is freedom of speech, academic freedom, ethnic and
religious diversity on and around Harvard, in reality those that are vocal or at either far end of a spectrum
are often rejected. Given the dynamic and often volatile climate on campus, I find myself not wanting to
discuss anything at all outside of just work related topics.”

Respondents also reflect on institutional practices that lead to a strained environment for political
expression. Several respondents believe that pressure from donors and external actors has led Harvard to
punish students when they express dissenting viewpoints, with one respondent (#474, student) saying, “It
was really astonishing to see the administration react so poorly towards student protesters simply to save
face and protect donor interests. The administration simply could have let the students walk at their
graduation without any consequence, but chose retributive action that ultimately eroded the faltering trust
between the student body and the administrators.” A staff member respondent (#132, staff) stated,
“Freedom of expression has been severely restricted by OUTSIDE actors. Alumni and donors should
NEVER have a say in Harvard life. Harvard isa FACULTY LED university, not donor led, not alumni
led, not student led.”

Respondents also reflected on the pressure coming from inside the University, with one (#297, fellow)
saying “There is a peculiar sensitivity to expressing divergent views in light of recent events whether
international or US-related. Often certain perspectives shared are constrained or deterred if they don’t
appear to align with University opinions. This breeds discontentment and likely civil disobedience.” They
also spoke about the effect that disciplinary action against protestors had on the overall sense of freedom of
expression on campus — one respondent (#1067, staff) commented, “I have seen that Harvard
administration has decided to pursue disciplinary action against staff and students who have peacefully
protested, and in some cases simply been in the vicinity of the peaceful protesting. This makes me feel
extremely uncomfortable with the administration’s position on protecting free speech and the ability to
express one’s political views without fear of retaliation. It is Harvard’s actions as an institution that is
concerning to me, not the actions of students or staff with differing viewpoints.”

Many respondents raised concerns about the unclear enforcement of free speech rules and confusion over
the policies. One respondent (#2035, staff) said, “Harvard is consistently contradicting itself in advocating
for free speech and social justice yet at the same time clamping down on those who speak out.” Another
(#2074, student) stated, “Honestly, I am agnostic to the School's policy on student speech but the sheer
inconsistency of it astounds and disgusts me.” A third respondent (#1054, staff) specifically explained their
personal concerns: “As a staff member, I do not feel safe in expressing political opinions, particularly when
they go against what many students and faculty seem to believe. While faculty and students seem to have
license to express theirs, the University is lacking clear guidance, or at least clearly communicated
guidance, on what staff members can and cannot say, as well as whether such speech is as supported as it is
for faculty and students.” A fourth (#907, student) similarly wrote, “I self censor these views because I do
not believe to have any protection from the University on freedom of expression.”

Another major theme arising from the open-ended responses is the sense that individuals no longer want
to discuss views on campus. Some respondents explained they do so to avoid offending others even
unintentionally or to prevent others from misinterpreting them. One respondent (#1008, post-doc) said “I
simply don’t express much of my political views, or ifI do, I am careful to use tempered inclusive
language,” and another (#231, staff) similarly remarked, “The shifting definitions of terms that used to

describe specific behaviors, actions, or identities has occurred under such ideological/partisan strain that it

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is difficult to know how to express oneself, even when trying to comfort or empathize.” A third respondent
(#796, staff) though, explained how their views have shifted away from discussing sensitive topics in the
workplace as a broader rule: “The events of this past year have made me question whether it is appropriate
at all to be discussing my personal political views at work. As a person in a leadership role, I would not
want my expression of views to inhibit more junior people or make them feel that they are not welcome or
unable to advance because my views are different than theirs. Conversations with friends at work are
different when they are during a break, but during working hours I sometimes wonder if we should all just
be more mindful about when and how we express our views so others do not feel excluded.”

A different group of respondents emphasized the importance of continuing to have difficult conversations
openly on campus. “The penalties can be academic, professional, or social. Yet, I really want to push myself
and others to have thicker skin, and better faith. It’s impossible to stay comfortable, impossible to avoid
‘harm.’ Our freedom (of speech) should be exercised, not minimized,” wrote one respondent (#217, staff).
A second respondent (#2072, student) similarly commented, “While I find many conservative views
antithetical to my own views, I think part of studying at a university is having your own views challenged.
If we can’t accept those with differing views at a place where diversity is encouraged, how can we expect
society to do the same. I find that the University prides itself on diversity of thought, religion, sexuality,
etc. — and that’s a good thing, I love that about Harvard — but at least at the graduate level, I do not
think enough emphasis is placed on accepting people with conservative views or at least welcoming them
even if we disagree with their political values.”

Finally, some respondents spoke positively about the status of free speech at Harvard and the
administration’s policies. One respondent (#1536, staff) wrote, “I feel the University has done a good job
overall at trying to accommodate a very diverse set of opinions and feelings while honoring our values and
the right to free speech.” Another (#1409, staff) similarly commented, “In my relations with Harvard
colleagues, I prefer to acknowledge differences, and despite our differences, focus on the good we can do
together in fulfilling Harvard’s noblest values, and when we have true consensus, act. I welcome the new
Institutional Voice policy.”

After answering this battery of ten agree/disagree questions, the survey asked respondents, “Compared to
this time last year, how has your sense of safety, belonging, and/or ability to interact positively with the
community on the Harvard campus changed?” Recall that respondents took this survey in the spring or
summer of 2024, and so they were being asked to reflect on how they felt after the 2023-24 school year
compared to after the 2022-2023 school year. They could say they felt the same or that things had become
much worse, worse, better, or much better than the prior year. The data (see appendix B) shows —
perhaps unsurprisingly given the circumstances of the 2023-24 school year — that there was a significant
worsening with 61% reporting worsening situation (25% say much worse and 36% say worse). Thirty-six
percent reported the situation was the same as a year before, and 3% said the situation was improved.

B. Contributing Factors

The survey asked respondents to reflect on the factors that contributed positively or negatively to their
experience on campus. What factors made them feel “a sense of safety, belonging, and/or ability to interact
with the community”? And what factors made things worse? Based on what the task forces had heard from
the community in the open-ended listening sessions, we provided a pre-defined set of factors while
allowing respondents to suggest additional factors (12.9% did). Since a given factor may contribute both
positively and negatively, we allowed for both options: respondents could check that a factor contributed
positively and/or negatively or that it did not have a substantial impact. Moreover, for each factor we
allowed respondents to provide open-text details that we also include below.

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Figure 3 below considers each factor in turn and presents the percentage of individuals who report this
factor as positive and/or negative.® Overall, the findings make clear that interactions with faculty,
students, and staff were seen as generally positive, whereas factors associated with media, external actors,
and University policies were seen as generally negative. Recall that a large fraction of respondents to this
survey are faculty and staff, and so their perceptions of interactions might differ than we restrict the sample
just to students, as we do later on in this report.

Figure 3: Contributing Factors — All Respondents

® Substantially Positive ® Substantially Negative

Students, academic o i
Students, non-academic -~@- ~o-
Students, online ~@- ~o~
Faculty Sh lpm
University administrators/staff eedlpen om
On carpus media ~o~ senile
Policies ~~ — j
External actors > cil
Non-affiliates ~@- alfa
Off campus media @ sion
Global situation/events & ali

Other factors A mm

i q ' '

i
0 20 40 60 80
% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

Exeact wording for each factor shown. belnw:

Student Ne: in-person i lone. with Harvard studeats in academic settings (¢.g, classroom, lab, ete.)
iH pel i fans with Harvard siudents in non-acadernic settings (6.9. extracurricular activily, event, or social gathering)
online: Online i ions with Harvard students
Faculty: in-fergon of online interactions with Harvard faculty
‘University online with Harvard administration/staff
On campus media: On campus irodia coverage iprird/social)
Policies: Marvard University and School policies
External actors: External actors’ presence/iniluence on campus iife and climate

Nor-affitiates: In-person or online interactions with individuals not affiliated with Harvard
ot campus media: Off campus media coverage (print/social}

Global
other taco Other factor

We now examine each potential factor in turn:
(1) In-person interactions with Harvard students in academic settings (e.g. classroom, lab, etc.)
41.6% rated a positive factor; 6.5% rated a negative factor.

In open-ended explanations, responses with positive reflections praised students for their thoughtfulness,
intellect, and their desire to have open and honest discussions, even on controversial topics. One
respondent (#2150, faculty) noted they “had a fantastic class, multi-cultural, from all parts of the world,
different religions, and views. Classroom experience was still fantastic.” Respondents felt that they benefit
from a sense of community on campus centered around a desire to learn together, with one respondent
(#1141, student) noting “In-person interactions with students is the heart of the on-campus connection.
These interactions provide a sense of belonging and creative interaction that are essential to higher

631 "The omitted category for each factor consists of those that answered “not substantial/no opinion” for each factor or did not
answer the questions. 0.4% of respondents did not answer the questions.

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education.” Most students, respondents said, understand that difficult political and social issues are
complex and nuanced.

Respondents with negative evaluations found students to be easily offended when confronted with
opinions they disagree with. One respondent (#1320, faculty) summarized this as “Students do not give
others grace for differing opinions, and easily dismiss others in the course of class discussions. If someone
misspeaks and then tries to course-correct, there is no forgiveness.” Interactions with students in classes,
some respondents noted, tend to be superficial and not lead to durable friendships and relationships. Some
students are seen as struggling when discussing sensitive issues. Some respondents also have experienced
directly either discrimination, bias, or teasing based on attributes such as their race or their political views.

(2) In-person interactions with Harvard students in non-academic settings (e.g. extracurricular
activity, event, or social gathering)

41.2% rated a positive factor; 9.9% rated a negative factor.

Respondents expressed genuine excitement for the opportunity to learn from students from a diversity of
backgrounds. Students are interested in what others think. One respondent (#324, staff) called students
“thoughtful, curious, and wise.” Another respondent explained that outside academic settings, students are
not always discussing current events; they bond over shared interests like sports and entertainment.

Respondents who feel that student interactions in non-academic settings have been negative pointed to
several contributing factors. One is that some students do not seem interested in exploring difficult issues
with nuance, but rather want to be provocative or dominate conversations with their views. Another is that
there is special difficulty in talking about sensitive issues such as race and gender without fear of
retribution, with one respondent (#269, staff) saying they had “very intense social conversations in which it
was made clear that if you didn’t agree, you would be verbally attacked and criticized behind your back.” A
third is that students largely do not want to have deep conversations about issues.

(3) Online interactions with Harvard students
21.8% rated a positive factor; 14.1% rated a negative factor.

Respondents who found online interactions with students to be positive mostly articulated similar themes
to those about in-person interactions. Namely, they find students online to be open, empathetic,
thoughtful, and inquisitive. Respondents also reflected on the benefits of diversity of perspectives in online
interactions. Much online interaction is not political at all. As one respondent (#152, faculty) said, their
“online interactions with Harvard students have been very similar to this year as in prior years” adding that
“political discussions basically never arise for me — we are scientists and stay focused on that.”

Those with negative evaluations pointed to the intolerance they witness online. One respondent (#1075,
student) suggested an increase among students in “racism, Islamophobia, and colonial mentalities.”
Another (#1111, NA) noted that they “hate that Sidechat and other University socials exist because they
perpetuate radical views, student conflict, etc.” A third respondent (#998, faculty) found online student
behavior to be lacking nuance: “I have been very disappointed by the level of vitriol, ignorance, and binary
thinking in these posts.”

(4) In-person or online interactions with Harvard faculty
44.1% rated a positive factor; 13.6% rated a negative factor.

Respondents with positive insights about their interactions with Harvard faculty pointed to the supportive,
thoughtful environments created by faculty, with one respondent (#278, faculty) noting “I saw colleagues
engaging current events in unprecedented ways, reading deeply and broadly and wanting to discuss
academic works on the topic”. Most respondents feel energized by the professionalism and research-
orientation of faculty, but typically avoid politics-related conversation, with one respondent (#152, faculty)

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explaining: “Interactions have been very similar to in prior years (which is to say, positive), but it’s
important to note that political topics rarely (if ever) arise.”

On the negative side, respondents find that discussions with faculty members are superficial because there
is a general avoidance of sensitive subjects. Respondents also find that interactions can be difficult due to
underlying power dynamics between faculty and students or because of a lack of diversity among faculty
with respect to race and gender. One respondent (#1712, faculty) succinctly said, “They have power to
decide my future. I am very careful how I present myself”.

(5) In-person or online interactions with Harvard administration/staff
41.0% rated a positive factor; 21.1% rated a negative factor.

Respondents with positive interactions with administration and staff describe staff as helpful, collegial, and
effective. One respondent praised technology, maintenance, and library staff. Another respondent (#395,
staff) specifically praised staff for helping the University work through conflicts in a constructive way —
“My interactions with administration and staff have all focused on finding a way through these problems
and protecting students”.

Respondents with negative interactions did not think staff and administration performed well in dealing
with campus conflicts. Multiple respondents felt that staff-members approach difficult issues with
increasingly inflexible, top-down methods, with one (#1788, student) explaining “Top-down policies
around discipline, and restrictions on what they can say through public emails, made it difficult to have any
good interactions”.

(6) On campus media coverage (print/social)
16.0% rated a positive factor; 39.2% rated a negative factor.

Respondents with positive experiences with on-campus media praised campus publications for platforming
a more diverse set of perspectives than off-campus publications. Respondents found on-campus media to
be entertaining, informative, and leading to dialogue. One respondent (#277, faculty) noted “I found
opinion pieces on both sides, some agreeable, some disagreeable; this is as it should be.”

Those with negative experiences find that the on-campus publications, like mainstream publications,
prioritize negative stories and casting blame, presenting a skewed view of Harvard. One respondent
(#1520, staff) explained “T felt a lot of the media coverage was negative and did not provide for a full
picture of what was happening across the University.” Respondents find this approach is not constructive
and does not help build a sense of community.

(7) Harvard University and School policies
17.5% rated a positive factor; 47.8% rated a negative factor.

Respondents with positive reviews of Harvard polices reported that policies succeed in being inclusive,
thoughtful, and balanced. As one respondent (#853, staff) said, “I felt like policies tried to balance different

views as best as possible.”

Respondents with negative reviews had a wide variety of themes. One theme is that policies are made
reactively rather than proactively, which undermines the goal of the University having a principled
approach to campus issues. One respondent (#979, staff) explained this as follows: “The School policies
have not felt clear and have seemed to change with the times rather than policies intended for the best
academic honest approach”. Another theme is that policies have failed to get the balance right between
free expression and creating an inclusive environment. A third theme is that rules are vague, and
enforcement of rules is inconsistent, and so students do not have a clear sense of what behaviors will be
punished. Finally, respondents believe that University policies are politically biased. To some respondents,

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the political bias disfavors pro-Palestinian voices. To others, the political bias disfavors conservative voices
on issues such as race (e.g., diversity statements) and gender (e.g., use of pronouns).

(8) External actors’ presence/influence on campus life and climate
4.7% rated a positive factor; 63.6% rated a negative factor.

Respondents who had positive reports about external actors pointed to several themes. Due to Harvard’s
standing, it is inevitable that outsiders will take interest in what happens on campus. One respondent
(#1487, student) argued that this was good, explaining that “External actors, including speakers and
commentators, help connect the campus to the real world and larger community in which we will serve.”
Outside actors can also be helpful in pointing out problems on campus. One respondent mentioned that
outside actors helped to call out antisemitism on campus.

Respondents who had negative reports about outside actors point to the undue influence of certain actors,
such as donors, on the University administration, which comes at the expense of the administration
listening to on-campus stakeholders. Other respondents felt that outside interests have goals (such as
advocating for a political position) that are at odds with the goals of the University (such as research and
learning) — one respondent (#34, student) noted “I have gotten the sense that external actors often
operate solely with their own interests in mind and without respect for our mission as academics.”

(9) In-person or online interactions with individuals not affiliated with Harvard
9.5% rated a positive factor; 34.9% rated a negative factor.

Those who describe positive interactions with individuals not associated with Harvard reported a general
satisfaction with discussions with friends. Some specifically felt they benefited from talking about some of
the University-related conflicts with friends not affiliated with Harvard, with one respondent (#1983,
faculty) explaining “I have found outsiders I talk to open, respectful and interested in learning more. While
people have had, not infrequently, strong views on Harvard and how it has presented in the public forum
over the last year; no one has given me trouble but instead they have been interested to hear what my
experience and thoughts are”. Another respondent (#1957, faculty) found that interactions with those
outside Harvard helped pushed Harvard toward prioritizing “diversity of thought.”

Respondents with negative interactions with individuals outside of Harvard point to the spillover between
campus conflicts and those not affiliated with Harvard. Respondents received negative feedback about
Harvard from outsiders, which affected their ability to do their work. They saw negative messaging about
Harvard on social media. One respondent (#1731, staff) felt a lower sense of morale due to the tarnished
reputation of Harvard in their community: “My community has been largely negative about the institution
and so that has been tough to my sense of pride in my work.”

(10) Off campus media coverage (print/social)
4.8% rated a positive factor; 66.0% rated a negative factor.

Respondents who pointed to positive attributes of media coverage expressed that most news about
Harvard is positive and draws attention to work being done on campus. When it comes to media coverage
of campus conflicts, some respondents felt that the outside coverage shined light on real problems on
campus, such as a lack of viewpoint diversity. Finally, one respondent (#859, faculty) said outside media
coverage was “good and useful to see how the events at Harvard compare with events at other universities.”

Respondents who felt that off-campus media coverage was negative said that the stories reported about
Harvard were negative, conflict-driven, biased, sensationalist, and not fully truthful. One respondent
(#386, NA) explained “News and social media coverage has been highly skewed and, due to the nature of
these medias, help worsen tensions. Headlines are simplistic, social media posts are short and snappy,
neither provide nuanced coverage nor do they encourage nuanced and thoughtful engagement.”

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(11) Global situation/ events
4.0% rated a positive factor; 72.6% rated a negative factor.

Respondents who viewed global events as having a positive effect on them fell into two camps. Some
respondents felt hopeful about the prospects of change in the world, a sense of connection to the world
outside Harvard, and, as one respondent (#1248, fellow) put it, a feeling of “solidarity in the actions of
others around the world.” Another camp identified world events as catalyzing introspection and change on
campus. As one respondent (#1722, faculty) put it, “Global events have provoked thoughts for everyone in
terms of the role and appropriate behavior for both institutions and individuals.”

Those who viewed global events negatively tie events, namely the war in Israel and Gaza, to campus
conflicts. The war and the reactions to the war have been both polarizing on campus and constant topic of
discourse. Some found the discourse around the war to be uncivil and lacking in nuance. Others viewed
global events negatively not because of the effects on campus but rather because the “suffering and brutality
in Israel and Palestine” (respondent #1747, staff) affected them emotionally. One respondent (#331,
student) wrote they felt “overwhelmed and powerless in the face of enormous injustice.”

(12) Other factors:
3.5% rated a positive factor; 37.8% rated a negative factor.

The positive additional factors primarily surfaced themes that were already reviewed above. Respondents
felt positive about an environment conducive to open inquiry and a setting in which students can develop
as people and express themselves. On the negative side, respondents emphasized the mood on campus is
not good, with community members feeling isolated, feeling required to conform to viewpoints, and
feeling that they have witnessed hateful behavior on campus.

IV. Heterogeneity by Affiliation, Religion, and Race

We now revisit the analysis in the previous section but focus on whether and how this varies across
different demographic groups. We focus this section on dimensions where we find the most meaningful
differences by subgroup, particularly as they relate to campus issues brought on by the events in the Middle
East. We report on the other demographic groups (age, gender, nationality, political ideology, School, and
sexual orientation), in the appendix. We do encourage readers to look at analyses of other subgroups,
where there are meaningful differences as well. For instance, a common theme in some open-ended
comments relates to a lack of ideological diversity and conservatives feeling stifled. Figure A4d shows
meaningful differences between liberals and conservatives in their ability to express themselves.

We should caution that while comparisons within a demographic category — say between students and
faculty — are interesting, they need to be interpreted carefully. As is standard in survey work, interpreting
these differences as arising due to differential biases experienced by these groups assumes that the groups
themselves did not differentially select to participate in the survey based on their experiences of bias. For
example, if we find that student respondents report worse outcomes than faculty respondents, to ensure
that this result would hold for the average student compared to the average faculty requires that a student
with a given level of bias experienced is as likely to participate in the survey as a faculty member with a
comparable bias experienced. While plausible, without being able to test for this explicitly, we need to be
cautious in interpretating the results. As an additional reminder, when a finding references a respondent’s
affiliation, that finding only encompasses those who chose to respond to this survey and also chose to
identify their religion, ethnicity, or other demographic characteristics in the survey.

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A. Heterogeneity by Harvard Affiliation

The results below present our previous findings separately by the Harvard affiliation of the respondent.
The general result here is that student respondents (undergraduate students and graduates/fellows) tend to
report more negative responses as compared to faculty and staff respondents (note: for the sake of brevity

we will not always add the word “respondents” after each demographic category).

SAFETY, BELONGING, COMFORT, AND FREE EXPRESSION

For all measures reflecting on a sense of belonging, undergraduate and graduate students report worse
outcomes. For the sake of completeness, we report results also for respondents who chose not to report
their Harvard affiliation. These also tend to report worse outcomes, perhaps unsurprising, since their
unwillingness to report their status may itself reflect their sense of belonging and well-being.

One in five (19%) undergraduate students report feeling physically unsafe on campus, and even for
graduate students this number is quite high at 17%. Close to 40% of undergraduate and graduate students
do not feel their well-being is supported at Harvard or that they are comfortable socializing with others on
campus who have differing views.

Figure 4: Safety and Belonging by Affiliation — All Respondents

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Recall from the previous section that results related to free expression contained more negative evaluations
than the ones regarding safety and belonging. Here, too, undergraduate and graduate students/fellows
report more negative evaluations than others at Harvard. For instance, 72% of our undergraduate students
and 70% of graduate students and fellows said that there is an academic and professional penalty for
expressing their political views. The majority of faculty agree with this as well (53%).

Interestingly, the one area where the difference between students and faculty/staff is less stark is
comfort around expressing one’s religious beliefs and ethnic identity. On this item, undergraduate
student and faculty are similarly uncomfortable (31% and 32%) while graduate students and fellows
are the most uncomfortable (41%).

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Figure 5: Freedom of Expression by Affiliation — All Respondents

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In examining the qualitative data, students talk about a range of issues. One student noted, “I have
repeatedly felt physically unsafe on campus.” (#649, student). Another student worries that “Having seen
how Harvard has sanctioned or threatened student protestors, I no longer feel like the University has our
safety at heart, nor that it does its utmost to defend academic freedom” (#876, student).

And while not everyone has expressed discrimination, students note the difficult situations others face
because of their identity. As one student comments “I have not personally experienced discrimination of
this sort because I fall into the majority view at my School — anti-genocide, anti-Hamas, anti-Netanyahu.
I am not Jewish or Muslim, nor have I been active in the protests. However, I have had conversations with
groups of my peers about taking a more active role. These conversations always acknowledge the real risks
of doing so. We don’t consider these to be safety risks; instead, we see how students like those at
Columbia have been treated, and how our University president was forced out, and we recognize the
possibility of social (and professional) censor that could derail our careers”. (#487, student)

CONTRIBUTING FACTORS

The general pattern we had noted earlier was that for most factors internal to Harvard (except campus
media and Harvard policies), more respondents reported them as positive. On the other hand, factors
external to Harvard were widely seen as negative. As seen in the figures below, this pattern generally holds
for the different Harvard affiliates. However, there are some nuances that we highlight below, again
showcasing the more negative experiences for students. Students tend to report more negative and
somewhat less positive roles of internal factors compared to faculty and staff. The starkest example of this
is perhaps online interactions with students, which undergraduate students rate as more negative than
positive (43% say it is negative while 14% say it is positive) and graduate students noting them somewhat
similarly positive and negative (23% say it is negative while 19% say it is positive). In contrast to internal
factors, we find less heterogeneity across Harvard affiliates with regards to factors external to Havard — all
find them more negative than positive.

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Figure 6: Contributing Factors by Affiliation — All Respondents

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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

Students generally talk positively about their interactions with other students. One notes that “Working
with other students is half the reason why I am here. This contributes to my sense of belonging” (#744,
student). Another says that “engaging with other students in academic settings has made me feel like I can
agree to disagree more, and I like learning why people think the way they do in an academic context”
(#1426, student).

Students are also grateful that they have been supported by classmates. One noted that “I have had people
ask me how I am doing in class and offer assistance in terms of study groups” (#965, student). Yet another
respondent noted that “speaking with friends often proved to be the most fruitful way to discuss difficult
themes and events.” (#474, student)

But there is also a sense that students may be choosing carefully who to interact with. One student noted
that “(I) was able to surround myself with people who have similar interests and do things that distracted
from the political atmosphere on campus (or allowed me to talk about it in a safe space)” (#348, student).

But there are examples of negative student interactions, with one student noting that other students can be
“Incredibly unfriendly and unwelcoming” and that there is a “lack of accountability in students being
aggressive or offensive” (#845, student). Yet another student observes that they have had “very positive
interactions with open minded people on campus, but interactions with other students has felt
unproductive, and some students have acted provocatively, making me feel uncomfortable engaging in a
peaceful protest. These students have had a hateful agenda and been uninterested in dialogue or common
ground, just stoking anger and further disengagement across lines.” (#1165, student)

The University’s’ policies received negative feedback from students, but for different sets of reasons. One
student questioned: “Why were the protests allowed when they were in CLEAR violation of campus

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policies?” (#2048, student) Another remarked that “Banning protests is a ridiculous policy. Inventing rules
and secretively imposing academic sanctions to those who break them is unjust. The University has
worked overtime trying to chill free speech.” (#1871, student). Another student worried that “the
University seemed to selectively enforce its policies, and it often generated more controversy than it was
worth.” (#934, student)

Even more negative is the students’ views of external actors. One noted that “Outside agitators absolutely
influence campus vibes and security” (#2154, student) and another that “outside media and alumni made
Harvard too concerned about its reputation rather than its students” (#1412, student). Student
respondents were quite attentive to external actors engaging in “doxxing.” A student noted: “The doxxing
trucks were an awful addition to the school campus this year, and did much harm to the student
community, especially Muslim students. IT discouraged free speech and punished specific people for their
political opinions. Furthermore, Harvard’s inaction towards this harassment only exacerbated the situation
and demonstrated Harvard’s lack of care for its brown students.” (#474, student) Another (#844, student)
said that “I have seen many people attempt to photograph or record students, and it makes me feel less safe
walking on campus, especially on the main campus.”

Students noted that external individuals and media attention has been especially harmful. One student
observed that “he amount of random protesters who come onto the school to yell at passerby students
makes me feel uncomfortable when I’m walking to class” (#1070, student) Another wrote that it has been
“incredibly stressful to have prominent figures constantly weighing in on Harvard and adding tension to
difficult times on campus.” (#1086, student) These concerns are well summarized by a student who
remarks that “Politicians, journalists, donors, etc., all writing or talking about how terrible and violent the
community at Harvard has become. This has been extremely divisive, both directly for the community,
and in the way it has brought further negative media attention to us.” (180, student)

B. Heterogeneity by Religion

We now examine whether there are differences in experiences across individuals’ self-declared religious
identities. We combine some categories for ease of presentation. There is a nontrivial fraction of
individuals who did not declare their religious identity and we separately report outcomes for them as well.
The general result across all these questions is Muslims tend to report the worst outcomes, followed by
Jews as well as those who chose not to report their religious affiliation.

SAFETY, BELONGING, COMFORT, AND FREE EXPRESSION

As seen in the figure below across all measures of safety and belonging we see Muslim community
members report the most negative outcomes followed by Jewish community members. A common pattern
seems to be Muslim respondents are four times as likely, and Jewish respondents twice as likely, to report
negative sentiment compared to Christians and Atheists/Agnostic/No Religious Affiliation. The starkest
comparison perhaps is physically safety where 47% of Muslim respondents report they are not physically
safe on campus and 15% of Jewish respondents also feel physically unsafe relative to 6% for Christians and
Atheists/Agnostic/No Religious Affiliation. The item with the highest rate of negative evaluations is the
one asking if respondents feel comfortable socializing on campus with people with conflicting political
views: 61% of Muslim respondents, 36% of Jewish respondents, 27% of Atheist/Agnostic/No Religious
Affiliation respondents, and 18% of Christian respondents said they are not comfortable doing so.

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Figure 7: Safety and Belonging by Religion — All Respondents

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Given our previous results that students tend to report worse outcomes, we felt it was instructive to show the
religious heterogeneity for students (undergraduate student and graduates/fellows) only to see if the patterns
change. Among student respondents, Muslims have the most negative evaluations followed by Jews though
the ratios are somewhat less stark. Jewish students are roughly twice as likely as Christian students to report
negative evaluations, while Muslim students are around 3 times more likely to do so as Christian students.

Figure 8: Safety and Belonging by Religion — Only Students

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Muslim and Jewish respondents offered many details about their sense of safety and belonging on campus.
Beginning with Muslim respondents, several commented about the discrimination they face even though
they take no political positions. Respondents encountered hostility if they present as Muslim, wear a hijab,
or have a Muslim surname. One wrote (#89, student), “My peers who have lost their jobs simply for being
in the leadership of Muslim faith organizations have been left out to dry once they had their offers
revoked. Most of them never signed anything or participated in any activism.” Another (#649, student)
wrote, “Between October and December at the peak of the tension, I took Ubers at night to go from
campus to home and would not use public transportation or walk at night alone for fear of my safety due
to my Arab-looking and Muslim identity.” Another (#1486, student): “As a Muslim woman who wears
hijab, I have faced violent verbal and mental abuse across campus. I have been spat on, yelled at, and
harassed in multiple places on campus.”

For Muslim respondents who expressed solidarity with Palestinians, they found it was difficult to figure
out how to express their political views without being accused of antisemitism. As one respondent (#38,
staff) put it, “I avoid bringing up support for Palestine with anyone I don’t know well as I'm worried about
being labeled antisemitic. I fear this would negatively impact my career/promotion opportunities.”
Another (#162, student): “I often self-censor in fear that my opinion be misinterpreted or misunderstood
and that I would be labeled antisemitic.” Another (#505, student): “My hesitancy to speak up about my
political beliefs lies in the fact that I feel as if being pro-Palestinian is automatically viewed as being
antisemitic. For example, wearing a kefiyyeh, an indicator of Palestinian solidarity, may be considered
antisemitic simply because of its affiliation with the pro-Palestinian cause. As a result, I do not and never
plan to wear a kefiyyeh on campus. The ambiguity between what is considered antisemitic and what is
considered rightfully pro-Palestine is what frustrates me most of all.” Another (#1003, staff): “I don’t wear
the keffiyeh because I feel like I will be targeted. I already wear a hijab and have faced verbal abuse just
because of that before. The definition of ‘antisemitism’ has been stretched beyond belief (to people who
simply want a ceasefire) and that is detrimental to Jewish people who are actually facing antisemitism.”

Finally, some respondents felt that the chasm between sides in this conflict were too deep to allow for civic
discourse. As one student (#901, student) wrote, “Why would I ever feel a sense of belonging here? I
would rather be dead in Gaza than feel comfortable conversing with the people who defend a genocide
that has murdered 10 of my family friends.”

Muslim respondents noted multiple forms of racism they experience. One (#1863, student) said “There
are, of course, the everyday instances of racism—a professor questioning my English (my native language!)
in a way they would never question that of a White student, a lecturer playing an unprompted guessing
game as to my family’s country of origin, a student dismissively attributing my opinion to my religion in a
seminar, an administrator telling us to be “grateful” when we challenged the bestowal of a University award
upon an apologist for genocide, a fellowship interviewer indicating that my interests were too informed by
my Muslimness and asking me what I would study if I weren’t Muslim, an administrator calling the henna
design from my culture ugly, my research constantly being mischaracterized by my department and beyond
because work on Arabs and Muslims can’t possibly be considered “theory,” a Crimson reporter incorrectly
reporting on an event I held and thus landing it (with my name and photo) on a right-wing website, my
first-year adviser (who was also a senior administrator) recurringly confusing me with another female
Muslim student three years my senior. Examples like these are endless.”

Several Muslim respondents recognize antisemitism is real but is not zero sum with Islamophobia. As one
wrote (#1210, student), “While I acknowledge Antisemitism is indeed an issue, this attitude should not
project into believing that Islamophobia is lesser of an issue.”

Among Jewish respondents, several themes emerged in the open-ended responses. The first is that a number
of Jewish students felt targeted based on their Jewish identity. As one wrote (#361, student): “Tve never

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experienced antisemitism as profound and pervasive as it has been at Harvard. I left campus before the end of
the semester to move back home due to the detrimental effects on my productivity and well-being. I’ve been
stalked across Harvard Yard by students whose faces were completely covered by keffiyehs, P've been
screamed at while attending outdoor, on campus events held by Harvard Chabad, and have encountered
more swastikas and classic antisemitic canards than I did growing up in the Bible Belt.” Another (#1251,
fellow): “I hesitate to wear any visible symbols of my Jewish faith or to express support for Israel, due to
potential negative reactions, or being perceived as wanting to inflame tensions.” Another (#997, student): “I
was in a class and had said that I spoke Hebrew. Right afterwards, someone pretended to stretch in order to
punch me in the face. Although the professor saw it, she said nothing to the student. I also do not feel
comfortable expressing my views even in the field that I study for fear that I will not receive funding or good
letters of recommendation. I do not feel physically or intellectually safe at Harvard.”

Jewish respondents reported that they pay social penalties for expressing support for Israel. As one said
(#286, student): “As a Jewish student, I have been told that certain people (particularly the ones in the
encampments) hate me for being pro-Israel. I have lost friendships because of it as well.” Another (#118,
student): “When I walk around campus, I do not fear for my physical safety. But I feel socially isolated. At
times, I tried to have conversations with students whom I knew had different views, but this often did not
go well. Even though I have not engaged in any counter-protests (or said anything publicly about the
conflict), the students at the encampment refused to speak to me because, as one said, “I’m a Palestinian-
hating Zionist.” Maybe it was the fact that I wear a kippah that led them to believe that?” Another (#1273,
staff): “I cannot express my opinions (two state solution and peace) as I know I would face backlash
professionally and socially. It is almost like Jews have to pass a purity test to be ‘a good jew’ in order to be
accepted.” Another (#82, student): “I have felt totally alienated and alone on campus- anyone who was
friendly to me before October 7th has gone to at best, ignoring me, or at worst saying awful comments to
me about how ‘no Israeli is a civilian including babies who will grow up to be in the IDF’ and that they
want to scare all Zionists away from Harvard.” Another (#1224, student): “The ‘cancel’ culture rules this
campus. If you are not progressive, you should know that expressing your opinion == someone will cancel
you and some doors will be closed for you, etc.”

On measures of free expression (Figure 9), we see Muslim community members report the most
disagreement with the items followed by Jewish community members. A common pattern seems to be
Jewish members are twice as likely to disagree with the survey items compared to Christians and
Atheists/Agnostic/No Religious Affiliation, while Muslim members are one-and-a-half more likely to
report negative outcomes than Jewish members. Almost all (92%) of Muslim respondents, 61% of Jewish,
55% of Atheist/Agnostic/No Religious Affiliation, and 51% of Christian respondents say there is an
academic or professional penalty for expressing political views. Another stark comparison is experiencing
discrimination based on one’s views: 71% of Muslim respondents report they experienced discrimination,
bias, or negative stereotyping along with 40% of Jewish respondents and 21% of Christians and
Atheists/Agnostic/No Religious Affiliation respondents.

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Figure 9: Freedom of Expression by Religion — All Respondents

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As before, we also show the above results restricted to students and see the same patterns as previously —
the ordering remains the same though the ratio of differences is reduced. For example, around two-thirds
of students regardless of religious affiliation perceive academic and professional penalties from expressing
their political views, though here too Muslim students are more likely to offer negative evaluations (96%
negative).

Figure 10: Freedom of Expression by Religion — Only Students

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Muslim respondents also reported they paid penalties for expressing support for Palestinians. One
respondent said that a potential donor for a research project decided not to support the research after
learning that the respondent signed a letter supportive of a ceasefire. Another wrote (#121, staff), “I have
felt that my professional relationship with the leader of my organization at Harvard has deteriorated after
she sensed my support for Palestinian freedom. For example, this leader started leaving me off emails and
invites for teams that I have long been a part of.”

Respondents who expressed support for the Palestinian cause felt harassed. For instance, one wrote (#412,
student), “I myself have heard slurs and insults such as ‘terrorist’, “baby-killer’, ‘towelhead’, and
“antisemite’ ... because of my decision to wear a keffiyeh and show my solidarity with a people
experiencing the worst crime known to humanity.” One respondent (#302, faculty) wrote about how they
were surveilled after being publicly supportive of Palestinians: “My boss has told me my colleagues are
complaining to him that my social media posts are offensive. ‘This is all because I am posting about
Palestine. HR has found my posts compliant but it hasn’t stopped them from surveilling me. My boss has
refused to tell me what exactly was offensive or offered to facilitate a conversation with those who have

been offended.”

Muslim respondents perceived double standards in how the University responded to events on campus. As
one wrote (#89, student), “If there were antisemitic trucks driving around campus and planes flying over
with antisemitic slogans, I cannot help but believe Harvard would have done more to stop it.” Another
student (#314, student): “An antisemitic cartoon gets a University wide email from a president but
doxxing, physical violence and a list of other crimes does not.” Another student (#1966, student): “I have
never before felt more disappointed and embarrassed to be a Harvard student. I find it appalling that
Harvard can show empathy to other groups of oppressed people but does not extend that same
responsibility to Palestinians.”

Several Jewish students felt uncomfortable around the pro-Palestine protests. As one explained (#861,
student), “For almost eight months Jews living in the Yard have been yelled at, or around them, things like
‘globalize intifada’. I experienced the second intifada in Israel, in which suicide bombers kept blowing up
in civilians centers, busses, coffee shops, night clubs — murdering over a thousand children, elderly, just
people. Having that chanted daily without any repercussion, recourse, or help from the University has been
a complete failure of the University to protect one of its smallest minority groups.”

A common refrain from Jewish respondents was that there was a lack of nuance on campus, and Jewish
students had difficulty taking a middle position on the conflict. One wrote (#383, student), “The abject
canceling, dehumanization, and unwillingness to even engage with anyone who even slightly questions
small aspects of the groupthink mentality has unfortunately characterized my final year at Harvard.”
Another (#570, student): “I am in my first year of grad school and I am afraid to meet new people
(including both students and faculty) because they may very well think I am a monster for being a Jew and
a Zionist (I believe that the State of Israel has a right to exist and is the homeland of the Jewish people. I
also believe there should be a Palestinian state).” Another (#1650, faculty): “I think that the polarization
has eliminated discussion of moderate liberal views on many issues — e.g., despite a two-state solution
being the only viable path, it is hard to bring up in the current climate.”

A number of Jewish respondents are supportive of Palestinian rights, anti-Zionist, and/or advocates of a
ceasefire in the region. These respondents felt uncomfortable and upset as well. As one said (#46, faculty),
“As a Jewish faculty member without the protections of tenure, I am afraid of publicly expressing my
support for a ceasefire or Palestinian human rights. I was afraid to be even seen walking near the
encampment lest someone doxx me and try to get me fired.” Another (#1014, student): “As an anti-
Zionist, pro-Palestinian Jewish student at Harvard, I have been targeted and harassed by Harvard students
and faculty for my political views. At the same time, my Jewish identity is totally ignored by the Zionist

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individuals telling me I am *pro-Hamas.’ If my Jewish identity is addressed, I have been told I am
antisemitic, not a real Jew, or a kapo.” Another (#486, student): “I am a Jewish student who holds pro-
Palestinian and anti-Zionist views. I do not feel unsafe at all as a Jewish student at Harvard, but I do feel
unsafe publicly demonstrating those political beliefs at Harvard although I think that my being Jewish
makes me more comfortable voicing those beliefs than if I wasn’t. However, I think that there is still a
considerable effort to target Jews who stand up for Palestine, and I think Harvard should take steps such as
recognizing Harvard Jews for Peace to protect us.”

When asked if the 2023-24 school year was worse than prior years, Muslim and Jewish respondents had
many reflections about the Israel/Hamas war and its effects on campus.

A student (#61, student) wrote, “Muslim students were almost constantly subjected to both internal and
external persecution regardless of whether or not they had actually said anything about the conflict, and
administration never provided support the way it has shown support for Jewish students.” Muslim
respondents specifically mentioned doxxing (i.e., publicizing names and faces of individual student activists
and leaders) as a source of their negative feelings on the year.

Jewish respondents perceive a double-standard against them as well. As one student (#2136, student)
wrote, “I lost faith that my classmates would treat me and my beliefs and opinions with respect. I felt
isolated and threatened by chants that protesters claimed were made with good intent. However, while we
broadly condemn microaggressions not for their intention but for their impact, we seem to not care at all
about the impact of the chants that echo around campus.”

Jewish respondents largely said the year was worse than prior because they feel unwelcome. As one wrote
(#95, student), “The barrage of antisemitic hate speech and protests outside of Harvard regulations (e.g.
encampment) is nonstop and unrelenting. I feel completely unwelcome and out of place at Harvard now.”
Another wrote (#361, student), “Literally have been stalked across Harvard Yard by protestors while
walking my dog, had “Heil Hitler” yelled at me twice while waiting for the M2, lost most of my non-
Jewish friends and acquaintances on campus after posting about antisemitism I’ve been experiencing
(nothing about Israel or politics). I've never felt less safe on a campus than I did this past year at Harvard.”

Jewish respondents who were supportive of pro-Palestine protests also voiced dismay about being vilified
for their views and the “consequences for standing up against genocide.”

CONTRIBUTING FACTORS

When examining factors that are contributing to the community’s experiences, we tend to see similar
patterns across the different religious groups as we saw previously. The few noteworthy effects may be that
Jewish community members (especially students — see the subsequent figure) find non-academic
interactions with students to be more negative than other religious groups, and Muslim respondents
(especially students) are less happy with faculty and staff interactions, on-campus media, Harvard polices
and several of the external factors.

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Figure 11: Contributing Factors by Religion — All Respondents

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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

The graph below presents the results but restricting to students only. The results mostly accentuate those
presented above. Student online interactions with other students is now factor that is more negative than

positive, especially for Muslim and Jewish students. For Jewish students, in-person non-academic

interactions with fellow students is viewed equally negatively as positively.

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Figure 12: Contributing Factors by Religion — Only Students

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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

When asked to describe the positive and negative factors that contribute to their sense of belonging at
Harvard, Muslim and Jewish respondents echoed similar themes as previously reported. With respect to
their experience with other students, Muslim students citing positive stories wrote responses like that they
“appreciated getting to know students by visiting encampments (#55, faculty)” and “Harvard students are,
as a whole, immensely capable of nuanced interactions and curiosity — in a structured environment, they
are willing to learn and discuss difficult ideas (#104, staff)”. One respondent wrote (#302, faculty),
“Working with students who have been bravely speaking up for justice in Palestine have been an
inspiration. I respect them. I learn from them. I appreciate them.” A student recounted a story of a
dialogue that happened at an event (#1511, faculty): “Even when I was at an event discussing the dismal
public health situation in the Occupied Palestinian territories and one of the other attendees called Arabs
animals unwilling to make peace, I approached them after class to refute those general claims. We ended
up having over an hour-long conversation and exchanged book recommendations and hugs.”

Some Jewish respondents had similar positive experiences with other students, writing notes such as, “I
have enjoyed lots of peaceful and productive academic discourse in my classes and sections (#349, student)”

and that they appreciated “students open to listening and providing different perspectives in a respectful
manner. (#1977, student)”

Muslim and Jewish respondents both also wrote about the negative experiences they have had with their
peers. Among Muslim respondents, we saw messages such as this (#302, faculty): “I have been dismissed
and silenced for speaking out about Palestine. Reactions from my peers have been shocking. Many have
stopped speaking to me. Some (not sure how many) have made complaints about me.” Another (#1028,
student): “Blatant racism was expressed by a small minority of students in my cohort, but massively soured

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my entire experience. I spent every Monday of the Fall dreading attending or speaking in class lest I be
doxxed by my classmate who sent us emails she received from reporters asking for the names and contact
information of Arab/Muslims students who were suspected to be pro-Palestine.” Another (#1614,
student): “In the days and weeks following October 7th, I noticed several Zionist classmates of mine
checking my LinkedIn profile, when they had never looked at it before. This was clearly, to me, an
attempt to dox me for any membership in organizations they deemed to be critical of Israel.”

For Jewish students, many them pointed to the toxic student environment they witnessed on the social
media platform, Sidechat. As one says (#30, student), “Have you seen sidechat? The amount of
antisemitism there is unlike anything I’ve seen before.” Another (#35, student): “Sidechat — people say
horrible things. Antisemitic, antizionist, just plain hurtful about other students.” Jewish students also
experienced negative interactions with fellow students in class. As one wrote (#1305, student), “Students in
my program make racist and discriminatory jokes about Jews and Christians. It is almost even worse
outside of the school environment.”

Some Muslim and Jewish students praised interactions with faculty for being kind and supportive. But others
had negative comments about faculty. Muslim students wrote responses such as this (#926, student):
“Certain members of Harvard faculty feel comfortable calling students ‘terrorist sympathizers’ and are then
somehow expected to maintain professional boundaries.” Another (#55, faculty): “It has been hard to interact
with faculty who are silent on the genocide and our complicity in it, or even worst, justify it.” Another
(#1146, student): “Harvard faculty have expressed outrageous and dangerous opinions that show clear anti-
Arab and anti-Muslim bias.” A Jewish respondent (#996, student) wrote that faculty contributed negatively
because they showed “no empathy for the effects of October 7th on Jewish students.” Another student noted
(#1800, student): “My comments in class are always judged through the lens of “the Israeli is speaking’. Also,
there have been many cases of anti-Israeli and anti-Jewish bigotry in classroom settings, mostly dismissed by
the Professors in a way that would never fly for any other minority group.

Respondents have more lopsidedly negative comments about the Harvard administration and its policies.
One Muslim respondent (#1467, student): “Harvard has abdicated any responsibility it has towards its
students to conservative donors who now get to even dictate who receives a Harvard degree and who does
not. There are no Harvard policies to protect Arab and Muslim students and other students of color.”
Another (#1749, faculty): “I am deeply disappointed in Harvard’s treatment of its students. I’m appalled
that the Board was able to interfere in the graduation of students who earned their degrees. I am not
annoyed, I am appalled.” Another (#121, staff): “I believe Harvard was creating rules and applying rules to

stifle the pro-Palestine voice on campus.”

Many of the negative comments about the administration and policies point to the influence of donors.
Said one respondent (#121, staff), “I believe the pressure of Harvard’s donors has reduced Harvard’s
academic freedom.” Another (#1003, staff): “I think Harvard as an institution has really distanced itself as
a rigorous, academic institution and has degraded itself in the eyes of the public. Personally, I will be
quitting. The environment on campus has just been so toxic and I can’t contribute to a university that
values money and Zionism over education and its own students.” Another (#1003, staff): “Big money
donors. The sway they have on administration is shocking.”

A Muslim student (#1486, student) pointed to double standards in enforcement of rules: “These policies
were not harshly enacted in previous protests like the Occupy movement, but all of a sudden when they
protest Israel the policies are used to crack down on Black and Brown students.”

A Jewish student (#95, student) thought double standards cut the other way: “Harvard policies are a joke
because they are enforced with a massive double standard. If protesters wore KKK regalia and chanted
slogans offensive to large numbers of Black students, I doubt they would have been allowed to camp out in

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Harvard yard for three weeks and escaped any disciplinary consequences.” Another Jewish student (#383,
student) wrote: “Hate speech apparently tolerated.”

The role of outside actors was a negative contribution for many Muslim and Jewish students. Here are a
couple of Muslim respondents: “Doxxing trucks! Airplane banners at Commencement! Zionist CEOs
shouldn't be calling for the resignation and expulsion of children and students (#982, staff).” Another:
“Doxxing, getting students fired, sending doxxing trucks to their homes, signed letter after signed letter
calling Muslim students pedophiles and child-be-headers, etc (#1028, student).”

On the matter of outside actors, Jewish students had similar responses to Muslim students. “People who
are not on campus and not actually experiencing what was happening presumed they knew what was
happening on campus and injected themselves into campus life in inappropriate and detrimental ways. It
made the environment on campus far worse (#742, student).” Another Jewish student: “The Zionists that
drove around trucks with images of students labeling them as antisemitic were horrible (#1076, student).”

Finally, and not surprisingly, the war in Israel and Gaza itself was a major source of pain for many Muslim
and Jewish respondents. As one Muslim respondent put it, “Forced famine. War crimes. Genocide.
International organizations and the world’s highest courts have been spoken. It’s a very dark time in
history. We are in a country and an institution that is not only denying these atrocities, we are actively
supporting them (#302, faculty).” Another: “T felt like weeping or did weep pretty much ever day the past 8
months on campus and my pain was never once acknowledged by my teachers, administrators, or
University leadership (#1614, student).” Another: “I don’t like my family being murdered, held hostage,
and then blamed for defending themselves (#30, student).”

A Jewish student noted that the pain is felt by everyone: “The ongoing war in Gaza is a disaster for all
parties involved. Seeing the suffering of Palestinian noncombatants and Israel’s existential security threats
makes me feel sad and helpless (#95, student).”

C. Heterogeneity by Race

We now examine whether there are differences in experiences across individuals’ self-declared racial
identities. We combine some categories for ease of presentation. The general result across all these
questions is MENA community members tend to report the most negative evaluations, followed by Black,
and then Asian and Hispanics, with Whites reporting the most positive evaluations.

SAFETY, BELONGING, COMFORT, AND FREE EXPRESSION

Across all the safety and belonging questions respondents who identify as Middle Eastern or North
African (MENA) reported the most negative outcomes — 52% of them feel they do not belong at
Harvard, 35% and 58% respectively do not feel physically and mentally safe on campus, 59% feel Harvard
does not support their well-being, and 55% do not feel comfortable socially with others who hold differing
views. MENA identifiers were almost twice as likely to offer negative evaluations as the next group
articulating negative experiences — Black or African American students. Hispanic and Asian community
members reported slightly more positive experiences than Black community members, and while mental
safety is a similar issue for Hispanics as it is for Asians (27% feel mentally unsafe versus 26% for Asians),
Asians reported their well-being is slightly less supported (34% versus 30% for Hispanics) and they are less
comfortable socializing with others with differing views (37%) than Blacks (33%) and Hispanics (31%).

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Figure 13: Safety and Belonging by Race — All Respondents

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The next figure restricts the responses only to student respondents, where negative evaluations are
especially common. Close to three-quarters of students who self-identify as MENA reported they do not
feel mentally safe on campus or feel their well-being is supported by Harvard. Black students are typically
the next group most likely to have negative experiences — especially in the case of physical safety (21% of
Black students report feeling physically unsafe versus 17% for Asian and 16% for Hispanic students). On
other items, such as those measuring comfort in socializing with those who hold differing views, Asian and
Hispanic students are more likely to respond negatively than Black students.

Figure 14: Safety and Belonging by Race — Only Students

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As the figure below shows, we again find the MENA community members reported the highest levels of
concerns in being able to express their opinions. About four-fifths of the MENA respondents reported not
being comfortable expressing their views, experiencing discrimination and facing professional and
academic penalties for expressing their political views. While Black community members are typically the
group next most likely to report negative experiences, in this case Asian and Hispanic community
members are also close, and even White respondents report fairly high levels of discomfort expressing their
views (25 to 40%), facing discrimination (21%), and facing academic or professional penalties (52%) when
they do so.

Figure 15: Freedom of Expression by Race — All Respondents

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Restricting to students (Figure 16) shows similar patterns with generally more negative evaluations on all
the questions. As one example — even for White respondents, close to two-thirds reported there is an
academic/professional penalty for expressing their political views; the corresponding number is 86% for

MENA students.

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Figure 16: Freedom of Expression by Race — Only Students

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We now explore the open-ended responses by race focusing first on MENA given it is a large outlier.
While there is overlap with our examination of religion — with a third of MENA respondents being
Muslim and a quarter being Jewish — a reasonable fraction includes Christian, atheist, and others. And
while the respondent numbers are not large enough to readily separate by national identity, the Israeli and
Palestinian experiences seem especially distinct.

A MENA student notes that “Harvard, like most if not all American universities, is a place where the
appearance of difference is tolerated, even welcome, but the reality of difference and the expression of
difference is not. Diversity is skin-deep here — diversity of color, appearance, and identity markers is
encouraged, but difference of opinion and worldview is suppressed in countless ways. This extends to all
realms of thought.” (#289, student) A faculty member noted that “As an Arab American who is
committed to human rights for everyone, I have isolated and ostracized in the workplace and been silenced
and threatened for speaking out.” (#302, faculty) Another MENA faculty member reported, “In general,
being Arab is hard — people just make a lot of assumptions about you, and you feel professional
repercussions. Harvard has never made this easier, and in fact, in the past tried to limit discourse about
being Arab or Palestinian. It feels like it has gotten worse this year.” (#49, faculty). A staff member notes
that “I fear sharing my Arab identity for fear of reprisal” (#1632, staff).

Jewish Israelis reported difficulty navigating campus tensions. As one said (#1174, student): “While I
respect other students’ privilege and right to make their voice heard and fully believe that Israel’s actions
deserve criticism, I have felt that a growing portion of the student body increasingly feels that the state
where my entire family has lived for generations does not deserve to exist, and that my very existence as an
Israeli Jew marks me in some way as morally in the wrong.” Another (#44, student): “I have had professors
who have found out that I’m Israeli (without even knowing my political beliefs themselves) treat me
completely differently in and out of class after they find out. One professor literally cut me off from
speaking in the middle of response I was giving in class and asked if anyone else wanted to speak instead of

me.” Another (#6, postdoc): “I’m Israeli and while I am appalled by the situation in Gaza, I support the

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existence of the State of Israel where my family and friends live. This has somehow become a controversial
opinion which I cannot state anywhere for the fear of being cancelled.”

This is echoed by the Palestinian experience as well. A student noted that “Harvard has made it quite clear
that as a Palestinian-American student, I am not welcome here. As someone who started at Harvard in
Fall 2023, the things I have experienced this past year will forever shape how I feel at Harvard.” The same
student goes on to note that “Because of the genocide of my people, my mental health has been terrible
this year, which has negatively affected my productivity. However, I am too scared to bring that up to my
advisers because I fear that I would face discrimination, rather than support.” (#1879, student)

One staff-person (#158, staff) wrote, “In most ways my work days chug along as usual, but there is a pit in
my stomach anytime anything having to do with the conflict comes up. What will people say? My team
knows I’m Palestinian — I feel all eyes are on me so I have to watch how I act and what I say.”

A MENA student (#389, student) perceived double standards that made the year worse, saying, “I feel the
University prioritized the concerns/feeling accepted of certain groups while dismissing other groups of

students, specifically Arab ones felt ignored.”

Black students also reported facing a lack of belonging. An undergraduate student notes that “I chose
Harvard because I felt safe and seen when I visited before I enrolled. My first semester, however, showed
me that the support only came from the students who looked like me, but to the larger community, we did
not really matter. (#327, student)” A Black graduate student remarked that “I have experienced negative
biases due to my views on current events and even due to my identity — there’s a sort of assumption that
solidarity with Gaza is equivalent to antisemitism, or that all Black women inherently carry some sort of
antisemitism” (#2253, student). ‘This is echoed by a Black staff member who noted that: “As a woman of
color, I don’t feel safe expressing my views, especially considering that President Gay was forced out not
because she was antisemitic, but because she was a Black woman.” (#169, staff). A Black faculty member
(#1270, faculty) noted that “While I feel like I belong within certain communities at Harvard, I do not feel
a strong sense of belonging to my School or a sense of shared identity with the Harvard administration.
Events since the October 7th attacks have contributed to the sense that I do not fully belong at Harvard.”
The same respondent goes on to note that, “I also question whether the University would offer any support
if politicians or other outside actors targeted me due to my work or scholarly positions. While I believe my
scholarly positions are independent of my ethnic and religious background, I fear that those factors would
also be held against me in this context.” (#1270, faculty).

CONTRIBUTING FACTORS

We now turn to contributing factors and here, despite the large differences in sense of belonging, safety
and ability to speak freely, we do not see large differences in the contributing factors across the different
racial groups. The salient difference is that MENA community members rated their online interactions
with students, faculty and staff, on campus media and Harvard’s policies less favorably than other groups.
The results for students are similar but just slightly more accentuated.

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Figure 17: Contributing Factors by Race — All Respondents

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The figure below now shows the responses restricting to students only.

® Substantially Positive © Substantially Negative

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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure 18: Contributing Factors by Race — Only Students

® Substantially Positive © Substantially Negative

White

Asian or Asian American

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Hispanic: or Latina/o/x

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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

D. Regression Analysis on Religion and Race Heterogeneity

Our previous two sections have shown the there is substantial heterogeneity of impact by religion and race.
Notably, Muslim and Jewish respondents as well as MENA respondents show the most negative
evaluations. Given that MENA identity overlaps with both Muslim and Jewish, there is a question as to
which dimension — race or religion — is more impactful in our results.

Table E1 in Appendix E shows the cross-tabulation of religion and race showing the extent of this overlap
in our sample. Notably, the largest two religious categories for MENA respondents are Muslim and
Jewish. Conversely, the two largest racial categories for Muslim respondents are MENA and Asian/Asian
American. Given there is some overlap, we run multi-variate regression analysis (Appendix C) where for
any of our given factors analyzed in the main body of our report (affiliation, religion, race) we show how
our results are affected once we also control for other demographic attributes analyzed in the appendix
(including gender, sexuality, political ideology, nationality).

Our results show that for the main outcomes our results are largely unaffected with the differences a given
group experiencing remaining the same even when we have controlled for a range of other demographic
attributes. This can be seen by comparing the odd number columns (results with no controls) with the
subsequent even number ones (results with controls). The only case where our results are affected is the
differential experience of Muslim and MENA respondents. While these two groups still show the most
negative evaluations (within the religion and race categories respectively) even after we introduce other
demographic controls, the magnitude of the differences for both are almost halved. Examining further, we
find that this is because both Muslims and MENA identity have somewhat additive effects. In other

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words, while non-MENA Muslim respondents report substantially negative evaluations, MENA Muslim
respondents report even worse (at times twice as much) evaluations. Analogously, while Non-Muslim
MENA respondents report large negative evaluations, Muslim MENA respondents have even larger
negative evaluations: it is the combination of an individual being both Muslim and MENA that leads to
the most negative evaluations. Tables C4a and C4b in the appendix show this further by simultaneously
controlling for race and religion. As we can see the largest two (negative) effects are on the Muslim and
MENA identities suggesting that both have distinct and separate impact. Moreover, for Tables C4a-b we
see that adding more demographic controls (the odd numbered columns) does not affect either the
coefficient on Muslim or MENA. This further confirms that our earlier results in Tables C2a-b and C3 a-
b where the Muslim and/or MENA coefficients were affected due to controls was primarily driven by the
overlap between Muslim and MENA categories.

While the data is somewhat limited to explore even finer sub-groups, we explore this further in Appendix
E where we focus on SIX categories (respondent counts given in parenthesis) where we combine religion
and race. Notably we separately present our results for the following respondents: (i) MENA Muslims
(38); (ii) MENA Jews (36); (iii) MENA Other Religions (51); (iv) Non-MENA Muslims (51); (v) Non-
MENA Jews (411); and (vi) non-MENA Other Religions (1710). We should caution though that some
of the respondent counts are small and there is likely non-differential distribution of these categories across
some of other demographic variables like Harvard affiliation etc. which is why we will also present
regression results controlling for these additional demographics as well. Regardless, given the small sample
sizes here, in comparing across race and religion categories, we draw suggestive inferences rather than firm
conclusions. This is an area that we feel is worth exploring further using additional and more purposely
collected data to study these adversely affected communities. That said, Figures E1 and E2 present now a
more nuanced picture showing that while MENA Muslims typically express the most negative sentiment,
the next most negative group is often MENA Jewish respondents, typically followed by Non-MENA
Muslims and MENA respondents who are neither Muslim nor Jewish. Table E3 and E4 show the
regression equivalent of these figures for the same six categories (the omitted category is non-MENA
Other Religions) and present similar findings highlighting the adverse experiences that those with both
MENA and Muslims/Jewish identities report. In the even numbered columns, we control for other
demographic changes and while most results are unaffected there is a slight increase in the negative
outcomes for non-MENA Jewish respondents likely because there is a higher fraction of faculty & staff
than students in this category and we know from our results before that students tend to report worse
outcomes than faculty and staff.

V. Respondents’ Suggested Recommendations

The survey asked respondents to suggest specific recommendations that would be responsive to the
concerns they may have raised in the questionnaire. We first used ChatGPT to help summarize themes in
the recommendations suggested by students, faculty, and staff.

Among students, one key theme is about divestment and disclosure. A number of students recommend
that the University divests financial interests in companies tied to Israel and/or to industries connected to
warfare. Along these lines, students also recommended the University disclose investments in these areas.

A second theme relates to the enforcement of rules. Students would like clarity on rules related to free
expression, and they would like for those rules to be enforced consistently in a content-neutral manner.

A third theme relates to claims about antisemitism, anti-Zionism, Islamophobia, anti-Arab bias and other
forms of prejudice. Some students would like more education about what these terms mean to the

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University. They also want the University to sanction those who behave prejudicially, and they want the
University to do so consistently across targeted communities.

A fourth theme is about transparency in University procedures. Students want more information about
how decisions are made, including disciplinary decisions and investment decisions. They'd like to know
how large donors influence decisions.

A final theme is about inclusiveness. For some, Harvard has failed to be inclusive by hiring “so many
antisemitic faculty members (#95, student)”. For others, Harvard has failed to be inclusive by tolerating
doxxing trucks. Still others feel that Harvard is not inclusive to pro-Palestine activists, who were treated
negatively compared to activists of other social movements. And others report that Harvard could be more
inclusive to religious students by offering more accommodations around their holiday observances.

Among faculty, the overall themes of recommendations were different. A core theme among faculty
respondents was that Harvard should do more to engage students (including graduate students) in
respectful dialogue, including on sensitive issues. Relatedly, faculty suggested more community-building
and trust-building efforts so that the University feels more like a cohesive community. Faculty also raised
several points related to ensuring the University is a place of free expression and not influenced by the
interests of donors.

For staff, the theme of community-building also came up. Respondents want to see community-members
spending more time together and more in dialogue. Staff also prioritized support for various
subcommunities, such as “community members of color, its LGBTQAI+ community members, its
community members with disabilities, etc (#83, staff).” Finally, staff members recommended both more
transparency in University policies and improved communication across the University.

In addition to the Al-based review of all recommendations, we also read through the recommendations of
Muslim and Jewish respondents. Among Muslim students, four key themes emerged.

One theme was around activism. Respondents recommend that students be given latitude to protest
without fear of punishment from the University. Respondents recommend the University apologizes to
students who were punished during the 2023-24 school year. Respondents call for the University to
protect students who have been doxxed and support community-members when they are subjected to
media attacks. Some ask for more security around Harvard Yard.

A second theme involves governance. Recommendations include divestment from Israel-related and
military-related firms and disclosure of such investments. Respondents also recommend reducing the
influence donors have on University policies and academic freedom. Some respondents want students to be
more involved in governance around discipline and financial investments.

A third theme relates to education and dialogue. Respondents call for more educational opportunities to
learn about the contemporary Middle East and specifically about “Palestine, Palestinian culture, and
Palestinian history. (#290, student)” Respondents also want more opportunities for dialogue between
Jewish and Palestinian community-members and more dialogue about the Israeli-Palestinian conflict.

A final theme from Muslim respondents is greater University support to the Muslim community.
Recommendations include support for community-members dealing with Islamophobia and support in
the form of programming around Ramadan.

Note that we also reviewed recommendation text for respondents by some racial categories, including
Black respondents and MENA respondents. Black respondents and MENA respondents who were
neither Jewish nor Muslim were largely overlapping with themes from Muslim students in terms of their
suggested recommendations.

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Among Jewish respondents, some recommendations were similar to those reported above and some were
different. Perhaps the most common theme among Jewish respondents relates to protest, free expression,
and discrimination. Respondents want Harvard to allow protests but to have clear and consistently applied
rules, including clear consequences for the violation of rules. Several respondents mentioned the need for
times, places, and manner rules so it is made clear that protests in venues such as classrooms and libraries
are prohibited.

Second, Jewish respondents recommend that Harvard arrives at clear definitions of what it considers
antisemitism. A number of respondents point to the lack of clarity on what amounts to antisemitism and a
lack of understanding in the Harvard community of how antisemitism connects to anti-Zionism.

Third, respondents recommend Harvard adjust its recruitment policies both for students and faculty. For
students, respondents recommend recruiting students more committed to learning and less to activism. For
faculty, respondents recommend efforts to counterbalance the perceived left-wing orientation of professors.
They recommend hiring more faculty who provide balanced perspectives and balanced course offerings.

Also, on the topic of education, respondents specifically recommend more course offerings related to Israel
and Judaism across Harvard Schools in which Middle East politics is discussed. Respondents also suggest a
research center that studies issues like antisemitism and anti-Arab prejudice together in a single center. On a
similar theme, respondents call for more dialogue across difference and more open discussion on campus.

Fourth, respondents offered suggestions for adding offerings for community-members to explore a greater
range of topics related to Jewish culture, languages, and religion. This includes the suggestion for creating
a space for Jewish anti-Zionist students on campus.

Finally, a large number of Jewish respondents endorsed institutional neutrality as a guiding principle for
the University. They also suggested reforming the University’s engagement with DEI initiatives and staff.
Many Jewish respondents feel that DEI offices are not able to satisfactorily engage with Jews as a minority
group. Some would like DEI offices improve their engagement with Jewish community-members. Others
would like to see DEI programs wound down.

In summarizing the above recommendations, we seek to emphasize that these recommendations have not
been endorsed by two task forces nor by the authors of this auxiliary report. They simply reflect viewpoints
of respondents to the survey.

VI. Conclusion

The results presented in the quantitative analysis shed light on the situation on Harvard’s campus in the
late Spring of 2024 as experienced by our students, staff, fellows and faculty. While they show sobering
results — especially in terms of being able to have free enquiry and open discussions, and the experience of
specific subgroups based on their religious and racial identities — they help by focusing on areas that can
help heal our community. They also stress the importance of regularly collecting and analyzing data that
take the pulse of how our community is feeling with respect to the educational, professional, and social
environment. The results also raise several areas where further examination is needed.

Our results show that freedom of expression is one area where the most negative outcomes are perceived,
especially for students. The latter is especially noteworthy to the extent we believe that students — who are
developing their skills and need breathing room to make mistakes — should be more at ease with self-
expression and not face academic, social, and professional risks from doing so.

Separate from the evidence on free expression, the responses from Muslim, Jewish, and MENA student
respondents are troubling. Over a half of Muslim student respondents, a quarter of Jewish student
respondents and a bit under a half of MENA student respondents do not feel physically safe on campus. A

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clear majority Muslim, Jewish and ME students reported that they are not comfortable expressing their
religious and ethnic identities on campus. On this measure, these groups appear very different from the
other religions and racial groups.

While the task forces independently will offer recommendations specific to the Jewish/Israeli and
Muslim/Arab/Palestinian communities, our primary recommendation in this document is a call for regular
and in-depth research into community members and their sense of safety and well-being, with a particular
focus on groups that appear to have a harder time expressing themselves and finding safety and comfort at
Harvard.

Appendices included in the Analysis Report from the
Joint Subcommittee on the Harvard-Wide Task Force Survey

APPENDIX A
A1. Heterogeneity by Age

SAFETY AND BELONGING
Figure A1a: Safety and Belonging by Age — All Respondents

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Figure A1b: Safety and Belonging by Age — Only Students

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FREEDOM OF EXPRESSION
Figure Alc: Freedom of Expression by Age — All Respondents

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Figure Ald: Freedom of Expression by Age — Only Students

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CONTRIBUTING FACTORS
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure A1f: Contributing Factors by Age — Only Students

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® Substantially Positive © Substantially Negative

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Students, academic Students, non-academic Studenis, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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A2. Heterogeneity by Gender

SAFETY AND BELONGING

Figure A2a: Safety and Belonging by Gender — All Respondents

All Respondents

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Nether Agree nor Disagese

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Percent Disagree ~ Percent Slightly disegres, Disagres “or ‘Strongly disagree.

Figure A2b: Safety and Belonging by Gender — Only Students

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1% strongly Disagree Sighily Disagree
Neither Agree nor Disagre

i feel ike | belong at Harvard | feel physically safe on campus | feel mentally sale on campus

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Male 2% Ne 14% 22% oy
Other PR OR 45%, ABM OK

Not Avaitenle 2% ae Ba Aes 88k
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against my sense of identityinationality

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Male 80% wR
Other oe at,

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FREEDOM OF EXPRESSION

Figure A2c: Freedom of Expression by Gender — All Respondents

All Respondents
| Slightly Agree (7) Strongly Agree
Neither Agree nor Disagree: Agres:

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[7 Strongly Disagres | Stightly Disagree

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[eel comlartable expressing my political
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Male ios are 28% GH AS a
Other wm 0% SE 8% we 98
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stereotyping, of negative blases on campus 8G oademic and/or professional penalty or
due to my views regarding current events expressing one's poliloal vinws.
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Figure A2d: Freedom of Expression by Gender — Only Students

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bellels andiw ethnic affilabon arcund

[7 Svongly Disagras Slightly Disagree

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others af Harvard ‘campus opinions and/or beliefs around campus
Female BY 36% ax, AY, 81% BR
Male EG AY, 2% 2, Ba BAY
Other A A 1a 2%, ak aah
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lhave NOT experienced any discrimination, in my experiance af Harvard, | feel there is
stereolyping, or negative Gases on campus no academic ane/or professional penalty for
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Female BHM 1 1% 19%
Male 48% 58% BOS 24%
Other AP a0, 70% 18%
Not Available 48% 83% BG 1%

Note:

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Parcent Dasagros = Percent Sighty gisagrea” Disagree, or Gtrongly disagree.

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CONTRIBUTING FACTORS

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Figure A2e: Contributing Factors by Gender — All Respondents

® Substantially Positive © Substantially Negative

Students, academic Students, non-academic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure A2f: Contributing Factors by Gender — Only Students

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Students, academic Students, non-acadernic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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A3. Heterogeneity by US/Non-US

SAFETY AND BELONGING

Figure A3a: Safety and Belonging by US/Non-US — All Respondents

All Respondents
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Not Available: AO% 18% AI%
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° .
Figure A3b: Safety and Belonging by US/Non-US — Students Only
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Non-US 30% a% 34% es
Not Avaliable Bit BE% 2% 8EP%

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may be in confiletwith mine andior go
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US 38%,

42% BE

Non-US Me

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nt Dasgiee = Penpend Slightly disagree, Disagres, or “Stangly daagree,

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FREEDOM OF EXPRESSION

Figure A3c: Freedom of Expression by US/Non-US — All Respondents

All Respondents .
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belles and/or elie affiition around

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otvers af Harvard

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opinions and/or bellels around campus:

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Non-US BOK 34% AR ASG 4%, B%
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(have NOT experienced any discrimination, in my expesenos at Harvard, | feel there is
stereotyping, oF negative blases on campus ng avadentic and/ar professional penalty for
dus to my Views regarding current events expressing one’s political views
US 26% 81% a 2
Non-US 41% ARs 37% BS
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Figure A3d: Freedom of Expression by US/Non-US — Only Students
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Sonus 87% 28% 48% 70% 28%
NotAvaillabie = 1% 2a a8% ‘ta% AP
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sterenlyping, oF negative biases on campus. no academic and/or professional penalty for
due to my views regarding current events expressing one's noltical views
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Non-US ses a8 18%
Not Available Be. ame 47%

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CONTRIBUTING FACTORS

Figure A3e: Contributing Factors by US/Non-US — All Respondents

@ Substantially Positive © Substantially Negative

Students, academic

Students, non-academic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure A3f: Contributing Factors by US/Non-US — Only Students

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Students, academic Students, non-academic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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AA. Heterogeneity by Ideology

SAFETY AND BELONGING

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Figure A4a: Safety and Belonging by Ideology — All Respondents

All Respondents.

Hee! like | belong at Harvard

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Libera 18%
Slightly boere} 99%
Moderate 18%,
Conservative 2h
Other BH

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Tfeal my well-being is supported at Harvard

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Moderate
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| Sightly Disagree
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with geople on campus whose political vews:
spay be in conflict with ming: and/or go
againel my sense of identitynatonaity

Slightly Agree & Strongly Agree.

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3%

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} feet mentally sale on campus

Figure A4b: Safety and Belonging by Ideology — Only Students

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Liberat 2%
Slightly liberal as
Moderate. 24%
Consaivative 26%
Other 4,

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| feel my well-being is supported at Harvard

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Slightly liberal
Moderate
Consaneative
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Not Available

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& strongly Disagree

28%

| Slightly Dieagree || Sightly Agree & Strongly Agree.

Neither Agree nor Disagree & Agres

| fee! physically safe on campus.

E
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Heel comfortable socializing/being friends.
with people on carnpue whose pollical views
may be in conflict with mine andor ge

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ifeet mentally safe on campus:

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FREEDOM OF EXPRESSION

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Figure A4c: Freedom of Expression by Ideology — All Respondents

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Other

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others at Harvard

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stereotyping, or negative tigees-on camaus
due fo my views regarding current events

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Conservative
Other

Not Available.

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i igel comfortable expressing my political

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Figure A4d: Freedom of Expression by Ideology — Only Students

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stertotyping, or negative blases on campus
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expressing one’s political views

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opinions and/or betiels around campus

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CONTRIBUTING FACTORS

Very liberal
Liberal
Slightly tiberal
Moderate
Conservative
Other

Nat Available

Very liberal
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Other

Not Available

Very liberal
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Figure A4e: Contributing Factors by Ideology — All Respondents

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% of Respondents Mentioning Factor as Substantially Pasitive or Substantially Negative

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Other

Not Available

Very Hberal
Liberal
Slightly Hberal
Moderate
Conservative
Other

Nat Available

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Figure A4f: Contributing Factors by Ideology — Only Students

® Substantially Positive © Substantially Negative

% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Students, academic Students, non-academic Students, online Faculty
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University Admin/Staff On campus media Policies External actors
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Affiliates Off campus media Global situation/events Other Factors
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A5. Heterogeneity by School

SAFETY AND BELONGING

Figure A5a: Safety and Belonging by School — All Respondents

All Respondents

| Slightly Agree a Strongly Agree
ree

a Strongly Disagree Slightly Disagree
Disagree Neliver Agree nor Disagre

1 feel tke | belong et Harvard i feel physically sete on campus Lest mentally sefe on campus

ColegeFASIGSAS az 2%

HBS 18% 10%
HMS/HSPHHSOM 28% 28%
Other 1% 2%

Not Available 30% 36%

1 feel comfortable socializing/being friends
with people on campus whose polltical views
may ba in conflict with mine and/or go
against a of identitymationalty

I feel my well-being is supported at Harvard

Collage/FAS/GSAS
HBS
HMS/HSPH/HSDM

Cher

Not Available

Made:

Percentage labels omiliad when lesa than 5 percent.

Percent Auree = Persent Sightly agree. “Agres,' or ‘Strongly ayree’.

Percant Oiagrea © Percent Bightly disagrey,’ Disagree. ar Stongly disagrees.

682 For presentational simplicity, we group similar Schools together and include Schools with the fewest observations in the
“Other” category. Counts for each category are as follows: College/FAS/GSAS (FAS — 639; College — 367, GSAS — 260);
HBS (303); HMS/HSPH/HSDM (HMS — 195; HSPH — 175; HSDM — 5); Other (Central Administration — 130;
HKS — 116; Harvard Division of Continuing Education including the Extension School — 110; SEAS — 82; HDS — 61;
HLS — 59; GSD — 56; HGSE — 55; Harvard Radcliffe Institute for Advanced Study — 13; Other — 16); Not Available
(164).

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Figure A5b: Safety and Belonging by School — Only Students

__ Slightly Agree 2 Strongly Agree
Agree

& Stangly Disagree Slightly Disagree

Neither Agree nor Disagree

| feel Uke | belong at Marvard Leal physically safe on campus feel mentally sefe on campus

CollageFASIGSAS = 2% BEM 18% | 18% 32% 5%
HBS 28% ary, 18% BA% 2% 82%
HMSIHSPHHSDM = 29% 80% 20% 78% a 5B
Other 29% 81% 17% 18% 20% 82%
nacwva cl. we oe ws
lieel comfortable socializing/being fiends
cheine i : with peapie on campus whose political views
i feel my well-heing is supported at Harvard may be in conflict with mine andor go
against my sense of identityinationality
CollageFASIGSAS = 41% 49% 8% 54%
HES 33% 52% 48% 43%
HMS/HSPHIHSDM 48% 48% AT% 4%
Other 40% 52% B% 28%
Not Available a 80% 20%
Note:
Percentage labels omitted whan less tar 3 pernert.
Percent Agrae = Percent ‘Sightly agrae,’ Agres,’ or Strongly agcee"
Parcent Disagree = Percent Slightly Weagres,’ Disegres. "or Sirangly daagres,
2 .
Figure A5c: Freedom of Expression by School — All Respondents
All Respondents
a Strongly Disagree Slightly Disagree slightly Agree a Strongly Agres
Neither Agree nor Olsagre: Agree
Efeel comfortable expressing my religious .
Teal comfurlable expressing my opinions to . y 1 feel carsfortable expressing my political
others at Harvard beliefs andior athe aaiiatien around opinions and/or beliefs around carpus
Collage/FASIGSAS — 48% ary 8E% 56% Bay aK
HBS Os I HA% 83% 2am Beh
HMSIHSPHIHSOM 48% 4% 45% 48% 83% 4%
Other 2%, 5% am 88% 41% 42%
Not Available 12%, 18% 8% 2% 1% 18%
i have NOT experienced any discrimination, in my experience at Harvard, | feel there is
stereotyping, or negetive blages on campus ne academis. and/or professional penalty for
duc to my views regarding cunent events waprassing one's. antl vgs
College/FASIGSAS = 2% aM GH% 28%
HBS 18% Fa A% aa%
HMS/HSPHHSOM 38%, ary 28%
ther BP 2B% BG BS
Not Available 33%. 288 Boe 4%

Note:

Percentage labels omitted when leas thar & percerd.

Seroent Agwe = Pement Slightly agre. Agree.’ or Stongly agree’

Parcent Disagree « Percent Sightly disagree,’ Disagres, or Strongly disagree.

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Figure A5d: Freedom of Expression by School — Only Students

Feet comfortable expressing nty opinions to
others at Harvard

College/FARIGSAS

HBS

HMSIHSPHIHSDOM

Other

Not Available

l have NOT experienced any discrimination,

stereclyping, of negative bieses. on campus
dag fo my views regarding current events:

College FASGSAS

HBS

HMSIMSPHISOM

Other

Not Available

Note:

Percentage labels anitted when imas than 5 percent,

Parcent Agise = Parcant ‘Slghily agree,” Agree,’ or Strongly agra’

Percent Oisagnes = Percent Siightly disagres, “Disagree, ar Biungly Wsagree,

& Strongly Disagree

Os

a

aa

33%

40%

40%

Slightly Disagree

Neither Agree nor Disagree Agree

| feel comfortable expressing my religious
beliefs and/or eltinic affiliation around
campus

ip my experience at Harvard. | feel there is
no academic and/or professional penally for
expressing one’s political views

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88%

Sry

19%

Pa

Slightly Agree & Strongly Agree

5%

8o%

BON

i feel oomtortable expressing my political

opitions andior beliefs around campus

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38%
HR
aoe

20%

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Figure A5e: Contributing Factors by School — All Respondents

® Substantially Positive © Substantially Negative

Students, academic Students, non-academic Students, online Faculty
CollegaFASIGSAS, © % ® ® ee ® @
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HMS/HSPHHSDM ® ° e @ ° *
Other, & & 8 e e © * *
Not Available) # e a t ae te
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University Admin/Staff On campus media Policies External actors
CollegePASIGSAS e ® ® a # ® 6
HBS e ~ e a & & &
HMS/HSPHHSDM - © * e e *
Other: e & e e * & ¢ e
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HMSAMSPHIHSDM e “te “te e & “sien
Other: & e % & » & oi
Not Available) & e e ee S o @ e-
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure A5f: Contributing Factors by School — Only Students

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® Substantially Positive © Substantially Negative

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College/FAS/GSAS

HBS

HMS/HSPH/HSOM

Other

Not Available

College/FASIGSAS

HES

HMSVHSPH/HSDM

Other

Students, academic Students, non-acacernic Students, online Faculty
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College/FASAISAS

HBS

HMS/HSPH/HSOM

Other

Not Available

University Admin/Staff On campus media Policies External actors
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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A6. Heterogeneity by Sexual Orientation

SAFETY AND BELONGING

Figure A6a: Safety and Belonging by Sexuality — All Respondents

All Respondents
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Disugres Revther Agree nor Disagree

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Gaysesbian Hans, WN a% a 7a%
Other eB aa 1% Bi ai,
Not Available 46% 88% eh 33% Bre
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ubeing i ni wilh people on campus whose political views
| feel my well-being is supported at Harvard may be in conflict with mise andor go
against my sense of ilentity/nationality
Heteroneauat 20% Te ee
Gay/Lessian 82% 9% ee
Other ar a% 9T%
Not Available ae 40% a%
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ee 5 porgent.
PercentAgme = Persone “Sighiyy ogrer, “Byrne, or Strongly ag
Percent Gisagres = Porcent Stohiy disagree, Cesagren, “or Oy dsoanee
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Figure A6b: Safety and Belonging by Sexuality — Only Students
@ Strongly Disagree | Slightly Disagree Slightly Agree a Birongly Agree
Disagree Nellher Agee nor Disagree: Agreé
feel like 1 belong at Harvard Heel physically safe on campus [eel mentally sate on campus
Heterosexual = 18% 68%
Gaylastian 28% AP OP
Other a (8% 8mm
Not Available 41% 23% 33%
1 feel ing frend:
eine a with people on canipua whose political views
Veal nly well-being is supported at Harvard may be in conflict with ming andior go
aguinst rity sense of identitynationality
Heterosexual 88% 39% 86
Qay/esiian AB 43% PR
Other 34% 48% 4%
Not Availzble 2% 80% a8%
Note:

Percentage labels omitted when jess than 6 potent,
fereanl Agios = Percent See ae ‘Ayres,’ ot Svangly agre
& Peron ree,” Disagtee, Se mpiv sages

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FREEDOM OF EXPRESSION

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Figure A6c: Freedom of Expression by Sexuality — All Respondents

All Respondents

Heterosexual

Gay/Lesbian

Other

Not Available:

Heterosexual

Gay/Lestian

Other

Not Available

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43%

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others at Harvard

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Gay/Lesbian

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Not Available

Heterosexual

Gay/Lesbian

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7%

8%

Slightly Disagree

Neither Agree nar Disagree 7 Agree

Hee! comfortable axpressing my religious
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no ataderie and/or profesional penalty for
expressing one’s politcal views

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| Slightly Agree 1 strongly Agree

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opinions and/or beliefs ground campus

Figure Aéd: Freedom of Expression by Sexuality — Only Students

Lee! comfovtabie expressing my opinions to

others at Harvard

i bave NOT experienced any discrimination,
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due-to my views regarding current events

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Neither Agree nor Disagree: oo Agnes

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beliefs and/or ethnic affiliation artund
earrious

in my experience at Harvard, | feel there is

no academic andior professional penalty rar
expressing one’s political views

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BRA:

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opinions andor beliefs around campus

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Figure A6e: Contributing Factors by Sexuality — All Respondents

® Substantially Positive © Substantially Negative

Heterosexual

Gay/Lesbian.

Other

Not Available

Heterosexual

Gay/Lesbian

Other

Not Available:

Heterosexual

Gay/Lesbian

Other

Not Available

Students, academic Students, non-academic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

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Figure A6f: Contributing Factors by Sexuality — Students Only

® Substantially Positive ® Substantially Negative

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Students, academic Students, non-academic Students, online Faculty
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% of Respondents Mentioning Factor as Substantially Positive or Substantially Negative

APPENDIX B: CHANGES OVER TIME
B1. Change in Experience Over Time (Overall)

Figure B1: Change in Experience — All Respondents

ee Became Much Worse

Compared to this time
last year, how has
your sense of safety,
belonging, and/or ability 61%
to interact positively
with the community on the
Harvard campus changed?

Note:

Percentage labels omitted when fess than 5 percent.

Became Worse

These who reported not being on campus fast year are omitted.

Percent Worse = Percent ‘Worse’ or ‘Much worse’.
Percent Better = Percent ‘Batter’ or ‘Much better’.

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Stayed the Same ae Became Better a Became Much Better

3%

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B2. Change in Experience Over Time (By Affiliation, Religion, Race)
Figure B2: Change in Experience by Affiliation, Religion, Race — All Respondents

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B3. Change in Experience Over Time (By Age, Gender, US/Non-US)
Figure B3: Change in Experience by Age, Gender, US/Non-US — All Respondents

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B4. Change in Experience Over Time (By Ideology, School, Sexual Orientation)

Figure B4: Change in Experience by Ideology, School, Sexual Orientation — All

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APPENDIX C — REGRESSION ANALYSIS
C1. Regressions — Safety and Belonging Freedom of Expression (By Affiliation)
Table Cia: Safety and Belonging by Affiliation — All Respondents

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Dependent Variable Belonging Physical Safety Mental Safety Well-being Supported Comfort Socializing
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Grad /PostDoc/Fellow -0.7200""* -0.4697%" —-0,7160"** -0.5424***  ~1.0003* = -0,8074"4* -C.Sa37*  -O.5953*** Lolo * 0.73624"
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Other -~O.5001"* — -.434)* — -0.5420"**  -0.51287**  -0.7434"**  -0.6515*** — ~0.4901* ~0.3889 ~0.4918* ~0.4378*
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R-Squared 0.0401 (1.1842 0.0470 0.1869 0.0682 0.2555 6.0699 0.2153 0.0399 0.1709
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Controls? N ¥ N ¥ N ¥ N Y N ¥

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Faculty. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those
that refused to provide affiliation are included as a dummy but not shown in the table.

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Table C1b: Freedom of Expression by Affiliation — All Respondents

Dependent: Variable

Comfortable Expressing

Ne Discrimination

Ne Professional Penalty

Opinions Religion/ Ethnicity Political Beliefs Expressing Views Expressing Political Views
Q) (2) (3) (4) (5) (6) @ (8) (9) (10)
Undergrad S365 * 0.4485" 1 33108 Losi 0.0639 0.0497 -0.3043** — -.4104** 0.0695" * ALPES LEE
(0.1598) (0.1565) (1701) (0.1637) (0.4674) (0.1609) (0.1663) (G.875} —@.1561) (0.1594)
Grad/PostDoc/Fellow -D.7h10°** -0.5467""  -L.0918*** -O.81a7*** .8780* -G.460R"** -O.68ha dae 0 Rong 0.61440"
(0.1316) (0.1253) (1359) (0.1800) (0.1397) (0.1306) (0.1858) (0.1284) 8285) (0.1268)
Stall 0.0710 -Q2110* 0.1758 0.0542 0.1865 -DA1SG"** —-0.0807 +f). 2488*" O.0070 0.0126
(0.1118) (6.1083) (Q.11E9) (0.1094) (0.4158) (G.1140) (0.80) @.1193) (O48) (0.1128)
Other 0.4744 0.1801 -0.5043* — -0.4580* -0.3635 0.3816 O3171 0.3139 0.8393 ~0.2509
(0.2691) (0.2500) —«(.2906) ——«-(0.2522) —«(@.2764) —«(0.2336) ~—« (0.2806) (0.2416) ——@.2788) (0.2619)
N 2281 2281 2250 2250 2235 2235 2265 2265 2260 2260
R-Squared 0.0400 0.2009 00911 0.2695 0.0802 0.2204 0.0368 0.2302 O.0511 0.1654
Mean Omitted 4.2520 4.2520 5.1164 5.1164 4.7726 ATT26 3.9917 3.9917 3.5514 3.5514
Controls? N Y N Y N Y N Y N y
Table Cic: Contributing Factors by Affiliation — All Respondents
Dependent Variable Students Students Students Admin/ On-Campus
Academic Non-Academic Online Faculty Staif Media
(1) (2) @) (4) (8) (6) (p (8) (9) (10) (44) (12)
Undergrad ~0. 0804 ~0.0942* 0.0498 -~LOIBT — -.5285""*" LA 75gee 0.0580 0.0878 ADLSBETRP SOAS OR" 0 F12e*
0.0494) (0.0509) 9.0541) 0.0554) (0.0511) (0.0818) (G.0821) = 0597) (G.0587) (0.0591) (©0566) (0.0580)
Grad/PostDec/Vellow -<.2284*** -.20078* -GIT6e .Q.2005* geste .g.aRog .0.12008* Nn O8BR* OBIT Odea 1003"* — -).0729
0.0419) (0.0426) (0.0429) (0.0428) (0.0386) (0.0886) (0.0466) 0471) (0.0472) (0.0876) (0441) (0447)
Staif -O.3812**  ..R784a"**  -.1g0g -O.dgd* LT SRGR YORE G08 1" aaa 0.0691* 0.0636 “0.0153 ALATA
0.0322) (0.0344) (0.0824) 0.0842) (@.0308) (0.0922) (0.0389) (Gnas) «= fO.odo7} = (0.0422) (0887) (0.0399)
Other BETA O.B6RRFEE IDET PF Boge OBB? OLAS 00582 0.0628 OG. 1728" O1499 G.1748* — 0.1873*
0.0801) (0.0786) (0.0829) (0.0769) (07ST) —«(@.0724) (0.0903) (0876) ——«(.1004}——(0.0950) (0892) (0.0898)
N 2855 2335 2342 2842 24 ag24 2377 2277 2044 244 2358 2558
R-Squared 0.0565 0.0922 0.0244 0.0751 0.0671 0.1074 O.O101 0.0544 0.0382 0.1019 0.0065 0.0548
Mean Omitted 0.6618 0.5618 O.4800 0.4300 0.2485 0.2485 0.3676 0.3670 0.2610 0.2610 ~Q.1888 ~GL1888
Controls? N y N ¥ N ¥ N ¥ N ¥ N ¥

Notes: * 0.10 ** 0.05 *** 0.01, Omitted category is faculty. Results are shown both with and without controls, Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those

that refused to provide affiliation are included as a dummy but not shown in the table. If respondent said the factor was both positive and
negative, they are included multiple times.

Table C1d: Contributing Factors by Affiliation — All Respondents

Dependent Variable External Of -Carnpus Global Other
Policies Actors Affiliates Media Events Factors
@® () GB) (B (3) (6) @ (8) (a) (10) (ly) (2)
Undergrad OQ8T2F"* -O.2154***  -0.1152"* -O.1015** -0.1208"**) -0.1937"** 0.0282 0.0430 0.0196 = 0.0488 0.0625 = -0.0413
(0.0543) (2.0857) (0.0450) (6.0485) (0.0482) (0.0503) (0.0442) (@.0460) (0.0441) (0.0458) (0.0440) (0.1007)
Grad /PostDoc/Pellow 41.1861*** -D.l0* 0.0318 A251 083.15" -OO776" 0.0627" O.0805** 0.0217 (L0586 B.1077 0.1841
(0.0454) (0.0458) (0.0378) (0.0986) (0.0387) (6.0307) (0.0379) (0.0900) (0.0553) (1.0861) (0.0938) (0.0081)
Stati Goose" zag LOL 0005 -0BLa** -LOBRO**® 0.0282 .0S0h 0 SEP L122
(0.0017) (0426) 0.0933) (6.0843) (0896) 0.0843) (0.0923) (6.0940) (0.0804) (0817) (G00) (0800)
Other ~0.043 0.0198 0.0073 0.0084 0.0382 0.0448 6.0400 «0.0552 = ~+.0499 —-0.0291  0.6875"* = 0.6980**
(o.nes) (0.0942) G.0754) (0.0722) (0.0880) (0.0849) (0775) (0745) (0.0667) (0.0652) (8488) (6.2509)
N 2500 2350 2323 2322 2531 2531 2334 2304 2340 2340 282 282
R-Squared 0.0381 0.1194 6.0031 0.0469 0.0058 0.0295 6.0013 0.0369 (0.0005 1.0457 0.0486 0.1593
Omitted Mean ~(.2500 ~U.2500 “5815 ~Q.5515 01ST ~ALLTS1E ~U6283 06283 -.6767 -LO767 1.9875 41.9975
Controls? N Y N y N ¥ N Y N Y N Y

Notes: * 0.10 ** 6.05 *** 0.01. Omitted category is faculty. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those
that refused to provide affiliation are included as a dummy but not shown in the table. If respondent said the factor was both positive and

negative, they are included muiltiple times.

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Harvard University * Final Report of the Presidential Task Force on Combating Antisemitism and Anti-Israeli Bias

C2. Regressions — Safety and Belonging And Freedom of Expression (By Religion)
Table C2a: Safety and Belonging by Religion — All Respondents

Dependent Variable Belonging Physical Safety Mental Safety Well-being Supported Comfort Socializing
@) (2) (3) (4) 6) (6) (7) (8) Q) (20)
Atheist -0.1476* 0.0966 0.0221 0.0108 0.0036 0.0526 -0.2350*** -@.1182 O.2911""* — -0.1579*
(0.0802) (0.0772) (0.0627) (0.0624) (0.0818) (0.0766) {0.0856) (0.0805) {0,0919) (0.0894)
Muslim -1.6975*** -0.8268** -1.8100** -1.1750*** -2.24877** -1.2513** -Logd2te*  -1.0307*** LT 750***  -0.8675***
(0.2310) (0.2466) (0.2256) (0.2335) (0.2359) (0.2426) {0.2222} (0.2883) (0.2248) (0.2353)
Jewish -0.5541***  -0.5498""* .0.6023*** -0.6196""* 0.8153" -0.7542***) -0.7061"** — -0.7246""* 0.7597" -0.7607***
(0.1006) (0.0977) (0.0882) (0.0864) (0.1083) (0.1001) (0.1060) (0.1009) (0.1121) (0.1105)
Other -0.2925** -0.1663  -0.2182** 0.1378 -0.39017**  -.2281** — -0.2768"** ~0.1327 -0.3039** ~0.0650
(0.1149) (8.1184) (0.0953) (0.0960) (0.1221) (0.1158) (0.1258) (0.1218) (0.1264) (0.1192)
N 2280 2280 2269 2269 2266 2266 2280 2280 2245 2245
R-Squared 0.0675 0.1838 0.0929 0.1837 0.0964 0.2541 0.0717 0.2134 0.0478 0.1682
Mean Omitted E.OTL9 5.8719 6.9141 6.3141 5.7177 B.TLTT 5.9125 5.3125 5.2241 5.2241
Controls? _N Y N Y N Y N y
Notes: * 0.10 ** 6.05 ** 0.01. Omitt

ed category is Christians. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-U8). Those
that refused to provide religion are included as a dummy but not shown in the table.

Table C2b: Freedom of Expression by Religion — All Respondents

Dependent Variable

Comfortable Expressing

No Discrimination No Professional Penalty
Opinions Religion/Ethnicity Political Beliefs Expressing Views Expressing Political Views
@) (2) Q) (4) (5) (6) 7) (8) 9) (10)
Atheist, 0.1865* 0.0570 o.2901%** 2086 O.3s72""* = L606 gag 0.1540 0.1233 0.0760
(0.0963) (0.0914) (0.0982) (0.0913) (6.0962) (0.0942) (0.1002) (0.0958) (0.0992) (0.0979)
Muslim -1.6320"7* -0.7364"* -2.9412"*  -1.032779* -L.7821***  -1.1000"** -1.7386** -0.91059**  -1.7779*"* -0.9981***
(0.2053) (0.2237) (0.2192) (0.2411) (0.2260) (0.2815) (0.1679) (0.1910) (0.1516) (0.1763)
Jewish ~O.6752"**  -0.7a20** -0.8597""* 0.8515 * Lease -1Lsae*  -0.6827"* 0,782" -0.g425"** -0.3194***
(0.1140) (0.1062) (0.1223) (0.1128) (0.1201) (0.1157) (0.1161) (0.1074) (0.1136) (0.1122)
Other 0.2734" 0.1580 0.1854 ~0.0586 —— -0.2627** -0.1809 -0.4187*** 0.31017" — -0.2258* -O.1049
(0.1297) (0.1251) (0.1403) (0.1315) (0.1335) (0.1330) (0.1281) (0.1245) (0.1826) (0.1279)
N 2281 2281 2250 2250 2235 2235 2265 2265 2260 2260
B-Squared 0.0653 O.1994 0.1018 0.2678 0.1084 0.2185 0.0877 0.2289 0.0520 0.1641
Mean Omitted 4.2640 4.2640 5.1164 6.1164 4.8410 4.8410 4.0051 4.0051 3.5990 3.5990
Controls? N x N ¥ N Y N ¥ N Y
Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Christians. Results are shown both with and without controls, Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those
that refused to provide religion are included as a dummy but not shown in the table.
Table C2c: Contributing Factors by Religion — All Respondents
Deperident Variable Students Students Students Admin/ On-Campus
Academic Non-Acadensic Online Faculty Staff Media
@) (2) (3) (A) (5) (6) (7) (8) (9) (16) (4) (12)
Atheist 0.0200 ~O.0058 0.0485 0182 0.0209 AL.0258 1.0129 “0.0215 -O.08897* 0.0623" 0.0036 L068
(0.0284) (0.0287) @.0303) (@.0315) (0.0286) ~—«f@.0297)— (a.ns29) nae) «= (0.0384) (0.0389) (0942) (0.0384)
Maslim J.0930 ~0.0876 ~§).0003 4.0199 -Q.2110"* — --0.0852 -G.gh0d***  -0,.2582"** 4. 5228"** -0.2085"** 0.2970" — -.2004"*
(0.9720) (0.0786) @.0721} 1.0801) (0.0678) (0.0733) (0.0818) @.0872) —«(A.0787) (0.0872) (4.0734) (0.0807)
Jewish ~).0823""  -0, 1226 6.19188" .g2eTg = .g. 1919 9 1sB ee -9.1245*** 9.18519" .921g8e* 4 gape 9 goggme 9 oon gee
(0.0859) (0.0353) (6.0398) (0400) ~— (@.0876) (0.0364) (0406) (0.0418) (0.0427) (0.0433) (8.0403) ——(@.0418)
Other 0.0076 9.0249 9.0059 0161 0.0586 0.0426 0.0573 ~QOLOT liag** 0.0925" Ah.0014 6.0201
(0.0359) (0.0984) @.0404) (0.0412) (0.0981) —«f@.0877) (0.0442) OnaBa) ~— (a.nag?) ~—s(@.0a9@) —(G.0a78) (6.0481)
N 23353 2330 2842 2342 ‘abe 2324 277 QaTF 2544 2344 2358 2358
R-Sqnared 0.0063 0.0902 0.0180 Ov 0.0202 O.1045 O.0TSS 0.08388 0.0814 {1009 0.0219 0.0541
Mean Omitted 0.3787 O.3787 0.3618 6.3618 0.1495 0.1495 3712 O.8712 0.3499 0.3493 1.1400 0.1400
Controls? N Y N ¥ N ¥ N Y N ¥ N ¥

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Christians. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, geuder, political ideology, nationality (dummy US/Non-US). Those

that refused to provide religion are included as a dummy but not shown in the table, If respondent said the factor was both positive and
negative, they are included multiple times.

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arvard University * Final Report of the Presidential 'Task Force on Combating Antisemitism and Anti-Israeli Bias

Table C2d: Contributing Factors by Religion — All Respondents

Dependent Variable External Off-Campus Global Other
Policies Actors Affiliates Media Events Factors
(a) (2) 38) 4) @)_ 6) ® 8) @) 0) ay (a)
Atheist A077 O** +O,0135 O.0710* «0.0404 AL0358 (1.0233 OOI93 ALSL O.0570"* -G.0389 4.1808" 1325
(0.0867) (0.0369) (0.09293) (0.0304) (0.0803) (0.49320) (0.0293) (0.0804) (000209) (0.0276) (20773) (0.0822)
Muslim O.GATOF**  -0.3494"**" 0. 2696"** -Q.as90*** 0.20878" -G.legaF* <0. 2185°9* 2921s seats 4a ARO -0.0983
(0.0602) {0.0733} (0.0492) (0.0879) (1.0707) (0.0798) (0.0564) (0.0611) (2.0488) {0.0552} (0613) (6.0861)
Jewish “O.L73LF"* -0.1459"** 0. 1801"**  -0,1662"**  -0.1537"* 0.1497" -0.1395°**  -0,1350""*  -.2087""* = -.20537"* 0.1051 0.1201
(0.0431) (0.0441) (0.0327) (0.0337) (6.0389) (0.0973) (0.40331) (0.0348) (0.0292) (03LD (0.0922) (G.1011)
Other ~LO805 6.0045 AG595 0846 LO16S 6.0040 0514 0.0309 = -0.0066*** — 0.0680" O.022L O.0174.
(0.0502) (6.0489) 0880) (0.0382) (@.0407) (0.0427) 0390) (0.0394) (0.0349) 0.0353) (8.1087) 11425
N 2350 2350 a2 2322 2531 2354 2834 2384 2340 2340 282 282
R-Stymared 0.0808 G4165 0.0188 0.0407 0.0110 6.0293 O.A123 0.0309 0.0234 O45 0.0196 O.1570
Mean Onuitted LAd24 «0.1924 O.G174 0.5174 (2009 ~0.2058 ~O.5517 OBST “0.6016 0.6036 -O.7105 “0.7105
Coutrals? N ¥ N ¥ N ¥ N Y N Y¥ N ¥

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Christians. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those
that refused to provide religion are included as a dummy but not shown in the table. If respondent said the factor was both positive and
negative, they are included multiple times.

C3. Regressions — Safety and Belonging And Freedom of Expression (By Race)
Table C3a: Safety and Belonging by Race — All Respondents

Dependent Variable Belonging Physical Safety Mental Safety Well-being Supported Comfort Socializing
(1) 2) (3) (4) (5) (6) (7) (8) (9) (10)
Asian. ~0.8845""* 0.1055 0.8840" -0.0865 = -0.5d89""* — 0.1409 -0.6645*** 0.2290" 0. 7516***  -0.4552***
(0.1271) (0.1254) (0.1062) (0.1018) (0.1339) {0.1282} (0.1398) (0.1358) (0.1325) (0.1348)
Black 0.67677" 0.6809" — -0.9615"* 42441 0.8736" 0.678 TRAE S782 -0.4050* 0.8787"
(60,2200) (0.2143) (0.1823) (0.1666) (0.2340) (0.2171) (0.2282) (0.2142) (0.2189) (0.2153)
Hispanic -0.3000* ~0.2297 0.1541 ~0.0899 ~0.3902** ~0.2630 ~0.3002* 0.1795 -0.3790* ~0.2909
(0.1701) (0.1620) (0.1480) (0.13881) (0.1832) (0.1673) (0.1809) (0.1670) (0.1952) (0.1816)
MENA ~L.6959"" 1.1092" 1 4183" 78s 2.0344 1.2150" LL 750B* -QLOTBQ FR -LATLARE  -0. BADD
(0.1854) (0.1964) (0.1819) (0.1840) (0.1995) (0.2033) (0.1803) (0.1898) (0.1905) (0,1931}
Other -0.66537** — -0.34657* = -0.4943*** = -0.2344* 1.32 70"** « -0.94187** §-0.90406"*** — -0.5668*** = -1.1034***  -0.8505"**
(0.1621) (0.1544) (0.1493) (0.1376) (0.1916) (0.1807) (0.1739) (G,1665) (0.1820) (0.1745)
N 2280 2280 2268 2269 2266 2266 2280 2280 2245 2245
R-Squared 0.0807 0.1740 0.0701 0.1822 O12 0.2482 0.0768 0.2123 0.0662 6.1658
Mean. Omitted 5.5000 5.5000 6.2087 6.2087 5.6484 5.6484 5 0092 6.0992 5.0827 5.0827
Controls? N Y N Y N Y N Y N Y

Notes: * 0.10 ** 0.05 *** 6.01. Omitted category is White. Results are shown both with and without controls. Controls are dummies
for ali values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dammy US/Non-US), Those
that refused ta provide race are included as a dummy but not shown in the table.

Table C3b: Freedom of Expression by Race — All Respondents

Dependent. Variable Comfortable Expressing No Discrimination. No Professional Penalty

Opinions Religion /Ethnicity Political Beliefs Expressing Views Expressing Political Views
() (2) (3) (4) ®) (6) @) (8) (9) (10)
Asian. -D.AB5S*** 0.2484" -0.0856""* 0.4759" — -0.0505 ~0.0400  -0.4664"** — -0.2414* — -0.65187** -0.2580*
(0.1414) (0.1457) (0.1482) (0.1435) (0.1416) {0.1422} (0.1428) (0.1424) (O.1475} (0.1489)
Black ~Q.2727 ~0.2863  -L.DLGO*** 0.7614" -0.A077T* —-0.5537"* ~O.9119 0.3037 — -0.8200°** -0.6097"**
(0.2279) (0.2292) (0.2409) (0.2374) (0.2248) (0.2202) (0.2289) (0.2257) (6.2213) (0.2223)
Hispanic 0.4393" 0.3518" -0.6400""* =~). 4687"** 0.0106 ~.0253 ~@.2502 0.1556 ~0.2608 ~0.1161
(0.1898) (0.1801) (0.1954) (0.1815) (0.1968) (0.1839) (0.1924) (0.1798) (0.2003) (0.1945)
MENA “LB1SBF** -1.2244** 2.3441" 1. 4a62*** -ESdO7F* WL 25dSY* LATS *  -1.0962"**  -1.4046*** -0.80087**
(0.1616) (0.1757) (0.1799) (0.1913) (0.1783) {0.1877} (0.1575) (0.1722) (0.1617) (0.1800)
Other “Lis4g*  -0,.7820* -La73ne 47978" -L4I76* -0.968O** 1 bOTF*  -DaggD*  -0.6R07"* ~0.4010**
(0.1782) (0.1716) (0.1972) (0.1830) (0.1879) (0.1868) (0.1756) (0.1661) (0.1661) (0.1599)
N 2281 2281 2250) 2250 2235 2235 2265 2265 2260 2260
R-Squared O.2080 G.1951 0.1244 0.2606 0.1072 0.2166 0.1006 0.2244 0.0717 0.1632
Mean Omitted 4.3679 4.3679 5.2200 5.2200 4.8604 AB604 4.1509 4.1509 3.5538 3.5588
Controls? N ¥ N Y N Y N Y N ¥

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is White. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). ‘Those

that refysed to provide race are included as a dummy but not shown in the table.

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Table C3c: Contributing Factors by Race — All Respondents

Dependent Variable Students Students Students Admin / On-Campus
Academic Non-Academic Online Faculty Stalf Media
Q) Q) @) (4) (8) (6) (@) (8) (3) G0) Gb (2)
Asian o.0860"* 0.0599 O64" 0.1085** —-0.0308 0.0654, 0.0473 -0.0470 -O.1725"** — -1).0389 ~0.0198 0.0101
(0.0425) (0.0442) (0.0452) (0.0474) (0.0425) (0.0436) (0.0474) (8.0504) (0.0537) (6.0558) (0.0608) (0.0829)
Black. 0.0498 ~0.0030 issa** 0.1053 ~0.0057 0.0613 0.0254 “0.0705 OTT ~H.D496 0.0740 0.0546
(0.0668) (9.0649) (0.0742) (0.0783) (0.0752) {0.0792) (6.0784) (8.0787) (0.0883) (6.0852) (0.0754) (O.0775)
Hispanic CLE? ~0.0518 6.0071 ~O.0156 0.0226 0.0639 0.0564 COURTS ade 91" 0.0179 0.0161
(0.0569) (6.0565) (0.0599) = (6.0592) (0.0544) {0.0543) (0.0646) (0.0644) (6.0730) (0.0699) (0.0637) (6.0645)
MENA ~O.1412* 1.1190" 0.0946 00619 01" 9 so 2071" -O.S0RTA* -igsue**  -gadgree 218g **
(0.0602) (6.0646) (0.0647) (0.0675) (0.0583) (0.0610) (0.0676) (0.0706) (8.0690) (0.0746) (0.0885) (0.0636)
Other -O.1708""* 15614" -0,2000* = -f.1905**  -0-21S1*** 1788" 2103" **  L1doe** L218" **  -O.266** = -O.7O7"** =~ -0, 108 4*
(0.0539) (60,0536) (0.0545) (0.0543) (0.0851) (0.0550) (6.0628) (8.0632) (6.0654) (0.0645) (0.0563) (0.0563)
N 2333 2553 2342 2342 2324 2324 2377 2477 2344 24d4 2358 2358
H-Squared O.OL17 0.0892 0.0184 OLY 0.0129 0.1053 0.0156 0.0500 0.0294. 6.999 0.0190 O.08LG
Mean Omitted 0.3656 0.5656 0.3187 0.3187 0.1036 0.1036 0.5561 6.3561 0.2772 0.2772 ALLEL GLATSL
Jontrols? N Y N Y N Y N Y N Y N Y

Notes: * 0.10 ** 0.05 *** 0.01, Omitted category is White. Results are shown both with aud without controls. Contrels are dummies
for all values of our demographic categories: race, sexuality, aflillation, gender, political ideology, nationality (dummy US/Non-US). Those
thet refused to provide race are included as a durmmy but not shown in the table. If respondent said the factor was both positive and

negative, they are included multiple times.

Table C3d: Contributing Factors by Race — All Respondents

Dependent Variable External Off-Campus Giobal Other
Policies Actors Affiliates Media Events Factors
ay (2) (3) (4) (5) 6 @ 8) Q) 10} qa) a2)
Asian “~LISSO** -O0D0L = 005 024 Se OSS 000000 0009 LL" 2000
(0.0500) (0.0592) (0.0418) (1.0499) (0.0451) (0.0400) (M22) (0e4d8) (0.0904) (dia) (0a) 1069)
Black 1987" 0.1329" 0.0309 0.0425 .0278 1.0306 «= -0.0316 = -0.0844 = -0.0922 0.0636 -0.2285***  -0.1890**
(0.0755) (0787) (6.0729) (0.0724) (0.0721) (0.0722) (0.0643) (0.0643) (6.0632) (0.0610) (0.0807) (0.0866)
Hispanic 010963 “0760 0.0899 O64 0.0234 0.0113 0.0815 0.0001 0.0765 = 0.0516 0.1694 0.4146
(0.0680) (0.0664) (0.0602) (0.0582) (0.0624) (0.0631) (0.0587) (0.0586) (0.0554) (6.0548) (0.1896) (0.1880)
MENA ALBA 01921" 0040-0179 0004-00292 0.0801" 0.0855 0.0919" 0a 2 28
(0.0604) (0676) (6.0802) (0.0874) (000609) (0.0870) (0.0616) (0563) (0.0409) (0.0552) (0.0488) (0780)
Other ~O.1444* 0.0596 (0.0789) 0.1149"* -0.0290 = -0.0038 = 0.0727) 0.1082** — -0.0350 = 0.0031 -D.212. 0.0156
(0.0638) (0.0642) (0.0516) (0.0522) (0.0570) (0.0576) (0.0506) (0.0509) (0.0454) (0.0449) (0.1309. (0.1516)
N 2580 2380 2922 2922 2331 2831 2334 2334 2340 2040 282 282
R-Squared 0.0217 Q<1l77 8.840.465 «0082288 .0035 0.0868 = 8.0080 0.0455 0.0273 0.1579
Mean Omitted ~U.2218 (2218 -O.5917 -0.5917 -0.2358 1.2358 = -0,6029  -0.6029 -.GH71 0 0.6671 ~0, 7946 ~0.7946
Controls? N Y N Y N ¥ N ¥ N ¥ N ¥

Notes: * 0.10 ** 6.05 *** 0.01.

Onnitted category is White. Results are shown both with and without controls. Controls are dummies
for all values of our demographic categories: race, sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). Those
that refused to provide race are Included as a dummy but not shown in the table. If respondent said the factor was both positive and
negative, they are included multiple times.

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C4. Regressions — Safety and Belonging And Freedom of Expression (By Religion and Race)
Table C4a: Safety and Belonging by Race and Religion — All Respondents

Dependent Variable Belonging Physical Safety Mental Safety Well-being Supported Comfort Socializing
Q) (2) (3) (4) 6) (8) 7) (8) (9) (10)
Atheist 0. 1632** 0.0819 .O181 0.0219 A. O070 0.0678 — -0.2390%** O1079 Q.2862""* 0.1441
(0.0779) (0.0778) (0.0619) (0.0627) 0786) (6.0768) —«(0.0837) = (6.0806) —»«0.0903) (0.0895)
Muslim ~1.0864*** -0.0806*** .1.3532F** 1. 27267** .1.5950"** -1.9968F* -1.2080"** -1.12849** = 1. 1524***  -0.9057***
(0.2464) (0.2446) (0.2388): (0.2320) (2506) (0.2428) (0.2409) (2370) (0.2488) (0.2821)
Jewish -D.4905"** -0.5872** .0.5536"** -9.604d0""* -0.7026"** -0.7325*** -0.7330"** = -0.7098"** = -0.6729*** = -0.7414***
(0.0995) (0.0984) (0.0875) (0.0868) (1040) (0.1007) (1048) (1012) (MAIN) ~—«(0.1102)
Other ~0.2528** -0.1694 ~Q,1841” ~L1985 ~L.S161"** — -0. 2200" -0.2064* ~.1329 ~0.2137* ~.0051
(0.1107) (0.1136) (0.0949) (0.0965) (@.1187) (1161) ~—« 1931), (0.1215) (0.1241) (0.1207)
Asian ~0.2582** ~O.1218 ~0.2566** -O.1158 ~0.3953"** ~L.1763 ~0,5508"** ~0.2575* ~O,6678°** —-0,4917*"**
(0.1983) (0.251) (0.1016) (0.1017), (0.1312) (.1273)— @4eo) 0.1981) (0.1356) (0.13850)
Black o0.66257** .0.6219"** — 0.3170" 41.2263 -0.8340""* -0.66217** 0.7562" -O.5618"** = -).4ddd*®* —.0.3586*
(0.2212) (0.2142) (@.1759) (4679) (0.2312) (0.2181) 0.2299) (@2t48) ~— (0.2228) (0.2138)
Hispanic ~0).3452** O.2107 9.2163 9.0568 -.AB3A** 0.2336 A.B 723** 0.1465 44 38** 0.2516
(0.1660) (0.1613) (1431) (0.1880) (4805) (0.1673) (0.1789) (@1667) (1915) (0.1818)
MENA ~L3427""*  .1.1148*** 0.9581" -4.7656""* = -1.51207** -1.2244"9* 1 30744* 98729" -1 124s Fet 9 haze
(0.1963) (0.1963) (0.1861) (0.1830) (@.2056) (0.2029) (0.1900) (0.1897) (0.2019) (0.193)
Other -D.5676*** = .0.3451** — .0.8686** 0.2286 9 -T.1607"* -0.0872"** 1.8019" -0.5619""* = -0.9800*** = -0.84d7***
(0.1587) (0.1546) (0.1436) -—«(0.1391)—«(@.1873) _—«(0.1823) (0.1694) —«(@.1677) —« (0.1802) (0.1758)
N 2280 2280 2269 2269 2266 2266 2280 2280 2245 2245
R-Squared 0.1077 O.L731 0.1185 0.1782 0.1561 0.2461 O.4123 0.2100 0.0889 0.1622
Mean Omitted 5ASIT 5.4317 5.1873 6.1873 5.5929 5.5929 5.0638 50638 4.9926 4.9926
Controls? N ¥ N ¥ N Y N ¥ N Y

Notes: * 0.10 ** 0.05. *** 0.01. Omitted category is White or Christian. Results are shown both with and without controls. Controls are
duramies for all values of our demographic categories: sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US}.
Those that refused to provide religion or race are included as a durmmy but not shown in the table.

Table C4b: Freedom of Expression by Race and Religion — All Respondents

Dependent Variable

Comfortable Expressing

No Discrimination

No Professional Penalty

Opinions Religion/Ethnicity Political Beliefs Expressing Views Expressing Political Views
() (2) (3) (4) (5) (6) (7) (8) (9) (10)
Atheist 0.1760" QAT1IG O27H7T***  O.S1G2***  0.g8agt* 0.1780" O.BS68"** 0.1687" ~0,1380 0.0657
(0.0928) (0.0917) (0.0938) = (0920) (@,0937)(G.0947) (0.0973) —(@.0962) (0.0972) (0.0979)
Muslim ~O.0551** 0.88058" -L.B877*" 1.2107 Lan 1.22368" L272 10548-12124 ~1.os26"*
(0.2165) (0.2209) (0.2435) (0.24113 (0.2463) (0.2500) (0.1871) (0.1879) (0.1795) (OA774)
Jewish BAS -TLLOFE*  -LTOMO* OLS 2BR PPE -LGLE PY -LABESPE* A SSSEPP*  -CL7G12"**— -0.30087** ~(.3050""*
(1101) (0.1068) (0.1189) (0.1139) (@.1192) (0.1163) (1196) (1073) (0.1127) (0.1122)
Other ALTS46 -0,1585 0.0764 -0.0573 0.2097 O.1817  -D.3319"** — -0.3112"* 0.1584 0.1035
(0.1255) (0.1258): (0.1857) — (0.1822) (0.1997) 0.1986) G.1882) 1884) (0.1307) (0.1283)
Asian ~0.4064*** = 0.2726" -0.8508"** -0.5074"* — -0.0297 ~0.0720 -O.3507** = 01,2606" = -1.4922*** ~().2842*
(0.1443) (0.1452) (Q.4479) (430) (@.88O) «= (G.14I8) = (0.1425) (aI) (0.1510) (0.1485)
Black -0.2529 -0.26968  -0.9798""* 0.7430" = 0.4100" 0.5360" = -0.2439 1.2873 -0.7689*** ~O.5957*"*
(0.2263) (©2295) (9.2884) (0.2398) (©2207) (2216) (0.2281) (0.2857) (2881) (0.2217)
Hispanic ~O.5012*** = -0.3184* = -0.7339** — 0.48 15** ~0.0997 0.0103 ~0.3124* ~0,1244 0.2927 ~0.0875
(0.1859) (0.1813) (Q.4904) (1811) (G.S7L) (0.1846) «= (861) (@.2801) (0.1985) (0.1949)
MENA -L4670"** -1.2348* -L8LI8** -1.4373* -L35g2* -L26ss*** -Lg2gg* -Ligsa** -Lage7** ~O.8100"*
(0.1728) (0.1754) (0.1940) (0.1908) (0.1850) (0.1878) (6.1689) (Q.1717) (0.1766) (0.1795)
Other “LOBTSP*® ATTIRE LOGO" -.7007F**  -1.16217** -0.9011*** -LI7GL** -0.8845***  -0.6295*** -0,3966**
(0.1767) (0.1729) (0.4914) = (0.1846) (0,1884) (1879) (0.1712), (871) (0.1671) (0.1609)
N 2281 2281 2250 2250 2235 2235 2265 2265. 2260 2260
R-Squared 0.1902 0.1930 O.1712 0.2581 6.1642 0.2142 06,1453 0.2225 0.0872 0.1616
Mean Omitted A2770 4.2770 5.2119 5.4113 A.T87L 47871 4.0594 4.0594 3.4945 3.4945
Controls? N ¥ N ¥ N Y N ¥ N Y

Notes: * 0.10 ** 0.05 *** @.01. Omitted category is White or Christian. Results are shown both with and without controls. Controls are
dumunies for all values of our demographic categories: sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-U8).
Those that refused to provide religion or race are included as a dummy but not shown in the table.

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C5. Regressions — Change in Experience (By Affiliation, Religion, Race)
Table C5: Change in Experience by Affiliation, Religion, Race — All Respondents

Dependent Variable Change in Experience since Last Year
(1) (2) 3) (4) (5) (6)
Undergrad ~O.2210*** — -0.1685***

(0.0657) (0.0645)
Grad/PostDoc/Fellow -0.19777"* — -0.11707*
(0.0539) (0.0534)

Staff O.1278"**  0.1010**
(0.0446) (0.0487)
Other -0.0391 ~0.0246
(0.1123) (0.1017)
Atheist -0.0317 0.0078
(0.0407) (0.0411)
Muslim -O.7086""* -0.4145***
(0.0821) (0.0910)
Jewish -O.3970""* = 0.3681***
(0.0453) (0.0456)
Other -0.0814 -0.0277
(0.0541) (0.0587)
Asian -0.1661"** — .0.0692
(0.0613) (0.0612)
Black ~0.0903 ~O.1011
(0.1077) (0.1020)
Hispanic -0.1447* ~().1243*
(0.0772) (0.0748)
MENA ~0.6236""" — -0,.4022***
(0.0749) (0.0794)
Other -U.3738"** = -0.26067**
(0.0722) (0.0698)
N 2074 2074 2074 2074 2074 2074
R-Squared 0.0369 0.1416 0.0610 0.1411 0.0543 0.1395
Mean Omitted (8994 0.8904 0.7556 “0.7556 0.8161 «0.8161
Controls? N y N ¥ N Y

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Christian in the first two columms, White in columms 3 and 4, and Faculty in columns
Sand 6. Results are shown both with and without controls. Controls are dummies for all values of our demographic categories: race,
sexuality, affiliation, gender, political ideology, nationality (dummy US/Non-US). If respondent said they experienced both negative and
positive changes, they are included multiple times.

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APPENDIX D: REPRESENTATIVENESS OF SAMPLE
Table D: Representativeness — All Respondents

Summary Statistics Count (Pulse) Percent (Pulse) Count (TF) Percent (TF)
20595 100.00 2295 100.00
Affiliation
Students 9405 45.67 608 26.49
Faculty 2084 10.12 489 21.31
Staff 9106 44,21 898 39.13
Religion
Agnostic/Atheist/No Religious | 8036 39.13 875 38.13
Affiliation
Christian 5464 26.61 592 25.80
Jewish 1398 6.81 447 19.48
Muslim 369 1.80 89 3.88
Other 3088 15.04 282 12.29
Not Available 2180 10.62 258 11.24
Race
White 12068 58.60 1508 65.71
Asian 2867 13.92 230 10.02
Black 1188 5.80 83 3.62
Hispanic 1162 5.64 124 5.40
MENA 288 1.40 125 §.45
Other 1770 8.59 139 6.06
Prefer not to answer 1252 6.10 314 13.68

Note: Some categories do not sum to 100% since some respondents provided multiple responses to the same question.

APPENDIX E: HETEROGENEITY BY RACE AND RELIGION
Table E1: Religion And Race of Respondents

Religion/ White | Asian or | Black or | Hispanic or | Middle- Other | Not Total

Race Asian African Latina/o/x Eastern or Available
American | American North African

Atheist/ 663 102 24 53 32 41 52 875

Agnostic/

No Religious

Affiliation

Jewish 340 10 4 15 36 61 35 447

Muslim 8 34 8 2 38 2 8 89

Christian 448 37 38 54 16 29 39 592

Other 178 47 12 19 11 25 26 282

Not Available | 55 20 6 6 10 8 171 258

Total 1508 230 83 124 125 139 314

Note: Categories do not sum to 2295 since some respondents reported multiple religions/races.

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Figure E1: Safety and Belonging by Race and Religion — All Respondents

All Respondents

@) Strongly Disagree | Slightly Disagree Slightly Agree 277 Strongly Agree

Nether Agres nor Disagrs Agen:
iteal Ike | bafong at Harvard feel physically safe on campus i few martaly safe on campus
MENA Muslim ae 29% 5a, 28
MENA Jewish 2% 40% ae, 1B
MENA Other He AT% 30% an
Non-MENA Musiim = 3% BIR 2 48%,
NonMENA Jewish Bt ay 1 a%
Nor-MENA Other 47% TAM Be TR
Vee ing fren
| fel sty well-being i Supported at Harvad Te eee couhet atone maeas
against my denee of dentiynationality
MENA Mugin 1% 2% 86%
MENA Jewish 21% 2% So%
MENA Other BM AOR 4%
NON-MIENA Muslin 46% we aP%
Non-MENA Jewsh 29% 50M, 6%
NeePMEMADMner = 2% are 2%

Nabe:

Barcentage inhels omitted when tess thar & pareaet.

Sercant Ages © Percent Sighhy ages.” Agree, “or Swrengly age

Percent Deegrae « Perosal Sighty disagree,’ ‘Dizagren,’ or Sranyly disagree.

Figure E2: Freedom of Expression by Race and Religion — All Respondents

All Respondents
__ Stghtly Agree [7 Strongly Agree
Nether Agres nor Deagree. Agree

i feel comforiable expressing my religious
beliefs andic ethic affiliation arqund
campus

1 Ta a 1h Ba a

% ark

Strongly Disagree Blighty Disagree

i feel comforiabie expressing my opimiane to
others at Harvard

| feel comforiable expressing my political
opinions and/or beliefs around caripus

MENA Musiim aay

MENA Jewish eG

MENA Uther 8% 29% 53% ae a ae
NoreMENA Muslim 88% BBM wy mm BAM 1%
Non-MENA Jewish 2% AER BE AI 6% 58%

NomwMENA Omer 43% HS 20% 6e% BB MES

I haee NOT experionced any discnmination, i thy experienge at Harverti, | feel there is

sterectyping, or negative biases on campus
due ta my views regarding current evenis

ne arademin andfor professional penalty for
enaressing ong’s political views

MENA Mustin 18% 19% 92% 6%
MENA Jewish 74 1% 78% 1%
MENA Cither BI% RTH 8% 18%

Now-MENA Muslim  % 1% aes 4%
NondVMENA Jewish 28% aR 80% 26%
Non-MENA Other 25% RE 58%, Re%

Notes

Percentage iabals omilted whan fess rare & paroea,

Percent Agnes = Poment Shghtly agren. “Agres,” or Stronaly agp

Porcent Disagree = Perpent “Sighiiy Sieagree, “Cisagras, “or Soro oisagres.

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Table E2: Safety and Belonging by Race and Religion — All Respondents

Dependent. Variable Belonging Physical Safety Mental Safety Well-being Supported Comfort Socializing
() Q 8 @ 6 6) (7) 8) @) (10)
MENA Muslim ~2.2200* = ~LQ605* 2.1933" 1 O46 * 2. 7LGR* 2 34BO FF -2 ABO 2.0860 LSORTEEE ~LABLa*
(0.3183) (0.2924) (0.3327) (6.3114) (0.3504) (0.3188) (0.2962) (0.2867) (6.3389) (0.3264)
MENA Jewish -L4Q7TO* -1.4409""*  -L.2075""* -L2657"** 2.4224"? -2,.3220" -L7300* LL biGd* 1 7968"** LIQ
(0.4224) (0.3336) (0.3077) (0.3130) (0.5927) (0.3396) (0.2908) (0.3090) (0.3293) (0.3294)
MENA Other “12276 ~L ULSTER 0.8858 **  -O.77289* L724 * -LGEST RPE -LLIS2F Loar 0G 275*  -0.6926"*
(0.2850) (0.2744) {0.2608) (0.2508) (0.2925) {0.2799) (0.2826) (0.2651) (0.2940) (9.2605)
Non-MENA Muslim -0.9825*** -0.9270"**  -1.3641*** -1.2700""" -L6e6al*** -L.5500"" -L2180""" |= -L0Q77* —-1L.4006"** =~ L. 2357"
(0.2957) (0.3053) (0.2885) (0.2851) (0.2933) (0.2956) (0.2872) (0.2892) (0.2829) (0.2659)
Non-MENA Jewish -0.2407°*"  -).4258"**  -Q.4147"* -0. 5583" -0.49017*  -).68607"* -+.4552"** — -0.6079""* = ~-0.4359""*  ~.6476***
(0.0956) (0.0925) (0.0870) (6.0832) (6.1040) (0.0985) (0.1030) (0.0971) (0.1049) (0.1038)
x 2280) 2280 2269 2269 2266 2206 2280 2280 2245 2245
R-Squared 0.0518 0.1593 0.0729 0.1682 0.0853 G.2215 6.0578 0.1951 0.0467 0.1451
Mean Omitted 5.3225 5.3225 6.1879 6.1379 5.5030 5.5030 4.9782 AQ7TB2 4.9054 4.9054
Controls? N Y N Y¥ N ¥ N Y N ¥

Notes: * 6.10 ** 0.05 *** G.01. Omitted category is Non-Middle-Eastern Non-Muslim or non-Jewish. Results are shown both with and

without controls. Controls are dummies for all values of our demographic categories: sexuality, affiliation, gender, political

nationality (dummy US/Non-US),.

ideology,

Table E3: Freedom of Expression by Race and Religion — All Respondents

Dependent Variable

Comfortable Expressing

No Discrimination

No Professional Penalty

Opinions Religion/ Ethnicity Political Beliefs Expressing Views Expressing Political Views
( (2) @) (4) (8) (6) (7) (8) (9) (10)
MENA Muslim 2.094" 1 TGAPRE 2 RAIBEE WD OBRT IO AZ IGQ0PF*  .2.OSZS* LOTSA ~LGdOFE* .Logggt** ~LB557"**
(0.2545) (0.2430) (0.2803) (0.2991) (0.3052) (0.3062) (0.2100) (0.2239) (0.2079) (0.2031)
MENA Jewish ~21190*** 2 ATLQH* wD BTA EE DORI SR AZ ABATEHY 2D RBOORHE -DPORIH W2 BSL FY -LOTISRRE ~O. DORR *
(0.2081) (0.2089) (0.2739) {0.2796) (0.2715) (0.2871) (0.1845) (0.1913) (0.2779) (0.2888)
MENA Other “LIOTERE*  .GB07"** 1 OTIRPPE ALATA LORTIIF ALLLTAP ALOR aR LTE ALO LB R*
(0.2735) (0.2634) (0.2857) {0.2653) (0.2753) (0.2705) (0.2919) (0.2788) (0.2643) (0.2604)
Non-MENA Muslim -1.2268*** .L.12657** -2.0000"** -L78415** -L.ESd4*** -1.58897** -L5GBSTFY .LABaLFe*  -L5g4 THRE ~L4glae**
(0.2647) (0.2902) (0.2892) (0.2907) (0.2965) (31g) (0.2143) (0.2204) (0.1844) (0.1926)
Nonw-MENA Jewish -(.4595"** -Q.70068"** -L.G802** -0.8610""" .o.0475°"" Liege" -2.4769"** L760)" -0.0665 -0.2230**
(0.1088) (9.1028) (0.7158) (9.1095) (0.1187) (0.1114) (0.1105) (0.1024) (7g) (OL071)
N 2281 2281 2250 2250 2235 2235 2265 2265 2260 2260
R-Squared 0.0497 6.1745 0.0883 0.2292 0.0797 0.1906 6.0509 0.2012 0.0329 0.1519
Mean. Omiibted 41456 4.1456 5.0251 5.0251 A.7926 4.7926 3.9198 3.9198 3.3212 3.3212
Controls? N Y N Y N Y N Y N Y

Notes: * 0.10 ** 0.05 *** 0.01. Omitted category is Non-Middle-Eastern Non-Muslim or non-Jewish. Results are shown both with and
without controls. Controls are dummies for all values of our demographic categories: sexuality, affiliation, gender, political ideology,

nationality (dummy US/NomwU8).

Table E4: Religion and Affiliation of Respondents

Religion/Affiliation | Student Fellow/Post- | Faculty Staff Other Not Total
Doc Available

Atheist/ 245 (28%) | 51 (6%) 167 (19%) 370 (42%) 22 (3%) 20 (2%) 875

Agnostic/No

Religious

affiliation

Jewish 130 (29%) | 23 (5%) 138 (31%) 127 (28%) 17 (4%) 12 (3%) 447

Muslim 49 (55%) 7 (8%) 11 (12%) 18 (20%) 2 (2%) 2 (2%) 89

Christian 151 (26%) | 28 (5%) 112 (19%) 269 (45%) 20 (3%) 12 (2%) 592

Other 49 (17%) 13 (5%) 49 (17%) 150 (53%) 10 (4%) 11 (4%) 282

Not Available 44 (17%) 11 (4%) 53 (21%) 79 (31%) 5 (2%) 66 (26%) | 258

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Table E5: Religion and Affiliation of Respondents (MENA Only)

Religion/Affiliation | Student Fellow/Post- | Faculty Staff Other Not Total
Doc Available

Atheist/ 16 (50%) 2 (6%) 4 (13%) 10 (31%) 0 (0%) 0 (0%) 32

Agnostic/No

Religious

affiliation

Jewish 20 (56%) 4 (11%) 7 (19%) 4(11%) 1 (8%) 0 (0%) 36

Muslim 25 (66%) 4 (11%) 4 (11%) 4 (11%) 1 (8%) 0 (0%) 38

Christian 5 (31%) 2 (13%) 0 (0%) 8 (50%) 1 (6%) 0 (0%) 16

Other 4 (36%) 0 (0%) 2 (18%) 5 (45%) 0 (0%) 0 (0%) 11

Not Available 4 (40%) 1 (10%) 2 (20%) 2 (20%) 0 (0%) 1 (10%) 10

APPENDIX F: PRE-ANALYSIS PLAN AND SURVEY INSTRUMENT
Phase I Community Survey: Pre-Analysis Plan

The goal of this pre-analysis plan is to specify, before any data collection or analysis, the approach that will
be taken in analyzing the results of this survey. The survey will be distributed and administered online
beginning in May 2024. The survey is open to all members of the Harvard community, including
undergraduate and graduate students, faculty members, staff, and Harvard affiliates more broadly. It is
only open to these members and their anonymity will be preserved. The survey exercise represents Phase I
of longer term data gathering and analysis exercise. This phase will focus on getting the views of those
members of the community who are currently more engaged and responsive to sharing their views. ‘The
subsequent phase will endeavor to also reach out to a wider Harvard-wide audience.

BACKGROUND

This survey is the first phase of a data collection effort aiming to provide a sense of the experiences and
views of the Harvard community members, especially those most affected by and engaged in the events of
the past several months. Note that this survey is not intended as a public opinion survey, but rather aims to
offer insights into (i) how the community is feeling, particularly regarding their sense of belonging amidst
recent events spanning the past several months, including those that may have led to antisemitic, anti-
Israeli and anti-Arab, anti-Muslim, and anti-Palestinian biases and related concerns; (ii) what factors may
be especially relevant in generating these experiences and biases; and (iii) what recommendations the
community members may have in helping lessen some of the adverse experiences and biases faced. The
survey, while focused on those who are more inclined to respond currently, will provide a systematic
analysis of these issues and will also subsequently help inform the design and questions of a more
representative survey that we hope to launch in the fall with the Harvard-wide community.

SURVEY ADMINISTRATION

Instrument

The survey includes four distinct sections:

1. Experiences of belonging, safety, and engagement at Harvard
2. Positive and negative factors influencing experiences

3. Recommendations to address concerns

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4. Demographics

Each of these sections will include close-ended/multiple choice questions and open-ended questions that
allow participants to elaborate on their experiences and suggestions.

Sample

The survey will be posted on a Harvard website and disseminated to Harvard affiliates through various
means such as targeted emails, and word of mouth reminders. To take the survey, participants will be
required to login using their HarvardKey credentials. This verification allows us to avoid duplication of
survey responses by the same person and to avoid the inclusion of individuals outside of Harvard.

Note that since completing the survey is not mandatory, as well as the fact that the survey will be
publicized to community members in varying ways, the sample might not be proportionally representative
of the overall Harvard population; instead, it might represent the views of those individuals in the Harvard
community who are more inclined and willing to share their opinions.

Confidentiality

Responses to the survey are confidential and anonymous. As soon as participants submit their survey
responses, their personal credentials will be immediately separated from their answers and deleted. Survey
administrators and research team members will not have access to respondents’ identifying information.
The research team will also mask/redact any potentially identifying information from text submitted in
response to the open-ended items. Accordingly, respondents will never be identified in published results.

Incentives

We are not offering any gifts or monetary incentives to finish the survey at this time. Affiliates will be
asked to take the survey voluntarily to shed light on their experiences and feedback.

Timeline for Administration and Communication Plan
The survey will be launched in May by placing them on the websites of both task-forces. Links will be

shared with community members using various formal and informal fora.

REPORTING OF RESULTS AND ANALYSIS
Analysis

The survey collects both open-ended and multiple-choice questions that will be analyzed and published in
ways that both complement each other but also acknowledge differences due to elicitation methods.

1. Multiple choice/close-ended questions: we will tabulate and report the number and percentage of each
answer selected on these questions. The idea will be to provide a sense of the average and variation in the
responses.

2. Open-ended questions: to protect confidentiality, we will not fully share all open-ended answers and
comments received. Instead, we will synthesize the answers to these questions and select parts of
comments (while minimizing any risk of jeopardizing anonymity) to highlight in public communications.
If specific feedback or recommendations are repeatedly highlighted by different respondents in open-
ended fields, we will highlight this in our synthesis. While the open-ended questions are typically
associated with specific close-ended questions, we acknowledge that respondents may cover multiple
themes in one long text response and may not always make the distinction of keeping their open-responses
separate and specific to the close-ended question they are adjacent to or even the given open-ended
question prompt. Therefore, in our analysis we will compile all the open-ended responses together so they
can be appropriately analyzed based on their content and not just location, and as appropriate, use their
placement in the survey to interpret the context if not clear from the response itself.

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Points of Disaggregation
We will report the variable tabulations separately for the different sub-groups and demographics. In doing

so, we will make sure not to combine any groups in a way that may reveal respondents’ identity. Sub-
groups we are considering include:

e Harvard affiliation

e Harvard School

e Age

e National identity

e Race/ethnicity identity

e Religious views

e Gender

e Sexual orientation

e Political views

Representativeness and Weighting Strategy

Since this survey is not administered through a University-wide dissemination, it is not intended to
provide a representative view. Instead, it is meant to share the views of those individuals who are currently
more engaged and willing to share their opinions. That said, we will share the response numbers (overall
and by various sub-groups) to be able to give a sense of coverage across various groups. Moreover, we hope
that by comparing these sub-groups to those in the subsequent Harvard-wide Pulse survey in the Fall
semester, we will be able to determine whether a weighting scheme (if any) is appropriate to best present
the results. We will not weigh the results unless we have evidence it is needed and will note instances of
where it is used in reports.

Deliverables

The main deliverable of the report will be a public key findings report with infographics for the wider
Harvard and public community. The report will include descriptive statistics and detailed analysis with
inferential statistics. The analysis will also be utilized to inform the design and administration of the
Harvard-wide 2024 Pulse Survey anticipated to be launched in the Fall of 2024.

Proposed Timeline for Survey Analysis
We anticipate the survey will run for the month of May 2024 till June 2024. Analysis will be carried out

over the summer with a plan to have an interim findings report by mid-summer and a final analysis by end
summer 2024.

APPENDIX: SURVEY INSTRUMENT

PTF Survey 2024

This survey is being conducted by the two Presidential Task Forces set up in response to concerns
regarding anti-Arab, anti-Muslim, and Antisemitic biases faced by members of the Harvard community.
The survey solicits views on our community members’ well-being, experiences, and recommendations. It
complements the listening sessions conducted over the past few months. The data gathered will document
(i) how the community is feeling regarding their sense of belonging, safety, and ability to engage positively,

(ii) what factors may be especially relevant in generating community experiences; and (iii) specific

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recommendations for improvement. The last survey section gives you the option to self-identify along
several attributes to enable a more informative analysis that preserves anonymity. We anticipate the fixed
response part of the survey taking 5-10 minutes. We allow for and especially encourage open-ended
responses as they provide valuable nuance and specificity. Survey responses will be kept anonymous and
participation in the survey is voluntary. The data collected will be analyzed according to a pre-specified
analysis plan publicly available here. To take the survey in Spanish, Portuguese, Mandarin, or Haitian
Creole, please visit this link.

I. Experience

Thank you for beginning the survey! Your responses on each page are saved when you click the right arrow
on the bottom. This allows you to re-login at a later time to complete the survey. However, no further
changes will be possible once you submit the survey. Upon submission, response data is de-linked from
your login credentials to ensure anonymity.

For the following statements, please rate how strongly you agree or disagree.

Strongly | Disagree | Slightly | Neither | Slightly | Agree | Strongly | Prefer

disagree disagree | agree | agree agree | not to
nor answer
disagree

| feel like | belong at Harvard O O O O O O O O

| feel physically safe on campus | © O O O O O O O

| feel mentally safe on campus O O O O O O O O

| feel my well-being is

supported at Harvard O O O O O O O O
| feel comfortable expressing

my opinions to others at O O O O O O O O
Harvard

| have NOT experienced any
discrimination, stereotyping, or
negative biases on campus due O O O O O O O O
to my views regarding current
events

| feel comfortable expressing

my religious beliefs and/or O O O O O O O O

ethnic affiliation around campus

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| feel comfortable expressing

my political opinions and/or O O O O O O O O

beliefs around campus

| feel comfortable
socializing/being friends with
people on campus whose
political views may be in conflict O O O O O O O O
with mine and/or go against my
sense of identity/nationality

In my experience at Harvard, |

feel there is no academic and/or
professional penalty for O O O O O}O; O O

expressing one’s political views

Please describe in more detail below recent and/or salient experience(s) — positive and/or negative — that
can shed further light and/or nuance on your responses above:

Compared to this time last year, how has your sense of safety, belonging, and/or ability to interact
positively with the community on the Harvard campus changed? Please elaborate using the open text-box
and select multiple choices if you experienced both positive and negative changes.

CO Became much worse this year. Please specify how / why:

CO Became worse this year. Please specify how / why:

CO] Remained more or less the same this year. Please specify how / why:

CO Became better this year. Please specify how / why:

ZC Became much better this year. Please specify how / why:

0 Check if you were not on campus last year

II. Factors (positive and negative)

For each of the factors below, indicate whether they have contributed substantially positively and/or
negatively to your sense of safety, belonging, and/or ability to interact with the community on campus.
Note that the same factor could affect you positively or negatively. If a factor is not salient please select
“Not substantial /No Opinion”. Please also provide details on each substantial factor using the text boxes
that appear at the end of the page based on your selections.

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Substantially | Substantially | Not substantial

positive negative / no opinion
(1) In-person interactions with Harvard students in academic O O O
settings (e.g. classroom, lab, etc.)
(2) In-person interactions with Harvard students in non-academic O O O
settings (e.g. extracurricular activity, event, or social gathering)
3) Online interactions with Harvard students
8) O O O
4) In-person or online interactions with Harvard facul
(4) In-p ty O O O
(5) In-person or online interactions with Harvard
administration/staff O O O
6) On campus media coverage (print/social
(6) p ge (p ) O O O
7) Harvard University and School policies
(7) ty p O O O

(8) External actors’ presence/influence on campus life and climate

O O O
Breese or online interactions with individuals not affiliated O O O
(10) Off campus media coverage (print/social) O O O
(11) Global situation/events O O O

We now list each of the factors that you selected as affecting you substantially positively or negatively.
Please provide details/specific examples on how you were affected for each by responding separately to the
specific open text boxes below:

Positive: (1) In-person interactions with Harvard students in academic settings (e.g. classroom, lab, etc.)

Negative: (1) In-person interactions with Harvard students in academic settings (e.g. classroom, lab, etc.)

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Positive: (2) In-person interactions with Harvard students in non-academic settings (e.g. extracurricular

activity, event, or social gathering)

Negative: (2) In-person interactions with Harvard students in non-academic settings (e.g. extracurricular

activity, event, or social gathering)

Positive: (3) Online interactions with Harvard students

Negative: (3) Online interactions with Harvard students

Positive: (4) In-person or online interactions with Harvard faculty

Negative: (4) In-person or online interactions with Harvard faculty

Positive: (5) In-person or online interactions with Harvard administration/staff

Negative: (5) In-person or online interactions with Harvard administration/staff

Positive: (6) On campus media coverage (print/social)

Negative: (6) On campus media coverage (print/social)

Positive: (7) Harvard University and School policies

Negative: (7) Harvard University and School policies

Positive: (8) External actors’ presence/influence on campus life and climate

Negative: (8) External actors’ presence/influence on campus life and climate

Positive: (9) In-person or online interactions with individuals not affiliated with Harvard

Negative: (9) In-person or online interactions with individuals not affiliated with Harvard

Positive: (10) Off campus media coverage (print/social)

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Negative: (10) Off campus media coverage (print/social)

Positive: (11) Global situation/events

Negative: (11) Global situation/events

Positive: (12) Other Factor

Negative: (12) Other Factor

III: Recommendations
Please list up to five specific recommendations to help address some of the concerns that you have raised.

Recommendation 1:

Recommendation 2:

Recommendation 3:

Recommendation 4:

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Recommendation 5:

Please share anything else that you feel is important to highlight regarding our campus community and current
climate.

IV. Demographics

Please share how you self-identify along the attributes below. Doing so will allow the analysis to be separately
tabulated by these identities and provide a more informative examination. Under a given category you can also
choose “Other” and specify an identity that is not included in the list. You can also select multiple identities in each
category. Be assured that we will not combine these categories in ways that could risk revealing a specific respondent.
That said, for each category you can choose “Prefer not to answer” if you prefer not to disclose a specific identity.

Which of the following best describes your current primary affiliation with Harvard?
CO Undergraduate Student

CJ Graduate or Professional Student

OO Staff

O Tenured or Tenure-Track Faculty

O Non-Ladder Faculty

CO Fellow / Researcher

OC Postdoctoral Fellow

0 Other

CO Prefer not to answer

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Which Harvard Schools or Units are you affiliated with? (select all that apply)

C1 Harvard Business School (HBS)

0 Harvard College

DO Harvard Divinity School (HDS)

DO Harvard Division of Continuing Education (including the Extension School)
O Harvard Faculty of Arts and Sciences (FAS)

CO Harvard Kennedy School (HKS)

CO Harvard Kenneth C. Griffin Graduate School of Arts and Sciences (GSAS)

CO Harvard Graduate School of Design (GSD)

CJ Harvard Graduate School of Education (HGSE)

OO Harvard John A. Paulson School of Engineering and Applied Sciences (SEAS)
CO Harvard Law School (HLS)

CO Harvard Medical School (HMS)

CO Harvard Radcliffe Institute for Advanced Study

CO Harvard School of Dental Medicine (HSDM)

CJ Harvard T.H. Chan School of Public Health (HSPH)

CJ Central Administration

O Other

CJ Prefer not to answer

Which age group best describes you?
0 Under 21

O 21-25

C1 26-30

0 31-40

0 41-50

0 51-60

CJ 61 and older

OC Prefer not to answer

Which nationality identity best describes you? If you have multiple nationalities, please press command/control and
select all that apply.

[drop-down list of countries with Prefer not to Answer option included]

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Which racial/ethnic identity best describes you? (select all that apply)
CJ American Indian or Alaska Native

CO Asian or Asian American

C Black or African American

O Hispanic or Latina/o/x

CO Middle Eastern or North African

CO Native Hawaiian or Pacific Islander

CO White

CO Prefer to self-identify

CJ Prefer not to answer

Which best describes your religious identity? Please select all that apply and specify the branch, sect, or

denomination you follow in the corresponding box below, if applicable.

XO Buddhism. Please specify branch, sect, or denomination if applicable:
O Christianity. Please specify branch, sect, or denomination if applicable:

CO Hinduism. Please specify branch, sect, or denomination if applicable:

C1 Islam. Please specify branch, sect, or denomination if applicable:

CO Judaism. Please specify branch, sect, or denomination if applicable:

O1 Taoism. Please specify branch, sect, or denomination if applicable:

O Folk religions. Please specify branch, sect, or denomination if applicable:
C1 Shinto. Please specify branch, sect, or denomination if applicable:

0 Sikhism. Please specify branch, sect, or denomination if applicable:

0 BahF,\\y72 Faith. Please specify branch, sect, or denomination if applicable:

C1 Jainism. Please specify branch, sect, or denomination if applicable:
0 Spiritual

OO Agnostic

0 No religion

CO Atheist

CO Prefer to self-identify

C1 Prefer not to answer

Which best describes your gender identity? (select all that apply)
C1 Gender nonconforming

C1 Genderqueer

CO] Man

0 Nonbinary

0 Questioning

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OO Transgender
CO Woman
CO Prefer to self-identify

CJ Prefer not to answer

Which best describes your sexual orientation? (select all that apply)

CO Bisexual

O Gay

CO Lesbian

C Heterosexual

OC Queer

CO Pansexual

CO Asexual

CO Prefer to self-identify

C Prefer not to answer

Which of the following best describes your political views?
O Very conservative

CJ Conservative

0 Slightly conservative

CO Moderate, middle of the road

0 Slightly liberal

CO Liberal

0 Very liberal

0 Apolitical

0 Prefer to self-identify

CJ Prefer not to answer

End of survey check

You have reached the end of the survey. If you are ready to submit your final responses, please proceed by clicking

the “Submit” button on the right below. Note that once you submit the survey, you will not be able to retake it or

to edit your submitted responses.

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May 6, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Dr. Garber:

NIH is hereby providing notice that funding for the projects in the attached spreadsheet
will be terminated pursuant to the National Institutes of Health (“NIH”) Grants Policy Statement
(GPS),! and 2 C.E.R. § 200.340(a)(4).

As reflected in the Notices of Award for the most recent budget period of these projects,
the NIH Grants Policy Statement is incorporated as a term and condition of award. The GPS
“includes the terms and conditions of NIH grants and cooperative agreements and is incorporated
by reference in all NIH grant and cooperative agreement awards.”* According to the GPS, “NIH
may ... terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.” At the time
the Notices of Award were issued for the most recent budget period, 2 C.F.R. § 200.340(a)(4)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency priorities.”

These awards no longer effectuate agency priorities. NIH is obligated to carefully steward
grant awards to ensure taxpayer dollars are used in ways that benefit the American people and
improve their quality of life. Your project does not satisfy these criteria.

NIH is responsible for ensuring that its limited resources are appropriately allocated. NIH
policy is that grant dollars should support institutions that foster safe, equal, and healthy working
and learning conditions conducive to high-quality research and free inquiry.* NIH policy is also
that grant dollars should only support institutions that comply with principles and laws of
nondiscrimination.

| https://grants.nih.gov/grants/policy/nthgps/nihgps.pdf.
2 NIH GPS, Section 3.
3 Id. at Section 8.5.2.

4 NTH GPS, Section 4.

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As relevant to NIH’s policies, NIH understands that Harvard continues to engage in race
discrimination including in its admissions process, and in other areas of student life, such as access
to the Law Review at Harvard Law School.

NIH is also aware of recent events at Harvard University involving antisemitic action that
suggest the institution has a disturbing lack of concern for the safety and wellbeing of Jewish
students. Harvard’s ongoing inaction in the face of repeated and severe harassment and targeting
of Jewish students has ground day-to-day campus operations to a halt, deprived Jewish students of
learning and research opportunities to which they are entitled, and brought shame upon the
University and our nation as a whole. Indeed, as the Harvard Presidential Task Force on Combating
Antisemitism and Anti-Israeli Bias concluded, actions at Harvard during the 2023-2024 academic
year resulted in widespread abuse of Jewish and Israeli students by an institution “that
mainstreamed and normalized what many Jewish and Israeli students experience as antisemitism
and anti-Israeli bias.”

Supporting research in such an environment is plainly inconsistent with NIH’s priorities
and raison d’etre of funding and championing the very best American research and educational
institutions.

Although “NIH generally will suspend (rather than immediately terminate) a grant and
allow the recipient an opportunity to take appropriate corrective action before NIH makes a
termination decision,’ no corrective action is possible here. That is because, upon being made
aware of systematic institutional failures to address deeply rooted antisemitism and racial
discrimination, the University has refused to take appropriate action. NIH perceives these
categorical rejections to manifest the University’s unwillingness to take corrective action or
implement necessary reforms. Therefore, no modification of the projects could align the projects
with agency priorities.

Costs resulting from financial obligations incurred after termination are not allowable.®
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 200.344. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending. gov.’

5 NIH GPS, Section 8.5.2.
6 See 2 CER. § 200.343.
72 CER. § 200.341 (c).

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Administrative Appeal

You may object and provide information and documentation challenging these
terminations.

You must submit a request for such review to Director Bhattacharya no later than 30 days
after this letter is received, except that if you show good cause why an extension of time should be
granted, Dr. Bhattacharya may grant an extension of time.

The request for review must include a copy of this decision, must identify the issue(s) in
dispute, and must contain a full statement of your position with respect to such issue(s) and the
pertinent facts and reasons in support of your position. In addition to the required written statement,
you shall provide copies of any documents supporting your claim.

Sincerely,

Michelle G. Bulls
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research/Office of the Director

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PRESIDENT AND FELLOWS OF HARVARD COLLEG 487 1,200,185,167.00 _ 659,894,398.00_

GrandTotal 658 2.256,276,772.00  _——-1,285,.884,780.00

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National Institutes of Health FAIN# RO1AI182377
g NATIONAL INSTITUTE OF ALLERGY AND INFECTIOUS DISEASES Federal Award Date
% 12/20/2024

on

Recipient information Federal Award information
1. Recipient Name

PRESIDENT AND FELLOWS OF HARVARD

COLLEGE 11. Award Number
25 SHATTUCK ST 5RO1A1182377-02
BOSTON, MA 02115

12. Unique Federal Award Identification Number (FAIN)

. Congressional District of Recipient RO1AI182377
O7
13. Statutory Authority
. Payment System Identifier (ID) 42 USC 241 42 CFR 52

104210358005
14. Federal Award Project Title

_ Employer Identification Number (EIN) Structural and functional studies of alphavirus receptors
042103580

15. Assistance Listing Number

. Data Universal Numbering System (DUNS) 93.855
047006379

16. Assistance Listing Program Title

. Recipient's Unique Entity Identifier Allergy and Infectious Diseases Research
JDLVAVGYJO2 1

17. Award Action Type

. Project Director or Principal Investiaator Non-Competing Continuation

18. Is the Award R&D?
Yes

Summary Federal Award Financial Information

. Authorized Official

20a. Direct Cost Amount $476,863
20 b. Indirect Cost Amount $235,199

21. Authorized Carryover

22. Offset

Federal Agency Information 23. Total Amount of Federal Funds Obligated this budget period $712,062
9. Awarding Agency Contact Information 24. Total Approved Cost Sharing or Matching, where applicable $0
MATTHEW WILLIAM Gossart 25. Total Federal and Non-Federal Approved this Budget Period $712,062

NATIONAL INSTITUTE OF ALLERGY AND !
INFECTIOUS DISEASES 27. Total Amount of the Federal Award including Approved Cost $1,464,542

matthew cossart@nih gov Sharing or Matching this Project Period
(240) 627-3046

10. Program Official Contact Information 28. Authorized Treatment of Program Income
LESLEY CONRAD Dupuy Additional Costs

NATIONAL INSTITUTE OF ALLERGY AND | 29. Grants Management Officer - Signature

INFECTIOUS DISEASES Nicole A Guidetti

lesley. dUpuy@nihi.gov

240-627-3731
30. Remarks
Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
otherwise requested from the grant payment system.

Page 1 of 7

HHSHarv_00000509
Case 1:25-cv-11048-ADB Document 224-4 Filed 07/14/25 Page 314 of 325

Notice of Award
RESEARCH
Department of Health and Human Services
National Institutes of Health

NATIONAL INSTITUTE OF ALLERGY AND INFECTIOUS DISEASES

SECTION | - AWARD DATA — 5RO1AI182377-02

Principal Investiaator(s):

Dear Authorized Official:

The National Institutes of Health hereby awards a grant in the amount of $712,062 (see “Award Calculation”
in Section | and “Terms and Conditions” in Section Ill) to HARVARD MEDICAL SCHOOL in support of the
above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject
to the requirements of this statute and regulation and of other referenced, incorporated or attached terms
and conditions.

Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
funds are drawn down or otherwise requested from the grant payment system.

Each publication, press release, or other document about research supported by an NIH award must include
an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
was supported by the National Institute Of Allergy And Infectious Diseases of the National Institutes of
Health under Award Number RO1AI182377. The content is solely the responsibility of the authors and does
not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a press
release concerning the outcome of this research, please notify the NIH awarding IC in advance to allow for
coordination.

Award recipients must promote objectivity in research by establishing standards that provide a reasonable
expectation that the design, conduct and reporting of research funded under NIH awards will be free from
bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
through the eRA Commons FCOI Module. The regulation does not apply to Phase | Small Business
innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
information.

if you have any questions about this award, please direct questions to the Federal Agency contacts.

Sincerely yours,

Nicole A Guidetti
Grants Management Officer
NATIONAL INSTITUTE OF ALLERGY AND INFECTIOUS DISEASES

Additional information follows

Cumulative Award Calculations for this Budget Period (U.S. Dollars)

Page 2 of 7

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Case 1:25-cv-11048-ADB Document 224-4 Filed 07/14/25 Page 315 of 325

Federal Direct Costs $476,863
Federal F&A Costs $235,199
Approved Budget $712,062
Total Amount of Federal Funds Authorized (Federal Share) $712,062
TOTAL FEDERAL AWARD AMOUNT $712,062
AMOUNT OF THIS ACTION (FEDERAL SHARE) $712,062
SUMMARY TOTALS FOR ALL YEARS (for this Document Number)

YR THIS AWARD CUMULATIVE TOTALS

2 $712,062 $712,062

3 $723,562 $723,562

4 $712,723 $712,723

5 $701,563 $701,563

Recommended future year total cost support, subject to the availability of funds and satisfactory progress
of the project

Fiscal Information:

Payment System Identifier: 1042103580C5

Document Number: RAI182377A

PMS Account Type: P (Subaccount)

Fiscal Year: 2025

Al 8472364 $712,062 $723,562 $712,723 $701,563

Recommended future year total cost support, subject to the availability of funds and satisfactory progress
of the project

NIH Administrative Data:
PCC: M32B B / OC: 41025 / Released: 12/19/2024
Award Processed: 12/20/2024 12:25:24 AM

SECTION Ii - PAYMENT/HOTLINE INFORMATION - 5R01AI182377-02

For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
http://grants.nih.gov/grants/policy/awardconditions.htm

SECTION III - STANDARD TERMS AND CONDITIONS - 5RO1AI182377-02

This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
is subject to the terms and conditions incorporated either directly or by reference in the following:

a. The grant program legislation and program regulation cited in this Notice of Award.

b. Conditions on activities and expenditure of funds in other statutory requirements, such as

those included in appropriations acts.

A5 CFR Part 75.

National Policy Requirements and all other requirements described in the NIH Grants Policy

Statement, including addenda in effect as of the beginning date of the budget period.

e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
progress report when applicable.

f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

a9

(See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
references cited above.)

Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
definition of "Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
some awards may have another classification for purposes of indirect costs. The auditor is not required to
report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-

Page 3 of 7

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National Institutes of Health
C" NATIONAL INSTITUTE OF MENTAL HEALTH

Page 316 of 3 pigtice of Award
FAIN# RO1MH121478

Federal Award Date
11/08/2024

Filed 07/14/25

Recipient Information

1.

Recipient Name
PRESIDENT AND FELLOWS OF HARVARD

COLLEGE
25 SHATTUCK ST
BOSTON, MA 02115

. Congressional District of Recipient

G7

. Payment System Identifier (ID)

10421 03580C5

_ Employer Identification Number (EIN)

042103580

. Data Universal Numbering System (DUNS)

0470063 /9

. Recipient's Unique Entity identifier

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Federal Agency Information
9 Awarding Agency Contact Information

Theresa A, Mercoglianoe

Grants Management Specialist
NATIONAL INSTITUTE OF MENTAL
HEALTH

theresa mercogliano@nih.gov
301-451-4940

10. Program Official Contact Information

Victor Lushin

Health Scientist Administrator
NATIONAL INSTITUTE OF MENTAL
HEALTH

victor lushin@nih gov

Federal Award Information

11. Award Number
5RO1MH121478-04

12. Unique Federal Award Identification Number (FAIN)
RO1MH121478

13. Statutory Authority
42 USC 241 42 CFR 52

14. Federal Award Project Title
Leveraging EHR data to evaluate key treatment decisions to prevent suicide-related
behaviors

15. Assistance Listing Number
93.242

16. Assistance Listing Program Title
Mental Health Research Grants

17. Award Action Type
Non-Competing Continuation (REVISED)

18. Is the Award R&D?
Yes

Summary Federal Award Financial Information

20. Total Amount of Federal Funds Obligated by this Action $0
20 a. Direct Cost Amount $o
20 b. Indirect Cost Amount $0

21. Authorized Carryover

22. Offset

23. Total Amount of Federal Funds Obligated this budget period $730,821

24. Total Approved Cost Sharing or Matching, where applicable so

25. Total Federal and Non-Federal Approved this Budget Period $730,821

Sharing or Matching this Project Period

28. Authorized Treatment of Program Income
Additional Costs

29. Grants Management Officer - Signature
Theresa A. Mercogliano

30. Remarks
Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or

otherwise requested from the grant payment system.

Page 1 of 6

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NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

Filed 07/14/25 Page 317 of 32otice of Award

FAIN# K99NS133031
Federal Award Date
03/21/2024

Recipient Information

1. Recipient Name
PRESIDENT AND FELLOWS OF HARVARD
COLLEGE
1033 MASSACHUSETTS AVE STE 3
CAMBRIDGE, MA 02138

2. Congressional District of Recipient
05

3. Payment System Identifier (ID)
1042103580B1

4. Employer Identification Number (EIN)
042103580

5. Data Universal Numbering System (DUNS)
082359691

6. Recipient's Unique Entity Identifier
LNSSLCFJFL45

7. Project Director or Principal Investigator

8. Authorized Official

Federal Agency Information

9. a — Contact Information

Grants Management Specialist
NATIONAL INSTITUTE OF NEUROLOGICAL
DISORDERS AND STROKE

10. Program Official Contact Information

NATIONAL INSTITUTE OF NEUROLOGICAL
DISORDERS AND STROKE

Federal Award Information

11. Award Number
1K99NS133031-01A1

12. Unique Federal Award Identification Number (FAIN)
K99NS133031

13. Statutory Authority
42 USC 241 42 CFR 52

14. Federal Award Project Title
A comparative approach to uncovering the cellular and circuit basis of the role of the

corticospinal tract in motor skill

15. Assistance Listing Number
93.853

16. Assistance Listing Program Title
Extramural Research Programs in the Neurosciences and Neurological Disorders

17. Award Action Type
New Competing

18. ls the Award R&D?

Yes
Summary Federal Award Financial Information
19. Budget Period Start Date 04/01/2024 - End Date 03/31/2025,
20. Total Amount of Federal Funds Obligated by this Action $130,815
20 a. Direct Cost Amount $121,125
20 b. Indirect Cost Amount $9,690
21. Authorized Carryover
22. Offset
23. Total Amount of Federal Funds Obligated this budget period $130,815
24. Total Approved Cost Sharing or Matching, where applicable so
25. Total Federal and Non-Federal Approved this Budget Period $130,815
26. Project Period Start Date 04/01/2024 -End Date 03/31/2026
27. Total Amount of the Federal Award including Approved Cost $130,815
Sharing or Matching this Project Period

28. Authorized Treatment of Program Income
Additional Costs

29. Grants a Officer - Signature

30. Remarks

Acceptance of this award, including the "Terms and Conditions,’ is acknowledged by the recipient when funds are drawn down or
otherwise requested from the grant payment system.

Page 1 of 7

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s National Institutes of Health FAIN# ROTESO35390
Z NATIONAL INSTITUTE OF ENVIRONMENTAL HEALTH SCIENCES Federal Award Date
%, 02/17/2025

on

Recipient information Federal Award information
1. Recipient Name

HARVARD COLLEGE PRESIDENT &

FELLOWS OF 11. Award Number
6/7 HUNTINGTON AVE 5RO1ES035390-02
BOSTON, MA 02115

12. Unique Federal Award Identification Number (FAIN)

. Congressional District of Recipient RO1ESO35390
O7
13. Statutory Authority
. Payment System Identifier (ID) 42 USC 241 42 CFR 52

1042) 0358046
14. Federal Award Project Title

_ Employer Identification Number (EIN) A nationwide population-based study investigating the cardiovascular effects of
042103580 exposure to particulate matter a-, B-, and y-activities and individual radionuclides

. Data Universal Numbering System (DUNS) | 15. Assistance Listing Number
149617367 93.113

. Recipient's Unique Entity identifier 16. Assistance Listing Program Title
UNVDZNFASR29 Environmental Health

 Dratant Dirsctar iar Princinal lnvastiaator 17. Award Action Type
Non-Competing Continuation

18. Is the Award R&D?

Yes
. Authorized Official Summary Federal Award Financial Information
20. Total Amount of Federal Funds Obligated by this Action $649,282
20a. Direct Cost Amount $434,698
20 b. indirect Cost Amount $214,584
21. Authorized Carryover
Federal Agency Information 22. Offset
9. Awarding Agency Contact Information 23. Total Amount of Federal Funds Obligated this budget period $649,282
Jehane Teosha Dobson 24. Total Approved Cost Sharing or Matching, where applicable so
Grants Management Specialist 25. Total Federal and Non-Federal Approved this Budget Period $649,282
NATIONAL INSTITUTE OF
ENVIRONMENTAL HEALTH SCIENCES
jae. dobson@nih.gov : i t / 1
Sharing or Matching this Project Period

10. Program Official Contact Information
Bonnie Joubert 28. Authorized Treatment of Program Income
Health Scientist Administrator Additional Costs
NATIONAL INSTITUTE OF
ENVIRONMENTAL HEALTH SCIENCES 29. Grants Management Officer - Signature
bonnie joubert@nih.gov Jenny L Greer
(984) 287-2976
30. Remarks
Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
otherwise requested from the grant payment system.

Page 1 of 6

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Attachment 1 — Statement of Work

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Preflight Tasks supporting the AVATAR Program

Background: The mission of the BARDA is to develop medical countermeasures (MCM) that
address the public health and medical consequences of chemical, biological, radiological, and
nuclear (CBRN) accidents, incidents and attacks, pandemic influenza, and emerging infectious
diseases. This is achieved through support of the advanced development and procurement of
drugs, vaccines and other products that are considered priorities for national health security. In
addition to addressing specific threats, BARDA also supports a threat-agnostic posture through
investing in a portfolio of technologies that are flexible and can address a multitude of threats,
including MCMs that are built on versatile platforms that can be rapidly adapted to address a
new threat.

Under the parent IDIQ with BARDA, interagency partners can request and award task orders.
The National Aeronautics and Space Administration (NASA) Division of Biological & Physical
Sciences has a two-pronged mission to pioneer scientific discovery in and beyond low Earth
orbit to drive advances in science, technology, and space exploration to enhance knowledge,
education, innovation, and economic vitality; and enable human spaceflight exploration to
expand the frontiers of knowledge, capability, and opportunity in space. To support this mission,
BARDA is issuing an RTOR to support the preflight work required to move forward with the
AVATAR project with the potential for a follow-on task order to be issued by BARDA.

The overall objective of this Task Order is to complete administrative and scientific preflight
work required for AVATAR’s success and status on-board the Artemis 2 flight. The base-period
work is for administrative efforts including but not limited to project management, the
submission of the AVATAR revised science proposal, the production of the JSC Internal Review
Board (IRB) protocol document and any necessary follow-on work, and the development of
safety documents including the provision of chemical and biological information and data for all
materials. Preflight work includes ground tests for determination of specimen return (live or
fixed); optimization of culture conditions; optimization of methods for tissue chip development,
characterization, and readout; and verification tests for all procedures and operations.

The overall objective of the AVATAR project is to advance our understanding of human
astronaut physiology during spaceflight and on the Moon by leveraging human organ-on-a-chip
(Organ Chip) microfluidic culture technology. This project will focus on development of human
Bone Marrow Chips (BM Chips) lined by human cells to model hematopoietic changes that
occur in the bone marrow in response to microgravity, radiation, and other environmental
conditions that humans experience in spaceflight and on the Moon. The ultimate goal is to
engineer BM Chips lined by cells from Artemis 2 & 3 astronauts that will accompany them on
their missions to assess the impact of their spaceflight and their time on the surface of the moon
on blood cell formation. The BM Chips will be engineered to be robust enough to fly to the

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Harvard T.H. Chan School of Public Health ATTACHMENT 14

Statement of Work
Dated : July 31, 2019

Scope. Our IMPAc-TB Center represents a comprehensive and ambitious effort to identify
common determinants of protection from Mycobacterium tuberculosis (Mtb) infection and disease
progression that can be translated into improved vaccine strategies. We propose a large, multi-
disciplinary, multi-institutional Center that will apply the tools of systems immunology to exclusive
animal and human models of protection from Mtb infection and disease progression. The central
projects leverage these best-in-class non-human primate (NHP) and human models, focusing on
immunophenotypes with direct vaccine relevance, and are fully bridged through the study of acute
Mtb exposure in London, where we have the capacity to understand outcomes using both PET/CT
and PPD airway challenge. This Center is distinguished by the quality of the collaborating
investigators and our integrated and well synthesized research program. We bring unique and
cross-cutting technologic capacities—high-dimensional single-cell RNAseg, systems serology,
CyTOF, and cross-species computational modeling—led by the pioneers of their respective fields
who are already productively working with this team of TB investigators thanks to catalytic funding
raised previously by this group. Finally, we are committed to iterative analyses and mechanistic
dissection of these innate and adaptive correlates through studies in cutting-edge murine and ex
vivo cellular models by leading experimental Mtb biologists.

Technical Requirements. Independently, and not as an agent of the Government, the Contractor
shall furnish all necessary services, qualified professional, technical, and administrative personnel,
material, equipment and facilities, not otherwise provided by the Government under the terms of
this contract, as needed to perform the tasks set forth below. Specifically, the Contractor shall:

A. Leadership

1. Goals, governance, & strategic plan. Offeror shall ensure appropriate leadership to achieve
goals, govern the projects and cores, and implement and evaluate progress toward a strategic
plan, in line with the requirements of the Solicitation and priorities of the NIAID IMPAcTB proaram.
The roles, activities, and experience of the multi-Pl leadership team. comprising Drs.

Administrative leadership. Offeror shall ensure that the contact iit oversees
preparation and submission of all documentation to NIH in line with contract requiremenis as
detailed in Section 4.1. The Administrative Core will facilitate data and resource sharing by
coordinating meetings, establishing multi-institutional MTAs, and_assuring IRB and IACUC
approvals enabling sharing of data and samples across the Center i vi be supported
by a Scientific and an Administrative Project Manager,

Program milestones and timelines. This proposal describes studies to be performed in an initial
18-month study period and over the course of a second 66-month study period.

Deliverables Project Month
Recommend candidates for External Scientific Advisory Board 4
Participate in IMPACcTB Initiation Meeting in Bethesda 3

is Execute agreements with all subcontractors 6

@ $ Convene internal Scientific Advisory Board 6

c Execute ail MTAs necessary for the planned work 8

= ® Obtain approval for all needed IACUC protocols 12

s = Host annual site visit and project meeting 6/24/36/48/60/7 2/84

5 2 Obtain and/or maintain IRB approvals 18/30/42/54/66/7 8/84

ie Submit quarterly technical reports to NIH q 3 months
Submit annual technical and financial report to NIH 18/30/42/54/66/7 8/84
Attend annual program meeting in Rockville area 18/30/42/54/66/7 8/84
Make final SOPs publicly available 18/30/42/54/66/7 8/84

2. Study oversight, evaluation, & refinement. Offeror shall provide appropriate administrative and
scientific oversight through its leadership team, regular program evaluation via internal and

Page 1

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SE DEPARTMENT OF HEALTH & HUMAN SERVICES Public Health Service

National Institutes of Health (NTH)

Phone: 301-761-7735 National Institute of Allergy and Infectious Diseases (NIAID)
Fax: 301-480-2248 Office of Acquisitions, DEA
http:/Avwwniaid nih. gov! $601 Fishers Lane

Rockville, Maryland 20892

Sent via emai! (0 rrr

Monday, April 14, 2025

Senior Associate Director

Sponsored Programs Administration
Landmark Center East

401 Park Drive, 3 Floor, Room L-3-029
Boston, MA 02215

Subject: Stop-Work Order for Contract No. #75N93019C00071

Dear

You are notified that pursuant to FAR 42.1303, Stop-Work Orders, work is to be stopped on the
referenced contract titled “Immune Mechanisms of Protection against Mycobacterium tuberculosis Center
(IMPAc-TB)”, effective immediately upon receipt of this notice.

This stop-work order shall remain in effect for 90 days unless Harvard University and the NIAID
mutually agree to a further period. All reasonable steps should be taken to minimize the incurrence of
costs allocable to the work covered by the order during the period of work stoppage.

You are to furnish written notice to any subcontractors of this action and direct them to stop work
pertaining to this contract. You are to issue no further orders for materials or services under this contract
for activities impacted by this order. You are also advised to cancel, when possible, or delay delivery on
any orders for supplies or services already placed.

Sincerely,

Digitally signed by George W.

George W. Kennedy -S Kennedy -s

Date: 2025.04.14 18:59:55 -04'00'

George Kennedy
Contracting Officer
Director, Office of Acquisitions, DEA, NIAID, NIH, HHS

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Case 1:25-cv-11048-ADB Document 224-4 Filed 07/14/25 Page 322 of 325

Message

From: Sears, Kathleen (NIH/NCI) [E] [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=0752D70F43B14D5BBD554DFE8C1D5CC1-792AF8F2-00]

Sent: 4/14/2025 10:53:09 PM

To:

ce:

McClain, Jillian (NIH/NCI) [E] [/o=ExchangeLabs/ou=Exchange Administrative Group
(FYDIBOHF23SPDLT)/cn=Recipients/cn=80f6b89ac49445eeb147cb2b9d33f460-mcclainjm]; Loftfield, Erikka (NIH/NCI)
[E] [/o=ExchangeLabs/ou=Exchange Administrative Group
(FYDIBOHF23SPDLT)/cn=Recipients/cn=4222c74146a74fef816845583f8ef691-loftfielde]; Sears, Kathleen (NIH/NCI}
[E] [/o=ExchangeLabs/ou=Exchange Administrative Group
(FYDIBOHF23SPDLT)/cn=Recipients/cn=0752d70f43b14d5bbd554dfe8c1d5cc1-792af8f2-00]

Subject: Stop Work Order - Contract #75N91024P00647 - Harvard University

Good evening,

Please be advised that a Stop Work Order is issued effective immediately for the subject contract Titled “Coffee
Drinking and Mortality Among Never Smokers in the Pooling Project of Prospective Studies of Diet and Cancer
(DCPP).” No further work should be conducted and no other costs incurred.

The contracting officer will be in contact with you regarding further instructions.

Respectfully,

Kathleen Sears

Branch Chief/Supervisory Contracting Officer, Negotiated Branch B
National Cancer Institute

Office of Acquisitions

Kathicen Searst@amh gov

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Le DEPARTMENT OF HEALTH & HUMAN SERVICES

“Rina National Institutes of Health
National Institute on Drug Abuse
Office of Acquisitions
clo 3WFN MSC 6012
301 N Stonestreet Ave
Bethesda, MD 20892

April 14, 2025 VIA EMAIL

HARVARD UNIV:1105887
1033 MASSACHUSETTS AVENUE 5TH FL
CAMBRIDGE MA

Subject: Cease Performance of 75N95023C00008

Dear Contractor:

Pursuant to the authority of FAR Part 42.1303 “Stop-Work Order,” the Contracting Officer
hereby issues a “Stop-Work Order” ordering the Contractor to “stop work” on all activities for
purchase order 75N95023C00008.

You are hereby directed to cease all work under 75N95023C00008.

You are instructed not to issue further orders for materials or services related to the portion of the
contract/order subject to the stop-work order, to direct any subcontractors to comply with the
contents of this order, and to otherwise minimize costs.

This order shall remain in effect unless and until you are notified otherwise by a U.S.
Department of Health and Human Services Contracting Officer.

Sincerely,

Digitally signed by Nancy L.
Nancy L. Lamon  (amon-kritikos 5

tee Pate: 2025.04.14 18:43:39
kritikos -S rey

Nancy Lamon-Kritikos
Contracting Officer

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Le DEPARTMENT OF HEALTH & HUMAN SERVICES

“Rina National Institutes of Health
National Institute on Drug Abuse
Office of Acquisitions
clo 3WFN MSC 6012
301 N Stonestreet Ave
Bethesda, MD 20892

April 14, 2025 VIA EMAIL

HARVARD UNIV:1105887
1033 MASSACHUSETTS AVENUE 5TH FL
CAMBRIDGE MA

Subject: Cease Performance of 75N95024P00263
Dear Contractor:

Pursuant to the authority of FAR Part 42.1303 “Stop-Work Order,” the Contracting Officer
hereby issues a “Stop-Work Order” ordering the Contractor to “stop work” on all activities for
purchase order 75N95024P00263.

You are hereby directed to cease all work under 75N95024P00263.

You are instructed not to issue further orders for materials or services related to the portion of the
contract/order subject to the stop-work order, to direct any subcontractors to comply with the
contents of this order, and to otherwise minimize costs.

This order shall remain in effect unless and until you are notified otherwise by a U.S.
Department of Health and Human Services Contracting Officer.

Sincerely,

Digitally signed by Nancy L.
Nancy L. Lamon | smon-kritkos-s

kritikos -S rane 2025.08.14 18:38:45
Nancy Lamon-Kritikos
Contracting Officer

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Case 1:25-cv-11048-ADB Document 224-4 Filed 07/14/25 Page 325 of 325
Stop Work Order - Contract #75N91024P00712 Harvard University

From: "Sears, Kathleen (NIH/NCI) [E]" <kathleen.sears@nih.gov>

Ce: "Coles Calloway, Sharon (NIH/NCI) [E]" <coless@mail.nih.gov>, "Galloway, Terry (NIH/NCl) [E]"
<terry.galloway@nih.gov>, "Sears, Kathleen (NIH/NCI) [E]" <kathleen.sears@nih.gov>
Date: Mon, 14 Apr 2025 22:52:27 +0000

Good evening,

Please be advised that a Stop Work Order is issued effective immediately for the subject contract Titled
“Request for bioinformatics support for the PREMISETN breast cancer tumor sequencing project.” No
further work should be conducted and no other costs incurred.

The contracting officer will be in contact with you regarding further instructions.

Respectfully,

Kathleen Sears

Branch Chief/Supervisory Contracting Officer, Negotiated Branch B
National Cancer Institute

Office of Acquisitions

Kathleen. Sears@nih.gov

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